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                               FRANCHISE DISCLOSURE DOCUMENT


                                                                      FIVE GUYS FRANCHISOR, LLC
                                                                     a Delaware limited liability company
                                                                          10718 Richmond Highway
                                                                            Lorton, Virginia 22079
                                                                            Phone: (703) 339-9500
                                                                             www.fiveguys.com


          As a franchisee, you will own and operate a FIVE GUYS® BURGERS AND FRIES fast casual
  restaurant which specializes in the sale of fresh made burgers and fries prepared in accordance with our
  recipes and ingredients, and other food items that we may specify periodically.

          The total investment necessary to establish one FIVE GUYS® restaurant ranges from $306,200 to
  $641,250 ($381,200 to $716,250 for Alaska, Hawaii and Puerto Rico). This includes the $25,350 that must
  be paid to the franchisor or its affiliates under the franchise agreement, and the $50,000 per restaurant
  ($125,000 per restaurant for restaurants to be located in Alaska, Hawaii, or Puerto Rico) that must be paid
  to the franchisor or its affiliates under the development agreement. You must sign the Development
  Agreement if you will establish one or more FIVE GUYS® restaurants. Your total investment necessary as
  a developer will vary based on the number of restaurants to be developed.

          This disclosure document summarizes certain provisions of your franchise agreement and area
  development agreement and other information in plain English. Read this disclosure document and all
  accompanying agreements carefully. You must receive the disclosure document at least 14 calendar days
  before you sign a binding agreement with, or make any payment to the franchisor or an affiliate in
  connection with, the proposed franchise sale. Note, however, that no government agency has verified
  the information contained in this document.

          You may wish to receive your disclosure document in another format that is more convenient for
  you. To discuss the availability of disclosures in different formats, contact our Franchise Administration
  Department at 10718 Richmond Highway, Lorton, Virginia 22079, Attn: Legal Department, (703) 339-
  9500, and franchise@fiveguys.com.

           The terms of your contracts will govern your franchise relationship. Do not rely on the disclosure
  document alone to understand your contract. Read all of your contracts carefully. Show your contracts and
  this disclosure document to an advisor, like a lawyer or an accountant.

          Buying a franchise is a complex investment. The information in this disclosure document can help
  you make up your mind. More information on franchising, such as “A Consumer’s Guide to Buying a
  Franchise,” which can help you understand how to use this disclosure document, is available from the
  Federal Trade Commission (“FTC”). You can contact the FTC at 1-877-FTC-HELP or by writing to the
  FTC at 600 Pennsylvania Avenue, NW, Washington, DC 20580. You can also visit the FTC’s home page
  at www.ftc.gov for additional information. Call your state agency or visit your public library for other
  sources of information on franchising.

          There may also be laws on franchising in your state. Ask your state agencies about them.

                                       Issuance Date: April 30, 2022




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                       How to Use This Franchise Disclosure Document
  Here are some questions you may be asking about buying a franchise and tips on how to
  find more information:

              QUESTION                       WHERE TO FIND INFORMATION

  How much can I earn?                Item 19 may give you information about outlet sales,
                                      costs, profits or losses. You should also try to obtain
                                      this information from others, like current and former
                                      franchisees. You can find their names and contact
                                      information in Item 20 or Exhibits D and E.

  How much will I need to invest?     Items 5 and 6 list fees you will be paying to the
                                      franchisor or at the franchisor’s direction. Item 7 lists
                                      the initial investment to open. Item 8 describes the
                                      suppliers you must use.

  Does the franchisor have the        Item 21 or Exhibit A includes financial statements.
  financial ability to provide        Review these statements carefully.
  support to my business?

  Is the franchise system stable,     Item 20 summarizes the recent history of the number
  growing, or shrinking?              of company-owned and franchised outlets.

  Will my business be the only        Item 12 and the “territory” provisions in the franchise
  FIVE GUYS® business in my           agreement describe whether the franchisor and other
  area?                               franchisees can compete with you.

  Does the franchisor have a          Items 3 and 4 tell you whether the franchisor or its
  troubled legal history?             management have been involved in material litigation
                                      or bankruptcy proceedings.

  What’s it like to be a FIVE         Item 20 or Exhibits D and E list current and former
  GUYS® franchisee?                   franchisees. You can contact them to ask about their
                                      experiences.

  What else should I know?            These questions are only a few things you should look
                                      for. Review all 23 Items and all Exhibits in this
                                      disclosure document to better understand this
                                      franchise opportunity. See the table of contents.




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                       What You Need To Know About Franchising Generally

  Continuing responsibility to pay fees. You may have to pay royalties and other fees even
  if you are losing money.

  Business model can change. The franchise agreement may allow the franchisor to change
  its manuals and business model without your consent. These changes may require you to
  make additional investments in your franchise business or may harm your franchise
  business.

  Supplier restrictions. You may have to buy or lease items from the franchisor or a limited
  group of suppliers the franchisor designates. These items may be more expensive than
  similar items you could buy on your own.

  Operating restrictions. The franchise agreement may prohibit you from operating a
  similar business during the term of the franchise. There are usually other restrictions. Some
  examples may include controlling your location, your access to customers, what you sell,
  how you market, and your hours of operation.

  Competition from franchisor. Even if the franchise agreement grants you a territory, the
  franchisor may have the right to compete with you in your territory.

  Renewal. Your franchise agreement may not permit you to renew. Even if it does, you may
  have to sign a new agreement with different terms and conditions in order to continue to
  operate your franchise business.

  When your franchise ends. The franchise agreement may prohibit you from operating a
  similar business after your franchise ends even if you still have obligations to your landlord
  or other creditors.

                                Some States Require Registration

  Your state may have a franchise law, or other law, that requires franchisors to register
  before offering or selling franchises in the state. Registration does not mean that the state
  recommends the franchise or has verified the information in this document. To find out if
  your state has a registration requirement, or to contact your state, use the agency
  information in Attachment A.

  Your state also may have laws that require special disclosures or amendments be made to
  your franchise agreement. If so, you should check the State Specific Addenda. See the
  Table of Contents for the location of the State Specific Addenda.




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                       Special Risks to Consider About This Franchise
  Certain states require that the following risk(s) be highlighted:

  1.      Out of State Dispute Resolution. The franchise agreement and development
          agreement require you to resolve disputes with the franchisor by arbitration or
          litigation only in Virginia. Out of state arbitration or litigation may force you to
          accept a less favorable settlement. It may also cost more to arbitrate or litigate with
          the franchisor in Virginia than in your own state.

  2.      Spousal Liability. Your spouse must sign a document that makes your spouse liable
          for all financial obligations under the franchise agreement even though your spouse
          has no ownership interest in the franchise. This guarantee will place both your and
          your spouse’s marital and personal assets, perhaps including your house, at risk if
          your franchise fails.

  3.      Financial Condition. The franchisor’s financial condition, as reflected in its
          financial statements (see Item 21), calls into question the franchisor’s financial
          ability to provide services and support to you.

  4.      Supplier Control. You must purchase all or nearly all of the inventory or supplies
          that are necessary to operate your business from the franchisor, its affilates, or
          suppliers that the franchisor designates, at prices the franchisor or they set. These
          prices may be higher than prices you could obtain elsewhere for the same or similar
          goods. This may reduce the anticipated profit of your franchise business.

  Certain states may require other risks to be highlighted. Check the “State Specific
  Addenda” (if any) to see whether your state requires other risks to be highlighted.




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                            NOTICE REQUIRED BY THE STATE OF MICHIGAN

        THE STATE OF MICHIGAN PROHIBITS CERTAIN UNFAIR PROVISIONS THAT ARE
  SOMETIMES IN FRANCHISE DOCUMENTS. IF ANY OF THE FOLLOWING PROVISIONS
  ARE IN THESE FRANCHISE DOCUMENTS, THE PROVISIONS ARE VOID AND CANNOT BE
  ENFORCED AGAINST YOU:

          (a)      A prohibition on the right of a franchisee to join an association of franchises.

          (b)      A requirement that a franchisee assent to a release, assignment, novation, waiver or
  estoppel which deprives a franchisee of rights and protections provided in this act. This shall not preclude
  a franchisee, after entering into a franchise agreement, from settling any and all claims.

          (c)     A provision that permits a franchisor to terminate a franchise prior to the expiration of its
  term except for good cause. Good cause shall include the failure of the franchisee to comply with any
  lawful provision of the franchise agreement and to cure such failure after being given written notice thereof
  and a reasonable opportunity, which in no event need be more than thirty (30) days, to cure such failure.

           (d)      A provision that permits a franchisor to refuse to renew a franchise without fairly
  compensating the franchisee by repurchase or other means for the fair market value at the time of expiration
  of the franchisee’s inventory, supplies, equipment, fixtures and furnishings. Personalized materials which
  have no value to the franchisor and inventory, supplies, equipment, fixtures and furnishings not reasonably
  required in the conduct of the franchise business are not subject to compensation. This subsection applies
  only if: (i) the term of the franchise is less than five (5) years, and (ii) the franchisee is prohibited by the
  franchise or other agreement from continuing to conduct substantially the same business under another
  trademark, service mark, trade name, logotype, advertising or other commercial symbol in the same area
  subsequent to the expiration of the franchise or the franchisee does not receive at least six (6) months’
  advance notice of franchisor’s intent not to renew the franchise.

          (e)      A provision that permits the franchisor to refuse to renew a franchise on terms generally
  available to other franchisees of the same class or type under similar circumstances. This section does not
  require a renewal provision.

           (f)      A provision requiring that arbitration or litigation be conducted outside this state. This
  shall not preclude the franchisee from entering into an agreement, at the time of arbitration, to conduct
  arbitration at a location outside this state.

            (g)     A provision which permits a franchisor to refuse to permit a transfer of ownership of a
  franchise, except for good cause. This subdivision does not prevent a franchisor from exercising a right of
  first refusal to purchase the franchise. Good cause shall include, but is not limited to:

                   (i)     Failure of the proposed transferee to meet the franchisor’s then-current reasonable
  qualifications or standards.

                   (ii)      The fact that the proposed transferee is a competitor of the franchisor or
  subfranchisor.

                   (iii)     The unwillingness of the proposed transferee to agree in writing to comply with
  all lawful obligations.




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                   (iv)    The failure of the franchisee or proposed transferee to pay any sums owing to the
  franchisor or to cure any default in the franchise agreement existing at the time of the proposed transfer.

           (h)      A provision that requires the franchisee to resell to the franchisor items that are not
  uniquely identified with the franchisor. This subdivision does not prohibit a provision that grants to a
  franchisor a right of first refusal to purchase the assets of a franchise on the same terms and conditions as a
  bona fide third party willing and able to purchase those assets, nor does this subdivision prohibit a provision
  that grants the franchisor the right to acquire the assets of a franchise for the market or appraised value of
  such assets if the franchisee has breached the lawful provisions of the franchise agreement and has failed
  to cure the breach in the manner provided in subdivision (c).

          (i)     A provision which permits the franchisor to directly or indirectly convey, assign or
  otherwise transfer its obligations to fulfill contractual obligations to the franchisee unless provision has
  been made for providing the required contractual services.

       THE FACT THAT THERE IS A NOTICE OF THIS OFFERING ON FILE WITH THE
  ATTORNEY GENERAL DOES NOT CONSTITUTE APPROVAL, RECOMMENDATION OR
  ENDORSEMENT BY THE ATTORNEY GENERAL.

         If the franchisor’s most recent financial statements are unaudited and show a net worth of less than
  $100,000, franchisee has the right to request an escrow arrangement.

                           Any questions regarding this notice should be directed to:

                                         Consumer Protection Division
                                         525 W. Ottawa Street, 1st Floor
                                           Lansing, Michigan 48933
                                                (517) 373-7117




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                                      ITEM 1
             FRANCHISOR, AND ANY PARENTS, PREDECESSORS AND AFFILIATES

  Franchisor

          The franchisor is Five Guys Franchisor, LLC (“Five Guys,” “we,” “us,” or “our”). “You” means
  the person or entity to whom we grant a franchise. If you are a corporation, partnership, limited liability
  company, or other entity, your controlling principals must sign our documents in their individual capacity,
  which means the provisions of our Development Agreement (Exhibit B) and Franchise Agreement (Exhibit
  C), as applicable, will also apply to your owners.

          We were formed as a Delaware limited liability company on April 20, 2017. Our principal place
  of business is 10718 Richmond Highway, Lorton, Virginia 22079. We do business under the name FIVE
  GUYS®. Our business is limited to offering the franchises that are described in this Disclosure Document.
  We do not offer other franchises or engage in any other line of business nor have we ever done so.

           We have written the Disclosure Document in “plain English” in order to comply with legal
  requirements. Any differences in the language in this Disclosure Document describing the terms,
  conditions or obligations under the Franchise Agreement, Development Agreement or any other agreements
  is not intended to alter in any way your or our rights or obligations under the particular agreement.

           We began offering FIVE GUYS® restaurant franchises in June 2017. We do not conduct a business
  of the type to be operated by our franchisees.

          Our agents for service of process are listed in Attachment A.

  Our Parents, Predecessors and Affiliates

         We are a direct, wholly-owned subsidiary of Five Guys Funding, LLC (“Five Guys Funding”), a
  Delaware limited liability company. Five Guys Funding is a wholly-owned subsidiary of Five Guys SPV
  Guarantor, LLC (“Five Guys SPV Guarantor”), a Delaware limited liability company. Five Guys Funding
  and Five Guys SPV Guarantor share our principal business address. Five Guys Funding and Five Guys
  SPV Guarantor were organized as part of the securitization transaction described below (the
  “Securitization Transaction”) and are indirect subsidiaries of our Parent Company (defined below).

           Five Guys Holdings, Inc., our ultimate parent company, is a Delaware corporation formed on
  September 20, 2007 (“Parent Company”), and is headquartered at 10718 Richmond Highway, Lorton,
  Virginia 22079. Our Parent Company is a non-operating holding company and does not offer franchises in
  this or any other line of business. Our Parent Company does not offer or provide any products or services
  to our franchisees. During the formation process of our Parent Company, a minority portion of its capital
  stock was transferred to Big Horn, L.P., a Pennsylvania limited partnership located at 100 Front Street,
  Suite 1500, West Conshohocken, Pennsylvania 19428 (“Big Horn”). Neither Big Horn nor its principals
  have ever offered FIVE GUYS® restaurant franchises or franchises in any other lines of business.

          An affiliate of FGE (as defined below), Five Guys, Inc., a Virginia corporation formed on January
  7, 1997 (“FGI”) with a principal address of 10718 Richmond Highway, Lorton, Virginia 22079, previously
  owned 7 FIVE GUYS® restaurants in Northern Virginia, the first of which was opened in February 1986.
  FGI conducted this business for over 26 years. FGO (defined below) took over operations for these 7
  restaurants in 2011 and finalized the acquisition of them in 2012. FGI has never offered FIVE GUYS®
  restaurant franchises nor has it offered franchises in any other lines of business.

          The franchisor of the franchises described in this Disclosure Document before the closing of the
  Securitization Transaction in June 2017 was Five Guys Enterprises, LLC (“FGE”). FGE began offering
  franchises in December 2002. Its principal place of business is 10718 Richmond Highway, Lorton, Virginia

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  22079. FGE is a direct, wholly-owned subsidiary of our Parent Company and is the direct parent company
  of Five Guys SPV Guarantor.

           Five Guys Properties, LLC (“Five Guys Properties”) owns and operates FIVE GUYS® restaurants
  in the United States and Canada. Five Guys Properties is a wholly-owned subsidiary of Five Guys Funding.
  It acquired the restaurants it owns and operates from an affiliate, Five Guys Operations, LLC (“FGO”) as
  part of the Securitization Transaction. FGO operated newly-constructed, non-franchised FIVE GUYS®
  restaurants, as well as several other FIVE GUYS® restaurants which were voluntarily reacquired from
  franchisees. As of December 31, 2021, FGO owned and operated 479 FIVE GUYS® restaurants. FGO has
  never offered FIVE GUYS® restaurant franchises, nor has it offered franchises in any other lines of
  business.

          Five Guys Bakery, LLC (“Five Guys Bakery”), a Delaware limited liability company, contracts
  for the production of all required bread products (e.g., hamburger and hot dog buns) which you must
  purchase from Five Guys Bakery. Five Guys Bakery was formed as part of the Securitization Transaction.
  Its principal place of business is 10718 Richmond Highway, Lorton, Virginia 22079. Before the
  Securitization Transaction, Five Guys Foods, LLC (“FGF”), a Virginia limited liability company formed
  on December 23, 2002, contracted for and sold required bread products to franchisees beginning in
  December 2002. Five Guys Bakery has never offered FIVE GUYS® restaurant franchises, nor has it offered
  franchises in other lines of business; Five Guys Bakery does not operate a business of the type being
  franchised.

          FGE Canada Corp., our affiliate, was formed in Canada as a Nova Scotia unlimited liability
  corporation on November 8, 2011 (“FGE Canada”). FGE Canada’s registered civic address is 900-1959
  Upper Water Street, Halifax, Nova Scotia B3J 3N2. FGE Canada employs individuals to supervise,
  monitor, and assist our franchisees operating FIVE GUYS® restaurants within Canada. FGE Canada has
  never offered FIVE GUYS® restaurant franchises, nor has it offered franchises in other lines of business.
  FGE Canada does not operate a business of the type being franchised.

           FGGC, LLC, our affiliate, is a Virginia limited liability company formed on March 21, 2014
  (“FGGC”). FGGC’s principal address is 10718 Richmond Highway, Lorton, Virginia 22079. FGGC was
  formed to manage the issuance, maintenance and operation of our customer gift certificate and stored value
  card program. FGGC has never offered FIVE GUYS® restaurant franchises, nor has it offered franchises
  in other lines of business. FGGC does not operate a business of the type being franchised.

       Except as otherwise described above, none of our predecessors or affiliates operate any FIVE
  GUYS® restaurants or engage in any other business activities.

  Securitization Transaction

           Under the Securitization Transaction which closed in June 2017, our Parent Company and its
  affiliates were restructured. As part of the Securitization Transaction, all existing U.S. franchise agreements
  and related agreements for FIVE GUYS® restaurants were transferred to us, and we became the franchisor
  of all existing and future Development Agreements, Franchise Agreements and other related agreements.
  Ownership and control of all U.S. trademarks and certain intellectual property relating to the operation of
  FIVE GUYS® restaurants in the U.S. were also transferred to us.

          At the time of the closing of the Securitization Transaction, FGE entered into a management
  agreement with us to provide the required support and services to Five Guys franchisees under their
  Development Agreements and Franchise Agreements. FGE also acts as our franchise sales agent. We will
  pay management fees to FGE for these services. However, as the franchisor, we will be responsible and
  accountable to you to make sure that all services we promise to perform under your Development
  Agreement and Franchise Agreement or other agreement you sign with us are performed in compliance
  with the applicable agreement, regardless of who performs these services on our behalf.

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  Description of Franchise

          FIVE GUYS® restaurants are fast casual dining restaurants which specialize in the sale of
  hamburgers, french fries, and related accompaniments in accordance with our comprehensive and unique
  system (the “System”). The System includes distinctive signage, interior and exterior design, décor and
  color scheme; special recipes and menu items (including proprietary products and ingredients); uniform
  standards, specifications, and procedures for operations; quality and uniformity of products and services
  offered; inventory, management and financial control procedures (including point of purchase and tracking
  systems); training and assistance; and quality control and promotional programs; all of which we may
  change, improve, and further develop, in our discretion. Certain aspects of the System are more fully
  described in this Disclosure Document and the Manuals that are provided to you as a franchisee. The
  restaurants are identified by certain trade names, service marks, trademarks, logos, emblems, and indicia of
  origin, such as “FIVE GUYS”, “FIVE GUYS FAMOUS BURGERS AND FRIES”, “FIVE GUYS
  BURGERS AND FRIES”, and others (collectively, the “Marks”). We will refer to the restaurants which
  use our System and Marks as “FIVE GUYS® Restaurant(s)” or “Restaurant(s).”

          FIVE GUYS® Restaurants are typically located in retail shopping centers and other urban locations
  which are acceptable to us. We may, however, consider sites such as train stations, sports arenas, airports,
  university campuses or other captive market spaces on a case-by-case basis (“Non-Traditional
  Locations”). Each Restaurant will typically range between 2,000 and 3,000 square feet, and will offer a
  menu selection featuring food items prepared according to our specified recipes and procedures.

          We offer the right to establish and operate a Restaurant under the terms of a single unit franchise
  agreement (the “Franchise Agreement”), Exhibit C to this Disclosure Document. You may be an
  individual, corporation, partnership or other form of legal entity. Under the Franchise Agreement, certain
  parties are characterized as “Controlling Principals” of the franchisee (referred to in this Disclosure
  Document as “Principals”). The Franchise Agreement is signed by us, by you, and by those individuals
  whom we designate as Principals. In most instances, we will designate your principal equity owners,
  executive officers, and certain affiliated entities as Principals. By signing the Franchise Agreement, your
  Principals agree to be individually bound by certain obligations in the Franchise Agreement, including
  covenants concerning confidentiality and non-competition, and to personally guarantee your performance
  under the Franchise Agreement. Depending on the type of business activities in which you or your
  Principals may be involved, we may require you or your Principals to sign additional confidentiality and
  non-competition agreements.

          You must also designate an “Operating Principal” who will be the main individual responsible
  for your business. If you are an individual, you will be the Operating Principal. If you are not an individual,
  the person you designate as your Operating Principal must maintain an equity interest in you. The Operating
  Principal must sign the Franchise Agreement as the Operating Principal and as one of your Controlling
  Principals. The Operating Principal must individually make certain covenants in the Franchise Agreement
  and must personally guarantee your performance under the Franchise Agreement.

          You must enter into a development agreement (the “Development Agreement”) to develop one or
  more franchised Restaurants to be located within a specifically described geographic territory (the
  “Territory”). A form of the Development Agreement is attached as Exhibit B to this Disclosure Document.
  We will determine the Territory before you sign the Development Agreement, and it will be specified in
  the Development Agreement. The Development Agreement requires you to establish Restaurant(s) within
  the Territory according to a development schedule, to periodically provide us with your development plans
  during the life of your development schedule, and to enter into a separate Franchise Agreement for each
  Restaurant established under the Development Agreement. The Franchise Agreement for the first
  Restaurant developed under the Development Agreement will be in the form attached as Exhibit C to this
  Disclosure Document. For each additional Restaurant developed under the Development Agreement, you
  must sign the then-current form of Franchise Agreement that we are then offering to new franchisees, which

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  may differ from the current Franchise Agreement attached to this Disclosure Document. The size of the
  Territory will vary depending on local market conditions and the number of Restaurants to be developed.

          The person or entity signing the Development Agreement is referred to as the “Developer.” The
  Development Agreement contains concepts similar to the Franchise Agreement involving the Developer’s
  Principals, Controlling Principals of the Developer, and an Operating Principal of the Developer. For
  purposes of this Disclosure Document, the terms “Principals,” “Controlling Principals,” and “Operating
  Principal” include those persons having similar obligations identified in both the Development Agreement
  and Franchise Agreement, and the terms “you,” “your,” and “Franchisee” also include the Developer under
  the Development Agreement, unless we have noted otherwise. Any reference to the “Agreements” means
  the Development Agreement and the Franchise Agreement, as applicable. Upon the expiration or earlier
  termination of your Agreements, you will have no options, rights of first refusal, or similar rights to acquire
  additional franchises.

  Market and Competition

           The restaurant market is well established and very competitive. You can expect to compete in your
  market with locally owned businesses, as well as with national and regional chains, that offer menu
  selections featuring hamburgers, sandwiches, french fries, and other American-style food products. Casual
  and fast-casual dining restaurant concepts compete on the basis of many factors, such as price, service,
  product quality, location, promotions and marketing programs. These businesses are often affected by other
  factors as well, such as changes in consumer taste, economic conditions, seasonal population fluctuation,
  and travel patterns. We believe our competitive position is enhanced by our operational format and by the
  food products offered by FIVE GUYS® Restaurants. We plan to continue controlled expansion into areas
  that we determine can support the Restaurants to improve name recognition and the reputation of the
  System.

  Industry Regulations

           The restaurant industry is regulated on the federal, state and local levels. The preparation and
  handling of food is federally regulated by the Pure Food and Drugs Act of 1906; the Federal Food, Drug
  and Cosmetic Act and by rules and policies of the Food and Drug Administration. State requirements
  relating to food safety typically pertain to sanitation and handling. Local inspectors may also enforce
  sanitation and handling rules created on the state and/or local level.

          The federal Clean Air Act and various implementing state laws require certain state and local areas
  to meet national air quality standards limiting emissions of ozone, carbon monoxide and particulate matters,
  including caps on emissions from commercial food preparation. Some areas have also adopted or are
  considering proposals that would regulate indoor air quality.

          The United States enacted the “Uniting and Strengthening America by Providing Appropriate Tools
  Required to Intercept and Obstruct Terrorism Act of 2001” (the “USA Patriot Act”). We must comply
  with the USA Patriot Act. To help us comply with the USA Patriot Act, we ask you in the Franchise
  Agreement to confirm for us that neither you nor your directors, officers, shareholders, partners, members,
  employees, or agents are suspected terrorists or persons associated with suspected terrorists or are under
  investigation by the U.S. government for criminal activity. You may review the Patriot Act and related
  regulations at http://www.treasury.gov/offices/enforcement/ofac/sdn.

           The United States Foreign Corrupt Practices Act of 1977 (as amended, the “FCPA”) and all such
  other laws of similar effect prohibit bribery or other improper payments made to obtain a business
  advantage. You and we acknowledge and agree that you and we are committed to conducting business
  ethically and in full compliance with all applicable laws and regulations, including, without limitation, the
  FCPA. You and each Controlling Principal agree to never take any action that could cause yourselves to
  be in violation of the FCPA.

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          Among the licenses and permits you may need are: Zoning or Land Use Approvals, Sunday Sale
  Permits, Liquor Licenses, Sales and use Tax Permits, Special Tax Stamps, Fire Department Permits, Food
  Establishment Permits, Health Permits, Alarm Permits, County Occupational Permits, Retail Sales
  Licenses, and Wastewater Discharge Permits. There may be other laws, rules or regulations which affect
  your Restaurant, including minimum wage and labor laws along with ADA, OSHA and EPA
  considerations. We recommend that you consult with your attorney for an understanding of them.

                                              ITEM 2
                                       BUSINESS EXPERIENCE

  President of Five Guys and FGE: Victor J. Murrell

  Mr. Victor Murrell has been our President since April 2017. He has been President of FGE since November
  2002. He has also served as Secretary and Treasurer of Five Guys Inc. since January 1997.

  Secretary and Treasurer of Five Guys and FGE: Jane Murrell

  Mrs. Jane Murrell has been our Secretary and Treasurer since April 2017. She has been Secretary and
  Treasurer of FGE since November 2002. She has also served as President of Five Guys Inc. since January
  1997.

  Vice President of FGE: James J. Murrell

  Mr. James Murrell has been one of FGE’s Vice Presidents since November 2002. He has also served as
  one of the Vice Presidents of Five Guys Inc. since January 1997.

  Vice President of FGE: Matthew D. Murrell

  Mr. Matthew Murrell has been one of FGE’s Vice Presidents since November 2002. He has also served as
  one of the Vice Presidents of Five Guys Inc. since January 1997.

  Vice President of FGE: Chad M. Murrell

  Mr. Chad Murrell has been one of FGE’s Vice Presidents since November 2002. He has also served as one
  of the Vice Presidents of Five Guys Inc. since January 1997.

  Vice President of FGE: Benjamin J. Murrell

  Mr. Benjamin Murrell has been one of FGE’s Vice Presidents since November 2002. He has also served
  as an Operations Manager of Five Guys Inc. since January 1998.

  Vice President of FGE: Tyler D. Murrell

  Mr. Tyler Murrell has been one of FGE’s Vice Presidents since November 2002. He has also served as an
  Operations Manager of Five Guys Inc. since January 1997.

  Chief Operating Officer of FGE: Sam Chamberlain

  Mr. Sam Chamberlain has been FGE’s Chief Operating Officer since October 2007.




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  Chief Financial Officer of FGE: Peter Hanson

  Mr. Peter Hanson has been FGE’s Chief Financial Officer since October 2008.

  Vice President of Franchise Operations of FGE: Robert Toomey

  Mr. Robert Toomey has been FGE’s Vice President of Franchise Operations since January 2011.

  General Counsel of FGE: Dale Thompson

  Mr. Dale Thompson has been FGE’s General Counsel since January 2003.

  Deputy General Counsel of FGE: Adam Aberra

  Mr. Adam Aberra has been FGE’s Deputy General Counsel since May 2015. From January 2008 to May
  2015, he served as FGE’s Associate General Counsel.

  Director of Franchise Sales of FGE: Mark Moseley

  Mr. Mark Moseley has been FGE’s Director of Franchise Sales (f/k/a Director of Franchise Development)
  since June 2004.

  Note: Unless otherwise stated above, each individual in Item 2 maintains an office at our headquarters in
  Lorton, Virginia.

  We do not currently hire, employ, contract with, or otherwise use the services of any franchise brokers.

                                                  ITEM 3
                                                LITIGATION

          On January 14, 2005, in accordance with Sections 14-214 and 14-216 of the Maryland Franchise
  Law, the Maryland Attorney General required FGE to sign a Consent Order (“Order”) for violations of
  those sections in that FGE sold a franchise before its franchise renewal registration became effective and
  offered to sell 2 others during this period of time. The Order required FGE to offer rescission to the one
  franchisee who bought the franchise, and to enroll one of its officers in a franchise compliance training
  program. FGE complied with the terms of the Order and the one franchisee declined the offer of rescission.
  The Order also provides that if FGE violates the Order, the Maryland Division of Securities may bring
  administrative or judicial proceedings against FGE for enforcement of the Order.

           Michael Kim v. Five Guys Enterprises (State Case No. CAUD-33586; Fed Civil Action No. 8:10-
  cv-03060). On October 13, 2010, FGE’s former franchisee, Michael Kim (together with his affiliates,
  “Kim”), sought to enjoin FGE from terminating Kim’s franchise rights due, in part, to Kim’s election to
  close a FIVE GUYS® restaurant without FGE’s approval and open a competing concept at the same location
  while still continuing to use certain methods, procedures, and proprietary elements which are unique to the
  FIVE GUYS® System (e.g., the FIVE GUYS® preparation method for burgers and fries, a red and white
  tiled interior décor, etc.) in violation of the non-competition provisions of his Franchise Agreements (the
  “Maryland Complaint”). In connection with this matter, FGE filed a federal complaint against Kim on
  October 28, 2010 in the United States District Court for the District of Maryland (the “Federal
  Complaint”). On January 10, 2011, both the Maryland Complaint and the Federal Complaint were
  withdrawn once Kim agreed to permanently leave the FIVE GUYS® franchisee network and FGE agreed
  to purchase all of Kim’s 7 stores for an aggregate purchase price of $3,800,000 plus certain related expenses.

          Karl Family Trust, et. al. v. Five Guys, et. al., (State Civil No. 130905668). The Judicial District
  Court for Salt Lake County, State of Utah. On August 23, 2013, the plaintiffs filed a complaint against

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  FGE, Jerry Murrell, and certain of its then current franchisees. The claims stem from a series of transactions
  related to the development of FIVE GUYS® restaurants in certain provinces in Canada (the
  “Venture”). The plaintiffs allege that FGE received false information from outside investors related to the
  Venture, and that FGE subsequently violated the plaintiff’s franchise agreements by terminating their
  franchise rights. The plaintiffs also allege that FGE breached its covenant of good faith and fair dealing,
  were unjustly enriched by taking franchisee fees from third parties, and that FGE negligently
  misrepresented that the plaintiffs were given rights to certain Canadian provinces. Each claim alleges
  damages in excess of $10,000. FGE’s motion to compel arbitration was granted in part and the plaintiffs
  conceded that the remaining claims should be sent to arbitration in Virginia. The plaintiffs have filed no
  claims in arbitration as of the date of this Disclosure Document. The plaintiffs are continuing to litigate in
  Utah state court against the other defendants.

          Other than the foregoing, no litigation is required to be disclosed in this Item.

                                                  ITEM 4
                                               BANKRUPTCY

          No bankruptcy information is required to be disclosed in this Item.

                                                   ITEM 5
                                                INITIAL FEES

           Development Agreement: When you sign the Development Agreement, you must pay us a non-
  refundable territorial development fee equal to $50,000 for each Restaurant to be developed under the
  Development Agreement (“Development Fee”). We reserve the right to adjust this formula of the
  Development Fee depending on the size of the area acquired. The Development Fee must be paid in a
  single, lump sum on the date you sign the Development Agreement. The Development Fee is fully earned
  and non-refundable when paid, in consideration of administrative and other expenses we incur in entering
  into the Development Agreement. After signing the Development Agreement, you must enter into a
  Franchise Agreement based on our then-current form for each Restaurant to be developed under the
  Development Agreement. In the event you wish to only develop a single Restaurant, you must enter into a
  Development Agreement for that Restaurant.

            Franchise Agreement: You must pay us an initial franchise fee of $25,000 for the right to establish
  a single Restaurant under a Franchise Agreement (“Franchise Fee”). The Franchise Fee must be paid in a
  single, lump sum on the date you sign the Franchise Agreement. The Franchise Fee is fully earned and non-
  refundable when paid, in consideration of administrative and other expenses we incur in entering into the
  Franchise Agreement. However, if you cannot obtain possession of an approved location for the Restaurant
  within 6 months after you have signed your first Franchise Agreement, we have the right to terminate the
  Franchise Agreement and refund 75% of your Franchise Fee. Before returning any portion of the Franchise
  Fee, you must demonstrate to us that you have made a good faith effort to obtain the financing and
  possession of an approved location for the Restaurant. This policy may be revoked by us at any time. If
  we decide to revoke this policy, we will provide written notice to those franchisees that have signed a
  Franchise Agreement to establish a single Restaurant but have not yet developed their Restaurant, and will
  file all necessary amendment documentation with the applicable state commissions. Any such notice will
  be given at least 60 days before the revocation takes effect. This is the only refund provision currently
  available to you. As stated above, in the event you wish to only develop a single Restaurant, you must enter
  into a Franchise Agreement and a Development Agreement for that Restaurant. The Development Fee is
  not applied towards the Franchise Fee. For the year ended December 31, 2021, we had deferred revenue
  for both Development Fees and Franchise Fees in the amount of $24,750,047.

          Alaska, Hawaii and Puerto Rico Fees: The Five Guys development and operations teams have
  determined that the market needs for Alaska, Hawaii and Puerto Rico will necessitate considerably more
  effort by our personnel (together with the incurrence of substantially more costs) than we typically

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   experience with our other domestic territories. As such, the Development Fee described above and
   currently assessed to our franchisees will not apply to prospective franchisees for Alaska, Hawaii and Puerto
   Rico. In order to ensure that the FIVE GUYS® brand standards are maintained in these specific regions,
   we are requiring that the per store Development Fee and Franchise Fee for Alaska, Hawaii and Puerto Rico
   be set at $125,000, and $25,000, respectively.

           Initial Training Fee: We do not charge a training fee for the initial training of your Operating
   Principal, your general manager, and one assistant manager. At your request, and subject to space
   availability, we or our designee will provide initial training to additional members of your personnel, but
   we may charge a fee for that training. The additional training fee we currently charge is $1,500 per person
   (“Additional Training Fee”). The Additional Training Fee represents our costs of providing the training,
   including the cost of materials and our administrative costs of making personnel available for training
   purposes. You must pay the Additional Training Fee for each additional member of your personnel before
   training begins. The initial training fee is non-refundable and is charged uniformly to all franchisees,
   although actual dollar amounts may vary depending on how many additional persons are trained.

           Required Initial Inventory Purchase: Before your business opens, you must purchase the initial
   inventory of proprietary hamburger and hotdog buns from our affiliate Five Guys Bakery at a non-
   refundable cost of approximately $350, payable when you place the order.

          There are no additional payments to or purchases from us or our affiliates before you open your
   Restaurant for business.

                                                   ITEM 6
                                                 OTHER FEES

         Fees (1)                   Amount                    Due Date                       Remarks
 Royalty Fee (2)           6% of Gross Sales. If the     Weekly on              Amounts due will be withdrawn by
                           Restaurant is located in      Wednesdays             electronic wire transfer from your
                           Alaska, Hawaii or Puerto                             designated bank account.
                           Rico, the Royalty Fee is 8%
                           of Gross Sales.
 Creative Fund (3)         Up to 2% of Gross Sales       Weekly on              Amounts due will be withdrawn by
                           (Currently 2%)                Wednesdays             electronic wire transfer from your
                                                                                designated bank account. We may
                                                                                reduce your required contribution to
                                                                                the Creative Fund at our sole
                                                                                discretion.
 Bread Products            Varies, depending on your     Weekly on Mondays      Amounts due will be withdrawn by
                           bread product needs                                  Five Guys Bakery via electronic
                                                                                wire transfer from your designated
                                                                                bank account.
 Local Advertising         Not less than 2% of Gross     Annually               We may require you to spend not
                           Sales                                                less than 2% of Gross Sales on local
                                                                                advertising annually throughout the
                                                                                term of your Franchise Agreement.
                                                                                Any contributions to a Cooperative
                                                                                will be credited against your local
                                                                                advertising obligations. You pay
                                                                                third parties for your local
                                                                                advertising and promotion.




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            Fees (1)                  Amount                      Due Date                       Remarks
 Cooperative Advertising     Maximum - 1½% of Gross         As determined by       Your Cooperative contribution may
 (4)                         Sales, which will be           Cooperative            be allocated by us to the Creative
                             credited towards Local                                Fund.
                             Advertising
 Interest                    The lesser of (i) 10% per      On demand              Interest may be charged on all
                             annum or (ii) the maximum                             overdue amounts.
                             rate allowed by applicable
                             law
 Advertising &               Varies, depending on your      When billed
 Promotional Materials       advertising needs
 Prohibited Product or       $250 per day of use of         If incurred            In addition to other remedies
 Service Fine                unauthorized products or                              available to us.
                             services
 Initial Training of         $1,500 per person              Before Training        No charge for initial training for
 additional or replacement                                                         Operating Principal, general
 and successor personnel                                                           manager and one assistant manager.
 Additional Assistance       If you request additional      When billed            We provide opening assistance
                             assistance, you must pay the                          without additional charge. Any
                             current per diem charge for                           additional assistance you request is
                             our employees used to                                 billed at the current per diem rate.
                             provide the assistance and
                             our associated costs.
                             Current per diem is $500.
 Cash Register Upgrades      Approximately $5,000           When incurred          You must make annual payments to
                                                                                   a third-party vendor to maintain
                                                                                   your Computer System. It is
                                                                                   anticipated that several updates and
                                                                                   upgrades may be required by your
                                                                                   third-party vendor during the term
                                                                                   of your Franchise Agreement, and
                                                                                   any such updates or upgrades will
                                                                                   be at your expense. We estimate
                                                                                   that the cost of potential updates
                                                                                   and upgrades is approximately
                                                                                   $5,000.
 Transfer Fee                $5,000 to reimburse us for     Submitted with         No fee charged to an individual or
                             our reasonable costs and       transfer application   partnership franchisee that transfers
                             expenses in reviewing the                             its rights to a corporation controlled
                             transfer application                                  by the same interest holders. A
                                                                                   transfer fee of a similar amount is
                                                                                   charged under both the Franchise
                                                                                   Agreement and the Development
                                                                                   Agreement.




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         Fees (1)                   Amount                        Due Date                 Remarks
 Additional or Remedial   Cost in providing the           Before additional   We reserve the right to charge a fee
 Training                 training (Currently $1,500)     training            for additional or remedial training
                                                                              that is not mandatory. We do not
                                                                              charge for mandatory training, but
                                                                              we do reserve to right to be
                                                                              reimbursed for costs incurred. Cost
                                                                              will vary based on the staff,
                                                                              location, and type of training being
                                                                              offered.
 Inspection and Testing   Cost of inspection or testing   When billed         We may require you to pay us or an
                          (Currently estimated at                             independent laboratory for the cost
                          $5,000)                                             of inspection or testing.
 Vendor/Equipment         $5,000 to reimburse us for      As incurred         This fee is payable to us and covers
 Approval Fee             our reasonable costs and                            the costs and expenses to evaluate a
                          expenses in reviewing and                           new vendor and equipment of your
                          approving vendor                                    choice that is not currently on our
                          equipment                                           approved vendor list.
 Audit Fee                Cost of audit (Currently        When billed         Payable only if we find, after an
                          estimated at $5,000)                                audit, that you have understated any
                                                                              amount you owe to us by more than
                                                                              2%.
 Late Payment or          $50 per day you are late        Daily               If you fail to pay royalties when due
 Reporting Fee                                                                or fail to submit royalty reports
                                                                              weekly as required, we may charge
                                                                              you $50 per day until the payment
                                                                              or report is received. This amount is
                                                                              in addition to any applicable
                                                                              interest penalties.
 Site Evaluation Fee      A reasonable amount to be       If incurred         For those additional on-site
                          determined (Currently                               evaluations, or if the Franchise
                          $500)                                               Agreement does not relate to your
                                                                              first Restaurant, we reserve the
                                                                              right to charge a reasonable fee for
                                                                              each evaluation as well as a fee for
                                                                              our reasonable expenses including
                                                                              the cost of travel, lodging, meals
                                                                              and wages.
 Relocation Fee           $7,500 to reimburse us for      If incurred         This covers our costs to review the
                          our time, costs and                                 proposed relocation of one of your
                          expenses in reviewing the                           currently operating Restaurants.
                          relocation application as                           We reserve the right to assess a
                          well as the current and                             relocation fee if your application to
                          future sites                                        relocate your Restaurant is
                                                                              approved. No fee will be assessed
                                                                              if your application is denied.
 Gift Card Program        See note 5
 Time Extension Fee       $10,000 per Time Extension      On approval of      The Time Extension will run for an
                                                          extension to        additional 90-day period beginning
                                                          Development         on the expiration of the applicable
                                                          Schedule            development period, including any
                                                                              previous extensions.

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  Notes:

          (1)      All fees as described in this Item 6 are non-refundable. Except as otherwise indicated in
  the preceding chart, we uniformly impose all fees and expenses listed, and you must pay them to us. Except
  as specifically stated above, the amounts given may increase based on changes in market conditions, our
  cost of providing services and future policy changes. At the present time, we have no plans to increase
  payments over which we have control.

           (2)      For the purposes of determining the royalties to be paid under the Franchise Agreement,
  “Gross Sales” means all revenue from the sale of all services and products and all other income of every
  kind and nature related to, derived from, or originating from the Restaurant, including, without limitation,
  income related to (i) catering and delivery activities, (ii) any sales or orders of products or food preparation
  services of any kind provided from or related to the Restaurant, and (iii) all proceeds of any business
  interruption insurance policies, in each case whether for cash or credit, and regardless of collection in the
  case of credit. If a cash shortage occurs, the amount of Gross Sales will be determined based on the records
  of the electronic cash register system and any cash shortage will not be considered in the determination.
  Gross Sales expressly excludes the following:

                  (a)     Receipts from the operation of any public telephone installed in the Restaurant or
  products from pre-approved vending machines located at the Restaurant, except for any amount
  representing your share of the revenues;

                   (b)     Sums representing sales taxes collected directly from customers, based on present
  or future laws of federal, state or local governments, collected by you in the operation of the Restaurant,
  and any other tax, excise or duty which is levied or assessed against you by any federal, state, municipal or
  local authority, based on sales of specific merchandise sold at or from the Restaurant, provided that the
  taxes are actually transmitted to the appropriate taxing authority; and

                   (c)    Proceeds from isolated sales of trade fixtures not constituting any part of your
  products and services offered for resale at the Restaurant or having any material effect on the ongoing
  operation of the Restaurant required under the Franchise Agreement.

          We may authorize certain other items to be excluded from Gross Sales. We may revoke or
  withdraw any exclusion at any time. The royalty fee will be withdrawn from your designated bank account
  by electronic wire transfer weekly on Wednesday based on Gross Sales from the preceding accounting
  period (see Section IV.B. of the Franchise Agreement), unless we require otherwise. You must maintain a
  minimum of $3,000 in your designated bank account for the Restaurant.

          (3)     We have established and will administer a national creative fund on behalf of the System
  to provide national or regional creative materials for the benefit of the System.

           (4)     Cooperatives will be comprised of all franchised Restaurants located in designated
  geographic areas. Each Restaurant has one vote in the cooperative. No Cooperatives have been established
  as of the date of this Disclosure Document. If a Cooperative is established, company-owned businesses
  will have the same voting power as other members of the Cooperative and will contribute the same amount
  of fees as franchised Restaurants.

          (5)     You must participate in our gift card program. All FIVE GUYS gift cards will be available
  for purchase and redemption at any Restaurant, and you must sell and redeem FIVE GUYS gift cards in
  accordance with the procedures we specify in the Manuals or otherwise in writing (e.g., procedures by
  which you will be reimbursed for gift cards issued by other Restaurants and redeemed at your Restaurant,
  and the manner in which to process payments to us or other franchisees for gift cards issued from your


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   Restaurant that are later honored by another Restaurant operated by us or such other franchisees). The
   administration of all gift card proceeds and reimbursements will be controlled by us or our affiliate.

                                                    ITEM 7
                                         ESTIMATED INITIAL INVESTMENT

                                     YOUR ESTIMATED INITIAL INVESTMENT

                                                                                  Method of
          Expenditure                 Estimated Amounts         When Payable      Payment         To Whom Paid
 Initial Franchise Fee (1)                  $25,000                 On signing    Lump Sum               Us
                                                                    Franchise
                                                                    Agreement
 Development Fee (1)                 $50,000 per Restaurant          On signing   Lump Sum               Us
                                         ($125,000 per              Development
                                      Restaurant in Alaska,          Agreement
                                     Hawaii and Puerto Rico)
 Leasehold Improvements (2)           $100,000 to $300,000          As Arranged   As Invoiced       Independent
                                                                                                    Contractors
 Lease Payments and other               $7,500 to $20,000             Monthly      Per Lease          Landlord
 rental expenses (3)
 Equipment (4)                        $55,000 to $105,000           As Arranged   As Invoiced   Designated Vendors
 Signage (5)                            $6,500 to $20,000           As Arranged   As Invoiced   Designated Vendors
 Initial Inventory (6)                 $10,000 to $15,000           As Arranged   As Invoiced    Designated Vendors
                                                                                                and Five Guys Bakery
 Architectural/ Engineering             $7,000 to $25,000           As Arranged   As Invoiced    Designated Vendor
 (7)
 Electronic Cash Register              $15,000 to $25,000           Lump Sum      As Invoiced    Designated Vendor
 System with Modem (8)
 Facsimile Machine (9)                    $350 to $500              Lump Sum      As Invoiced       Designated
                                                                                                Independent Vendor
 Travel, lodging and meals               $100 to $5,000             As Incurred   As Incurred   Independent Suppliers
 for initial training (10)
 Business Supplies                      $4,000 to $8,500            Lump Sum      As Invoiced   Independent Suppliers
 (stationery, business cards,
 menus, gift cards, paper and
 other materials) (11)
 Business licenses, permits,            $5,000 to $15,000           As Arranged   As Incurred     Various Agencies
 utility deposits, etc. (for first
 year) (12)
 Delivery and catering                    $0 to $1,000              As Incurred   As Incurred      Us and Various
 expenses (13)                                                                                        Vendors
 Insurance deposits and                  $750 to $1,250             As Arranged   As Invoiced    Independent Carrier
 premiums (14)
 Additional Funds for first 3          $20,000 to $25,000           As Arranged   As Incurred     Various Vendors
 months (15)




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                                                                              Method of
       Expenditure              Estimated Amounts         When Payable        Payment           To Whom Paid
 TOTAL (16)                     $306,200 to $641,250
                               ($381,200 to $716,250
                               for Alaska, Hawaii and
                                    Puerto Rico)

          In general, none of the expenses listed in the above chart are refundable, except any security
  deposits you must make may be refundable and the initial franchise fee is partially refundable in certain
  circumstances.

  Notes:

          (1)      You must pay an initial franchise fee of $25,000 when you sign a Franchise Agreement.
  The initial franchise fee is non-refundable under the terms of the Franchise Agreement, except that we
  currently have a policy under which we may refund 75% of the initial franchise fee if you are unable to
  locate an acceptable site within 6 months after signing your Franchise Agreement. You must pay a
  Development Fee of $50,000 multiplied by the total number of Restaurants to be located outside of Alaska,
  Hawaii and Puerto Rico and $125,000 multiplied by the total number of Restaurants to be located within
  these jurisdictions, to be developed under the Development Agreement, even if it is only one Restaurant.
  The Development Fee is non-refundable and will vary depending on the number of Restaurants you commit
  to develop in your territory.

            (2)     The cost of leasehold improvements will vary depending on numerous factors, including:
  (i) the size and configuration of the premises; (ii) pre-construction costs (e.g., demolition of existing walls
  and removal of existing improvements and fixtures); and (iii) cost or materials and labor which may vary
  based on geography and location. These amounts are based on the cost of leasehold improvements. These
  figures are our best estimate based on remodeling/finish-out rates and conditions in the Washington, D.C.
  metropolitan area and some estimates from other general contractors based in the United States. These
  amounts may vary substantially based on local conditions, including the availability and prices of labor and
  materials. These costs may also vary depending on whether certain of these costs will be incurred by the
  landlord.

           (3)       The figures are for the first 3 months’ rent and assume that the premises of the Restaurant
  will be in a strip shopping center or urban location ranging in size from approximately 2,000 to 3,000 square
  feet. In addition to the rent, landlords will typically require a security deposit which is one month’s rent.
  Further, the figures assume base annual rental rates ranging from $20 to $30 per square foot. Landlords
  may vary the base rental rate and/or security deposit and may charge rent based on a percentage of gross
  sales. In addition to base rent, the lease may require you to pay common area maintenance charges (“CAM
  Charges”) for the mall or shopping center, your pro rata share of the real estate taxes and insurance for the
  mall or shopping center, and your pro rata share of other charges. The actual amount you pay under the
  lease will vary depending on the size of the Restaurant, the types of changes that are allocated to tenants
  under the lease, your ability to negotiate with landlords and the prevailing rental rates in the geographic
  region.

          (4)     You must utilize equipment meeting our specifications to be used in the Restaurant,
  including, a cooking grill, work tables, shelving, oven stand proofer, ice machine, and other related items
  including smallwares. We have established relationships with equipment vendors for certain equipment
  used in Restaurants that meet our specifications.

          (5)     These amounts represent your cost for menu boards, menu panels, neon logo and
  descriptive signs. Your landlord may have different restrictions it places on interior and exterior signage
  which may affect your costs.


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           (6)    These amounts represent your initial inventory of food supplies and paper goods for use in
  the first 3 months of operating the Restaurant. This amount also includes the $350 for the proprietary
  hamburger and hotdog buns you must purchase from our affiliate Five Guys Bakery.

           (7)     We will provide to you, without charge, our floor plan, reflected ceiling plan, and the FIVE
  GUYS® brand standard construction guidelines for a prototypical Restaurant (collectively, the
  “Preliminary Design Package”). You must obtain architectural, engineering, and design services from an
  architectural design firm that we approve, to adapt your Restaurant premises to our standards and
  specifications. The estimate above includes costs of obtaining architectural and design services necessary
  for the construction of the Restaurant.

          (8)     We require that you use the point-of-sale system we specify, have high speed internet
  access and an email account to receive communications from us.

            (9)     You must have a facsimile machine to communicate with us and to accept fax
  menu/catering orders, and it must be able to cut pages as they are received or print on single sheet paper.
  It will also be necessary to have a copy machine for general use.

          (10)    We (or our designee) provide initial training to your Operating Principal, general manager,
  and one assistant manager at no additional charge. These estimates include only your out-of-pocket costs
  associated with the training of these personnel members (including travel, room, and board). These
  amounts do not include any fees or expenses for training any other personnel. Training is for not less than
  10 days, which may not necessarily be consecutive days. These costs will vary depending on your selection
  of lodging and dining facilities and mode and distance of transportation.

           (11)    You must purchase business cards, brochures, memorabilia and other written materials for
  use in the franchise business. You will typically purchase amounts that may last as long as 6 months. You
  may purchase these materials from us or independent vendors that we have approved.

           (12)    These are estimates of the costs for obtaining local business licenses which typically remain
  in effect for one year. These figures do not include occupancy and construction permits which were
  included in the leasehold improvement costs. The cost of these permits and licenses will vary substantially
  depending on the location of the franchised business. This figure also includes the purchase of a “wine and
  beer” license from a government authority. The cost for these licenses can vary from city to city and state
  to state. The estimates also include your utility deposits. Utility deposits may or may not be needed if you
  have another operating business.

          (13)     We may offer certain franchisees the option of providing their customers delivery and
  catering services. If you choose, and we approve you, to provide delivery and catering services from your
  FIVE GUYS® Restaurant, you will need to purchase additional signage for use in/on delivery vehicles, and
  may incur fuel costs and other additional costs. You are not required to purchase a motor vehicle to be used
  exclusively for your franchised business. Any existing motor vehicle available for your use is acceptable.
  You will need a vehicle if you choose, and we approve you, to provide delivery and catering services. You
  are not required to provide delivery and catering services. If you do not provide delivery or catering
  services, you will not incur these expenses.

           (14)    These figures are the first 3 month’s estimates of the cost of the initial deposit/premiums
  for the insurance you must obtain and maintain for the franchised business.

          (15)     Beginning with the first FIVE GUYS® restaurant which opened in 1986, we have relied on
  35 years of FIVE GUYS® Restaurant experience in compiling these estimates. Additional items that will
  need to be purchased or leased include telephone system, music system, floor mats, in store training,
  uniforms, etc. These amounts are our estimate of the amount needed to cover your expenses for the start-
  up phase (first 3 months) of your business. You must maintain a minimum of $3,000 in your checking

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  account for electronic wire transfer purposes and other costs. These figures are estimates, and you may
  incur additional expenses starting the Restaurant. Your actual costs will depend on factors such as your
  management skill, experience and business acumen; local economic conditions; the local market for
  products; the prevailing wage rate; competition; and the sales level reached during the start-up phase. These
  amounts do not include any estimates for debt service.

           (16)    This total represents the initial investment for a single Restaurant. When you sign the
  Development Agreement, the Development Fee is multiplied by the number of Restaurants to be developed.
  The initial Franchise Fee for each Restaurant will be paid on the signing of each Franchise Agreement.
  Actual start-up costs pertaining to the actual Restaurants opened under the Development Agreement are as
  estimated above, subject to potential increases over time or other changes in circumstances. Because your
  primary responsibility under the Development Agreement is to execute Franchise Agreements for the
  establishment of Five Guys Restaurants, we anticipate that a developer’s initial investment will be
  approximately equal to the totals in the chart above multiplied by the number of Restaurants to be
  developed. We do not offer financing directly or indirectly for any part of the initial investment (see Item
  10).

  Development Agreement

          In connection with the Development Agreement, you will need access to working capital funds to
  cover the initial costs incurred each time you open a Restaurant within your development area. The vehicle
  costs you incur to view potential sites, oversee unit build-outs, supervise multiple locations, etc. will be
  approximately $2,100 for 3 months.

          Except as specifically stated above, the amounts given may be subject to increases based on changes
  in market conditions, our cost of providing services and future policy changes. At the present time, we
  have no plans to increase payments over which we have control.

                                        ITEM 8
                   RESTRICTIONS ON SOURCES OF PRODUCTS AND SERVICES

  Required Purchases and Operation Standards

           You must purchase or lease and install all fixtures, furnishings, equipment (including electronic
  cash registers, computer hardware and software), décor items, signs and related items we require, all of
  which must conform to the standards and specifications in our Manuals or otherwise in writing, unless you
  have first obtained our written consent to do otherwise. You may not install or permit to be installed on the
  Restaurant premises any fixtures, furnishings, equipment, décor items, signs, games, vending machines or
  other items without our written consent or which do not comply with our specifications. If you lease any
  of the property described above from a third party, we must approve the lease in writing before it is signed.
  We will not approve the lease unless it permits your interest in the lease to be assigned to us if the Franchise
  Agreement terminates or expires.

            To ensure that the highest degree of quality and service is maintained, you must operate the
  Restaurant in strict conformity with the methods, standards and specifications that we prescribe in the
  Manuals or otherwise in writing. You must maintain in sufficient supply and use and sell at all times only
  those food and beverage items, ingredients, products, materials, supplies and paper goods that meet our
  standards and specifications. Except as described in this Item 8, you must purchase promotional material
  incorporating our Marks and proprietary products only from approved suppliers. Five Guys Bakery, our
  affiliate, is currently the only approved supplier for the hamburger and hotdog buns and rolls that you must
  use. All menu items must be prepared using the recipes and procedures specified in the Manuals or other
  written materials. You must not deviate from these standards and specifications by the use or offer of non-
  conforming items or differing amounts of any items, without obtaining our written consent first. You must
  sell and offer for sale only those menu items, products and services that we have expressly approved for

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  sale in writing. You must offer for sale all products and services required by us in the manner and style we
  require, including dine-in and carry-out services. You must not deviate from our standards and
  specifications without obtaining our written consent first. You must discontinue offering for sale any items,
  products and services we may disapprove in writing at any time. We can, and expect to, modify our
  standards and specifications as we deem necessary. We will provide you notice of any changes in the
  Manuals.

          You must permit us or our agents, at any reasonable time, to remove a reasonable number of
  samples of food or non-food items from your inventory or from the Restaurant free of charge for testing by
  us or by an independent laboratory to determine whether the samples meet our then-current standards and
  specifications. Besides any other remedies we may have, we may require you to pay for the testing if we
  have not previously approved the supplier of the item or if the sample fails to conform to our specifications.

           Except for proprietary products and promotional materials provided by us or our designated
  suppliers, you must obtain all food and beverage items, ingredients, supplies, materials, fixtures,
  furnishings, equipment (including kitchen equipment, office equipment, service area equipment, electronic
  point of sale systems, computer hardware, and software systems), and other products used or offered for
  sale at the Restaurant solely from suppliers who demonstrate, to our continuing reasonable satisfaction, the
  ability to meet our then-current standards and specifications. Our criteria for supplier approval may be
  found in the Manuals. Among other things, the suppliers must have adequate quality controls and the
  capacity to supply your needs promptly and reliably. If you wish to purchase, lease or use any products or
  other items from an unapproved supplier, you must submit a written request for approval, or must request
  the supplier to do so. We have to approve any supplier in writing before you make any purchases from that
  supplier. We can require that our representatives be permitted to inspect the supplier’s facilities, and that
  samples from the supplier be delivered, either to us or to an independent laboratory, for testing. You must
  pay the Vendor/Equipment Approval fee, cost of the inspection, and the actual cost of the test must be paid
  by you or the supplier. We reserve the right to re-inspect the facilities and products of any approved supplier
  and to revoke our approval if the supplier fails to continue to meet any of our then-current standards. Our
  supplier approval procedure does not obligate us to approve any particular supplier. However, we will
  notify you within 30 days after we complete the inspection and evaluation process of our approval or
  disapproval of any proposed supplier.

  Proprietary Products and Marks

           We have and may continue to develop for use in the System products which are prepared from
  confidential proprietary recipes and other proprietary products which bear our Marks. Because of the
  importance of quality and uniformity of production and the significance of those products in the System, it
  is to your and our benefit that we closely control the production and distribution of those products.
  Accordingly, if those products become a part of the System, you will use only our proprietary recipes and
  other proprietary products and will purchase those items solely from us or from a source we designate all
  of your requirements for those products. After opening your FIVE GUYS® Restaurant, you may be required
  to purchase from us or our affiliates for resale to your customers any merchandise identifying the System
  that we require, such as FIVE GUYS® memorabilia and promotional products (such as t-shirts and jackets
  for resale), in amounts sufficient to satisfy your customer demand. You must also obtain upgrades for your
  electronic cash register system from designated suppliers occasionally as we notify you that they have
  become available, as described below in this Item 8 under the subheading “Computer and Electronic Cash
  Register Systems.”

          All advertising and promotional materials, signs, decorations, paper goods (including menus and
  all forms and stationery used in the Restaurant) and other items we designate must bear the Marks in the
  form, color, location and manner we prescribe. In addition, all your advertising and promotion in any
  medium must be conducted in a dignified manner and must conform to the standards and requirements in
  the Manuals or otherwise. You must obtain our approval before you use any advertising and promotional


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  materials and plans if we have not prepared or approved them during the 12 months before their proposed
  use.

  Insurance

           Before you open the Restaurant for business, you must obtain the insurance coverage specified
  below for the Restaurant to protect you, and, separately, us (with our affiliates, successors and assigns, and
  our respective partners and the officers, directors, shareholders, partners, agents, representatives,
  independent contractors and employees of each of them, the “Designees”) against any demand or claim
  with respect to personal injury, death or property damage, or any loss, liability or expense whatsoever
  arising or occurring on or in connection with the Restaurant. This insurance coverage must be maintained
  during the term of the Franchise Agreement and must be obtained from a responsible carrier or carriers
  acceptable to us. Except as additional coverages and higher policy limits may reasonably be specified by
  us occasionally, the policy or policies must include the following:

                   1.      Commercial general liability insurance, including property damage, personal
          injury, advertising injury, completed operations, products liability, and contracts liability in the
          amount of $2,000,000 per occurrence and in the aggregate.

                   2.      Property insurance providing coverage for “All Risks” of physical loss or damage
          and insuring all perils insured under the ISO “Special Form Causes of Loss” form, in an amount
          sufficient to cover the full cost of replacement of the Restaurant premises and all other related
          property in which you may have an interest with no coinsurance clause. The property insurance
          coverage must include coverage for business interruption in an amount sufficient to cover 12
          months of the Restaurant’s Gross Sales, and we reserve the right to require that the policy be
          extended to include coverage for earth movement, flood, wind and hail, and other perils we deem
          necessary.

                  3.       Crime insurance for employee dishonesty in the amount of $10,000 per occurrence.

                  4.     Worker’s compensation insurance in amounts provided by applicable law or, if
          permissible under applicable law, a legally appropriate alternative providing substantially similar
          compensation for injured workers satisfactory to us, so long as you maintain an excess indemnity
          or “umbrella” policy covering employer’s liability and/or a medical/disability policy covering
          medical expenses for on-the-job accidents.

                  5.      Commercial automobile liability insurance coverage for bodily injury and property
          damage for all owned, rented, leased, and/or hired vehicles you use in connection with the operation
          of the Restaurant in the amount of $1,000,000 per occurrence and in the aggregate.

                  6.       Network security, media & cyber liability insurance covering acts, errors,
          omissions, breach of contract, and violation of any consumer protection laws arising out of your
          Restaurant operations or services with a limit of $2,000,000 per occurrence and in the aggregate.
          This coverage must include (i) contractual privacy coverage for data breach response and crisis
          management costs that we would incur in the event of a data breach including legal and forensic
          expenses, notification costs, credit monitoring costs, and costs to operate a call center; and (ii) third
          party and first party coverage for loss or disclosure of any data, including personally identifiable
          information and payment card information, network security failure, violation of any consumer
          protection laws, unauthorized access and/or use or other intrusions, infringement of any intellectual
          property rights (except patent), unintentional breach of contract, negligence or breach of duty to
          use reasonable care, breach of any duty of confidentiality, invasion of privacy, or violations of any
          other legal protections for personal information, defamation, libel, slander, commercial
          disparagement, negligent transmission of computer virus, or use of computer networks in
          connection with denial of service attacks.

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                  7.      Employment practices liability coverage including endorsement for third-party
          claims in the amount of $2,000,000 per occurrence and in the aggregate.

                 8.        Such other insurance as may be required by the state or locality in which the
          Restaurant is located and operated.

           You may, after obtaining our written consent, elect to have reasonable deductibles under the
  coverage required under paragraphs 1 - 8 described above; however, neither we nor our Designees will be
  responsible for any deductibles and/or waiting periods that may appear in your policies. Also, related to
  any construction, renovation, refurbishment or remodeling of the Restaurant, you must maintain builders’
  risks insurance or equivalent course of construction coverage on your property insurance in an amount
  sufficient to cover the contract value of the project, plus any existing property (and this insurance must be
  extended to provide “delay in opening” coverage, where available).

           All policies you obtain and maintain must (i) contain cross liability coverage and severability on
  interests language, (ii) include a waiver of subrogation in favor of us and our Designees (to the extent
  permitted by law), (iii) be primary and non-contributory with any and all coverages held by us and/or our
  Designees, and (iv) be issued by an insurance company rated at least ‘A’ ‘VIII’ in the most current edition
  of A.M. Best Guide. We and our Designees must be included as additional insured under all above policies
  except worker’s compensation insurance, and those policies must expressly provide that none of our
  interests will be affected by any breach by you of any policy provisions. All policies must contain a
  provision that we and our Designees, although named as additional insured, will nevertheless be entitled to
  recover under the policies on any loss occasioned to us or our servants, agents or employees by reason of
  the negligence of you or your servants, agents or employees.

           On execution of a Franchise Agreement, and thereafter 30 days before the expiration of any policy,
  you must deliver to us the Certificates of Insurance and Endorsements evidencing the existence and
  continuation of proper coverage with limits not less than those we require. In addition, if we request, you
  must deliver to us a copy of the insurance policy or policies we require. Further, all insurance policies must
  expressly provide that no less than 30 days’ prior written notice will be given to us in the event of a material
  alteration to or cancellation of the policies. All delivered Certificates of Insurance and Endorsements
  evidencing the existence and continuation of proper coverage must be sent electronically to
  insurance@fiveguys.com, with hard copies to the following address upon request, or such other address(es)
  as we may designate from time to time:
                                      FIVE GUYS ENTERPRISES, LLC
                                             10718 Richmond Hwy
                                             Lorton, Virginia 22079
                                    Attention: Risk Management Department
          Should you, for any reason, fail to procure or maintain the insurance we require, as these
  requirements may be revised occasionally by us in writing, we will have the right and authority, but not the
  obligation, to immediately procure the insurance and charge you, which you must pay immediately on
  notice. The foregoing remedies are in addition to any other remedies we may have at law or in equity.

  System-Wide Information

          Five Guys Bakery, an indirect subsidiary of our Parent Company, is currently the only approved
  supplier for the hamburger and hotdog buns and rolls that you must use. You must pay Five Guys Bakery
  by electronic wire transfer once your order is placed. PAR Technology Corporation is currently the only
  approved supplier of the Point-of-Sale system. All other supplies and products may be purchased from any
  supplier previously approved by us, provided they maintain and conform to our standards and
  specifications. Other than Five Guys Bakery, there are no approved suppliers in which any of our officers
  owns an interest.

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          For the year ended December 31, 2021, $49,067,645 in revenue was derived by our affiliate Five
  Guys Bakery from the sale of hamburger and hotdog buns to our U.S. and Canadian franchisees, which
  amounted to 74% of Five Guys Bakery’s total revenue for 2021. Neither we nor our other affiliates derived
  any other revenue from required purchases or leases.

          We may, occasionally when possible, negotiate purchase arrangements, including price terms, with
  designated and approved suppliers on behalf of us and the franchise system. We may receive discounts on
  some products used in the franchise system, such as purchases of electronic cash register and software from
  approved suppliers, Restaurant equipment, and materials displaying our Marks, such as cups, napkins,
  business cards, stationery, flyers, brochures and other promotional materials and memorabilia. These
  discounts will be made available to you if you purchase through the approved suppliers offering the
  discounts. You must purchase from us or sources designated by us proprietary products and trademarked
  food products, as described in the Manuals. (We may sell these items to you or have you purchase them
  through designated sources at our cost, plus shipping, handling, a reasonable mark up by the supplier and
  an amount to compensate us for our administrative overhead in connection with these arrangements.) We
  do not undertake any obligation to negotiate the proportional price reductions as each supplier has their
  own position on the granting of (and tracking/accounting for) price reductions and/or rebates (which are
  described below).

           In addition to the discounts described above, we or our affiliates will receive, and expect to continue
  to receive, rebates from some of our designated suppliers as a result of our franchisees’ required purchases
  from these suppliers. We estimate that these rebates will range from 1% to 5% of franchisees’ purchases
  for products such as Coca-Cola beverages, Dr. Pepper beverages, Heinz products and Musiktoday. We do
  not receive rebates from all of our designated suppliers, as some provide discounts to us and our franchisees
  (as described above) or do not provide any purchasing incentives. Any rebates received serve to partially
  reimburse us for our costs in the initial sourcing, approval and ongoing monitoring of these suppliers’
  compliance with our quality standards. In 2021, approximately 100% of the proceeds expensed from the
  rebate funds collected were used to compensate the system-wide, third-party administrators for the secret
  shopper program, MarketForce, and to issue Coca-Cola related rebates to Five Guys franchisees.

          As of the date of this Disclosure Document, there are no purchasing or distribution cooperatives
  for any of the items described above in which we require you to participate.

         You must purchase or lease virtually all goods and services necessary to establish and operate the
  Restaurants from us or our Designees, from suppliers we approve, or in accordance with our specifications.
  We estimate that your purchases and leases from us and our approved suppliers will be approximately 90%
  to 100% of your costs to establish and operate the franchised business.

          When determining whether to grant new or additional franchises, we consider many factors,
  including any development rights granted under a Development Agreement, compliance with the Franchise
  Agreement, and compliance with the requirements described above in this Item 8.

                                                  ITEM 9
                                         FRANCHISEE’S OBLIGATIONS

          This table lists your principal obligations under the franchise and other agreements. It will
  help you find more detailed information about your obligations in these agreements and in other
  items of this disclosure document.

                                                                                           Item in Disclosure
                  Obligation                          Section in Agreement                     Document
  a.   Site selection and acquisition/ lease    Section II of Franchise Agreement            Items 8 and 11


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                                                                                        Item in Disclosure
                   Obligation                      Section in Agreement                     Document
  b.   Pre-opening purchases/leases        Sections VI, VII and VIII of Franchise      Items 5, 6, 7, 8 and 11
                                                        Agreement
  c.   Site development and other pre-       Section II of Franchise Agreement           Items 1, 8 and 11
       opening requirements
  d.   Initial and ongoing training         Section VI of Franchise Agreement            Items 5, 6 and 11
  e.   Opening                              Section VI of Franchise Agreement            Items 5, 6 and 11
  f.   Fees                                  Sections IV and VIII of Franchise             Items 5 and 6
                                               Agreement and Section II of
                                                 Development Agreement
  g.   Compliance with standards and       Sections II, III, VI, VIII, IX, X, XI and      Items 11 and 14
       policies/Manuals                         XII of Franchise Agreement
  h.   Trademarks and proprietary           Sections IX and X and Attachment D          Items 11, 13 and 14
       information                              of Franchise Agreement and
                                               Attachment B of Development
                                                         Agreement
  i.   Restrictions on products/services    Section VII of Franchise Agreement            Items 8 and 16
       offered
  j.   Warranty and customer service        Section VII of Franchise Agreement                 Item 8
       requirements
  k.   Territorial development and sales   Section III of Development Agreement               Item 12
       quotas
  l.   Ongoing product/service purchases    Section VII of Franchise Agreement             Items 6 and 8
  m.   Maintenance, appearance and         Sections II, VII and XIV of Franchise          Items 8 and 11
       remodeling requirements                           Agreement
  n.   Insurance                            Section XII of Franchise Agreement             Items 7 and 8
  o.   Advertising                          Section VIII of Franchise Agreement          Items 6, 8 and 11
  p.   Indemnification                      Section XV of Franchise Agreement                  Item 6
                                              and Section X of Development
                                                        Agreement
  q.   Owner’s participation/                Sections VI, XIV, XV and XIX of            Items 1, 11 and 15
       management/staffing                  Franchise Agreement and Section VI
                                                of Development Agreement
  r.   Records and Reports                  Sections IV, VII and XI of Franchise               Item 6
                                                         Agreement
  s.   Inspections and audits               Sections II, VII and XI of Franchise         Items 6, 8 and 11
                                                         Agreement
  t.   Transfer                             Section XIV of Franchise Agreement            Items 6 and 17
                                              and Section VII of Development
                                                        Agreement
  u.   Renewal or Extension of Rights      Section III of Franchise Agreement and         Items 6 and 17
                                           Section III of Development Agreement




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                                                                                        Item in Disclosure
                  Obligation                        Section in Agreement                    Document
  v.    Post-termination obligations        Section XVIII of Franchise Agreement          Items 6 and 17
                                               and Section VII of Development
                                                         Agreement
  w.    Non-competition covenants              Section X and Attachment D of                 Item 17
                                             Franchise Agreement and Section IX
                                              and Attachment B of Development
                                                         Agreement
  x.    Dispute Resolution                   Section XIX of Franchise Agreement           Items 6 and 17
                                               and Section XV of Development
                                                         Agreement
  y.    Other:
        - Liquidated damages                Section XVIII of Franchise Agreement              Item 6
        - Annual Development Plan           Section III of Development Agreement              Item 1

                                                  ITEM 10
                                                FINANCING

          We do not offer, either directly or indirectly, any financing arrangements to you. We do not
  guarantee your notes, leases or other obligations.

                                     ITEM 11
       FRANCHISOR’S ASSISTANCE, ADVERTISING, COMPUTER SYSTEMS AND TRAINING

           Except as listed below, we are not required to provide you with any assistance.

          As noted in Item 1, we have entered into a management agreement with FGE for the provision of
  support and services to Five Guys franchisees. However, we remain responsible for all of the support and
  services required under the Franchise Agreement.

  Pre-Opening Obligations:

          Before the opening of a Restaurant we or our designee will provide the following assistance and
  services:

          1.      Our written site selection guidelines and the site selection assistance we deem advisable.
  (Franchise Agreement, Section V.(1).) If you cannot obtain possession of an approved location for the
  Restaurant within 6 months after you have signed the Franchise Agreement, we have the right to terminate
  the Franchise Agreement and refund 75% of the initial Franchise Fee.

         2.       One on-site evaluation, and additional on-site evaluations as we deem necessary or in
  response to your reasonable request for site approval. (Franchise Agreement, Section V.(2).)

          3.      The Preliminary Design Package for the Restaurant. (Franchise Agreement, Sections
  VII.(D). and V.(3).)

          4.      On loan, access to a set of the Manuals which we may revise. (Franchise Agreement,
  Section V.(4).)

          5.      A list of our approved suppliers that supply and/or deliver food and beverage items,
  ingredients, supplies, materials, signs, fixtures, furnishings, Equipment and other products used or offered

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  for sale at the Restaurant and the written standards and specifications for those items. (Franchise
  Agreement, Section V.(7).)

           6.     An initial training program for your Operating Principal, general manager, and one
  assistant manager at no additional charge to you. If you wish to have additional personnel trained, we may
  charge up to $1,500 per person. (Franchise Agreement, Section V.(8).)

          7.      5 days of on-site pre-opening and 5 days of post-opening management assistance at the
  Restaurant for your first Restaurant and in our discretion for each additional Restaurant. Pre-opening
  assistance includes construction inspections and review. Neither period may necessarily be consecutive
  days. (Franchise Agreement, Section V.(9).)

         We are not required to provide any other service or assistance to you before the opening of the
  Restaurant.

  Post-Opening Obligations:

          We are obligated by the Franchise Agreement to provide the following services and assistance after
  the opening of the Restaurant:

          1.      As we reasonably determine necessary, visits to, and evaluations of, the Restaurant and the
  products and services provided there to ensure that the high standards of quality, appearance and service of
  the System are maintained. (Franchise Agreement, Section V.(5).)

          2.      Advice and written materials (including updates to the Manuals) concerning techniques of
  managing and operating the Restaurant, including new developments and improvements in equipment, food
  products, packaging and preparation. (Franchise Agreement, Section V.(4).)

         3.       Certain merchandise incorporating our Marks, including promotional products and
  memorabilia, for use in the Restaurant and for resale to your customers, in quantities sufficient to meet your
  customer demand, at a reasonable cost are made available to franchisees in the System. (Franchise
  Agreement, Section V.(6).)

        4.       5 days of on-site post-opening management assistance at the Restaurant. (Franchise
  Agreement, Sections V.(9) and VI.F.(3).)

          5.      Training programs and seminars and other related activities regarding the operation of the
  Restaurant as we (or our designee) may conduct for you, or Restaurant personnel generally, which your
  Operating Principal, general manager and other Restaurant personnel may be required to attend. (Franchise
  Agreement, Section VI.E(2).)

          6.     On-site remedial training for your Restaurant personnel when you reasonably request it or
  as we find appropriate. If the remedial training is requested by you, we may require you to pay the per
  diem of the employees providing the training and our expenses in providing the training. (Franchise
  Agreement, Section VI.E(4).)

          7.      Administration of the Creative Fund and advertising cooperatives described below, as
  applicable. (Franchise Agreement, Section VIII.C and D.)

          8.      Indemnification against and reimbursement for all damages for which you are held liable
  in any proceeding arising out of your use of any of the Marks (including settlement amounts), provided that
  you and your Controlling Principals have fully complied with the terms of the Franchise Agreement.
  (Franchise Agreement, Section IX.D.)


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          We are not required to provide any other service or assistance to you for the continuing operation
  of the Restaurant.

          We have no obligations to perform any duties under the Development Agreement.

  Creative Fund:

          The Creative Fund. Our predecessor, FGE, established and we currently administer a creative
  fund to quality control and promote the System on a regional or national basis (the “Creative Fund”). You
  must contribute up to 2% of the Gross Sales of the Restaurant to the Creative Fund for each accounting
  period (the “Weekly Contributions”), as we determine and as set forth in Item 6. Company-owned units
  also contribute Weekly Contributions to the Creative Fund at the same level. These Weekly Contributions
  to the Creative Fund must be paid in the same manner as you make royalty payments.

          We or our designated agent maintain and administer the Creative Fund as follows:

                  1.       We direct all promotional programs and have sole discretion to approve or
          disapprove the creative concepts, materials and media used in the programs and their placement
          and allocation. Company-operated Restaurants contribute to the Creative Fund on the same basis
          as franchised Restaurants. The Creative Fund is intended to maximize customer service, brand
          awareness, quality control, general public recognition and acceptance of the Marks (including,
          without limitation, maintenance and remediation efforts to prevent the potential devaluation of the
          Marks) and improve the collective success of all Restaurants operating under the System.
          Therefore, we and our designated agents are not required to manage the Creative Fund so as to
          ensure (a) that your benefits from those expenditures are equivalent or proportionate to your
          contribution or (b) that any particular franchisee benefits directly or pro rata from the promotional
          programs.

                   2.      The Weekly Contributions to the Creative Fund are used solely for collecting and
          expending the quality control and secret-shopper initiatives administered by our third-party
          consultants and/or all other advertising efforts (including, without limitation, the cost of preparing
          and conducting any general marketing campaigns, public relations activities, employing market
          consulting agencies to assist therein, and costs of our personnel and other departmental costs for
          marketing and quality control measures that we internally administer or prepare). All Weekly
          Contributions to the Creative Fund will be recorded in a separate general ledger account for such
          purposes, such as paying for the costs of maintaining, administering, directing, and preparing the
          secret-shopper initiatives and rewards programs. We may later elect to use proceeds from the
          Creative Fund in advertising efforts including television, radio, magazine, and newspaper
          advertising campaigns; direct mail and outdoor billboard advertising; public relations activities;
          employing advertising agencies; and costs of our personnel and other departmental costs for
          advertising that we may administer or prepare internally. In addition to the advertising costs
          described above, we may use the Creative Fund to defray our reasonable administrative costs and
          any overhead that we may incur in the administration or direction of the Creative Fund and related
          programs for you and the System. The Weekly Contributions to the Creative Fund and its earnings
          will not otherwise benefit us. Any sums paid to the Creative Fund that are not spent in the year
          they are collected will be spent in the following year or returned to the contributors in proportion
          to the respective amounts paid by them, without interest, on the basis of their respective
          contributions. For purposes of clarification, any rebates or similar allowances we receive and are
          subsequently contributed to the Creative Fund will be subject to our discretionary allowance and
          will not be subject to the restrictions described above.

                  3.      We will prepare an annual statement of the operations of the Creative Fund that
          will be made available to you on your written request to us. We are not required to have this
          Creative Fund statement audited.

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                  4.       Although the Creative Fund is intended to be perpetual, we may terminate the
          Creative Fund at any time; however, the Creative Fund will not be terminated until all monies in
          the Creative Fund have been spent for advertising or promotional purposes or returned to
          contributors on the basis described in paragraph 2 above. We may also reduce your required
          contribution to the Creative Fund at our sole discretion.

           We currently promote the Restaurants and the products offered by the Restaurants primarily using
  initiatives aimed at increasing quality control measures to generate greater word-of-mouth publicity (e.g.,
  our secret shopper program). As the number of Restaurants in the System expands, we may consider limited
  use of other forms of media, including: television, radio, magazine and newspaper advertising campaigns;
  and direct mail and outdoor billboard advertising. The majority of any such advertising will be developed
  by members of our staff or third-party consultants. For the fiscal year ended 2021, the Creative Fund spent
  77% of the Weekly Contributions on the employee rewards program recognizing those store employees
  who performed well as determined by our third-party secret shopper consultants. Additionally, the Creative
  Fund spent 21% of the Weekly Contributions, plus the balance of the Weekly Contributions rolled over
  from 2020, on certain online marketing efforts (e.g. Google, Waze, Cardilytics, and Facebook) in
  connection with our “Break-Away Fund” created in consultation with our Franchisee Advisory Council.
  The remaining 2% balance of the Weekly Contributions collected in 2021 was rolled over to the following
  year and earmarked for Creative Fund expenditures consistent with the expenses described above (i.e. the
  employee rewards program and “Break-Away Fund” expenses for fiscal year 2022).

           Local Advertising. We generally do not allow any advertising by our franchisees, but may approve
  limited advertising on a case-by-case basis. Any advertising materials must first be approved by us before
  you use it. You must not advertise or use our Marks in any fashion on the Internet, World Wide Web or
  via other means of advertising through telecommunication without our express written consent. We have
  sole discretion and control over any profile(s) using or relating to the Marks, or that display the Marks, that
  are maintained on social media outlets, including without limitation MySpace, Facebook and Twitter or
  other similar outlets, that may exist now or in the future. We may use part of the contributions we collect
  under the Franchise Agreement to pay or reimburse the costs associated with the development, maintenance
  and update of the profile(s). We may (but are under no obligation to) establish guidelines under which you
  may establish profiles or otherwise establish a presence on the social media outlets. In that event, you must
  comply with the standards, protocols and restrictions that we impose on that use.

          In addition to the Creative Fund contributions described above, you may be required to spend
  annually throughout the term of the Franchise Agreement, 2% of the Gross Sales of the Restaurant for local
  advertising in your primary area of responsibility. If we require such local expenditures, this amount will
  not be paid to us but will rather be spent by you. If your landlord requires you to participate in any marketing
  or promotion fund, the amounts you pay may be applied towards satisfying such local advertising
  obligations. Any advertising cooperative contributions (described below) will also be credited as part of
  your required local advertising obligations.

          In the event we elect to require you to spend 2% of the Gross Sales of your Restaurant for local
  advertising, the costs and expenditures you incur with any of the following will not be included in your
  required expenditures on local advertising unless we approve in advance in writing:

                 1.      Incentive programs for your employees or agents, including the cost of honoring
          any coupons distributed in connection with the programs;

                   2.      Research expenditures;

                   3.      Food costs incurred in any promotion;




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                  4.      Salaries and expenses of your employees, including salaries or expenses for
          attendance at advertising meetings or activities;

                  5.       Charitable, political or other contributions or donations;

                  6.       In-store materials consisting of fixtures or equipment;

                  7.       Seminar and educational costs and expenses of your employees; and

                  8.       Yellow page advertising.

           Advertising Cooperatives. There are presently no advertising councils; however, we may designate
  any geographic area in which 2 or more Restaurants are located as a region for purposes of establishing an
  advertising cooperative (a “Cooperative”). The members of the Cooperative for any area will consist of
  all Restaurants in that area, whether operated by us or franchised. We will determine in advance how each
  Cooperative will be organized and governed and when it must start operation. We have the right to dissolve,
  merge or change the structure of the Cooperatives. Each Cooperative will be organized for the exclusive
  purposes of administering advertising programs and developing, subject to our approval, promotional
  materials for use by the members in local advertising. If a Cooperative has been established for a
  geographic area where your Restaurant is located when the Franchise Agreement is signed, or if any
  Cooperative is established during the term of the Franchise Agreement, you must sign all documents we
  request and become a member of the Cooperative according to the terms of the documents. A copy of the
  Cooperative documents applicable to the geographic area in which your Restaurant will be located will be
  provided to you if you request it.

           If a Cooperative is formed in your area, you must contribute to the Cooperative the amounts
  required by its governing documents; however, you will not be required to contribute more than 1½% of
  your Gross Sales during each month to the Cooperative unless, subject to our approval, the members of the
  Cooperative agree to the payment of a larger fee. We will credit any Cooperative payments toward
  satisfaction of your local advertising requirement. Under certain special promotional programs, we may
  require that Cooperative payments be contributed to the Creative Fund, as described above. Any
  Cooperative formed in your area must maintain and administer your payments to the Cooperative in
  accordance with its governing documents. The Cooperative will be operated solely as a conduit for the
  collection and expenditure of the Cooperative fees for the purposes outlined above. No advertising or
  promotional plans or materials may be used by the Cooperative or furnished to its members without first
  obtaining our approval. If formed, each Cooperative will be obligated to prepare an annual financial
  statement reporting its expenditures for the previous year to its members.

          General Advertising Information. If we establish a Cooperative applicable to your Restaurant,
  your total required contribution to the Creative Fund and the Cooperative will not exceed 4% of your Gross
  Sales.

           Neither the Creative Fund nor any Cooperative will use any funds for advertising that is principally
  a solicitation for the sale of franchises for Restaurants.

           Unauthorized media interviews by you, your affiliates, officers, directors, shareholders, partners,
  agents, representatives, independent contractors and employees are strictly prohibited.

         Except as described above, we are not obligated to spend any amount on advertising in the area
  where your Restaurant is located.




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  Training:

           No later than 30 days before the date the Restaurant begins operation, your Operating Principal,
  general manager, and one assistant manager must attend and complete, to our satisfaction, our initial
  training program. This training will be conducted at our corporate headquarters or at another location we
  designate. Initial training programs will be offered at various times during the year depending on the
  number of new franchisees entering the franchisee system, replacement operating principals and general
  managers and other personnel needing training, the number of new Restaurants being opened and the timing
  of the scheduled openings of Restaurants to be operated by our franchisees generally. It is anticipated that
  the initial training program will be offered 5 or 6 times a year. The initial training program will generally
  last about 2 weeks. However, we may require up to 6 weeks of training. We or our designee will provide
  instructors and training materials for the initial training of your Operating Principal, general manager, and
  one assistant manager at no additional charge to you. You may also have additional personnel trained by
  us or our designee for the Restaurant, although we may charge $1,500 per person for that training. We will
  determine whether any training attendee has satisfactorily completed initial training. If your Operating
  Principal and general manager do not satisfactorily complete the initial training program (or if we determine
  that these persons cannot satisfactorily complete the training program) you must designate a replacement
  to satisfactorily complete the training. Any Operating Principal or general manager you subsequently
  designate must also receive and complete the initial training. We reserve the right to charge a reasonable
  fee for the initial training we or our designee provides to a replacement or successor Operating Principal or
  general manager, if we have not approved you to provide the training. You must pay all expenses you and
  your Operating Principal, general manager and other personnel incur for any training program, including
  costs of travel, lodging, meals and wages.

           The Operating Principal, general manager and other personnel must attend additional training
  programs and seminars we may consider necessary. For all of these programs and seminars, we will provide
  the instructors and training materials. If the training is mandatory, we will not charge you a fee for attending
  the training. We reserve the right to charge a reasonable fee for any additional training programs and/or
  seminars that we provide to you or your personnel at your request. You must also pay all expenses you or
  your Operating Principal, general manager and other personnel incur in participating in any additional
  training, including costs of travel, lodging, meals, and wages.

          For the opening of your first Restaurant, we will provide you with one of our trained
  representatives. The trained representative will provide on-site pre-opening and opening training,
  supervision, and management assistance to you for 10 days. This training and assistance will be provided
  to you at no additional expense. For any additional assistance you request and any similar assistance that
  we provide to a replacement Restaurant, if the premises are destroyed or the Restaurant must be closed for
  any other reason, we reserve the right to require you to pay us the per diem fee then being charged to
  franchisees generally for trained representative assistance, including payment of any expenses the trained
  representative incurs, such as costs of travel, lodging, meals and wages.

            There is a formal training staff who will be conducting the opening training. The minimum
  experience of the training staff that is relevant to the subject taught and our operations is 2 years. Chad
  Murrell is the Training Manager, and he is also in charge of the training program. As stated in Item 2 of
  this Disclosure Document, Chad Murrell has been Vice President of FGI since 1997 and he also serves as
  one of FGE’s Vice Presidents. He has over 20 years of experience in all aspects of our System and the
  operations of FIVE GUYS® Restaurants. We may also draw on the substantial experience of other
  Restaurant personnel in conducting Restaurant operations training. The instructional materials used in the
  initial training consist of our Operations Manual, marketing and promotion materials, programs related to
  the operation of the point of purchase system, and other written directives related to the operation of the
  Restaurant (collectively, the “Manuals”).

          The job training and instructions providing the initial training program are described below:


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                                             TRAINING PROGRAM

                                                                Hours of    Hours of
                           Subject                             Classroom   On-the-Job          Location
                                                                Training    Training

  Review Training Agenda; Review Operating Forms                  8            0            Lorton, Virginia

  Review Operations Manual; Review Recipes & Procedures           8            0            Lorton, Virginia
  Manual

  Review Preparation List                                         0           24            Lorton, Virginia
  Introduction to Kitchen Equipment
  Cleanliness Procedures
  Use of Cutting Boards
  Use of Knife

  Menu Descriptions Exam                                          0            8            Lorton, Virginia

  Kitchen Open                                                    0            8            Lorton, Virginia
  Receiving Orders
  Preparing Menu Items

  Kitchen Open                                                    0            8            Lorton, Virginia
  Complete Preparing Menu Items
  Review Dish Presentations

  Review POS System We Specify                                    0            8            Lorton, Virginia

  Marketing                                                       0            8            Lorton, Virginia

  Cook Training                                                   0           24            Your Restaurant
  Franchisee Training - Administration

  Cook Training                                                   0           24            Your Restaurant
  Counter Training

  Cook Training                                                   0            8            Your Restaurant
  Counter Training
  Opening Night – Family & Friends

  Soft Opening - Day 1                                            0            8            Your Restaurant

  Opening Week                                                    0           32            Your Restaurant


         The entire training program is subject to change due to updates in materials, methods, manuals and
  personnel without notice to you.

          Training programs will begin on a Monday morning. The subjects and time periods allocated to
  the subjects actually taught to a specific franchisee and its personnel may vary based on the experience of
  those persons being trained.

           If you reasonably request or as we deem appropriate, we will, during the term of the Franchise
  Agreement, subject to the availability of personnel, provide you with additional trained representatives who
  will provide on-site remedial training to your Restaurant personnel. Any additional training we consider
  necessary must be attended by you (if an individual), your general manager, and at least one assistant
  manager. For additional training that you request, you may be required to pay the per diem fee then being
  charged to franchisees under the System for the services of our trained representatives, plus their costs of
  travel, lodging, meals, and wages. The per diem fee will not be charged if the assistance is provided based
  on our determination that the training is necessary; however, we reserve the right to charge for our
  reasonable expenses incurred in providing the assistance.


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          The Table of Contents for our Operations Manual is Exhibit F of this Disclosure Document. The
  Operations Manual is a total of 212 pages.

  Site Selection:

           General Obligations. Under the Franchise Agreement for each Restaurant, we designate the
  Primary Area of Responsibility (defined below in Item 12) and approve or deny the proposed location for
  each Restaurant to be developed. The Manuals and the terms of the Franchise Agreement you sign for each
  Restaurant will describe our then-current site selection guidelines. You must assume all costs, liabilities,
  expenses and responsibility for locating, obtaining and developing a site for the Restaurant and for
  constructing and equipping the Restaurant at the accepted site. You will select the site for the Restaurant
  subject to our approval. The Restaurant may not be relocated without first obtaining our written consent.
  Before you lease or purchase the site for the Restaurant, you must locate a site that satisfies our site selection
  guidelines. You must submit to us, in the form we specify, a description of the site, including evidence that
  the site satisfies our site selection guidelines, together with other information and materials that we may
  reasonably require, including a letter of intent or other evidence that confirms your favorable prospects for
  obtaining the site.

           We will provide you with our current written site selection guidelines and any other site selection
  counseling and assistance we think is advisable. Our guidelines for site selection may require that you
  conduct, at your expense, an evaluation of the demographics of the market area for the location (including
  the population and income level of residents in the market area), aerial photography, size and other physical
  attributes of the location, shopping mall, tenant mix, proximity to residential neighborhoods and proximity
  to schools, shopping centers, entertainment facilities and other businesses that attract consumers and
  generate traffic.

         Our current offering contemplates a 2,000 to 3,000 square foot Restaurant to be located in an end-
  cap space, in strip shopping centers, or in other urban locations (such as shopping malls, university
  campuses or hospitals). We may consider other, non-traditional locations on a case-by-case basis.

          We will also provide you an on-site evaluation of the proposed site for your first Restaurant without
  charge. We will not, however, provide an on-site evaluation for any proposed site before receiving from
  you the materials described above. We will provide additional on-site evaluations if you or we think such
  additional evaluations are necessary. For those additional on-site evaluations, or if the Franchise
  Agreement does not relate to your first Restaurant, we reserve the right to charge a reasonable fee for each
  evaluation as well as a fee for our reasonable expenses including the cost of travel, lodging, meals and
  wages.

          Lease Rider. You must also obtain our approval of any contract of sale or lease for the Restaurant
  before you sign the contract or lease. We will not approve any lease unless a rider to the lease, we prepare,
  is signed by you, by us and by the landlord. The rider will contain the following provisions:

                  1.       During the term of the Franchise Agreement, the premises will be used only for
          the operation of the Restaurant.

                  2.      The landlord consents to your use of the Marks and signs, décor items, color
          schemes and related components of the System (and specific reference is made to our exterior
          signage requirements).

                   3.       The landlord agrees to give us copies of any and all letters and notices sent to you
          related to the lease and the premises, at the same time that these letters and notices are sent to you.

                 4.     We may enter the premises to make any modification necessary to protect the
          System and Marks or to cure any default under the Franchise Agreement or under the lease, without

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          being guilty of trespass or any other crime or tort. The landlord will not be responsible for any
          expenses or damages owing from our conduct of those activities.

                   5.     If we exercise our option to obtain your lease, you must assign the lease to us or
          our designee when the Franchise Agreement expires or terminates, and the landlord will consent to
          this assignment and will not charge any assignment fee or accelerate rent under the lease.

                 6.       If the lease is assigned, we or our designee will agree to assume from the date of
          assignment all of your obligations remaining under the lease, and we or our designee will assume
          your occupancy rights, and the right to sublease the premises, for the remainder of the term of the
          lease.

                  7.      You will not assign the lease or renew or extend the lease’s term without obtaining
          our written consent first.

                  8.      The landlord and you will not amend or otherwise modify the lease in any manner
          that could materially affect any of the above requirements without obtaining our written consent
          first.

                   9.      The terms of the lease rider will supersede any conflicting terms of the lease.

          Timing for Site Approval. You must submit information and materials for the proposed site to us
  for approval no later than 30 days after you have signed the Franchise Agreement. We will have 15 days
  to respond to your application for the proposed site and submitted materials with our final decision on
  approval or disapproval of the proposed site to be provided to you within 30 days. If you cannot obtain
  possession of an approved location for the Restaurant within 6 months after you have signed the Franchise
  Agreement, we have the right to terminate the Franchise Agreement and refund 75% of the initial Franchise
  Fee.

           Construction and Buildout. We will provide you with a Preliminary Design Package which will
  include the floor plan, the reflected ceiling plan, and the FIVE GUYS® standard construction guidelines for
  a prototypical Restaurant. You must, at your expense, obtain architectural, engineering and design services
  you deem necessary for the construction of your Restaurant from an architectural design firm which we
  approve, which approval will not be unreasonably withheld. You must adapt the Preliminary Design
  Package for the construction of your Restaurant premises. You must submit adapted architectural and
  design plans to us for our review before implementation. We will notify you of our approval within 20
  days of receiving the adapted plans. If we determine that any adapted plans are not consistent with the best
  interests of the System, we may, at our option, reject the adapted plans. Our notice of rejection will include
  a reasonably detailed list of the changes necessary to make the plans acceptable. If we fail to notify you of
  an objection to your adapted plans within 20 days, you may use the adapted plans. If we object to the plans,
  you must resubmit corrected plans to us, and we will notify you of our approval or disapproval of the
  resubmitted plans within 10 days of receipt. If we fail to notify you of any objection within 10 days, you
  may use the resubmitted plans. Our review of any adapted plans relates only to compliance with the System.
  We may periodically review, revise, and/or otherwise supplement the adapted plans after acceptance and
  monitor the Restaurant’s construction process to ensure compliance at all times with all FIVE GUYS®
  brand standards and specifications.

          Timing for Opening. We estimate that the time from the signing of the Franchise Agreement to
  the beginning of operations of the Restaurant will be about 6 to 12 months. This time may be shorter or
  longer depending on the time necessary to obtain an accepted site, to obtain financing, to obtain the permits
  and licenses for the construction and operation of the Restaurant, to complete construction or remodeling
  as it may be affected by weather conditions, shortages, delivery schedules and other similar factors, to
  complete the interior and exterior of the Restaurant, including decorating, purchasing and installing fixtures,
  equipment and signs, and to complete preparation for operating the Restaurant, including purchasing

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  inventory and supplies. You must open the Restaurant and begin business within 120 days after you obtain
  possession of the accepted location, unless you obtain a written extension of this time period from us. If
  you do not obtain a site that we approve, and construct the Restaurant within the time periods required in
  Section II of the Franchise Agreement, we may terminate the Franchise Agreement.

  Computer and Electronic Cash Register Systems:

           You must maintain your books and business records according to our required format. To assist
  you with your reporting obligations to us, you must purchase or lease the specific POS System, electronic
  cash register, computer, thermal printers, AC line filters, remote printer interface and internet-based
  communications (collectively, the “Computer System”) we have approved for use at your Restaurant. The
  total cost of purchasing the Computer System ranges from $10,000 to $20,000. The cost of leasing the
  Computer System ranges from $8,000 to $12,000 annually. The cost is subject to change based on market
  conditions, availability of the product, and changes in technology, among other factors. The Computer
  System will record all sales information with respect to the Restaurant. We require that your Computer
  System be set up and interfaced with our system so that we are able to poll your daily receipts figures from
  our headquarters at any time. We may require computer hardware and software upgrades in the future. The
  frequency of these upgrades could be as often as annually or bi-annually. The costs of incorporating any
  upgrades into your Restaurant(s) will be your financial obligation.

          You must make annual payments to a third-party vendor to maintain your Computer System. It is
  anticipated that several updates and upgrades may be required by your third-party vendor during the term
  of your Franchise Agreement, and any such updates or upgrades will be at your expense. We estimate that
  the cost of potential updates and upgrades is about $5,000. We have no contractual obligation with any
  third party to upgrade your Computer System, but we may require upgrades in accordance with the terms
  of the Franchise Agreement. There is no limitation on the frequency or cost of these upgrades.

         All data that you provide to us from your Computer System as well as other information that we
  may otherwise collect from you is owned exclusively by us, and we will have the right to use that data in
  any manner we deem appropriate without compensating you. We will have independent access to the
  information generated by and stored on the Computer System.

           You must keep your cash registers and Computer System in good repair, at your expense, and you
  must promptly install additions, changes, modifications, substitutions and replacements to the cash register
  and Computer System as we may reasonably require. You will have the sole and complete responsibility
  for: (a) acquiring, operating, maintaining and upgrading your own cash register and Computer System;
  (b) the manner in which your cash register and Computer System interface with our computer systems, if
  any, and the computer systems of third parties; and (c) all consequences that may arise if your cash register
  and Computer System are not properly operated, maintained and upgraded. We do specify the kind or type
  of Computer System that you must obtain and operate, but we do not take on any responsibility for
  maintaining or upgrading any computer equipment or cash registers that you operate. We cannot provide
  an estimate of the cost you will incur to maintain the cash register and Computer System.

  PCI Compliance:

          For purposes of clarification, you will be solely responsible for ensuring that your POS System and
  Computer System are, and remain, compliant with all current “Payment Card Industry” (PCI) requirements
  periodically promulgated by VISA®, MasterCard®, American Express®, Discover®, and/or any other credit
  card brand honored at your franchised restaurant(s). You must ensure that the Restaurant adheres to the
  standards applicable to electronic payments including PCI standards or any equivalent standards. If we or
  one of the credit card companies requires, you must provide us with evidence of compliance with the
  applicable standards and provide, or make available, to us copies of an audit, scanning results or related
  documentation relating to the compliance. You must pay any costs associated with an audit or to gain
  compliance with these standards. You must immediately (in any event within 24 hours) notify us if you

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  suspect or have been notified by any third party of a possible security breach related to the cashless system
  (or related cashless data) used in the Restaurant.

                                                   ITEM 12
                                                 TERRITORY

  Development Agreement:

           Under the Development Agreement, you are assigned a Territory where you have to develop a pre-
  determined number of Restaurants in accordance with a specified development schedule which will be
  listed in Section III of the Development Agreement and agreed to before it is signed (the “Development
  Schedule”). The size of the Territory may be an Area of Dominant Influence or “ADI,” a single or multi-
  county area, single state area or some other area, and will be described in Section I.A. of the Development
  Agreement. We will determine the Territory before you sign the Development Agreement based on various
  market and economic factors such as those described above regarding the Primary Area of Responsibility.

           Except as stated below, if you are in compliance with the Development Agreement, we will not
  establish or authorize any other person or entity, other than you, to establish a Restaurant within the
  Territory during the term of the Development Agreement. We, any of our franchisees, and any other
  authorized person or entity may, at any time, advertise and promote the System in your Territory. We may
  also offer and sell and authorize others to offer and sell: (i) collateral products under the Marks, at or from
  any location, such as pre-packaged food or beverage products and FIVE GUYS® memorabilia, (ii) food and
  beverage services under the Marks at or through any FIVE GUYS® Restaurant or other permanent,
  temporary or seasonal food service facility providing in whole or in part the products and services offered
  by a Restaurant in any Reserved Area (as defined above) within the Territory; and (iii) any products or food
  and beverage services under any other names and marks, without compensating you. You will not receive
  an exclusive Territory under the Development Agreement. You may face competition from other
  franchisees, from outlets that we own, or from other channels of distribution or competitive brands that we
  control.

           You must exercise the development rights only by entering into a separate Franchise Agreement
  with us for each Restaurant. We may, in our discretion, permit you to exercise the development rights
  through affiliated entities that are either your wholly owned subsidiaries or commonly controlled entities
  with ownership identical to yours. The Franchise Agreement to be signed for the first Restaurant you
  develop under the Development Agreement must be signed and delivered to us under the Development
  Schedule and will be in the form of the Franchise Agreement attached to this Disclosure Document. All
  additional Restaurants developed under the Development Agreement must be established and operated
  under our form of Franchise Agreement then being used by us for new franchised Restaurants. The then-
  current form of Franchise Agreement may differ from the form attached to this Disclosure Document.

          In order to maintain your rights within the Territory under the Development Agreement, you must
  adhere to the Development Schedule set forth in Attachment C to your Development Agreement. You must
  open each Restaurant developed and begin business in accordance with the Development Schedule, unless
  you obtain an extension of the Development Period (as defined in the Development Agreement), at the
  expiration of which, you were to have had a Restaurant open and in operation. You may, subject to our
  approval, purchase from us extensions of the Development Period as may be necessary to complete
  construction and begin operation of the Restaurant. Each extension will be for an additional 90 day period
  beginning on the expiration of the applicable Development Period, including any previous extensions
  (“Extension Date”). No more than 2 extensions of any Development Period will be permitted. If we grant
  an extension of a Development Period, the opening date of your Restaurant will be extended to the
  Extension Date. No extension of any Development Period will affect the duration of any other
  Development Period or any of your other development obligations. If an extension is requested in the final
  Development Period, the term of the Development Agreement will be extended to the Extension Date and
  you will have no further rights under the Development Agreement.

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          For any Restaurant that you will be unable to complete construction of and begin operating by the
  expiration date of the Development Period (as defined in the Development Agreement) in which the
  Restaurant was to have been opened, you must notify us in writing at least 60 days before the projected
  opening date for such Restaurant. You must include in the notice a description of the reasons for the failure
  to develop in a timely manner and the expected date of completion of construction and opening. No
  extension fee will be charged for any Restaurant for which we have accepted a site in accordance with the
  Franchise Agreement and you have begun construction, as defined in the Franchise Agreement.

         If you fail to open a Restaurant in compliance with the Development Schedule as required in the
  Development Agreement, or otherwise commit a material event of default under the Development
  Agreement as described in Item 17 and above, we may, in addition to our other remedies, terminate or
  modify your territorial rights, reduce the area of territorial rights, reduce the number of Restaurants that you
  may establish, or accelerate the development schedule under the Development Agreement.

  Franchise Agreement:

          The Franchise Agreement grants you the right to operate a Restaurant at a single location that you
  select within the assigned area and that we approve (“Primary Area of Responsibility”). We will
  designate the Primary Area of Responsibility for each Restaurant under the Franchise Agreement. The
  Franchise Agreement and the Manuals describe our then-current site selection guidelines for each
  Restaurant. Attachment A to the Franchise Agreement lists the specific street address of the accepted
  location (“Accepted Location”). You must operate the Restaurant only at this Accepted Location and may
  not relocate the Restaurant without first obtaining our written consent. You may not establish or operate
  another Restaurant unless you enter into a separate Franchise Agreement and, in certain cases, a
  Development Agreement.

           During the term of the Franchise Agreement, if you are in compliance with the Franchise
  Agreement, we will not establish a Restaurant or authorize any other person or entity to establish a
  Restaurant within your Primary Area of Responsibility. Your Primary Area of Responsibility will be
  described in Attachment A to the Franchise Agreement and is your exclusive territory. It will generally
  consist of the contiguous property, controlled by the landlord, in which the Restaurant is located, such as
  the shopping mall, strip mall, university campus, or hospital. Your Primary Area of Responsibility may be
  limited to the specific physical space occupied by the Restaurant.

         In the event your Primary Area of Responsibility is limited to only the specific physical space
  occupied by the Restaurant, you will not be receiving an exclusive territory. In those cases, you may face
  competition from other franchisees, from outlets that we own, or from other channels of distribution or
  competitive brands that we control.

          We will determine the Primary Area of Responsibility before the Franchise Agreement is signed
  based on various market and economic factors such as an evaluation of market demographics, the market
  penetration of the franchise system and similar businesses, the availability of appropriate sites and the
  growth trends in the market. If permitted, any delivery or catering business that you or any of our other
  franchisees engage in may be conducted both within and outside of your or their Primary Area of
  Responsibility.

           We may also offer and sell and authorize others to offer and sell: (i) collateral products under the
  Marks, at or from any location, such as pre-packaged food or beverage products and FIVE GUYS®
  memorabilia, (ii) food and beverage services under the Marks at or through any FIVE GUYS® Restaurant
  or other permanent, temporary or seasonal food service facility providing in whole or in part the products
  and services offered by a FIVE GUYS® Restaurant in any Reserved Area (as defined below), and (iii) any
  products or food and beverage services under any other names and marks. A “Reserved Area” is defined
  as all airports, sporting arenas and stadiums, and United States Department of Defense locations, military

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  installations and other federal government agencies (including Navy, Marine Corp, Army and Air Force
  bases and exchange service facilities). However, you may pursue, on a non-exclusive basis, opportunities
  to operate a Restaurant in an airport, sporting arena, or stadium located within the geographic borders of
  your Primary Area of Responsibility if you have secured all required permits and approvals from the
  necessary authorities. After you have secured such permits and approvals, we may approve of your
  proposed location on the same terms and conditions as we would for a location outside of a Reserved Area.

           You may sell our proprietary products and related merchandise to retail customers and prospective
  retail customers who live anywhere but who choose to dine in your Restaurant. You may not engage in
  any promotional activities or sell our proprietary products or similar products or services, whether directly
  or indirectly, through or on the Internet, the World Wide Web, or any other similar proprietary or common
  carrier electronic delivery system; through catalogs or other mail order devices sent or directed to customers
  or prospective customers located anywhere; or by telecopy or other telephonic or electronic
  communications, including toll-free numbers, directed to or received from customers or prospective
  customers located anywhere. You may not place advertisements in printed media and on television and
  radio that are targeted to customers and prospective customers located outside of your Primary Area of
  Responsibility. You may not sell our proprietary products to any business or other customer for resale
  (excluding sales to other Restaurants).

           Although we have never engaged in such commercial activities in the past, we and our affiliates
  reserve the right to sell products under the Marks within and outside your Primary Area of Responsibility
  through any method of distribution other than a dedicated Restaurant, including sales through such channels
  of distribution as the Internet, temporary kiosks, grocery store offerings, or other manners of direct
  distribution (together, “Alternative Distribution Channels”). You may not use Alternative Distribution
  Channels to make sales outside or inside your Primary Area of Responsibility except as described in the
  following paragraph, and you will not receive any compensation for our sales (i.e. soliciting or accepting
  orders) from inside your Primary Area of Responsibility through Alternative Distribution Channels, except
  as described in the following paragraph.

           If we engage in electronic commerce through any Internet, World Wide Web or other computer
  network site or sell through any other Alternative Distribution Channel, and we receive orders for any
  proprietary products or other products offered by a Restaurant calling for delivery or performance in your
  Primary Area of Responsibility, then we will offer the order to you at the price we establish. If you choose
  not to fulfill the order or are unable to do so, then we, one of our affiliates or a third party we designate
  (including another franchisee) may fulfill the order, and you will not be entitled to any compensation in
  connection with this. This electronic commerce program has not yet been instituted.

           We have not yet established other franchises or company-owned outlets or another distribution
  channel selling or leasing similar products or services under a different trademark. We describe earlier in
  this Item 12 what we may do anywhere and at any time.

           Except for the Restaurants operated by our affiliates, neither we nor any parent or affiliate has
  established, or presently intends to establish, other franchised or company-owned Restaurants which sell
  our proprietary products or services under a different trade name or trademark, but we reserve the right to
  do so in the future, without first obtaining your consent.

          There are no options, rights of first refusal or similar rights to acquire additional franchises within
  the Primary Area of Responsibility or in any contiguous territories.

                                                   * * * * *

         Except as stated above, the territorial rights granted to you under the Franchise Agreement or the
  Development Agreement are not dependent on the achievement of a certain sales volume, market


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  penetration or other contingency. Also, except as stated above, the Territory may not be altered before the
  Development Agreement expires or terminates.

          Except as described above, we generally do not grant any right of first refusal to obtain additional
  Restaurant locations. If you wish to obtain an additional location, you must either have entered into a
  Development Agreement that grants you the right to establish more than one Restaurant or enter into a
  separate Franchise Agreement for the additional location.

          We do not currently operate, franchise, or conduct business through Alternative Channels of
  Distribution offering products or services similar to those offered by the Restaurant under different marks.
  There are, however, no restrictions in either the Franchise Agreement or Development Agreement that
  would restrict our ability to do so.

           There are no options, rights of first refusal or similar rights to acquire additional franchises within
  the territory or in any contiguous territories.

                                                  ITEM 13
                                                TRADEMARKS

          The Franchise Agreement grants you the non-exclusive right and license to use the Marks, and any
  other proprietary marks that we may use, during the term of the Franchise Agreement in operating your
  Restaurant from its Accepted Location. Your use of the proprietary Marks is limited solely to the operation
  of the Restaurant at its Accepted Location and only in accordance with our System.

          Our Parent Company registered the following service mark registration for our principal trademarks
  on the Principal Register of the United States Patent and Trademark Office (“USPTO”). These service
  marks were transferred to us as part of the Securitization Transaction.

                          Mark                             Registration Number            Registration Date
     FIVE GUYS                                                   2,576,160                   June 4, 2002;
                                                                                         Renewed June 4, 2012
     FIVE GUYS BURGERS AND FRIES                                 3,569,218                 February 3, 2009
                                                                                       Renewed February 3, 2019
     FIVE GUYS BURGERS AND FRIES                                 3,571,563                February 10, 2009
                                                                                      Renewed February 10, 2019
     FIVE GUYS                                                   4,252,320                 December 4, 2012

          All required affidavits have been filed and we intend to renew the registrations for the Marks when
  they become due.

          There are no agreements currently in effect that significantly limit or otherwise impact our rights
  to use or license the use of the Marks that are material to the franchise.

          You may not use the Marks as a part of your corporate or other legal name, and you must comply
  with our instructions in filing and maintaining trade name or fictitious name registrations. You must
  execute any documents we require to protect the Marks or to maintain their continued validity and
  enforceability. In addition, you may not directly or indirectly contest the validity of our Parent Company’s
  ownership of, or our rights in and to, the Marks.

          There are no currently effective determinations of the USPTO, the trademark trial and appeal board,
  the trademark administrator of any state or any court, no pending infringement, opposition or cancellation
  proceedings and no pending litigation involving any of the Marks that may significantly affect the
  ownership or use of any Mark listed above.

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          We know of no superior prior rights or infringing uses of any Mark that could materially affect
  your use of the Marks in this or any other state.

           You must immediately notify us of any apparent infringement of the Marks or challenge to your
  use of any of the Marks or claim by any person of any rights in any of the Marks. You and your Controlling
  Principals are not permitted to communicate with any person other than us, or any designated affiliate, our
  counsel and your counsel involving any infringement, challenge or claim. We can take action and have the
  right to exclusively control any litigation, USPTO proceeding or other administrative or agency proceeding
  caused by any infringement, challenge or claim or otherwise relating to any of the Marks. You must sign
  any and all documents, and do what may, in our counsel’s opinion, be necessary or advisable to protect our
  interests in any litigation, USPTO proceeding or other administrative or agency proceeding or to otherwise
  protect and maintain our interests and the interests of any other person or entity having an interest in the
  Marks.

         We will indemnify you against and reimburse you for all damages for which you are held liable for
  your use of any of the Marks, provided that the conduct of you and your Controlling Principals in the
  proceeding and use of the Marks is in full compliance with the terms of the Franchise Agreement.

           Except as provided above, we are not obligated by the Franchise Agreement to protect any rights
  granted to you to use the Marks or to protect you against claims of infringement or unfair competition with
  respect to them. Although we are not contractually obligated to protect the Marks or your right to use them,
  as a matter of corporate policy, we intend to defend the Marks vigorously.

          We may require you, at your expense, to discontinue or modify your use of any of the Marks or to
  use one or more additional or substitute trade names, service marks, trademarks, symbols, logos, emblems
  and indicia of origin if we determine that an addition or substitution will benefit the System.

          The license to use the Marks granted in the Franchise Agreement is non-exclusive to you. We have
  and retain certain rights in the Marks including the following:

                 1.       To grant other licenses for the use of the Marks outside of your Primary Area of
          Responsibility;

                  2.       To develop and establish other systems using the Marks or other names or marks,
          and to grant licenses or franchises in those systems without providing any rights to you; and

                  3.       To engage, directly or indirectly, at wholesale, retail or otherwise, in (a) the
          production, distribution, license and sale of products and services and (b) the use of the Marks and
          any and all trademarks, trade names, service marks, logos, insignia, slogans, emblems, symbols,
          designs and other identifying characteristics we may develop for that purpose.

                                       ITEM 14
                  PATENTS, COPYRIGHTS AND PROPRIETARY INFORMATION

  Patents and Copyrights:

          We have no patents or registered copyrights that are material to the FIVE GUYS® franchise. We
  do not have any pending patents or copyrights that are material to the FIVE GUYS® franchise.

  Confidential Manuals:

         You must operate the Restaurant in accordance with the standards and procedures specified in the
  Manuals. One copy of the Manuals will be loaned to you by us for the term of the Franchise Agreement.

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           You must treat the Manuals and any other manuals we create or approve for use in your operation
  of the Restaurant, and the information contained in them, as confidential. You must also use all reasonable
  efforts to maintain this information as secret and confidential and you must not duplicate, copy, record or
  otherwise reproduce these materials, in whole or in part, or make them available to any unauthorized person.
  The Manuals remain our sole property and must be kept in a secure place on the Restaurant premises.

           We may revise the contents of the Manuals and you must comply with each new or changed
  standard. You must also insure that the Manuals are kept current at all times. If there is a dispute as to the
  contents of the Manuals, the terms of the master copy maintained by us at our home office will be
  controlling. You must return to us all pages that are replaced in the Manuals.

  Confidential Information:

          We and or our affiliates claim proprietary rights in certain of our recipes which are included in the
  Manuals and which are trade secrets. You and each of your Controlling Principals are prohibited, during
  and after the term of the Franchise Agreement, from communicating, or using for the benefit of any other
  person or entity, and, after the term of the Franchise Agreement, from using for your or their own benefit,
  any confidential information, knowledge or know-how concerning the methods of operation of the
  Restaurant that may be communicated to you or any of your Controlling Principals or that you may learn
  about, including these trade secrets. You and each of your Controlling Principals can divulge this
  confidential information only to your employees who must have access to it to operate the Restaurant.
  Neither you nor your Controlling Principals are permitted at any time, without first obtaining our written
  consent, to copy, record or otherwise reproduce the materials or information nor make them available to
  any unauthorized person. Any and all information, knowledge, know-how and techniques related to the
  System that we communicate to you, including the Manuals, plans and specifications, marketing
  information and strategies and site evaluation, selection guidelines and techniques, are considered
  confidential.

          If you or your Controlling Principals develop any new concept, process or improvement in the
  operation or promotion of the Restaurant, you must promptly notify us and give us all necessary
  information, free of charge. You and your Controlling Principals must acknowledge that any of these
  concepts, processes or improvements will become our property and we may give the information to other
  franchisees.

  Web-Based Training and Training Video Series:

          We will loan you one copy of any training videos that we may develop in the future for the term of
  the Franchise Agreement. We may also develop an internet-based training program and offer and/or require
  your participation in that program (together with the videos, the “Training Devices”).

           You must treat the Training Devices and any other training materials we create or approve for use
  in your operation of the Restaurant, and the information contained in them, as confidential. You must also
  use all reasonable efforts to maintain this information as secret and confidential and you must not duplicate,
  copy, record or otherwise reproduce these materials, in whole or in part, or make them available to any
  unauthorized person. The Training Devices remain our sole property and must be kept, as applicable, in a
  secure place on the Restaurant premises.

           We may revise the contents of the Training Devices and you must return to us any Training Devices
  that are replaced by any updates we issue.




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                                        ITEM 15
                               OBLIGATION TO PARTICIPATE
                   IN THE ACTUAL OPERATION OF THE FRANCHISE BUSINESS

          When you sign the Agreements, you must designate and retain at all times an individual to serve
  as the Operating Principal under the Agreements. If you are an individual, you must perform all obligations
  of the Operating Principal. If you are a corporation, partnership or other form of entity, the Operating
  Principal must be one of your “Controlling Principals” and must continue to hold ownership interest in you
  or any entity that directly or indirectly controls you. Except as otherwise provided in the Agreements, the
  Operating Principal’s interest in you must remain free of any pledge, mortgage, hypothecation, lien, charge,
  encumbrance, voting agreement, proxy, security interest or purchase right or option.

           The Operating Principal may, at his option, and subject to our approval, designate an individual to
  perform the duties and obligations of the Operating Principal described in the Agreements and in this
  Disclosure Document. The Operating Principal must take all necessary action to ensure that the designee
  conducts and fulfills all of the Operating Principal’s obligations and will remain fully responsible for his
  performance. The Operating Principal (or his designee, if applicable) must devote substantial full time and
  best efforts to the supervision and performance of the Restaurant under the Agreements. The Operating
  Principal must sign the Agreements as one of your “Controlling Principals,” and will individually guarantee
  all of your obligations, and will be jointly and severally bound by all of your obligations and the obligations
  of the Operating Principal and your Controlling Principals under the Agreements.

          The Operating Principal (and any designee) must meet our standards for these positions, as
  provided in the Manuals or other written instructions. Under the Agreements, the Operating Principal (or
  his designee) must satisfy the training requirements stated in the Franchise Agreement.

          If, during the term of the Agreements, the Operating Principal or any designee cannot serve as
  Operating Principal or no longer qualifies, you must promptly notify us and designate a replacement within
  15 days after the Operating Principal or designee stops serving or no longer meets the requirements. Any
  replacement must meet the same qualifications listed above. You must provide for interim management of
  the Restaurant until you designate a replacement. This interim management must be conducted in
  accordance with the Agreements.

           As described in Item 1, we have identified certain persons under the Franchise Agreement and
  Development Agreement that we refer to in this Disclosure Document as your Principals. Your Principals
  include your spouse, if you are a married individual, your Principals also include those of your business
  entity’s officers and directors (including the officers and directors of your general partner, if applicable)
  whom we designate as your Principals and all holders of an ownership interest in you and in any entity that
  directly or indirectly controls you, and any other person or entity controlling, controlled by, or under
  common control with you.

          If we designate certain of your Principals as Controlling Principals, they must sign the Franchise
  Agreement and Development Agreement, as applicable, and agree to be individually bound by certain
  obligations under the Agreements, including confidentiality and non-competition covenants and to
  personally guarantee your performance under the Agreements. We typically designate your principal equity
  owners and executive officers, as well as any other affiliated entities that operate FIVE GUYS® Restaurants
  as Controlling Principals. The franchise owners, partners, members and/or spouses are bound by these
  same obligations regarding the personal guaranty, confidentiality and non-competition covenants.

          You must retain at all times a general manager and the other personnel as are required to operate
  and manage the Restaurant. The general manager must satisfy our educational and business criteria as
  provided to you in the Manuals or other written instructions, and must be individually acceptable to us. In
  addition, the general manager must be responsible for the supervision and management of the Restaurant,
  and must devote full time and best efforts to this activity. The general manager also must satisfy the

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  applicable training requirements in the Franchise Agreement. If the general manager cannot serve in the
  position or does not meet the requirements, he or she must be replaced within the same time period and
  under the same conditions stated above for the Operating Principal. Your general manager does not have
  to own an equity interest in the Restaurant.

                                          ITEM 16
                       RESTRICTIONS ON WHAT THE FRANCHISEE MAY SELL

          You must comply with all of our standards and specifications relating to the purchase of all food,
  food products and beverage items, ingredients, supplies, materials, fixtures, furnishings, equipment
  (including electronic cash register, computer hardware and software), utensils and other kitchen items and
  products used or sold at the Restaurant.

           You must sell or offer for sale all menu items, food products, and other products and services we
  require, in the manner and style we require, including dine-in and carry-out, as expressly authorized by us
  in writing. You must sell and offer for sale only the menu items, and other products and services that we
  have expressly approved in writing to our specifications. You must not deviate from our standards and
  specifications without first obtaining our written consent. You must discontinue selling and offering for
  sale any menu items, products or services that we may disapprove in writing at any time. We have the right
  to change the types of menu items, products and services offered by you at the Restaurant at any time, and
  there are no limits on our right to make those changes.

          You must maintain in sufficient supply and use and sell only the food and beverage items,
  ingredients, products, materials, supplies, and paper goods that conform to our standards and specifications.
  You must prepare all menu items with our recipes and procedures for preparation contained in the Manuals
  or other written instructions, including the measurements of ingredients. You must not deviate from our
  standards and specifications by the use or offer of nonconforming items or differing amounts of any items,
  without first obtaining our written consent.

           You must keep the Restaurant very clean and maintain it in good repair and condition. You must
  conspicuously place a sign (e.g., near your cash register or your fountain drink station) which indicates to
  your patrons that your Restaurant is independently owned and operated by you. You must make other
  additions, alterations, repairs and replacements, including, repainting or replacement of obsolete signs,
  furnishings, equipment, and decor as we may reasonably direct. You must not make any changes to the
  premises without obtaining our written consent before you make the changes. You must obtain and pay for
  any new or additional equipment, including electronic cash registers, computer hardware and software,
  fixtures, supplies and other products and materials that we require you to have in order to offer and sell new
  menu items from the Restaurant or to provide the Restaurant’s services by alternative means, such as
  through carry-out, catering or delivery arrangements.

           We may ask you to make other improvements to modernize the Restaurant premises, equipment,
  including electronic cash registers, computer hardware and software, signs, interior and exterior decor
  items, fixtures, furnishings, supplies and other products and materials required to operate the Restaurant, to
  our then-current standards and specifications. You must, at our request, make the capital improvements or
  modifications described in the Franchise Agreement (i) on or after the 5th anniversary of the opening date
  of the Restaurant or (ii) at any time during the term of the Franchise Agreement, when a majority of the
  Restaurants that we operate have made or are exercising their best efforts to make the improvements or
  modifications.

          We may offer guidance concerning the selling price for the goods, products and services offered
  from your Restaurant. Except for maximum prices described below, you are in no way bound to adhere to
  any such recommended or suggested price. You have the right to sell your products and provide services
  at any price that you determine, except that we reserve the right to establish maximum prices for any given
  product or service nationwide or within an advertising market (as we determine). You must not exceed any

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  maximum price we establish, but you at all times remain free to charge any price below the maximum we
  establish. You must sign any instruments or other writings we require to facilitate the provision of such
  products and services. If you elect to sell any or all of your products or merchandise at any price we
  recommend, we make no guarantees or warranties that offering such products or merchandise at the
  recommended price will enhance your sales or profits.

           We have developed certain products for use in the System that are prepared from confidential
  recipes and that are trade secrets of ours and certain products that bear our Marks. Because of the
  importance of quality and uniformity of production and the significance of the proprietary recipe and
  trademarked products in the System, it is to our and your benefit that we closely control the production and
  distribution of the products. You must use our proprietary recipe products. You must purchase all of your
  requirements for these products only from us or from sources we designate.

           All advertising and promotional materials, signs, decorations, and paper goods used in the
  Restaurant and on any Restaurant delivery vehicles and other items that we designate must have the Marks
  in the form, color, location and manner we specify.

           We or our designee may make available and may require you to purchase from us or our designee
  for resale to your customers certain pre-packaged food products and promotional merchandise, such as T-
  shirts and re-fill cups in amounts sufficient to meet your customer demand.

          We do not impose any other restrictions in the Franchise Agreement or otherwise, as to the goods
  or services that you may offer or sell or as to the customers to whom you may offer or sell, except as
  provided in Item 12.

                                      ITEM 17
               RENEWAL, TERMINATION, TRANSFER AND DISPUTE RESOLUTION

          This table lists certain important provisions of the franchise and related agreements
  pertaining to renewal, termination, transfer and dispute resolution. You should read these provisions
  in the Agreements attached to this Disclosure Document.
                                       THE FRANCHISE RELATIONSHIP
                Provision                   Section in Franchise                         Summary
                                                 Agreement
 a.   Length of the term of the franchise       Section III.A.        Term continues for 10 years from the date of the
                                                                      Franchise Agreement unless terminated earlier
 b.   Renewal or extension of the term          Section III.B.        Agreement may be renewed at your option for
                                                                      additional consecutive 10-year terms
 c.   Requirements for franchisee to        Section III.B.(1) - (8)   You must give notice at least 7 months in
      renew or extend                                                 advance, repair and update equipment and
                                                                      Restaurant premises, not be in breach of any
                                                                      agreement with us, have the right to remain in
                                                                      possession of Restaurant premises, sign current
                                                                      agreement and general release, and comply with
                                                                      current qualification and training requirements.

                                                                      You may be required to sign a new contract
                                                                      with different terms and conditions than your
                                                                      original contract, but the material terms and
                                                                      conditions of your original contract (i.e., the
                                                                      fees, protected territory and renewal rights) will
                                                                      remain the same in the new contract.


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                  Provision                    Section in Franchise                        Summary
                                                    Agreement
 d.      Termination by franchisee                Not applicable        You may terminate the Franchise Agreement on
                                                                        any grounds available by law. These provisions
                                                                        are subject to state law.
 e.      Termination by franchisor without        Not applicable        Not applicable
         cause
 f.      Termination by franchisor with         Section XVII.A.(1)      Each of your obligations under the Franchise
         “cause”                                                        Agreement is a material and essential
                                                                        obligation, the breach of which may result in
                                                                        termination.
 g.      “Cause” defined – curable defaults      Section XVII.B.        We may terminate you for cause if you fail to
                                                                        cure certain defaults, including: if you or any of
                                                                        your affiliates fail to pay any monies owed to us
                                                                        or our vendors, and do not cure within 5 days
                                                                        after notice (or longer period required), fail to
                                                                        procure and maintain required insurance within
                                                                        10 days after notice, use the Marks in an
                                                                        unauthorized manner, conduct or otherwise
                                                                        participate in an unauthorized Interview, and
                                                                        fail to cure within 24 hours after notice, fail to
                                                                        comply with the requirements of any other
                                                                        franchise agreement, development agreement, or
                                                                        other agreement to which you and we are a
                                                                        party, fail to cure any other default that is
                                                                        susceptible of cure within 30 days after notice.
 h.      “Cause” defined – non-curable        Sections XVII.A.(2) and   We may terminate you for cause if you fail to
         defaults                                       (3)             cure certain defaults, including: if you become
                                                                        insolvent, make a general assignment for benefit
                                                                        of creditors, file a petition or have a petition
                                                                        initiated against you under applicable
                                                                        bankruptcy laws, have outstanding judgments
                                                                        against you for over 30 days, sell unauthorized
                                                                        products or services, fail to acquire an accepted
                                                                        location within time required, fail to remodel
                                                                        when required, fail to open Restaurant when
                                                                        required, fail to comply with any term and
                                                                        condition of any sublease or related agreement,
                                                                        or any other franchise agreement, development
                                                                        agreement, or other agreement with us and have
                                                                        not cured the default within the given cure
                                                                        period, abandon or lose right to the Restaurant
                                                                        premises, are convicted of a felony or other
                                                                        crime that may have an adverse effect on the
                                                                        System or Marks, transfer any interest without
                                                                        our consent or maintain false books or records,
                                                                        failure to comply with applicable laws. If we
                                                                        determine that you are repeatedly in default for
                                                                        failure to comply with the requirements of any
                                                                        other franchise agreement, development
                                                                        agreement, or other agreement to which we are
                                                                        parties or in material default for failure to
                                                                        substantially comply with the requirements of
                                                                        any other agreement, we may terminate the

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                   Provision                      Section in Franchise                       Summary
                                                       Agreement
                                                                          Franchise Agreement and/or the other franchise
                                                                          agreement, development agreement or other
                                                                          agreement. If we terminate the Franchise
                                                                          Agreement it is considered an event of default
                                                                          agreement under any other agreement between
                                                                          us, and we have the right to terminate the other
                                                                          agreement.
 i.      Franchisee’s obligations on                 Section XVIII.       Obligations include: You must cease operating
         termination/non-renewal                                          the Restaurant and using the Marks and System
                                                                          and completely de-identify the business, pay all
                                                                          amounts due to us, return all Manuals and
                                                                          software and other proprietary materials,
                                                                          comply with confidentiality requirements, and at
                                                                          our option, sell or assign to us your rights in the
                                                                          Restaurant premises and the equipment and
                                                                          fixtures used in the business.
 j.      Assignment of contract by                   Section XIV.A.       We have the right to transfer or assign the
         Franchisor                                                       Franchise Agreement to any person or entity
                                                                          without restriction. However, no assignment
                                                                          will be granted except to an assignee who, in
                                                                          our good faith judgment, is willing and able to
                                                                          assume our obligations.
 k.      “Transfer” by franchisee – defined        Section XIV.B.(1)      Includes sale, assignment, conveyance, pledge,
                                                                          mortgage or other encumbrance of any interest
                                                                          in the Franchise Agreement, the Restaurant or
                                                                          you (if you are not a natural person).
 l.      Franchisor approval of transfer by        Section XIV.B.(2)      You must obtain our consent before transferring
         franchisee                                                       any interest. We will not unreasonably withhold
                                                                          our consent.
 m.      Conditions for franchisor approval        Section XIV.B.(2)      Conditions include: You must pay all amounts
         of transfer                                                      due us, not otherwise be in default, sign a
                                                                          general release, and pay a transfer fee.
                                                                          Transferee must meet our criteria, attend
                                                                          training and sign current Franchise Agreement.
 n.      Franchisor’s right of first refusal to      Section XIV.D.       Within 30 days after notice, we have the option
         acquire franchisee’s business                                    to purchase the transferred interest on the same
                                                                          terms and conditions.
 o.      Franchisor’s option to purchase          Sections XVIII.K. and   Other than assets on termination, non-renewal
         franchisee’s business                           XIV.D.           or right of first refusal, we have no right or
                                                                          obligation to purchase your business.
 p.      Death or disability of franchisee           Section XIV.E.       If you or a Controlling Principal are a natural
                                                                          person, upon death or permanent disability,
                                                                          distributee must be approved by us, or franchise
                                                                          must be transfer to someone approved by us
                                                                          within 12 months after death or within 6 months
                                                                          after notice of permanent disability.
 q.      Non-competition covenants during            Section X.C.(1)      You are prohibited from operating or having an
         the term of the franchise                                        interest in a similar business. Non-competition
                                                                          provisions are subject to state law.


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                   Provision                     Section in Franchise                          Summary
                                                      Agreement
 r.      Non-competition covenants after           Section X.C.(2)         You and your Controlling Principals are
         the franchise is terminated or                                    prohibited from operating or having an interest
         expires                                                           in a similar business which is located, or is
                                                                           intended to be located within a 25-mile radius of
                                                                           any Restaurant in existence or under
                                                                           construction as of the earlier of (i) the expiration
                                                                           or termination of, or the transfer of all of your
                                                                           interest in, the Franchise Agreement or (ii) the
                                                                           time a Controlling Principal ceases to satisfy the
                                                                           definition of a Controlling Principal, as
                                                                           applicable. Non-competition provisions are
                                                                           subject to state law.
 s.      Modification of the agreement           Sections X.A.(5) and      Franchise Agreement may not be modified
                                                        XIX.B.             unless mutually agreed to in writing. You must
                                                                           comply with Manuals as amended.
 t.      Integration/merger clause                  Section XIX.B.         Only the terms of the Franchise Agreement and
                                                                           other related written agreements are binding
                                                                           (subject to applicable state law). Any
                                                                           representations or promises made outside of the
                                                                           Disclosure Document and Franchise Agreement
                                                                           may not be enforceable.
 u.      Dispute resolution by arbitration or   Sections XIX.G., H., I.,   Except for actions brought by us for monies
         mediation                                     J. and K.           owed, injunctive or extraordinary relief, or
                                                                           actions involving real estate, all disputes must
                                                                           be arbitrated at our headquarters or arbitrated in
                                                                           Lorton, Virginia, subject to state law.
 v.      Choice of forum                        Section XIX.G., H., I.     The venue for all proceedings related to or
                                                                           arising out of the Franchise Agreement is in
                                                                           Fairfax County, Virginia, unless otherwise
                                                                           brought by us (subject to state law) (see
                                                                           Disclosure Document Addenda and State
                                                                           Amendments to Agreements).
 w.      Choice of Law                              Section XIX.H.         The Franchise Agreement is to be interpreted,
                                                                           governed and construed under Virginia law
                                                                           (subject to state law) (see Disclosure Document
                                                                           Addenda and State Amendments to Agreement).

                                         THE DEVELOPER RELATIONSHIP

                   Provision                    Section in Development                          Summary
                                                      Agreement
 a.      Length of the term                            Section V.            Term continues until you have completed your
                                                                             development obligations in accordance with
                                                                             the Development Schedule.
 b.      Renewal or extension of the term             Section III.B.         We may extend the term of the Development
                                                                             Agreement for up to two 90-day Extension
                                                                             Periods, as described in Item 12 above. In
                                                                             addition, we may renew your Development
                                                                             Agreement to allow you to develop additional
                                                                             Restaurants.


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                   Provision                  Section in Development                          Summary
                                                    Agreement
 c.      Requirements for Developer to        Sections III.B.(2) and (4)   If we renew your Development Agreement,
         renew or extend                                                   you will have the obligation to develop the
                                                                           additional Restaurants. You will also need to
                                                                           sign a new Development Agreement, which
                                                                           may have materially different terms and
                                                                           conditions from your original contract.
 d.      Termination by Developer                  Not applicable          You may terminate the Development
                                                                           Agreement on any grounds available at law.
                                                                           These provisions are subject to state law.
 e.      Termination by Franchisor without         Not applicable          Not applicable
         cause
 f.      Termination by Franchisor with           Section VII.A.D.         Following certain defaults, we may terminate
         “cause”                                                           the Agreement, or we may modify your
                                                                           territorial rights or alter your Development
                                                                           Schedule, rather than terminate the
                                                                           Agreement.
 g.      “Cause” defined - curable defaults    Sections VII.B. and C.      We may terminate you for cause if you fail to
                                                                           cure certain defaults, including: If you or your
                                                                           affiliates fail to pay any monies owed to us, or
                                                                           our vendors, and do not cure within 5 days
                                                                           after notice (or longer period required), use the
                                                                           Marks in an unauthorized manner and fail to
                                                                           cure within 24 hours after notice or fail to cure
                                                                           any other default that is susceptible of cure
                                                                           within 30 days after notice. If you have both a
                                                                           Development Agreement and a Franchise
                                                                           Agreement, an uncured default under one is
                                                                           also a default under the other.
 h.      “Cause defined – non-curable          Sections VII.A. and B.      We may terminate you for cause based on
         defaults                                                          certain non-curable defaults, including: If you
                                                                           become insolvent, make a general assignment
                                                                           for benefit of creditors, file a petition or have a
                                                                           petition initiated against you under federal
                                                                           bankruptcy laws or similar state laws, have
                                                                           outstanding judgments against you for over 30
                                                                           days, fail to comply with the Development
                                                                           Schedule, fail to comply with any term and
                                                                           condition of any sublease or related agreement
                                                                           and have not cured the default within the given
                                                                           cure period, are convicted of a felony or other
                                                                           crime that may have an adverse effect on the
                                                                           System or Marks, or transfer any interest
                                                                           without our consent.
 i.      Developer’s obligations on            Sections VII.D. and E.      Obligations include: You must cease
         termination/non-renewal                                           developing Restaurants or, on a partial
                                                                           termination of territorial or development rights
                                                                           under Section VII.D, must continue to develop
                                                                           only in accordance with any modified
                                                                           Development Schedule, and must comply with
                                                                           all applicable confidentiality and non-
                                                                           competition covenants.

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                    Provision                     Section in Development                     Summary
                                                        Agreement
 j.      Assignment of contract by                    Section VIII.A.      We have the right to transfer or assign the
         Franchisor                                                        Development Agreement to any person or
                                                                           entity without restriction. However, no
                                                                           assignment will be granted except to an
                                                                           assignee who, in our good faith judgment, is
                                                                           willing and able to assume our obligations.
 k.      “Transfer” by Developer - defined           Section VIII.B.(1)    Includes sale, assignment, conveyance, gift,
                                                                           pledge, mortgage or other disposal or
                                                                           encumbrance of any direct or indirect interest
                                                                           in the Agreement or you (if you are not a
                                                                           natural person).
 l.      Franchisor approval of transfer by          Section VIII.B.(2)    You must obtain our consent before
         Developer                                                         transferring any interest. We will not
                                                                           unreasonably withhold our consent.
 m.      Conditions for Franchisor approval          Section VIII.B.(2)    Conditions include: You must pay all amounts
         of transfer                                                       due us, not otherwise be in default, sign a
                                                                           general release, remain liable for pre-transfer
                                                                           obligations and pay a transfer fee. Transferee
                                                                           must meet our criteria, assume post-transfer
                                                                           obligations, sign our then-standard Agreement
                                                                           and attend training.
 n.      Franchisor’s right of first refusal to       Section VIII.D.      Within 30 days after notice, we have the
         acquire Developer’s business                                      option to purchase the transferred interest on
                                                                           the same terms and conditions offered by a
                                                                           third party.
 o.      Franchisor’s option to purchase              Not applicable       Not applicable
         Franchisee’s business
 p.      Death or disability of Developer             Section VIII.E.      If you or a Controlling Principal are a natural
                                                                           person, on death or permanent disability,
                                                                           distributee must be approved by us, or interest
                                                                           must be transferred to someone approved by
                                                                           us within 12 months after death or 6 months
                                                                           after notice of permanent disability.
 q.      Non-competition covenants during            Section IX.C.(2)      Except for Restaurants you operate under
         the term of the Development                                       Franchise Agreements with us, you and your
         Agreement                                                         Controlling Principals are prohibited from
                                                                           operating or having an interest in a similar
                                                                           business in the U.S. or anywhere else we have
                                                                           used, registered or sought to register the Marks
                                                                           or where we operate or license others. Non-
                                                                           competition provisions are subject to state law.




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                    Provision                    Section in Development                          Summary
                                                       Agreement
  r.      Non-competition covenants after            Section IX.D.(2)         Except for Restaurants you operate under
          the Development Agreement is                                        Franchise Agreements with us, you and your
          terminated or expires                                               Controlling Principals are prohibited from
                                                                              operating or having an interest in a similar
                                                                              business which is located, or is intended to be
                                                                              located within a 25-mile radius of any
                                                                              Restaurant or food service facility in existence
                                                                              or under construction as of the earlier of (i) the
                                                                              expiration, termination, or the transfer of all of
                                                                              your interest in the Agreement or (ii) the time
                                                                              a Controlling Principal ceases to satisfy the
                                                                              definition of a Controlling Principal, as
                                                                              applicable. Non-competition provisions are
                                                                              subject to state law.
  s.      Modification of the agreement           Sections IX.G. and XV.      Agreement may not be modified unless
                                                                              mutually agreed to in writing, except we may
                                                                              unilaterally decrease the scope of certain non-
                                                                              competition covenants.
  t.      Integration/merger clause                   Section XV.A.           Only the terms of the Agreement and other
                                                                              related written agreements are binding (subject
                                                                              to applicable state law). Any representations
                                                                              or promises made outside of the Disclosure
                                                                              Document and Development Agreement may
                                                                              not be enforceable.
  u.      Dispute resolution by arbitration or   Sections XV.B., C., D., E.   Except for actions brought by us for monies
          mediation                                        and F.             owed, injunctive or extraordinary relief, or
                                                                              actions involving real estate, all disputes must
                                                                              be arbitrated at our headquarters or arbitrated
                                                                              in Lorton, Virginia, subject to state law.
  v.      Choice of forum                             Section XV.C.           The venue for all proceedings related to or
                                                                              arising out of the Agreement is Fairfax
                                                                              County, Virginia unless otherwise brought by
                                                                              us (subject to state law) (see Disclosure
                                                                              Document Addenda and State Amendments to
                                                                              Agreements).
  w.      Choice of law                           Sections XV.B., C. and      The Agreement is to be interpreted and
                                                            D.                construed under Virginia law (subject to state
                                                                              law) (see Disclosure Document Addenda and
                                                                              State Amendments to Agreements).

                                                        ITEM 18
                                                     PUBLIC FIGURES

               We do not use any public figure to promote our franchise.




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                                           ITEM 19
                           FINANCIAL PERFORMANCE REPRESENTATIONS

            The FTC’s Franchise Rule permits a franchisor to provide information about the actual or potential
   financial performance of its franchised and/or franchisor-owned outlets, if there is a reasonable basis for
   the information, and if the information is included in the disclosure document. Financial performance
   information that differs from that included in Item 19 may be given only if: (1) a franchisor provides the
   actual records of an existing outlet you are considering buying; or (2) a franchisor supplements the
   information provided in this Item 19, for example, by providing information about possible performance at
   a particular location or under particular circumstances.

           We do not make any representations about a franchisee’s future financial performance or the past
   financial performance of company-owned or franchised outlets. We also do not authorize our employees
   or representatives to make any such representations either orally or in writing. If you are purchasing an
   existing outlet, however, we may provide you with the actual records of that outlet. If you receive any other
   financial performance information or projections of your future income, you should report it to the
   franchisor’s management by contacting us at 10718 Richmond Highway, Lorton, Virginia 22079, Attn:
   Adam Aberra, Legal Department, (703) 339-9500, franchise@fiveguys.com, the Federal Trade
   Commission, and the appropriate state regulatory agencies.

                                             ITEM 20
                               OUTLETS AND FRANCHISEE INFORMATION

                                              TABLE NO. 1
                                     SYSTEMWIDE OUTLET SUMMARY
                                      FOR FISCAL YEARS 2019 TO 2021

                                             Outlets at the Start   Outlets at the End
                Outlet Type          Year       of the Year            of the Year        Net Change
           Franchised                2019            930                    941              +11
                                     2020            941                    1,008            +67
                                     2021           1,008                   979              -29
           Company-Owned*            2019            492                    496               +4
                                     2020            499                    444              -52
                                     2021            444                    479              +35
           Total Outlets             2019           1,422                   1,437            +15
                                     2020           1,437                   1,452            +15
                                     2021           1,452                   1,458             +6
   *       Company-owned outlets refer to FIVE GUYS Restaurants owned by Five Guys Properties.
                                                            ®


                                            TABLE NO. 2
                              TRANSFERS OF OUTLETS FROM FRANCHISEES
                              TO NEW OWNERS (OTHER THAN FRANCHISOR)
                                    FOR FISCAL YEARS 2019 TO 2021

                                     State        Year          Number of Transfers
                                Alabama           2019                  0
                                                  2020                  0
                                                  2021                  2
                                Arkansas          2019                  0
                                                  2020                  0
                                                  2021                  5

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                             State       Year        Number of Transfers
                        California       2019                21
                                         2020                0
                                         2021                1
                        Colorado         2019                0
                                         2020                0
                                         2021                7
                        Florida          2019                0
                                         2020                0
                                         2021                2
                        Hawaii           2019                0
                                         2020                0
                                         2021                3
                        Indiana          2019                0
                                         2020                0
                                         2021                4
                        Kentucky         2019                2
                                         2020                0
                                         2021                0
                        Louisiana        2019                0
                                         2020                0
                                         2021                1
                        Massachusetts    2019                22
                                         2020                0
                                         2021                0
                        Mississippi      2019                0
                                         2020                0
                                         2021                2
                        New Jersey       2019                5
                                         2020                6
                                         2021                5
                        New York         2019                0
                                         2020                0
                                         2021                16
                        North Carolina   2019                5
                                         2020                0
                                         2021                8
                        Oregon           2019                0
                                         2020                0
                                         2021                1
                        South Carolina   2019                6
                                         2020                0
                                         2021                0




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                                    State             Year        Number of Transfers
                            Tennessee                 2019                    0
                                                      2020                    0
                                                      2021                    5
                            Virginia                  2019                    0
                                                      2020                    0
                                                      2021                    2
                            Washington                2019                    0
                                                      2020                    0
                                                      2021                 13
                            Wyoming                   2019                    0
                                                      2020                    0
                                                      2021                    2
                            Totals                    2019                 61
                                                      2020                    6
                                                      2021                 79


                                              TABLE NO. 3
                                    STATUS OF FRANCHISED OUTLETS
                                     FOR FISCAL YEARS 2019 TO 2021

                                                                                                Ceased
                            Outlets at                                            Reacquired   Operations   Outlets at
                           Start of the     Outlets                      Non-         by        – Other     End of the
       State        Year      Year          Opened      Terminations   Renewals   Franchisor    Reasons       Year
  Alabama           2019       15             0               0           0             0          0           15
                    2020       15             0               0           0             0          0           15
                    2021       15             0               0           0             5          0           10
  Arizona           2019       12             0               0           0             0          0           12
                    2020       12             0               0           0             0          0           12
                    2021       12             0               0           0             0          1           11
  Arkansas          2019        5             0               0           0             0          0            5
                    2020        5             0               0           0             0          0            5
                    2021        5             0               0           0             0          0            5
  California        2019       72             3               0           0             0          1           74
                    2020       74             1               0           0             0          0           75
                    2021       75             0               0           0             0          0           75
  Colorado          2019       23             2               0           0             0          0           25
                    2020       25             1               0           0             0          0           26
                    2021       26             1               0           0             0          0           27
  Delaware          2019        4             0               0           0             0          0            4
                    2020        4            3**              0           0             0          0            7
                    2021        7             1               0           0             0          0            8
  Florida           2019       73             3               0           0             0          4           72
                    2020       72             4               0           0             0          5           71
                    2021       71             2               0           0             1          0           72
  Georgia           2019       19             1               0           0             3          3           14
                    2020       14             0               0           0             0          0           14
                    2021       14             1               0           0             0          0           15



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                                                                                            Ceased
                            Outlets at                                        Reacquired   Operations   Outlets at
                           Start of the   Outlets                    Non-         by        – Other     End of the
          State     Year      Year        Opened    Terminations   Renewals   Franchisor    Reasons       Year
  Hawaii            2019        3           0            0            0           0            0            3
                    2020        3           0            0            0           0            0            3
                    2021        3           0            0            0           0            0            3
  Idaho             2019        7           0            0            0           0            0            7
                    2020        7           0            0            0           0            0            7
                    2021        7           0            0            0           0            0            7
  Illinois          2019        2           0            0            0           0            0            2
                    2020        2           0            0            0           0            0            2
                    2021        2           0            0            0           2            0            0
  Indiana           2019       27           1            0            0           0            0           28
                    2020       28           3            0            0           0            0           31
                    2021       31           0            0            0           0            0           31
  Kansas            2019       13           0            0            0           0            0           13
                    2020       13           0            0            0           0            0           13
                    2021       13           1            0            0           0            1           13
  Kentucky          2019       11           0            0            0           0            1           10
                    2020       10           0            0            0           0            0           10
                    2021       10           0            0            0           0            0           10
  Louisiana         2019       10           1            0            0           0            0           11
                    2020       11           1            0            0           0            0           12
                    2021       12           0            0            0           0            0           12
  Maine             2019        7           0            0            0           0            0            7
                    2020        7           0            0            0           0            1            6
                    2021        6           0            0            0           0            0            6
  Maryland          2019       33           1            0            0           0            2           32
                    2020       32           2            0            0           1            2           31
                    2021       31           2            0            0           0            0           33
  Massachusetts     2019       42           3            0            0           0            0           45
                    2020       45           2            0            0           0            0           47
                    2021       47           0            0            0           0            0           47
  Michigan          2019       30           1            0            0           0            0           31
                    2020       31           0            0            0           0            1           30
                    2021       30           2            0            0          31            1            0
  Minnesota         2019       21           1            0            0           0            0           22
                    2020       22           2            0            0           0            1           23
                    2021       23           0            0            0           0            1           22
  Mississippi       2019        2           0            0            0           0            0            2
                    2020        2           0            0            0           0            0            2
                    2021        2           0            0            0           0            0            2
  Missouri          2019       12           1            0            0           0            0           13
                    2020       13           1            0            0           0            0           14
                    2021       14           0            0            0           0            0           14
  Montana           2019        4           0            0            0           0            0            4
                    2020        4           0            0            0           0            0            4
                    2021        4           1            0            0           0            0            5




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                                                                                            Ceased
                            Outlets at                                        Reacquired   Operations   Outlets at
                           Start of the   Outlets                    Non-         by        – Other     End of the
         State      Year      Year        Opened    Terminations   Renewals   Franchisor    Reasons       Year
  Nebraska          2019        5           0            0            0           0            0            5
                    2020        5           0            0            0           0            0            5
                    2021        5           0            0            0           0            0            5
  Nevada            2019       10           0            0            0           0            1            9
                    2020        9           0            0            0           0            0            9
                    2021        9           0            0            0           0            0            9
  New Hampshire     2019       11           1            0            0           0            0           12
                    2020       12           0            0            0           0            0           12
                    2021       12           0            0            0           0            0           12
  New Jersey        2019       42           2            0            0           0            1           43
                    2020       43           3            0            0           0            2           44
                    2021       44           3            0            0           0            0           47
  New Mexico        2019        0           0            0            0           0            0            0
                    2020        0           0            0            0           0            0            0
                    2021        0           0            0            0           0            0            0
  New York          2019       78           3            0            0           0            0           81
                    2020       81           2            0            0           0            4           79
                    2021       79           3            0            0           0            0           82
  North Carolina    2019       31           0            0            0           2            1           28
                    2020       28           4            0            0           0            2           30
                    2021       30           1            0            0           0            0           31
  North Dakota      2019        5           0            0            0           0            0            5
                    2020        5           1            0            0           0            1            5
                    2021        5           0            0            0           0            0            5
  Ohio              2019       39           0            0            0           0            0           39
                    2020       39           4            0            0           0            0           43
                    2021       43           1            0            0           6            1           37
  Oklahoma          2019       12           1            0            0           0            0           13
                    2020       13           0            0            0           0            0           13
                    2021       13           0            0            0           0            1           12
  Oregon            2019       16           0            0            0           0            0           16
                    2020       16           1            0            0           0            0           17
                    2021       17           2            0            0           0            0           19
  Pennsylvania      2019       23           2*           0            0           0            0           25*
                    2020       25*          1            0            0           0            1           25
                    2021       25           1            0            0           0            1           25
  Rhode Island      2019        5           0            0            0           0            0            5
                    2020        5           0            0            0           0            1            4
                    2021        4           1            0            0           0            0            5
  South Carolina    2019       28           0            0            0           0            1           27
                    2020       27           2            0            0           0            1           28
                    2021       28           0            0            0           0            0           28
  South Dakota      2019        3           0            0            0           0            0            3
                    2020        3           0            0            0           0            0            3
                    2021        3           0            0            0           0            0            3




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                                                                                                     Ceased
                                 Outlets at                                           Reacquired    Operations   Outlets at
                                Start of the   Outlets                     Non-           by         – Other     End of the
         State        Year         Year        Opened     Terminations   Renewals     Franchisor     Reasons       Year
  Tennessee           2019          23           0             0             0             0            0            23
                      2020          23           1             0             0             0            0            24
                      2021          24           1             0             0             0            0            25
  Texas               2019          16           0             0             0             0            0            16
                      2020          16          49**           0             0             0            0            65
                      2021          65           3             0             0             0            2            66
  Utah                2019          18           0             0             0             0            0            18
                      2020          18           0             0             0             0            0            18
                      2021          18           0             0             0             0            0            18
  Vermont             2019           2           1             0             0             0            0            3
                      2020           3           0             0             0             0            0            3
                      2021           3           0             0             0             0            1            2
  Virginia            2019          15           0             0             0             1            1            13
                      2020          13           2             0             0             0            2            13
                      2021          13           1             0             0             0            0            14
  Washington DC       2019           0           0             0             0             0            0            0
                      2020           0           0             0             0             0            0            0
                      2021           0           0             0             0             0            0            0
  Washington          2019          28           0             0             0             0            0            28
                      2020          28           2             0             0             0            2            28
                      2021          28           0             0             0             0            0            28
  West Virginia       2019           3           0             0             0             0            0            3
                      2020           3           0             0             0             0            0            3
                      2021           3           0             0             0             0            0            3
  Wisconsin           2019           4           1             0             0             0            0            5
                      2020           5           0             0             0             0            0            5
                      2021           5           0             0             0             0            0            5
  Wyoming             2019           2           0             0             0             0            0            2
                      2020           2           0             0             0             0            0            2
                      2021           2           0             0             0             0            0            2
  U.S. Subtotals      2019          866          29            0             0             6            16          873
                      2020          873          92            0             0             1            26          938
                      2021          938          28            0             0            45            10          911
  Canada              2019          64           7             0             0             0            3            68
                      2020          68           3             0             0             0            1            70
                      2021          70           2             0             0             0            4            68
  Totals              2019          930          36            0             0             6            19          941
                      2020          941          95            0             0             1            27          1,008
                      2021         1,008         30            0             0            45            14          979


   *During 2019, 1 of the 2 outlets in Pennsylvania was opened as a relocated outlet, but the original outlet did not close
   until March 2020. Therefore, there are 25 opened outlets in Pennsylvania in 2019 rather than 24 outlets.
   **During 2020, 2 of the 3 outlets in Delaware and the 49 outlets in Texas were purchased by franchisees from Five
   Guys Properties.




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                                            TABLE NO. 4
                                STATUS OF COMPANY-OWNED OUTLETS
                                   FOR FISCAL YEARS 2019 TO 2021

                            Outlets at     Outlets   Outlets Reacquired   Outlets   Outlets Sold to   Outlets at End of
            State   Year   Start of Year   Opened     from Franchisee     Closed     Franchisee           the Year
 Alabama            2019        6            1               0              0             0                  7
                    2020        7            0               0              0             0                  7
                    2021        7            0               5              1             0                  11
 Arizona            2019        19           0               0              0             0                  19
                    2020        19           0               0              0             0                  19
                    2021        19           1               0              0             0                  20
 California         2019        61           1               0              0             0                  62
                    2020        62           2               0              1             0                  63
                    2021        63           0               0              6             0                  57
 Connecticut        2019        24           1               0              0             0                  25
                    2020        25           0               0              1             0                  24
                    2021        24           0               0              1             0                  23
 Delaware           2019        2            0               0              0             0                  2
                    2020        2            0               0              0             0                  2
                    2021        2            0               0              0             0                  2
 Florida            2019        40           0               0              3             0                  37
                    2020        37           0               0              0             0                  37
                    2021        37           1               1              0             0                  39
 Georgia            2019        30           2               3              0             0                  35
                    2020        35           4               0              2             0                  37
                    2021        37           2               0              1             0                  38
 Illinois           2019        38           0               0              2             0                  36
                    2020        36           1               0              1             0                  36
                    2021        36           3               2              4             0                  37
 Iowa               2019        4            1               0              0             0                  5
                    2020        5            1               0              0             0                  6
                    2021        6            1               0              0             0                  7
 Kentucky           2019        1            0               0              0             0                  1
                    2020        1            0               0              0             0                  1
                    2021        1            0               0              0             0                  1
 Louisiana          2019        5            0               0              0             0                  5
                    2020        5            0               0              0             0                  5
                    2021        5            0               0              2             0                  3
 Maryland           2019        22           1               0              1             0                  22
                    2020        22           1               1              0             2                  22
                    2021        22           0               0              0             0                  22
 Michigan           2019        0            0               0              0             0                  0
                    2020        0            0               0              0             0                  0
                    2021        0            0               31             0             0                  31
 Mississippi        2019        6            0               0              0             0                  6
                    2020        6            0               0              0             0                  6
                    2021        6            0               0              0             0                  6




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                           Outlets at     Outlets   Outlets Reacquired   Outlets   Outlets Sold to   Outlets at End of
          State    Year   Start of Year   Opened     from Franchisee     Closed     Franchisee           the Year
 Missouri          2019        11           1               0              0             0                  12
                   2020        12           0               0              1             0                  11
                   2021        11           2               0              1             0                  12
 New Jersey        2019        1            0               0              0             0                  1
                   2020        1            0               0              0             0                  1
                   2021        1            0               0              0             0                  1
 New Mexico        2019        7            0               0              0             0                  7
                   2020        7            0               0              0             0                  7
                   2021        7            0               0              0             0                  7
 New York          2019        6            0               0              0             0                  6
                   2020        6            0               0              1             0                  5
                   2021        5            0               0              0             0                  5
 North Carolina    2019        7            0               2              2             0                  7
                   2020        7            1               0              0             0                  8
                   2021        8            0               0              0             0                  8
 Ohio              2019        16           0               0              1             0                  15
                   2020        15           0               0              0             0                  15
                   2021        15           0               6              1             0                  20
 Pennsylvania      2019        36           0               0              1             0                  35
                   2020        35           0               0              0             0                  35
                   2021        35           0               0              1             0                  34
 South Carolina    2019        2            0               0              0             0                  2
                   2020        2            0               0              0             0                  2
                   2021        2            0               0              0             0                  2
 Tennessee         2019        6            0               0              0             0                  6
                   2020        6            1               0              0             0                  7
                   2021        7            0               0              0             0                  7
 Texas             2019        59           4               0              3             0                  60
                   2020        60           0               0              4             49                 7
                   2021        7            0               0              4             0                  3
 Virginia          2019        58           1               1              1             0                  59
                   2020        59           1               0              2             0                  58
                   2021        58           0               0              0             0                  58
 Washington, DC    2019        8            0               0              0             0                  8
                   2020        8            0               0              1             0                  7
                   2021        7            1               0              0             0                  8
 West Virginia     2019        5            0               0              1             0                  4
                   2020        4            0               0              0             0                  4
                   2021        4            0               0              0             0                  4
 Wisconsin         2019        12           0               0              0             0                  12
                   2020        12           0               0              0             0                  12
                   2021        12           2               0              1             0                  13
 Totals            2019       492           13              6              15            0                 496
                   2020       496           12              1              14            51                444
                   2021       444           13              45             23            0                 479




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                                             TABLE NO. 5
                                        PROJECTED OPENINGS
                                       AS OF DECEMBER 31, 2021

                           Franchise Agreements* Signed        Projected Franchised   Projected Company-Owned
                  States     But Restaurant Not Open           Restaurant Openings       Restaurant Openings
    Alabama                             1                                1                        2
    Alaska                              0                               0                        0
    Arizona                             4                               0                        2
    Arkansas                            2                               1                        0
    California                         49                               2                        0
    Colorado                           18                               0                        0
    Connecticut                         0                               0                        2
    Delaware                            0                               1                        0
    Florida                            69                               8                        1
    Georgia                            15                               0                        2
    Hawaii                              5                               0                        0
    Idaho                               5                               0                        0
    Illinois                            0                               0                        1
    Indiana                            11                               0                        0
    Iowa                                0                               0                        0
    Kansas                              3                               1                        0
    Kentucky                           12                               0                        0
    Louisiana                           6                               2                        0
    Maine                               1                               0                        0
    Maryland                            0                               3                        0
    Massachusetts                      26                               1                        0
    Michigan                            0                               0                        0
    Minnesota                           4                               1                        0
    Mississippi                         3                               0                        0
    Missouri                            8                               0                        0
    Montana                             0                               0                        0
    Nebraska                            0                               0                        0
    Nevada                              1                               0                        0
    New Hampshire                       3                               1                        0
    New Jersey                         18                               2                        0
    New Mexico                          0                               0                        0
    New York                           47                               3                        1
    North Carolina                      9                               1                        0
    North Dakota                        0                               1                        0
    Ohio                                8                               4                        0
    Oklahoma                            0                               0                        0
    Oregon                             10                               1                        0
    Pennsylvania                        7                               3                        0
    Rhode Island                        4                               0                        0
    South Carolina                      8                               1                        0
    South Dakota                        2                               0                        0
    Tennessee                           4                               0                        1
    Texas                              73                               1                        0
    Utah                                0                               0                        0
    Vermont                             1                               0                        0


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                              Franchise Agreements* Signed        Projected Franchised   Projected Company-Owned
                States          But Restaurant Not Open           Restaurant Openings       Restaurant Openings
    Virginia                               2                                0                        2
    Washington, DC                         0                               0                        1
    Washington                            26                               1                        0
    West Virginia                          0                               0                        0
    Wisconsin                              1                               1                        0
    Wyoming                                1                               0                        0
    U.S. Subtotals                        467                             41                       15
    Canada                                64                               1                        0
    Totals                                531                             42                       15

   *        Franchise Agreements include signed, individual Franchise Agreements and projected stores
   reflected in signed Development Agreements.

   List of Current Franchisees

            The names of all franchisees and the addresses and telephones numbers of their businesses are
   listed in Exhibit D to this Disclosure Document. The names of all franchisees/developers that had
   franchises that were not operational as of December 31, 2021 are also listed in Exhibit D of this Disclosure
   Document.

   List of Former Franchisees

           The name, city, state and current business telephone number (or if unknown, the last known home
   telephone number) of every franchisee who had a business terminated, cancelled, not renewed or otherwise
   voluntarily or involuntarily ceased to do business under the Franchise Agreement during the most recently
   completed fiscal year or who has not communicated with us within 10 weeks of the issuance date of this
   Disclosure Document are listed on Exhibit E to this Disclosure Document. If you buy this franchise, your
   contact information may be disclosed to other buyers when you leave the franchise system.

   Purchase of Previously Owned Franchise

           If you are purchasing a previously-owned franchised Restaurant from another franchisee, we will
   not provide you with any information on the previously-owned Restaurant. If you are purchasing a
   previously-owned franchised Restaurant from us or one of our affiliates, we will provide you additional
   information on the previously-owned Restaurant in an addendum to this Disclosure Document.

   Confidentiality Clauses

           During the last 3 fiscal years, neither we nor our predecessor, FGE, have had any franchisees sign
   confidentiality provisions that would restrict their ability to speak openly about their experience with the
   FIVE GUYS® system.

   Trademark-Specific Franchisee Organizations

          There are no trademark-specific organizations formed by our franchisees that are associated with
   the FIVE GUYS® system.

                                                 ITEM 21
                                          FINANCIAL STATEMENTS

           FGE will be providing required support and services to franchisees under a management agreement
   with us. The audited consolidated financial statements of our Parent Company, the parent of FGE, and

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   subsidiaries as of and for the years ended December 31, 2019, December 31, 2020, and December 31, 2021
   and unaudited financial statements as of March 31, 2022 are attached and included in Exhibit A. FGE is
   not a party to the Development Agreement, Franchise Agreement or other agreement that we sign with
   franchisees nor does it guarantee our obligations under the Franchise Agreement or other agreements that
   we sign with franchisees. Our Parent Company has signed a Guaranty of Performance agreement in which
   it absolutely and unconditionally guarantees to assume FGE’s duties and obligations under the management
   agreement. A copy of the Guaranty of Performance is also attached to this Disclosure Document at Exhibit
   A.

            Five Guys Funding issued fixed rate notes in the amount of $400 million and a variable funding
   note with a maximum principal amount of $40 million as part of the Securitization Transaction. These
   funds were used, in part, to pay certain outstanding obligations. Various assets have been pledged to secure
   this indebtedness, including all franchise agreements and other agreements existing as of the closing of the
   Securitization Transaction. Certain subsidiaries and affiliates of Five Guys Funding have guaranteed the
   indebtedness, including us. See the Footnotes to the financial statements in Exhibit A for more information
   about the Securitization Transaction.
           Our fiscal year end is December 31st.

                                                     ITEM 22
                                                   CONTRACTS

           Attached as Exhibits to this Disclosure Document are the following contracts and their attachments:

           1.      Development Agreement                     Exhibit B
           2.      Franchise Agreement                       Exhibit C

                                                    ITEM 23
                                                   RECEIPTS

           Two copies of an acknowledgment of your receipt of this Disclosure Document appear at the end
   of the Disclosure Document. Please return one signed copy to us and retain the other for your records.




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                        EXHIBIT A TO THE DISCLOSURE DOCUMENT

                               FINANCIAL STATEMENTS




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                                  GUARANTEE OF PERFORMANCE


             For value received, FIVE GUYS HOLDINGS, INC., a Delaware corporation (the
     "Guarantor"), located at 10718 Richmond Highway, Lorton, Virginia 22079, absolutely and
     unconditionally guarantees the performance by Five Guys Enterprises, LLC (the "Manager")
     located at 10718 Richmond Highway, Lorton, Virginia 22079, of all of its duties and obligations
     under that certain Management Agreement between the Manager and Five Guys Franchisor, LLC
     (the "Franchisor"), among others, dated June 27,2017, as it may be amended, modified or extended
     from time to time (the "Management Agreement"), which duties and obligations include the
     Manager's required performance of the Franchisor's support and services to the Franchisor's
     franchisees under their franchise agreements and development agreements.


            This guarantee continues until all such obligations of the Manager under the Management
     Agreement are satisfied, or until the liability of the Manager to the Franchisor under the
     Management Agreement has been discharged, whichever first occurs. Notice of acceptance is
     waived. The Guarantor does not waive receipt of notice of default on the part of the Manager. This
     guarantee is binding on the Guarantor and on its successors and assigns and inures to the benefit of
     the above-described franchisees.

            The Guarantor signs this guarantee at Lorton, Virginia on th 30th ay of April2022.



                                                   GUARANTOR:

                                                   FIVE GUYS HOLDINGS, INC.


                                                   ^ ^^<^^€£^ •
                                                           z^
                                                   Name: Jane K. Murrell

                                                   Title: Authorized Signatory
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          Five Guys
          Holdings, Inc. and
          Subsidiaries
          Consolidated Financial Statements as of and for the
          Years Ended December 31, 2021, 2020, and 2019,
          Independent Auditor’s Report
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   FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

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   CONSOLIDATED FINANCIAL STATEMENTS AS OF AND FOR THE YEARS ENDED
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    Balance Sheets                                                            3–4

    Statements of Operations and Comprehensive Loss                            5

    Statements of Changes in Stockholders’ Deficit                             6

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    Notes to the Consolidated Financial Statements                           9–45
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                                                                                   Deloitte & Touche LLP
                                                                                   7900 Tysons One Place
                                                                                   Suite 800
                                                                                   McLean, VA 22102
                                                                                   USA
                                                                                   www.deloitte.com

   INDEPENDENT AUDITOR’S REPORT

   To the Board of Directors of
   Five Guys Holdings, Inc. and Subsidiaries
   Lorton, VA

   Opinion

   We have audited the accompanying consolidated financial statements of Five Guys
   Holdings, Inc. and its subsidiaries (the "Company"), which comprise the consolidated
   balance sheets as of December 31, 2021, 2020, and 2019, and the related consolidated
   statements of operations and comprehensive loss, changes in stockholders’ deficit, and cash
   flows for the years then ended, and the related notes to the consolidated financial
   statements (collectively referred to as the “financial statements”).

   In our opinion, the accompanying financial statements present fairly, in all material
   respects, the financial position of the Company as of December 31, 2021, 2020 and 2019,
   and the results of its operations and its cash flows for the years then ended in accordance
   with accounting principles generally accepted in the United States of America.

   Basis for Opinion


   We conducted our audits in accordance with auditing standards generally accepted in the
   United States of America (GAAS). Our responsibilities under those standards are further
   described in the Auditor’s Responsibilities for the Audit of the Financial Statements section
   of our report. We are required to be independent of the Company and to meet our other
   ethical responsibilities, in accordance with the relevant ethical requirements relating to our
   audits. We believe that the audit evidence we have obtained is sufficient and appropriate to
   provide a basis for our audit opinion.


   Responsibilities of Management for the Financial Statements


   Management is responsible for the preparation and fair presentation of the financial
   statements in accordance with accounting principles generally accepted in the United States
   of America, and for the design, implementation, and maintenance of internal control
   relevant to the preparation and fair presentation of financial statements that are free from
   material misstatement, whether due to fraud or error.


   In preparing the financial statements, management is required to evaluate whether there
   are conditions or events, considered in the aggregate, that raise substantial doubt about the
   Company’s ability to continue as a going concern for one year after the date that the
   financial statements are available to be issued.

   Auditor’s Responsibilities for the Audit of the Financial Statements

   Our objectives are to obtain reasonable assurance about whether the financial statements
   as a whole are free from material misstatement, whether due to fraud or error, and to issue
   an auditor’s report that includes our opinion. Reasonable assurance is a high level of
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   assurance but is not absolute assurance and therefore is not a guarantee that an audit
   conducted in accordance with GAAS will always detect a material misstatement when it
   exists. The risk of not detecting a material misstatement resulting from fraud is higher than
   for one resulting from error, as fraud may involve collusion, forgery, intentional omissions,
   misrepresentations, or the override of internal control. Misstatements are considered
   material if there is a substantial likelihood that, individually or in the aggregate, they would
   influence the judgment made by a reasonable user based on the financial statements.


   In performing an audit in accordance with GAAS, we:

   •   Exercise professional judgment and maintain professional skepticism throughout the
       audit.
   •   Identify and assess the risks of material misstatement of the financial statements,
       whether due to fraud or error, and design and perform audit procedures responsive to
       those risks. Such procedures include examining, on a test basis, evidence regarding the
       amounts and disclosures in the financial statements.
   •   Obtain an understanding of internal control relevant to the audit in order to design audit
       procedures that are appropriate in the circumstances, but not for the purpose of
       expressing an opinion on the effectiveness of the Company’s internal control.
       Accordingly, no such opinion is expressed.
   •   Evaluate the appropriateness of accounting policies used and the reasonableness of
       significant accounting estimates made by management, as well as evaluate the overall
       presentation of the financial statements.
   •   Conclude whether, in our judgment, there are conditions or events, considered in the
       aggregate, that raise substantial doubt about the Company’s ability to continue as a
       going concern for a reasonable period of time.

   We are required to communicate with those charged with governance regarding, among
   other matters, the planned scope and timing of the audit, significant audit findings, and
   certain internal control-related matters that we identified during the audit.




   March 18, 2022




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   FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

   CONSOLIDATED BALANCE SHEETS
   AS OF DECEMBER 31, 2021, 2020, AND 2019
   (Dollars in thousands, except share and per share values)


                                                                         2021           2020           2019
   ASSETS

   CURRENT ASSETS:
    Ca s h a nd ca s h equi va l ents                                $    176,399   $    144,567   $     42,546
    Res tri cted ca s h                                                    25,298         24,394         17,266
    Accounts recei va bl e—net                                             14,647         11,342         13,938
    Other recei va bl es                                                    5,492          4,856          3,567
    Rel a ted-pa rty recei va bl e—current porti on                        14,404          9,568          9,696
    Inventory                                                               4,464          3,441          3,269
    Prepa i d expens es a nd other current a s s ets                       11,056         10,677         12,922
    As s ets hel d for s a l e                                                -              -           18,677
    Prepa i d ta xes                                                        2,014          1,902            357
    Deferred commi s s i ons —current porti on                                770            905            913

           Tota l current a s s ets                                       254,544        211,652        123,151

   PROPERTY AND EQUIPMENT—net                                             120,932        113,508        135,205

   OTHER ASSETS:
    Securi ty depos i ts a nd other                                         5,992          4,494          4,551
    Long-term i nves tments                                                10,544          7,995          6,423
    Rel a ted-pa rty recei va bl es —net of current porti on                1,303          1,164          1,095
    Deferred commi s s i ons —net of current porti on                       5,010          5,722          6,348
    Deferred cha rges —net                                                    432            551            743
    Inta ngi bl e a s s ets —net                                           25,393          6,465         10,360
    Goodwi l l                                                             90,042         40,675         48,807

           Tota l other a s s ets                                         138,716         67,066         78,327

   TOTAL                                                             $    514,192   $    392,226   $    336,683


                                                                                                   (Conti nued)




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   FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES
   CONSOLIDATED BALANCE SHEETS
   AS OF DECEMBER 31, 2021, 2020, AND 2019
   (Dollars in thousands, except share and per share values)


                                                                             2021            2020            2019
   LIABILITIES AND STOCKHOLDERS’ DEFICIT
   CURRENT LIABILITIES:
    Current ma turi ti es of l ong-term debt                             $       -       $        269    $       -
    Ca pi ta l l ea s e obl i ga ti ons —current porti on                       1,032           1,107           1,552
    Accounts pa ya bl e                                                        19,222          17,172          16,167
    Embedded deri va ti ve l i a bi l i ty                                    302,406         176,093         119,683
    Accrued expens es a nd other current l i a bi l i ti es                    35,982          33,751          27,631
    Li a bi l i ti es hel d for s a l e                                         -               -               1,560
    Accrued pa yrol l a nd rel a ted ta xes                                    36,835          25,957          21,303
    Rel a ted-pa rty pa ya bl es                                                   118             86              125
    Deferred revenue—current porti on                                           3,428           4,062           4,023

           Tota l current l i a bi l i ti es                                  399,023         258,497         192,044
   OTHER LIABILITIES:
    Long-term debt—net of current ma turi ti es                               583,750         464,358         398,248
    Ca pi ta l l ea s e obl i ga ti ons —net of current porti on                3,007           3,325           3,495
    Deferred revenue—net of current porti on                                   42,654          44,963          48,250
    Deferred compens a ti on l i a bi l i ty                                  131,995         100,758         112,384
    Deferred rent a nd other                                                   34,799          31,272          24,191
           Tota l other l i a bi l i ti es                                    796,205         644,676         586,568

   Commi tments a nd Conti ngenci es (See Note 11)
   STOCKHOLDERS’ DEFICIT:
    Preferred s tock—s eri es A—noncumul a ti ve converti bl e
     preferred ($15 mi l l i on a ggrega te l i qui da ti on
     preference)—$.001 pa r va l ue—107,000 s ha res
     a uthori zed, i s s ued, a nd outs ta ndi ng                               -               -                -
    Preferred s tock—s eri es B—noncumul a ti ve converti bl e
     preferred ($15 mi l l i on a ggrega te l i qui da ti on
     preference)—$.001 pa r va l ue—84,863 s ha res
     a uthori zed, i s s ued, a nd outs ta ndi ng                               -               -                -
    Common s tock—$.001 pa r va l ue—1,808,137 s ha res
     a uthori zed (Cl a s s A—1,758,137, Cl a s s B—50,000);
     934,820, 934,657, a nd 934,657 s ha res
     i s s ued a s of 2021, 2020, a nd 2019;
     901,739, 908,898, a nd 909,190 s ha res outs ta ndi ng
     for 2021, 2020, a nd 2019, res pecti vel y.                                    1               1                1
    Trea s ury s tock—33,081, 25,759, a nd 25,467, s ha res
     outs ta ndi ng for 2021, 2020, a nd 2019, res pecti vel y.               (26,403)        (15,903)        (15,603)
    Addi ti ona l pa i d-i n ca pi ta l                                         9,444           4,994           4,413
    Accumul a ted defi ci t                                                  (664,356)       (499,879)       (430,314)
    Stockhol der l oa ns                                                         (447)           (708)           (455)
    Accumul a ted other comprehens i ve i ncome                                   725             548              29

           Tota l s tockhol ders ’ defi ci t                                 (681,036)       (510,947)       (441,929)
   TOTAL                                                                 $    514,192    $    392,226    $    336,683

   See notes to cons ol i da ted fi na nci a l s ta tements .                                            (Concl uded)




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   FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

   CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE LOSS
   FOR THE YEARS ENDED DECEMBER 31, 2021, 2020, AND 2019
   (Dollars in thousands)


                                                        2021            2020           2019

   REVENUE:
    Restaurant sales                                $   640,519     $   546,257    $   569,255
    Bakery sales                                         60,189          49,611         52,208
    Royalty fees                                        100,087          79,688         77,581
    Development fees                                      3,632           2,454          2,344
    Franchise fees                                        1,768           1,673          1,848
    Other revenue                                         3,509           2,015          2,188
    Creative fund revenue                                35,394          25,152         30,659
        Total revenue                                   845,098         706,850        736,083

   OPERATING EXPENSES:
    Cost of sales:
     Food, beverage, and shipping                       182,068         155,129        163,167
     Labor                                              217,794         188,109        192,188
     Occupancy                                           65,060          64,928         67,203
     Other operating costs                              135,740         129,400        123,461
    General and administrative                          216,418         143,785        188,872
    Creative fund expense                                38,053          28,015         34,610
    Gain on sale of company-owned locations                 -           (12,543)           -
        Total operating expenses                        855,133         696,823        769,501
   INCOME (LOSS) FROM OPERATIONS                         (10,035)        10,027        (33,418)

   OTHER INCOME (EXPENSE):
    Interest income                                          485            503            638
    Interest expense                                     (27,223)       (24,553)       (18,961)
    Gain on extinguishment of debt                         5,260            -              -
    Loss on embedded derivative                         (126,313)       (56,410)       (41,559)
    Other income (expense)                                (1,485)        (1,900)        (2,306)
        Total other expense                             (149,276)       (82,360)       (62,188)
   LOSS BEFORE INCOME TAX EXPENSE                       (159,311)       (72,333)       (95,606)
   INCOME TAX EXPENSE (BENEFIT):
    Total income tax expense (benefit)                     1,156         (5,412)          574
   NET LOSS                                             (160,467)       (66,921)       (96,180)
   OTHER COMPREHENSIVE INCOME (LOSS)—
    Foreign currency translation adjustment                 177            519            371
   COMPREHENSIVE LOSS                               $ (160,290)     $   (66,402)   $   (95,809)



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FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

CONSOLIDATED STATEMENTS OF CHANGES IN STOCKHOLDERS’ DEFICIT
FOR THE YEARS ENDED DECEMBER 31, 2021, 2020, AND 2019
(Dollars in thousands)


                                                       Preferred Stock   Preferred Stock                                                                                        Accumulated
                                                          Series A           Series B       Common Stock                          Additional                                       Other           Total
                                                      Shares             Shares            Shares                  Treasury        Paid-In   Accumulated       Stockholder     Comprehensive   Stockholders’
                                                      Issued Amount      Issued Amount     Issued Amount             Stock         Capital      Deficit           Loans        Income (Loss)      Deficit

BALANCE—January 1, 2019                               107,000   $   -     84,863   $   -   934,657    $        1   $    (8,403) $      2,111   $   (320,378)   $     (1,183)      $   (342)    $     (328,194)

Distributions to stockholders                             -         -        -         -       -           -               -             -           (2,974)            -              -               (2,974)

Comprehensive income (loss)                               -         -        -         -       -           -               -             -          (96,180)            -             371             (95,809)

Treasury stock purchases                                  -         -        -         -       -           -            (7,200)          -              -               -              -               (7,200)

Stockholder loans—collections                             -         -        -         -       -           -               -             -              -              728             -                 728

Stock-based compensation                                  -         -        -         -       -           -               -           2,302            -               -              -               2,302
ASC 606 Beginning Balance Adjustment                      -         -        -         -       -           -               -             -          (10,782)            -              -              (10,782)

BALANCE—December 31, 2019                             107,000       -     84,863       -   934,657             1       (15,603)        4,413       (430,314)          (455)            29            (441,929)

Distributions to stockholders                             -         -        -         -       -           -               -             -           (2,644)            -              -               (2,644)

Comprehensive income (loss)                               -         -        -         -       -           -               -             -          (66,921)            -             519             (66,402)

Treasury stock purchases                                  -         -        -         -       -           -              (300)          -              -               -              -                 (300)

Stockholder loans—advances                                -         -        -         -       -           -               -             -              -             (253)            -                 (253)
Stock-based compensation                                  -         -        -         -       -           -               -            581             -               -              -                 581

BALANCE—December 31, 2020                             107,000       -     84,863       -   934,657             1       (15,903)        4,994       (499,879)          (708)           548            (510,947)

Distributions to stockholders                             -         -        -         -       -           -               -             -           (4,010)            -              -               (4,010)

Comprehensive income (loss)                               -         -        -         -       -           -               -             -         (160,467)            -             177            (160,290)

Treasury stock purchases                                  -         -        -         -       -           -           (10,500)          -              -               -              -              (10,500)

Stockholder loans—collections                             -         -        -         -       -           -               -             -              -              261             -                 261

Stock-based compensation                                  -         -        -         -       -           -               -           4,450            -               -              -               4,450
Common stock issued upon exercises of stock options       -         -        -         -      163          -               -             -              -               -              -                  -

BALANCE—December 31, 2021                             107,000   $   -     84,863   $   -   934,820    $        1   $   (26,403) $      9,444   $   (664,356)   $      (447)       $   725      $     (681,036)




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   FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

   CONSOLIDATED STATEMENTS OF CASH FLOWS
   FOR THE YEARS ENDED DECEMBER 31, 2021, 2020, AND 2019
   (Dollars in thousands)


                                                                  2021          2020          2019

   CASH FLOWS FROM OPERATING ACTIVITIES:
    Net income (loss)                                         $   (160,467)   $ (66,921)   $ (96,180)
    Adjustments to reconcile net income (loss) to net cash
     provided by operating activities:
     Depreciation and amortization                                 44,936        50,747        51,661
     Amortization of debt issuance costs                            2,962         2,308         1,909
     Gain on extinguishment of debt                                (5,260)         -             -
     Impairment of long lived assets                                6,813         5,431         4,324
     Bad debt provision                                                63            35           399
     Deferred income taxes (benefit)                               (4,620)        7,771       (13,463)
     Tax valuation allowance                                        4,620        (7,771)       13,463
     Loss on property and equipment disposal                          255           225           639
     Loss on embedded derivative liability                        126,313        56,410        41,559
     Gain on sale of company-owned locations                         -          (12,543)         -
     Deferred compensation expense                                 34,295        (5,659)       21,636
     Stock-based compensation                                       4,450           581         2,302
     Changes in operating assets and liabilities:
      Accounts receivable                                          (3,324)        2,680          (748)
      Other receivables                                             1,122        (1,221)        1,378
      Creative fund receivable                                     (1,903)          (42)       (1,649)
      Inventory                                                      (514)         (164)         (778)
      Prepaid expenses and other current assets                    (1,350)        3,887        (1,520)
      Prepaid taxes                                                  (113)       (1,544)            (5)
      Long-term investments                                        (1,317)         (875)         (982)
      Security deposits                                            (1,471)           82          (863)
      Deferred commissions                                            847           634         2,835
      Accounts payable                                              2,051         1,004        (2,809)
      Accrued expenses and other current liabilities                1,466         6,182           466
      Accrued payroll and related taxes                            10,979         9,092         3,730
      Deferred compensation liability                                 -          (4,000)          -
      Deferred revenue                                             (2,867)       (3,247)       (5,666)
      Deferred rent and other                                      (3,816)          583          (743)
        Net cash provided by operating activities                  54,150        43,665       20,895
   CASH FLOWS FROM INVESTING ACTIVITIES:
    Deferred compensation contributions                             (1,519)      (1,125)       (1,033)
    Deferred compensation distributions                                287          428           188
    Purchases of property and equipment                            (33,004)     (21,893)      (41,057)
    Proceeds from settlement of property insurance claims              298          222           432
    Pre-purchase costs                                                   15           43         (177)
    Acquisitions of franchisee locations                           (89,199)      (1,041)       (7,403)
    Proceeds from sale of company-owned locations                      -         28,955           -
    Holdback settlements related to acquisitions                      (300)        (405)          -
    Holdback receipts related to dispositions                          765          -             -
    Advances to related parties                                     (5,005)         -            (170)
    Collections of related party advances and other                    163          138           187

        Net cash provided by (used in) investing activities       (127,499)       5,322       (49,033)

                                                                                           (Continued)



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   FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

   CONSOLIDATED STATEMENTS OF CASH FLOWS
   FOR THE YEARS ENDED DECEMBER 31, 2021, 2020, AND 2019
   (Dollars in thousands)


                                                                           2021           2020           2019

   CASH FLOWS FROM FINANCING ACTIVITIES:
    Payments under capital lease obligations                           $    (1,036)   $    (1,230)   $    (1,695)
    Proceeds from line of credit                                               -            8,700         10,000
    Repayment of line of credit                                            (18,700)           -             -
    Proceeds from long-term debt                                           200,000         58,575            -
    Repayment of long-term debt                                            (50,000)           -             -
    Payment of deferred financing fees                                      (8,966)        (3,205)           -
    Payment of debt extinguishment costs                                    (1,039)           -             -
    Employee loans—stockholder advances                                        -             (253)          -
    Employee loans—stockholder collections                                     261            -              728
    Purchase of treasury stock                                             (10,500)          (300)        (7,200)
    Distributions                                                           (4,010)        (2,644)        (2,974)
    Payments related to tax withholding for share-based compensation          (102)           -              -

        Net cash provided by (used in) financing activities                105,908         59,643         (1,141)

   NET CHANGE IN CASH, CASH EQUIVALENTS, AND
    RESTRICTED CASH                                                         32,559        108,630        (29,279)

   NET EFFECT OF EXCHANGE RATES ON CASH,
    CASH EQUIVALENTS, AND RESTRICTED CASH                                     177            519            371

   CASH, CASH EQUIVALENTS,
    RESTRICTED CASH—Beginning                                              168,961         59,812         88,720

   CASH AND CASH EQUIVALENTS
    RESTRICTED CASH—End                                                $ 201,697      $ 168,961      $    59,812

   SUPPLEMENTAL DISCLOSURES OF CASH FLOW
    INFORMATION—Cash paid for:
    Interest                                                           $    23,868    $    21,765    $    18,917

    Income taxes                                                       $      503     $      102     $        27

   NONCASH INVESTING ACTIVITY—Accrued
    property and equipment purchases                                   $     1,917    $     1,526    $     1,448




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   FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

   NOTES TO THE CONSOLIDATED FINANCIAL STATEMENTS
   AS OF AND FOR THE YEARS ENDED DECEMBER 31, 2021, 2020, AND 2019
   (Amounts in thousands, except share values, rights, and store count information)


   1.   THE BUSINESS

        Five Guys Holdings, Inc. (“Holdings”) together with its subsidiaries (collectively, the
        “Company” or “we” or “our”) owns and franchises Five Guys Burgers fast casual eateries
        (“restaurants” or “stores” or “units”), which specialize in the sale of freshly made burgers
        and fries, primarily throughout the United States, Canada, Europe and Asia.

        On June 27, 2017, the Company established a securitization financing structure to raise
        capital to fund our ongoing international expansion and to further develop our domestic
        operations. At the onset of the securitization transaction (the “Securitization Transaction”),
        the Company raised $400,000 and in July 2021, raised an additional $200,000. Refer to
        Note 8 for more information. Pursuant to the Securitization Transaction, Five Guys
        Funding, LLC. (the “Master Issuer”), a limited-purpose, bankruptcy-remote, wholly-owned
        indirect subsidiary of Holdings was formed.

        The Company administers a Creative Fund, which is designed to promote and enhance the
        Five Guys brand for the benefit of all franchisee and Company-owned restaurants. The
        Creative Fund is funded through contributions from all stores and various vendor rebates.
        Expenditures are paid out to stores from the Creative Fund that meet certain criteria.

        As of December 31, 2021, the Company sold 1,585 franchise rights and 409 rights remain
        available for franchisees to develop franchise units under various development agreements
        in existence throughout the United States and Canada. As of December 31, 2021, the
        Company and its franchisees operated 479 and 979 restaurants, respectively, throughout
        the United States and Canada.

        As of December 31, 2021, the Company sold 256 franchise rights and 203 rights remain
        available for franchisees to develop franchise units under various development agreements
        in existence throughout the Middle East, Ireland, Switzerland, Luxembourg, Italy, Asia,
        Austria and Australia. Under these agreements, 47 international franchise restaurants were
        operating as of December 31, 2021. In addition, 17 international company-owned stores
        were operating in the Netherlands, Belgium, and Hong Kong as of December 31, 2021.

        In 2012, the Company entered into a joint venture (the “JV”) with a conglomerate in the
        United Kingdom (“UK”). As of December 31, 2021, 136 restaurant locations were
        operating. In 2012, the Company contributed £10 and intellectual property to the JV to
        obtain a 50% interest in the JV. The investment in the JV is accounted for using the equity
        method and had a carrying value of zero for the years ended December 31, 2021, 2020,
        and 2019.

        In March 2015, the Company expanded its JV agreement with its United Kingdom partner
        to include the development rights in Germany, France, and Spain, with terms consistent
        with the original agreement. Under the expanded agreement, 75 restaurant locations were
        operating as of December 31, 2021.




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       The Company’s development rights sold to franchisees within the United States and
       Canada consist of the following:

                                                               Sold Development Rights Count
                                                             For the Y ears Ended December 31,
                                                               2021         2020       2019


         Beginning of year—total rights                          1,674         1,612           1,643
         New business                                                -            70               7
         Released back*                                            (21)           (5)            (21)
         Acquired rights**                                         (65)           (1)            (11)
         Terminated                                                 (3)           (2)             (6)

               End of year—total rights                          1,585         1,674           1,612

         Stores opened through 12/31                            (1,176)       (1,161)         (1,117)

         Remaining rights at 12/31                                 409          513             495

        *
             Released back is a reduction in store counts through development agreement
             addendums.
        **
             Represents acquired rights through store acquisitions that are assigned value. See
             Note 4.

       The Company’s development rights sold to franchisees within the Middle East, Ireland,
       Switzerland, Luxembourg, Italy, Asia, Austria and Australia consist of the following:

                                                              Sold Development Rights Count
                                                            For the Y ears Ended December 31,
                                                                 2021      2020     2019

         Beginning of year—total rights                            252       214        144
         New business                                                4        53         85
         Released back *                                             -         -        (15)
         Terminated                                                  -       (15)         -

               End of year—total rights                            256       252        214

         Stores opened through 12/31                               (53)       (43)      (42)

         Remaining rights at 12/31                                 203       209        172

        *
             Released back is a reduction in store counts through development agreement
             addendums.




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       The Company’s store count consists of the following:
                                                                                Store Count
                                                                     For the Years Ended December 31,
                                                                       2021         2020      2019
         Compa ny-owned s tores (U.S.):
          Begi nni ng of yea r                                           444         496        492
          Openi ngs                                                       13          12         13
          Cl os ures                                                     (23)        (14)       (15)
          Acqui s i ti ons by Compa ny                                    45           1          6
          Acqui s i ti ons by fra nchi s ee                                -         (51)         -

                End of yea r                                             479         444        496

         Compa ny-owned s tores (Interna ti ona l ):
          Begi nni ng of yea r                                            12          14         10
          Openi ngs —Netherl a nds                                         1           -          1
          Openi ngs —Bel gi um                                             -           -          1
          Openi ngs —Hong Kong                                             4           1          2
          Cl os ures                                                       -          (3)         -

                End of yea r                                              17          12         14

         Fra nchi s es (U.S. & Ca na da ):
          Begi nni ng of yea r                                          1,008        940        930
          Openi ngs                                                        30         44         35
          Cl os ures                                                      (14)       (26)       (19)
          Acqui s i ti ons by Compa ny                                    (45)        (1)        (6)
          Acqui s i ti ons by fra nchi s ee                                 -         51          -

                End of yea r                                             979       1,008        940

         Fra nchi s es (Interna ti ona l ):
          Begi nni ng of yea r                                            40          40         30
          Openi ngs                                                       10           1         11
          Cl os ures                                                      (3)         (1)        (1)

                End of yea r                                              47          40         40

         Joi nt venture (UK):
          Begi nni ng of yea r                                           110         100         88
          Openi ngs                                                       26          10         14
          Cl os ures                                                       -           -         (2)

                End of yea r                                             136         110        100

         Joi nt venture (Fra nce, Germa ny a nd Spa i n):
          Begi nni ng of yea r                                            56          43         29
          Openi ngs                                                       20          13         15
          Cl os ures                                                      (1)          -         (1)

                End of yea r                                              75          56         43

         Tota l res ta ura nts a t end of yea r                         1,733      1,670       1,633




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   2.   SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES

        Basis of Presentation—The consolidated financial statements have been prepared in
        accordance with accounting principles generally accepted in the United States of America
        (“generally accepted accounting principles”) and include the accounts of Holdings and each
        of its subsidiaries. The consolidated financial statements include the accounts of the
        Company as determined under the voting interest model. Where the Company holds at
        least 20% ownership interest in an entity or in which there are other indicators of
        significant influence but not control, the entity is accounted for by the equity method. The
        Company accounts for its joint ventures in the UK and Europe as equity method
        investments. Disclosures pertaining to our joint venture activities have been omitted
        because such activities are not material to our financial statements as a whole.

        All material intercompany transactions and balances have been eliminated.

        The Company has evaluated subsequent events through March 18, 2022, the date the
        consolidated financial statements were available to be issued.

        COVID-19—In March 2020, the World Health Organization declared the novel coronavirus
        (COVID-19) a global pandemic. While we cannot predict the ultimate duration, scope or
        severity of the COVID-19 pandemic, we continue to monitor its impact on our business,
        results and financial condition. See Notes 8 and 10, for further information regarding
        certain impacts of the COVID-19 pandemic on our consolidated financial statements.

        As a result of the COVID-19 pandemic, the Company underwent a restructuring resulting in
        $1,858 severance expense for the year ended December 31, 2020. Costs related to
        severance packages are recorded as general and administrative expenses on the
        consolidated statements of operations and comprehensive loss.

        In March 2020, the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”)
        was signed into law. The CARES Act intended to provide economic relief to those impacted
        by the COVID-19 pandemic. Among other provisions, the CARES Act allows for the deferral
        of the employer’s share of Social Security tax payments in an effort to enhance business’
        liquidity. The Company had elected to defer the employer-paid portion of social security
        taxes between March 27, 2020 and December 31, 2020, with payments due in two
        installments at the end of 2021 and 2022. The Company made the first payment of $4,432
        in 2021 and has classified the remaining $4,432 due in 2022 as accrued payroll and related
        taxes, which is included as a current liability on the consolidated balance sheet.

        In addition, the Company has received government grants related to its international
        operations. The funds are stimulus monies to assist eligible companies during the COVID-
        19 pandemic. The Company recorded reductions to labor in the consolidated statements of
        operations and comprehensive loss amounting to $102 and $810, related to international
        government assistance, for the years ended December 31, 2021 and 2020, respectively.
        The Company recorded a reduction to payroll expense included in general and
        administrative expenses in the consolidated statements of operations and comprehensive
        loss amounting to $668 for the year ended December 31, 2020. In 2021, the grant was
        partially repaid and $71 of payroll expense was recorded. Excluding those repaid in 2021,
        the remaining grants are not expected to be repaid as they are utilized in compliance with
        the governmental requirements.




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       Estimates—The preparation of consolidated financial statements in accordance with
       generally accepted accounting principles requires management to make estimates and
       assumptions that affect the reported amounts of assets and liabilities, and disclosure of
       contingent assets and liabilities at the dates of the consolidated financial statements, and
       the reported amounts of revenues and expenses during the reporting period. Actual results
       could differ from those estimates.

       Assets Held for Sale—In August 2019, the Company signed an Asset Purchase
       Agreement to sell fifty restaurants to a franchisee for approximately $28,000. This
       transaction met the criteria to be classified as held for sale. As outlined in Note 5, the
       transaction was completed in two tranches. In February 2020, twenty-two restaurant
       locations were sold to the franchisee for cash receipts of $11,114 and twenty-seven
       locations were sold in November 2020 for cash receipts of $16,088. One location included
       in the initial Asset Purchase Agreement was retained and subsequently closed in November
       2020. No assets and liabilities were held for sale as of December 31, 2021 and 2020.

       The following were classified as assets and liabilities held for sale in the consolidated
       balance sheet as of December 31, 2019:

         Cash and cash equivalents                                                      $       100
         Other receivables                                                                      263
         Inventory                                                                              350
         Prepaid expenses and other current assets                                              563
         Property and equipment—net                                                          11,185
         Security deposits & other                                                              124
         Deferred charges—net                                                                    54
         Intangible assets—net                                                                1,146
         Goodwill                                                                             4,892

         Total assets held for sale                                                     $    18,677

         Capital lease obligations—net of current portion                               $       553
         Deferred rent and other                                                              1,007

         Total liabilities held for sale                                                $     1,560

       Cash and Cash Equivalents and Restricted Cash—Cash equivalents consist of liquid
       investments with maturities of three months or less at the time of purchase and cash in
       transit from customer credit card transactions. Restricted cash consists of (1) funds held in
       an escrow investment account of $15,616, $14,210, and $9,627 as of December 31, 2021,
       2020, and 2019, respectively; (2) Creative funds of $9,682, $7,541, and $7,639 as of
       December 31, 2021, 2020, ad 2019, respectively; and (3) funds held in a residual account
       of $0, $2,643, and $0 as of December 31, 2021, 2020, and 2019, respectively. The escrow
       investment account holds funds for interest payments related to the Securitization
       Transaction. The Creative Fund is used to promote the Five Guys brand for the benefit of
       all franchisee and Company-owned stores. The residual account holds funds for interest
       payments related to the term loan, which was extinguished in 2021.




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       The following table provides a reconciliation of the Company’s cash and cash equivalents
       and restricted cash that sums to the total of those amounts at the end of the periods
       presented on the Company’s accompanying consolidated statements of cash flows:

                                                                             For the Years Ended December 31,
                                                                              2021          2020       2019

         Ca s h a nd ca s h equi va l ents                                   $176,399    $144,567     $42,546
         Res tri cted Ca s h                                                   25,298      24,394      17,266

         Tota l ca s h a nd ca s h equi va l ents a nd res tri cted ca s h   $201,697    $168,961     $59,812

       Accounts Receivable, Net—Accounts receivable, net consists principally of amounts due
       from franchisee bread purchases and franchisee royalty fees. Such amounts are recorded
       at their estimated realizable value after reduction for an allowance for estimated
       uncollectible accounts based on historical experience. The allowance for uncollectible
       accounts as of December 31, 2021, 2020, and 2019, was $162, $142, and $227,
       respectively.

       Inventory—Inventory is stated at the lower of cost (first-in, first-out) or net realizable
       value, and consists primarily of food items and supplies.

       Property, Equipment, and Leasehold Improvements—Property, equipment, and
       leasehold improvements are stated at cost less accumulated depreciation or amortization.
       Depreciation is computed over the estimated useful lives of the assets (three to five years
       for furniture and computer equipment) using the straight-line method. Amortization of
       leasehold improvements is computed on the straight-line basis over the life of the
       restaurant’s lease term (five to 10 years) or the economic useful lives of the assets,
       whichever is less. In 2013, the Company purchased an aircraft that was depreciated over
       seven years using the straight-line method. As of December 31, 2021, the aircraft is fully
       depreciated. Expenditures for major improvements are capitalized; maintenance and
       repairs are expensed as incurred.

       The Company reviews properties for impairment whenever events or changes in
       circumstances indicate that the carrying amount of an asset group may not be recoverable.
       Recoverability of an asset group is measured by a comparison of the carrying amount of an
       asset group to its estimated undiscounted future cash flows expected to be generated by
       the asset group. If the carrying amount of the asset group exceeds its estimated
       undiscounted future cash flows, an impairment charge is recognized as the amount by
       which the carrying amount of the asset group exceeds the fair value of the asset group to
       be held and used. Assets are grouped at the individual restaurant for purposes of the
       impairment assessment.

       The Company classifies assets as held for sale and ceases depreciation of the assets when
       an Asset Purchase Agreement is signed, and those assets meet the held for sale criteria
       pursuant to Topic 360—Property, Plant and Equipment.

       Security Deposits and Other—Security deposits and other consists of (1) security
       deposits of $5,956, $4,252, and $4,241 as of December 31, 2021, 2020, and 2019,
       respectively; (2) prepaid assets of $36, $242, and $310, as of December 31, 2021, 2020,
       and 2019, respectively.

       Long-Term Investments—Long-term investments consists of corporate-owned life
       insurance accounted for at fair value of $10,544, $7,995, and $6,423, as of December
       2021, 2020, and 2019, respectively.


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       Deferred Charges—Deferred charges consist of costs incurred in connection with
       restaurant lease agreements on newly opened Company-owned units. The costs are
       amortized on the straight-line basis over ten years, which is generally the store lease term.
       Related amortization expense amounted to $149, $180, and $201, for the years ended
       December 31, 2021, 2020, and 2019, respectively. Deferred charges of $1,815, $1,887,
       and $2,034, are reported net of accumulated amortization of $1,383, $1,336, and $1,291,
       as of December 31, 2021, 2020, and 2019, respectively.

       Other Intangible Assets—Other intangible assets are amortized on the straight-line
       basis using the estimated useful lives. Favorable/unfavorable leases are amortized over the
       remaining terms of the respective leases. Reacquired area development rights are
       amortized over the remaining contractual period of the related development agreements,
       generally one to five years. Reacquired franchise rights are amortized over the remaining
       contractual period of the related lease.

       The Company reviews amortizing intangible assets for impairment whenever events or
       changes in circumstances indicate that the carrying amount of the intangible asset may not
       be recoverable. If such reviews indicate the intangible asset may not be recoverable, an
       impairment loss is recognized for the excess of the carrying amount over the fair value of
       the intangible asset.

       The Company also evaluates the remaining useful life of amortizing intangible assets each
       reporting period to determine whether events and circumstances warrant a revision to the
       remaining period of amortization.

       Goodwill—Goodwill represents the excess of the cost of an acquired entity over the fair
       value of the acquired net assets. Pursuant to ASC 350, Intangibles – Goodwill and Other,
       the Company amortizes its goodwill on a straight-line bases over 10 years. The Company
       tests goodwill for impairment when a triggering event occurs that indicates that the fair
       value of the asset may be below its carrying amount.

       If the Company determines that impairment may exist, the amount of the impairment loss
       is measured as the excess, if any, of the carrying amount of the goodwill over its implied
       fair value. In determining the implied fair value of an entity’s goodwill, the Company
       allocates the fair value of an entity to all of the assets and liabilities of that entity as if the
       entity had been acquired in a business combination and the fair value of the entity was the
       price paid to acquire the entity. The excess of the fair value of the entity over the amounts
       assigned to the assets and liabilities is the implied fair value of goodwill. If the carrying
       amount of an entity’s goodwill exceeds the implied fair value of that goodwill, an
       impairment loss is recognized in an amount equal to that excess. No goodwill impairment
       was recorded in 2021, 2020, and 2019.

       Fair value estimates are subject to change as a result of many factors including, among
       others, any changes in our business plans, changing economic conditions, and the
       competitive environment. Should actual cash flows and our future estimates vary adversely
       from those estimates used, the Company may be required to recognize goodwill
       impairment charges in future years.

       Income Taxes—The Company records income tax liabilities based on known obligations
       and estimates of potential obligations. A deferred tax asset or liability is recognized
       (1) whenever there are future tax effects from temporary differences between the financial
       statement carrying amounts of existing assets and liabilities and their respective tax bases,
       and (2) for operating loss, capital loss, and tax credit carryforwards. Deferred tax assets




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       and liabilities are measured using enacted tax rates expected to apply to the years in
       which those differences are expected to be recovered or settled.

       The Company applies a recognition threshold and measurement attribute for financial
       statement recognition and measurement of potential tax benefits associated with tax
       positions taken or expected to be taken in income tax returns (“Uncertain Tax Positions”).
       A two-step process of evaluating a tax position is followed, whereby the Company first
       determines if it is more likely than not that a tax position will be sustained upon
       examination, including resolution of any related appeals or litigation processes, based on
       the technical merits of the position. A tax position that meets the “more likely than not”
       recognition threshold is then measured for purposes of financial statement recognition as
       the largest amount of benefit that is greater than 50% likely of being realized upon being
       effectively settled.

       An annual review of the carrying amount of our deferred tax asset is made to determine if
       the establishment of a valuation allowance is necessary. A valuation allowance is required
       when it is more likely than not that all or a portion of a deferred tax asset will not be
       realized. All evidence, both positive and negative, is evaluated when making this
       determination. Items considered in this analysis include the ability to carryback losses to
       recoup taxes previously paid, the reversal of temporary differences, tax-planning
       strategies, historical financial performance, expectations of future earnings and the length
       of statutory carryforward periods. Significant judgment is required in assessing future
       earning trends and the timing of reversals of temporary differences.

       The Company recognizes interest and penalties accrued on any unrecognized tax benefits
       as a component of income tax expense. Refer to Note 10 Income Taxes for further
       discussion regarding the CARES Act.

       Revenue Recognition—The Company recognizes revenues as follows:

       “Restaurant sales” at Company-owned restaurants are recorded at the point of sale and
       are subject to state and local sales tax in various jurisdictions. The Company excludes
       sales tax collected from revenues and cost of sales. Restaurant sales also include income
       for gift cards redeemed at Company-owned stores. The Company sells gift cards that do
       not expire. Upon sale of a gift card, a liability is established for the cash value; the liability
       is included in accrued expenses and other current liabilities in the consolidated balance
       sheets. The gift card liabilities as of December 31, 2021, 2020, and 2019 was $11,270,
       $10,272, and $8,837, respectively.

       As noted above, the Company recognizes revenue from gift cards when (i) the gift card is
       redeemed by the customer at a Company-owned restaurant or (ii) the Company
       determines the likelihood of the gift card being redeemed by the customer is remote and
       there is not a legal obligation to remit the unredeemed gift card balance to the relevant
       jurisdiction. As of December 31, 2021, 2020, and 2019, the Company recognized $1,340,
       $1,037, and $1,185, respectively, in revenue related to unredeemed gift cards.
       Unredeemed gift card revenue is included in “Other revenue.”

       The Company also contracts with bakeries to provide bakery products to franchisee
       restaurants. “Bakery sales” are recorded as revenue when delivered by third-party
       bakeries to the restaurants.

       “Royalty fees” includes royalties charged to franchisees for operating Five Guys
       restaurants. Royalty fees are recognized weekly when revenue is reported by franchisees.




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       “Development fees” are charged for the sale of a territory in which a developer has agreed
       to develop and operate a certain number of franchise restaurants. The related territory is
       unavailable to any other party and is no longer marketed by the Company. Development
       fees are recorded as deferred revenue when received, allocated to each agreed upon
       restaurant and are recognized over the contractual term of each respective franchise
       agreement, upon each store’s opening. Development fees are considered highly
       interrelated with the franchise right and are accordingly recognized over the term of the
       related franchise agreement.

       “Franchise fees” are upfront fees charged to franchisees to open franchise restaurants.
       Franchise fees are recorded as deferred revenue when received and are recognized over
       the contractual term of each respective franchise agreement, upon the store’s opening.
       Franchise fees are considered highly interrelated with the franchise right and are
       accordingly recognized over the term of the related franchise agreement. Sales
       commissions incurred to secure the franchise contracts are recognized as deferred
       commission assets and subsequently amortized straight-line over the life of the related
       franchise agreement upon the store’s opening.

       “Other revenue” primarily consists of unredeemed gift card revenue and other
       inconsequential revenues.

       “Creative fund revenue” includes contributions to the Creative Fund by franchisees and
       beverage rebates. Revenue related to these contributions is primarily based on a
       percentage of sales of the franchised restaurants and is recognized as earned.

       As of December 31, 2021, 2020, and 2019, the Company has deferred revenue for both
       development rights and franchise fees in the amount of $46,082, $49,025, and $52,273,
       respectively. Accordingly, the Company has related deferred commissions in the amount of
       $5,780, $6,627, and $7,261, respectively.

       See Note 3 for a description of the nature of goods and services underlying revenues, the
       disaggregation of revenue and information related to revenue contract balances.

       Start-Up Costs—Preopening and similar start-up costs are expensed as incurred.

       Advertising—Advertising costs are expensed as incurred. The Company administers a
       promotional fund (the “Creative Fund”) on behalf of its entire system whereby both
       franchisee and Company-owned restaurants contribute a specified percentage of gross
       sales. Contributions received must be spent on advertising, marketing, and related
       activities for the benefit of the entire system of restaurants.

       The Company is considered a principal of the fund and accordingly for the years ended
       December 31, 2021, 2020 and 2019, the contributions to and expenditures from the
       Creative Fund are recorded in “Creative fund revenue” and “Creative fund expense,”
       respectively, in the consolidated statements of operations and comprehensive loss. The
       Company-owned restaurants’ expenses, such as advertising expenses, and the resulting
       Creative Fund revenue are eliminated in consolidation. Included in the contribution to the
       Creative Fund are U.S. Company-owned restaurants portion of promotional allowances (as
       further discussed below).




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       The following reconciles the Creative Fund activity from the consolidated statements of
       operations and comprehensive loss to the increase in the consolidated fund balance:

                                                                          For the Years Ended December 31,
                                                                           2021          2020       2019

         Crea ti ve fund revenue                                          $35,394     $25,152       $30,659
         Crea ti ve fund expens e                                          38,053      28,015        34,610

                Crea ti ve fund net l os s                                 (2,659)        (2,863)       (3,951)

         Intercompa ny el i mi na ti ons —net                               4,820         3,535         3,310
         U.S. Compa ny-owned res ta ura nts promoti ona l a l l owa nce       377           225           948

         Tota l net i ncrea s e to Crea ti ve Fund                        $ 2,538     $     897     $     307

       For the years ended December 31, 2021, 2020, and 2019, advertising expense, consisting
       substantially of the U.S. Company-owned restaurants contribution to the Creative Fund,
       was approximately $12,266, $8,584, and $11,470, respectively. International Company-
       owned restaurants advertising expense contribution to the Creative Fund was
       approximately $636, $420, and $470, for the years ended December 31, 2021, 2020, and
       2019, respectively. These advertising expenses include $377, $225, and $948, of
       promotional allowances contributed by U.S. Company-owned restaurants as of
       December 31, 2021, 2020, and 2019, respectively. There are no promotional allowances
       contributed by international Company-owned restaurants for the years ended
       December 31, 2021, 2020, and 2019. Beginning in mid-March through June 2020, the
       Company reduced the percentage of advertising collections for all domestic restaurants,
       international franchisees, and Company-owned restaurants in the Netherlands and Belgium
       in response to the COVID-19 pandemic. This resulted in decreased creative fund revenue
       for the specified period. The advertising collections resumed to regular levels effective as
       of June 2020. Advertising expenses for the years ended December 31, 2021, 2020, and
       2019, are included in general and administrative expenses in the consolidated statements
       of operations and comprehensive loss.

       Promotional Allowances—The Company receives incentives from certain vendors,
       including certain marketing support incentives based upon system-wide purchases.

       Funds received from vendors related to Company-owned stores are recorded as a
       reduction of cost of goods sold. In 2021, 2020, and 2019, Company-owned stores received
       $2,376, $1,996, and $3,022, respectively, of such funds.

       The Company has the option, on an annual basis, to contribute funds received from
       vendors (which are typically based upon system-wide purchases) to the Creative Fund; the
       Company elected to contribute vendor funds to the Creative Fund in 2021, 2020, and
       2019. Vendor funds contributed to the Creative Fund amounted to $6,658, $6,247, and
       $11,130, in 2021, 2020, and 2019, respectively. The contributions that are retained are
       recorded as creative fund revenue. The contributions that are passed on to franchisees are
       included in accrued expenses and other current liabilities on the consolidated balance
       sheets prior to payment. As of December 31, 2021, 2020, and 2019, net accounts
       receivable from vendors amounted to $3,162, $1,280, and $751, respectively.

       Leases—Restaurants are generally located on sites leased from third parties. At inception,
       each lease is evaluated to determine whether the lease will be accounted for as an
       operating or capital lease based on the lease terms. When determining the lease term, the




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       Company includes option periods for which failure to renew the lease imposes a significant
       economic detriment.

       For operating leases, minimum lease payments, including minimum scheduled rent
       increases, are recognized as rent expense on the straight-line basis over the applicable
       lease terms. Rent expense related to Company-owned restaurants is included in the
       consolidated statements of operations and comprehensive loss as a component of
       occupancy within cost of sales. Rent expense related to the corporate office is included in
       the consolidated statements of operations and comprehensive loss in general and
       administrative expenses. Generally, lease terms are initially for 10 years, and the leases,
       in most cases, provide for rent escalations and renewal options. The term used for rent
       expense is calculated initially from the date we obtain possession of the leased premises
       through the expected lease termination date. We expense rent from possession date to the
       restaurant opening date. Certain lease agreements may contain a free-rent holiday period
       that generally begins on the possession date and ends on the rent commencement date.
       During the free-rent holiday period, no cash rent payments are typically due under the
       terms of the lease; however, expense is recorded for that period on the straight-line basis
       consistent with our straight-line rent expense policy.

       Certain leases contain provisions for contingent rent that require additional rental
       payments based upon restaurant sales volume. Contingent rent is expensed each period as
       the liability is incurred.

       Favorable and unfavorable lease amounts are recorded as components of intangible assets
       and deferred rent and other, respectively. Amortization of favorable and unfavorable lease
       amounts related to leases for Company-owned restaurants are included in the consolidated
       statements of operations and comprehensive loss as a component of occupancy within cost
       of sales. When the expected term of a lease is determined to be shorter than the original
       amortization period, the favorable or unfavorable lease balance associated with the lease is
       adjusted to reflect the revised lease term.

       Management makes certain estimates and assumptions regarding each new lease
       agreement, lease renewal and lease amendment, including, but not limited to, property
       values, market rents, property lives, discount rates, and probable term, all of which can
       impact (1) the classification and accounting for a lease as capital or operating, (2) the rent
       holiday and escalations in payment that are taken into consideration when calculating
       straight-line rent, (3) the term over which leasehold improvements for each restaurant are
       amortized and (4) the values and lives of favorable and unfavorable leases. The amount of
       depreciation and amortization, interest and rent expense reported would vary if different
       estimates and assumptions were used.

       Concentration of Risk—The Company had no customers, which accounted for 10% or
       more of consolidated revenues in 2021, 2020, or 2019. The Company has five main
       distributors of food, packaging, and beverage products, excluding breads, that serviced
       most of its Company-owned and franchised restaurants. The Company’s vulnerability to
       risk concentrations related to significant vendors and sources of its raw materials is
       mitigated, as there are other vendors that can service the Company’s requirements.
       However, if a disruption of service from the Company’s main distributors were to occur, the
       Company could experience short-term increases in costs while distribution channels were
       adjusted.

       The Company’s restaurants are principally located throughout the United States and to a
       lesser extent, in Canada, the United Kingdom, Ireland, the Middle East, Europe, Asia, and
       Australia. The Company’s restaurants are located in 49 states and the District of Columbia,



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       with the largest number in Florida, California, Virginia, New York, Texas, Maryland, Ohio
       and Pennsylvania. Because restaurant operations are generally located throughout the
       United States and to a much lesser extent, Canada and other foreign countries, the risk of
       geographic concentration is not significant. The Company could be adversely affected by
       changing consumer preferences resulting from concerns over nutritional or safety aspects
       of beef, French fries, or other products sold or the effects of food safety events or disease
       outbreaks.

       Related to the Securitization Transaction, the Company holds cash in excess of Federal
       Deposit Insurance Corporation (FDIC) limits. The excess cash is held with reputable
       banking institutions.

       The Company’s exposure to foreign exchange risk is primarily related to fluctuations in the
       Canadian dollar, the British pound, the Euro, the United Arab Emirates Dirham, the Saudi
       Riyal, the Kuwaiti Dinar, and the Hong Kong dollar relative to the US dollar for
       international operations. However, the Company’s exposure to foreign currency risk is
       mitigated by the fact that less than 20% of the Company’s restaurants are outside of the
       United States. Excluding the stores associated with the JV, less than 10% of the
       Company's restaurants are outside the United States.

       Tenant Improvement Allowances—The Company records tenant improvement
       allowances received as deferred rent in the consolidated balance sheets. This deferred rent
       is amortized on the straight-line basis as a reduction of rent expense over the applicable
       lease terms. Tenant improvement receivables are included in other receivables in the
       consolidated balance sheets when the lease is signed. Upon the completion of work, the
       Company invoices the landlord.

       Self-Funding Insurance—The Company is self-insured for certain employee health
       benefit claims and for certain workers’ compensation claims. The Company estimates a
       liability for aggregate losses below stop-loss coverage limits based on estimates of the
       ultimate costs to be incurred to settle known claims and claims incurred but not reported
       as of the balance sheet date. The estimated liability is not discounted and is based on
       number of assumptions and factors, including historical and industry trends and economic
       conditions. This liability could be affected if future occurrences and claims differ from these
       assumptions and historical trends. As of December 31, 2021, 2020, and 2019, an accrual
       of $6,663, $6,986, and $6,803, related to estimated claims was included in other current
       liabilities, respectively. The amount of non-healthcare and medical claims paid by the
       Company for the years ended December 31, 2021, 2020, and 2019, was $14,865,
       $15,737, and $16,219, respectively.

       Business Interruption Insurance - The Company received $280, $119, and $159 for
       business interruption insurance recovery for the years ended December 31, 2021, 2020,
       and 2019, respectively. The proceeds are related to coverage for suspension of business
       due to property damage at Company-owned stores and are recorded as a reduction to
       other operating costs on the consolidated statements of operations and comprehensive
       loss. In June 2021, the Company received $500 for business interruption insurance
       recovery related to COVID-19, which is included in other revenue on the consolidated
       statements of operations and comprehensive loss.

       Embedded Derivatives—As discussed in Note 14, the conversion option on the Series A
       and Series B preferred shares is bifurcated from the preferred stock and accounted for
       separately as a derivative contract. As discussed in Note 9, the make whole premium in
       the Securitization Transaction is also accounted for separately as a derivative contract. The
       change in fair value of the derivative contracts subsequent to the date of issuance is



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       recorded as a gain or loss on the embedded derivative line item within the consolidated
       statements of operations and comprehensive loss.

       Deferred Compensation Liability—The Company’s deferred compensation liability is
       composed of $131,995, $100,758, and $112,384, as of December 31, 2021, 2020, and
       2019, respectively, related to deferred compensation and death benefit agreements with
       certain current and former executives as further described in Note 11.

       Treasury Stock—The Company records the entire purchase price of repurchased common
       shares directly to treasury stock utilizing the cost method. For the years ended
       December 31, 2021, 2020, and 2019, the Company repurchased $10,500, $300, and
       $7,200, respectively, of common shares.

       Stock Options—The Company grants stock-based compensation awards to certain
       employees and executives under the 2017 Stock Incentive Plan (the “Plan”). The Stock
       Options are based on fair value of the award at the date of grant. The fair value of the
       stock option is determined by the Black-Scholes option pricing model. The pricing model
       requires assumptions, including the expected volatility, expected dividend yield, expected
       term, and the risk-free interest rate. The stock options have maximum contractual terms
       of 10 years, vesting immediately at the grant date or ratably over a period between two
       and nine years. The Company records fully vested stock-based compensation as a non-
       cash payroll related expense, which is included in general and administrate expenses on
       the consolidated statements of operations and comprehensive loss. Forfeitures are
       accounted for as they occur. For the years ended December 31, 2021, 2020, and 2019, the
       Company recorded $0, $7, and $0, respectively, forfeitures of stock options. See Note 15.

       Foreign Currency Translation—The Company’s international operations generally use
       the local currency as the functional currency. Assets and liabilities are translated at
       exchange rates in effect as of the balance sheet date. Income and expense accounts are
       translated at the average monthly exchange rates during the year. Resulting translation
       adjustments are recorded as a separate component of accumulated other comprehensive
       income in the consolidated statements of stockholders’ deficit. Foreign exchange
       transaction gains and losses are recorded as other income (expense) on the consolidated
       statements of operations and comprehensive loss.

       Accounting Standards Adopted— In March 2021, the FASB issued ASU 2021-03,
       Intangibles—Goodwill and Other (Topic 350): Accounting Alternative for Evaluating
       Triggering Events. ASU 2021-03 provides private companies and not-for-profit entities with
       an accounting alternative to perform the goodwill impairment triggering event evaluation
       as required in Subtopic 350-20 as of the end of the reporting period, whether the reporting
       period is an interim or annual period. The Company adopted the amendment prospectively
       during 2021. The adoption of this guidance did not impact our consolidated financial
       statements and related disclosures.

       In November 2021, the FASB issued ASU 2021-10, Government Assistance (Topic 832):
       Disclosures by Business Entities about Government Assistance. ASU 2021-10 requires
       annual disclosures about transactions with a government that are accounted for by
       applying a grant or contribution accounting model by analogy. The required disclosures
       include the nature of the transactions and the related accounting policy, the line items on
       the balance sheet and income statement that are affected by the transactions and the
       amounts applicable to each financial statement line item, and significant terms and
       conditions of the transactions, including commitments and contingencies. The Company
       adopted the amendment prospectively during 2021. The required disclosures related to the
       adoption of this guidance are included in Note 2.



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        Accounting Standards Under Evaluation—In February 2016, the FASB issued ASU
        2016-02, Leases (Topic 842), which supersedes the existing guidance for lease accounting,
        Leases (Topic 840). ASU 2016-02 requires lessees to recognize a lease liability and a right-
        of-use asset for all leases. Lessor accounting remains largely unchanged. Subsequently, in
        June 2020, the FASB issued ASU 2020-05, Revenue from Contracts with Customers
        (Topic 606) and Leases (Topic 842): Effective Dates for Certain Entities, deferring the
        effective date for entities in the “all other” category (other than public business entities) to
        fiscal years beginning after December 15, 2021 and interim periods within fiscal years
        beginning after December 15, 2022. Early adoption is permitted for all entities. ASU
        2016-02 requires a modified retrospective approach for all leases existing at, or entered
        into after the date of initial adoption, with an option to elect to use certain transition relief.
        We are currently evaluating the impact of the adoption of this guidance on our
        consolidated financial statements and plan to reflect adoption for the year ended December
        31, 2022. As shown in Note 11, there are $326,283 in future minimum rental payments for
        operating leases that are not currently on our consolidated balance sheet; therefore we
        expect the adoption of Topic 842 will have a significant impact on our consolidated balance
        sheet and related disclosures.

        In June 2016, the FASB issued ASU 2016-13, Financial Instruments—Credit Losses
        (Topic 326): Measurement of Credit Losses on Financial Instruments. ASU 2016-13
        replaces the incurred loss impairment methodology in current GAAP with a methodology
        that reflects expected credit losses and requires consideration of a broader range of
        reasonable and supportable information to inform credit loss estimates. The amendments
        in this Update are effective for fiscal years beginning after December 15, 2022 and interim
        periods within those fiscal years. Early adoption is permitted. The Company is currently
        evaluating the effect this standard will have on the Company’s consolidated financial
        statements and related disclosures.

        In December 2019, the FASB issued ASU 2019-12, Income Taxes (Topic 740): Simplifying
        the Accounting for Income Taxes. ASU 2019-12 simplifies the accounting for income taxes
        by removing certain exceptions to the general principles in Topic 740. The amendments
        also improve consistent application of and simplify GAAP for other areas of Topic 740 by
        clarifying and amending existing guidance. The amendment is effective for fiscal years
        beginning after December 15, 2021, and interim periods within fiscal years beginning after
        December 15, 2022. Early adoption is permitted. The Company does not expect this
        standard to have a significant impact on the Company’s consolidated financial statements
        and related disclosures.

        In March 2020, the FASB issued ASU 2020-04, Reference Rate Reform (Topic 848):
        Facilitation of the Effects of Reference Rate Reform on Financial Reporting. ASU 2020-04
        provides optional expedients and exceptions for applying generally accepted accounting
        principles (GAAP) to contracts, hedging relationships, and other transactions affected by
        reference rate reform if certain criteria are met. The amendments apply to transactions
        that reference LIBOR or another reference rate expected to be discontinued because of
        reference rate reform. The amendments in this Update give qualifying entities the option to
        apply the expedients and exceptions to contract modifications that are made until
        December 31, 2022. The Company does not expect this standard to have a significant
        impact on the Company’s consolidated financial statements and related disclosures.

   3.   REVENUE

        Nature of Goods and Services—The Company generates revenues from sales at
        Company-owned restaurants and earns fees and from franchised restaurants. Revenues
        are recognized upon delivery of food to the customer at Company-owned restaurants or


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       upon the fulfillment of terms outlined in the franchise agreement for franchised
       restaurants.

       The franchise agreement provides the franchisee the right to construct, own and operate a
       Five Guys restaurant upon a site accepted by Five Guys and to use the Five Guys system in
       connection with the operation of the restaurant at that site. The franchise agreement
       generally provides for a 10-year term and a 5-year renewal subject to certain conditions.
       The franchise agreement requires that the franchisee pay a royalty based on a percentage
       of sales at the franchised restaurant, as well as make contributions to the Creative Fund
       based on a percentage of sales.

       The Company also enters into development agreements with certain franchisees. The
       development agreement generally provides the franchisee with the right to develop a
       specified number of new Five Guys restaurants within a stated, non-exclusive territory for
       a specified period.

       Royalties and contributions to the Creative Fund are generally due within a week
       subsequent to which the revenue was generated through sales at the franchised
       restaurant.

       The following disaggregates revenue by primary geographical market and source for 2021,
       2020, and 2019.




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                                                                                          2021
                                                                    U.S.     Canada        International        Total

         Res ta ura nt s a l es                                   $608,707   $ -                $31,812        $640,519
         Ba kery s a l es                                           46,144     2,924             11,121          60,189
         Roya l ty fees                                             87,201     5,671              7,215         100,087
         Devel opment fees                                           2,210       162              1,260           3,632
         Fra nchi s e fees                                           1,282       161                325           1,768
         Other revenue                                               2,588        18                903           3,509
         Crea ti ve fund revenue                                    31,918     1,989              1,487          35,394

         Tota l revenue                                           $780,050   $10,925            $54,123        $845,098

                                                                                          2020
                                                                    U.S.     Canada        International        Total

         Res ta ura nt s a l es                                   $524,905   $ -                $21,352        $546,257
         Ba kery s a l es                                           38,652     2,253              8,706          49,611
         Roya l ty fees                                             70,156     4,305              5,227          79,688
         Devel opment fees                                           1,383       130                941           2,454
         Fra nchi s e fees                                           1,267       162                244           1,673
         Other revenue                                               1,141        14                860           2,015
         Crea ti ve fund revenue                                    22,768     1,319              1,065          25,152

         Tota l revenue                                           $660,272   $ 8,183            $38,395        $706,850

                                                                                          2019
                                                                    U.S.     Canada        International        Total

         Res ta ura nt s a l es                                   $545,938   $ -                $23,317        $569,255
         Ba kery s a l es                                           39,317     2,443             10,448          52,208
         Roya l ty fees                                             66,683     4,517              6,381          77,581
         Devel opment fees                                           1,470       181                693           2,344
         Fra nchi s e fees                                           1,468       205                175           1,848
         Other revenue                                               1,507        16                665           2,188
         Crea ti ve fund revenue                                    26,338     3,024              1,297          30,659

         Tota l revenue                                           $682,721   $10,386            $42,976        $736,083

       The following provides information about receivables and contract liabilities (deferred
       development fees and franchise fees) from contracts with customers:

                                                                             For the Years Ended December 31,
                                                                                2021       2020      2019

         Receivables related to “Sales ,” “Royalty fees ,”
          and other in “Accounts receivable—net” and “Other receivables ”    $   10,387     $      7,876   $   10,390
         Receivables , which are included in “Accounts receivable—net,”
          “Other receivables ,” and “Creative fund receivable”                    4,605            2,368        2,507
         Deferred Development fees and Franchis e fees                           46,082           49,025       52,273




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        Significant changes in deferred development and franchise fees are as follows:

                                                                                         For the Years Ended December 31,
                                                                                           2021         2020      2019

          Deferred devel opment fees a nd fra nchi s e fees a t begi nni ng of peri od   $49,025    $52,273     $55,439
          Revenue recogni zed duri ng the peri od                                         (5,400)    (4,127)     (4,192)
          Acqui s i ti ons of fra nchi s ee uni ts                                          (180)      -           (118)
          Ca s h refunds to devel opers                                                     -          (200)     (1,074)
          Devel opment fees offs et a ga i ns t cus tomer ba l a nces                       -          -         (1,623)
          New deferra l s due to ca s h recei ved a nd other                               2,637      1,079       3,841

          Deferred devel opment fees a nd fra nchi s e fees a t end of peri od           $46,082    $49,025     $52,273

        The following reflects the estimated commissions expense to be recognized in the future
        related to performance obligations that are unsatisfied:

          Deferred commission expected to be recognized:
           In one year or less                                                                            $ 770
           In 13–24 months                                                                                   539
           In 25 months and thereafter                                                                     4,471

                                                                                                          $ 5,780

        The following reflects our current estimated development fees and franchise fees to be
        recognized in the future related to performance obligations that are unsatisfied:

          In one year or less                                                                            $ 3,428
          In 13–24 months                                                                                  3,294
          In 25 months and thereafter                                                                     39,360

                                                                                                         $ 46,082

   4.   ACQUISITIONS OF FRANCHISED RESTAURANTS

        The Company’s growth strategy includes the opening of new restaurant locations along
        with the acquisition of existing restaurants from franchisees. The Company acquired 45, 1,
        and 6, restaurants from franchisees for the years ended December 31, 2021, 2020, and
        2019, respectively.

        For units acquired, the Company generally allocates the purchase price of such units to the
        tangible and intangible assets acquired and liabilities assumed at their estimated fair
        values with the remainder of balance allocated to goodwill. Other than the goodwill, the
        aggregate purchase price was primarily allocated to reacquired franchise rights; reacquired
        area development rights; favorable and unfavorable leases; and property, equipment, and
        leasehold improvements.

        The goodwill recorded in these transactions is deductible for income tax purposes.
        Transaction-related costs are immaterial individually and in the aggregate for these
        acquisitions. At times, we holdback a portion of the agreed-upon purchase price for a
        limited time pending resolution of certain matters. The results of all restaurants acquired
        have been included in the consolidated financial statements since their respective
        acquisition date, when control is obtained, or when it is determined that the Company is




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       the primary beneficiary of the entity as a result of pre-acquisition management
       agreements.

       During the year ended December 31, 2021, the Company acquired 45 restaurants from
       franchisees in four separate acquisitions.

       2021 Acquisitions

       Gold Valley Development, LLC ("GVD")—On April 1, 2021, the Company acquired five
       restaurants from GVD. The aggregate purchase price of $3,456 consisted of cash paid of
       $3,079 and a holdback of $377. The weighted-average amortization period for all of the
       intangible assets is 3 years.

       DFG Associates, LLC ("DFG")—On September 1, 2021, the Company acquired six
       restaurants from DFG. The aggregate purchase price of $10,693 consisted of cash paid of
       $10,193 and a holdback of $500. The weighted-average amortization period for all of the
       intangible assets is 4 years.

       BAC Holdings, LLC & BAC Locations, Inc. ("BAC")—On December 1, 2021, the
       Company acquired thirty-three restaurants from BAC. The aggregate purchase price of
       $75,471 consisted of cash paid of $74,971 and a holdback of $500. The weighted-average
       amortization period for all of the intangible assets is 5 years.

       KW Five II, LLC ("KW Five")—On December 15, 2021, the Company acquired one
       restaurant from KW Five. The aggregate purchase price of $1,006 consisted of cash paid of
       $956 and a holdback of $50. The weighted-average amortization period for all of the
       intangible assets is 5 years.


                                                                                          Acquired From
                                                                   GVD          DFG           BAC       KW Five            Total


         Inventory and sec urity deposit                       $     48     $      75       $     491     $     24     $     638
         Property and equipment                                     928          2,071           9,024         207         12,230
         Reac quired franc hise rights                              124          3,532          18,126           -         21,782
         Area development rights                                      -           200               -            -           200
         Favorable (unfavorable) leases                             127          (297)          (3,699)         (56)       (3,925)
         Other assets                                                62           137             564             5          768
         Capital lease obligation                                    (53)        (100)           (215)           -          (368)


                    Total net assets ac quired                     1,236         5,618          24,291         180         31,325


         Goodwill                                                  2,220         5,075          51,180         826         59,301


                    Total fair value of net assets ac quired       3,456        10,693          75,471        1,006        90,626


         Holdbac k                                                  (377)        (500)           (500)          (50)       (1,427)


         Initial c ash paid for ac quisitions                  $ 3,079      $ 10,193        $ 74,971      $    956     $ 89,199


         Total expec ted purc hase pric e                      $ 3,456      $ 10,693        $ 75,471      $ 1,006      $ 90,626


         Number of stores ac quired                                    5              6            33             1           45




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       During the year ended December 31, 2020, the Company acquired 1 restaurant from a
       franchisee in one acquisition.

       2020 Acquisition

       CV I CORPORATION (“CV I”)—On July 1, 2020, the Company acquired one restaurant
       from CV I. The aggregate purchase price of $1,067 consisted of cash paid of $1,041 and a
       holdback of $26. The weighted-average amortization period for all of the intangible assets
       is 4 years.

                                                                                 Acquired From
                                                                                     CV I

         Inventory and security deposit                                             $     18
         Property and equipment                                                          318
         Reacquired franchise rights                                                      94
         Area development rights                                                        -
         Favorable (unfavorable) leases                                                 (126)
         Other assets                                                                      17
         Capital lease obligation                                                         (18)

              Total net assets acquired                                                  303

         Goodwill                                                                        764

              Total fair value of net assets acquired                                   1,067

         Holdback                                                                        (26)

         Initial cash paid for acquisitions                                         $ 1,041

         Total expected purchase price                                              $ 1,067

         Number of stores acquired                                                         1

       During the year ended December 31, 2019, the Company acquired 6 restaurants from
       franchisees in three separate acquisitions.

       2019 Acquisitions

       Worth The Weight, Inc. (“WTW”)—On September 1, 2019, the Company acquired two
       restaurants from WTW. The aggregate purchase price of $1,296 consisted of cash paid of
       $1,172 and a holdback of $125. The weighted-average amortization period for all of the
       intangible assets is 8 years.

       Atlanta's Best Burgers, LLC. (“ABB”)—On October 1, 2019, the Company acquired
       three restaurants from ABB. The aggregate purchase price of $5,864 consisted of cash paid
       of $5,574 and a holdback of $290. The weighted-average amortization period for all of the
       intangible assets is 3 years.




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        SAJ, Inc. (“SAJ”)—On December 1, 2019, the Company acquired one restaurant from
        SAJ. The aggregate purchase price of $657 consisted of cash paid of $658 and a holdback
        of $0. The weighted-average amortization period for all of the intangible assets is 2 years.

                                                                              Acquired from
                                                           WTW                ABB       SAJ            Total

          Inventory and security deposit                   $        26    $        64    $ 20      $     110
          Property and equipment                                   587            541       174        1,302
          Reacquired franchise rights                              424            929       104        1,457
          Area development rights                                  200        -           -              200
          Favorable (unfavorable) leases                            57            (55)        4            6
          Other assets                                              27             45        12           84
          Capital lease obligation                                 (25)           (47)      (13)         (85)

               Total net assets acquired                       1,296          1,477          301       3,074

          Goodwill                                             -              4,387          357       4,744

               Total fair value of net assets acquired         1,296          5,864          658       7,818

          Holdback                                             (125)          (290)      -              (415)

          Initial cash paid for acquisitions               $ 1,171        $ 5,574        $ 658     $ 7,403

          Total expected purchase price                    $ 1,296        $ 5,864        $ 658     $ 7,818

          Number of stores acquired                                  2              3         1            6



   5.   DISPOSITIONS OF COMPANY-OWNED STORES

        During the year ended December 31, 2020, the Company completed the disposition of 52
        Company-owned restaurants. As indicated in Note 2, twenty-two restaurant locations were
        sold in February 2020 and twenty-seven locations were sold in November 2020 to a
        franchisee. In addition, one restaurant location was closed due to a university’s eminent
        domain for which the Company received cash consideration in February 2020, and two
        restaurant locations were transferred to a franchisee in September 2020. No restaurants
        were disposed of during the years ended December 31, 2021 and 2019.

        The Company allocates the purchase price of the units to the tangible and intangible assets
        and liabilities transferred at their carrying values with the remainder of the balance
        allocated to gain or loss on the sale. The goodwill disposed of relates to divested stores
        from earlier acquisitions that was allocated based on the stores’ proportionate share of the
        reacquired rights from the time of acquisition. The gains and losses recognized on
        dispositions are recorded gain on sale of company-owned locations in our consolidated
        statements of operations and comprehensive loss.




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       2020 Dispositions

       Encore FGBF Investments, LP (“Encore Tranche I”)—On February 1, 2020, the
       Company sold twenty-two restaurants to franchisee Encore in Tranche I. The aggregate
       purchase price consisted of cash received of $11,114 and a holdback of $485.

       CS Shopping Center, LLC (“CS”)—On February 29, 2020, the Company closed one
       restaurant in exchange for cash consideration of $1,753.

       Bethany Beach Burgers, LLC and Rehoboth Beach Burgers, LLC (“McLaughlin”)—
       On September 24, 2020, the Company transferred two restaurants that it was preparing to
       close to an existing franchisee in the territory and received no cash consideration.

       Encore FGBF Investments, LP (“Encore Tranche II”)—On November 1, 2020, the
       Company sold twenty-seven restaurants to franchisee Encore in Tranche II. The aggregate
       purchase price consisted of cash received of $16,088 and a holdback of $765.

       The following is a summary of our disposition activity recorded for the year ended
       December 31, 2020:

                                                                                                   Dispositions
                                                                       Encore                                       Encore
                                                                      Tranche I         CS         McLaughlin     Tranche II     Total

         Inventory, prepa i ds a nd s ecuri ty depos i t              $      509    $         2     $ 32          $     823    $ 1,366
         Property a nd equi pment                                          5,557            217        168            5,223     11,165
         Inta ngi bl e a s s ets                                             678              7      -                  523      1,208
         Other a s s ets                                                     301              8      -                  277        586
         Ca pi ta l l ea s e obl i ga ti on                                 (275)            (9)        (2)            (192)      (478)
         Deferred rent a nd other                                           (659)           (50)     -                 (367)    (1,076)
         Goodwi l l                                                        1,641        -            -                3,250      4,891

                 Tota l net a s s ets s ol d or di s pos ed of             7,752            175           198         9,537     17,662

         Ini ti a l ca s h recei ved for di s pos i ti ons                11,114     1,753            -            16,088       28,955

         Hol dba ck                                                         485         -             -                765       1,250

         Tota l expected s a l e pri ce                                   11,599     1,753            -            16,853       30,205

         Ga i n (l os s ) on s a l e                                  $ 3,847       $1,578          $(198)        $ 7,316      $12,543

         Number of s tores s ol d or tra ns ferred                           22               1            2            27          52




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   6.   PROPERTY AND EQUIPMENT

        Property and equipment consist of the following:

                                                                          December 31
                                                              2021           2020            2019

          Furniture                                        $ 65,768        $ 59,724      $ 57,931
          Leasehold improvements                            212,189         197,733       195,534
          Computers and equipment                            28,336          24,978        25,559
          Capitalized leases                                 13,508          13,275        12,775
          Aircraft                                            3,553           3,553         3,553
          Construction in progress                            5,440           3,797         4,825

               Total                                         328,794         303,060         300,177

          Less accumulated depreciation                      (207,862)      (189,552)     (164,972)

          Net total                                        $ 120,932       $ 113,508     $ 135,205

        Depreciation expense amounted to $31,975, $38,039, and $36,831, for the years ended
        December 31, 2021, 2020, and 2019, respectively. Accumulated depreciation under
        capitalized leases, included above, totaled $10,019, $9,377, and $8,152, as of
        December 31, 2021, 2020, and 2019, respectively.

        The Company recorded impairment charges related to property and equipment in general
        and administrative expenses in the consolidated statements of operations and
        comprehensive loss of $6,813, $5,431, and $4,324, for the years ended December 31,
        2021, 2020, and 2019, respectively.

   7.   GOODWILL AND INTANGIBLE ASSETS

        Goodwill is amortized on a straight-line basis over 10 years. Amortization expense
        amounted to $9,588, $8,896, and $9,114, in 2021, 2020, and 2019, respectively.

        No goodwill impairment was recorded in 2021, 2020, and 2019.

        The changes in the carrying amount of goodwill for the years ended December 31, 2021,
        2020, and 2019 are as follows:

                                                                          December 31,
                                                                2021         2020            2019
          Cost as of January 1                                $ 89,340      $ 88,576     $ 94,432
          Goodwill acquired during the year                     59,301            764       4,744
          Goodwill adjustment for settled holdback                (347)         -            -
          Less accumulated amortization                        (58,252)      (48,665)     (45,477)
          Goodwill classified as assets held for sale             -             -         (10,600)
          Accumulated amortization classified as
           assets held for sale                                   -             -             5,708

                                                              $ 90,042      $ 40,675     $ 48,807




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       As of December 31, 2021, the estimated future amortization expense of goodwill is
       summarized in the table below as follows:

         Years Ending
         December 31

         2022                                                                         $ 14,807
         2023                                                                           14,829
         2024                                                                            9,746
         2025                                                                            9,507
         2026                                                                            8,855
         Thereafter                                                                     32,298

                                                                                      $ 90,042

       The components of intangible assets are summarized as follows:

                                                                        2021
                                                                     Accumulated
                                                          Cost       Amortization           Net

         Reacquired area development rights             $ 4,101         $ (4,133)     $       (32)
         Reacquired franchise rights                     52,217          (27,595)          24,622
         Favorable leases                                 2,506           (1,703)             803

                                                        $ 58,824        $ (33,431)    $ 25,393

                                                                        2020
                                                                     Accumulated
                                                          Cost       Amortization           Net

         Reacquired area development rights             $ 3,977         $ (3,966)     $        11
         Reacquired franchise rights                     31,159          (25,382)           5,777
         Favorable leases                                 2,186           (1,509)             677

                                                        $ 37,322        $ (30,857)    $ 6,465

                                                                        2019
                                                                     Accumulated
                                                          Cost       Amortization           Net

         Reacquired area development rights             $ 3,977         $ (3,871)     $       106
         Reacquired franchise rights                     31,455          (22,117)           9,338
         Favorable leases                                 2,272           (1,356)             916

                                                        $ 37,704        $ (27,344)    $ 10,360

       Amortization expense, excluding goodwill, deferred charges and financing fees, amounted
       to $3,224, $3,631, and $5,514, for the years ended December 31, 2021, 2020, and 2019,
       respectively.




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        As of December 31, 2021, the estimated future amortization expense is summarized in the
        table below as follows:

          Years Ending
          December 31

          2022                                                                                   $ 6,242
          2023                                                                                     5,614
          2024                                                                                     4,493
          2025                                                                                     2,796
          2026                                                                                     2,022
          Thereafter                                                                               4,226

                                                                                                 $ 25,393

        As of December 31, 2021, 2020, and 2019, the Company also had net unfavorable leases
        of $4,515, $469, and $587, respectively, which are included in deferred rent and other in
        the consolidated balance sheets.

   8.   LONG-TERM DEBT

        Long-term debt consists of the following:

                                                                           December 31
                                                               2021           2020               2019

          Debt securitization:
           Series fixed notes                                $ 597,000       $ 415,700         $ 407,000
           Capitalized net financing fees associated
            with debt                                         (13,250)             (6,842)       (8,752)
          Credit facility:
           Note payable to financing company                     -                 50,000          -
           Capitalized net financing fees associated
           with debt                                             -                 (2,806)         -
          PPP Term loan                                          -                  8,575          -

                                                              583,750             464,627       398,248

          Less current maturities                                -                   269           -

                                                             $ 583,750       $ 464,358         $ 398,248

        As of December 31, 2021, 2020, and 2019, the Company capitalized net financing fees
        included in the current and long-term debt is as follows:

                                                                                  December 31
                                                                         2021         2020         2019

          Capitalized net financing costs—current                    $     -         $ -          $ -
          Capitalized net financing costs—long-term                      13,250       9,648        8,752

          Total capitalized net financing costs                      $ 13,250        $ 9,648      $ 8,752




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     Total amortization of debt issuance costs was $2,962, $2,308, and $1,909, for the years
     ended December 31, 2021, 2020, and 2019, respectively.

     Principal maturities are as follows:

       Years Ending
       December 31

       2022                                                                         $         -
       2023                                                                                   -
       2024                                                                             397,000
       2025                                                                                   -
       2026                                                                                   -
       Thereafter                                                                       200,000


     Securitized Financing Facility—In June 2017, Five Guys Funding LLC. (the “Master
     Issuer”), a limited-purpose, bankruptcy-remote, wholly-owned indirect subsidiary of Five
     Guys Holding Inc. issued Series 2017-1 4.60% Fixed Rate Senior Secured Notes, Class A-2
     (the “2017 Class A-2 Notes”) with an initial principal amount of $400,000. In addition, the
     Master Issuer issued Series 2017 Variable Funding Senior Secured Notes, Class A-1 (the
     “2017 Variable Funding Notes”), which allowed for borrowing up to $25,000 on a revolving
     basis. The 2017 Class A-2 Notes and 2017 Variable Funding Notes are collectively the
     “2017 Notes.”

     The 2017 Notes were each issued in a securitization transaction pursuant to which most of
     the Company’s domestic revenue-generating assets, consisting principally of Company
     related restaurant assets and related lease agreements, franchise-related agreements, real
     estate assets, and intellectual property and license agreements for the use of intellectual
     property, are held by the Master Issuer and certain other limited-purpose, bankruptcy-
     remote, wholly-owned indirect subsidiaries of the Company that act as guarantors of the
     2017 Notes and that have pledged substantially all of their assets to secure the 2017
     Notes.

     The 2017 Notes were issued pursuant to a base indenture and related supplemental
     indentures (collectively, the “Indenture”) under which the Master Issuer may issue multiple
     series of notes. The legal final maturity date of the 2017 Class A-2 Notes is in July 2047,
     but it is anticipated that, unless earlier prepaid to the extent permitted under the
     Indenture, the 2017 Class A-2 Notes will be repaid by July 2024 (the “Anticipated
     Repayment Date”).

     In addition to the 2017 Notes, the Master Issuer issued Series 2021-1 2.493% Fixed Rate
     Senior Secured Notes, Class A-2 (the “2021 Class A-2 Notes”) with an initial principal
     amount of $200,000. The Master Issuer also issued Series 2021 Variable Funding Senior
     Secured Notes, Class A-1 (the “2021 Variable Funding Notes”), which allows for borrowing
     up to $50,000 on a revolving basis. As of December 31, 2021, $7,997 is issued as a Letter
     of Credit. The remaining $42,003 is undrawn. The 2021 Class A-2 Notes and 2021 Variable
     Funding Notes are collectively the “2021 Notes.”

     Various events, including failure to maintain a minimum ratio of net cash flows to DSCR,
     may cause a rapid amortization event. Borrowings under the 2021 and 2017 Class A-2
     Notes bear interest at fixed rates equal to 2.493% and 4.60%, respectively. If the 2021
     and 2017 Class A-2 Notes are not repaid or refinanced prior to their respective Anticipated



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      Repayment Date, incremental interest will accrue. No principal payments are required if a
      specified leverage ratio, which is a measure of long-term debt, net of cash to earnings
      before interest, taxes, depreciation, and amortization, adjusted for certain items (as
      specified in the Indenture), is less than or equal to 5.0 to 1.0. Other events and
      transactions, such as certain asset sales and receipt of various insurance or indemnification
      proceeds, may trigger additional mandatory prepayments.

      Credit Facility—In July 2020, Five Guys Holdings, Inc. (the “Borrower”) entered into a
      $50,000 1st Lien Senior Secured Credit Facility (the “Credit Facility”). The term loan was
      set to mature in April 2024 and beared interest at a rate equal to the greater of 3-month
      LIBOR or 1% plus the percent per annum equal to the Applicable Margin of 9.00%. The
      interest rate as of December 31, 2020 was 10%.

      The Company used the funds from the 2021 Notes to retire the outstanding $50,000 Credit
      Facility and the $25,000 2017 Variable Funding Notes in July 2021 and to fund ongoing
      operational needs. The 2017 Variable Funding Notes were derecognized as were the
      related capitalized debt issuance costs. The loss on extinguishment of debt of $3,441 is
      recorded as other income (expense) on the consolidated statements of operations and
      comprehensive loss.

      Paycheck Protection Program Term Loan—In June 2020, the Company received a
      $8,575 term loan through the Paycheck Protection Program (“PPP”) under the CARES Act.
      The PPP term loan was set to mature in June 2025 and beared interest at a rate of 1%.
      The full principal amount plus accrued interest was forgiven in December 2021. The gain
      on extinguishment of debt of $8,701 is recorded as other income (expense) on the
      consolidated statements of operations and comprehensive loss.

      The Company was in compliance with its debt covenants related to its long-term debt as of
      December 31, 2021.

 9.   FAIR VALUE MEASUREMENTS

      The framework for measuring fair value provides a fair value hierarchy that prioritizes the
      inputs to valuation techniques used to measure fair value. The hierarchy gives the highest
      priority to unadjusted quoted prices in active markets for identical assets or liabilities
      (Level 1 measurements) and the lowest priority to unobservable inputs (Level 3
      measurements). The three levels of the fair value hierarchy are described as follows:

      Level 1—Inputs to the valuation methodology are unadjusted quoted prices for identical
      assets or liabilities in active markets that the Company has the ability to access.

      Level 2—Inputs to the valuation methodology include quoted prices for similar assets or
      liabilities in active markets; quoted prices for identical or similar assets or liabilities in
      inactive markets; inputs other than quoted prices that are observable for the asset or
      liability; and inputs that are derived principally from or corroborated by observable market
      data by correlation or other means.

      Level 3—Inputs to the valuation methodology are unobservable and significant to the fair
      value measurement.

      The carrying amounts of cash equivalents, accounts receivable, accounts payable, and
      accrued expenses approximate the fair value due to the short-term maturity of these
      financial instruments. The carrying amounts of loans receivable and long-term debt
      approximate their fair value based upon current market interest rates on similar
      instruments.


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     Assets Carried at Fair Value on a Recurring Basis—The Company’s assets and
     liabilities that are measured at fair value on a recurring basis for each hierarchy level are
     as follows:

       As of December 31, 2021                            Level 1    Level 2         Level 3       Total

       Assets—corporate-owned life insurance              $ -       $ 10,544     $      -      $ 10,544

       Total assets                                       $ -       $ 10,544     $      -      $ 10,544

       Liabilities:
        Embedded derivative—preferred stock               $ -       $     -      $ 302,406     $ 302,406
        Deferred compensation liability                     -             -        131,995       131,995
        Corporate-owned life insurance                      -           12,117        -           12,117

       Total liabilities                                  $ -       $ 12,117     $ 434,401     $ 446,518

       As of December 31, 2020

       Assets—corporate-owned life insurance              $ -       $ 7,995      $      -      $    7,995

       Total assets                                       $ -       $ 7,995      $      -      $    7,995

       Liabilities:
        Embedded derivative—preferred stock               $ -       $     -      $ 176,093     $ 176,093
        Embedded derivative—make whole premium              -             -              2             2
        Deferred compensation liability                     -             -        100,758       100,758
        Corporate-owned life insurance                      -            9,059        -            9,059

       Total liabilities                                  $ -       $ 9,059      $ 276,853     $ 285,912

       As of December 31, 2019

       Assets—corporate-owned life insurance              $ -       $ 6,423      $      -      $    6,423

       Total assets                                       $ -       $ 6,423      $      -      $    6,423

       Liabilities:
        Embedded derivative—preferred stock               $ -       $     -      $ 119,683     $ 119,683
        Embedded derivative—make whole premium              -             -              6             6
        Deferred compensation liability                     -             -        112,384       112,384
        Corporate-owned life insurance                      -            7,092        -            7,092

       Total liabilities                                  $ -       $ 7,092      $ 232,073     $ 239,165



     Corporate-Owned Life Insurance—In 2014, the Company established a nonqualified
     deferred compensation plan, which allows highly compensated employees to defer a portion
     of their base salary and variable compensation each plan year. The Company maintains a
     rabbi trust to fund obligations under the deferred compensation plan. Amounts in the rabbi



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     trust are invested in corporate-owned life insurance. These corporate-owned life insurance
     investments in the rabbi trust are carried at fair value using Level 2 inputs. As of
     December 31, 2021, 2020, and 2019, the fair value of the corporate-owned life insurance
     investments in the rabbi trust was $10,544, $7,995, and $6,423, respectively, which is
     included in long-term investments in the consolidated balance sheets. The associated
     liability of $12,117, $9,059, and $7,092, as of December 31, 2021, 2020, and 2019,
     respectively, is recorded within deferred rent and other in the consolidated balance sheets.
     The Company records investment gains and losses in other (expense) income in the
     consolidated statements of operations and comprehensive loss, along with the offsetting
     amount related to the increase or decrease in deferred compensation to reflect its exposure
     to liabilities for payment under the deferred plan. For the years ended December 31, 2021,
     2020, and 2019, the Company recorded immaterial amounts of gains and losses on
     investments held in the rabbi trust.

     Embedded Derivative—The Company has two types of embedded derivatives that are
     accounted separately as derivative contracts. They are (1) the conversion option that has
     been bifurcated from preferred stock and (2) the make whole premium in the
     Securitization Transaction. The fair value of the conversion option of the preferred stock
     was $302,406, $176,093, and $119,683, as of December 31, 2021, 2020, and 2019
     respectively. The fair value of the conversion option of the make whole premium was $0,
     $2, and $6, as of December 31, 2021, 2020, and 2019, respectively. The change in fair
     value of the embedded derivative liabilities subsequent to the date of issuance, is recorded
     in the consolidated statements of operations and comprehensive loss as loss on embedded
     derivative.

     The fair value of the Company, used to calculate the fair value of the conversion option,
     was determined with assistance from an independent third-party valuation specialist
     utilizing Level 3 inputs. The valuations of the Company were determined based on
     valuation methodologies and assumptions selected in accordance with the guidelines
     outlined in the American Institute of Certified Public Accountants Practice Aid, Valuation of
     Privately Held Companies Equity Securities Issued as Compensation. In the absence of
     observable market data regarding the value of the Company’s stock, the valuation of the
     Company and its common stock was estimated using multiple valuation approaches,
     primarily an income and market approach. The income approach is based on the present
     value of estimated future cash flows, and relies upon significant assumptions and
     estimates, including those related to the selected discount rate and forecasted revenues
     and expenses. The market approach is based on a comparison to observed fair values of
     comparable peer companies and recent market transactions, adjusted for the relative size
     and profitability of these peer companies relative to the Company.

     Assets Carried at Fair Value on a Nonrecurring Basis—The Company may be
     required, from time to time, to measure certain assets at fair value on a nonrecurring
     basis. These adjustments to fair value usually result from the application of lower of cost or
     fair value accounting or write-downs of individual assets.




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     The net losses of the above assets resulting from nonrecurring fair value adjustments for
     the years ended December 31, 2021, 2020, and 2019, are as follows:

                                                                      2021          2020          2019

       Assets—property and equipment—net long-lived
        assets grouped at the store level                            $ 6,813       $ 5,431       $ 4,324

       Total net loss from nonrecurring measurements                 $ 6,813       $ 5,431       $ 4,324

 10. INCOME TAXES

     The main impact of the CARES Act on the Company was the provision allowing net
     operating losses (“NOLs”) from 2018, 2019, and 2020 to be carried back to up to five
     preceding tax years. As a result, the Company filed NOL carryback claims related to net
     operating losses generated in 2018 to tax years 2013 through 2015 requesting a $6,092
     refund, of which $2,441 remained outstanding as of December 31, 2021.

     Deferred income tax assets (liabilities), net, as presented in the consolidated balance
     sheets, consist of the following components:

                                                                          December 31
                                                                2021         2020                2019

       Deferred revenue and commissions                     $ 5,181            $ 5,892       $ 6,448
       Deferred compensation                                  27,330             20,906        23,909
       Goodwill and intangibles                               13,259             11,041        12,636
       Allowance for doubtful accounts                            212                277          258
       Deferred rent                                           3,523              3,581         3,854
       Fixed-asset depreciation                              (13,524)           (11,217)         (412)
       Limitation on interest deduction                         -                  -              389
       Non-qualified stock option                              1,780              1,004           886
       Accrued expenses                                        1,440              2,938           855
       Gift card program                                       1,209                 917          618
       Other (263A UNICAP Adjustment)                           (818)                (82)        (625)
       Reserves                                                1,616              1,630         1,581
       Net Operating Losses                                    2,313              2,446         2,004
       Federal credit carryover                                3,799              1,716         1,328
       Valuation allowance on US tax asset                   (47,320)           (41,049)      (53,729)
       Foreign tax asset                                      14,162             15,813        10,904
       Valuation allowance on foreign tax asset              (14,162)           (15,813)      (10,904)

       Deferred tax asset—noncurrent                        $    -             $   -         $     -




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     The components of the provision for income taxes for the years ended December 31, 2021,
     2020, and 2019, are as follows:

                                                                       2021        2020      2019

       Current:
        Federal                                                    $         -   $ (6,092)   $     -
        State                                                              590        177        561
        Foreign                                                            566        503         13

            Total current                                              1,156      (5,412)        574

       Deferred:
        Federal                                                        -            -             -
        State                                                          -            -             -

            Total deferred                                             -            -             -

       Total provision for income taxes                            $ 1,156       $ (5,412)   $ 574

     The Company assesses its tax position using the provisions of ASC 740, Income Tax, with
     respect to uncertain tax positions. In accordance with ASC 740, an uncertain tax position is
     assessed based on a more-likely-than-not threshold of being sustained. Should the tax
     position meet the more-likely-than-not threshold, an assessment is made as to the impact,
     and the associated tax provision is then recorded. For U.S. federal income tax purposes,
     the statute of limitations has expired for tax years prior to 2018. Additionally, the statute
     of limitations has generally expired for tax years prior to 2016 for various state
     jurisdictions. The Company is currently not under exam by any taxing jurisdiction.

     Management assesses the available positive and negative evidence to estimate whether
     sufficient future taxable income will be generated to permit use of the existing deferred tax
     assets. A significant piece of objective negative evidence evaluated was the cumulative
     loss incurred over the three-year period ended December 31, 2021, 2020, and 2019. Such
     objective evidence limits the ability to consider other subjective evidence, such as our
     projections for future growth.

     On the basis of this evaluation, as of December 31, 2021, 2020, and 2019, a valuation
     allowance of $61,482, $56,862, and $64,633 was recorded to fully offset the net deferred
     tax asset (liability), as the amount of the deferred tax asset that is more likely than not to
     be realized in 2021, 2020, and 2019, is $0 in each year. The amount of the deferred tax
     asset that is considered realizable could be adjusted if estimates of future taxable income
     during the carryforward period are reduced or increased, or if objective negative evidence
     in the form of cumulative losses is no longer present and additional weight is given to
     subjective evidence such as our projections for growth.

     At December 31, 2021, the Company had approximately $5,876 in federal NOL
     carryforwards, after estimating that $0 will be utilized on its 2021 federal income tax
     return. The federal NOLs carry forward indefinitely, but future utilization is limited to 80
     percent of taxable income. In addition, the Company has tax-effected state NOLs of
     approximately $1,079 as of December 31, 2021 after projected 2021 utilization in certain
     state jurisdictions in which it operates, which expire beginning in 2022.




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     Our effective tax rate for 2021 was approximately 1% tax expense as compared to an
     expected statutory tax benefit of 21%. The income tax expense differs from the tax benefit
     that would result from applying statutory rates to the loss before income taxes primarily
     because of the valuation allowance on our US deferred tax assets and the permanent
     difference of $26,526 resulting from the loss on our embedded derivative that is not
     deductible for income tax purposes.

     Our effective tax rate for 2020 was approximately 7% tax benefit as compared to an
     expected statutory tax benefit of 21%. The income tax benefit differs from the tax benefit
     that would result from applying statutory rates to the loss before income taxes primarily
     because of the valuation allowance on our US deferred tax assets of $12,680 and the
     permanent difference of $11,846 resulting from the loss on our embedded derivative that
     is not deductible for income tax purposes.

     Our effective tax rate for 2019 was approximately 1% tax expense as compared to an
     expected statutory tax benefit of 21%. The income tax expense differs from the tax benefit
     that would result from applying statutory rates to the loss before income taxes primarily
     because of the valuation allowance on our US deferred tax assets of $10,230 and the
     permanent difference of $8,727 resulting from the loss on our embedded derivative that is
     not deductible for income tax purposes.

 11. COMMITMENTS AND CONTINGENCIES

     Operating Leases—The Company leases principally all of its stores and its corporate
     headquarters. Most leases contain escalation clauses and require the Company to pay
     common area maintenance charges (including taxes and insurances). Some leases also
     have contingent rents based on store revenues.

     Aggregate minimum future rental payments as of December 31, 2021, under all
     noncancelable operating leases are as follows:

       Y ears Ending
       December 31

       2022                                                                          $ 68,138
       2023                                                                            60,947
       2024                                                                            52,802
       2025                                                                            46,017
       2026                                                                            36,026
       Thereafter                                                                      62,353

                                                                                     $ 326,283

     In connection with the Encore disposition (refer to Note 5), the Company retained
     secondary liability to landlords for rents and potential damages for 17 and 18 of the 49
     stores disposed of, during the years ended December 31, 2021 and 2020, respectively.
     Encore retains primary responsibility for store rents and damages, but the Company was
     not released from liability under these leases. No payments were made by the Company on
     Encore’s behalf during 2021 and 2020, nor were any contingent liabilities recorded due to
     the remote likelihood of future obligation under these leases.

     Capital Leases—The Company leases some of the beverage dispenser machines in its
     restaurants and the corporate office, which have been accounted for as capital leases. In




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     addition, the Company signed a 20-year lease for one restaurant—which also has been
     accounted for as capital lease.

     Aggregate minimum future rental payments at December 31, 2021 under all
     non‑cancelable capital leases are approximately as follows:

       Y ears Ending
       December 31

       2022                                                                            $ 1,189
       2023                                                                                909
       2024                                                                                761
       2025                                                                                625
       2026                                                                                495
       Thereafter                                                                        1,837

                                                                                         5,816

       Less amounts representing interest (at 4.6%)                                      1,777

                                                                                         4,039

       Less current portion                                                              1,032

                                                                                       $ 3,007

     Rent expense for the years ended December 31, 2021, 2020, and 2019 amounted to
     approximately $54,597, $55,296, and $54,222, respectively. Included in this amount is
     contingent rent of $407, $182, and $708, for the years ended December 31, 2021, 2020,
     and 2019, respectively.

     Other Commitments—In 2005, the Company received back the rights to a certain
     development territory and in exchange committed to royalties based upon the sales of
     certain locations in perpetuity. Included in commission expense is $2,781, $2,674, and
     $2,572 for the years ended December 31, 2021, 2020, and 2019, respectively, related to
     this agreement.

     In 2004, as part of a settlement agreement with a former consultant, the Company agreed
     to pay royalties in perpetuity based upon the number of franchises sold. In 2008, the
     agreement was amended so that future royalties are based on a percentage of average
     sales per restaurant multiplied by a predetermined number of stores. This predetermined
     number of stores increases between one and two stores per month depending on how
     many stores opened for the previous year up to a maximum of 225 stores. During 2010,
     the third party to this agreement became a stockholder of the Company. Included in
     commission expense is approximately $4,871, $3,992, and $3,993 for the years ended
     December 31, 2021, 2020, and 2019, respectively, related to this agreement. Included in
     related-party payables are accrued commission amounts as of December 31, 2021, 2020,
     and 2019, of $79, $54, and $102, respectively.

     In 2013, the Company entered into a guaranty agreement with a third-party lender on
     behalf of a franchisee. As a result of the guarantee, the franchisee was able to obtain $720
     in financing from the third-party lender. In the event of a default by the franchisee, the




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     Company, which has a collateralized interest in the underlying assets, is obligated to
     reimburse the third-party lender for the outstanding balance due as of the date of default.

     Deferred Compensation—The Company previously entered into fully vested deferred
     compensation and death benefit agreements with certain current and former executives
     that provide payments each year in perpetuity to each executive (or his estate) based
     upon a percentage of revenues in such year. The Company records a liability for the
     present value of the future payments to such executives (based upon the trailing
     12 months applicable percentage of revenues discounted at a risk-adjusted rate).

     Please see below for relevant activity related to the deferred compensation agreements as
     of and for the years ending December 31, 2021, 2020, and 2019:

                                                                      2021          2020              2019

       Beginning balance                                          $ 100,758     $ 112,384         $ 92,920
       Change in fair value 1                                        31,237        (7,626)          19,464
       Partial agreement purchase 2                                    -           (4,000)            -

       Ending Balance                                             $ 131,995     $ 100,758         $ 112,384

       Annual payments made under deferred comp plan1             $    8,713    $   6,803         $    7,180
       Total compensation expense 3                                   39,950         (823)            26,644
       Accrued amounts due 4                                           2,591        1,812              1,888
       1 Recognized as General and administrative expense in the Consolidated statements of operations

       and comprehensive loss

       2 In March 2020 the Company settled a portion of the deferred compensation agreement for $4,000

       which resulted in the reduction of the related liability

       3 Total compensation expense equals Change in fair value, plus expense related to annual

       payments made under the deferred compensation plan
       4 Included in Accrued expenses as of December 31, 2021, 2020, and 2019



     The fully vested deferred compensation and death benefit agreements require cash
     settlement of these liabilities in the event of a change of control (as further defined in the
     agreements) using the following methodology: (i) divide the fair market value of the
     Company by its earnings before interest, taxes, depreciation, and amortization
     (EBITDA) as derived from the Company’s federal income tax return filed for the prior year,
     and (ii) multiply the product of (i) by the larger of (a) the previous year’s deferred
     compensation expense to such executives or (b) the annual average of the previous three
     years of deferred compensation expense to such executives.

     Purchase Obligations—The Company enters into various purchase obligations in the
     ordinary course of business. Those that are binding primarily relate to amounts owed
     under contractor and subcontractor agreements, orders submitted for equipment for
     restaurants under construction, and commitments for food purchases.

     Vendor Agreements—The Company maintains various agreements with its vendors in
     the ordinary course of business.




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     The Company has five distributors throughout the United States and Canada that provide
     the large majority of its food and paper goods. The Company has in turn contracted with
     multiple vendors to maintain adequate inventory at the warehouse locations of these
     distributers. The Company’s agreements with these distributers contain minimum purchase
     amount targets based on price, delivery size, and number of deliveries per week.

     The Company has an agreement with a major beverage maker to exclusively provide all
     sodas, teas, and bottled water to each Company-owned and franchise store. The
     agreement contains a system-wide commitment to purchase a minimum of 29.3 million
     gallons of product from the beverage maker. As of December 31, 2021, approximately
     22.2 million gallons of beverages had been purchased under this agreement.

     The Company maintains agreements with 19 North American bakeries and 18 international
     bakeries to produce and distribute bread goods to all Company-owned and franchise
     stores. The agreements do not contain any minimum purchase commitments and are
     cancelable upon 60 days’ notice from the Company.

     Legal Matters—The Company is involved in various legal matters as a matter of course.
     Management, after discussion with counsel, does not believe that the ultimate resolution of
     any of these matters will have a material adverse effect on the Company’s cash flow,
     financial position or results of operations.

 12. RETIREMENT PLAN

     The Company maintains a 401(k) profit-sharing plan (the “Plan”) for all eligible employees.
     Under the Plan, participants may contribute up to the maximum amount allowable per the
     Internal Revenue Code. The Company made matching contributions to the Plan of $1,308,
     $1,095, and $1,231, for the years ended December 31, 2021, 2020, and 2019,
     respectively.

 13. RELATED-PARTY TRANSACTIONS

     In addition to the related-party transactions detailed in Notes 11, 14, and 15, the Company
     had related-party transactions during the years ended December 31, 2021, 2020, and
     2019, as discussed below.

     In April and July 2021, the Company purchased $10,500 total of treasury stock from an
     officer and stockholder of the Company and from an entity that is a Company stockholder
     and is also owned by certain of our stockholders. In April 2019, the Company purchased
     $7,000 of treasury stock from an officer and stockholder of the Company.

     The Company has a compensation agreement with seven of its officers (who are also
     common stockholders) based upon a percentage of achieved EBITDA. For the years ended
     December 31, 2021, 2020, and 2019, the related expense included in salaries was
     $39,804, $20,462, and $21,852, respectively. Included in accrued expenses as of
     December 31, 2021, 2020, and 2019, are fourth-quarter amounts due to such officers of
     $6,329, $1,242, and $1,632, respectively.

     Included in related-party receivables as of December 31, 2021, 2020, and 2019, are
     $14,366, $9,546, and $9,675, respectively, due from a stockholder of the Company. The
     balance as of December 31, 2021 consists of three loans. One is a five-year amortizing
     loan with interest at 4.6% and monthly payments due of $26. A balloon payment of the
     remaining principal balance is due in April 2023. The second is a seven-year amortizing
     loan with interest at 4.6% and monthly payments due of $26. A balloon payment of the
     remaining principal balance is due in October 2024. The third is a one-year amortizing loan


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     with interest at 2.5%. The principal and interest are due in November 2022. There was
     $15, $0, and $0 accrued interest receivable as of December 31, 2021, 2020, and 2019,
     respectively. Interest income amounted to approximately $451, $332, and $449, for the
     years ended December 31, 2021, 2020, and 2019, respectively.

     The Company has a services agreement with a preferred stockholder for advisory and
     consulting services. Fees under this agreement totaled $350 for each of the years ended
     December 31, 2021, 2020, and 2019. The preferred stockholder purchased franchise
     stores, becoming a franchisee in 2021. Included in related-party receivables were royalty,
     advertising, and bread receivables totaling $56 as of December 31, 2021. For the year
     ended December 31, 2021, royalty income was $124 and bread sales were $61 from these
     franchisee stores. Included in related-party payables is $10 for secret shopper reward
     payments as of December 31, 2021.

     Included in related-party receivables as of December 31, 2021, 2020, and 2019, are $744,
     $647, and $526, respectively, due from the Company’s joint venture with a large
     conglomerate in the United Kingdom. The receivables are related to the Company’s
     management fee related to the joint venture, as well as amounts the Company spent on
     behalf of the joint venture that are reimbursable.

     Beginning in 2013, an employee who is also a franchisee and stockholder received salary
     advances based on expected future commissions, which was deemed a loan. As of
     December 31, 2021, 2020, and 2019, the loan amount was $447, $708, and $455,
     respectively, and is included in stockholder loans in the stockholders’ equity (deficit)
     section of the consolidated balance sheets. In 2019, this employee sold their territory and
     is no longer a franchisee. For the years ended December 31, 2021, 2020, and 2019,
     royalty income was $0, $0, and $70, respectively, and bread sales were $0, $0, and $93,
     respectively, from these franchisee stores.

     Included in related-party receivables from a franchise partially owned by a stockholder of
     the Company were royalty, advertising, and bread receivables totaling $55, $69, and $78,
     as of December 31, 2021, 2020, and 2019, respectively. For the years ended December
     31, 2021, 2020, and 2019, royalty income was $824, $816, and $806, respectively, and
     bread sales were $503, $494, and $522, respectively, from these franchisee stores.
     Included in related-party payables are $1, $7, and $3, for secret shopper reward payments
     as of December 31, 2021, 2020, and 2019, respectively.

     The Company advanced funds to a franchisee who is also a related-party. The related-
     party receivable was $280, $302, and $321, as of December 31, 2021, 2020, and 2019,
     respectively. Interest income amounted to $13, $13, and $4, for the years ended
     December 31, 2021, 2020, and 2019, respectively.

     Included in related-party receivables as of December 31, 2021, is a $170 loan granted to
     an employee. The loan is a five-year amortizing, interest only loan with interest at 4.6%.
     The principal is due December 2024.

 14. PREFERRED STOCK

     The Company issued its Series A and Series B preferred shares in September 2007 and
     June 2009, respectively. Such preferred shares may be redeemed by their holders after the
     seventh-year anniversary of their issuance, subject to voting requirements, for the greater
     of the original issue price per share or the amount that would be received by the holders of
     the preferred stock if all of the Company’s assets were sold at their fair market value on a
     going-concern basis and the Company was then liquidated.



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     The preferred shares may, at the option of their holders, be converted at any time into
     shares of common stock at the series preferred conversion price (initially at the original
     issue price as adjusted from time to time in accordance with the amended and restated
     certificate of incorporation). Upon the closing of an underwritten public offering whereby
     the share price of common stock is at least three times the larger of the Series A or
     Series B conversion price and the gross cash proceeds to the Company are at least
     $40,000, each share of preferred stock will automatically be converted into shares of
     common stock.

     Upon any liquidation of the Company, the preferred holders shall be entitled to be paid pro
     rata, before any payment to holders of any common stock, an amount per share of
     preferred stock equal to the original issue price (as adjusted for any stock dividends,
     combinations, splits, recapitalization, and the like), plus all declared and unpaid dividends
     on the preferred stock. Total liquidation preference is $30,000.

     Dividends on preferred shares are cumulative and, if declared, are payable on preferred
     and common stock on a pro rata, as-if-converted basis.

     The holders of preferred shares vote together with the holders of common shares as a
     single class. Each holder of preferred shares is entitled to the number of votes equal to the
     number of shares of common stock into which such shares of preferred stock could be
     converted. Holders of preferred stock, voting as a separate class, are also entitled to elect
     one member of Holdings’ board of directors (the “Board”). Also, holders of preferred stock,
     voting as a separate class and having, in the aggregate, one vote, and the holders of the
     common stock, voting as a separate class and having, in the aggregate, one vote, are
     entitled to elect one member of the Board. The holders of common stock, voting together
     as a separate class, elect all remaining members of the Board.

     In July 2009, the Company entered into a dividend distribution agreement with a preferred
     stockholder based upon achieved EBITDA. For the years ended December 31, 2021, 2020,
     and 2019, the amounts paid under this agreement along with other dividends were $4,010,
     $2,644, and $2,974, respectively.

 15. STOCK OPTION

     The Company’s 2017 Stock Incentive Plan (the “Plan”), permits the grant of stock options
     to key employees and executives. In 2019 and 2021, the Plan was amended with
     stockholder approval, authorizing an additional 9,825 and 6,973 shares of Common Stock,
     respectively, to increase the number of shares available for issuance under the plan to
     33,798. Shares delivered under the Plan are treasury shares. Option awards are generally
     granted with an exercise price equal to the Company’s value of equity per share, as
     determined by an independent third-party valuation specialist.




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     The following summarizes stock option activity during 2021:


                                                            Weighted-Average   Weighted-Average
                                               Number of        Exercise          Remaining           Aggregate
                                                Options           Price        Contractual Term       Intrinsic
                                                                                    (Years)             Value
       Outs ta ndi ng a t Ja nua ry 1, 2021       21,512     $         0.75
       Gra nted                                    7,851               1.43
       Exerci s ed                                  (478)              0.73
       Forfei ted or expi red                        (96)              0.73

       Outs ta ndi ng a t December 31, 2021       28,789     $         0.94               7.99    $         14,325

       Exerci s a bl e a t December 31, 2021      28,789     $         0.94               7.99    $         14,325

     The Company’s current outstanding stock options have maximum contractual terms of 10
     years, vesting immediately at the grant date or ratably over a period between two and nine
     years. Beginning in 2019, the Company engaged a third-party specialist, and prior to that
     used the Black-Scholes option pricing model, to determine the fair value of the options at
     the date of grant. The Company recorded stock option expense of $4,450, $581, and
     $2,302 in 2021, 2020, and 2019, respectively. The total intrinsic value of options exercised
     during the years ended December 31, 2021, 2020, and 2019, was $335, $0, and $0,
     respectively.

     The weighted average grant date fair value of stock options of $0.57, $0.26, and $0.20
     granted during 2021, 2020, and 2019, respectively, was determined using the following
     assumptions:

                                                                    2021        2020      2019

       Expected volatility                                            44.6 %     33.1 %     33.1 %
       Expected dividends                                              0.0 %      1.2 %      1.2 %
       Expected term (in years)                                          5          5          5
       Risk-free interest rate                                   0.74%-1.18%      0.4 %      1.7 %

     The expected volatility is based on the historical market price volatility of 15 of the
     Company’s industry peers. The expected dividend yield is the average quarterly dividend
     distributions to common stockholders relative to the share price. The expected term is the
     weighted average of the length of time the grants are expected to be outstanding,
     calculated using the Simplified Method. The risk-free interest rate represents the U.S.
     Treasury zero-coupon bond yield correlating to the expected term of the options granted.

 16. SUBSEQUENT EVENTS

     In February 2022, the Company signed a letter of intent to purchase 107 stores from a
     franchisee for approximately $150,000. The Company completed the acquisition of 18
     stores on March 1, 2022 for $31,030. The remaining stores are expected to close in three
     phases in May, June, and July 2022. The Company intends to raise approximately
     $200,000 additional funding through the existing securitization financing structure to fund
     the acquisition. In conjunction with this transaction, the Company intends to refinance its
     outstanding 2017 Class A-2 Notes.

                                                   ******




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 THESE FINANCIAL STATEMENTS HAVE BEEN PREPARED WITHOUT AN AUDIT.
 PROSPECTIVE FRANCHISEES OR SELLERS OF FRANCHISES SHOULD BE
 ADVISED THAT NO CERTIFIED PUBLIC ACCOUNTANT HAS AUDITED THESE
 FIGURES OR EXPRESSED AN OPINION WITH REGARD TO THEIR CONTENT OR
 FORM.




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FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

CONSOLIDATED BALANCE SHEET - UNAUDITED
AS OF MARCH 31, 2022



                                                        3/31/2022
ASSETS

CURRENT ASSETS:
 Cash and cash equivalents                          $     148,240,271
 Restricted cash                                           25,339,007
 Accounts receivable—net                                   11,355,098
 Other receivables                                          3,837,517
 Related-party receivable—current portion                  14,389,104
 Inventory                                                  4,886,672
 Prepaid expenses and other current assets                 15,732,929
 Prepaid taxes                                              1,744,635
 Deferred commissions—current portion                         769,987

        Total current assets                              226,295,220

PROPERTY AND EQUIPMENT—net                                118,433,477

OTHER ASSETS:
 Finance lease assets                                       3,170,221
 Operating lease assets                                   239,404,655
 Security deposits & other                                  5,903,929
 Long-term investments                                     10,024,782
 Related-party receivables—net of current portion           1,490,258
 Deferred commissions—net of current portion                4,966,810
 Intangible assets—net                                     26,458,862
 Goodwill                                                 112,236,014

        Total other assets                                403,655,531

TOTAL                                               $     748,384,228

                                                        (Continued)
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FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

CONSOLIDATED BALANCE SHEET - UNAUDITED
AS OF MARCH 31, 2022



                                                          3/31/2022
LIABILITIES AND STOCKHOLDERS’ DEFICIT
CURRENT LIABILITIES:
 Current maturities of long-term debt                 $         -
 Finance lease liabilities—current portion                    832,197
 Operating lease liabilities—current portion               55,982,868
 Accounts payable                                          11,736,795
 Embedded derivative liability                            302,406,129
 Accrued expenses and other current liabilities            37,549,369
 Accrued payroll and related taxes                         37,262,947
 Related-party payables                                        78,476
 Deferred revenue—current portion                           4,125,450

        Total current liabilities                         449,974,231

OTHER LIABILITIES:
 Long-term debt—net of current maturities                 584,543,205
 Finance lease liabilities—net of current portion           3,047,244
 Operating lease liabilities—net of current portion       205,002,530
 Deferred revenue—net of current portion                   42,649,067
 Deferred compensation liability                          131,994,538
 Other liabilities                                         12,851,697

        Total other liabilities                           980,088,281

STOCKHOLDERS’ DEFICIT:
 Preferred stock—series A—noncumulative convertible
  preferred ($15 million aggregate liquidation
  preference)—$.001 par value—107,000 shares
  authorized, issued, and outstanding                            107
 Preferred stock—series B—noncumulative convertible
  preferred ($15 million aggregate liquidation
  preference)—$.001 par value—84,863 shares
  authorized, issued, and outstanding                             85
 Common stock—$.001 par value—1,808,137 shares
  authorized (Class A—1,758,137, Class B—50,000);
  934,820 shares issued; 901,739 shares outstanding             935
 Treasury stock—33,081 shares outstanding               (26,403,041)
 Additional paid-in capital                               9,442,979
 Accumulated deficit                                   (664,739,350)
 Stockholder loans                                         (566,749)
 Accumulated other comprehensive income                     586,750

        Total stockholders’ deficit                    (681,678,284)

TOTAL                                                 $ 748,384,228
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FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

CONSOLIDATED STATEMENT OF OPERATIONS AND INCOME - UNAUDITED
FOR THE THREE MONTHS ENDED MARCH 31, 2022



                                               3/31/2022

REVENUE:
 Restaurant sales                          $ 178,918,318
 Bakery sales                                 14,962,665
 Royalty fees                                 25,003,730
 Development fees                                555,426
 Franchise fees                                  320,996
 Other revenue                                 1,291,939
 Creative fund revenue                         7,675,739

       Total revenue                           228,728,813

OPERATING EXPENSES:
 Cost of sales:
  Food, beverage, and shipping                  50,720,835
  Labor                                         61,908,346
  Occupancy                                     17,532,948
  Other operating costs                         38,827,566
 General and administrative                     45,179,960
 Creative fund expense                           9,104,967

       Total operating expenses                223,274,622

INCOME FROM OPERATIONS                           5,454,191

OTHER INCOME (EXPENSE):
 Interest income                                   143,042
 Interest expense                               (5,984,395)
 Gain on extinguishment of debt                       -
 Loss on embedded derivative                          -
 Other income (expense)                             55,214

       Total other expense                      (5,786,139)

LOSS BEFORE INCOME TAX EXPENSE                    (331,948)

INCOME TAX EXPENSE (BENEFIT):
 Total income tax expense (benefit)                28,505

NET LOSS                                   $      (360,453)
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FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

CONSOLIDATED STATEMENT OF CASH FLOWS - UNAUDITED
FOR THE THREE MONTHS ENDED MARCH 31, 2022



                                                              3/31/2022

CASH FLOWS FROM OPERATING ACTIVITIES:
 Net income (loss)                                        $     (360,453)
 Adjustments to reconcile net income (loss) to net cash
  provided by operating activities:
  Depreciation and amortization                               13,545,012
  Amortization of debt issuance costs                            793,637
  Amortization of lease assets                                13,885,797
  Gain on extinguishment of debt                                    -
  Impairment of long lived assets                                  -
  Bad debt provision                                             186,811
  Deferred income taxes (benefit)                                   -
  Tax valuation allowance                                           -
  Loss on property and equipment disposal                        143,354
  Loss on embedded derivative liability                            -
  Gain on sale of company-owned locations                          -
  Deferred compensation expense                                 (631,595)
  Stock-based compensation                                          -
  Changes in operating assets and liabilities:
   Accounts receivable                                      3,294,619
   Other receivables                                         (357,564)
   Creative fund receivable                                 1,768,800
   Inventory                                                 (273,087)
   Prepaid expenses and other current assets               (4,446,311)
   Prepaid taxes                                              269,757
   Long-term investments                                      757,972
   Security deposits                                          126,335
   Deferred commissions                                        43,097
   Operating lease liabilities                            (13,821,544)
   Accounts payable                                        (7,484,918)
   Accrued expenses and other current liabilities              54,876
   Accrued payroll and related taxes                          428,362
   Deferred compensation liability                               -
   Deferred revenue                                           691,996
   Other liabilities                                         (290,824)

       Net cash provided by operating activities               8,324,129

CASH FLOWS FROM INVESTING ACTIVITIES:
 Deferred compensation contributions                         (331,704)
 Deferred compensation distributions                           93,264
 Purchases of property and equipment                       (5,863,273)
 Proceeds from settlement of property insurance claims          1,652
 Pre-purchase costs                                           (30,923)
 Acquisitions of franchisee locations                     (29,732,803)
 Proceeds from sale of company-owned locations                   -
 Holdback settlements related to acquisitions                 (23,102)
 Holdback receipts related to dispositions                       -
 Advances to related parties                                     -
 Collections of related party advances and other               31,659

       Net cash used by investing activities              (35,855,230)

                                                              (Continued)
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FIVE GUYS HOLDINGS, INC. AND SUBSIDIARIES

CONSOLIDATED STATEMENT OF CASH FLOWS - UNAUDITED
FOR THE THREE MONTHS ENDED MARCH 31, 2022



                                                                        3/31/2022

CASH FLOWS FROM FINANCING ACTIVITIES:
 Repayments of finance lease liabilities                            $        (328,752)
 Proceeds from line of credit                                                    -
 Repayment of line of credit                                                     -
 Proceeds from long-term debt                                                    -
 Repayment of long-term debt                                                     -
 Payment of deferred financing fees                                              -
 Payment of debt extinguishment costs                                            -
 Employee loans—stockholder advances                                         (119,692)
 Employee loans—stockholder collections                                          -
 Purchase of treasury stock                                                      -
 Distributions                                                                   -
 Payments related to tax withholding for stock-based compensation                -

       Net cash used by financing activities                                 (448,444)

NET CHANGE IN CASH, CASH EQUIVALENTS, AND
 RESTRICTED CASH                                                          (27,979,545)

NET EFFECT OF EXCHANGE RATES ON CASH,
 CASH EQUIVALENTS, AND RESTRICTED CASH                                       (138,249)

CASH, CASH EQUIVALENTS,
 RESTRICTED CASH—Beginning                                                201,697,072

CASH AND CASH EQUIVALENTS
 RESTRICTED CASH—End                                                $     173,579,278
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                      EXHIBIT B TO THE DISCLOSURE DOCUMENT

                            DEVELOPMENT AGREEMENT




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                                        FIVE GUYS FRANCHISOR, LLC

                                        DEVELOPMENT AGREEMENT




                                                            DEVELOPER



                                                            EFFECTIVE DATE




 FIVE GUYS – Development Agreement (2022)
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 ATTACHMENTS:

 A-       GUARANTY OF CONTROLLING PRINCIPALS
 B-       STATEMENT OF OWNERSHIP INTERESTS AND DEVELOPER’S PRINCIPALS
 C-       DEVELOPMENT SCHEDULE
 D-       STATE SPECIFIC AMENDMENTS




 FIVE GUYS – Development Agreement (2022)

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                                        FIVE GUYS FRANCHISOR, LLC

                                        DEVELOPMENT AGREEMENT

        This Development Agreement (this “Agreement”) is made and entered into by and between FIVE
 GUYS FRANCHISOR, LLC, a Delaware limited liability company (“Franchisor”), and
 _________________________ , a _____________ [corporation/limited liability company/partnership]
 (“Developer”), on the date this Agreement is executed by Franchisor below (the “Effective Date”).

                                            W I T N E S S E T H:

         WHEREAS, Franchisor and its affiliates, as the result of the expenditure of time, skill, effort and
 money have developed and own a distinctive system (the “System”) relating to the establishment,
 development and operation of retail food service businesses that operate in buildings that display
 Franchisor’s interior and exterior trade dress (each, a “Restaurant”), which specialize in dine-in and carry-
 out service of hamburgers, cheeseburgers, hot dogs, french fries, and other foods and accompaniments
 approved by Franchisor (the “Products”) and which operate under Franchisor’s System and the Marks
 (defined below), all of which Franchisor may periodically change, improve, and/or further develop;

          WHEREAS, the distinguishing characteristics of the System include, without limitation,
 distinctive interior and exterior sign design and arrangement, décor, fixtures and furnishings; menus and
 recipes; quality and uniformity of products and services offered; standards, specifications, methods,
 techniques, procedures for operations, inventory and management; training and assistance; record keeping
 and reporting; and marketing and advertising; all of which may be changed, improved and further developed
 by Franchisor and/or its affiliates from time to time;

         WHEREAS, Franchisor identifies the System and Restaurants by means of certain trade names,
 service marks, trademarks, emblems and indicia of origin, including, but not limited to, the marks “FIVE
 GUYS®”, “FIVE GUYS FAMOUS BURGERS AND FRIES®”, “FIVE GUYS BURGERS AND FRIES®”
 and such other proprietary marks as Franchisor may periodically designate in writing (collectively, the
 “Marks”);

         WHEREAS, Franchisor grants to qualified persons the opportunity to own and operate Restaurants
 offering and selling the Products as well as other products and services authorized and approved by
 Franchisor and utilizing Franchisor’s System and Marks; and

        WHEREAS, Developer wishes to obtain certain rights to develop Restaurants under Franchisor’s
 System pursuant to the terms and conditions set forth in this Agreement.

          NOW, THEREFORE, the parties, in consideration of the mutual undertakings and commitments
 set forth herein, the receipt and sufficiency of which are hereby acknowledged, agree as follows:

 I.       GRANT

         A.       In reliance on the representations and warranties of Developer and its Controlling
 Principals (as defined in Section XIV.E.) hereunder, Franchisor hereby grants to Developer the right (and
 Developer hereby accepts the obligation), pursuant to the terms and conditions contained in this Agreement,
 to develop ______________________ (____) Restaurants in the geographic area described in Attachment
 C (the “Territory”). In this regard, the parties further agree that:

                  (1)     The Restaurants shall be developed by Developer pursuant to the development
 schedule set forth in Attachment C to this Agreement (the “Development Schedule”);



 FIVE GUYS – Development Agreement (2022)
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                  (2)     Each Restaurant developed under this Agreement shall be established and operated
 pursuant to a separate FIVE GUYS® Franchise Agreement (each, a “Franchise Agreement”) that shall be
 executed as provided in Section III. below; and

                   (3)       Each Restaurant developed under this Agreement shall be located in the Territory.

          B.      Except as provided in this Agreement, and subject to Developer’s and Controlling
 Principals’ full compliance with this Agreement and any other agreement among Developer or any of its
 affiliates and Franchisor or any of its affiliates, Franchisor shall not establish or authorize any other person
 or entity, other than Developer, to establish a Restaurant within the Territory during the term of this
 Agreement.

          C.       Notwithstanding the generality of the foregoing section, Franchisor and its affiliates retain
 all other rights, and therefore Franchisor and its affiliates shall have the right (among others) on any terms
 and conditions Franchisor deems advisable, and without granting Developer any rights therein, to:

                (1)     Establish, and license others to establish, Restaurants and otherwise sell the food
 and beverage Products under the Marks at any location outside the Territory;

                   (2)     Establish, and license others to establish, Restaurants and otherwise sell food and
 beverage Products under the Marks in a Reserved Area (as defined below) at any location within or outside
 of the Territory. As used in this Agreement, a “Reserved Area” is defined as all airports, sporting arenas
 and stadiums, and United States Department of Defense locations, military installations and other federal
 government agencies (including, without limitation, Navy, Marine Corp, Army and Air Force bases and
 exchange service facilities); provided, however, the Franchisor agrees that (i) Developer may pursue, on a
 non-exclusive basis, any and all opportunities to operate a Restaurant in an airport, sporting arena, or
 stadium located within the geographic borders of the Territory, and (ii) in the event that Developer has
 secured all necessary permits and approvals from the necessary authorities to operate a Restaurant in an
 airport, sporting arena, or stadium, as applicable, located within the geographic borders of the Territory,
 Franchisor may approve of such location on the same terms and conditions as it would for a location outside
 of a Reserved Area. Any Restaurant developed by the Developer in an airport, sporting arena, or stadium
 pursuant to the foregoing shall be credited toward the Developer’s obligations under the Development
 Schedule. The parties hereto agree that nothing in this Section I.C. shall in any way limit the Franchisor’s
 right to operate, or license another party to operate, a Restaurant in a Reserved Area; and

                  (3)      Sell and distribute, directly or indirectly, or license others to sell and distribute,
 directly or indirectly, any collateral products under the Marks (e.g., pre-packaged food and beverage
 Products and FIVE GUYS® memorabilia) from any location to any purchaser by any method or channel of
 distribution (including, without limitation, the Internet, mail order, and/or retail locations whether located
 within or outside of the Territory), so long as such sales are not conducted from a Restaurant operated from
 a location inside the Territory.

         D.       The parties hereto acknowledge and agree that this Agreement is not a Franchise
 Agreement (as defined in Section III. below) and does not grant to Developer any right or license to operate
 a Restaurant, distribute any goods or services, or any right to use or interest in the Marks.

 II.      FEE

         A.       As consideration for the development rights granted herein, Developer shall pay to
 Franchisor a territorial development fee of __________________ Dollars ($_______) (the “Development
 Fee”), representing payment of a development fee of Fifty Thousand Dollars ($50,000) per Restaurant to
 be developed hereunder. The Development Fee shall be due upon the execution of this Agreement and
 shall be deemed fully earned by Franchisor upon receipt in consideration of the administrative and other
 FIVE GUYS – Development Agreement (2022)

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 expenses incurred by Franchisor and for the development opportunities lost or deferred as a result of the
 rights granted to Developer herein. The Development Fee shall not be refundable under any conditions or
 circumstances

         B.       In addition to the Development Fee, a separate franchise fee of Twenty Five Thousand
 Dollars ($25,000) shall be due and payable to Franchisor for each Restaurant developed hereunder (each, a
 “Franchise Fee”). The initial Franchise Fee shall be paid upon the execution of a separate Franchise
 Agreement executed along with this Agreement. Each Franchise Fee for the remaining ____________ (__)
 Restaurants shall be due and payable immediately upon either (i) the execution of a lease or purchase
 agreement for the space in which the Restaurant shall operate, or (ii) ninety days (90) prior to the scheduled
 opening of the Restaurant, whichever occurs first. Franchise Fees are deemed earned upon payment thereof
 and shall not be refundable except as specified in the Franchise Agreement.

 III.     SCHEDULE AND MANNER FOR EXERCISING DEVELOPMENT RIGHTS

          A.       Developer shall exercise the development rights granted hereunder only by entering into a
 separate Franchise Agreement with Franchisor for each Restaurant for which a development right is
 granted. Franchisor may, in its reasonable discretion, permit Developer to exercise such development rights
 through affiliated entities that are either wholly owned subsidiaries of Developer or commonly controlled
 entities with ownership determined by Developer, provided Developer first delivers timely notice of such
 affiliated entities to Franchisor for its review prior to signing the applicable Franchise Agreement. The
 Franchise Agreement to be executed for the first Restaurant to be developed hereunder shall be executed
 and delivered to Franchisor concurrently with the execution and delivery of this Agreement. All subsequent
 Restaurants developed under this Agreement shall be established and operated pursuant to the form of
 franchise agreement then being used by Franchisor for franchised Restaurants. These franchise agreements
 shall also be included in the term “Franchise Agreement” for purposes of this Agreement. The then-
 current form of Franchise Agreement may differ from the form executed and delivered with this Agreement;
 provided, however, that the material terms (including, without limitation, the fees, renewal rights, and
 termination provisions) of each Franchise Agreement shall be substantially similar to the Franchise
 Agreement executed and delivered with this Agreement.

         B.      (1)     Acknowledging that time is of the essence, and subject to the requirements of
 Section IV., Developer agrees to exercise its development rights according to the Development Schedule.

                 (2)     (a)      Developer shall open each Restaurant developed hereunder and shall
 commence business in accordance with the time periods set forth in the Development Schedule; provided,
 however, Developer may, subject to Franchisor’s approval, purchase from Franchisor an extension of a
 development period (each, a “Time Extension”) as may be necessary to complete construction and
 commence operation of a Restaurant. Each Time Extension shall be purchased at a cost of Ten Thousand
 Dollars ($10,000) (the “Time Extension Fee”), and shall run for an additional ninety (90) day period
 commencing upon the expiration of the applicable development period, including any previous extensions
 thereof. No more than two (2) Time Extensions of any development period shall be permitted. If a Time
 Extension of a development period is granted by Franchisor, the “Opening Date” (as such term is used in
 the Franchise Agreement) of the Restaurant shall be extended accordingly. No Time Extension of any
 development period shall affect the duration of any other development period or any of Developer’s other
 development obligations hereunder. If a Time Extension is requested for the final development period, the
 term of this Agreement shall be extended accordingly, and Developer shall have no further rights under this
 Agreement except as expressly provided in Sections VI. and VII. hereof.

                          (b)     In the event that Developer deems is necessary to request a Time
 Extension for a Restaurant, Developer must notify Franchisor of its request in writing at least sixty (60)
 days prior to the projected opening date for such Restaurant (an “Extension Request”). In an Extension
 Request, Developer shall include a description of the reasons for such failure to develop in a timely manner
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 and the expected date of completion of construction and opening. Simultaneously with its delivery of an
 Extension Request, Developer shall pay the Time Extension Fee; provided, however, no Time Extension
 Fee shall be charged in cases where Developer can reasonably prove that such delay is directly related to
 Force Majeure (as defined below).

                  (3)     Failure by Developer to adhere to the Development Schedule (including any Time
 Extensions thereof approved by Franchisor in writing) shall constitute a material event of default under this
 Agreement, except when such failure is the direct result of an act of God, strikes, lockouts, or other
 industrial disturbances, war, acts of terrorism, riot, epidemic, fire or other catastrophe or other forces
 reasonably beyond Developer’s control (collectively, “Force Majeure”).

                  (4)     Following Developer’s successful completion of the Development Schedule
 (including any Time Extensions thereof), Developer may make a request to Franchisor to develop and
 establish one or more additional Restaurants in the Territory (the “New Restaurant(s)”). The development
 and establishment of the New Restaurants shall be pursuant to agreements containing terms and conditions
 substantially similar to the terms and conditions then-currently offered by Franchisor for franchised
 Restaurants.

                   (5)     For a period of five (5) years following Developer’s successful completion of the
 Development Schedule (and provided Developer is and has been in compliance with this Agreement and
 each Franchise Agreement executed pursuant to this Agreement), if Franchisor or an affiliate of Franchisor
 seeks to develop, itself or through third party franchisees, any New Restaurants in the Territory, Franchisor
 shall first present Developer with written notice (the “ROFR Notice”) of the bona fide terms and conditions
 of the proposed development. Developer shall have a right of first refusal to develop the New Restaurants,
 in lieu of Franchisor, Franchisor’s affiliate or third party franchisees, pursuant to the terms contained in the
 ROFR Notice. Developer shall have thirty (30) days to notify Franchisor in writing of its intent to exercise
 the right to develop and/or establish the New Restaurants, to execute a development agreement and
 franchise agreement(s) for such New Restaurant(s) on the terms contained in the ROFR Notice, and to pay
 the initial fees due under the new development agreement and franchise agreement(s). If Developer fails
 to respond to the notice within thirty (30) days, fails to pay the required fees, or otherwise fails to adhere to
 any requirements set forth in the ROFR Notice, Developer shall have no further right to develop, establish
 or operate the New Restaurants(s) pursuant to such terms, and Franchisor or an affiliate of Franchisor shall
 have the right to establish, or to license other third parties to establish, such New Restaurant(s) under the
 terms and conditions set forth in the ROFR Notice. If Developer elects to exercise its right under this
 Section III.B.(5), Developer shall execute the development agreement, franchise agreement(s), and all other
 documents required by Franchisor within thirty (30) days of Developer’s response to the ROFR Notice.

                  (6)      If requested by Franchisor, Developer shall deliver to Franchisor an annual update
 regarding Developer’s immediate development plans for the Territory for the then-current year (the
 “Annual Development Plan”). The Annual Development Plan shall include, without limitation,
 geographic and demographic details of the Territory, current Restaurant counts, and summaries of
 Developer’s development strategy. The forms required for Developer’s completion of the Annual
 Development Plan shall at all times be located on, and downloadable from, Franchisor’s extranet site (as
 such site is more fully described in the Manual).

 IV.      PREREQUISITES TO OBTAINING FRANCHISES

          A.      Developer understands and agrees that this Agreement does not confer upon Developer a
 right or franchise to operate any Restaurant but is rather intended by the parties to set forth the terms and
 conditions which, if fully satisfied by Developer, shall entitle Developer to obtain the right to operate
 Restaurants within the Territory.



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         B.       Each of the following conditions and approvals must have occurred or be obtained before
 the grant of the right by Franchisor to develop each Restaurant shall become effective. Developer must
 meet each of the operational, financial, and legal conditions set forth below (collectively, the “Conditions”)
 before such rights shall become effective:

                  (1)     Operational: Developer shall be in compliance with the Development Schedule
 and each other provision of this Agreement. Developer and each entity that is controlled by, controlling or
 under common control with Developer (collectively, “Developer’s Affiliate”) must be in material
 compliance with any and all other agreements to which Franchisor and/or its affiliates are a party (including,
 without limitation, the Franchise Agreements and any other development agreements). Developer must be
 properly conducting the operation of its existing Restaurants, if any, and is capable of conducting the
 operation of the proposed Restaurant (a) in accordance with the terms and conditions of this Agreement,
 (b) in accordance with the provisions of the respective Franchise Agreements, and (c) in accordance with
 the standards, specifications, and procedures set forth and described in the “Manuals” (as such term is
 defined in the Franchise Agreement), as such Manuals may be amended from time to time, or otherwise in
 writing.

                   (2)       Financial: Developer and Developer’s Affiliates shall not then be in default, and
 for the twelve (12) month period preceding Developer’s request for financial approval shall not have been
 in default, of any monetary obligations owed to Franchisor or its affiliates under any other agreement to
 which Franchisor and/or its affiliates are a party (including, without limitation, the Franchise Agreements
 and any other development agreements). Developer acknowledges and agrees that it is vital to Franchisor’s
 interest that each of its franchisees is financially sound to avoid failure of a Restaurant and that such failure
 would adversely affect the reputation and good name of Franchisor and its system of franchisees.

                  (3)     Legal: Developer must have submitted to Franchisor, in a timely manner and in
 accordance with all applicable federal and state franchise disclosure laws, all information and documents
 requested by Franchisor prior to and as a basis for the issuance of individual franchises or pursuant to any
 right granted to Developer by this Agreement or by any Franchise Agreement, and has taken such additional
 actions in connection therewith as may be reasonably requested in writing by Franchisor from time to time.

        If Franchisor determines, in its reasonable discretion, that Developer and the Controlling Principals
 have met all of the Conditions described above, then Franchisor shall grant to Developer the right to develop
 such additional Restaurant pursuant to the Development Schedule.

 V.       TERM

          Unless sooner terminated in accordance with this Agreement, the term of this Agreement and all
 rights granted by Franchisor under this Agreement shall expire on the date on which Developer successfully
 and in a timely manner has exercised all of the development rights and completed the development
 obligations under this Agreement in accordance with the Development Schedule (including, if applicable,
 any extension thereof under Section III.B.(3)).

 VI.      REPRESENTATION AND WARRANTIES OF DEVELOPER; DUTIES OF DEVELOPER

         Developer and the Controlling Principals (as defined in Section XIV.E.), as applicable, make the
 following representations, warranties and covenants and accept the following obligations:

          A.      If Developer is a corporation, limited liability company, partnership, or other form of legal
 entity other than an individual, Developer represents and warrants that:

                   (1)       Developer is duly organized and validly existing under the state law of its
 formation;
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                 (2)      Developer is duly qualified and is authorized to do business in each jurisdiction in
 which its business activities or the nature of the properties owned by it require such qualification;

                 (3)     Developer’s corporate charter, operating agreement, or written partnership
 agreement shall at all times provide that the activities of Developer are confined exclusively to the
 development and operation of FIVE GUYS® Restaurants as contemplated hereunder, unless otherwise
 consented to by Franchisor in writing;

                 (4)      The execution of this Agreement and the performance of the transactions
 contemplated hereby have been duly authorized by Developer and are (i) within Developer’s corporate
 power if Developer is a corporation, (ii) permitted under the operating agreement if Developer is a limited
 liability company, or (iii) permitted under Developer’s written partnership agreement if Developer is a
 partnership;

                (5)     The ownership interests in Developer are accurately and completely described in
 Attachment B (attached hereto); and

                 (6)      Developer has provided Franchisor with the most recent financial statements of
 Developer, and such financial statements (i) present fairly the financial position of Developer as of the dates
 indicated therein, and (ii) have been certified as true, complete and correct and were been prepared in
 conformity with generally accepted accounting principles applicable to the respective periods involved and
 applied on a consistent basis. Developer further represents to Franchisor that no material liabilities adverse
 claims, commitments or obligations of any nature exist as of the date of this Agreement (whether accrued,
 unliquidated, absolute, contingent or otherwise) which are not reflected as liabilities on the financial
 statements delivered to Franchisor.

        B.       (1)      If Developer is a corporation, it shall comply with the following requirements
 throughout the term of this Agreement:

                            (a)     Upon Franchisor’s request, Developer shall promptly furnish Franchisor
 with its articles of incorporation, bylaws, other governing documents, and any other documents Franchisor
 may reasonably request, together with any amendments thereto;

                         (b)      Developer shall maintain stop transfer instructions against the transfer on
 its records of any voting securities; and shall issue no certificates for voting securities upon the face of
 which the following printed legend does not legibly and conspicuously appear:

                       THE TRANSFER OF THIS STOCK IS SUBJECT TO THE TERMS AND
                       CONDITIONS OF A FIVE GUYS® DEVELOPMENT AGREEMENT WITH
                       FIVE GUYS FRANCHISOR, LLC. REFERENCE IS MADE TO THE
                       PROVISIONS OF SAID DEVELOPMENT AGREEMENT AND TO THE
                       ARTICLES AND BYLAWS OF THIS CORPORATION.

                         (c)       Developer shall maintain a current list of all owners of record and all
 beneficial owners of any class of voting stock of Developer and shall promptly furnish the list to Franchisor
 upon request; and

                          (d)     Such owners of a beneficial interest in the corporation, as Franchisor may
 designate from time to time, shall execute a guarantee of the performance of Developer’s obligations under
 this Agreement in the form required by Franchisor.



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                   (2)      If Developer is a partnership, limited liability company, or other non-corporate
 limited liability entity of any sort, then it shall comply with the following requirements throughout the term
 of this Agreement:

                         (a)    Upon Franchisor’s request, Developer shall promptly furnish Franchisor
 with its partnership agreement, operating agreement, and/or organizational documents, as applicable,
 together with any amendments thereto and such other documents Franchisor may reasonably request;

                         (b)      Developer shall maintain stop transfer instructions against the transfer on
 its records of any voting securities; and shall issue no certificates for voting securities upon the face of
 which the following printed legend does not legibly and conspicuously appear:

                       THE TRANSFER OF ANY EQUITY INTERESTS IN THIS COMPANY IS
                       SUBJECT TO THE TERMS AND CONDITIONS OF A FIVE GUYS®
                       DEVELOPMENT AGREEMENT WITH FIVE GUYS FRANCHISOR, LLC.
                       REFERENCE IS MADE TO THE PROVISIONS OF SAID DEVELOPMENT
                       AGREEMENT AND TO THE OPERATING AGREEMENT AND/OR
                       PARTNERSHIP AGREEMENT, AS APPLICABLE, OF THIS COMPANY.

                        (c)      Developer shall prepare maintain a current list of all general and limited
 partners and/or members, as applicable, in Developer and shall promptly furnish the list to Franchisor upon
 request;

                         (d)      Such owners of a beneficial interest in the partnership, limited liability
 company, or other non-corporate limited liability entity, as Franchisor may designate from time to time,
 shall execute a guarantee of the performance of Developer’s obligations under this Agreement in the form
 required by Franchisor.

         C.       (1)    Upon the execution of this Agreement, Developer shall designate and retain an
 individual to assume primary responsibility for the operations of Developer (the “Operating Principal”).
 If Developer is an individual, Developer shall perform all obligations of the Operating Principal. The
 Operating Principal shall, during the entire period he/she serves as such, meet and maintain the following
 qualifications:

                          (a)     The Operating Principal must maintain a direct or indirect majority
 ownership interest in the Developer. Except as may otherwise be provided in this Agreement, the Operating
 Principal’s interest in Developer shall be and shall remain free of any pledge, mortgage, hypothecation,
 lien, charge, encumbrance, voting agreement, proxy, security interest or purchase right or options.

                          (b)    The Operating Principal shall devote substantial full time and best efforts
 to the supervision and conduct of the business contemplated by this Agreement. Operating Principal shall
 execute this Agreement as one of the Controlling Principals, and shall be individually, jointly and severally
 bound by all obligations of Developer, the Operating Principal and the Controlling Principals hereunder.

                         (c)     The Operating Principal (and any such designee) shall meet Franchisor’s
 reasonable standards and criteria for such individual, as set forth in the Manuals as defined herein or
 otherwise in writing by Franchisor.

                          (d)      If, during the term of this Agreement, the Operating Principal or any
 designee is not able to continue to serve in the capacity of Operating Principal or no longer qualifies to act
 as such in accordance with this Section, Developer shall promptly notify Franchisor and designate a
 replacement within sixty (60) days after the Operating Principal or such designee ceases to serve, such
 replacement being subject to the same qualifications and restrictions listed above. Developer shall provide
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 for interim management of the activities contemplated under this Agreement until such replacement is so
 designated, such interim management to be conducted in accordance with this Agreement. Any failure to
 comply with the requirements of this Section VI.A.(2) shall be deemed a material event of default under
 this Agreement.

                 (2)        The Operating Principal may, at his/her option, and, subject to the approval of
 Franchisor, designate an individual to perform the duties and obligations of Operating Principal described
 herein; provided that the Operating Principal shall take all necessary action to ensure that such designee
 conducts and fulfills all of Operating Principal’s obligations in accordance with the terms of this Agreement
 and Operating Principal shall remain fully responsible for such performance.

                  (3)     Developer shall comply with all requirements of federal, state and local laws, rules,
 regulations, and orders.

         D.       Developer shall comply with all other requirements and perform such other obligations as
 provided hereunder. Developer and the Controlling Principals acknowledge and agree that the
 representations and warranties set forth above are continuing obligations of Developer and the Controlling
 Principals, as applicable, and that any failure to comply with such representations, warranties and covenants
 shall constitute a material event of default under this Agreement. Developer shall fully cooperate with
 Franchisor in any efforts taken by Franchisor to verify Developer’s compliance with such representations,
 warranties and covenants.

 VII.     DEFAULT AND TERMINATION

         A.      Developer shall be deemed to be materially in default under this Agreement and all rights
 granted herein shall automatically terminate without notice to Developer:

                   (1)      if Developer becomes insolvent or makes a general assignment for the benefit of
 creditors or files a voluntary petition under any section or chapter of federal bankruptcy laws or under any
 similar law or statute of the United States or any state or admits in writing its inability to pay its debts when
 due; or

                  (2)    if Developer is adjudicated bankrupt or insolvent in proceedings filed against
 Developer under any section or chapter of federal bankruptcy law or any similar law or statute of the United
 States or any state; or

                  (3)     if a bill in equity or other proceeding for the appointment of a receiver of Developer
 or other custodian for Developer’s business or assets is filed and consented to by Developer, or if a receiver
 or other custodian (permanent or temporary) of Developer’s assets or property, or any part thereof, is
 appointed by any court of competent jurisdiction; or

                 (4)      if proceedings for a composition with creditors under any state or federal law are
 instituted by or against Developer and such proceedings are not successfully challenged or otherwise
 dismissed within thirty (30) days after such filing; or

                 (5)      if a final judgment against Developer remains unsatisfied or of record for sixty
 (60) days or longer (unless supersedes bond is filed); or

                 (6)      if Developer is voluntarily dissolved or if Developer is involuntarily dissolved, and
 such dissolution is not cured within five (5) days of Developer’s actual or constructive knowledge of such
 dissolution; or

                   (7)       if execution is levied against Developer’s business or property; or
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                 (8)      if suit to foreclose any lien or mortgage against the premises or equipment of any
 business operated hereunder or under any Franchise Agreement is instituted and not dismissed within sixty
 (60) days unless such is being contested in good faith; or

                (9)    if the real or personal property of any business operated hereunder or under any
 Franchise Agreement shall be sold after levy by any sheriff, marshal or constable.

         B.       Developer shall be deemed to be materially in default and Franchisor may, at its option,
 terminate this Agreement and all rights granted hereunder, without affording Developer any opportunity to
 cure the default except as provided below, effective immediately upon written notice to Developer, upon
 the occurrence of any of the following events of default:

                   (1)       If Developer fails to meets its obligations under the Development Schedule;

                  (2)      If Developer fails to execute each Franchise Agreement in accordance with Section
 III.A. (or any extension thereof approved by Franchisor in writing);

                 (3)      If Developer or any of the Controlling Principals is convicted of, or shall have
 entered a plea of nolo contendere to, a felony, a crime involving moral turpitude or any other crime or
 offense that Franchisor believes is reasonably likely to have an adverse effect on the System, the Marks,
 the goodwill associated therewith or Franchisor’s interests therein;

                  (4)    If a threat or danger to public health or safety results from the construction,
 maintenance or operation of any Restaurant developed under this Agreement, following twenty-four (24)
 hours’ notice from Franchisor;

                  (5)     If Developer fails to designate a qualified replacement Operating Principal or
 designee appointed by Operating Principal within thirty (30) days after any initial or successor Operating
 Principal or designee ceases to serve as such, all as required under Section VI.A.(2)(e);

                  (6)     If Developer or any of the Controlling Principals breaches in any material respect
 any of the representations, warranties and covenants in Section VI.A.;

                  (7)       If Developer or any of the Controlling Principals transfers or attempts to transfer
 any rights or obligations under this Agreement or any interest in Developer to any third party without
 Franchisor’s prior written consent or without offering Franchisor a right of first refusal with respect to such
 transfer, contrary to the terms of Section VIII.;

                 (8)      If Developer or any of the Controlling Principals fails to comply with the covenants
 in Section IX.A., IX.B. or IX.C., provided, however, no such breach shall exist if Developer has commenced
 reasonable efforts to cure such breach and continues to reasonably prosecute such cure;

                  (9)     If an approved transfer upon death or permanent disability is not effected within
 the time period and in the manner prescribed by Section VIII.E.;

                 (10)    If Developer misuses or makes any unauthorized use of the Marks or otherwise
 materially impairs the goodwill associated therewith or with the System or Franchisor’s rights therein and
 does not cure such default within twenty-four (24) hours following notice from Franchisor;

                (11)    If Developer or any of its affiliates fails, refuses or neglects promptly to pay when
 due any monetary obligation owing to Franchisor, or any of its affiliates or vendors, under this Agreement,
 any Franchise Agreement or any other agreement and does not cure such default within five (5) days
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 following notice from Franchisor (or such other cure period specified in such other agreement, unless no
 cure period is stated or such period is less than five (5) days, in which case the five (5) day cure period shall
 apply); and

                  (12)     If Developer or any Controlling Principal (or any person or entity affiliated with
 or controlled by Developer or any Controlling Principal) is determined by Franchisor to be either (i)
 repeatedly in default for failure to comply with the requirements of any Franchise Agreement, other
 development agreement, or other agreement to which Franchisor (or an affiliate of Franchisor) is a party
 (collectively, and as each may be amended from time to time, “Other Agreements”), whether or not such
 defaults are of the same or different nature and whether or not such defaults have been cured after notice
 by Franchisor, or (ii) in material default for failure to substantially comply with the requirements of any
 Other Agreement, Franchisor may terminate this Agreement by giving written notice of termination stating
 the nature of such default to Developer at least thirty (30) days prior to the effective date of such termination.

          C.       Except as provided above in Section VII.B. above, if Developer fails to comply with any
 other term or condition imposed by this Agreement, Franchisor may terminate this Agreement only by
 giving written notice of termination stating the nature of such default to Developer at least thirty (30) days
 prior to the effective date of termination; provided, however, that Developer may avoid termination by
 immediately initiating a remedy to cure such default and curing it to Franchisor’s reasonable satisfaction
 within the thirty (30) day period and by promptly providing proof thereof to Franchisor. If any such default
 is not cured within the specified time, or such longer period as applicable law may require, subject to Section
 VII.D., Developer’s rights under this Agreement shall terminate without further notice to Developer
 effective immediately upon the expiration of the thirty (30) day period or such longer period as applicable
 law may require.

         D.       Upon default by Developer under Section VII.B. or C., Franchisor may elect, in lieu of
 termination, to reduce or eliminate all or only certain rights of Developer under this Agreement (including,
 without limitation, a reduction of the area of territorial rights and/or the number of Restaurants which
 Developer may establish under the Development Schedule); and if Franchisor exercises said election,
 Franchisor shall not have waived its right to, in the case of future defaults, exercise all other rights and
 invoke all other provisions (including, without limitation, its option to terminate this Agreement) that are
 provided in law and/or set out under this Agreement.

          E.      Upon termination or expiration of this Agreement, Developer shall have no right to
 establish or operate any Restaurants for which a Franchise Agreement has not been executed by Franchisor
 at the time of termination. Thereafter, Franchisor and its affiliates shall be entitled to establish, and to
 license others to establish, Restaurants in the Territory (except as may be otherwise provided under any
 Franchise Agreement that has been executed between Franchisor and Developer). Developer acknowledges
 the right of Franchisor under Section II.A. of this Agreement to retain any and all fees paid by Developer
 pursuant to the terms hereof.

        F.       No default under this Agreement shall constitute a default under any Franchise Agreement
 between the parties hereto, unless the default is also a default under the terms of such Franchise Agreement.

          G.      No right or remedy herein conferred upon or reserved to Franchisor is exclusive of any
 other right or remedy provided or permitted by law or in equity.

         H.       Upon termination or expiration of this Agreement, Developer and the Controlling
 Principals shall comply with the restrictions on confidential information contained in Section IX.B. and the
 covenants against competition contained in Section IX.D. Any other person required to execute similar
 covenants pursuant to Section IX.B.(2) or IX.I. shall also comply with such covenants.



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 VIII.    TRANSFER OF INTEREST

          A.       (1)       Franchisor shall have the right, without the need for Developer’s consent, to assign,
 transfer or sell its rights under this Agreement to any person or other legal entity. Upon such assignment
 and assumption, Franchisor shall be under no further obligation hereunder, except for accrued liabilities, if
 any. Developer further agrees and affirms that Franchisor may go public; may engage in a private
 placement of some or all of its securities; may merge, acquire other corporations, or be acquired by another
 corporation; and/or may undertake a refinancing, recapitalization, leveraged buyout or other economic or
 financial restructuring (collectively, and in each instance, a “Permitted Transaction”). With regard to any
 Permitted Transaction, Developer expressly waives any claims, demands or damages arising in connection
 therewith or related thereto including, without limitation, claims involving the loss of the Marks (or any
 variation thereof) and System and/or the loss of association with or identification of Five Guys Franchisor,
 LLC as Franchisor under this Agreement or any Other Agreement.

                   (2)     Developer agrees that Franchisor has the right, now and in the future, to engage in
 a Permitted Transaction involving an existing competitive or non-competitive franchise network, chain or
 any other business (in each instance, an “Other Business”) regardless of the location of such Other
 Business’ facilities, and to operate, franchise or license those businesses and/or facilities as FIVE GUYS®
 Restaurants following the closing of such Permitted Transaction in any location; provided, however,
 Franchisor represents that it shall not convert any Other Business facility into a FIVE GUYS® Restaurant
 if such facility is located within the Territory during the term of this Agreement, or within unreasonably
 close proximity to any Restaurant then-currently operated by Developer or any of its affiliates.

                 (3)     If Franchisor assigns its rights in this Agreement, nothing herein shall be deemed
 to require Franchisor to remain in the restaurant business or to offer or sell any products or services to
 Developer.

          B.       (1)    Developer understands and acknowledges that the rights and duties set forth in this
 Agreement are personal to Developer, and that Franchisor has granted rights under this Agreement in
 reliance on the business skill, financial capacity and personal character of Developer and the Controlling
 Principals. Accordingly, neither Developer nor any Controlling Principal, nor any successor or assign of
 Developer or any Controlling Principal, shall sell, assign (including but not limited to by operation of law,
 such as an assignment under bankruptcy or insolvency laws, in connection with a merger, divorce or
 otherwise), transfer, convey, give away, pledge, mortgage or otherwise encumber any direct or indirect
 interest in this Agreement or in Developer or in any Controlling Principal that is an entity, in each case
 without the prior written consent of Franchisor. Any purported assignment or transfer, by operation of law
 or otherwise, made in violation of this Agreement shall be null and void and shall constitute a material
 event of default under this Agreement.

                  (2)       Subject to the requirements of Section VIII.D. hereof, if Developer wishes to
 transfer all or part of its interest in this Agreement or if Developer or a Controlling Principal wishes to
 transfer any ownership interest in Developer or in a Controlling Principal that is an entity, then in each such
 case, the transferor and the proposed transferee shall apply to Franchisor for its consent. Franchisor shall
 not unreasonably withhold its consent to such a transfer; provided, however, Franchisor may, in its sole
 discretion, require any or all of the following as conditions of its approval to any such transfer:

                           (a)     All the accrued monetary obligations of Developer and its affiliates and
 all other outstanding obligations to Franchisor and its affiliates arising under this Agreement, any Franchise
 Agreement or other related agreement shall have been satisfied in a timely manner and Developer shall
 have satisfied all trade accounts and other debts, of whatever nature or kind, in a timely manner;




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                         (b)      Developer and its affiliates are not in material default of any provision of
 this Agreement or any Other Agreement at the time of transfer (and Developer shall have substantially and
 timely complied with all the terms and conditions of such agreements during the terms thereof);

                            (c)      The transferee, transferor, and their respective principals, as applicable,
 and shall have executed a general release, in a form reasonably satisfactory to Franchisor, of any and all
 prior claims against Franchisor and its affiliates, officers, directors, shareholders, partners, agents,
 representatives, independent contractors, servants and employees of each of them, in their corporate and
 individual capacities, including, without limitation, prior claims arising under or related to this Agreement,
 any Franchise Agreement, and any Other Agreement signed in connection therewith and governed by
 federal, state or local laws, rules, regulations or orders;

                           (d)     The transferee shall demonstrate to Franchisor’s reasonable satisfaction
 that transferee meets the criteria considered by Franchisor when reviewing a prospective developer’s
 application for development rights, including, but not limited to, Franchisor’s educational, managerial and
 business standards, transferee’s good moral character, business reputation and credit rating, transferee’s
 aptitude and ability to conduct the business contemplated hereunder (as may be evidenced by prior related
 business experience or otherwise), transferee’s financial resources and capital for operation of the business,
 and the geographic proximity of other territories with respect to which transferee has been granted
 development rights or of other Restaurants operated by transferee, if any;

                          (e)      The transferee shall execute a Development Agreement having material
 terms (including, without limitation, terms regarding the fees, development territory, and development
 schedule) substantially similar in all material respects to this Agreement, together with such other ancillary
 agreements substantially similar to the forms attached hereto (and if the transferee is a corporation or
 partnership, transferee’s shareholders, partners, or other investors, as applicable, shall also execute such
 agreements as transferee’s principals, and guarantee the performance of all such obligations, covenants and
 agreements);

                          (f)     The transferor shall remain liable for all of the obligations to Franchisor
 in connection with this Agreement incurred prior to the effective date of the transfer and shall execute any
 and all instruments reasonably requested by Franchisor to evidence such liability;

                           (g)     Developer shall pay a transfer fee of Five Thousand Dollars ($5,000), to
 reimburse Franchisor for its reasonable internal and external costs and expenses associated with reviewing
 the application to transfer including, without limitation, legal and accounting fees; and

                          (h)      If transferee is a corporation, or limited liability company, or a partnership,
 transferee shall provide to Franchisor evidence satisfactory to Franchisor that the terms of Section V.A.
 have been satisfied and are true and correct on the date of transfer.

                  (3)    Developer acknowledges and agrees that each condition which must be met by the
 transferee is reasonable and necessary to ensure such transferee’s full performance of the obligations
 hereunder.

         C.        In the event the proposed transfer is from one or more individuals to a corporation or
 limited liability company formed solely for the convenience of ownership, Franchisor’s consent may be
 conditioned upon any of the requirements in Section VIII.B.(2); provided, however, the requirements in
 Sections VIII.B.(2)(c), (d), (e) and (g) shall not apply so long as the individuals who originally signed this
 Agreement remain as the owner(s) of all of the capital stock of such entity.

         D.     If Developer wishes to transfer any or all of its interest in this Agreement or if a Controlling
 Principal wishes to transfer a controlling ownership interest in Developer (in either instance, such
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 transferring party being referred to as the “Seller”), then such Seller shall first notify Franchisor in writing
 of each such intent by delivering to Franchisor a completed transfer application in such form as Franchisor
 may prescribe in the Manuals or otherwise in writing and which shall describe, among other things, the
 interest to be transferred and the consideration therefor (the “Offer”), and shall provide such additional
 information and documentation relating to the Offer as Franchisor may require. Franchisor shall have the
 right and option, exercisable within thirty (30) days after receipt of such written Offer and copies of all
 documentation required by Franchisor, to send written notice to the Seller that Franchisor intends to
 purchase the Seller’s interest on terms consistent with the material terms and conditions stipulated in the
 written Offer and on such forms and other reasonable and customary terms as Franchisor may prescribe
 (including, without limitation, the substitution of equivalent cash consideration for any form of payment
 stipulated in the Offer not comprised of cash). In the event that Franchisor elects to purchase the Seller’s
 interest, closing on such purchase must occur within the latter of (a) thirty (30) days from the date of notice
 to the Seller of the election to purchase by Franchisor, (b) thirty (30) days from the date Franchisor receives
 or obtains all necessary documentation, permits and approvals, or (c) such other date as the parties agree
 upon in writing.

                   If Franchisor rejects or otherwise fails to purchase the Seller’s interest in accordance with
 the foregoing, then Seller shall be free to pursue its intended transfer on terms and conditions identical to
 those stipulated in the Offer (“Third Party Offer”), subject to the requirements set forth in Section VIII.
 of this Agreement. The closing of any transaction involving a Third Party Offer shall be consummated no
 later than one hundred and eighty (180) days after the date on which the written Offer was first delivered
 to Franchisor. In the event a transaction involving a Third Party Offer is not closed within the foregoing
 time period, the proposed sale shall again be subject to Franchisor’s right of first offer as described herein,
 unless such subsequent right is waived by Franchisor in writing. Any material change in the terms of any
 Third Party Offer prior to closing shall constitute a new Offer to Franchisor, and shall be subject to the
 same right of first offer restrictions set forth above. Failure or refusal of Franchisor to exercise the option
 afforded by this Section VIII.D. shall not constitute a waiver of any other provision of this Agreement,
 including all of the requirements of this Section VIII. relating to a proposed transfer. Failure of Developer
 or a Controlling Principal to comply with the provisions of this Section VIII.D. prior to the transfer of any
 interest in this Agreement or a controlling interest in Developer shall constitute a material event of default
 under this Agreement. Franchisor shall be entitled to assign any and all of its options in this Section to any
 other party, without the consent of Developer.

          E.       (1)     Upon the death of Developer (if Developer is a natural person) or any Controlling
 Principal who has an interest in this Agreement or Developer (the “Deceased”), the executor, administrator
 or other personal representative of the Deceased shall transfer the Deceased’s interest to either the
 beneficiary named in the Deceased’s will or, if no such beneficiary has been designated, to the deceased’s
 spouse, heirs, or other blood relatives through operation of law; provided, however, any such transferee(s)
 must be approved by Franchisor. If Franchisor, in its sole and absolute discretion, disapproves of such
 transferee(s), then such transferee(s) shall transfer the Deceased’s interest to a third party transferee
 approved by Franchisor within twelve (12) months after the Deceased’s death. If no personal representative
 is designated or appointed or no probate proceedings are instituted with respect to the estate of the Deceased,
 then the distributee of such interest must be approved by Franchisor, which approval may not be
 unreasonably withheld or delayed. If the distributee is not approved by Franchisor, then the distributee
 shall transfer such interest to a third party approved by Franchisor within twelve (12) months after the death
 of the Deceased.

                   (2)      Upon the permanent disability of Developer (if Developer is a natural person) or
 any Controlling Principal who has an interest in this Agreement or Developer, Franchisor may, in its
 reasonable discretion, require such interest to be transferred to a third party approved by Franchisor within
 six (6) months after notice to Developer. “Permanent disability” shall mean any physical, emotional or
 mental injury, illness or incapacity which would prevent a person from performing the obligations set forth
 in this Agreement or in the guaranty made part of this Agreement for at least ninety (90) consecutive days
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 unlikely. Permanent disability shall be determined upon examination of the person by a licensed practicing
 physician approved by Franchisor; or if the person refuses to submit to an examination, then such person
 shall be automatically deemed permanently disabled as of the date of such refusal for the purpose of this
 Section VIII.E. The costs of any examination required by this Section shall be paid by Franchisor. For
 purposes of clarification, Developer (or its authorized representative) shall have the right to select the
 licensed physician for such examination. Franchisor only reserves the right to approve of the physician
 selected as Franchisor shall be paying the costs. Franchisor’s approval of a physician Developer (or its
 authorized representative) selects shall not be unreasonably withheld, delayed, or conditioned. Franchisor’s
 review and approval process of the selected physician shall primarily include (i) whether the physician is
 in fact licensed to practice and is in good standing, and (ii) whether the costs charged by the physician are
 commensurate with the costs typically charged by other physicians in his/her field.

                  (3)      Upon the death or certification of permanent disability of Developer or any
 Controlling Principal, Developer or a representative of Developer must promptly notify Franchisor of such
 death or claim of permanent disability. Any transfer upon death or certification of permanent disability
 shall be subject to the same terms and conditions as described in this Section VIII. for any inter vivos
 transfer. If an interest is not transferred upon death or permanent disability as required in this Section
 VIII.E., then such failure shall constitute a material event of default under this Agreement.

           F.    Franchisor’s consent to a transfer of any interest in Developer or in this Agreement
 described herein shall not constitute a waiver of any claims it may have against the transferring party, nor
 shall it be deemed a waiver of Franchisor’s right to demand material compliance with any of the terms of
 this Agreement by the transferee.

          G.     Notwithstanding the provisions of this Section VIII. to the contrary, the Controlling
 Principals may freely transfer their ownership interests in Developer among themselves and the
 Franchisor’s right of first offer described in Section VIII.D. shall be inapplicable with respect to such
 transfers so long as prior written notification and identification of the transferees is timely given to the
 Franchisor. In addition, the Controlling Principals may transfer their interests to their respective family
 members (or trusts created for the benefit of such family members) for estate planning purposes with
 Franchisor’s prior written consent (which consent shall not be unreasonably withheld).

          H.      Neither securities nor partnership interests in Developer shall be offered directly or
 indirectly in any public offering including, without limitation, any offering that requires registration under
 United States securities laws or similar laws of a foreign country or would require registration on any United
 States stock exchange or similar trading venue. Developer and the Controlling Principals agree and
 acknowledge that the restriction contained in this Section VIII.H. is reasonable, does not unduly restrain
 Developer’s or the Controlling Principals’ ability to affect a transfer under Section VIII.B.(2), and
 materially benefits the System, Developer, and the Controlling Principals.

         I.        In the event of any inconsistency between the terms of this Section VIII. and the
 corresponding terms of any Other Agreement signed by Developer, the Controlling Principals, and/or their
 respective affiliates, the terms of this Section VIII. shall prevail.

 IX.      COVENANTS

          A.      Developer and the Operating Principal covenant that during the term of this Agreement,
 except as otherwise approved in writing by Franchisor, Developer and the Operating Principal (and the
 approved designee for Operating Principal) shall devote reasonably sufficient (as determined in the sole
 discretion of Franchisor) time, energy and best efforts to the management and operation of the development
 activities contemplated under this Agreement.



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          B.       Developer and each of the Controlling Principals shall not, during the term of this
 Agreement and thereafter, communicate or divulge to, or use for the benefit of, any other person, persons,
 partnership, association or corporation and, following the termination or expiration of this Agreement, shall
 not use for their own benefit, any confidential information, knowledge, know-how or recipes concerning
 the methods of development and operation of the Restaurants which may be communicated to Developer
 or any of the Controlling Principals or of which they may be apprised under this Agreement, except in
 connection with the operation of Restaurants operating under Franchisor’s Franchise Agreements.
 Developer and each of the Controlling Principals shall disclose such confidential information only to the
 Controlling Principals and Developer’s personnel who must have access to it in connection with their
 employment with Developer. Any and all information, knowledge, know-how, techniques and any
 materials used in or related to the System which Franchisor provides to Developer in connection with this
 Agreement shall be deemed confidential for the purposes of this Agreement. Neither Developer nor the
 Controlling Principals shall at any time, without Franchisor’s prior written consent, copy, duplicate, record
 or otherwise reproduce such materials or information, in whole or in part, nor otherwise make the same
 available to any unauthorized person. The covenant in this Section shall survive the expiration, termination
 or transfer of this Agreement or any interest herein and shall be perpetually binding upon Developer and
 each of the Controlling Principals.

                   C.      Developer and the Controlling Principals specifically acknowledge that, pursuant
 to this Agreement, Developer and the Controlling Principals shall receive valuable training, trade secrets
 and confidential information which are beyond the present skills and experience of Developer and the
 Controlling Principals and Developer’s managers and employees and that Developer has the right and the
 obligation, arising from this Agreement, to develop the Territory for the benefit of the System. Developer
 and the Controlling Principals acknowledge that such specialized training, trade secrets and confidential
 information provide a competitive advantage and shall be valuable to them in the development and
 operation of the Restaurants and that gaining access to such specialized training, trade secrets and
 confidential information is, therefore, a primary reason for entering into this Agreement. In consideration
 for such specialized training, trade secrets, confidential information and rights, Developer and the
 Controlling Principals covenant that with respect to Developer, during the term of this Agreement (or with
 respect to each of the Controlling Principals, during the term of this Agreement for so long as such
 individual or entity satisfies the definition of “Controlling Principals” as described in Section XIV.E. of
 this Agreement) except as otherwise approved in writing by Franchisor, which approval shall not be
 unreasonably withheld or delayed, neither Developer nor any of the Controlling Principals shall, either
 directly or indirectly, for themselves, or through, on behalf of or in conjunction with any person(s),
 partnership or corporation:

                  (1)      Divert, or attempt to divert, any business or customer of the business described
 hereunder to any competitor, by direct or indirect inducement or otherwise, or do or perform, directly or
 indirectly, any other act injurious or prejudicial to the goodwill associated with the Marks and the System.

                   (2)     Own, maintain, operate, engage in, or have any financial or beneficial interest in
 (including any interest in corporations, partnerships, trusts, unincorporated associations or joint ventures),
 advise, assist, or make loans to any restaurant brand that specializes in the service of primarily (individually
 or collectively) hamburgers, hot dogs, or french fries - or related iterations thereof (e.g., cheeseburgers) -
 and has locations operating in the United States or any other country, province, or geographic area in which
 the Marks have either been registered or where Franchisor and/or its affiliate have sought registration of
 the Marks (any such restaurant brand, a “Competing Restaurant”). For purposes of clarification, any
 restaurant brand that derives, or shall reasonably derive, twenty five percent (25%) or less of its annual
 revenue from the collective sale of hamburgers, hot dogs, and french fries (including related iterations
 thereof (e.g., cheeseburgers)) shall not be deemed a Competing Restaurant. Additionally, so long as
 Developer and the Controlling Principals adhere to the confidentiality restrictions set forth in this
 Agreement and in each of the Other Agreements, the restrictions contained in this Section IX.C.(2) shall
 also not apply to any Competing Restaurant owned and operated by entities in which Developer or a
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 Controlling Principal owns only a nominal (i.e., ten percent (10%) or less), passive, and non-voting equity
 interest.

          D.       With respect to Developer, and for a continuous uninterrupted period commencing upon
 the expiration or termination of, or transfer of all of Developer’s interest in, this Agreement (or with respect
 to each of the Controlling Principals, commencing upon the earlier of: (i) the expiration, termination of, or
 transfer of all of Developer’s interest in this Agreement or (ii) the time such individual or entity ceases to
 satisfy the definition of “Controlling Principals” as described in Section XIV.E. of this Agreement), and
 continuing for two (2) years thereafter, except as otherwise approved in writing by Franchisor, neither
 Developer nor any of the Controlling Principals shall, either directly or indirectly, for themselves or
 through, on behalf of or in conjunction with any person(s), partnership or corporation:

                  (1)      Divert, or attempt to divert, any business or customer of the business described
 hereunder to any competitor, by direct or indirect inducement or otherwise, or do or perform, directly or
 indirectly, any other act injurious or prejudicial to the goodwill associated with the Marks and the System.

                   (2)    Own, maintain, operate, engage in or have any financial or beneficial interest in
 (including any interest in corporations, partnerships, trusts, unincorporated associations or joint ventures),
 advise, assist or make loans to, any Competing Restaurant, which business is, or is intended to be, located
 within the Territory or within a twenty-five (25) mile radius of the location of any Restaurant in existence
 or under construction at any given time during such period. So long as Developer and the Controlling
 Principals adhere to the confidentiality restrictions set forth in this Agreement and in each of the Other
 Agreements, the restrictions contained in this Section IX.D.(2) shall also not apply to any Competing
 Restaurant owned and operated by entities in which Developer or a Controlling Principal owns only a
 nominal (i.e., ten percent (10%) or less), passive, and non-voting equity interest.

          E.       The parties acknowledge and agree that each of the covenants contained herein are
 reasonable limitations as to time, geographical area, and scope of activity to be restrained and do not impose
 a greater restraint than is necessary to protect the goodwill or other business interests of Franchisor. The
 parties agree that each of the above covenants shall be construed as independent of any other covenant or
 provision of this Agreement. If all or any portion of a covenant in this Section IX. is held unreasonable or
 unenforceable by a court or agency having valid jurisdiction in an unappealed final decision to which
 Franchisor is a party, Developer and the Controlling Principals expressly agree to be bound by any lesser
 covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
 as if the resulting covenant were separately stated in and made a part of this Section.

         F.       Developer and the Controlling Principals understand and acknowledge that Franchisor
 shall have the right, in its reasonable discretion, to reduce the scope of any covenant set forth in Section
 IX.B., or any portion thereof, without their consent, effective immediately upon notice to Developer; and
 Developer and the Controlling Principals agree that they shall immediately comply with any covenant as
 so modified, which shall be fully enforceable notwithstanding the provisions of Section XV.A.

         G.       Developer and the Controlling Principals expressly agree that the existence of any claims
 they may have against Franchisor, whether or not arising from this Agreement, shall not constitute a defense
 to the enforcement by Franchisor of the covenants in this Section IX. Developer and the Controlling
 Principals agree to pay all costs and expenses (including reasonable attorneys’ fees) incurred by Franchisor
 in connection with the successful enforcement of this Section.

         H.      Failure to comply with the requirements of this Section shall constitute a material event of
 default under this Agreement. Developer and the Controlling Principals acknowledge that a violation of
 this Section would result in irreparable injury to Franchisor for which no adequate remedy at law may be
 available, and Developer and the Controlling Principals accordingly consent to the issuance of an injunction
 prohibiting any conduct by Developer or the Controlling Principals in violation of the terms of this Section.
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 Developer and the Controlling Principals agree to pay all court costs and reasonable legal fees incurred by
 Franchisor in obtaining specific performance, injunctive relief or any other remedy available to Franchisor
 for any violation of the requirements of this Section.

 X.       INDEPENDENT CONTRACTOR AND INDEMNIFICATION

          A.     The parties acknowledge and agree that this Agreement does not create a fiduciary
 relationship between them, that Developer shall be an independent contractor and that nothing in this
 Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint venturer,
 partner, employee, joint employer or servant of the other for any purpose.

          B.       During the term of this Agreement, Developer shall hold itself out to the public as an
 independent contractor conducting its development operations pursuant to development rights granted by
 Franchisor. Developer agrees to take such action as shall be necessary to that end, including, without
 limitation, exhibiting a notice of that fact in a conspicuous place in any Restaurant established under any
 Franchise Agreement for the purposes hereunder, the content and form of which Franchisor reserves the
 right to specify in writing.

          C.      Developer understands and agrees that nothing in this Agreement authorizes Developer or
 any of the Controlling Principals to make any contract, agreement, warranty or representation on
 Franchisor’s behalf, or to incur any debt or other obligation in Franchisor’s name and that Franchisor shall
 in no event assume liability for, or be deemed liable under this Agreement as a result of, any such action,
 or for any act or omission of Developer or any of the Controlling Principals or any claim or judgment
 arising therefrom.

         D.       (1)     Developer and each of the Controlling Principals shall, at all times, indemnify and
 hold harmless to the fullest extent permitted by law Franchisor and its affiliates, successors and assigns,
 their respective partners and affiliates, and the officers, directors, shareholders, partners, agents,
 representatives, independent contractors, independent contractors, servants and employees of each of them
 (“Indemnitees”) from all “losses and expenses” (as defined in Section X.D.(4)(b) below) incurred in
 connection with any action, suit, proceeding, claim, demand, investigation or inquiry (formal or informal),
 or any settlement thereof (whether or not a formal proceeding or action has been instituted) which arises
 out of or is based upon any of the following:

                         (a)     The infringement, alleged infringement, or any other violation or alleged
 violation by Developer or any of the Controlling Principals of any patent, mark, copyright or other
 proprietary right owned or controlled by third parties (except as such may occur with respect to any rights
 to use the Marks, any copyrights or other proprietary information granted to Developer under an Franchise
 Agreement);

                          (b)     The violation, breach or asserted violation or breach by Developer or any
 of the Controlling Principals of any federal, state or local law, regulation, ruling, standard or directive, or
 any industry standard;

                         (c)     Libel, slander or any other form of defamation of Franchisor, the System,
 or any developer or franchisee under the System, by Developer or by any of the Controlling Principals;

                            (d)      The violation or breach by Developer or by any of the Controlling
 Principals of any warranty, representation, agreement or obligation in this Agreement or in any Franchise
 Agreement or other agreement between Developer or any of its affiliates and Franchisor or any of its
 affiliates, their respective partners, or the officers, directors, shareholders, partners, agents, representatives,
 independent contractors and employees of any of them; and

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                          (e)    Acts, errors or omissions of Developer, any of Developer’s affiliates and
 any of the Controlling Principals and the officers, directors, shareholders, partners, agents, independent
 contractors, servants, employees and representatives of Developer and its affiliates in connection with the
 performance of the development activities contemplated under this Agreement or the establishment and
 operation of any Restaurant pursuant to an Franchise Agreement.

                 (2)     Developer and each of the Controlling Principals agree to give Franchisor
 immediate notice of any such action, suit, proceeding, claim, demand, inquiry or investigation. At the
 expense and risk of Developer and each of the Controlling Principals, Franchisor may elect to control (but
 under no circumstance is obligated to undertake), and associate counsel of its own choosing with respect
 to, the defense and/or settlement of any such action, suit, proceeding, claim, demand, inquiry or
 investigation. Such an undertaking by Franchisor shall, in no manner or form, diminish the obligation of
 Developer and each of the Controlling Principals to indemnify the Indemnitees and to hold them harmless.

                  (3)     In order to protect persons or property or its reputation or goodwill, or the
 reputation or goodwill of others, Franchisor may, upon written notice to and written consent from the
 Developer (which consent shall not be unreasonably withheld, delayed, or conditioned), consent or agree
 to settlements or take such other remedial or corrective action as it deems expedient with respect to the
 action, suit, proceeding, claim, demand, inquiry or investigation if, in Franchisor’s reasonable judgment,
 there are reasonable grounds to believe that:

                             (a)      any of the acts or circumstances enumerated in Section X.D.(1) above has
 occurred; or

                            (b)    any act, error or omission as described in Section X.D.(1)(e) may result
 directly or indirectly in damage, injury or harm to any person or any property.

                  (4)     (a)      All losses and expenses incurred under this Section X. shall be chargeable
 to and paid by Developer or any of the Controlling Principals pursuant to its obligations of indemnity under
 this Section, regardless of any action, activity or defense undertaken by Franchisor or the subsequent
 success or failure of such action, activity or defense.

                          (b)       As used in this Section X., the phrase “losses and expenses” shall include,
 without limitation, all losses, compensatory, exemplary or punitive damages, fines, charges, costs,
 expenses, legal fees, court costs, settlement amounts, judgments, compensation for damages to Franchisor’s
 reputation and goodwill, costs of or resulting from delays, financing, costs of advertising material and media
 time/space and costs of changing, substituting or replacing the same, and any and all expenses of recall,
 refunds, compensation, public notices and other such amounts incurred in connection with the matters
 described.

                   (5)     The Developer and each of the Controlling Principals shall hold harmless and
 indemnify the Indemnitees for all losses and expenses which may arise out of any acts, errors or omissions
 of Developer, the Controlling Principals, Developer’s affiliates, the officers, directors, shareholders,
 partners, agents, representatives, independent contractors and employees of Developer and its affiliates and
 any such third parties unless (and then only to the extent that) the claims, obligations, or damages are
 determined to be caused by an Indemnitees’ negligence or willful misconduct in a ruling issued by a third
 party arbitrator or a court with competent jurisdiction pursuant to the procedures set forth in Section XV.B.
 of this Agreement. For purposes of clarification, any finding by a third party arbitrator or a court with
 competent jurisdiction that the cause of causes of any of such liability is jointly or partly due to the
 negligence of both an Indemnitee, on one hand, as well as the Developer (or any affiliate) or any Controlling
 Principal, on the other hand, shall not relieve the Developer and/or any Controlling Principal from the pro
 rata share of their indemnification obligations as contemplated herein.

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                 (6)      Under no circumstances shall the Indemnitees be required or obligated to seek
 recovery from third parties or otherwise mitigate their losses to maintain a claim against Developer or any
 of the Controlling Principals. Developer and each of the Controlling Principals agree that the failure to
 pursue such recovery or mitigate loss shall in no way reduce the amounts recoverable from Developer or
 any of the Controlling Principals by the Indemnitees.

                  (7)     For purposes of clarification, the maximum financial liability to Franchisor for any
 payment default by Developer or any Controlling Principal under this Agreement or any related guaranty
 shall be limited to One Hundred Thousand Dollars ($100,000) per Controlling Principal per Restaurant.

                (8)      Developer and the Controlling Principals expressly agree that the terms of this
 Section X.D. shall survive the termination, expiration or transfer of this Agreement or any interest herein.

 XI.      APPROVALS

         A.      Whenever this Agreement requires the prior approval or consent of Franchisor, Developer
 shall make a timely written request to Franchisor and such approval or consent shall be obtained in writing.

         B.      By providing any waiver, approval, advice, consent or suggestion to Developer in
 connection with this Agreement (or by reason of any neglect, delay or denial of any request therefore),
 Franchisor makes no warranties or guarantees upon which Developer may rely and assumes no liability or
 obligation to Developer or any third party to which it would not otherwise be subject.

 XII.     NON-WAIVER AND REMEDIES

         A.       No delay, waiver, omission or forbearance on the part of Franchisor to exercise any right,
 option, duty or power arising out of any breach or default by Developer or the Controlling Principals under
 this Agreement shall constitute a waiver by Franchisor to enforce any such right, option, duty or power
 against Developer or the Controlling Principals, or as to a subsequent breach or default by Developer or the
 Controlling Principals. Acceptance by Franchisor of any payments due to it hereunder subsequent to the
 time at which such payments are due shall not be deemed to be a waiver by Franchisor of any preceding
 breach by Developer or the Controlling Principals of any terms, provisions, covenants or conditions of this
 Agreement.

          B.       All rights and remedies of the parties to this Agreement shall be cumulative and not
 alternative, in addition to and not exclusive of any other rights or remedies which are provided for herein
 or which may be available at law or in equity in case of any breach, failure or default or threatened breach,
 failure or default of any term, provision or condition of this Agreement or any other agreement between
 Developer or any of its affiliates and Franchisor or any of its affiliates. The rights and remedies of the
 parties to this Agreement shall be continuing and shall not be exhausted by any one or more uses thereof
 and may be exercised at any time or from time to time as often as may be expedient; and any option or
 election to enforce any such right or remedy may be exercised or taken at any time and from time to time.
 The expiration, earlier termination or exercise of Franchisor’s rights pursuant to Section VII. of this
 Agreement shall not discharge or release Developer or any of the Controlling Principals from any liability
 or obligation then accrued, or any liability or obligation continuing beyond, or arising out of, the expiration,
 the earlier termination or the exercise of such rights under this Agreement. Additionally, the non-prevailing
 party shall pay all court costs and reasonable attorneys’ fees incurred by the prevailing party in obtaining
 any remedy available for any violation of this Agreement.

 XIII.    NOTICES

         Any and all notices required or permitted under this Agreement shall be in writing and shall be
 personally delivered or sent by expedited delivery service or certified or registered mail, return receipt
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 requested, first-class postage prepaid, or sent by electronic mail to the respective parties at the following
 addresses unless and until a different address has been designated by written notice to the other party:

          Notices to Franchisor:            Five Guys Franchisor, LLC
                                            10718 Richmond Highway
                                            Lorton, Virginia 22079
                                            Attention: Legal Department
                                            Email: franchise@fiveguys.com

          With a copy to:                   Polsinelli PC
                                            1401 Eye Street, NW, Suite 800
                                            Washington, D.C. 20005
                                            Attention: Diana Vilmenay, Esq.
                                            Email: dvilmenay@polsinelli.com

          Notices to Developer and
          the Controlling Principals:


                                            Attention:
                                            Email:

          Any notice shall be deemed to have been given at the time of personal delivery or, in the case of
 facsimile or electronic mail, upon transmission or, in the case of expedited delivery service or registered or
 certified mail, three (3) business days after the date and time of mailing. Business days for the purpose of
 this Agreement exclude Saturday, Sunday and the following national holidays: New Year’s Day, Martin
 Luther King Day, Presidents’ Day, Memorial Day, Independence Day, Labor Day, Columbus Day,
 Veterans Day, Thanksgiving and Christmas.

 XIV.     SEVERABILITY AND CONSTRUCTION

          A.      Except as expressly provided to the contrary herein, each portion, section, part, term and
 provision of this Agreement shall be considered severable; and if, for any reason, any portion, section, part,
 term or provision is determined to be invalid and contrary to or in conflict with any existing or future law
 or regulation by a court or agency having valid jurisdiction, this shall not impair the operation of, or have
 any other effect upon, the other portions, sections, parts, terms or provisions of this Agreement that may
 remain otherwise intelligible, and the latter shall continue to be given full force and effect and bind the
 parties; the invalid portions, sections, parts, terms or provisions shall be deemed not to be part of this
 Agreement; and there shall be automatically added such portion, section, part, term or provision as similar
 as possible to that which was severed which shall be valid and not contrary to or in conflict with any law
 or regulation.

          B.      Except as expressly provided to the contrary herein, nothing in this Agreement is intended,
 nor shall be deemed, to confer upon any person or legal entity other than Developer and Franchisor, its
 officers, directors and personnel and such of Developer’s and Franchisor’s respective successors and
 assigns as may be contemplated (and, as to Developer, authorized by Section VIII.) any rights or remedies
 under or as a result of this Agreement.

         C.        All captions in this Agreement are intended solely for the convenience of the parties and
 shall not affect the meaning or construction of any provision of this Agreement.

        D.      All references to the masculine, neuter or singular shall be construed to include the
 masculine, feminine, neuter or plural, where applicable. Without limiting the obligations individually
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 undertaken by the Controlling Principals under this Agreement, all acknowledgments, promises, covenants,
 agreements and obligations made or undertaken by Developer in this Agreement shall be deemed jointly
 and severally undertaken by all of the Controlling Principals.

          E.      The term “Controlling Principals” shall include, collectively and individually, (i)
 Developer’s spouse, if Developer is an individual, and (ii) all holders of ten (10%) percent or more of the
 total ownership interest in Developer or of any entity directly or indirectly controlling Developer, and (iii)
 any other person or entity controlling, controlled by or under common control with Developer. As used in
 this Section XIV.E., the terms “control” and “controlling” shall mean the power to influence the
 management decisions of the specified person and shall in any case be deemed to exist where such person
 holds ten (10%) percent or more of the total ownership interest in the Developer, serves on any board of
 directors or comparable body of the Developer, or acts as an officer, general partner or manager thereof. If
 Developer is operating as a legal entity as contemplated hereunder, the persons holding an interest in the
 capital stock of Developer shall each be listed on Attachment B.

        F.      This Agreement may be executed in counterparts and each copy so executed shall be
 deemed an original.

          G.      This Agreement shall not become effective until signed by the President, Chief Executive
 Officer, or Secretary of Franchisor.

          H.       Each reference in this Agreement to a corporation or partnership shall be deemed to also
 refer to a limited liability company and any other entity or organization similar thereto. Each reference to
 the organizational documents, equity owners, directors, and officers of a corporation in this Agreement
 shall be deemed to refer to the functional equivalents of such organizational documents, equity owners,
 directors, and officers, as applicable, in the case of a limited liability company or any other entity or
 organization similar thereto.

          I.       Notwithstanding anything in this Agreement to contrary, Developer and its officers,
 directors, shareholders, agents and representatives, may, in accordance with any applicable law including
 the federal Defend Trade Secrets Act, disclose Confidential Information, including Franchisor’s trade
 secrets, (a) in confidence, to federal, state, or local government officials, or to an attorney of Developer, for
 the sole purpose of reporting or investigating a suspected violation of law; or (b) in a document filed in a
 lawsuit or other legal proceeding, but only if the filing is made under seal and protected from public
 disclosure. Nothing in this Agreement is intended to conflict with any applicable law or create liability for
 disclosures expressly allowed by law.

 XV.   ENTIRE           AGREEMENT;          APPLICABLE          LAW;      MEDIATION;          ARBITRATION;
 LITIGATION

          A.      This Agreement, the documents referred to herein and the attachments hereto constitute the
 entire, full and complete agreement between Franchisor and Developer and the Controlling Principals
 concerning the subject matter hereof and shall supersede all prior related agreements between Franchisor
 and Developer and the Controlling Principals; provided, however, that nothing in this or any related
 agreement is intended to disclaim the representations made by Franchisor in the Disclosure Document that
 was furnished to Developer by Franchisor. Except for those permitted to be made unilaterally by Franchisor
 hereunder, no amendment, change or variance from this Agreement shall be binding on either party unless
 mutually agreed to by the parties and executed by their authorized officers or agents in writing.

      B.    (1)  EXCEPT AS PROVIDED IN THIS AGREEMENT, FRANCHISOR,
 DEVELOPER AND THE CONTROLLING PRINCIPALS AGREE THAT ANY CLAIM,
 CONTROVERSY OR DISPUTE ARISING OUT OF OR RELATING TO THE FRANCHISE,
 DEVELOPER’S DEVELOPMENT ACTIVITIES, ESTABLISHMENT OR OPERATION OF ANY
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 RESTAURANT UNDER THIS AGREEMENT (AND ANY AMENDMENTS THERETO) INCLUDING,
 BUT NOT LIMITED TO, ANY CLAIM BY DEVELOPER, OR ANY OF THE CONTROLLING
 PRINCIPALS, OR PERSONS CLAIMING ON BEHALF OF DEVELOPER OR THE CONTROLLING
 PRINCIPALS, CONCERNING THE ENTRY INTO, THE PERFORMANCE UNDER OR THE
 TERMINATION OF THE AGREEMENT, OR ANY OTHER AGREEMENT BETWEEN
 FRANCHISOR, OR ITS AFFILIATES, AND DEVELOPER, ANY CLAIM AGAINST A PAST OR
 PRESENT OFFICER, DIRECTOR, EMPLOYEE OR AGENT OF FRANCHISOR, INCLUDING THOSE
 OCCURRING SUBSEQUENT TO THE TERMINATION OF THIS AGREEMENT, THAT CANNOT
 BE AMICABLY SETTLED AMONG THE PARTIES OR THROUGH MEDIATION SHALL, EXCEPT
 AS SPECIFICALLY SET FORTH HEREIN AND IN SECTION XV.D., BE REFERRED TO
 ARBITRATION.    THE ARBITRATION SHALL BE CONDUCTED BY THE AMERICAN
 ARBITRATION ASSOCIATION IN ACCORDANCE WITH THE RULES OF THE AMERICAN
 ARBITRATION ASSOCIATION, AS AMENDED, EXCEPT THAT THE ARBITRATOR SHALL
 APPLY THE FEDERAL RULES OF EVIDENCE DURING THE CONDUCT OF THE HEARING
 SESSIONS WITH RESPECT TO THE ADMISSIBILITY OF EVIDENCE. IF SUCH RULES ARE IN
 ANY WAY CONTRARY TO OR IN CONFLICT WITH THIS AGREEMENT, THE TERMS OF THE
 AGREEMENT SHALL CONTROL.        ONLY CLAIMS, CONTROVERSIES OR DISPUTES
 INVOLVING DEVELOPER AND THE CONTROLLING PRINCIPALS MAY BE BROUGHT
 HEREUNDER. NO CLAIM FOR OR ON BEHALF OF ANY OTHER DEVELOPER, FRANCHISEE
 OR SUPPLIER, OR CLASS, REPRESENTATIVE OR ASSOCIATION THEREOF, MAY BE
 BROUGHT BY DEVELOPER OR THE CONTROLLING PRINCIPALS HEREUNDER.

              (2)    THE PARTIES SHALL AGREE ON AN ARBITRATOR WITHIN FIFTEEN
 (15) DAYS OF THE FILING OF ARBITRATION. IF THE PARTIES CANNOT AGREE ON A SINGLE
 ARBITRATOR, FRANCHISOR AND DEVELOPER (OR CONTROLLING PRINCIPAL, AS
 APPLICABLE) SHALL EACH SELECT ONE (1) ARBITRATOR. IF THE PARTY UPON WHOM THE
 DEMAND FOR ARBITRATION IS SERVED FAILS TO SELECT AN ARBITRATOR WITHIN
 FIFTEEN (15) DAYS AFTER THE RECEIPT OF THE DEMAND FOR ARBITRATION, THEN THE
 ARBITRATOR SO DESIGNATED BY THE PARTY REQUESTING ARBITRATION SHALL ACT AS
 THE SOLE ARBITRATOR TO RESOLVE THE CONTROVERSY AT HAND. THE TWO
 ARBITRATORS DESIGNATED BY THE PARTIES SHALL SELECT A THIRD ARBITRATOR. IF
 THE TWO ARBITRATORS DESIGNATED BY THE PARTIES FAIL TO SELECT A THIRD
 ARBITRATOR WITHIN FIFTEEN (15) DAYS, THE THIRD ARBITRATOR SHALL BE SELECTED
 BY THE AMERICAN ARBITRATION ASSOCIATION OR ANY SUCCESSOR THERETO UPON
 APPLICATION BY EITHER PARTY. ALL OF THE ARBITRATORS SHALL BE EXPERIENCED IN
 THE ARBITRATION OF DISPUTES BETWEEN FRANCHISORS AND DEVELOPERS. THE
 ARBITRATION SHALL TAKE PLACE IN LORTON, VIRGINIA OR AT THE OFFICES OF THE
 AMERICAN ARBITRATION ASSOCIATION WHICH ARE NEAREST TO FRANCHISOR’S
 CORPORATE OFFICES. THE ARBITRATION SHALL BE CONDUCTED ON AN INDIVIDUAL
 BASIS, AND NOT AS PART OF A CONSOLIDATED, COMMON, OR CLASS ACTION, AND
 DEVELOPER AND ITS CONTROLLING PRINCIPALS WAIVE ANY AND ALL RIGHTS TO
 PROCEED ON A CONSOLIDATED, COMMON, OR CLASS BASIS. DEVELOPER AGREES NOT
 TO SEEK JOINDER OF ANY OF DEVELOPER’S CLAIMS WITH THOSE OF ANY OTHER PARTY.
 THE AWARD OF THE ARBITRATORS SHALL BE FINAL AND JUDGMENT UPON THE AWARD
 RENDERED IN ARBITRATION MAY BE ENTERED IN ANY COURT HAVING JURISDICTION
 THEREOF. THE COSTS AND EXPENSES OF ARBITRATION MAY BE ENTERED IN ANY COURT
 HAVING JURISDICTION THEREOF. THE ARBITRATORS SHALL BE REQUIRED TO SUBMIT
 WRITTEN FINDINGS OF FACT AND CONCLUSIONS OF LAW WITHIN THIRTY (30) BUSINESS
 DAYS FOLLOWING THE FINAL HEARING SESSION OF THE ARBITRATION. THE
 ARBITRATION PROCEEDINGS AND ARBITRATION AWARD SHALL BE MAINTAINED BY THE
 PARTIES AS STRICTLY CONFIDENTIAL, EXCEPT AS IS OTHERWISE REQUIRED BY LAW OR
 COURT ORDER OR AS IS NECESSARY TO CONFIRM, VACATE, OR ENFORCE THE AWARD
 AND FOR DISCLOSURE IN CONFIDENCE TO THE PARTIES’ RESPECTIVE ATTORNEYS AND
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 TAX ADVISORS. THE COSTS AND EXPENSES OF ARBITRATION, INCLUDING
 COMPENSATION AND EXPENSES OF THE ARBITRATORS, SHALL BE BORNE BY THE
 PARTIES AS THE ARBITRATORS DETERMINE.

             (3)  NOTWITHSTANDING THE ABOVE, THE FOLLOWING SHALL NOT BE
 SUBJECT TO ARBITRATION:

                  (i)  DISPUTES AND CONTROVERSIES ARISING FROM THE
 SHERMAN ACT, THE CLAYTON ACT OR ANY OTHER FEDERAL OR STATE ANTITRUST LAW;

                 (ii)  DISPUTES AND CONTROVERSIES BASED UPON OR ARISING
 UNDER THE LANHAM ACT, AS NOW OR HEREAFTER AMENDED, RELATING TO THE
 OWNERSHIP OR VALIDITY OF THE TRADEMARKS;

                 (iii) DISPUTES AND CONTROVERSIES RELATING TO ACTIONS TO
 OBTAIN POSSESSION OF THE PREMISES OF THE RESTAURANT UNDER LEASE OR
 SUBLEASE.

            (4)   IN PROCEEDING WITH ARBITRATION AND IN MAKING
 DETERMINATIONS HEREUNDER, THE ARBITRATORS SHALL NOT EXTEND, MODIFY OR
 SUSPEND ANY TERMS OF THIS AGREEMENT OR THE REASONABLE STANDARDS OF
 BUSINESS PERFORMANCE AND OPERATION ESTABLISHED BY FRANCHISOR IN GOOD
 FAITH. NOTICE OF OR REQUEST TO OR DEMAND FOR ARBITRATION SHALL NOT STAY,
 POSTPONE OR RESCIND THE EFFECTIVENESS OF ANY TERMINATION OF THIS
 AGREEMENT. THE ARBITRATORS SHALL APPLY VIRGINIA LAW AND THE TERMS OF THIS
 AGREEMENT IN REACHING THEIR DECISION.

        C.   WITH RESPECT TO ANY CLAIMS, CONTROVERSIES OR DISPUTES WHICH ARE
 NOT FINALLY RESOLVED THROUGH ARBITRATION AS OTHERWISE PROVIDED ABOVE,
 DEVELOPER AND THE CONTROLLING PRINCIPALS HEREBY IRREVOCABLY SUBMIT
 THEMSELVES TO THE JURISDICTION OF THE STATE COURTS OF FAIRFAX COUNTY,
 VIRGINIA AND THE FEDERAL DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA.
 DEVELOPER AND THE CONTROLLING PRINCIPALS HEREBY WAIVE ALL QUESTIONS OF
 PERSONAL JURISDICTION FOR THE PURPOSE OF CARRYING OUT THIS PROVISION.
 DEVELOPER AND THE CONTROLLING PRINCIPALS HEREBY AGREE THAT SERVICE OF
 PROCESS MAY BE MADE UPON ANY OF THEM IN ANY PROCEEDING RELATING TO OR
 ARISING OUT OF THIS AGREEMENT OR THE RELATIONSHIP CREATED BY THIS
 AGREEMENT BY ANY MEANS ALLOWED BY VIRGINIA OR FEDERAL LAW. DEVELOPER
 AND THE CONTROLLING PRINCIPALS FURTHER AGREE THAT VENUE FOR ANY
 PROCEEDING RELATING TO OR ARISING OUT OF THIS AGREEMENT SHALL BE FAIRFAX
 COUNTY, VIRGINIA; PROVIDED, HOWEVER, WITH RESPECT TO ANY ACTION (1) FOR
 MONIES OWED, (2) FOR INJUNCTIVE OR OTHER EXTRAORDINARY RELIEF, OR
 (3) INVOLVING POSSESSION OR DISPOSITION OF, OR OTHER RELIEF RELATING TO, REAL
 PROPERTY, FRANCHISOR MAY BRING SUCH ACTION IN ANY STATE OR FEDERAL DISTRICT
 COURT WHICH HAS JURISDICTION. WITH RESPECT TO ALL CLAIMS, CONTROVERSIES,
 DISPUTES OR ACTIONS RELATED TO THIS AGREEMENT OR THE RELATIONSHIP CREATED
 THEREBY, THIS AGREEMENT AND ANY SUCH RELATED CLAIMS, CONTROVERSIES,
 DISPUTES OR ACTIONS SHALL BE GOVERNED, ENFORCED, AND INTERPRETED UNDER
 VIRGINIA LAW (EXCEPT FOR VIRGINIA CHOICE OF LAW RULES).

      D.   DEVELOPER, THE CONTROLLING PRINCIPALS AND FRANCHISOR
 ACKNOWLEDGE THAT THE PARTIES’ AGREEMENT REGARDING APPLICABLE STATE LAW
 AND FORUM SET FORTH IN SECTIONS XV.C. AND D. ABOVE PROVIDES EACH OF THE
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 PARTIES WITH THE MUTUAL BENEFIT OF UNIFORM INTERPRETATION OF THIS
 AGREEMENT AND ANY DISPUTE ARISING OUT OF THIS AGREEMENT OR THE PARTIES’
 RELATIONSHIP CREATED BY THIS AGREEMENT.        EACH OF DEVELOPER, THE
 CONTROLLING PRINCIPALS AND FRANCHISOR FURTHER ACKNOWLEDGE THE RECEIPT
 AND SUFFICIENCY OF MUTUAL CONSIDERATION FOR SUCH BENEFIT AND THAT EACH
 PARTY’S AGREEMENT REGARDING APPLICABLE STATE LAW AND CHOICE OF FORUM
 HAVE BEEN NEGOTIATED FOR IN GOOD FAITH AND ARE PART OF THE BENEFIT OF THE
 BARGAIN REFLECTED BY THIS AGREEMENT.

       E.   DEVELOPER, THE CONTROLLING PRINCIPALS AND FRANCHISOR
 ACKNOWLEDGE THAT THE EXECUTION OF THIS AGREEMENT AND ACCEPTANCE OF THE
 TERMS BY THE PARTIES OCCURRED IN FAIRFAX COUNTY, VIRGINIA, AND FURTHER
 ACKNOWLEDGE THAT THE PERFORMANCE OF CERTAIN OBLIGATIONS OF DEVELOPER
 ARISING UNDER THIS AGREEMENT, INCLUDING, BUT NOT LIMITED TO, THE PAYMENT OF
 MONIES DUE HEREUNDER, SHALL OCCUR IN FAIRFAX COUNTY, VIRGINIA.

       F.    DEVELOPER, THE CONTROLLING PRINCIPALS, AND THE FRANCHISOR
 HEREBY WAIVE, TO THE FULLEST EXTENT PERMITTED BY LAW, ANY RIGHT TO OR CLAIM
 OF ANY PUNITIVE, EXEMPLARY, INCIDENTAL, INDIRECT, SPECIAL, CONSEQUENTIAL OR
 OTHER DAMAGES (INCLUDING, WITHOUT LIMITATION, LOSS OF PROFITS) AGAINST THE
 OTHER PARTY, AND THEIR AFFILIATES, AND THEIR RESPECTIVE OFFICERS, DIRECTORS,
 SHAREHOLDERS,      PARTNERS,     AGENTS,    REPRESENTATIVES,     INDEPENDENT
 CONTRACTORS, SERVANTS AND EMPLOYEES, IN THEIR CORPORATE AND INDIVIDUAL
 CAPACITIES, ARISING OUT OF ANY CAUSE WHATSOEVER (WHETHER SUCH CAUSE BE
 BASED IN CONTRACT, NEGLIGENCE, STRICT LIABILITY, OTHER TORT OR OTHERWISE)
 AND AGREES THAT IN THE EVENT OF A DISPUTE, DEVELOPER AND THE PARTIES SHALL
 BE LIMITED TO THE RECOVERY OF ANY ACTUAL DAMAGES SUSTAINED BY EITHER. IF
 ANY OTHER TERM OF THIS AGREEMENT IS FOUND OR DETERMINED TO BE
 UNCONSCIONABLE OR UNENFORCEABLE FOR ANY REASON, THE FOREGOING
 PROVISIONS OF WAIVER BY AGREEMENT OF PUNITIVE, EXEMPLARY, INCIDENTAL,
 INDIRECT, SPECIAL, CONSEQUENTIAL OR OTHER DAMAGES (INCLUDING, WITHOUT
 LIMITATION, LOSS OF PROFITS) SHALL CONTINUE IN FULL FORCE AND EFFECT.

 XVI.     ACKNOWLEDGMENTS

         A.      Developer acknowledges that it has conducted an independent investigation of the business
 venture contemplated by this Agreement and recognizes that the success of this business venture involves
 substantial business risks and shall largely depend upon the ability of Developer. Franchisor expressly
 disclaims making, and Developer acknowledges that it has not received or relied on, any warranty or
 guarantee, express or implied, as to the potential volume, profits or success of the business venture
 contemplated by this Agreement.

          Initials ___________
          B.      Developer acknowledges that Developer has received, read and understands this
 Agreement and the related attachments and agreements and that Franchisor has afforded Developer
 sufficient time and opportunity to consult with advisors selected by Developer about the potential benefits
 and risks of entering into this Agreement.

          Initials ___________



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         C.     Developer acknowledges that it received the disclosure document required by the Trade
 Regulation Rule of the Federal Trade Commission entitled “Disclosure Requirements and Prohibitions
 Concerning Franchising” at least fourteen (14) calendar days prior to the date on which this Agreement was
 executed.


          Initials ___________


                                                      ***


                                            [Signature Page Follows]




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         IN WITNESS WHEREOF, the parties hereto have duty executed and delivered this Agreement
 on the day and year first above written.

                                                          FRANCHISOR:

                                                          FIVE GUYS FRANCHISOR, LLC
 ATTEST:                                                  a Delaware limited liability company


 By:                                                      By:
 Print Name:_______________________                       Name:
                                                          Title:
                                                          Date Accepted:
                                                                           (The “Effective Date”)


                                                          DEVELOPER:




 By:                                                      By:
 Print Name:_______________________                       Name:
                                                          Title:




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                                              ATTACHMENT A

                              GUARANTY OF CONTROLLING PRINCIPALS

          Each of the undersigned acknowledges and agrees as follows:

          (1)     Each has read the terms and conditions of the Development Agreement and acknowledges
 that the execution of this guaranty and the undertakings of the Controlling Principals in the Development
 Agreement are in partial consideration for, and a condition to, the granting of the development rights in the
 Development Agreement, and that Franchisor would not have granted such rights without the execution of
 this guaranty and such undertakings by each of the undersigned;

        (2)   Each is included in the term “Controlling Principals” as described in Section XIV.E. of the
 Development Agreement;

         (3)      Each individually, jointly and severally, makes all of the covenants, representations,
 warranties and agreements of the Controlling Principals set forth in the Development Agreement and is
 obligated to perform thereunder; and

         (4)      Each individually, jointly and severally, unconditionally and irrevocably guarantees to
 Franchisor and its successors and assigns that all of Developer’s obligations under the Development
 Agreement shall be punctually paid and performed. Upon default by Developer or upon notice from
 Franchisor, each shall immediately make each payment and perform each obligation required of Developer
 under the Development Agreement. Without affecting the obligations of any of the Controlling Principals
 under this guaranty, Franchisor may, without notice to the Controlling Principals, waive, renew, extend,
 modify, amend or release any indebtedness or obligation of Developer or settle, adjust or compromise any
 claims that Franchisor may have against Developer. Each of the Controlling Principals waives all demands
 and notices of every kind with respect to the enforcement of this guaranty, including, without limitation,
 notice of presentment, demand for payment or performance by Developer, any default by Developer or any
 guarantor and any release of any guarantor or other security for this guaranty or the obligations of
 Developer. Franchisor may pursue its rights against any of the Controlling Principals without first
 exhausting its remedies against Developer and without joining any other guarantor hereto and no delay on
 the part of Franchisor in the exercise of any right or remedy shall operate as a waiver of such right or
 remedy, and no single or partial exercise by Franchisor of any right or remedy shall preclude the further
 exercise of such right or remedy. Upon receipt by Franchisor of notice of the death of any of the Controlling
 Principals, the estate of the deceased shall be bound by the foregoing guaranty, but only for defaults and
 obligations under the Development Agreement existing at the time of death, and in such event, the
 obligations of the remaining Controlling Principals shall continue in full force and effect.

          Additionally, with respect to the individual designated as Operating Principal, Operating Principal
 acknowledges that the undertakings by Operating Principal under this guaranty are made and given in
 partial consideration of, and as a condition to, Franchisor’s grant of rights to develop Restaurants as
 described herein; Operating Principal individually, jointly and severally, makes all of the covenants,
 representations and agreements of Developer and Operating Principal set forth in the Development
 Agreement and is obligated to perform hereunder.


                                            [Signature Page Follows]




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 WITNESS:                                                      CONTROLLING PRINCIPALS:


 By:
 Print Name:                                                   *Name:


 By:
 Print Name:                                                   Name:


 By:
 Print Name:                                                   Name:


 By:
 Print Name:                                                   Name:


 * Denotes individual who is Developer’s Operating Principal




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                                            ATTACHMENT B

         STATEMENT OF OWNERSHIP INTERESTS AND DEVELOPER’S PRINCIPALS

          A.     The following is a list of stockholders, partners or other investors in Developer, including
 all investors who own or hold a direct or indirect interest in Developer, and a description of the nature of
 their interest:

                   Name                                    Percentage of Ownership/Nature of Interest




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                                            ATTACHMENT C

                                     THE FIVE GUYS FRANCHISOR, LLC
                                        DEVELOPMENT SCHEDULE

        The Agreement authorizes and obliges Developer to establish and operate          (__)
 FIVE GUYS® Restaurants pursuant to a Franchise Agreement for each Restaurant to be developed
 hereunder.

 Fees Paid Upon Signing:

          Upon the execution of the Development Agreement, Developer is paying _____________ Dollars
          ($________); and such amount represents a territorial development fee of Fifty Thousand Dollars
          ($50,000) for Restaurants located outside of Alaska, Hawaii and Puerto Rico and One Hundred
          Twenty-Five Thousand Dollars ($125,000) for Restaurants located within such jurisdictions; times
          the ________ (__) Restaurants to be developed hereunder.

 Development Schedule:

          1.       The first Restaurant is to be opened by _______________________, 20___;
          2.       The second Restaurant is to be opened by _____________________, 20___; and
          3.       The third Restaurant is to be opened by _______________________, 20___.

 Territory:

        The Territory referred to in Article I of the captioned agreement shall be:
 _____________________________________________________________________________________
 _____________________________________________________________________________________
 _____________________________________________________________________________________
 _____________________________________________________________________________________


         IN WITNESS WHEREOF, each party undersigned hereby acknowledge having read this
 Attachment understands and consents to be bound by all of its terms, and agrees that it shall become
 effective the   day of                              20 .

 Attest                                                          ________________________________
                                                                 (Developer)

 By:                                                             By:
 Print Name:                                                     Name:
                                                                 Title:


                                                                 FIVE GUYS FRANCHISOR, LLC

 By:                                                             By:
 Print Name:                                                     Name:
                                                                 Title:




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                                            ATTACHMENT D

                                       STATE SPECIFIC AMENDMENTS




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                            AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                        DEVELOPMENT AGREEMENT FOR THE STATE OF ALASKA

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

                   a.        Section II.A. of the Development Agreement is amended to state that the Development Fee
                             shall be Fifty Thousand Dollars ($50,000) per Restaurant to be located outside of the State
                             of Alaska, and One Hundred Twenty-Five Thousand Dollars ($125,000) per Restaurant to
                             be located in the State of Alaska.

                                                           ***

                          AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                     DEVELOPMENT AGREEMENT FOR THE STATE OF CALIFORNIA

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          CALIFORNIA LAW MODIFICATIONS

          The California Department of Financial Protection and Innovation requires that certain provisions contained
 in franchise documents be amended to be consistent with California law, including the California Franchise Investment
 Law, CAL. CORPORATIONS CODE Section 31000 et seq., and the California Franchise Relations Act, CAL.
 BUS. & PROF. CODE Section 20000 et seq. To the extent that the Agreement contains provisions that are
 inconsistent with the following, such provisions are hereby amended:

                   a.        California Business and Professions Code Sections 20000 through 20043 provide rights to
                             You concerning nonrenewal, termination, or transfer of the Agreement. The Federal
                             Bankruptcy Code also provides rights to You concerning termination of the Agreement
                             upon certain bankruptcy-related events. To the extent the Agreement contains a provision
                             that is inconsistent with these laws, these laws shall control.

                   b.        If Developer is required in the Agreement to execute a release of claims, such release shall
                             exclude claims arising under the California Franchise Investment Law and the California
                             Franchise Relations Act.

                   c.        If the Agreement requires payment of liquidated damages that is inconsistent with
                             California Civil Code Section 1671, the liquidated damage clause may be unenforceable.

                   d.        If the Agreement contains a covenant not to compete which extends beyond the expiration
                             or termination of the Agreement, the covenant may be unenforceable under California law.

                   e.        If the Agreement requires litigation, arbitration or mediation to be conducted in a forum
                             other than the State of California, the requirement may be unenforceable under California
                             law.

                   f.        If the Agreement requires that it be governed by a state’s law, other than the State of
                             California, such requirement may be unenforceable.

                   g.        Section II. of this Agreement is amended to state that the Development Fee shall be
                             deferred until Franchisor satisfies all of its pre-opening obligations to Developer and the
                             first Restaurant under the Development Agreement is open for business.

                                                           ***




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                            AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                        DEVELOPMENT AGREEMENT FOR THE STATE OF HAWAII

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          HAWAII LAW MODIFICATIONS

          The Hawaii Department of Commerce and Consumer Affairs, Business Registration Division requires that
 certain provisions contained in franchise documents be amended to be consistent with Hawaii law. To the extent that
 this Agreement contains provisions that are inconsistent with the following, such provisions are hereby amended:

                   a.        Section II.A. of the Development Agreement is amended to state that the Development Fee
                             shall be Fifty Thousand Dollars ($50,000) per Restaurant to be located outside of the State
                             of Hawaii, and One Hundred Twenty-Five Thousand Dollars ($125,000) per Restaurant to
                             be located in the State of Hawaii.

                   b.        Section II. of this Agreement is amended to state that the Development Fee and all other
                             initial payments Developer owes to Franchisor or any of its affiliates before Developer
                             opens its Restaurant shall be deferred until Franchisor satisfies all of its pre-opening
                             obligations to Developer and Developer opens its Restaurant for business.

                                                           ***

                            AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                        DEVELOPMENT AGREEMENT FOR THE STATE OF ILLINOIS

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          ILLINOIS LAW MODIFICATIONS

          The Illinois Attorney General’s Office requires that certain provisions contained in franchise documents be
 amended to be consistent with Illinois law, including the Franchise Disclosure Act of 1987, 815 ILCS 705/1 et seq.
 (West 2010). To the extent that this Agreement contains provisions that are inconsistent with the following, such
 provisions are hereby amended:

                   a.        815 ILCS 705/19 and 705/20 provide rights to You concerning nonrenewal and termination
                             of this Agreement. If this Agreement contains a provision that is inconsistent with the Act,
                             the Act shall control.

                   b.        If Developer is required in this Agreement to execute a release of claims or to acknowledge
                             facts that would negate or remove from judicial review any statement, misrepresentation
                             or action that would violate the Act, or a rule of order under the Act, such release shall
                             exclude claims arising under the Illinois Franchise Disclosure Act, and such
                             acknowledgments shall be void with respect to claims under the Act and are hereby deleted.

                   c.        If this Agreement requires litigation to be conducted in a forum other than the State of
                             Illinois, the requirement is void, provided that a Franchise Agreement may provide for
                             arbitration in a forum outside of Illinois.

                   d.        If this Agreement requires that it be governed by a state’s law, other than the State of
                             Illinois, to the extent that such law conflicts with Illinois law, Illinois law shall control.

                   e.        Section 41 of the Illinois Franchise Disclosure Act states that “Any condition, stipulation,
                             or provision purporting to bind any person acquiring any franchise to waive compliance
                             with the Illinois Franchise Disclosure Act, or any other law of Illinois, is void.” To the
                             extent that any provision in this Agreement is inconsistent with Illinois law, Illinois law
                             shall control.
 FIVE GUYS – Development Agreement (2022)

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                   f.        This Agreement is amended to comply with Section 27 of the Act to allow any and all
                             claims and actions arising out of or relating to this Agreement, the relationship of
                             Franchisor and Developer and Developer’s operation of the Franchise brought by
                             Developer against Franchisor shall be commenced within three (3) years from the
                             occurrence of the facts giving rise to such claim or action, within one (1) year after the
                             Developer becomes aware of the facts or circumstances indicating Developer may have a
                             claim for relief, or ninety (90) days after delivery to Developer of a written notice
                             disclosing the violation, or such claim or action shall be barred.

                   g.        Section II. of this Agreement is amended to state that the Development Fee shall be
                             deferred until Franchisor satisfies all of its pre-opening obligations to Developer and
                             Developer opens its Restaurant for business. The Illinois Attorney General has imposed
                             this deferral requirement due to Franchisor’s current financial condition.

                                                            ***

                             AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                        DEVELOPMENT AGREEMENT FOR THE STATE OF MARYLAND

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          MARYLAND LAW MODIFICATIONS

          The Maryland Securities Division requires that certain provisions contained in franchise documents be
 amended to be consistent with Maryland law, including the Maryland Franchise Registration and Disclosure Law, Md.
 Code Ann., Bus. Reg. §§ 14-201 - 14-233 (1998 Repl. Vol. & Supp. 2002). To the extent that this Agreement contains
 provisions that are inconsistent with the following, such provisions are hereby amended:

                   a.        If Developer is required in this Agreement to execute a release of claims or to acknowledge
                             facts that would negate or remove from judicial review any statement, misrepresentation
                             or action that would violate the Act, or a rule or order under the Act, such release shall
                             exclude claims arising under the Maryland Franchise Registration and Disclosure Law, and
                             such acknowledgments shall be void with respect to claims under the Law.

                   b.        If this Agreement requires litigation to be conducted in a forum other than the State of
                             Maryland, the requirement shall not be interpreted to limit any rights Developer may have
                             under Sec. 14-216 (c)(25) of the Maryland Franchise Registration and Disclosure Law to
                             bring suit in the state of Maryland.

                   c.        The general release required as a condition of renewal, sale and/or assignment/transfer shall
                             not apply to any liability under the Maryland Franchise Registration and Disclosure Law.

                   d.        This Agreement is hereby amended to reflect that any claims arising under the Maryland
                             Franchise Registration and Disclosure Law must be brought within 3 years after the grant
                             of the franchise.

                   e.        Section 14-226 of the Maryland Franchise Registration and Disclosure Law prohibits a
                             franchisor from requiring a prospective franchisee to assent to any release, estoppel or
                             waiver of liability as a condition of purchasing a franchise. If this Agreement requires
                             prospective franchisees to disclaim the occurrence and/or acknowledge the non-occurrence
                             of acts that would constitute a violation of the Franchise Law, such representations are not
                             intended to nor shall they act as a release, estoppel or waiver of any liability incurred under
                             the Maryland Franchise Registration and Disclosure Law resulting from the offer or sale
                             of the franchise.

                   f.        Section II. of this Agreement is hereby amended to state that the Development Fee shall be
                             deferred until Franchisor satisfies all of its pre-opening obligations to Developer and
                             Developer opens its Restaurant for business.
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                                                           ***

                             AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                        DEVELOPMENT AGREEMENT AND DISCLOSURE DOCUMENT
                                  FOR THE STATE OF MINNESOTA

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          MINNESOTA LAW MODIFICATIONS

          The Commissioner of Commerce for the State of Minnesota requires that certain provisions contained in
 franchise documents be amended to be consistent with Minnesota Franchise Act, Minn. Stat. Section 80.01 et seq.,
 and of the Rules and Regulations promulgated under the Act (collectively the “Franchise Act”). To the extent that the
 Agreement and Disclosure Document contain provisions that are inconsistent with the following, such provisions are
 hereby amended:

                   a.        The Minnesota Department of Commerce requires that Franchisor indemnify Minnesota
                             franchisees against liability to third parties resulting from claims that the franchisees’ use
                             of the Intellectual Properties infringes trademark rights of the third party. If the Agreement
                             and/or the Disclosure Document contain(s) a provision that is inconsistent with the
                             Franchise Act, the provisions of the Agreement shall be superseded by the Act’s
                             requirements and shall have no force or effect.

                   b.        Franchise Act, Sec. 80C.14, Subd. 4., requires, except in certain specified cases, that a
                             franchisee be given written notice of a franchisor’s intention not to renew 180 days prior
                             to expiration of the franchise and that the franchisee be given sufficient opportunity to
                             operate the franchise in order to enable the franchisee the opportunity to recover the fair
                             market value of the franchise as a going concern. If the Agreement and/or the Disclosure
                             Document contain(s) a provision that is inconsistent with such requirement of the Franchise
                             Act, the provisions of the Agreement shall be superseded by the Act’s requirements and
                             shall have no force or effect.

                   c.        Franchise Act, Sec. 80C.14, Subd. 3., requires, except in certain specified cases that a
                             franchisee be given 90 days’ notice of termination (with 60 days to cure). If the Agreement
                             and/or the Disclosure Document contain(s) a provision that is inconsistent with such
                             requirement of the Franchise Act, the provisions of the Agreement shall be superseded by
                             the Act’s requirements and shall have no force or effect.

                   d.        If the Agreement and/or the Disclosure Document require(s) Developer to execute a release
                             of claims or to acknowledge facts that would negate or remove from judicial review any
                             statement, misrepresentation or action that would violate the Franchise Act, such release
                             shall exclude claims arising under the Franchise Act, and such acknowledgments shall be
                             void with respect to claims under the Act.

                   e.        If the Agreement and/or the Disclosure Document require(s) that it be governed by a state’s
                             law, other than the State of Minnesota, for litigation, arbitration or mediation, those
                             provisions shall not in any way abrogate or reduce any rights of Developer as provided for
                             in the Franchise Act, including the right to submit matters to the jurisdiction of the courts
                             of Minnesota.

                   f.        To the extent Minnesota Rule 2860.4400J. prohibits a franchisor from requiring You to
                             consent to the Franchisor obtaining injunctive relief, the Agreement is hereby revised to
                             reflect that Franchisor may seek injunctive relief and that whether any bond be necessary
                             be determined by the court.




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                   g.        Section 80C.17 of the Act provides that no action may be commenced pursuant to that
                             section more than three (3) years after the cause of action accrues. No provision in the
                             Agreement shall be construed to limit the time period for You to bring a claim under the
                             Act.

                   h.        Section II of this Agreement is hereby amended to state that the Development Fee shall be
                             due immediately after opening your FIVE GUYS Restaurant.

                                                           ***

                             AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                        DEVELOPMENT AGREEMENT FOR THE STATE OF NEW YORK

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          NEW YORK LAW MODIFICATIONS

          The New York Department of Law requires that certain provisions contained in franchise documents be
 amended to be consistent with New York law, including the General Business Law, Article 33, Sections 680 through
 695 (1989). To the extent that the Agreement contains provisions that are inconsistent with the following, such
 provisions are hereby amended:

                   a.        If Developer is required in the Agreement to execute a release of claims or to acknowledge
                             facts that would negate or remove from judicial review any statement, misrepresentation
                             or action that would violate the General Business Law, regulation, rule or order under the
                             Law, such release shall exclude claims arising under the New York General Business Law,
                             Article 33, Section 680 through 695 and the regulations promulgated thereunder, and such
                             acknowledgments shall be void. It is the intent of this provision that non-waiver provisions
                             of Sections 687.4 and 687.5 of the General Business Law be satisfied.

                   b.        If the Agreement requires that it be governed by a state’s law, other than the State of New
                             York, the choice of law provision shall not be considered to waive any rights conferred
                             upon the Licensee under the New York General Business Law, Article 33, Sections 680
                             through 695.

                                                           ***

                         AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                  DEVELOPMENT AGREEMENT FOR THE STATE OF NORTH DAKOTA

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          NORTH DAKOTA LAW MODIFICATIONS

          1.       The North Dakota Securities Commissioner requires that certain provisions contained in franchise
 documents be amended to be consistent with North Dakota law, including the North Dakota Franchise Investment
 Law, North Dakota Century Code Annotated Chapter 51-19, Sections 51-19-01 through 51-19-17 (1993). To the
 extent that the Agreement contains provisions that are inconsistent with the following, such provisions are hereby
 amended:

                   a.        If Developer is required in the Agreement to execute a release of claims or to acknowledge
                             facts that would negate or remove from judicial review any statement, misrepresentation
                             or action that would violate the Law, or a rule or order under the Law, such release shall
                             exclude claims arising under North Dakota Law, and such acknowledgments shall be void
                             with respect to claims under the Law.


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                   b.        Covenants not to compete during the term of and upon termination or expiration of the
                             Agreement are enforceable only under certain conditions according to North Dakota Law.
                             If the Agreement contains a covenant not to compete that is inconsistent with North Dakota
                             Law, the covenant may be unenforceable.

                   c.        The Commissioner has held that requiring franchisees to consent to the jurisdiction of
                             courts outside of North Dakota is unfair, unjust or inequitable within the intent of Section
                             51-19-09 of the North Dakota Law. If the Agreement requires litigation to be conducted
                             in a forum other than the State of North Dakota, the requirement is void with respect to
                             claims under North Dakota Law.

                   d.        If the Agreement requires mediation or arbitration to be conducted in a forum other than
                             the State of North Dakota, the requirement may be unenforceable under North Dakota Law.
                             Arbitration involving a franchise purchased in the State of North Dakota must be held
                             either in a location mutually agreed upon prior to the arbitration or if the parties cannot
                             agree on a location, the location shall be determined by the arbitrator.

                   e.        If the Agreement requires payment of a termination penalty or liquidated damages, the
                             requirement may be unenforceable under North Dakota Law.

                   f.        If the Agreement requires that a state’s law other than the State of North Dakota govern it,
                             to the extent that such law conflicts with the North Dakota Law, North Dakota Law shall
                             control.

                   g.        The Commissioner has held that requiring franchisees to consent to a waiver of trial by
                             jury or of exemplary or punitive damages is unfair, unjust or inequitable within the intent
                             of Section 51-19-09 of the North Dakota Law. If the Agreement requires consent to a
                             waiver of trial by jury or waiver of exemplary or punitive damages, the requirement may
                             be unenforceable under the North Dakota Law.

                   h.        If the Agreement requires consent to a limitation of claims, the requirement is void and the
                             statute of limitations under the North Dakota Law shall apply.

                   i.        If the Agreement requires consent to payment of all costs and expenses incurred in the
                             enforcement of the Agreement, the requirement is void. The prevailing party in any such
                             action is entitled to recover all costs and expenses, including reasonable attorneys’ fees.

                   j.        Section II. of this Agreement is hereby amended to state that the Development Fee shall be
                             deferred until Franchisor satisfies all of its pre-opening obligations to Developer and
                             Developer opens its Restaurant for business.

          2.       Under North Dakota Law, Developer is not required to waive its rights.

                                                           ***

                         AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
               DEVELOPMENT AGREEMENT FOR THE COMMONWEALTH OF PUERTO RICO

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

                   a.   Section II.A. of the Development Agreement is amended to state that the Development Fee
                        shall be Fifty Thousand Dollars ($50,000) per Restaurant to be located outside of the
                        Commonwealth of Puerto Rico, and One Hundred Twenty-Five Thousand Dollars ($125,000)
                        per Restaurant to be located in the Commonwealth of Puerto Rico.

                                                           ***



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                         AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                   DEVELOPMENT AGREEMENT FOR THE STATE OF RHODE ISLAND

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          RHODE ISLAND LAW MODIFICATIONS

         The Rhode Island Securities Division requires that certain provisions contained in franchise documents be
 amended to be consistent with Rhode Island law, including the Franchise Investment Act, R.I. Gen. Law. ch. 395 Sec.
 19-28.1-1 -19-28.1-34. To the extent that this Agreement contains provisions that are inconsistent with the following,
 such provisions are hereby amended:

                   a.        If this Agreement requires litigation to be conducted in a forum other than the State of
                             Rhode Island, the requirement is void under Rhode Island Franchise Investment Act Sec.
                             19-28.1-14.

                   b.        If this Agreement requires that it be governed by a state’s law, other than the State of Rhode
                             Island, to the extent that such law conflicts with Rhode Island Franchise Investment Act it
                             is void under Sec. 19-28.1-14.

                   c.        If Developer is required in this Agreement to execute a release of claims or to acknowledge
                             facts that would negate or remove from judicial review any statement, misrepresentation
                             or action that would violate the Act, or a rule or order under the Act, such release shall
                             exclude claims arising under the Rhode Island Franchise Investment Act, and such
                             acknowledgments shall be void with respect to claims under the Act.

                                                           ***

                          AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                   DEVELOPMENT AGREEMENT FOR THE STATE OF SOUTH DAKOTA

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          SOUTH DAKOTA LAW MODIFICATIONS

         The South Dakota Securities Regulation Office requires that certain provisions contained in franchise
 documents be amended to be consistent with South Dakota law, including the South Dakota Franchise Investment Act.
 To the extent that this Agreement contains provisions that are inconsistent with the following, such provisions are
 hereby amended:

                   a.        Section II.A. of this Agreement is hereby amended to state that the Development Fee shall
                             be deferred until Franchisor satisfies all of its pre-opening obligations to Developer and
                             Developer opens its first Restaurant for business.

                                                           ***

                       AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
               DEVELOPMENT AGREEMENT FOR THE COMMONWEALTH OF VIRGINIA

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):




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          VIRGINIA LAW MODIFICATIONS

          The Virginia State Corporation Commission’s Division of Securities requires that certain provisions
 contained in franchise documents be amended to be consistent with Virginia law, including the Virginia Retail
 Franchising Act. To the extent that this Agreement contains provisions that are inconsistent with the following, such
 provisions are hereby amended:

                   a.        Section II. of the Agreement is amended to state that the Virginia State Corporation
                             Commission’s Division of Securities and Retail Franchising requires Franchisor to defer
                             payment of the Development Fee, initial Franchise Fee and all other initial payments
                             Developer owes to Franchisor until Franchisor completes all of its pre-opening obligations
                             under each Franchise Agreement. Payment of the Development Fee will be due to
                             Franchisor, on a pro-rata basis, on Franchisor’s completion of its pre-opening obligations
                             for each Restaurant opened under the Development Agreement.

                                                            ***

         WASHINGTON AMENDMENT TO THE DEVELOPMENT AGREEMENT, DISCLOSURE
               ACKNOWLEDGMENT STATEMENT, AND RELATED AGREEMENTS
                         FOR FIVE GUYS FRANCHISOR, LLC

         The Five Guys Franchisor, LLC Development Agreement (the “Agreement”) between “Developer” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          WASHINGTON LAW MODIFICATIONS

         The Director of the Washington Department of Financial Institutions requires that certain provisions
 contained in franchise documents be amended to be consistent with Washington law, including the Washington
 Franchise Investment Protection Act, WA Rev. Code §§ 19.100.010 to 19.100.940 (1991). To the extent that the
 Agreement contains provisions that are inconsistent with the following, such provisions are hereby amended:

                   a.        RCW 19.100.180 may supersede the development agreement in your relationship with the
                             franchisor including the areas of termination and renewal of your franchise. There may also
                             be court decisions which may supersede the development agreement in your relationship
                             with the franchisor including the areas of termination and renewal of your franchise.

                   b.        A release or waiver of rights executed by a franchisee may not include rights under the
                             Washington Franchise Investment Protection Act or any rule or order thereunder except
                             when executed pursuant to a negotiated settlement after the agreement is in effect and
                             where the parties are represented by independent counsel. Provisions such as those which
                             unreasonably restrict or limit the statute of limitations period for claims under the Act, or
                             rights or remedies under the Act such as a right to a jury trial, may not be enforceable.

                   c.        In any arbitration or mediation involving a franchise purchased in Washington, the
                             arbitration or mediation site will be either in the state of Washington, or in a place mutually
                             agreed upon at the time of the arbitration or mediation, or as determined by the arbitrator
                             or mediator at the time of arbitration or mediation. In addition, if litigation is not precluded
                             by the development agreement, a franchisee may bring an action or proceeding arising out
                             of or in connection with the sale of franchises, or a violation of the Washington Franchise
                             Investment Protection Act, in Washington.

                   d.        In the event of a conflict of laws, the provisions of the Washington Franchise Investment
                             Protection Act, Chapter 19.100 RCW will prevail.

                   e.        Transfer fees are collectable to the extent that they reflect the franchisor’s reasonable
                             estimated or actual costs in effecting a transfer.

                   f.        Pursuant to RCW 49.62.020, a noncompetition covenant is void and unenforceable against
                             an employee, including an employee of a franchisee, unless the employee’s earnings from
                             the party seeking enforcement, when annualized, exceed $100,000 per year (an amount
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                             that will be adjusted annually for inflation). In addition, a noncompetition covenant is void
                             and unenforceable against an independent contractor of a franchisee under RCW 49.62.030
                             unless the independent contractor’s earnings from the party seeking enforcement, when
                             annualized, exceed $250,000 per year (an amount that will be adjusted annually for
                             inflation). As a result, any provisions contained in the development agreement or elsewhere
                             that conflict with these limitations are void and unenforceable in Washington.

                   g.        RCW 49.62.060 prohibits a franchisor from restricting, restraining, or prohibiting a
                             franchisee from (i) soliciting or hiring any employee of a franchisee of the same franchisor
                             or (ii) soliciting or hiring any employee of the franchisor. As a result, any such provisions
                             contained in the development agreement or elsewhere are void and unenforceable in
                             Washington.

                   h.        Section II. of the Agreement is amended to state that the Washington Department of
                             Financial Institutions, Securities Division requires Franchisor to defer payment of the
                             Development Fee, initial Franchise Fee and all other initial payments Developer owes to
                             Franchisor until Franchisor completes all of its pre-opening obligations under the Franchise
                             Agreement, and Franchisee opens its first Restaurant. Because Franchisor has material
                             pre-opening obligations with respect to each franchised business Franchisee opens under
                             the Development Agreement, the State of Washington shall require that the franchise fees
                             be released proportionally with respect to each franchised business. Payment of the
                             Development Fee shall be due to Franchisor, on a pro-rata basis, on Franchisor’s
                             completion of its pre-opening obligations for each Restaurant opened under the
                             Development Agreement.

                                                           ***

          Each provision of these Amendments shall be effective only to the extent that the jurisdictional requirements,
 with respect to each such provision, are met independent of these Amendments. These Amendments shall have no
 force or effect if such jurisdictional requirements are not met.

       IN WITNESS WHEREOF, each of the parties hereto has read and agrees to remain subject to the foregoing
 amendment, as applicable, and has executed the same by a duly authorized representative.


                                                                           FRANCHISOR:

                                                                           FIVE GUYS FRANCHISOR, LLC
 ATTEST:                                                                   a Delaware limited liability company


 By:                                                                       By:
 Print Name:                                                               Name:
                                                                           Title:


                                                                           DEVELOPER:




 By:                                                                       By:
 Print Name:                                                               Name:
                                                                           Title:




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                      EXHIBIT C TO THE DISCLOSURE DOCUMENT

                             FRANCHISE AGREEMENT




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                                          FIVE GUYS FRANCHISOR, LLC

                                           FRANCHISE AGREEMENT




                                                              FRANCHISEE




                                                              EFFECTIVE DATE




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                                          FIVE GUYS FRANCHISOR, LLC

                                           FRANCHISE AGREEMENT

         THIS FRANCHISE AGREEMENT (as amended, supplemented, or otherwise modified from
 time to time, this “Agreement”) is made and entered into by and between FIVE GUYS FRANCHISOR,
 LLC, a Delaware limited liability company (together with its successors and assigns, the “Franchisor”),
 and ___________________________________, a ______________ [corporation/limited liability
 company/partnership] (the “Franchisee”), on the date this Agreement is executed by Franchisor below (the
 “Effective Date”). Franchisor and Franchisee are, where relevant, each referred to in this Agreement
 individually as a “party” and collectively as the “parties”. Capitalized terms used herein and not otherwise
 defined shall have the meanings ascribed to such terms in the Development Agreement referenced below.

                                              W I T N E S S E T H:

         WHEREAS, Franchisor and its affiliates, as the result of the expenditure of time, skill, effort and
 money have developed and own a distinctive System (as defined below) relating to the establishment,
 development and operation of retail food service businesses that operate in buildings that display
 Franchisor’s interior and exterior trade dress (each, a “Restaurant”), which specialize in dine-in and carry-
 out service of hamburgers, cheeseburgers, hot dogs, french-fries, and other foods and accompaniments
 approved by Franchisor (the “Products”) and which operate under Franchisor’s System and the Marks (as
 defined below), all of which Franchisor may periodically change, improve, and/or further develop;

          WHEREAS, the distinguishing characteristics utilized by Franchisor in each FIVE GUYS®
 Restaurant include, without limitation, distinctive interior and exterior sign design and arrangement, décor,
 fixtures and furnishings; menus and recipes; quality and uniformity of Products and services offered;
 standards, specifications, methods, techniques, procedures for operations, inventory and management;
 training and assistance; record keeping and reporting; and marketing and promoting; all of which may be
 changed, improved and further developed by Franchisor and/or its affiliates from time to time (collectively,
 the “System”);

          WHEREAS, Franchisor identifies the System and the FIVE GUYS® Restaurants by means of
 certain trade names, service marks, trademarks, emblems and indicia of origin, including, but not limited
 to, the marks “FIVE GUYS®”, “FIVE GUYS FAMOUS BURGERS AND FRIES®”, “FIVE GUYS
 BURGERS AND FRIES®” and such other proprietary marks as Franchisor may periodically designate in
 writing (collectively, the “Marks”);

        WHEREAS, Franchisor grants to qualified persons the opportunity to own and operate FIVE
 GUYS® Restaurants offering and selling the Products as well as other products and services authorized and
 approved by Franchisor and utilizing Franchisor’s System and Marks;

         WHEREAS, Franchisee understands and acknowledges the importance of Franchisor’s high
 standards of quality, cleanliness, appearance and service and the necessity of operating the Restaurant
 franchised hereunder in conformity with Franchisor’s standards and specifications;

         WHEREAS, Franchisee desires to use the System in connection with the operation of a FIVE
 GUYS® Restaurant at the location specified in Attachment B hereto, and receive the training and other
 assistance provided by Franchisor in connection therewith; and

        WHEREAS, Franchisor and Franchisee (or its affiliate) are parties to that certain Development
 Agreement dated __________________, 20___ (as amended or otherwise modified from time to time, the
 “Development Agreement”), under which Franchisee (or its affiliate) is committed to developing a certain
 number of FIVE GUYS® Restaurants within the exclusive development territory described therein; and


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 Franchisor and Franchisee are entering into this Agreement pursuant to the terms and conditions of the
 Development Agreement.

          NOW, THEREFORE, the parties, in consideration of the mutual undertakings and commitments
 set forth herein, the receipt and sufficiency of which are hereby acknowledged, agree as follows:

 I.       GRANT

          A.      In reliance on the representations and warranties of Franchisee and its “Controlling
 Principals” (as defined in Section XIX.R.) contained in this Agreement, Franchisor hereby grants to
 Franchisee the right, and Franchisee hereby accepts the obligation, all according to the terms and conditions
 in this Agreement, to establish and operate a FIVE GUYS® Restaurant (the “Restaurant”) and to use,
 solely in connection therewith, the Marks and the System, as they may be changed, improved, and further
 developed from time to time, at the Approved Location (as defined below).

         B.      The specific street address of the Restaurant location accepted by Franchisor is set forth in
 Attachment B (the “Approved Location”). This Agreement does not grant to Franchisee the right or
 license to operate the Restaurant (or to offer or sell any products or services described under this
 Agreement) at or from any location other than the Approved Location. Franchisee shall not relocate the
 Restaurant without the expressed prior written consent of Franchisor, which consent shall not be
 unreasonably withheld so long as (i) the Restaurant and Franchisee (together with any and all affiliates) are
 in operational good-standing with Franchisor, (ii) the proposed relocation site is in accordance with
 Franchisor’s then-current site selection and construction standards, and (iii) Franchisee complies with all
 of Franchisor’s conditions to relocation, including, without limitation, the payment of a relocation fee in
 the amount of Seven Thousand Five Hundred Dollars ($7,500) (the “Relocation Fee”).

         C.        If Franchisee is unable to continue the operation of the Restaurant at the Approved
 Location because of the occurrence of a force majeure event (as described in Section XVII.A.(3)(e)), then
 Franchisee may request approval of Franchisor to relocate the Restaurant to another location in the Primary
 Area of Responsibility, as such term is defined below. Any other request to relocate the Restaurant due to
 circumstances reasonably beyond the control of Franchisee (including, without limitation, the lack of
 profitability at a particular location) shall also be subject to the same procedures. If Franchisor elects to
 grant Franchisee the right to relocate the Restaurant, then Franchisee shall comply with the site selection
 and construction procedures set forth in Section II.

         D.       Upon the execution of this Agreement, Franchisee shall be assigned the primary area of
 responsibility (the “Primary Area of Responsibility”) described in Attachment B and attached hereto.
 Except as provided in this Agreement, and subject to Franchisee’s and the Controlling Principals’ full
 compliance with this Agreement and each Other Agreement (as defined in Section XVII.C. below), neither
 Franchisor nor any of its affiliates shall establish, or authorize any other person or entity to establish, a
 FIVE GUYS® Restaurant in the Primary Area of Responsibility during the term of this Agreement.

          E.       Notwithstanding the generality of the foregoing section, Franchisor and its affiliates retain
 all other rights, and therefore Franchisor and its affiliates shall have the right, among others, on any terms
 and conditions Franchisor deems advisable, and without granting Franchisee any rights therein, to:

                  (1)  establish, and license others to establish, FIVE GUYS® Restaurants and otherwise
 sell the food and beverage Products under the Marks at any location outside the Primary Area of
 Responsibility; and

                  (2)     sell and distribute, directly or indirectly, or license others to sell and distribute,
 directly or indirectly, any collateral products under the Marks (e.g., pre-packaged food and beverage
 Products and FIVE GUYS® memorabilia) from any location to any purchaser by any method or channel of
 distribution (including, without limitation, the Internet, mail order, and/or retail locations whether located
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 within or outside of the Primary Area of Responsibility), so long as such sales are not conducted from a
 FIVE GUYS® Restaurant operated from a location inside the Primary Area of Responsibility.

 II.      SITE SELECTION, PLANS AND CONSTRUCTION

          A.       Franchisee assumes all cost, liability, expense and responsibility for locating, obtaining
 and developing a site for the Restaurant and for constructing and equipping the Restaurant at such site.
 Franchisee shall not make any binding commitment to a prospective vendor or lessor of real estate with
 respect to a site for the Restaurant unless the site is previously accepted by Franchisor as set forth below.
 Franchisee acknowledges that the location, selection, procurement and development of a site for the
 Restaurant is Franchisee’s responsibility, and that Franchisor’s approval of a prospective site and the
 rendering of assistance in the selection of a site does not constitute a representation, promise, warranty or
 guarantee, express or implied, by Franchisor that the Restaurant operated at that site shall be profitable or
 otherwise successful.

           B.       (1)     Prior to acquiring by lease or purchase a site for the Restaurant, Franchisee shall
 locate a site for the Restaurant that satisfies the site selection guidelines provided to Franchisee by
 Franchisor pursuant to Section V.(1) and shall submit to Franchisor, in the form specified by Franchisor, a
 description of the site, including evidence satisfactory to Franchisor demonstrating that the site satisfies
 Franchisor’s site selection guidelines, together with such other information and materials as Franchisor may
 reasonably require, including, but not limited to, a letter of intent or other evidence satisfactory to
 Franchisor which confirms Franchisee’s favorable prospects for obtaining the site. Franchisor shall have
 fifteen (15) days after receipt of all requested information and materials to respond to Franchisee’s
 application for the proposed site with Franchisor’s final decision on approval or disapproval of the proposed
 site, in its reasonable discretion, to be provided to Franchisee within thirty (30) days. No site may be used
 for the location of the Restaurant unless it is first accepted in writing by Franchisor.

                  (2)     If Franchisee elects to purchase the premises for the Restaurant, Franchisee shall
 submit a copy of the proposed contract of sale to Franchisor for its written approval prior to its execution
 and shall furnish to Franchisor a copy of the executed contract of sale within ten (10) days after execution.
 If Franchisee occupies the premises of the Restaurant under a lease, Franchisee shall submit a copy of the
 lease to Franchisor for written approval prior to its execution and shall furnish to Franchisor a copy of the
 executed lease within ten (10) days after execution. No lease for the Restaurant premises shall be accepted
 by Franchisor unless a Collateral Assignment of Lease, prepared by Franchisor and executed by Franchisor
 (or its designee), Franchisee and the lessor, in substantially the form attached as Attachment C, is attached
 to the lease and incorporated therein.

                (3)      After a location for the Restaurant is accepted by Franchisor and acquired by
 Franchisee pursuant to this Agreement, the location shall be described in Attachment B.

          C.      Franchisee shall be responsible for obtaining all zoning classifications and clearances
 which may be required by state or local laws, ordinances or regulations or which may be necessary as a
 result of any restrictive covenants relating to the Restaurant premises. Prior to beginning the construction
 of the Restaurant, Franchisee shall (i) obtain all permits, licenses and certifications required for the lawful
 construction or remodeling and operation of the Restaurant, and (ii) certify in writing to Franchisor that the
 insurance coverage specified in Section XII. is in full force and effect and that all required approvals,
 clearances, permits and certifications have been obtained. Upon request, Franchisee shall provide to
 Franchisor additional copies of Franchisee’s insurance policies or certificates of insurance and copies of all
 such approvals, clearances, permits and certifications.

         D.      Franchisee must obtain any architectural, engineering and design services it deems
 necessary for the construction of the Restaurant at its own expense from an architectural design firm
 approved by Franchisor, which approval shall not be unreasonably withheld. Franchisee shall adapt the
 Preliminary Design Package (as such term is defined in Section V.(3) below) for the construction of the
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 Restaurant provided to Franchisee by Franchisor in accordance with Section V.(3) as necessary for the
 construction of the Restaurant and shall submit such adapted plans to Franchisor for review. If Franchisor
 determines, in its reasonable discretion, that any such adapted plans are not consistent with the best interests
 of the System, Franchisor may prohibit the implementation of such plans, and in this event will notify
 Franchisee of any objection(s) within twenty (20) days of receiving such plans. If Franchisor fails to notify
 Franchisee of an objection to the plans within this time period, Franchisee may use such plans. If Franchisor
 objects to any such plans, it shall provide Franchisee with a reasonably detailed list of changes necessary
 to make the plans acceptable. Franchisor shall, upon a re-submission of the plans with such changes, notify
 Franchisee within ten (10) days of receiving the resubmitted plans whether the plans are acceptable. If
 Franchisor fails to notify Franchisee of any objection within such time period, Franchisee may then use the
 resubmitted plans. Franchisee acknowledges that Franchisor's review of any adapted plans relates only to
 compliance with the System and that acceptance by Franchisor of such plans does not constitute a
 representation, warranty, or guarantee, express or implied, by Franchisor that such plans are accurate, free
 of error concerning their design or structural application, or fully compliant with any applicable laws, codes,
 or regulations. Additionally, Franchisee further acknowledges that Franchisor may periodically review,
 revise, and/or otherwise supplement the adapted construction plans after acceptance and, in connection
 therewith, monitor the Restaurant's construction process to ensure compliance at all times with all FIVE
 GUYS® brand standards and specifications.

          E.      Franchisee shall promptly commence and diligently pursue construction of the Restaurant.
 Commencement of construction shall be defined as the time at which any site work is initiated by or on
 behalf of Franchisee at the location accepted for the Restaurant. Site work includes, without limitation,
 paving of parking areas, installing outdoor lighting and sidewalks, extending utilities, demising of interior
 walls and demolishing of any existing premises. During the time of construction, Franchisee shall provide
 Franchisor with such periodic reports regarding the progress of the construction or remodeling as may be
 reasonably requested by Franchisor. In addition, Franchisor may make such on-site inspections as it may
 deem reasonably necessary to evaluate such progress. If requested, Franchisee shall notify Franchisor of
 the scheduled date for completion of construction no later than thirty (30) days prior to such date. Within
 a reasonable time after the date of completion of construction, Franchisor may, at its option, conduct an
 inspection of the completed Restaurant. Franchisee acknowledges and agrees that Franchisee shall not open
 the Restaurant for business without the written authorization of Franchisor and that authorization to open
 shall be conditioned upon Franchisee’s strict compliance with this Agreement.

          F.      Franchisee acknowledges that time is of the essence. Subject to Franchisee’s compliance
 with the conditions stated herein, Franchisee shall open the Restaurant and commence business within the
 applicable timeline contained in the Development Agreement, unless Franchisee obtains an extension of
 such time period from Franchisor in writing. The date the Restaurant opens for business to the public is set
 forth in Attachment B (the “Opening Date”). Prior to the Opening Date, Franchisee shall complete all
 exterior and interior preparations for the Restaurant, including installation of equipment, fixtures,
 furnishings and signs, pursuant to the plans and specifications provided by Franchisor, and shall comply
 fully with all other pre-opening obligations, including, but not limited to, those obligations described in
 Sections VI.B. - G., to Franchisor’s reasonable satisfaction. If Franchisee fails to comply with any of such
 obligations, Franchisor shall have the right to prohibit Franchisee from commencing business. Franchisee’s
 failure to open the Restaurant and commence business in accordance with the foregoing shall be deemed a
 material event of default under this Agreement.

 III.     TERM AND RENEWAL

         A.        Unless sooner terminated as provided in Section XVII. hereof, the term of this Agreement
 shall continue from the date stated on the first page hereof until the earlier of (i) ten (10) years from Opening
 Date or (ii) the expiration or termination of Franchisee’s right to possess the Restaurant premises.

        B.       Franchisee may, at its option, renew the rights under this Agreement for additional
 consecutive terms of ten (10) years each (provided that such renewal term shall automatically terminate
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 upon the expiration or termination of Franchisee’s right to possess the Restaurant premises), subject to any
 or all of the following conditions which must, in Franchisor’s sole discretion, be met prior to and at the time
 of renewal:

                (1)     Franchisee shall give Franchisor written notice of its election to renew not less than
 seven (7) months nor more than twelve (12) months prior to the end of the initial term or renewal term, as
 applicable;

                 (2)     Franchisee shall, at its cost and expense, renovate and modernize the Restaurant
 premises as Franchisor may require, including, without limitation, the repair, replacement, and/or
 renovation, as determined by Franchisor, of any needed equipment (including, without limitation, kitchen
 equipment, office equipment, service area equipment, electronic point of sale systems, computer hardware,
 and software systems, collectively, the “Equipment”), signs, interior and exterior decor items, fixtures,
 furnishings, supplies and other products and materials required for the operation of the Restaurant as
 Franchisor may require to reflect the then-current standards and image of the System as contained in the
 Manuals (as defined in Section V.(4)) or otherwise provided in writing by Franchisor (collectively, the
 “Remodeling Items”). In addition, Franchisee shall acquire, at its cost and expense, any new or additional
 Remodeling Items reasonably required by Franchisor for Franchisee to offer and sell any new menu items
 from the Restaurant and/or provide the Restaurant’s goods and services by alternative means in conformity
 with Franchisor’s then-current standards;

                  (3)    Neither Franchisee nor any of its affiliates shall be in material default of any
 provision of this Agreement or any Other Agreement, and Franchisee shall have substantially and timely
 complied with all the terms and conditions of such agreements during the terms hereof and thereof, as
 applicable;

                 (4)       Franchisee shall have satisfied all monetary obligations owed by Franchisee to
 Franchisor and its affiliates under this Agreement and all Other Agreements at the time of any renewal, and
 shall have timely met those obligations throughout the terms hereof and thereof, as applicable;

                  (5)    Franchisee shall present satisfactory evidence that Franchisee has the right to
 remain in possession of the Restaurant premises or obtain Franchisor’s approval of a new site for the
 operation of the Restaurant for the duration of the renewal term of this Agreement;

                   (6)      Franchisor, Franchisee and the Controlling Principals (as defined in Section
 XIX.R.) shall execute a general release, in a form reasonably satisfactory to Franchisor, of any and all
 claims against Franchisor, its affiliates, partners, officers, directors, shareholders, agents, representatives,
 independent contractors, servants and employees, in their corporate and individual capacities including,
 without limitation, claims arising under this Agreement, any Other Agreement, and/or under any applicable
 federal, state or local laws, rules and regulations or orders;

                   (7)     Franchisee shall execute Franchisor’s then-current form of franchise agreement,
 which agreement shall have material terms substantially similar in all material respects to this Agreement
 (i.e., the fees, protected territory, and renewal rights), together with such other ancillary agreements
 substantially similar to the forms attached hereto; and

                 (8)     Franchisee shall comply with Franchisor’s then-current financial qualifications
 and training requirements.

 IV.      FEES

         A.       In consideration for the rights granted hereunder, Franchisee shall pay Franchisor a
 franchise fee of Twenty-Five Thousand Dollars ($25,000) (the “Franchise Fee”). The Franchise Fee for
 each Restaurant shall be paid upon the execution of this Agreement, which execution shall occur at the
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 earlier of the signing of a lease for the Restaurant, the purchase of a site for the Restaurant or ninety (90)
 days prior to the scheduled opening date of the Restaurant. The Franchise Fee shall be deemed fully earned
 and non-refundable in consideration of the administrative and other expenses incurred by Franchisor in
 granting the franchise hereunder and for its lost or deferred opportunity to grant such franchise to any other
 party. If Franchisee is unable to obtain possession of an approved location for the Restaurant within six (6)
 months from the Effective Date, Franchisor shall have the right, but not the obligation, to terminate this
 Agreement and refund seventy-five percent (75%) of the Franchise Fee without interest. Prior to Franchisor
 providing any refund, Franchisee must demonstrate to Franchisor’s satisfaction that Franchisee has made a
 good faith effort to obtain possession of an approved location for the Restaurant. Notwithstanding any
 understanding to the contrary, the foregoing refund provision shall not apply in instances where Franchisor
 or its affiliates have previously entered into a Franchise Agreement with Franchisee or any affiliate of
 Franchisee.

         B.      (1)     During the term of this Agreement, Franchisee shall pay Franchisor a continuing
 weekly royalty fee equal to six percent (6%) of the Restaurant’s “Gross Sales” (as such term is defined in
 Section IV.C. below) during the preceding week (the “Royalty Fee”). The Royalty Fee shall be due and
 payable each week (each, an “Accounting Period”), and the first such Accounting Period shall begin on
 the Opening Date and end on the following Sunday. As more fully described in Section IV.B.(3) below, the
 Royalty Fee shall be paid to Franchisor by electronic fund transfer on or before the Wednesday following
 the end of each Accounting Period, provided that such day is a Business Day. A “Business Day” means
 any day other than Saturday, Sunday or the following national holidays: New Year’s Day, Martin Luther
 King Day, Presidents’ Day, Memorial Day, Independence Day, Labor Day, Columbus Day, Veterans Day,
 Thanksgiving and Christmas. If the date on which such payments would otherwise be due is not a Business
 Day, then payment shall be due on the next Business Day.

                (2)     Upon the request of Franchisor, Franchisee agrees that it shall deliver the Royalty
 Fee payment to Franchisor together with a royalty report itemizing the Gross Sales for the preceding
 Accounting Period (each, a “Royalty Report”) and any other reports required hereunder.

                    (3)       For purposes of Royalty Fee collection, Franchisee agrees that Franchisor shall
 have the right to withdraw such funds from Franchisee’s designated bank account by electronic funds
 transfer (“EFT”). EFT withdrawals shall be drawn on the Wednesday of each week, and shall be in an
 amount equal to the Royalty Fee calculated by Franchisor for the prior week. Franchisor may process an
 EFT payment based on (a) information regarding Gross Sales for the preceding Accounting Period obtained
 by Franchisor in the manner contemplated by Section VII.E.(8) of this Agreement, or (b) the most recent
 Royalty Report provided to Franchisor by Franchisee. If a Royalty Report for the subject Accounting Period
 is subsequently requested and received by Franchisor and reflects that the actual amount of the Royalty Fee
 due was (i) more than the amount of the EFT processed by Franchisor, then Franchisor shall be entitled to
 withdraw additional funds through EFT from Franchisee’s designated bank account for the difference; or
 (ii) less than the amount of the EFT by Franchisor, then Franchisor shall either return the excess amount to
 Franchisee, or credit the excess amount to the payment of Franchisee’s future royalty obligations.
 Franchisee shall, upon execution of this Agreement or at any time thereafter at Franchisor’s request, execute
 such documents or forms as Franchisor determines are necessary for Franchisor to process EFT payments.
 Should any EFT payment not be honored by Franchisee’s bank for any reason, Franchisee agrees that it
 shall be responsible for that payment plus a service charge applied by the bank, if any. Franchisee further
 agrees that it shall at all times throughout the term of this Agreement maintain a minimum balance of Three
 Thousand Dollars ($3,000) in the Franchisee’s bank account against which such EFT payments are to be
 drawn. If Royalty Fees are not received when due, interest may be charged by Franchisor in accordance
 with Section IV.B.(4) below. Upon written notice to Franchisee, Franchisee may be required to pay such
 Royalty Fees directly to Franchisor in lieu of EFT, at Franchisor’s sole discretion. Any and all amounts
 due and payable by Franchisee to an affiliate of Franchisor for products and/or services rendered shall also
 be subject to payment by EFT (including, without limitation, payments to Five Guys Bakery, LLC for bread
 products received by Franchisee).

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                  (4)      Franchisee shall not be entitled to withhold payments due to Franchisor under this
 Agreement on grounds of alleged non-performance by Franchisor hereunder. Any payment or report not
 actually received by Franchisor on or before the date due shall be deemed overdue. Time is of the essence
 with respect to all payments to be made by Franchisee to Franchisor. All unpaid obligations under this
 Agreement shall bear interest from the date due until paid at the lesser of (i) ten percent (10%) per annum,
 or (ii) the maximum rate allowed by applicable law. Notwithstanding anything to the contrary contained
 herein, no provision of this Agreement shall require the payment or permit the collection of interest in
 excess of the maximum rate allowed by applicable law. If any excess of interest is provided for herein, or
 shall be adjudicated to be so provided in this Agreement, the provisions of this paragraph shall govern and
 prevail, and neither Franchisee nor its Controlling Principals shall be obligated to pay the excess amount of
 such interest. If for any reason interest in excess of the maximum rate allowed by applicable law shall be
 deemed charged, required or permitted, any such excess shall be applied as a payment and reduction of any
 other amounts which may be due and owing hereunder, and if no such amounts are due and owing hereunder
 then such excess shall be repaid accordingly.

                 (5)      If the Royalty Fee or Royalty Reports required by Section IV.B.(2) are not received
 by Franchisor as required by this Section, Franchisee may be required to pay Franchisor, in addition to the
 overdue amount, a fee of Fifty Dollars ($50) per day for each day that the Royalty Fee is unpaid or the
 Royalty Report is not received. This fee is reasonably related to Franchisor’s costs resulting from the delay
 in payment and/or receipt of any report, is not a penalty, and is in addition to any other remedy available to
 Franchisor under this Agreement for Franchisee’s failure to pay the Royalty Fee and/or submit Royalty
 Reports in accordance with the terms of this Agreement. If for any reason the fee of Fifty Dollars ($50) is
 deemed to be interest charged, required or permitted in excess of the maximum rate allowed by applicable
 law, any such excess shall be applied as a payment and reduction of any other amounts which may be due
 and owing hereunder, and if no such amounts are due and owing hereunder, then such excess shall be repaid
 accordingly.

         C.        As used in this Agreement, “Gross Sales” shall mean all revenue from the sale of all
 services and products and all other income of every kind and nature related to, derived from, or originating
 from the Restaurant, including, without limitation, income related to (i) catering and delivery activities, (ii)
 any sales or orders of Products or food preparation services of any kind provided from or related to the
 Restaurant, and (iii) all proceeds of any business interruption insurance policies, in each case whether for
 cash or credit, and regardless of collection in the case of credit; provided, however, that “Gross Sales” shall
 not include:

                  (1)     sales taxes or other taxes collected from customers by Franchisee and actually
 transmitted to the appropriate taxing authorities; or

                 (2)     proceeds from isolated sales of trade fixtures not constituting any part of
 Franchisee’s products and services offered for resale at the Restaurant or having any material effect upon
 the ongoing operation of the Restaurant required under this Agreement.

 V.       FRANCHISOR’S OBLIGATIONS

        Franchisor or its designee shall provide the following services described below with regard to the
 Restaurant:

         (1)      Provide Franchisee with Franchisor’s written site selection guidelines and provide such site
 selection assistance as Franchisor may deem advisable;

         (2)      Provide Franchisee with such on-site evaluation as Franchisor may deem necessary on its
 own initiative or in response to Franchisee’s reasonable request for site evaluation; provided, however, that
 Franchisor shall not provide an on-site evaluation for any proposed site prior to the receipt of all required
 information and materials concerning such site prepared pursuant to Section II. Franchisor (or its designee)
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 shall provide at no additional charge to Franchisee one (1) on-site evaluation for the Restaurant if such
 evaluation is for the first Restaurant operated by Franchisee or its affiliate. If this Agreement does not
 relate to the first FIVE GUYS® Restaurant operated by Franchisee or its affiliate, Franchisor reserves the
 right to charge a reasonable fee for such on-site evaluation based upon the reasonable expenses incurred by
 Franchisor (or its designee) in connection with such on-site evaluation, including, without limitation, the
 cost of travel, lodging, meals and wages (the “Site Evaluation Fee”). If additional on-site evaluations are
 deemed appropriate by Franchisor, or upon Franchisee’s reasonable request, Franchisor reserves the right
 to charge the Site Evaluation Fee for each of such evaluations.

         (3)     Provide Franchisee with the floor plan, the reflected ceiling plan, and the FIVE GUYS®
 brand standard construction guidelines for the Restaurant (collectively, the “Preliminary Design
 Package”). Franchisee shall independently, and at Franchisee’s expense, have the Preliminary Design
 Package adapted for construction of the Restaurant in accordance with Section II. Franchisor makes no
 representation, warranty, or guarantee, express or implied, that the Preliminary Design Package contains
 information that is fully accurate, free of error concerning their design or structural application, or fully
 compliant with any applicable laws, codes, or regulations.

          (4)     Provide Franchisee with access to the training video series (the “Videos”), when and if
 such Videos become available, and the confidential operations manuals and such other written materials as
 Franchisor shall have developed for use in the System (as the same may be revised by Franchisor from time
 to time, the “Manuals”), as more fully described in Section X.A.

         (5)     Make visits to the Restaurant and provide evaluations of the products sold and services
 rendered therein from time to time as reasonably determined by Franchisor, as more fully described in
 Section VII.E.(6).

         (6)    Make available to Franchisee and the general public, including Franchisee’s customers,
 certain merchandise identifying the System, such as FIVE GUYS® memorabilia, in sufficient amounts to
 meet customer demand.

          (7)     Provide Franchisee with a list of approved suppliers as described in Section VII.D., from
 time to time as Franchisor deems appropriate.

        (8)     Conduct an initial training program for Franchisee’s Operating Principal, General
 Manager, and such other Restaurant personnel reasonably deemed appropriate by Franchisor, all in
 accordance with the provisions of Section VI.E.(1), (2) and (4).

         (9)     If requested by Franchisee, provide five (5) days of on-site pre-opening and five (5) days
 of post-opening management assistance at the Restaurant (with neither period necessarily being consecutive
 days) in accordance with the provisions of Section VI.E.(3).

         (10)       Establish and administer a creative fund and/or advertising cooperatives in accordance with
 Section VIII.

 VI.  FRANCHISEE’S                  AGREEMENTS,        REPRESENTATIONS,             WARRANTIES           AND
 COVENANTS

         A.       Franchisee (together with the Controlling Principals, if any) covenants and agrees that it
 shall make all commercially reasonable efforts to operate the Restaurant so as to achieve optimum sales.

        B.      If Franchisee is a corporation, limited liability company, or partnership (in each case, an
 “Entity”) Franchisee and the Controlling Principals represent, warrant and covenant that:


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                    (1)      Franchisee is an Entity duly organized and validly existing under the state law of
 its formation;

                 (2)     Franchisee is an Entity duly qualified and is authorized to do business in each
 jurisdiction in which its business activities or the nature of the properties owned by it require such
 qualification;

                  (3)     Franchisee’s corporate charter, operating agreement, or written partnership
 agreement, as applicable, shall at all times provide that the activities of Franchisee are confined exclusively
 to the operation of the Restaurant, unless otherwise consented to in writing by Franchisor;

                 (4)     The execution of this Agreement and the consummation of the transactions
 contemplated hereby (i) are permitted by the Entity’s corporate power, operating agreement, or written
 partnership agreement, as applicable, and (ii) have been duly authorized by Franchisee;

                 (5)     Copies of the Entity’s articles of incorporation, bylaws, operating agreement,
 partnership agreement, other governing documents (as applicable and including any amendments thereto,
 collectively, “Charter Documents”) together with any other certificates, agreements, or other documents
 reasonably required by Franchisor shall be furnished to Franchisor prior to the execution of this Agreement;

                   (6)     The ownership interests in Franchisee are accurately and completely described in
 Attachment D and entirely consistent with the Charter Documents. Further, Franchisee shall not undergo
 any change in ownership or otherwise restructure the Entity’s equity interests without first complying with
 the restrictions of Section XIV.B.;

                 (7)     Franchisee agrees that all certificates representing interests in Franchisee, if any,
 shall conspicuously bear the following legend:

                             “The interests represented by this certificate are subject to the
                             restrictive transfer terms and conditions set forth in that certain
                             Franchise Agreement by and between this company and FIVE
                             GUYS FRANCHISOR, LLC, as supplemented and more fully
                             described in such Franchise Agreement.”

                   (8)      Upon request, Franchisee must provide Franchisor with its most recent financial
 statements. Such financial statements must present fairly the financial position of Franchisee, as well as the
 results of its operations and its cash flow for the years then ended. Franchisee agrees that at all times during
 the term of this Agreement, it shall maintain sufficient working capital to fulfill its obligations under this
 Agreement. Each of the financial statements mentioned above shall be certified as true, complete and
 correct and shall have been prepared in conformity with generally accepted accounting principles applied
 on a consistent basis.

                   (9)      No material liabilities, adverse claims, commitments or obligations of any nature
 exist as of the date of this Agreement, whether accrued, unliquidated, absolute, contingent or otherwise.

                 (10)     The Controlling Principals shall, jointly and severally, guarantee Franchisee’s
 performance of all of Franchisee’s obligations, covenants and agreements hereunder pursuant to the terms
 and conditions the “Guaranty of Controlling Principals” attached hereto as Attachment A (the
 “Guaranty”), and shall otherwise bind themselves to the terms of this Agreement as stated herein. For
 purposes of clarification, the maximum financial liability of a Controlling Principal to Franchisor for any
 payment default by Franchisee under this Agreement shall be limited to One Hundred Thousand Dollars
 ($100,000) per Controlling Principal; and


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                  (11)    Franchisee and the Controlling Principals acknowledge and agree that the
 representations, warranties and covenants set forth above in Sections VI.B.(1) - (10) are continuing
 obligations of Franchisee and the Controlling Principals, as applicable, and that any failure to comply with
 such representations, warranties and covenants shall constitute a material event of default under this
 Agreement. Franchisee and the Controlling Principals shall cooperate with Franchisor in any efforts made
 by Franchisor to verify compliance with such representations, warranties and covenants.

          C.      Upon the execution of this Agreement, Franchisee shall designate and retain an individual
 to serve as the Operating Principal of the Restaurant (the “Operating Principal”). If Franchisee is an
 individual, Franchisee shall perform all obligations of the Operating Principal. The Operating Principal
 shall, during the entire period he or she serves as such, meet the following qualifications:

                  (1)     The Operating Principal must either serve as the General Manager (as defined in
 Section VI.D.) of the Restaurant or, subject to the approval of Franchisor, designate a qualified individual
 to serve as the General Manager (the “Management Designee”).

                  (2)     The Operating Principal must maintain a substantial direct or indirect ownership
 interest in Franchisee. Except as may otherwise be provided in this Agreement, the Operating Principal’s
 interest in Franchisee shall be and shall remain free of any pledge, mortgage, hypothecation, lien, charge,
 encumbrance, voting agreement, proxy, security interest or purchase right or options.

                  (3)      The Operating Principal or his Management Designee, if applicable, shall devote
 substantially all of their time and best efforts to the supervision and conduct of the Restaurant. The
 Operating Principal shall execute this Agreement and the Guaranty as one of the Controlling Principals,
 and shall be individually, jointly and severally bound by all the obligations contained herein and therein.

                  (4)    The Operating Principal or his Management Designee, if applicable, shall meet
 Franchisor’s reasonable standards and criteria for such individual, as set forth in the Manuals or otherwise
 in writing by Franchisor.

                 (5)      If, during the term of this Agreement, the Operating Principal or his Management
 Designee, if applicable, is not able to continue to serve in such capacity, or no longer qualifies to act as
 such in accordance with this Section VI.C., Franchisee shall promptly notify Franchisor and designate a
 replacement within sixty (60) days after the Operating Principal or such Management Designee ceases to
 serve or be so qualified, such replacement being subject to the same qualifications and restrictions listed
 above. Franchisee shall provide for interim management of the activities contemplated under this
 Agreement until such replacement is so designated. Any failure to comply with the requirements of this
 Section VI.C. shall be deemed a material event of default under this Agreement under Section
 XVII.A.(3)(p) hereof.

          D.      Franchisee shall designate and retain at all times a general manager (“General Manager”)
 to direct the operation and management of the Restaurant. The General Manager shall be responsible for
 the daily operation of the Restaurant and may be one of the Controlling Principals. Notwithstanding any
 understanding to the contrary, the parties hereto acknowledge and agree that the General Manager shall,
 during the entire period he or she serves as General Manager for Franchisee, (i) solely be an employee of
 Franchisee serving under the direction of Franchisee (and, consequently, never deemed to be an employee
 or agent of Franchisor), and (ii) meet the following qualifications:

                  (1)      The General Manager shall satisfy Franchisor’s educational and business
 experience criteria as set forth in the Manuals as defined herein or otherwise in writing by Franchisor;

               (2)     The General Manager shall devote full time and best efforts to the supervision and
 management of the Restaurant;

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                    (3)      The General Manager shall be an individual reasonably acceptable to Franchisor;
 and

                  (4)     The General Manager shall satisfy the training requirements set forth in Section
 VI.F. If, during the term of this Agreement, the General Manager is not able to continue to serve in such
 capacity or no longer qualifies to act as such in accordance with this Section, Franchisee shall promptly
 notify Franchisor and designate a replacement within sixty (60) days after the General Manager ceases to
 serve, such replacement being subject to the same qualifications listed above (including the completion of
 all training and obtaining all certifications required by Franchisor). Franchisee shall provide for interim
 management of the Restaurant until such replacement is so designated, such interim management to be
 conducted in accordance with the terms of this Agreement. Any failure to comply with the requirements
 of this Section VI.D. shall be deemed a material event of default under Section XVII.A.(3)(p) hereof.

        E.       Franchisee agrees that it is necessary to the continued operation of the System and the
 Restaurant that Franchisee’s Operating Principal and General Manager receive such training as Franchisor
 may require, and accordingly agrees as follows:

                    (1)     No later than thirty (30) days prior to the Opening Date of the Restaurant,
 Franchisee’s Operating Principal, General Manager, and, if necessary, assistant manager shall attend and
 complete, to Franchisor’s reasonable satisfaction, Franchisor’s initial training program. Training of such
 persons shall be conducted by Franchisor or its designee at a Franchisor or designee-operated Restaurant
 or such other location designated by Franchisor. Franchisor shall provide instructors and training materials
 for the initial training of the Operating Principal, General Manager and assistant manager at no additional
 charge to Franchisee. Franchisor shall have the right to charge a reasonable fee for such training of any
 additional managers or Restaurant personnel.

                 Franchisor shall determine, in its reasonable discretion, whether the Operating Principal
 and General Manager have satisfactorily completed the initial training program. If the initial training
 program is not satisfactorily completed by the Operating Principal or General Manager, or if Franchisor in
 its reasonable business judgment based upon the performance of the Operating Principal or General
 Manager, determines that the training program cannot be satisfactorily completed by any such person,
 Franchisee shall designate a replacement to satisfactorily complete such training. Any Operating Principal
 or General Manager subsequently designated by Franchisee shall also receive and complete such initial
 training. Franchisor reserves the right to charge a reasonable fee for any initial training provided by
 Franchisor or its designee to any initial General Manager or any other Restaurant personnel for any
 Restaurant subsequently developed by Franchisee and otherwise for any initial training provided to a
 replacement or successor General Manager. Franchisee shall be responsible for any and all expenses
 incurred by Franchisee or Franchisee’s Operating Principal, General Manager and other Restaurant
 personnel in connection with any initial training program, including, without limitation, costs of travel,
 lodging, meals and wages.

                  (2)      Franchisee’s Operating Principal, General Manager and such other Restaurant
 personnel as Franchisor shall designate shall attend such additional training programs and seminars as
 Franchisor or its designee may offer from time to time, if Franchisor requires such attendance. For all such
 programs and seminars, Franchisor or its designee shall provide the instructors and training materials.
 Franchisee shall be responsible for any and all expenses incurred by Franchisee or its Operating Principal,
 General Manager and other Restaurant personnel in connection with such additional training, including,
 without limitation, costs of travel, lodging, meals, and wages. Additionally, in the event that such additional
 training programs and seminars are requested by Franchisee and not deemed mandatory by Franchisor,
 Franchisor reserves the right to impose a reasonable fee for such additional training.

                 (3)      In connection with the opening of the Restaurant, Franchisor shall provide
 Franchisee with opening assistance by a trained representative of Franchisor or its designee. The trainer
 shall provide on-site pre-opening and post-opening management and opening training, supervision, and
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 assistance to Franchisee for a period of five (5) days. With respect to the opening assistance described
 above and any such assistance provided to a relocated Restaurant established by Franchisee pursuant to
 Sections I.B. or C. hereof, Franchisee may be required to pay Franchisor the per diem fee then being charged
 to franchisees generally for opening assistance, including, without limitation, payment of any expenses
 incurred by Franchisor’s trainers (e.g., costs of travel, lodging, meals and wages) (collectively, the “Per
 Diem”). Notwithstanding the generality of the foregoing, if the Restaurant is the first FIVE GUYS®
 Restaurant developed by Franchisee (and no affiliate of Franchisee has developed a FIVE GUYS®
 Restaurant pursuant to the Development Agreement), Franchisee shall not be required to pay the Per Diem.

                 (4)     Upon the reasonable request of Franchisee, or as Franchisor shall deem
 appropriate, Franchisor shall, subject to the availability of personnel, provide Franchisee with additional
 trained representatives who shall provide on-site remedial training and assistance to the Restaurant’s
 personnel. For additional training and assistance requested by Franchisee, Franchisee may be required to
 pay the Per Diem.

         F.       Franchisee shall comply with all requirements of federal, state and local laws, rules,
 regulations, and orders.

        G.      Franchisee shall comply with all other requirements and perform such other obligations as
 provided hereunder.

 VII.     FRANCHISE OPERATIONS

          A.      Franchisee understands the importance of maintaining uniformity among all of the FIVE
 GUYS® Restaurants and the importance of complying with all of Franchisor’s standards and specifications
 relating to the operation of the Restaurant.

          B.      Franchisee shall maintain the Restaurant in a high degree of sanitation, repair and
 condition, and in connection therewith shall make such additions, alterations, repairs and replacements to
 the Restaurant consistent with Franchisor’s then-current standards and specifications and as may be
 required for that purpose, including such periodic repainting or replacement of obsolete signs, furnishings,
 fixtures, and equipment (including, without limitation, kitchen equipment, office equipment, service area
 equipment, electronic point of sale systems, computer hardware, and software systems, collectively, the
 “Equipment”), and décor as Franchisor may reasonably direct in order to maintain system wide integrity
 and uniformity. Franchisee shall also obtain, at Franchisee’s cost and expense, any new or additional
 Equipment, fixtures, supplies and other products and materials which may be reasonably required by
 Franchisor. Except as may be expressly provided in the Manuals, no alterations or improvements or changes
 of any kind in design, Equipment, signs, interior or exterior decor items, fixtures or furnishings shall be
 made in or about the Restaurant or its premises without the prior written approval of Franchisor.

         C.       To assure the continued success of the Restaurant, Franchisee shall, upon the request of
 Franchisor, make other improvements to modernize the Restaurant premises, Equipment, signs, interior and
 exterior décor items, fixtures, furnishings, supplies and other products and materials required for the
 operation of the Restaurant to Franchisor’s then-current standards and specifications. Notwithstanding the
 above, Franchisee agrees that it shall make such capital improvements or modifications described in this
 Section VII.C. if so requested by Franchisor on or after the fifth (5th) anniversary of the Opening Date, or
 at such other time during the term of this Agreement that a majority of the Restaurants then operated by
 Franchisor or its affiliates have made or are utilizing best efforts to make such improvements or
 modifications.

         D.      Franchisee shall comply with all of Franchisor’s standards and specifications relating to
 the purchase of all food and beverage items, ingredients, supplies, materials, fixtures, furnishings,
 Equipment and other products used or offered for sale at the Restaurant. Except as provided in Sections
 VII.F. and VII.G. with respect to certain materials bearing the Marks and proprietary products, Franchisee
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 shall obtain such items from suppliers (including manufacturers, distributors and other sources) who (i)
 continue to demonstrate the ability to meet Franchisor’s then-current standards and specifications, (ii)
 possess adequate quality controls and capacity to supply Franchisee’s needs promptly and reliably, (iii)
 have been approved in writing by Franchisor prior to any purchases by Franchisee from any such supplier,
 and (iv) who have not thereafter been disapproved by Franchisor. If Franchisee desires to purchase, lease
 or use any products or other items from an unapproved supplier, Franchisee shall submit to Franchisor a
 written request for such approval, or shall request the supplier itself to do so. Franchisee shall not purchase
 or lease from any supplier until and unless such supplier has been approved in writing by Franchisor.
 Franchisor shall have the right to require that its representatives be permitted to inspect the supplier’s
 facilities, and that samples from the supplier be delivered, either to Franchisor or to an independent
 laboratory designated by Franchisor for testing. A charge, not to exceed the reasonable cost of the
 inspection and the actual cost of the test, shall be paid by Franchisee or the supplier. Franchisor reserves
 the right, at its option, to re-inspect from time to time the facilities and products of any such approved
 supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Franchisor’s then-
 current criteria. Nothing in the foregoing shall be construed to require Franchisor to approve or consider
 any particular supplier.

          E.      To ensure that the highest degree of quality and service is maintained, Franchisee shall
 operate the Restaurant in strict conformity with such methods, standards and specifications of Franchisor
 set forth in the Manuals and as may from time to time otherwise be prescribed in writing. In particular,
 Franchisee also agrees:

                 (1)     To sell or offer for sale all menu items, products and services required by
 Franchisor and in the method, manner, and style of distribution prescribed by Franchisor in the Manuals or
 otherwise in writing. Franchisee agrees to comply with the terms of any such distribution program and in
 connection therewith to execute such documents or instruments that Franchisor may deem necessary to
 such program.

                   (2)     To (a) sell and offer for sale only the menu items, products and services that have
 been expressly approved for sale by Franchisor in the Manuals or otherwise in writing, (b) refrain from
 deviating from Franchisor’s standards and specifications without Franchisor’s prior written consent, and
 (c) discontinue selling and offering for sale any menu items, products or services which Franchisor may, in
 its sole discretion, disapprove in writing at any time.

                  (3)     To (a) maintain in sufficient supply and to use and sell at all times only such food
 and beverage items, ingredients, products, materials, supplies and paper goods that conform to Franchisor’s
 standards and specifications, (b) prepare all menu items in accordance with Franchisor’s recipes and
 procedures for preparation contained in the Manuals or other written directives, including, but not limited
 to, the prescribed measurements of ingredients, and (c) refrain from deviating from Franchisor’s standards
 and specifications by the use or offer of non-conforming items or differing amounts of any items without
 Franchisor’s prior written consent.

                  (4)      To permit Franchisor or its agents, during normal business hours, to remove a
 reasonable number of samples of food or non-food items from Franchisee’s inventory or from the
 Restaurant, without payment therefor, in amounts reasonably necessary for testing by Franchisor or an
 independent laboratory to determine whether such samples meet Franchisor’s then-current standards and
 specifications. In addition to any other remedies it may have under this Agreement, Franchisor may require
 Franchisee to bear the cost of such testing.

                 (5)     To purchase or lease and install, at Franchisee’s expense, all fixtures, furnishings,
 Equipment, décor items, signs, and related items as Franchisor may reasonably direct from time to time in
 the Manuals or otherwise in writing; and to refrain from installing or permitting to be installed on or about
 the Restaurant premises, without Franchisor’s prior written consent, any fixtures, furnishings, Equipment,
 décor items, signs, games, vending machines or other items not previously approved as meeting
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 Franchisor’s standards and specifications. If any of the property described above is leased by Franchisee
 from a third party, such equipment lease shall be approved by Franchisor, in writing, prior to execution.
 Franchisor’s approval shall be conditioned upon such equipment lease containing the collateral assignment
 rights of Franchisor.

                  (6)    To (a) grant Franchisor and its agents the right to enter upon the Restaurant
 premises during normal business hours for the purpose of conducting inspections, (b) cooperate with
 Franchisor’s representatives in such inspections by rendering such assistance as they may reasonably
 request, and (c) upon notice from Franchisor or its agents and without limiting Franchisor’s other rights
 under this Agreement, take such steps as may be necessary to correct immediately any deficiencies detected
 during any such inspection. Should Franchisee, for any reason, fail to correct such deficiencies within a
 reasonable time as determined by Franchisor, Franchisor shall have the right and authority (without,
 however, the obligation) to correct such deficiencies and charge Franchisee a reasonable fee for
 Franchisor’s expenses in so acting, payable by Franchisee immediately upon demand.

                  (7)    To maintain a competent, conscientious, properly trained staff in numbers
 sufficient to promptly service customers, and to take such steps as are necessary to ensure that such
 employees preserve good customer relations and comply with such uniform/dress code requirements as
 Franchisor may prescribe.

                  (8)     To install and maintain the proper Equipment and telecommunications line(s)
 necessary, and in accordance with Franchisor’s specifications, to permit Franchisor to access and retrieve
 by telecommunication any information stored on Franchisee’s electronic point of sale system and related
 systems (thereby permitting Franchisor to inspect and electronically monitor information concerning the
 Restaurant’s Gross Sales and such other information as may be contained or stored in such equipment and
 software). At all times during the term of this Agreement, Franchisee shall obtain and maintain continuous
 and reliable Internet access or other means of electronic communication, as specified by Franchisor from
 time to time. It shall be a material default under this Agreement if Franchisee fails to maintain such
 Equipment, lines, and communication methods in operation and accessible to Franchisor at all times
 throughout the term of this Agreement. Franchisor shall have access as provided herein at such times and
 in such manner as Franchisor shall from time to time specify.

                 (9)      To honor all credit, charge, courtesy or cash cards or other credit devices required
 or approved by Franchisor. Franchisee must obtain the written approval of Franchisor prior to honoring
 any previously unapproved credit, charge, courtesy or cash cards or other credit devices. Franchisee shall
 ensure that the Restaurant adheres to the standards applicable to electronic payments including PCI
 (Payment Card Industry) standards or any equivalent thereof. If required by Franchisor or by one of the
 credit card companies, Franchisee shall provide Franchisor with evidence of compliance with the applicable
 standards and provide, or make available, to Franchisor copies of any audit, scanning results or related
 documentation relating to such compliance. Any costs associated with an audit or to gain compliance with
 these standards (including any penalties) shall be borne by Franchisee. Franchisee shall immediately (in
 any event within twenty-four (24) hours) notify Franchisor if it suspects, or has been notified by any third
 party of, a possible security breach related to the cashless system (or related cashless data) used in the
 Restaurant.

                   (10)    To not issue gift certificates, coupons, scrip or other cash equivalent certificates or
 devices for use at the Restaurant without the prior written approval of Franchisor. Franchisee must accept
 all Franchisor issued or approved gift cards and/or certificates presented by customers for purchase of goods
 or services.

                  (11)    To obtain, at its sole expense, and maintain at all times during the term of this
 Agreement, such twenty-four (24)-hour monitored security system equipment and services as may from
 time to time be required by Franchisor for the protection of the Restaurant and the Franchisee’s employees

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 and customers. All security system equipment and services must meet the then current standards and
 specifications established by Franchisor.

          F.       Franchisee acknowledges and agrees that Franchisor and/or its affiliates have and may
 continue to develop for use in the System certain Products which are prepared from confidential proprietary
 recipes and which are trade secrets of Franchisor (together, the “Proprietary Products”). Because of the
 importance of quality and uniformity of production and the significance of such Proprietary Products to the
 System, it is to the mutual benefit of the parties that Franchisor closely control the production and
 distribution of such Proprietary Products (including, without limitation, the bread Products). Accordingly,
 Franchisee agrees that it shall purchase solely from Franchisor, or from a source designated by Franchisor,
 all of such Proprietary Products. If requested by Franchisor, Franchisee further agrees to purchase from
 Franchisor or its affiliates for resale to Franchisee’s customers certain merchandise identifying the System
 as Franchisor shall require, such as “FIVE GUYS®” memorabilia and promotional products, in amounts
 sufficient to satisfy Franchisee’s customer demand.

          G.     Franchisee shall require all signs, decorations, paper goods (including menus and all forms
 and stationery used in the franchised business), and other items which may be designated by Franchisor to
 bear the Marks in the form, color, location and manner prescribed by Franchisor.

          H.      Franchisee shall process and handle all consumer complaints connected with or relating to
 the Restaurant, and shall promptly notify Franchisor by telephone and in writing of all of the following
 complaints: (i) food related illnesses, (ii) safety or health violations, (iii) claims exceeding One Hundred
 Dollars ($100.00), and (iv) any other material claims against or losses suffered by Franchisee. Franchisee
 shall maintain for Franchisor’s inspection any inspection reports affecting the Restaurant or Equipment
 located in the Restaurant during the term of this Agreement and for thirty (30) days after the expiration or
 earlier termination hereof.

          I.      Upon the execution of this Agreement or at any time thereafter, Franchisee shall, at the
 option of Franchisor, execute such forms and documents as Franchisor deems necessary to appoint
 Franchisor or its designee its true and lawful attorney-in-fact with full power and authority for the sole
 purpose of assigning to Franchisor or its designee, only upon the termination or expiration of this
 Agreement (as required under Section XVIII.N.): (i) all rights to the telephone numbers of the Restaurant
 and any related and other business listings; and (ii) internet listings, domain names, internet Accounts,
 websites, listings with search engines, e-mail addresses or any other similar listing or usages related to the
 Restaurant, the System, and/or the Marks. Franchisee agrees that it has no authority to and shall not
 establish any website or listing on the internet without the expressed written consent of Franchisor
 (including, without limitation, any internet presence on Facebook, Twitter, Instagram, Pinterest and other
 social media platforms, “Social Media”) which consent may be denied without reason.

         J.      In the event Franchisee sells any food, beverage, products, premiums, novelty items,
 clothing, souvenirs or performs any services that Franchisor has not prescribed, approved or authorized (in
 any instance, an “Unapproved Product or Service”), Franchisee shall, following notice from Franchisor:
 (i) immediately cease and desist offering or providing the Unapproved Product or Service, and (ii) pay to
 Franchisor, on demand, a prohibited product or service fine equal to Two Hundred Fifty Dollars ($250) per
 day for each day such Unapproved Product or Service was offered or provided by Franchisee. The
 prohibited product or service fine shall be in addition to all other remedies available to Franchisor under
 this Agreement or at law.

         K.      Franchisee shall sell, issue, and honor only those gift cards (together “Gift Cards”) that
 have been prepared utilizing the standards provided by Franchisor in the Manuals or otherwise in writing.
 Franchisee shall fully honor all Gift Cards regardless of whether a Gift Card was issued by the Restaurant
 or another FIVE GUYS® Restaurant. Franchisee shall sell, issue, and redeem (without any offset against
 any Royalty Fees) Gift Cards in accordance with procedures and policies specified by Franchisor in the
 Manuals or otherwise in writing, including those relating to procedures by which Franchisee shall (i) request
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 reimbursement for Gift Cards issued by other FIVE GUYS® Restaurants, and (ii) make timely payments to
 Franchisor, other operators of FIVE GUYS® Restaurants, and/or third-party service providers for Gift Cards
 issued from the Restaurant that are later honored by a Restaurant owned or otherwise controlled by
 Franchisor’s affiliate or another FIVE GUYS® Restaurant operator. In connection with the foregoing, the
 administration of all Gift Card proceeds and reimbursements shall be controlled by Franchisor or its
 affiliates.

 VIII.    ADVERTISING AND RELATED FEES

         Recognizing the importance of the standardization of advertising programs to the furtherance of
 the goodwill and public image of the System, the parties agree as follows:

          A.      Franchisor may from time to time develop and create advertising and sales promotion
 programs designed to promote and enhance the collective success of all FIVE GUYS® Restaurants
 operating under the System. Franchisee shall participate in all such advertising and sales promotion
 programs in accordance with the terms and conditions established by Franchisor for each program. In all
 aspects of these programs, including, without limitation, the type, quantity, timing, placement and choice
 of media, market areas and advertising agencies, the standards and specifications established by Franchisor
 shall be final and binding upon Franchisee. Without limiting the generality of this Section VIII., Franchisor
 currently does not, nor does it permit Franchisee or any franchisee to, advertise or otherwise participate in
 any sales promotion activities for any FIVE GUYS® Restaurant outside of those efforts administered by
 Franchisor through the Creative Fund described below. Consequently, Franchisee shall not use, or cause
 any other party to use, the Marks (or any abbreviation or other name associated with Franchisor and/or the
 System) as part of any advertisement, commercial, or solicitation without first obtaining Franchisor’s
 written consent.

         B.      In addition to the ongoing Creative Fund contributions set forth herein, Franchisee may be
 required to spend, annually throughout the term of this Agreement, not less than two percent (2%) of the
 Gross Sales of the Restaurant on advertising for the Restaurant in its local area (“Local Advertising”). If
 required by Franchisor, Franchisee shall submit to Franchisor annually an advertising expenditure report
 accurately reflecting such expenditures for the preceding period on or before the 1st day of February
 following the end of each calendar year, provided that such day is a Business Day. If that day is not a
 Business Day, then such report shall be due on the next Business Day. In addition to the restrictions set
 forth below, costs and expenditures incurred by Franchisee in connection with any of the following shall
 not be included in Franchisee’s expenditures on Local Advertising for purposes of this Section, unless
 approved in advance by Franchisor in writing:

                (1)     Incentive programs for employees or agents of Franchisee (including the cost of
 honoring any coupons distributed in connection with such programs);

                    (2)      Research expenditures;

                    (3)      Food costs incurred in any promotion;

                  (4)    Salaries and expenses of any employees of Franchisee, including salaries or
 expenses for attendance at advertising meetings or activities;

                    (5)      Charitable, political or other contributions or donations;

                    (6)      In-store materials consisting of fixtures or equipment; and

                    (7)      Seminar and educational costs and expenses of employees of Franchisee.


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          C.     Franchisor shall administer a creative fund for the purpose of promoting and marketing the
 System on a regional or national basis (the “Creative Fund”). Franchisee agrees to contribute up to two
 percent (2.0%) of the Restaurant’s weekly Gross Sales for each week to the Creative Fund (the
 “Contributions”), as Franchisor shall determine from time to time. Such Contributions shall be paid to
 Franchisor by EFT on or before the Wednesday following each Accounting Period, provided that such day
 is a Business Day. If that date is not a Business Day, then payment of the Contributions shall be due on the
 next Business Day. Franchisor may, in its sole discretion, increase or reduce Franchisee’s required
 Contribution to the Creative Fund and/or require Franchisee to allocate to the Creative Fund, all or any
 portion of Franchisee’s required Contributions to a Cooperative as described in Section VIII.D. or
 expenditures for Local Advertising as described in Section VIII.B. Upon the request of Franchisor, each
 Contribution to the Creative Fund shall be accompanied by a marketing report itemizing the Gross Sales
 for the preceding Accounting Period.

        Franchisee agrees that the Creative Fund shall be maintained and administered by Franchisor or its
 designee as follows:

                   (1)     Franchisor shall direct all promotional programs and shall have sole discretion to
 approve or disapprove the creative concepts, materials and media used in such programs and the placement
 and allocation thereof. Franchisee agrees and acknowledges that the Creative Fund is intended to maximize
 customer service, brand awareness, quality control, general public recognition and acceptance of the Marks
 (including, without limitation, maintenance and remediation efforts to prevent the potential devaluation of
 the Marks), and enhance the collective success of all FIVE GUYS® Restaurants operating under the System.
 Franchisor shall, with respect to FIVE GUYS® Restaurants operated by Franchisor or any affiliate, submit
 Contributions to the Creative Fund generally on the same basis as Franchisee. In administering the Creative
 Fund, Franchisor and its designees undertake no obligation to make expenditures for Franchisee which are
 equivalent or proportionate to Franchisee’s Contribution or to ensure that any particular franchisee benefits
 directly or pro rata from the promotional programs.

                  (2)     Franchisee agrees that the Creative Fund may be used to satisfy any and all costs
 of maintaining, administering, directing and preparing the Franchisor’s secret-shopper program and/or all
 other internal or external marketing efforts (including, without limitation, the cost of preparing and
 conducting any franchisee conferences, general marketing campaigns, public relations activities, employing
 marketing agencies to assist therein, and costs of Franchisor’s personnel and other departmental costs for
 marketing and quality control measures that are internally administered or prepared by Franchisor). All
 Contributions to the Creative Fund shall be maintained in a separate account by Franchisor and may be
 used to defray any of Franchisor’s general operating expenses, if any, as Franchisor may incur in activities
 reasonably related to the administration or direction of the Creative Fund programs for franchisees and the
 System. The Creative Fund and its earnings shall not otherwise inure to the benefit of Franchisor. The
 Creative Fund is operated primarily as a conduit for collecting the Contributions and expending them
 towards the marketing and promotional efforts outlined above. Notwithstanding the generality of the
 foregoing, any rebates or similar allowances duly owed and received by Franchisor as described in Section
 VIII.I. hereof and subsequently contributed to the Creative Fund shall be subject to the restrictions of this
 Section VIII.C. and shall not be subject to the Franchisor’s discretionary allowance provided for under such
 Section VIII.H.

                 (3)     A statement of the operations of the Creative Fund shall be prepared annually by
 Franchisor and shall be made available to Franchisee upon request.

                 (4)     Although the Creative Fund is intended to be of perpetual duration, Franchisor may
 terminate the Creative Fund. The Creative Fund shall not be terminated, however, until all monies in the
 Creative Fund have been expended as contemplated above or returned to contributing franchised businesses
 or those operated by Franchisor or any affiliate, without interest, on the basis of their respective
 contributions.

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         D.        Franchisee agrees that Franchisor shall have the right, in its reasonable discretion, to
 designate any geographic area in which two (2) or more FIVE GUYS® Restaurants are located as a region
 for purposes of establishing an advertising cooperative (each, a “Cooperative”). Each Cooperative shall
 be organized and governed in a form and manner, and shall commence operation on a date, determined in
 advance by Franchisor in its reasonable discretion. Each Cooperative shall be organized for the exclusive
 purposes of administering advertising programs and developing, subject to Franchisor’s approval pursuant
 to Section VIII.G., promotional materials for use by the members in Local Advertising. If at the time of
 the execution of this Agreement a Cooperative has been established for a geographic area that encompasses
 the Restaurant, or if any such Cooperative is established during the term of this Agreement, Franchisee
 shall execute such documents as are required by Franchisor immediately upon the request of Franchisor
 and shall become a member of the Cooperative pursuant to the terms of those documents. Franchisee shall
 participate in the Cooperative as follows:

                 (1)     Subject to Section VIII.C., Franchisee shall contribute to the Cooperative such
 amounts required by the documents governing the Cooperative; provided, however, Franchisee shall not be
 required to contribute more than one percent (1%) of Franchisee’s Gross Sales during each Accounting
 Period to the Cooperative unless, subject to Franchisor’s reasonable approval, the members of the
 Cooperative agree to the payment of a larger fee. Any and all contributions to a Cooperative shall also be
 applied toward the satisfaction of the Franchisee’s Local Advertising requirement set forth in Section
 VIII.B.;

                 (2)      Franchisee shall submit to the Cooperative and to Franchisor such statements and
 reports as may be required by Franchisor or by the Cooperative. All contributions to the Cooperative shall
 be maintained and administered in accordance with the documents governing the Cooperative. The
 Cooperative shall be operated solely as a conduit for the collection and expenditure of the Cooperative fees
 for the purposes outlined above; and

                   (3)   No advertising or promotional plans or materials may be used by the Cooperative
 or furnished to its members without the prior approval of Franchisor. All such plans and materials shall be
 submitted to Franchisor in accordance with the procedure set forth in Section VIII.F.

         E.      Regardless of whether Franchisor establishes a Creative Fund under Section VIII.C. and/or
 a Cooperative established under Section VIII.D. applicable to the Restaurant, the total required advertising
 contributions or payments by Franchisee under this Section VIII. to (i) the Creative Fund, (ii) the
 Cooperative, and (iii) the Local Advertising obligations, shall never exceed four percent (4%) of
 Franchisee’s Gross Sales.

          F.      All marketing and promotion by Franchisee in any medium shall be conducted in a
 professional manner and shall conform to the standards and requirements of Franchisor as set forth in the
 Manuals. Franchisee shall obtain Franchisor’s approval of all marketing and promotional plans and
 materials prior to use if such plans and materials have not been prepared by Franchisor or previously
 approved by Franchisor during the twelve (12) months prior to their proposed use. Franchisee shall submit
 such unapproved plans and materials to Franchisor, and Franchisor shall approve or disapprove such plans
 and materials within fifteen (15) Business Days of Franchisor’s receipt thereof, which approval shall not
 be unreasonably withheld. Franchisee shall not use such unapproved plans or materials until they have
 been approved by Franchisor, and shall promptly discontinue use of any advertising or promotional plans
 or materials, whether or not previously approved, upon notice from Franchisor. Franchisee shall not
 advertise or use the Marks in any fashion on the internet, world wide web or via other means of advertising
 through telecommunication without the express written consent of Franchisor. Franchisor has sole
 discretion and control over any Social Media presence using, displaying, or otherwise relating to the Marks.
 Franchisor may use part of the Contributions collected pursuant to Section VIII.C. under this Agreement to
 pay, reimburse, or defray the costs associated with the development, maintenance, operation, and/or updates
 to its presence on Social Media. Franchisor may elect, but is in no way required, to establish guidelines
 under which Franchisee may establish profiles or otherwise establish a presence on Social Media platforms
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 (“Social Media Guidelines”). In such event, Franchisee must comply with the standards, protocols and
 restrictions proscribed by Franchisor in the Social Media Guidelines or otherwise in writing.

           G.      With respect to the offer and sale of all menu and beverage Products, Franchisor may from
 time to time offer guidance with respect to the selling price for such goods, products and services. Except
 with respect to maximum prices set forth below, Franchisee is in no way bound to adhere to any such
 recommended or suggested price. Franchisee shall have the right to sell its products and provide services
 at any price that Franchisee may determine, except that Franchisor reserves the right to establish maximum
 prices for any given product or service nationwide or within an advertising market (as determined by
 Franchisor) to the extent such maximum prices are for a limited time only. Franchisee shall not exceed any
 maximum price established by Franchisor, but at all times remains free to charge any price below the
 maximum established by Franchisor. Franchisee shall execute any instruments or other writings required
 by Franchisor to facilitate the provision of such products and services. If Franchisee elects to sell any or
 all of its Products at any price recommended by Franchisor, Franchisee acknowledges that Franchisor has
 made no guarantee or warranty that offering such Products at the recommended price shall enhance
 Franchisee’s sales or profits.

         H.       In the event that any volume discounts, rebates, allowances, or other similar discounts are
 received by the Franchisor from any manufacturer or other supplier designated by the Franchisor on account
 of purchases made by the Franchisor for its account or for the account of the Franchisee, or by the
 Franchisee directly for his/her own account, the Franchisor shall have the option of remitting same to the
 Creative Fund or retain the full amount of the said volume discounts, rebates, allowances, or other similar
 discounts.

          I.     Franchisor, Franchisee, and the Controlling Principals recognize the potentially
 detrimental impact of unauthorized media interviews on the goodwill and public image of the System.
 Consequently, Franchisee and the Controlling Principals shall not, and shall take all steps necessary to cause
 each Franchisee Designee to not, engage in any interviews, discussions, photo opportunities, or similar
 conversations (in any such instance, an “Interview”) with any media channel, media internet source, news
 publication, journalist, reporter, blogger, or similar media outlet (in any such instance, the “Media”)
 wherein such Interview identifies, or reasonably could identify, the Franchisee, the Controlling Principals,
 the Franchisee Designees, or the Restaurant as being associated with the Marks and/or the System. The
 parties acknowledge and agree that full compliance with the foregoing Media restriction is of substantial
 importance to Franchisor, and any breach shall be deemed a material breach of this Agreement and each
 Other Agreement with no opportunity to cure.

 IX.      MARKS

         A.      Franchisor grants Franchisee the right to use the Marks during the term of this Agreement
 solely at the Restaurant from its Approved Location and in accordance with the System and related
 standards and specifications.

          B.        Franchisee expressly understands and acknowledges that:

                (1)       As between Franchisor and Franchisee, Franchisor is the sole licensor and
 beneficial owner of all right, title and interest in and to the Marks and the goodwill associated with and
 symbolized by them.

                  (2)     Neither Franchisee nor any Controlling Principal shall take any action that would
 prejudice or interfere with the validity of Franchisor’s rights with respect to the Marks. Nothing in this
 Agreement shall give the Franchisee any right, title, or interest in or to any of the Marks or any service
 marks, trademarks, trade names, trade dress, logos, copyrights or proprietary materials, except the right to
 use the Marks and the System in accordance with the terms and conditions of this Agreement for the
 operation of the Restaurant from its Approved Location and in approved advertising related to the
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 Restaurant. Franchisee understands and agrees that the limited license to use the Marks granted hereby
 applies only to such Marks as are designated by Franchisor, and which are not subsequently designated by
 Franchisor as being withdrawn from use, together with those which may hereafter be designated by
 Franchisor in writing. Franchisee expressly understands and agrees that it is bound not to represent in any
 manner that it has acquired any ownership or equitable rights in any of the Marks by virtue of the limited
 license granted hereunder, or by virtue of Franchisee’s use of any of the Marks.

                  (3)      Franchisee understands and agrees that any and all goodwill arising from
 Franchisee’s use of the Marks and the System shall inure solely and exclusively to Franchisor’s benefit,
 and upon expiration or termination of this Agreement and the license herein granted, no monetary amount
 shall be assigned as attributable to any goodwill associated with Franchisee’s use of the Marks.

                  (4)      Franchisee shall not contest the validity of Franchisor’s or any affiliate’s interest
 in the Marks or assist others to contest the validity of or Franchisor’s or any affiliate’s interest in the Marks.

                   (5)    Franchisee acknowledges that any unauthorized use of the Marks shall constitute
 an infringement of Franchisor’s rights in the Marks and a material event of default hereunder. Franchisee
 agrees that it shall provide Franchisor with all assignments, affidavits, documents, information and
 assistance Franchisor reasonably requests to fully vest in Franchisor or its affiliate all such rights, title and
 interest in and to the Marks, including all such items as are reasonably requested by Franchisor to register,
 maintain and enforce such rights in the Marks.

                  (6)      If it becomes advisable at any time, in the discretion of Franchisor, to modify or
 discontinue use of any Mark and/or to adopt or use one or more additional or substitute proprietary marks,
 then Franchisee shall be obligated to comply with any such instruction by Franchisor. Franchisor shall
 have no obligation in such event to reimburse Franchisee for its documented expenses of compliance.
 Franchisee waives any claim arising from or relating to any Mark change, modification or substitution.
 Franchisor shall not be liable to Franchisee for any expenses, losses or damages sustained by Franchisee as
 a result of any Mark addition, modification, substitution or discontinuation. Franchisee covenants not to
 commence or join in any litigation or other proceeding against Franchisor for any of these expenses, losses
 or damages.

         C.      With respect to Franchisee’s limited licensed use of the Marks pursuant to this Agreement,
 Franchisee further agrees that:

                  (1)      Unless otherwise authorized or required by Franchisor, Franchisee shall operate
 the Restaurant only under the name “FIVE GUYS” and “FIVE GUYS BURGERS AND FRIES”, each
 without prefix or suffix. Franchisee shall not use the Marks, or any derivation thereof, as part of its
 corporate or other legal name, and shall obtain the Franchisor’s approval of such corporate or other legal
 name prior to filing it with the applicable state authority.

                  (2)       During the term of this Agreement and any renewal hereof, Franchisee shall at all
 times identify itself as the independent owner and operator of the Restaurant in conjunction with any use
 of the Marks, including, but not limited to, uses on invoices, order forms, receipts and contracts, as well as
 the display of a notice in such content and form and at such conspicuous locations on the premises of the
 Restaurant as Franchisor may designate in writing.

                 (3)      Franchisee shall not use the Marks to incur any obligation or indebtedness on
 behalf of Franchisor or its affiliates.

                   (4)    Franchisee shall comply with Franchisor’s instructions in filing and maintaining
 the requisite trade name or fictitious name registrations, and shall execute any documents deemed necessary
 by Franchisor or its counsel to obtain protection of the Marks or to maintain their continued validity and
 enforceability.
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           D.       Franchisee shall notify Franchisor immediately by telephone and thereafter in writing of
 any apparent infringement of or challenge to Franchisee’s use of any Mark, of any claim by any person of
 any rights in any Mark, and Franchisee and the Controlling Principals shall not communicate with any
 person other than Franchisor or any designated affiliate thereof, their counsel and Franchisee’s counsel in
 connection with any such infringement, challenge or claim. Franchisor shall have complete discretion to
 take such action as it deems appropriate in connection with the foregoing, and the right to control
 exclusively, or to delegate control to any of its affiliates, of any settlement, litigation or Patent and
 Trademark Office or other proceeding arising out of any such alleged infringement, challenge or claim or
 otherwise relating to any Mark. Franchisee agrees to execute any and all instruments and documents, render
 such assistance, and do such acts or things as may, in the opinion of Franchisor, reasonably be necessary or
 advisable to protect and maintain the interests of Franchisor or any affiliate in any litigation or other
 proceeding or to otherwise protect and maintain the interests of Franchisor or any other interested party in
 the Marks. Franchisor shall indemnify Franchisee and hold it harmless from and against any and all claims,
 liabilities, costs, damages and reasonable expenses for which Franchisee is held liable in any proceeding
 arising out of Franchisee’s use of any of the Marks (including settlement amounts), provided that the
 conduct of Franchisee and the Controlling Principals with respect to such proceeding and use of the Marks
 is in full compliance with the terms of this Agreement.

          E.      The right and license of the Marks granted hereunder to Franchisee is non-exclusive, and
 Franchisor and its affiliates have and retain the following rights, among others, subject only to the
 limitations of Section I.:

                    (1)      To grant other licenses for use of the Marks outside of the Primary Area of
 Responsibility;

                  (2)     To develop and establish other systems using the Marks or other names or marks
 and to grant licenses thereto without providing any rights to Franchisee; and

                  (3)     To engage, directly or indirectly, through its employees, representatives, licensees,
 assigns, agents and others, at wholesale, retail or otherwise, in (a) the production, distribution, license and
 sale of products and services, and (b) the use in connection with such production, distribution and sale, of
 the Marks and any and all trademarks, trade names, service marks, logos, insignia, slogans, emblems,
 symbols, designs and other identifying characteristics as may be developed or used from time to time by
 Franchisor.

 X.       CONFIDENTIALITY AND NON-COMPETITION COVENANTS

          A.       (1)    To protect the reputation and goodwill of Franchisor and to maintain high
 standards of operation under the Marks, Franchisee shall conduct its business in accordance with the
 Manuals, other written directives which Franchisor may issue to Franchisee from time to time, and any
 other manuals and materials created or approved by Franchisor for use in the operation of the Restaurant
 (collectively, the “Confidential Information”).

                   (2)     Franchisee and the Controlling Principals shall, and shall cause the Operating
 Principal and General Manager to, at all times treat and maintain the Confidential Information as private
 and confidential in accordance with this Section X. Franchisee and the Controlling Principals shall divulge
 and make available such Confidential Information only to those employees of Franchisee that must have
 access to it in order to operate the Restaurant. Franchisee and the Controlling Principals shall not at any
 time copy, duplicate, record or otherwise reproduce any of the materials comprising the Confidential
 Information, in whole or in part, or otherwise make the same available to any person other than those
 authorized above.



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                  (3)     The Manuals and all other Confidential Information shall at all times remain the
 sole property of Franchisor, shall at all times be kept in a secure place on the Restaurant premises, and shall
 be returned to Franchisor immediately upon request or upon termination or expiration of this Agreement.

                 (4)     The Manuals and all other Confidential Information shall supplement and be
 deemed part of this Agreement.

                  (5)     Franchisor may from time to time revise the contents of the Manuals, the Videos,
 and/or any other materials containing Confidential Information and created or approved for use in the
 operation of the Restaurant. Franchisee expressly agrees to comply with each new or changed standard
 promulgated by the Franchisor. Franchisee shall remove and return to Franchisor all pages of the Manuals
 that have been replaced or updated by Franchisor, and shall return to Franchisor all Videos that are replaced
 with updated copies.

                 (6)     Franchisee shall at all times ensure that the Manuals are kept current and up to
 date. In the event of any dispute as to the contents of the Manuals, the terms of the master copy of the
 Manuals maintained by Franchisor on the extranet accessible by Franchisee shall control.

          B.      (1)      Neither Franchisee nor any Controlling Principal shall, during the term of this
 Agreement or thereafter, communicate, divulge or use for the benefit of any other person, persons,
 partnership, association or corporation and, following the expiration or termination of this Agreement, they
 shall not use for their own benefit any Confidential Information, knowledge or know-how concerning the
 methods of operation of the Restaurant which may be communicated to them or of which they may be
 apprised in connection with the operation of the Restaurant under the terms of this Agreement. Any and
 all information, knowledge, know-how, techniques and any materials used in or related to the System which
 Franchisor provides to Franchisee in connection with this Agreement shall be deemed Confidential
 Information for purposes of this Agreement. The covenants in this Section X. shall survive the expiration,
 termination or transfer of this Agreement or any interest herein and shall be perpetually binding upon
 Franchisee and each of the Controlling Principals.

                  (2)     If Franchisee or the Controlling Principals develop any new concept, process
 product, recipe, or improvement in the operation or promotion of the Restaurant, Franchisee is required to
 promptly notify Franchisor and provide Franchisor with all necessary related information, without the
 benefit of compensation. Franchisee and the Controlling Principals acknowledge that any such concept,
 process product, recipe, or improvement shall become the property of Franchisor, and Franchisor may use
 or disclose such information to other FIVE GUYS® franchisees or developers as it determines to be
 appropriate, also without the benefit of compensation.

          C.       (1)    Franchisee and the Controlling Principals specifically acknowledge that, pursuant
 to this Agreement, Franchisee and the Controlling Principals shall receive valuable training, trade secrets
 and Confidential Information, including, without limitation, information regarding the operational, sales,
 promotional and marketing methods and techniques of Franchisor and the System which are beyond the
 present skills and experience of Franchisee and the Controlling Principals and Franchisee’s managers and
 employees (collectively, “Proprietary Information”). Franchisee and the Controlling Principals agree
 that such Proprietary Information, which may or may not be considered “trade secrets” under prevailing
 judicial interpretations or statutes, is private, valuable, and constitutes “trade secrets” belonging to
 Franchisor and its affiliates. Franchisee and the Controlling Principals agree that Franchisor and its
 affiliates derive independent economic value from the foregoing information not being generally known to,
 and not being readily ascertainable through proper means by, another person. Franchisee and the
 Controlling Principals acknowledge and agree that they shall not acquire any interest in Proprietary
 Information, other than the right to use it as Franchisor specifies in operating the Restaurant during the term
 of this Agreement. Franchisee and the Controlling Principals also agree that such Proprietary Information
 provides a competitive advantage and shall be valuable to them in the development and operation of the
 Restaurant, and that gaining access to such Proprietary Information is, therefore, a primary reason why such
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 persons are entering into this Agreement. In consideration for such Proprietary Information and related
 rights, Franchisee and the Controlling Principals covenant that during the term of this Agreement, except
 as otherwise approved in writing by Franchisor, neither Franchisee nor any of the Controlling Principals
 shall, either directly or indirectly, for themselves or through, on behalf of or in conjunction with any
 person(s), partnership or corporation:

                           (a)      Divert, or attempt to divert, any business or customer of the Restaurant to
 any competitor, by direct or indirect inducement or otherwise, or do or perform, directly or indirectly, any
 other act injurious or prejudicial to the goodwill associated with the Marks and the System.

                            (b)    Own, maintain, operate, engage in, or have any financial or beneficial
 interest in (including any interest in corporations, partnerships, trusts, unincorporated associations or joint
 ventures), advise, assist, or make loans to any restaurant brand that specializes in the service of primarily
 (individually or collectively) hamburgers, hot dogs, or french fries - or related iterations thereof (e.g.,
 cheeseburgers) - and has locations operating in the United States or any other country, province, or
 geographic area in which the Marks have either been registered or where Franchisor and/or its affiliate have
 sought registration of the Marks (any such restaurant brand, a “Competing Restaurant”). For purposes of
 clarification, any restaurant brand that derives, or shall reasonably derive, twenty five percent (25%) or less
 of its annual revenue from the collective sale of hamburgers, hot dogs, and french fries (including related
 iterations thereof (e.g., cheeseburgers)) shall not be deemed a Competing Restaurant. Additionally, so long
 as Franchisee and the Controlling Principals adhere to the confidentiality restrictions set forth in this
 Agreement and in each of the Other Agreements, the restrictions contained in this Section X.C.(1)(b) shall
 also not apply to any Competing Restaurant owned and operated by entities in which Franchisee or a
 Controlling Principal owns only a nominal (i.e., ten percent (10%) or less), passive, and non-voting equity
 interest.

                  (2)     For a continuous, uninterrupted period commencing upon the expiration,
 termination, or transfer of all of Franchisee’s interest in this Agreement (or, with respect to each of the
 Controlling Principals, the time such individual or entity ceases to satisfy the definition of a “Controlling
 Principal” as described in Section XIX.R. of this Agreement) and continuing for two (2) years thereafter,
 neither Franchisee nor any of the Controlling Principals shall, directly or indirectly, for themselves, or
 through, on behalf of or in conjunction with any person, persons, or Entity:

                           (a)     Divert, or attempt to divert, any business or customer of the Restaurant
 hereunder to any competitor, by direct or indirect inducement or otherwise, or do or perform, directly or
 indirectly, any other act injurious or prejudicial to the goodwill associated with the Marks and the System.

                          (b)     Own, maintain, operate, engage in, or have any financial or beneficial
 interest in (including any interest in any Entities, trusts, unincorporated associations or joint ventures),
 advise, assist or make loans to any Competing Restaurant which business is, or is intended to be, located
 within the Primary Area of Responsibility or within a twenty-five (25) mile radius of the location of any
 FIVE GUYS® Restaurant in existence or under construction at any given time during such period. So long
 as Franchisee and the Controlling Principals adhere to the confidentiality restrictions set forth in this
 Agreement and in each of the Other Agreements, the restrictions contained in this Section X.C.(2)(b) shall
 also not apply to any Competing Restaurant owned and operated by entities in which Franchisee or a
 Controlling Principal owns only a nominal (i.e., ten percent (10%) or less), passive, and non-voting equity
 interest.

                  (3)    Franchisee agrees that the time periods contained in this Section X. will be tolled
 for any period during which Franchisee or any Controlling Principals is in breach of the covenants and any
 other period during which Franchisor seeks to enforce this Agreement. The parties acknowledge and agree
 that each of the covenants contained herein are reasonable limitations as to time, geographical area, and
 scope of activity to be restrained and do not impose a greater restraint than is necessary to protect the
 goodwill or other business interests of Franchisor. The parties agree that each of the covenants herein shall
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 be construed as independent of any other covenant or provision of this Agreement. If all or any portion of
 a covenant in this Section is held unreasonable or unenforceable by a court or agency having valid
 jurisdiction in an unappealed final decision to which Franchisor is a party, Franchisee and the Controlling
 Principals expressly agree to be bound by any lesser covenant subsumed within the terms of such covenant
 that imposes the maximum duty permitted by law, as if the resulting covenant were separately stated in and
 made a part of this Section.

                          (a)      Franchisee and the Controlling Principals understand and acknowledge
 that Franchisor shall have the right, in its sole discretion, to reduce the scope of any covenant set forth in
 this Section X.C. in this Agreement, or any portion thereof, without their consent, effective immediately
 upon notice to Franchisee; and Franchisee and the Controlling Principals agree that they shall comply with
 any covenant as so modified, which shall be fully enforceable notwithstanding the provisions of Section
 XIX.B. hereof.

                           (b)     Franchisee and the Controlling Principals expressly agree that the
 existence of any claims they may have against Franchisor (arising from this Agreement or otherwise) shall
 not constitute a defense to the enforcement by Franchisor of the covenants in this Section.

                         (c)      Sections X.C.(1)(b) and (2)(c) shall not apply to ownership of less than a
 five percent (5%) beneficial interest in the outstanding equity securities of any publicly held corporation.

          D.      Franchisee and the Controlling Principals acknowledge that any failure to comply with the
 requirements of this Section shall constitute a material event of default under Section XVII. hereof.
 Franchisee and the Controlling Principals acknowledge that a violation of the terms of this Section would
 result in irreparable injury to Franchisor for which no adequate remedy at law may be available, and
 Franchisee and the Controlling Principals accordingly consent to the issuance of an injunction prohibiting
 any conduct by Franchisee or the Controlling Principals in violation of the terms of this Section. Franchisee
 and the Controlling Principals agree to pay all court costs and reasonable attorneys’ fees incurred by
 Franchisor in connection with the enforcement of this Section, including payment of all costs and expenses
 for obtaining specific performance of, or injunctive relief against the violation of, the requirements of such
 Section.

 XI.      BOOKS AND RECORDS

          A.       Franchisee shall maintain during the term of this Agreement, and shall preserve for at least
 three (3) years from the dates of their preparation, full, complete and accurate books, records and accounts
 (including, but not limited to, sales slips, coupons, purchase orders, payroll records, check stubs, bank
 statements, sales tax records and returns, cash receipts and disbursements, journals and ledgers, records of
 EFT transactions, and backup or archived records of information maintained on any computer system) in
 accordance with generally accepted accounting principles and in the form and manner prescribed by
 Franchisor from time to time in the Manual or otherwise in writing.

          B.     In addition to the remittance reports required by Sections IV. and VIII. hereof, Franchisee
 shall timely comply with the following reporting obligations upon request of Franchisor:

                    (1)      Franchisee shall, at its own expense, submit to Franchisor a profit and loss
 statement for the Restaurant in the form prescribed by Franchisor (a “P&L Statement”) for the most
 recently concluded thirteen (13) four (4) week accounting period (the “Statement Period”) within fifteen
 (15) days after the end of each Statement Period during the term hereof. Each P&L Statement may be
 unaudited, but must be signed by Franchisee’s treasurer or chief financial officer or comparable officer
 attesting that it is true, complete and correct;

                  (2)      Franchisee shall, at its own expense, provide Franchisor with a complete annual
 financial statement of the Restaurant which has been prepared by an independent certified public accountant
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 (an “Annual Statement”) within ninety (90) days after the end of each fiscal year. The Annual Statement
 shall accurately reflect the results of operations of the Restaurant during such fiscal year and may be
 unaudited; provided, however, that Franchisor reserves the right, pursuant to Section XI.C. hereof, to
 require that the Annual Statement be audited by an independent certified public accountant at Franchisee’s
 cost and expense if an inspection discloses an understatement of two percent (2%) or more; and

                  (3)      Franchisee shall also submit to Franchisor, for review or auditing, such other
 forms, reports, records, information and data as Franchisor may reasonably designate and which pertain to
 the Restaurant, in the form and at the times and places reasonably required by Franchisor, upon request and
 as specified from time to time in writing.

          C.      Franchisor or its designees shall have the right to review, audit, examine and copy any or
 all of Franchisee’s books and records relating to the Restaurant. Franchisee shall make such books and
 records available to Franchisor or its designees immediately upon request. If any required Royalty Fees to
 Franchisor are delinquent, or if an inspection should reveal that such payments have been understated in
 any Royalty Report, then Franchisee shall immediately pay Franchisor the amount overdue or understated
 upon demand with interest determined in accordance with the provisions of Section IV.B.(4). If an
 inspection discloses an understatement in any report of two percent (2%) or more, Franchisee shall, in
 addition, reimburse Franchisor for all costs and expenses connected with the inspection (including, without
 limitation, reasonable accounting and attorneys’ fees). These remedies shall be in addition to any other
 remedies Franchisor may have at law or in equity.

         D.      Franchisee understands and agrees that the receipt or acceptance by Franchisor of any
 Royalty Reports furnished or Royalty Fees paid to Franchisor (or the cashing of any royalty checks or
 processing of any EFT payments) shall not preclude Franchisor from questioning the correctness thereof at
 any time and, in the event that any inconsistencies or mistakes are discovered in such statements or
 payments, they shall immediately be rectified by the Franchisee and the appropriate payment shall be made
 by the Franchisee.

         E.        Franchisee hereby authorizes (and agrees to execute any other documents deemed
 necessary to effect such authorization) all banks, financial institutions, businesses, suppliers, manufacturers,
 contractors, vendors and other persons or entities with which Franchisee does business to disclose to
 Franchisor any requested financial information in their possession relating to Franchisee or the Restaurant.
 Franchisee authorizes Franchisor to disclose data from Franchisee’s reports, if Franchisor determines, in its
 sole discretion, that such disclosure is necessary or advisable, which disclosure may include disclosure to
 prospective or existing franchisees or other third parties.

         F.       Franchisee hereby appoints Franchisor its true and lawful attorney-in-fact with full power
 and authority, for the sole purpose of obtaining any and all returns and reports filed by Franchisee with any
 state and/or federal taxing authority pertaining to the Restaurant. This power of attorney shall survive the
 expiration or termination of this Agreement.

 XII.     INSURANCE

          A.     (1)       Upon execution of this Agreement, Franchisee shall procure at its own expense,
 and maintain in full force and effect at all times during the term of this Agreement, an insurance policy or
 policies protecting Franchisee and, separately, Franchisor (collectively with Franchisor’s affiliates,
 successors and assigns, and their respective partners and the officers, directors, shareholders, partners,
 agents, representatives, independent contractors and employees of each of them, the “Designees”) against
 any demand or claim with respect to personal injury, death or property damage, or any loss, liability or
 expense whatsoever arising or occurring upon or in connection with the Restaurant.

                (2)      Such policy or policies shall be written by a responsible carrier or carriers
 reasonably acceptable to Franchisor and shall include, at a minimum (except as additional coverages and
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 higher policy limits may reasonably be specified by Franchisor from time to time), in accordance with
 standards and specifications set forth in writing, the following:

                          (a)     Commercial general liability insurance, including property damage,
 personal injury, advertising injury, completed operations, products liability, and contracts liability in the
 amount of Two Million Dollars ($2,000,000) per occurrence and in the aggregate.

                          (b)     Property insurance providing coverage for “All Risks” of physical loss or
 damage and insuring, at a minimum, all perils insured under the ISO “Special Form Causes of Loss” form,
 in an amount equal to or greater than the full cost of replacement of the Restaurant premises and all other
 property in which Franchisee may have an interest with no coinsurance clause for the premises. The
 property insurance coverage described in the foregoing shall include coverage for business interruption in
 an amount sufficient to cover no less than twelve (12) months of the Restaurant’s Gross Sales (or projected
 Gross Sales, as the case may be), and Franchisor reserves the right to require that such policy be extended
 to include coverage for earth movement, flood, wind and hail, and other perils as deemed necessary by
 Franchisor.

                         (c)     Crime insurance for employee dishonesty in the amount of Ten Thousand
 Dollars ($10,000) per occurrence.

                         (d)     Worker’s compensation insurance in amounts provided by applicable law
 or, if permissible under applicable law, a legally appropriate alternative providing substantially similar
 compensation for injured workers satisfactory to Franchisor, provided that Franchisee maintains an excess
 indemnity or “umbrella” policy covering employer’s liability and/or a medical/disability policy covering
 medical expenses for on-the-job accidents, which policy or policies shall contain such coverage amounts
 as Franchisee and Franchisor shall mutually agree upon.

                          (e)     Commercial automobile liability insurance coverage for bodily injury and
 property damage for all owned, rented, leased, and/or hired vehicles used by the Franchisee in connection
 with the operation of the Restaurant in the amount of One Million Dollars ($1,000,000) per occurrence and
 in the aggregate.

                           (f)     Network security, media & cyber liability insurance covering acts, errors,
 omissions, breach of contract, and violation of any consumer protection laws arising out of Franchisee’s
 operations or services with a limit of Two Million Dollars ($2,000,000) per occurrence and in the aggregate.
 Such coverage shall, at a minimum, include (i) contractual privacy coverage for data breach response and
 crisis management costs that would be incurred by Franchisor in the event of a data breach including legal
 and forensic expenses, notification costs, credit monitoring costs, and costs to operate a call center; and (ii)
 third party and first party coverage for loss or disclosure of any data, including personally identifiable
 information and payment card information, network security failure, violation of any consumer protection
 laws, unauthorized access and/or use or other intrusions, infringement of any intellectual property rights
 (except patent), unintentional breach of contract, negligence or breach of duty to use reasonable care, breach
 of any duty of confidentiality, invasion of privacy, or violations of any other legal protections for personal
 information, defamation, libel, slander, commercial disparagement, negligent transmission of computer
 virus, or use of computer networks in connection with denial of service attacks.

                         (g)     Employment practices liability coverage including endorsement for third-
 party claims in the amount of Two Million Dollars ($2,000,000) per occurrence and in the aggregate.

                          (h)     Such other insurance as may be required by the state or locality in which
 the Restaurant is located and operated.

                         (i)    Franchisee may, with the prior written consent of Franchisor, elect to have
 reasonable deductibles in connection with the coverage required under Sections XII.A(2)(a)-(h) hereof;
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 provided, however, neither Franchisor nor it Designees shall be responsible for any deductibles and/or
 waiting periods that may appear in Franchisee’s policies.

                 (3)      In connection with any construction, renovation, refurbishment or remodeling of
 the Restaurant, Franchisee shall maintain Builder’s Risk insurance or equivalent course of construction
 coverage on its property insurance in an amount sufficient to cover the contract value of the project plus
 any existing property (and such insurance shall be extended to provide “delay in opening” coverage, where
 available).

                (4)      Franchisee’s obligation to obtain and maintain the foregoing policy or policies in
 the amounts specified shall not be limited in any way by reason of any insurance which may be maintained
 by Franchisor, nor shall Franchisee’s performance of that obligation relieve it of liability under the
 indemnity provisions set forth in Section XV of this Agreement.

                   (5)     All policies obtained and maintained by Franchisee shall (i) contain cross liability
 coverage and severability on interests language, (ii) include a waiver of subrogation in favor of Franchisor
 and its Designees (to the extent permitted by law), (iii) be primary and non-contributory with any and all
 coverages held by Franchisor and/or its Designees, and (iv) be issued by an insurance company rated at
 least ‘A’ ‘VIII’ in the most current edition of A.M. Best Guide. Franchisee shall also cause Franchisor and
 its Designees to be included as additional insured under all above policies except worker’s compensation
 insurance, and such policies shall expressly provide that any interest of Franchisor therein shall not be
 affected by any breach by Franchisee of any policy provisions. All such policies shall contain a provision
 that Franchisor and its Designees, although named as additional insured, shall nevertheless be entitled to
 recover under such policies on any loss occasioned to Franchisor or its servants, agents or employees by
 reason of the negligence of Franchisee or its servants, agents or employees.

                  (6)      Upon execution of this Agreement, and thereafter in accordance with Section IV.
 hereof and thirty (30) days prior to the expiration of any such policy, Franchisee shall deliver to Franchisor
 the Certificates of Insurance and Endorsements evidencing the existence and continuation of proper
 coverage with limits not less than those required hereunder. In addition, if requested by Franchisor,
 Franchisee shall deliver to Franchisor a copy of the insurance policy or policies required hereunder. Further,
 all insurance policies required hereunder shall expressly provide that no less than thirty (30) days’ prior
 written notice shall be given to Franchisor in the event of a material alteration to or cancellation of the
 policies. In accordance with the foregoing, all delivered Certificates of Insurance and Endorsements
 evidencing the existence and continuation of proper coverage shall be sent electronically to
 insurance@fiveguys.com, and with hard copies to the following address upon request, or such other
 address(es) as Franchisor may designate from time to time:

                                             FIVE GUYS FRANCHISOR, LLC
                                                 10718 Richmond Highway
                                                   Lorton, Virginia 22079
                                          Attention: Risk Management Department

                 (7)      Should Franchisee, for any reason, fail to procure or maintain the insurance
 required by this Agreement, as such requirements may be revised from time to time by Franchisor in
 writing, Franchisor shall have the right and authority, but not the obligation, to immediately procure such
 insurance and charge the same to Franchisee, which shall be payable by Franchisee immediately upon
 notice. The foregoing remedies shall be in addition to any other remedies Franchisor may have at law or
 in equity.

 XIII.    DEBTS AND TAXES

         A.     Franchisee shall promptly pay when due all Taxes (as defined below), levied or assessed,
 and all accounts and other indebtedness of every kind incurred by Franchisee in the conduct of the
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 franchised business under this Agreement. Without limiting the provisions of Section XV., Franchisee
 shall be solely liable for the payment of all Taxes and shall indemnify Franchisor for the full amount of all
 such Taxes and for any liability (including penalties, interest and expenses) arising from or concerning the
 payment of Taxes actually owed by Franchisee. If requested by Franchisor, Franchisee shall submit to
 Franchisor a copy of all tax filings sent to all applicable tax authorities within ten (10) Business Days.

          B.      Each payment to Franchisor required under this Agreement shall be made free and clear
 and without deduction for any Taxes. As used herein, the term “Taxes” means any present or future taxes,
 levies, imposts, duties or other charges of whatsoever nature, including any interest or penalties thereon,
 imposed by any government or political subdivision of such government on or relating to the operation of
 the Restaurant.

          C.      In the event of any bona fide dispute as to Franchisee’s liability for Taxes assessed or other
 indebtedness, Franchisee may contest the validity or the amount of the Tax or indebtedness in accordance
 with the procedures of the taxing authority or applicable law. However, in no event shall Franchisee permit
 or otherwise cause a tax sale or seizure by levy of execution or similar writ or warrant or attachment by a
 creditor, to occur against the premises of the Restaurant or any improvements thereon.

          D.      Franchisee shall comply with all federal, state and local laws, rules and regulations and
 shall timely obtain any and all permits, certificates or licenses necessary for the full and proper conduct of
 the Restaurant, including, without limitation, licenses to do business, fictitious name registrations, sales tax
 permits, fire clearances, health permits, certificates of occupancy and any permits, certificates or licenses
 required by any environmental law, rule or regulation.

          E.      Franchisee shall notify Franchisor in writing within five (5) days of the commencement of
 any action, suit or proceeding and of the issuance of any order, writ, injunction, award or decree of any
 court, agency or other governmental instrumentality, which may adversely affect the operation or financial
 condition of the Restaurant.

 XIV.     TRANSFER OF INTEREST

           A.       Franchisor shall have the right, without the need for Franchisee’s consent, to assign,
 transfer and/or sell its rights under this Agreement to any person, partnership, corporation or other legal
 Entity, provided that the transferee agrees in writing to assume all obligations undertaken by Franchisor
 herein and Franchisee receives a statement from both Franchisor and its transferee to that effect. Upon such
 assignment and assumption, Franchisor shall be under no further obligation hereunder, except for accrued
 liabilities, if any. Franchisee further agrees and affirms that Franchisor may (i) go public, (ii) engage in a
 private placement of some or all of its securities, (iii) merge, acquire other corporations, or be acquired by
 another corporation, and/or (iv) undertake a refinancing, recapitalization, leveraged buyout or other
 economic or financial restructuring. Franchisee specifically waives any and all other claims, demands or
 damages arising from or related to the foregoing activities including, without limitation, any claim of
 divided loyalty, breach of fiduciary duty, fraud, breach of contract or breach of the implied covenant of
 good faith and fair dealing.

           Franchisee further agrees that Franchisor has the right, now or in the future, to purchase, merge,
 acquire or affiliate with an existing competitive or non-competitive franchise network, chain or any other
 business regardless of the location of that chain’s or business’ facilities, and to operate, franchise or license
 those businesses and/or facilities as FIVE GUYS® Restaurants operating under the Marks or any other
 marks following Franchisor’s purchase, merger, acquisition or affiliation, regardless of the location of these
 facilities, provided, however, Franchisor agrees that it shall not convert any acquired facility located within
 the Primary Area of Responsibility, if any, into a FIVE GUYS® Restaurant.

         If Franchisor assigns its rights in this Agreement, nothing herein shall be deemed to require
 Franchisor to remain in the restaurant business or to offer or sell any products or services to Franchisee.
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          B.      (1)     Franchisee understands and acknowledges that the rights and duties set forth in this
 Agreement are personal to Franchisee, and that Franchisor has granted rights under this Agreement in
 reliance on the business skill, financial capacity and personal character of Franchisee and the Controlling
 Principals. Accordingly, neither Franchisee nor any Controlling Principal, nor any successor or assign of
 Franchisee or any Controlling Principal, shall sell, assign (including, without limitation, by operation of
 law due to an assignment under bankruptcy or insolvency laws, intestate succession, divorce or otherwise),
 transfer, convey, give away, pledge, mortgage or otherwise encumber any direct or indirect interest in this
 Agreement, in the Restaurant (and/or all, or substantially all, of the Restaurant’s material assets), in
 Franchisee or in any Controlling Principal that is an Entity, in each case without the prior written consent
 of Franchisor. Any purported assignment or transfer, by operation of law or otherwise, made in violation
 of this Agreement shall be null and void and shall constitute a material event of default under this
 Agreement.

                   (2)     If Franchisee or a Controlling Principal wishes to (i) transfer all or part of its
 interest in this Agreement, the Restaurant, or all, or substantially all, of the Restaurant’s material assets, or
 (ii) transfer any ownership interest in Franchisee or in a Controlling Principal that is an Entity, then in each
 such case (any or all of which are referred to in this Section XIV. as a “Restricted Transfer”), the transferor
 and the proposed transferee shall first apply to Franchisor for its consent and may concurrently request a
 waiver of Franchisor’s rights under Section XIV.D. Without limiting its rights under Section XIV.D.,
 Franchisor agrees that it shall not unreasonably withhold its consent to a Restricted Transfer. Among other
 conditions, Franchisor may require any or all of the following as conditions to its approval:

                         (a)       All of the accrued monetary and other outstanding obligations of
 Franchisee (and any of its affiliates) to Franchisor (or any of its affiliates) arising under this Agreement or
 any other agreement shall have been satisfied in a timely manner and Franchisee shall have satisfied all
 trade accounts and other debts, of whatever nature or kind, in a timely manner;

                       (b)    Franchisee and its affiliates shall not be in default of any provision of this
 Agreement or any Other Agreement at the time of the transaction;

                           (c)      Franchisor, the transferor and its principals (if applicable) shall execute a
 general release, in a form reasonably satisfactory to Franchisor, of any and all claims against Franchisor,
 its affiliates, and its Designees, including, without limitation, claims arising under this Agreement, any
 agreement directly or indirectly related to this Agreement, and all applicable laws;

                            (d)     The proposed transferee shall demonstrate to Franchisor’s reasonable
 satisfaction that it meets the criteria considered by Franchisor when reviewing a prospective franchisee’s
 application for a franchise, including, but not limited to, (i) Franchisor’s educational, managerial and
 business standards, (ii) the proposed transferee’s good moral character, business reputation and credit
 rating, (iii) transferee’s aptitude and ability to properly operate the Restaurant (as may be evidenced by
 prior related business experience or otherwise), (iv) the proposed transferee’s financial resources and capital
 for operation of the Restaurant, and (v) the geographic proximity and number of other Restaurants owned
 or operated by the proposed transferee;

                          (e)      The proposed transferee shall enter into a written agreement, in a form
 satisfactory to Franchisor, assuming full, unconditional, joint and several liability for, and agreeing to
 perform from the date of the transfer, all obligations, covenants and agreements contained in this
 Agreement; and, if transferee is as Entity, the proposed transferee’s shareholders, partners or other
 investors, as applicable, shall execute such other agreements as Franchisor requires in order to guarantee
 the performance of all such obligations, covenants and agreements;

                         (f)     The proposed transferee shall execute a Franchise Agreement having
 material terms substantially similar in all material respects to this Agreement (i.e., the fees, protected
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 territory, and renewal rights), together with such other ancillary agreements substantially similar to the
 forms attached hereto (and if the proposed transferee is an Entity, transferee’s shareholders, partners, or
 other investors, as applicable, shall also execute such agreements as Franchisor requires in order to
 guarantee the performance of all such obligations, covenants and agreements);

                         (g)      The proposed transferee, at its expense, shall renovate, modernize and
 otherwise upgrade the Restaurant and conform it to the then-current standards and specifications of the
 System, and shall complete the upgrading and other requirements which conform to the system wide
 standards within the time period reasonably specified by Franchisor;

                          (h)     The transferor shall remain liable for all of the obligations to Franchisor
 in connection with the Restaurant incurred prior to the effective date of the transfer and shall execute any
 and all instruments reasonably requested by Franchisor to evidence such liability;

                          (i)    At the proposed transferee’s expense, the transferee, the transferee’s
 operating principal, general manager, as applicable, and/or any other applicable Restaurant personnel shall
 complete any training programs then in effect for franchisees of FIVE GUYS® Restaurants upon such terms
 and conditions as Franchisor may reasonably require;

                          (j)      Franchisee shall pay a transfer fee of Five Thousand Dollars ($5,000) to
 Franchisor for the transfer of this Agreement to cover the allocated costs of interdepartmental review and
 document preparation; and

                          (k)      If the proposed transferee is an Entity, the transferee shall make and shall
 be bound by any or all of the representations, warranties and covenants set forth at Section VI. as Franchisor
 requests. Transferee shall provide to Franchisor evidence satisfactory to Franchisor that the terms of such
 Section have been satisfied and are true and correct on the date of transfer.

                   (3)    Franchisee shall not grant a security interest in the Restaurant or in any of
 Franchisee’s assets at the Restaurant without Franchisor’s prior written consent. For purposes of
 clarification, Franchisee acknowledges and agrees that in no event may this Agreement, the Development
 Agreement, or any Other Agreement signed in connection this Agreement or the Development Agreement
 be pledged as collateral or otherwise encumbered as security for any loan or other financial transaction to
 which Franchisee or a Controlling Principal is a party.

                  (4)    Franchisee acknowledges and agrees that each condition which must be met by the
 transferee is reasonable and necessary to assure such transferee’s full performance of the obligations
 hereunder.

          C.        In the event the proposed transfer is from one or more individuals to an Entity formed
 solely for the convenience of ownership, Franchisor’s consent may be conditioned upon any of the
 requirements set forth at Section XIV.B.(2), except that the requirements set forth at Sections XIV.B.(2)(c),
 (d), (f), (g), (i), (j) and (k) shall not apply so long as each individual retains the same proportionate
 ownership interest in the Entity as he or she had prior to the transfer.

          D.       If Franchisee or a Controlling Principal wishes to enter into a Restricted Transfer
 constituting a transfer all or part of its interest in this Agreement, the Restaurant, or all, or substantially all,
 of the Restaurant’s material assets (such transferring party being referred to as the “Seller”), then such
 Seller shall first notify Franchisor in writing of its intent by delivering to Franchisor a completed transfer
 application in such form as Franchisor may prescribe in the Manuals or otherwise in writing and which
 shall describe, among other things, the interest to be transferred and the consideration therefor (the
 “Transfer Notice”), and shall provide such additional information and documentation relating to the
 contemplated Restricted Transfer as Franchisor may require. Franchisor shall have the right and option,
 exercisable within thirty (30) days after receipt of such written Transfer Notice and copies of all other
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 documentation required by Franchisor, to send written notice to the Seller that Franchisor intends to
 purchase the Seller’s interest on terms consistent with the material terms and conditions stipulated in the
 written Transfer Notice and on such forms and other reasonable and customary terms as Franchisor may
 prescribe (including, without limitation, the substitution of equivalent cash consideration for any form of
 payment stipulated in the Transfer Notice not comprised of cash). In the event that Franchisor elects to
 purchase the Seller’s interest, closing on such purchase must occur within the latter of (a) thirty (30) days
 from the date of notice to the Seller of the election to purchase by Franchisor, (b) thirty (30) days from the
 date Franchisor receives or obtains all necessary and requested documentation, permits, and approvals, or
 (c) such other date as the parties agree upon in writing. If Franchisor rejects or otherwise fails to purchase
 the Seller’s interest in accordance with the foregoing, then Seller shall be free to pursue its intended transfer
 on terms and conditions identical to those stipulated in the Transfer Notice (a “Third Party Sale”), subject
 to the requirements set forth in Section XIV.D. of this Agreement. The closing of any transaction involving
 a Third Party Sale shall be consummated no later than one hundred and eighty (180) days after the date on
 which the written Transfer Notice was first delivered to Franchisor. In the event a transaction involving a
 Third Party Sale is not closed within the foregoing time period, the proposed sale shall again be subject to
 Franchisor’s right of first offer as described herein, unless such subsequent right is waived by Franchisor
 in writing. Any material change in the terms of any Third Party Sale prior to closing shall constitute a new
 offer to Franchisor, and shall be subject to the same right of first offer restrictions set forth above. Failure
 or refusal of Franchisor to exercise the option afforded by this Section XIV.D. shall not constitute a waiver
 of any other provision of this Agreement, including all of the requirements of this Section XIV.D. relating
 to a proposed transfer. Failure by Franchisee and/or Controlling Principal to comply with the provisions of
 this Section XIV.D. prior to the transfer of any interest in Franchisee or in this Agreement shall constitute
 a material event of default under this Agreement. Franchisor shall be entitled to assign any and all of its
 options in this Section to any other party, without the consent of Franchisee.

         E.       (1)     Upon the death of Franchisee (if Franchisee is a natural person) or any Controlling
 Principal (in each instance, the “Deceased”), the executor, administrator or other personal representative
 of the Deceased shall transfer such interest to a third party approved by Franchisor within twelve (12)
 months after the death, subject to the restrictions referenced in Section XIV.E.(3) below. If no personal
 representative is designated or appointed or no probate proceedings are instituted with respect to the estate
 of the Deceased, then the distributee of such interest must be approved by Franchisor. If the distributee is
 not approved by Franchisor, then the distributee shall transfer such interest to a third party approved by
 Franchisor within twelve (12) months after the death of the Deceased subject to the restrictions referenced
 in Section XIV.E.(3) below.

                   (2)     Upon the permanent disability of Franchisee (if Franchisee is a natural person) or
 any Controlling Principal (in each case, the “Injured Person”), Franchisor may, in its reasonable
 discretion, require such interest to be transferred to a third party in accordance with the conditions described
 in this Section XIV. within six (6) months after notice to Franchisee. “Permanent disability” shall mean
 any physical, emotional or mental injury, illness or incapacity which would reasonably prevent a person
 from performing the obligations set forth in this Agreement or in the guaranty made part of this Agreement
 for at least ninety (90) consecutive days and from which condition recovery within ninety (90) days from
 the date of determination of disability is unlikely. Permanent disability shall be determined by a licensed
 practicing physician approved by both Franchisor and the Injured Person (or the Injured Person’s surrogate
 in the event Franchisee is unable to make such a selection); provided, however, that if the Injured Person
 refuses to submit to an examination, then such person shall automatically be deemed permanently disabled
 as of the date of such refusal for the purpose of this Section XIV.E. The costs of any examination required
 by this Section shall be paid by Franchisor. Approval of a physician selected by Franchisor or the Injured
 Person shall not be unreasonably withheld, delayed, or conditioned by the other party. In addition, the
 review and approval process of the physician selected shall primarily include (i) whether the physician is
 in fact licensed to practice and is in good standing, and (ii) whether the costs charged by the physician are
 commensurate with the costs typically charged by other physicians in his/her field.



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                  (3)      Upon the death or claim of permanent disability of Franchisee or any Controlling
 Principal, Franchisee or a representative of Franchisee must notify Franchisor of such death or claim of
 permanent disability within ten (10) days of its occurrence. Any transfer upon death or permanent disability
 shall be subject to the same terms and conditions as described in this Section for any inter vivos transfer;
 provided, however, such transfers shall not be subject to the five thousand dollar ($5,000) transfer fee
 described in Section XIV.B.(2)(j). If an interest is not transferred upon death or permanent disability as
 required in this Section, then such failure shall constitute a material event of default under this Agreement.

         F.      Franchisor’s consent to a transfer of any interest described herein shall not constitute a
 waiver of any claims which Franchisor may have against the transferring party, nor shall it be deemed a
 waiver of Franchisor’s right to demand exact compliance with any of the terms of this Agreement by the
 transferee.

          G.      Notwithstanding the provisions contained in Section XIV.B. to the contrary, the
 Controlling Principals may freely transfer their ownership interests in Franchisee amongst themselves, so
 long as Franchisee provides Franchisor with thirty (30) days prior written notice of such transfer containing
 the names and percentages transferred. In addition, the Controlling Principals may transfer their interests
 to their respective family members (or trusts created for the benefit of such family members) for estate
 planning purposes with Franchisor’s prior written consent (which consent shall not be unreasonably
 withheld).

          H.      Neither securities nor partnership interests in Franchisee shall be offered directly or
 indirectly in any public offering including, without limitation, any offering that requires registration under
 United States securities laws or similar laws of a foreign country or would require registration on any United
 States stock exchange or similar trading venue. Franchisee and the Controlling Principals agree and
 acknowledge that the restriction contained in this Section XIV.H. is reasonable, does not unduly restrain
 Franchisee’s or the Controlling Principals’ ability to affect a Restricted Transfer, and materially benefits
 the System, Franchisee, and the Controlling Principals.

         I.        In the event of any inconsistency between the terms of this Section XIV. and the
 corresponding terms of any Other Agreement signed by Franchisee, the Controlling Principals, and/or their
 respective affiliates, the terms of this Section XIV. shall prevail.

 XV.      INDEMNIFICATION

         A.       Franchisee and each of the Controlling Principals shall, at all times, indemnify and hold
 harmless to the fullest extent permitted by law Franchisor and its Designees (collectively, the
 “Indemnitees”), from all “Losses and Expenses” (as defined in Section XV.D.(2) below) incurred in
 connection with any action, suit, proceeding, claim, demand, investigation or inquiry (formal or informal),
 or any settlement thereof (whether or not a formal proceeding or action has been instituted) which arises
 out of or is based upon any of the following:

                (1)      The infringement, alleged infringement, or any other violation or alleged violation
 by Franchisee or any of the Controlling Principals of any patent, mark or copyright or other proprietary
 right owned or controlled by third parties (except as such may occur with respect to any right to use the
 Marks, any copyrights or other proprietary information granted hereunder pursuant to Section X.);

                 (2)     The violation, breach or asserted violation or breach by Franchisee or any of the
 Controlling Principals of any federal, state or local law, regulation, ruling, standard or directive or any
 industry standard;

                 (3)     Libel, slander or any other form of defamation of Franchisor, the System or any
 developer or franchisee operating under the System, by Franchisee or by any of the Controlling Principals;

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                 (4)     The violation or breach by Franchisee or by any of the Controlling Principals of
 any warranty, representation, agreement or obligation in this Agreement or in any Other Agreement; and

                  (5)      Acts, errors, or omissions of Franchisee, the Controlling Principals, and/or any of
 their respective affiliates, officers, directors, shareholders, partners, agents, representatives, independent
 contractors and employees (collectively, the “Franchisee Designees”) in connection with the establishment
 and/or operation of the Restaurant.

          B.       Franchisee and the Controlling Principals agree to give Franchisor prompt notice of any
 action, suit, proceeding, claim, demand, inquiry, or investigation related to the foregoing (any such instance,
 an “Action”). At the expense and risk of Franchisee and the Controlling Principals, Franchisor may elect
 to assume (but under no circumstance is obligated to undertake) or select counsel of its own choosing with
 respect to the defense and/or settlement of any such Action filed against Franchisor. Such an undertaking
 by Franchisor shall, in no manner or form, diminish the obligation of Franchisee and each of the Controlling
 Principals to indemnify and hold harmless the Indemnitees.

          C.      In order to protect the persons, property, and/or reputation or goodwill of Franchisor, its
 Designees and/or the System, Franchisor may, upon written notice to and written consent from the
 Franchisee (which consent shall not be unreasonably withheld, delayed, or conditioned), consent or agree
 to settlements or take such other remedial or corrective action as it deems expedient with respect to an
 Action if, in Franchisor’s reasonable judgment, there are reasonable grounds to believe that:

                    (1)      any of the acts or circumstances enumerated in Section XV.A.(1) - (4) above have
 occurred; or

                  (2)     any act, error, or omission as described in Section XV.A.(5) may result directly or
 indirectly in damage, injury, or harm to any person or any property.

          D.       (1)     All Losses and Expenses incurred under this Section XV. shall be chargeable to
 and paid by Franchisee or the Controlling Principals pursuant to its indemnity obligations hereof, regardless
 of any actions, activity or defense undertaken by Franchisor or the subsequent success or failure of such
 actions, activity, or defense.

                 (2)     As used in this Section XV., the phrase “Losses and Expenses” shall include,
 without limitation, all losses, compensatory, exemplary or punitive damages, fines, charges, costs,
 expenses, reasonable attorneys’ fees, court costs, settlement amounts, judgments, compensation for
 damages to the Franchisor’s reputation and goodwill, costs of or resulting from delays, financing, costs of
 advertising material and media time/space, and costs of changing, substituting or replacing the same, and
 any and all expenses of recall, refunds, compensation, public notices and other such amounts incurred in
 connection with the matters described.

          E.       The Indemnitees do not assume any liability whatsoever for acts, errors, or omissions of
 any third party with whom Franchisee, the Controlling Principals, or any of the Franchisee Designees may
 contract, regardless of the purpose. Franchisee and each of the Controlling Principals shall hold harmless
 and indemnify the Indemnitees for all Losses and Expenses which may arise out of any acts, errors or
 omissions of Franchisee, the Controlling Principals, or any of the Franchisee Designees and any such other
 third parties unless (and then only to the extent that) the claims, obligations, or damages are determined to
 be caused by an Indemnitee’s negligence or willful misconduct in a ruling determined by a third party
 arbitrator pursuant to the procedures set forth in Section XIX.G. of this Agreement. For purposes of
 clarification, any finding by a duly appointed third party arbitrator and/or a court with competent
 jurisdiction that the cause or causes of any such liability is jointly or partly due to the negligence of both an
 Indemnitee, on one hand, as well as the Franchisee (or any Franchisee Designee or any Controlling
 Principal), on the other hand, shall not relieve the Franchisee or any Controlling Principal from the pro rata
 share of their indemnification obligations as contemplated herein.
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         F.       Under no circumstances shall the Indemnitees be required or obligated to seek recovery
 from third parties or otherwise mitigate their losses in order to maintain a claim against Franchisee or any
 of the Controlling Principals. Franchisee and the Controlling Principals agree that the failure to pursue
 such recovery or mitigate loss shall in no way reduce the amounts recoverable from Franchisee or any of
 the Controlling Principals by the Indemnitees.

        G.       Franchisee and the Controlling Principals expressly agree that the terms of this Section
 XV. shall survive the termination, expiration or transfer of this Agreement or any interest herein.

 XVI.     RELATIONSHIP OF THE PARTIES

          A.     The parties acknowledge and agree that this Agreement does not create a fiduciary
 relationship between them, that Franchisee shall be an independent contractor, and that nothing in this
 Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint venturer,
 partner, employee, joint employer or servant of the other for any purpose.

          B.      During the term of this Agreement, Franchisee shall hold itself out to the public as an
 independent contractor conducting its Restaurant operations pursuant to the rights granted by Franchisor
 hereunder. Franchisee agrees to take such action as shall be necessary to that end, including, without
 limitation, exhibiting a notice of that fact in a conspicuous place on the Restaurant premises established for
 the purposes hereunder and on all letterhead, business cards, forms, and as further described in the Manuals.
 Franchisor reserves the right to specify in writing the content and form of such notice.

         C.       Franchisee understands and agrees that nothing in this Agreement authorizes Franchisee or
 any Controlling Principal to make any contract, agreement, warranty or representation on Franchisor’s
 behalf, or to incur any debt or other obligation in Franchisor’s name, and that Franchisor shall in no event
 assume liability for, or be deemed liable under this Agreement as a result of, any such action, or for any act
 or omission of Franchisee or any of the Controlling Principals or any claim or judgment arising therefrom.

 XVII. TERMINATION

         A.       (1)     Franchisee acknowledges and agrees that (i) each of Franchisee’s obligations
 described in this Agreement is a material and essential obligation of Franchisee, (ii) non-performance of
 such obligations shall adversely and substantially affect the Franchisor and the System, and (iii) the exercise
 by Franchisor of the rights and remedies set forth herein is appropriate and reasonable.

                   (2)     Franchisee shall be deemed to be in default under this Agreement, and all rights
 granted herein shall automatically terminate without notice to Franchisee, if Franchisee or any Controlling
 Principal (i) shall become insolvent or makes a general assignment for the benefit of creditors, or (ii) files
 a voluntary petition under any section or chapter of federal bankruptcy law or under any similar law or
 statute of the United States or any state thereof, or admits in writing its inability to pay its debts when due,
 or (iii) is adjudicated bankrupt or insolvent in proceedings filed against Franchisee under any section or
 chapter of federal bankruptcy laws or under any similar law or statute of the United States or any state, or
 (iv) is the subject of any bill in equity or other proceeding for the appointment of a receiver or other
 custodian for the business or assets of Franchisee or the Controlling Principal, or (v) has its assets or
 property, or any part thereof, are appointed to a receiver or other custodian (permanent or temporary) by
 any court of competent jurisdiction, (vi) has filed or instituted against it any proceedings for a composition
 with creditors under any state or federal law, or (vii) is subject to a final judgment which remains unsatisfied
 or of record for sixty (60) days or longer (unless supersedes bond is filed), (viii) is dissolved, (ix) has an
 execution levied against its business or property, or (x) is the subject of any suit to foreclose any lien or
 mortgage against the Restaurant premises or equipment (and such suit or lien is not dismissed within sixty
 (60) days), or (xi) if the real or personal property of Franchisee’s Restaurant shall be sold after levy
 thereupon by any sheriff, marshal or constable.
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                 (3)      Franchisee shall be deemed to be in material default and Franchisor may, at its
 option, terminate this Agreement and all rights granted hereunder, without affording Franchisee any
 opportunity to cure the default, (except as stated below or otherwise required by law), effective immediately
 upon notice to Franchisee, upon the occurrence of any of the following events:

                          (a)    If Franchisee operates the Restaurant or otherwise sells any Products at
 any location other than the Approved Location;

                          (b)    If Franchisee fails to acquire an Approved Location for the Restaurant
 within the time and in the manner specified in Section II.;

                          (c)     If Franchisee fails to construct the Restaurant in accordance with the plans
 and specifications provided to Franchisee under Section V.(3);

                         (d)     If Franchisee fails to open the Restaurant for business as a FIVE GUYS®
 Restaurant within the period specified in Section II.H. hereof.

                           (e)     If Franchisee at any time abandons the Restaurant, loses the right to
 possession of the premises (e.g., through lease eviction or termination), or otherwise forfeits the right to do
 or transact business in the jurisdiction where the Restaurant is located; provided, however, that this
 provision shall not apply in cases of Force Majeure so long as Franchisee applies, within thirty (30) days
 after such event, for Franchisor’s approval to relocate or reconstruct the premises (which approval shall not
 be unreasonably withheld) and Franchisee diligently pursues such reconstruction or relocation;

                          (f)      If Franchisee or any of the Controlling Principals is convicted of, has
 entered a plea of nolo contendere (no contest) to, or has otherwise entered into any plea bargain in
 connection with, a felony or any crime involving moral turpitude that Franchisor reasonably believes is
 likely to have an adverse effect on the System, the Marks, the goodwill associated therewith, or Franchisor’s
 interests therein;

                          (g)     If a threat or danger to public health or safety, as determined in writing by
 a governmental agency having jurisdiction over such matters, results from the construction, maintenance
 or operation of the Restaurant, and such public health or safety concern remains uncured for ten (10) days
 following Franchisee’s actual or constructive knowledge;

                         (h)    If Franchisee fails to propose a qualified replacement or successor
 Operating Principal (or his Management Designee, as applicable) within the time required under Section
 VI.C.(5) hereof;

                           (i)      If Franchisee or any of the Controlling Principals transfers, or purports to
 transfer, any rights or obligations under this Agreement, any direct or indirect interest in Franchisee, or the
 Restaurant to any third party without Franchisor’s prior written consent in violation of the terms of Section
 XIV. of this Agreement;

                           (j)     If Franchisee or any of its affiliates fails, refuses, or neglects to timely pay
 any monies owed to Franchisor, its affiliates, or its approved vendors when due and does not cure such
 default within five (5) days following notice from Franchisor;

                        (k)      If Franchisee or any of the Controlling Principals fails to comply with the
 covenants in Section X.C. hereof within thirty (30) days following notice from Franchisor;

                          (l)     If, contrary to the terms of Section X.B.(1) hereof, Franchisee or any
 Controlling Principal discloses or divulges any Confidential Information;
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                         (m)     If a transfer upon death of the Deceased or Permanent Disability is not
 transferred in accordance with Section XIV.;

                          (n)             If Franchisee knowingly maintains false books or records, or submits any
 false reports to Franchisor;

                          (o)     If Franchisee breaches in any material respect any of the covenants in any
 material respect set forth in Section VI. or has falsely made any of the representations or warranties set
 forth in Section VI.;

                          (p)     If Franchisee fails to propose a qualified replacement or successor
 Operating Principal or General Manager within the time required under Sections VI.C.(5) and VI.D.(4),
 respectively following ten (10) days prior written notice;

                        (q)     If Franchisee fails to procure and maintain such insurance policies as
 required by Section XII. and Franchisee fails to cure such default within ten (10) days following notice
 from Franchisor;

                         (r)      If Franchisee misuses or makes any unauthorized use of the Marks or
 otherwise materially impairs the goodwill associated therewith or Franchisor’s rights therein; provided,
 however, that Franchisee shall be entitled to notice of such event of default and shall have twenty-four (24)
 hours to cure such default;

                          (s)     If Franchisee or any Controlling Principal commits three (3) material
 events of default under this Agreement, within any twelve (12) month period, whether or not such defaults
 are of the same or different nature and whether or not such defaults have been cured by Franchisee after
 notice by Franchisor; or

                         (t)    If Franchisee, any Controlling Principal, and/or any Franchisee Designee
 conducts or otherwise participates in an unauthorized Interview in violation of the Media restrictions
 contained in Section VIII.I.

          B.       Upon any default by Franchisee which is susceptible of being cured, Franchisor may
 terminate this Agreement by giving written notice of termination stating the nature of such default to
 Franchisee at least thirty (30) days prior to the effective date of termination, unless a shorter period is set
 forth in a specific subsection of Section XVII.A.(3). However, Franchisee may avoid termination by
 immediately initiating a remedy to cure such default and curing it to Franchisor’s reasonable satisfaction
 within the thirty (30) day period and by promptly providing proof thereof to Franchisor. If any such default
 is not cured within the specified time, or such longer period as applicable law may require, this Agreement
 shall terminate without further notice to Franchisee effective immediately upon the expiration of the thirty
 (30) day period or such longer period as applicable law may require. Defaults which are susceptible of cure
 hereunder may include, but are not limited to, the following illustrative events:

                   (1)     If Franchisee fails to comply with any of the requirements imposed by this
 Agreement, as it may from time to time be amended or reasonably be supplemented by Franchisor, or fails
 to carry out the terms of this Agreement in good faith.

                 (2)     If Franchisee fails to maintain or observe any of the standards, specifications or
 procedures prescribed by Franchisor in this Agreement or otherwise in writing.

                 (3)      If Franchisee fails, refuses, or neglects to obtain Franchisor’s prior written
 approval or consent as required by this Agreement.

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          C.      If Franchisee or any Controlling Principal (or any person or entity affiliated with or
 controlled by Franchisee or any Controlling Principal) is determined by Franchisor to be either (i)
 repeatedly in default for failure to comply with the requirements of any other franchise agreement,
 development agreement, or other agreement to which Franchisor (or an affiliate of Franchisor) is a party
 (collectively, and as each may be amended from time to time, “Other Agreements”), whether or not such
 defaults are of the same or different nature and whether or not such defaults have been cured after notice
 by Franchisor, or (ii) in material default for failure to substantially comply with the requirements of any
 Other Agreement, Franchisor may terminate this Agreement by giving written notice of termination stating
 the nature of such default to Franchisee at least thirty (30) days prior to the effective date of termination.

         Any termination of this Agreement pursuant to this Section XVII.C. shall constitute an event of
 default under each of the Other Agreements, and Franchisor expressly reserves all rights and remedies
 available at law or equity including, without limitation, the right to terminate all of the rights and obligations
 of any and/or all of the Other Agreements. No right or remedy which Franchisor may have (including
 termination) is exclusive of any other right or remedy provided under law or equity and Franchisor may
 pursue any additional rights and/or remedies available.

 XVIII. POST-TERMINATION

         Upon termination or expiration of this Agreement, all rights granted hereunder to Franchisee shall
 forthwith terminate, and:

          A.       Franchisee shall immediately cease to operate the Restaurant, and shall not thereafter,
 directly or indirectly, represent to the public or hold itself out as a present franchisee of Franchisor.

          B.      Franchisee shall immediately and permanently (i) cease to use, in any manner whatsoever,
 any confidential methods, computer software, procedures, and techniques associated with the System at the
 Approved Location, and (ii) remove, within one (1) day of the termination or expiration of this Agreement,
 any and all exterior and interior signage from the Restaurant premises that contain or otherwise reference
 the Marks (including, without limitation, the “FIVE GUYS®”, “FIVE GUYS FAMOUS BURGERS AND
 FRIES®”, “FIVE GUYS BURGERS AND FRIES®” signage together with all other trademarks, service
 marks, and distinctive forms, slogans, signs, symbols, product labels, advertising materials, displays,
 stationery, forms, and any other articles or devices associated with the System), and shall immediately
 change all interior and, if applicable, exterior paint colors as reasonably needed to remove Franchisor’s
 distinctive proprietary design items.

         C.       Franchisee shall take such action as may be necessary to cancel any assumed name or
 equivalent registration which contains the mark “FIVE GUYS®” or any other service mark or trademark of
 Franchisor, and Franchisee shall furnish Franchisor with evidence satisfactory to Franchisor of compliance
 with this obligation within five (5) days after termination or expiration of this Agreement.

          D.      Franchisee agrees, in the event it continues to operate or subsequently begins to operate
 any other business, not to use any reproduction, counterfeit, copy or colorable imitation of the Marks, either
 in connection with such other business or the promotion thereof, which is likely to cause confusion, mistake
 or deception, or which is likely to dilute Franchisor’s rights in and to the Marks, and further agrees not to
 utilize any designation of origin or description or representation which falsely suggests or represents an
 association or connection with Franchisor constituting unfair competition.

         E.       Franchisee and the Controlling Principals shall pay to Franchisor all sums, including, but
 not limited to, damages, costs and expenses, including reasonable attorneys’ fees, incurred by Franchisor
 in connection with obtaining any remedy available to Franchisor for any violation of this Agreement and,
 subsequent to the termination or expiration of this Agreement, in obtaining injunctive or other relief for the
 enforcement of any provisions of this Section XVIII. These obligations shall give rise to and remain, until

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 paid in full, a lien in favor of Franchisor against any and all of the personal property, furnishings, equipment,
 fixtures, and inventory owned by Franchisee and on the premises operated hereunder at the time of default.

         F.      Franchisee shall immediately deliver to Franchisor all Manuals, software licensed by
 Franchisor, records, files, instructions, correspondence, all materials related to operating the Restaurant,
 including, without limitation, agreements, invoices, and any and all other materials relating to the operation
 of the Restaurant in Franchisee’s possession or control, and all copies thereof (all of which are
 acknowledged to be Franchisor’s property), and shall retain no copy or record of any of the foregoing,
 except Franchisee’s copy of this Agreement and of any correspondence between the parties and any other
 documents which Franchisee reasonably needs for compliance with any provision of law.

         G.      Franchisee and the Controlling Principals shall comply with the restrictions on
 Confidential Information and non-competition contained in Section X. of this Agreement, and shall remain
 obligated to comply with the indemnification requirements contained in Section XV. of this Agreement.

         H.       Upon execution of this Agreement, in partial consideration of the rights granted hereunder,
 Franchisee acknowledges and agrees that all right, title and interest in the signs and menu boards used at
 the Restaurant are hereby assigned to Franchisor, and that upon termination or expiration of this Agreement,
 neither Franchisee nor any lien holder of Franchisee shall have any further interest therein.

          I.      If Franchisee operates the Restaurant under a lease for the Restaurant premises with a third
 party or, with respect to any lease for equipment used in the operation of the franchised business, then
 Franchisee shall, at Franchisor’s option, assign to Franchisor any interest which Franchisee has in any lease
 or sublease for the premises of the Restaurant or any equipment related thereto. Franchisor may exercise
 such option at or within thirty (30) days after either termination or (subject to any existing right to renew)
 expiration of this Agreement. In the event Franchisor does not elect to exercise its option to acquire the
 lease or sublease for the Restaurant premises or does not have such option, Franchisee shall make such
 modifications or alterations to the Restaurant premises as are necessary to distinguish the appearance of the
 Restaurant from that of other FIVE GUYS® Restaurants operating under the System and shall make such
 specific additional changes as Franchisor may reasonably request (as more fully described in Section
 XVIII.B. hereof). If Franchisee fails or refuses to comply with the foregoing requirements, Franchisor shall
 have the right to enter upon the Restaurant premises, without being guilty of trespass or any other crime or
 tort, to make or cause to be made such changes as may be required, at the expense of Franchisee, which
 expense Franchisee agrees to pay upon demand. Notwithstanding the provisions of this Section XVIII.I. to
 the contrary, in the event the lease is assigned to Franchisor, Franchisor hereby indemnifies and hold
 harmless Franchisee and any guarantors under said lease, for any breach by Franchisor or its successors or
 assigns from any liability arising out of the lease for the Restaurant premises from and after the date of the
 assignment of the lease. The right of Franchisor to assume Franchisee’s lease may not be recorded against
 the real estate. Any recording done must be subordinated to any SBA-financed loan and may not include
 any attornment language.

          J.      (1)      Except as otherwise provided herein, Franchisor shall have the option, to be
 exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
 Franchisee any or all of the furnishings, Equipment, signs, fixtures, supplies, and inventory of Franchisee
 related to the operation of the Restaurant, at fair market value. Franchisor shall be purchasing Franchisee’s
 assets only and shall be assuming no liabilities whatsoever, unless otherwise agreed to in writing by the
 parties. If the parties cannot agree on the fair market value of the foregoing assets within thirty (30) days
 of Franchisor’s exercise of its option, fair market value shall be determined by two (2) appraisers, with each
 party selecting one (1) independent and industry accredited appraiser, and the average of their reasonable
 determinations shall be binding. In the event of such appraisals, each party shall bear its own legal and
 other costs and shall split the appraisal fees equally. If Franchisor elects to exercise any option to purchase
 herein provided, it shall have the right to offset (i) all fees for any such independent appraiser due from
 Franchisee, (ii) all amounts due from Franchisee to Franchisor or any of its affiliates, and (iii) any costs

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 incurred in connection with any escrow arrangement (including reasonable legal fees), against any payment
 therefor and shall pay the remaining amount in cash.

                   (2)      If Franchisee owns the Restaurant premises and decides to sell such premises,
 Franchisor may then, upon the termination or expiration of this Agreement and in addition to the rights
 described above, negotiate with Franchisee the purchase of the Restaurant premises including any building
 thereon, if applicable, for the fair market value of the land and building (together with any or all of the
 furnishings, Equipment, signs, fixtures, supplies and inventory therein) at fair market value. Franchisor
 shall purchase assets only and shall assume no liabilities whatsoever, unless otherwise agreed to in writing
 by the parties. If the parties cannot agree on fair market value within thirty (30) days of Franchisor’s notice
 to Franchisee of its intention to purchase as contemplated herein, fair market value shall be determined in
 accordance with appraisal procedure described in Section XVIII.J.(1) above. For purposes of clarification,
 nothing contained in this Section XVIII.J.(2) shall force Franchisee to sell the Restaurant premises, and/or
 the building(s) thereon, to the Franchisor if an acceptable purchase price cannot be reached.

                   (3)     With respect to the options described in Sections XVIII.J.(1) and (2), Franchisee
 shall deliver to Franchisor in a form satisfactory to Franchisor, such warranties, deeds, releases of lien, bills
 of sale, assignments and such other documents and instruments which Franchisor deems necessary in order
 to perfect Franchisor’s title and possession in and to the properties being purchased or assigned and to meet
 the requirements of all tax and government authorities. If, at the time of closing, Franchisee has not
 obtained all of these certificates and other documents, Franchisor may, in its sole discretion, place the
 purchase price in escrow pending issuance of any required certificates or documents.

                   (4)     The time for closing of the purchase and sale of the properties described in Sections
 XVIII.J.(1) and (2) shall be a date not later than thirty (30) days after the purchase price is determined by
 the parties or the determination of the appraisers, or such date Franchisor receives and obtains all necessary
 permits and approvals, whichever is later, unless the parties mutually agree to designate another date.
 Closing shall take place at Franchisor’s corporate offices or at such other location as the parties may agree.

         K.       Franchisor shall be entitled to assign any and all of its options in this Section to any other
 party, without the consent of Franchisee.

          L.      Franchisee, at the option of Franchisor, shall assign to Franchisor or its designee all rights
 to the telephone numbers of the Restaurant and any business listings and execute all forms and documents
 required by Franchisor and any telephone company at any time to transfer such service and numbers to
 Franchisor or its designee.

 XIX.     MISCELLANEOUS

         A.        Any and all notices required or permitted under this Agreement shall be in writing and shall
 be personally delivered or sent by expedited delivery service or certified or registered mail, return receipt
 requested, first class postage prepaid, or sent by electronic mail to the respective parties at the following
 addresses unless and until a different address has been designated by written notice to the other party:

          Notices to Franchisor:            Five Guys Franchisor, LLC
                                            10718 Richmond Highway
                                            Lorton, Virginia 22079
                                            Attention: Legal Department
                                            Email: franchise@fiveguys.com




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          With a copy to:                  Polsinelli PC
                                           1401 Eye Street, NW, Suite 800
                                           Washington, D.C. 20005
                                           Attention: Diana Vilmenay, Esq.
                                           Email: dvilmenay@polsinelli.com

          Notices to Franchisee and
          the Controlling Principals:


                                           Attention:
                                           Email:

          Any notice shall be deemed to have been given at the time of personal delivery or, in the case of
 facsimile or electronic mail, upon transmission or, in the case of expedited delivery service or registered or
 certified mail, three (3) Business Days after the date and time of mailing.

          B.       This Agreement, the documents referred to herein, and the Attachments hereto, constitute
 the entire, full and complete agreement between Franchisor and Franchisee and the Controlling Principals
 concerning the subject matter hereof and shall supersede all prior related agreements between Franchisor
 and Franchisee and the Controlling Principals regarding the Restaurant; provided, however, that nothing in
 this or any related agreement is intended to disclaim the representations made by Franchisor in the
 Disclosure Document that was furnished to Franchisee by Franchisor. Except for those permitted to be
 made unilaterally by Franchisor hereunder, no amendment, change or variance from this Agreement shall
 be binding on either party unless mutually agreed to by the parties and executed by their authorized officers
 or agents in writing.

         C.       No delay, waiver, omission or forbearance on the part of Franchisor to exercise any right,
 option, duty or power arising out of any breach or default by Franchisee or the Controlling Principals under
 this Agreement shall constitute a waiver by Franchisor to enforce any such right, option, duty or power
 against Franchisee or the Controlling Principals, or as to a subsequent breach or default by Franchisee or
 the Controlling Principals. Acceptance by Franchisor of any payments due to it hereunder subsequent to
 the time at which such payments are due shall not be deemed to be a waiver by Franchisor of any preceding
 breach by Franchisee or the Controlling Principals of any terms, provisions, covenants or conditions of this
 Agreement.

         D.      Whenever this Agreement requires the prior approval or consent of Franchisor, Franchisee
 shall make a timely written request to Franchisor, and such approval or consent shall be obtained in writing.

        E.       Franchisor makes no warranties or guarantees upon which Franchisee may rely and
 assumes no liability or obligation to Franchisee or any third party to which it would not otherwise be subject,
 by providing any waiver, approval, advice, consent or suggestion to Franchisee in connection with this
 Agreement, or by reason of any neglect, delay or denial of any request therefor.

         F.      If a Force Majeure event shall occur, then, in addition to payments required under Section
 XVII.A.(3)(e), Franchisee shall continue to be obligated to pay to Franchisor any and all amounts that it
 shall have duly become obligated to pay in accordance with the terms of this Agreement prior to the
 occurrence of any Force Majeure event and the Indemnitees shall continue to be indemnified and held
 harmless by Franchisee in accordance with Section XV. Except as provided in Section XVII.A.(3)(e) and
 the immediately preceding sentence herein, none of the parties hereto shall be held liable for a failure to
 comply with any terms and conditions of this Agreement when such failure is caused by an event of Force
 Majeure. Upon the occurrence of any event of the type referred to herein, the party affected thereby shall
 give prompt notice thereof to the other parties, together with a description of the event, the duration for
 which the party expects its ability to comply with the provisions of the Agreement to be affected thereby
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 and a plan for resuming operation under the Agreement, which the party shall promptly undertake and
 maintain with due diligence. Such affected party shall be liable for failure to give timely notice only to the
 extent of damage actually caused.

         G.    (1)   EXCEPT AS PROVIDED IN THIS AGREEMENT, FRANCHISOR,
 FRANCHISEE AND THE CONTROLLING PRINCIPALS AGREE THAT ANY CLAIM,
 CONTROVERSY OR DISPUTE ARISING OUT OF OR RELATING TO THE FRANCHISE,
 FRANCHISEE’S ESTABLISHMENT OR OPERATION OF ANY RESTAURANT UNDER THIS
 AGREEMENT (AND ANY AMENDMENTS THERETO) INCLUDING, BUT NOT LIMITED TO, ANY
 CLAIM BY FRANCHISEE, OR ANY OF THE CONTROLLING PRINCIPALS, OR PERSONS
 CLAIMING ON BEHALF OF FRANCHISEE OR THE CONTROLLING PRINCIPALS, CONCERNING
 THE ENTRY INTO, THE PERFORMANCE UNDER OR THE TERMINATION OF THE
 AGREEMENT, OR ANY OTHER AGREEMENT BETWEEN FRANCHISOR, OR ITS AFFILIATES,
 AND FRANCHISEE, ANY CLAIM AGAINST A PAST OR PRESENT OFFICER, DIRECTOR,
 EMPLOYEE OR AGENT OF FRANCHISOR, INCLUDING THOSE OCCURRING SUBSEQUENT TO
 THE TERMINATION OF THIS AGREEMENT, THAT CANNOT BE AMICABLY SETTLED AMONG
 THE PARTIES SHALL, EXCEPT AS SPECIFICALLY SET FORTH HEREIN AND IN SECTION
 XIX.I., BE REFERRED TO ARBITRATION, THE ARBITRATION SHALL BE CONDUCTED BY THE
 AMERICAN ARBITRATION ASSOCIATION IN ACCORDANCE WITH ITS RULES, AS AMENDED,
 EXCEPT THAT THE ARBITRATOR SHALL APPLY THE FEDERAL RULES OF EVIDENCE
 DURING THE CONDUCT OF THE HEARING SESSIONS WITH RESPECT TO THE
 ADMISSIBILITY OF EVIDENCE. IF SUCH RULES ARE IN ANY WAY CONTRARY TO OR IN
 CONFLICT WITH THIS AGREEMENT, THE TERMS OF THE AGREEMENT SHALL CONTROL.
 ONLY CLAIMS, CONTROVERSIES OR DISPUTES INVOLVING FRANCHISEE AND THE
 CONTROLLING PRINCIPALS MAY BE BROUGHT HEREUNDER. NO CLAIM FOR OR ON
 BEHALF OF ANY OTHER FRANCHISEE OR SUPPLIER, OR CLASS, REPRESENTATIVE OR
 ASSOCIATION THEREOF, MAY BE BROUGHT BY FRANCHISEE OR THE CONTROLLING
 PRINCIPALS HEREUNDER.

              (2)    THE PARTIES SHALL AGREE ON AN ARBITRATOR WITHIN FIFTEEN
 (15) DAYS OF THE FILING OF ARBITRATION. IF THE PARTIES CANNOT AGREE ON A SINGLE
 ARBITRATOR, FRANCHISOR AND FRANCHISEE (OR CONTROLLING PRINCIPAL, AS
 APPLICABLE) SHALL EACH SELECT ONE (1) ARBITRATOR. IF THE PARTY UPON WHOM THE
 DEMAND FOR ARBITRATION IS SERVED FAILS TO SELECT AN ARBITRATOR WITHIN
 FIFTEEN (15) DAYS AFTER THE RECEIPT OF THE DEMAND FOR ARBITRATION, THEN THE
 ARBITRATOR SO DESIGNATED BY THE PARTY REQUESTING ARBITRATION SHALL ACT AS
 THE SOLE ARBITRATOR TO RESOLVE THE CONTROVERSY AT HAND. THE TWO
 ARBITRATORS DESIGNATED BY THE PARTIES SHALL SELECT A THIRD ARBITRATOR. IF
 THE TWO ARBITRATORS DESIGNATED BY THE PARTIES FAIL TO SELECT A THIRD
 ARBITRATOR WITHIN FIFTEEN (15) DAYS, THE THIRD ARBITRATOR SHALL BE SELECTED
 BY THE AMERICAN ARBITRATION ASSOCIATION OR ANY SUCCESSOR THERETO, UPON
 APPLICATION BY EITHER PARTY. ALL OF THE ARBITRATORS SHALL BE EXPERIENCED IN
 THE ARBITRATION OF DISPUTES BETWEEN FRANCHISORS AND FRANCHISEES. THE
 ARBITRATION SHALL TAKE PLACE IN THE CITY WHERE FRANCHISOR’S CORPORATE
 OFFICES ARE LOCATED OR AT THE OFFICES OF THE AMERICAN ARBITRATION
 ASSOCIATION NEAREST TO FRANCHISOR’S CORPORATE OFFICES. THE ARBITRATION
 SHALL BE CONDUCTED ON AN INDIVIDUAL BASIS, AND NOT AS PART OF A
 CONSOLIDATED, COMMON, OR CLASS ACTION, AND FRANCHISEE AND ITS CONTROLLING
 PRINCIPALS WAIVE ANY AND ALL RIGHTS TO PROCEED ON A CONSOLIDATED, COMMON,
 OR CLASS BASIS. FRANCHISEE AGREES NOT TO SEEK JOINDER OF ANY OF FRANCHISEE’S
 CLAIMS WITH THOSE OF ANY OTHER PARTY. THE AWARD OF THE ARBITRATORS SHALL
 BE FINAL AND JUDGMENT UPON THE AWARD RENDERED IN ARBITRATION MAY BE
 ENTERED IN ANY COURT HAVING JURISDICTION THEREOF. THE COSTS AND EXPENSES OF
 ARBITRATION MAY BE ENTERED IN ANY COURT HAVING JURISDICTION THEREOF. THE
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 ARBITRATORS SHALL BE REQUIRED TO SUBMIT WRITTEN FINDINGS OF FACT AND
 CONCLUSIONS OF LAW WITHIN THIRTY (30) DAYS FOLLOWING THE FINAL HEARING
 SESSION OF THE ARBITRATION. THE ARBITRATION PROCEEDINGS AND ARBITRATION
 AWARD SHALL BE MAINTAINED BY THE PARTIES AS STRICTLY CONFIDENTIAL, EXCEPT
 AS IS OTHERWISE REQUIRED BY LAW OR COURT ORDER OR AS IS NECESSARY TO
 CONFIRM, VACATE, OR ENFORCE THE AWARD AND FOR DISCLOSURE IN CONFIDENCE TO
 THE PARTIES’ RESPECTIVE ATTORNEYS AND TAX ADVISORS. THE COSTS AND EXPENSES
 OF ARBITRATION, INCLUDING COMPENSATION AND EXPENSES OF THE ARBITRATORS,
 SHALL BE BORNE BY THE PARTIES AS THE ARBITRATORS DETERMINE.

             (3)  NOTWITHSTANDING THE ABOVE, THE FOLLOWING SHALL NOT BE
 SUBJECT TO ARBITRATION:

                  (i)  DISPUTES AND CONTROVERSIES ARISING FROM THE
 SHERMAN ACT, THE CLAYTON ACT OR ANY OTHER FEDERAL OR STATE ANTITRUST LAW;

                 (ii)  DISPUTES AND CONTROVERSIES BASED UPON OR ARISING
 UNDER THE LANHAM ACT, AS NOW OR HEREAFTER AMENDED, RELATING TO THE
 OWNERSHIP OR VALIDITY OF THE TRADEMARKS;

                 (iii) DISPUTES AND CONTROVERSIES RELATING TO ACTIONS TO
 OBTAIN POSSESSION OF THE PREMISES OF THE RESTAURANT UNDER LEASE OR
 SUBLEASE.

             (4) IF FRANCHISOR SHALL DESIRE TO SEEK SPECIFIC PERFORMANCE OR
 OTHER EXTRAORDINARY RELIEF INCLUDING, BUT NOT LIMITED TO, INJUNCTIVE RELIEF
 UNDER THIS AGREEMENT AND ANY AMENDMENTS THERETO, OR TO COLLECT MONIES
 DUE, THEN ANY SUCH ACTION SHALL NOT BE SUBJECT TO ARBITRATION AND
 FRANCHISOR SHALL HAVE THE RIGHT TO BRING SUCH ACTION AS DESCRIBED IN
 SECTION XIX.I.

            (5)   IN PROCEEDING WITH ARBITRATION AND IN MAKING
 DETERMINATIONS HEREUNDER, THE ARBITRATORS SHALL NOT EXTEND, MODIFY OR
 SUSPEND ANY TERMS OF THIS AGREEMENT OR THE REASONABLE STANDARDS OF
 BUSINESS PERFORMANCE AND OPERATION ESTABLISHED BY FRANCHISOR IN GOOD
 FAITH. NOTICE OF OR REQUEST TO OR DEMAND FOR ARBITRATION SHALL NOT STAY,
 POSTPONE OR RESCIND THE EFFECTIVENESS OF ANY TERMINATION OF THIS
 AGREEMENT. THE ARBITRATORS SHALL APPLY VIRGINIA LAW AND THE TERMS OF THIS
 AGREEMENT IN REACHING THEIR DECISION.

       H.   WITH RESPECT TO ANY CLAIMS, CONTROVERSIES OR DISPUTES WHICH ARE
 NOT FINALLY RESOLVED THROUGH ARBITRATION, OR AS OTHERWISE PROVIDED ABOVE,
 FRANCHISEE AND THE CONTROLLING PRINCIPALS HEREBY IRREVOCABLY SUBMIT
 THEMSELVES TO THE JURISDICTION OF THE STATE COURTS OF FAIRFAX COUNTY,
 VIRGINIA AND THE FEDERAL DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA.
 FRANCHISEE AND THE CONTROLLING PRINCIPALS HEREBY WAIVE ALL QUESTIONS OF
 PERSONAL JURISDICTION FOR THE PURPOSE OF CARRYING OUT THIS PROVISION.
 FRANCHISEE AND THE CONTROLLING PRINCIPALS HEREBY AGREE THAT SERVICE OF
 PROCESS MAY BE MADE UPON ANY OF THEM IN ANY PROCEEDING RELATING TO OR
 ARISING OUT OF THIS AGREEMENT OR THE RELATIONSHIP CREATED BY THIS
 AGREEMENT BY ANY MEANS ALLOWED BY VIRGINIA OR FEDERAL LAW. FRANCHISEE
 AND THE CONTROLLING PRINCIPALS FURTHER AGREE THAT VENUE FOR ANY
 PROCEEDING RELATING TO OR ARISING OUT OF THIS AGREEMENT SHALL BE FAIRFAX
 COUNTY, VIRGINIA; PROVIDED, HOWEVER, WITH RESPECT TO ANY ACTION (1) FOR
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 MONIES OWED, (2) FOR INJUNCTIVE OR OTHER EXTRAORDINARY RELIEF OR
 (3) INVOLVING POSSESSION OR DISPOSITION OF, OR OTHER RELIEF RELATING TO, REAL
 PROPERTY, FRANCHISOR MAY BRING SUCH ACTION IN ANY STATE OR FEDERAL DISTRICT
 COURT WHICH HAS JURISDICTION. WITH RESPECT TO ALL CLAIMS, CONTROVERSIES,
 DISPUTES OR ACTIONS, RELATED TO THIS AGREEMENT OR THE RELATIONSHIP CREATED
 THEREBY, THIS AGREEMENT AND ANY SUCH RELATED CLAIMS, CONTROVERSIES,
 DISPUTES OR ACTIONS SHALL BE GOVERNED, ENFORCED AND INTERPRETED UNDER THE
 SUBSTANTIVE LAWS OF THE COMMONWEALTH OF VIRGINIA WITHOUT REGARD TO, AND
 WITOUT APPLYING, ITS CONFLICT OF LAWS RULES, EXCEPT THAT ANY VIRGINIA LAW
 REGULATING THE SALE OF FRANCHISES OR BUSINESS OPPORTUNITIES OR GOVERNING
 THE RELATIONSHIP OF A FRANCHISOR AND ITS FRANCHISEE WILL NOT APPLY UNLESS
 ITS JURISDICTIONAL REQUIREMENTS ARE MET INDEPENDENTLY WITHOUT REFERENCE
 TO THIS PARAGRAPH.

       I.    FRANCHISEE, THE CONTROLLING PRINCIPALS AND FRANCHISOR
 ACKNOWLEDGE THAT THE PARTIES’ AGREEMENT REGARDING APPLICABLE STATE LAW
 AND FORUM SET FORTH IN SECTION XIX.I. ABOVE PROVIDE EACH OF THE PARTIES WITH
 THE MUTUAL BENEFIT OF UNIFORM INTERPRETATION OF THIS AGREEMENT AND ANY
 DISPUTE ARISING OUT OF THIS AGREEMENT OR THE PARTIES’ RELATIONSHIP CREATED
 BY THIS AGREEMENT. EACH OF FRANCHISEE, THE CONTROLLING PRINCIPALS AND
 FRANCHISOR FURTHER ACKNOWLEDGE THE RECEIPT AND SUFFICIENCY OF MUTUAL
 CONSIDERATION FOR SUCH BENEFIT AND THAT EACH PARTY’S AGREEMENT REGARDING
 APPLICABLE STATE LAW AND CHOICE OF FORUM HAVE BEEN NEGOTIATED FOR IN GOOD
 FAITH AND ARE PART OF THE BENEFIT OF THE BARGAIN REFLECTED BY THIS
 AGREEMENT.

       J.   FRANCHISEE, THE CONTROLLING PRINCIPALS AND FRANCHISOR
 ACKNOWLEDGE THAT THE EXECUTION OF THIS AGREEMENT AND ACCEPTANCE OF THE
 TERMS BY THE PARTIES OCCURRED IN FAIRFAX COUNTY, VIRGINIA, AND FURTHER
 ACKNOWLEDGE THAT THE PERFORMANCE OF CERTAIN OBLIGATIONS OF FRANCHISEE
 ARISING UNDER THIS AGREEMENT, INCLUDING, BUT NOT LIMITED TO, THE PAYMENT OF
 MONIES DUE HEREUNDER AND THE SATISFACTION OF CERTAIN TRAINING
 REQUIREMENTS OF FRANCHISOR, SHALL OCCUR IN FAIRFAX COUNTY, VIRGINIA.

       K.    FRANCHISEE, ITS CONTROLLING PRINCIPALS AND THE FRANCHISOR
 HEREBY WAIVE, TO THE FULLEST EXTENT PERMITTED BY LAW, ANY RIGHT TO OR CLAIM
 OR ANY PUNITIVE, EXEMPLARY, INCIDENTAL, INDIRECT, SPECIAL, CONSEQUENTIAL OR
 OTHER DAMAGES (INCLUDING, WITHOUT LIMITATION, LOSS OF PROFITS) AGAINST THE
 OTHER PARTY, THEIR AFFILIATES, AND THEIR RESPECTIVE OFFICERS, DIRECTORS,
 SHAREHOLDERS,      PARTNERS,    AGENTS,      REPRESENTATIVES,     INDEPENDENT
 CONTRACTORS, SERVANTS AND EMPLOYEES, IN THEIR CORPORATE AND INDIVIDUAL
 CAPACITIES, ARISING OUT OF ANY CAUSE WHATSOEVER (WHETHER SUCH CAUSE BE
 BASED IN CONTRACT, NEGLIGENCE, STRICT LIABILITY, OTHER TORT OR OTHERWISE)
 AND AGREE THAT IN THE EVENT OF A DISPUTE, EITHER PARTY SHALL BE LIMITED TO THE
 RECOVERY OF ANY ACTUAL DAMAGES SUSTAINED BY IT. IF ANY OTHER TERM OF THIS
 AGREEMENT IS FOUND OR DETERMINED TO BE UNCONSCIONABLE OR UNENFORCEABLE
 FOR ANY REASON, THE FOREGOING PROVISIONS OF WAIVER BY AGREEMENT OF
 PUNITIVE, EXEMPLARY, INCIDENTAL, INDIRECT, SPECIAL, CONSEQUENTIAL OR OTHER
 DAMAGES (INCLUDING, WITHOUT LIMITATION, LOSS OF PROFITS) SHALL CONTINUE IN
 FULL FORCE AND EFFECT.

          L.      This Agreement may be executed in multiple counterparts, each of which when so executed
 shall be an original, and all of which shall constitute one and the same instrument.

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         M.       The captions used in connection with the sections and subsections of this Agreement are
 inserted only for purpose of reference. Such captions shall not be deemed to govern, limit, modify or in
 any other manner affect the scope, meaning or intent of the provisions of this Agreement or any part thereof
 nor shall such captions otherwise be given any legal effect.

          N.     Any obligation of Franchisee or the Controlling Principals that contemplates performance
 of such obligation after termination or expiration of this Agreement or the transfer of any interest of
 Franchisee or the Controlling Principals therein, shall be deemed to survive such termination, expiration or
 transfer.

          O.        Except as expressly provided to the contrary herein, each portion, section, part, term and
 provision of this Agreement shall be considered severable. If, for any reason, any portion, section, part,
 term or provision of this Agreement is determined to be invalid and contrary to, or in conflict with, any
 existing or future law or regulation by a court or agency having valid jurisdiction over the parties hereto,
 this Agreement, and/or the Restaurant, then (i) such determination shall not impair the operation of, or have
 any other effect upon, the other portions, sections, parts, terms or provisions of this Agreement that may
 remain otherwise intelligible (and the latter shall continue to be given full force and effect and bind the
 parties), (ii) the invalid portions, sections, parts, terms or provisions shall be deemed not to be part of this
 Agreement, and (iii) there shall be automatically added such portion, section, part, term or provision as
 similar as possible to that which was severed which shall be valid and not contrary to or in conflict with
 any applicable law or regulation.

         P.      All references herein to the masculine, neuter or singular shall be construed to include the
 masculine, feminine, neuter or plural, where applicable. Without limiting the obligations individually
 undertaken by the Controlling Principals under this Agreement, all acknowledgments, promises, covenants,
 agreements and obligations made or undertaken by Franchisee in this Agreement shall be deemed, jointly
 and severally, undertaken by all of the Controlling Principals.

          Q.       All rights and remedies of the parties to this Agreement shall be cumulative and not
 alternative, in addition to and not exclusive of any other rights or remedies which are provided for herein
 or which may be available at law or in equity in case of any breach, failure or default or threatened breach,
 failure or default of any term, provision or condition of this Agreement or any other agreement between
 Franchisee or any of its affiliates and Franchisor or any of its affiliates. The rights and remedies of the
 parties to this Agreement shall be continuing and shall not be exhausted by any one or more uses thereof,
 and may be exercised at any time or from time to time as often as may be expedient; and any option or
 election to enforce any such right or remedy may be exercised or taken at any time and from time to time.
 The expiration or earlier termination of this Agreement, or exercise of Franchisor’s rights pursuant to
 Section XVII. hereof, shall not discharge or release Franchisee or any of the Controlling Principals from
 any liability or obligation then accrued, or any liability or obligation continuing beyond, or arising out of,
 the expiration, the earlier termination or the exercise of such rights under this Agreement.

          R.      The term “Controlling Principals” shall include, collectively and individually, (i) if
 Franchisee is an individual, Franchisee and the spouse of Franchisee, or (ii) if Franchisee is an Entity, all
 individuals directly or indirectly holding ten percent (10%) or more of the total ownership interests in
 Franchisee or of any Entity directly or indirectly controlling Franchisee. As used in this Section XIX.R.,
 the terms “control” and “controlling” shall mean the power to influence the management decisions of the
 specified person and shall in any case be deemed to exist where such person holds ten percent (10%) or
 more of the total ownership interest in the Franchisee, serves on any board of directors or comparable body
 of the Franchisee, or acts as an officer, general partner or manager thereof. If Franchisee is operating as an
 Entity as contemplated hereunder, all individuals holding any interest in the Franchisee shall each be listed
 on Attachment D hereto.

         S.       Each reference in this Agreement to a company or partnership shall be deemed to also refer
 to any other entity or organization similar thereto. Each reference to the organizational documents, equity
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 owners, directors, and officers of a company in this Agreement shall be deemed to refer to the functional
 equivalents of such organizational documents, equity owners, directors, and officers, as applicable, in the
 case of a limited liability partnership or any other entity or organization similar thereto.

          T.     Except as expressly provided to the contrary herein, nothing in this Agreement is intended,
 nor shall be deemed, to confer upon any person or legal entity other than Franchisee, Franchisor,
 Franchisor’s officers, directors and personnel and such of Franchisee’s and Franchisor’s respective
 successors and assigns as may be contemplated (and, as to Franchisee, authorized by Section XIV.), any
 rights or remedies under or as a result of this Agreement.

         U.         This Agreement shall not become effective until signed by the authorized agent of
 Franchisor.

          V.      Franchisee understands and agrees that the System must not remain static if it is to meet,
 without limitation, presently unforeseen changes in technology, competitive circumstances, demographics,
 populations, consumer trends, societal trends and other marketplace variables, and if it is to best serve the
 interests of Franchisor, Franchisee and all other franchisees. Accordingly, Franchisee expressly
 understands and agrees that Franchisor may from time to time change the components of the System
 including, but not limited to, (i) altering the products, programs, services, methods, standards, forms,
 policies and procedures of that System; abandoning the System altogether in favor of another system in
 connection with a merger, acquisition, other business combination or for other reasons, (ii) adding to,
 deleting from or modifying those products, programs and services which Franchisee’s Restaurant is
 authorized and required to offer, (iii) modifying or substituting entirely the building, premises, equipment,
 signage, trade dress, decor, color schemes and uniform specifications and all other unit construction, design,
 appearance and operation attributes which Franchisee is required to observe hereunder, and (iv) changing,
 improving, modifying or substituting the Marks. Franchisee expressly agrees to comply with any such
 modifications, changes, additions, deletions, substitutions and alterations; provided, however, that such
 changes shall not materially and unreasonably increase Franchisee’s obligations hereunder.

         Franchisee shall accept, use and effectuate any such changes or modifications to, or substitution of,
 the System as if they were part of the System at the time that this Agreement was executed.

          Franchisor shall not be liable to Franchisee for any expenses, losses or damages sustained by
 Franchisee as a result of any of the modifications contemplated hereby. Franchisee hereby covenants not
 to commence or join in any litigation or other proceeding against Franchisor or any third party complaining
 of any such modifications or seeking expenses, losses or damages caused thereby. Franchisee further
 expressly waives any claims, demands or damages arising from or related to the foregoing activities
 including, without limitation, any claim of breach of contract, breach of fiduciary duty, fraud, and/or breach
 of the implied covenant of good faith and fair dealing.

          W.        Franchisee and each Controlling Principal agree to comply, and to assist to the fullest extent
 possible Franchisor’s efforts to comply, with all Anti-Terrorism Laws (defined below). In connection with
 such compliance, Franchisee and each Controlling Principal certify, represent, and warrant that none of
 their respective property or interests is subject to being blocked under, and that Franchisee and each
 Controlling Principal otherwise are not in violation of, any of the Anti-Terrorism Laws. “Anti-Terrorism
 Laws” mean Executive Order 13224 issued by the President of the United States, the USA Patriot Act, and
 all other present and future United States federal, state, and local laws, ordinances, regulations, policies,
 lists, and all other requirements of any governmental authority addressing or in any way relating to terrorist
 acts and acts of war. Any violation of any Anti-Terrorism Laws by Franchisee or any Controlling Principal,
 or any blocking of any assets of Franchisee or any Controlling Principal under any Anti-Terrorism Laws,
 shall constitute good cause for immediate termination of this Agreement.

        X.     The parties hereto, together with their respective Designees and Franchisee Designees,
 acknowledge and agree that they each are committed to conducting business ethically and in full compliance
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 with all applicable laws and regulations, including, without limitation, the United States Foreign Corrupt
 Practices Act of 1977 (as amended, the “FCPA”) and all such other laws of similar effect that prohibit
 bribery or other improper payments made to obtain a business advantage. In furtherance of the foregoing,
 Franchisee and each Controlling Principal, on behalf of themselves and each Franchisee Designee, agree to
 never take any action that could cause Franchisee or any Controlling Principal to be in violation of the
 FCPA.

          Y.       In order to prevent any interruption of the Restaurant operations which could cause harm
 to the Restaurant, thereby depreciating the value thereof, Franchisee authorizes Franchisor (who may, at its
 option, in the event that the Operating Principal is absent for any reason or is incapacitated by reason of
 illness or is otherwise unable, in the sole and reasonable judgment of Franchisor, to operate the Restaurant)
 to operate the Restaurant for an initial period of up to ninety (90) days (the “Step-In Period”) without
 waiver of any other rights or remedies Franchisor may have under this Agreement. The Step-In Period may
 be renewed, at the sole discretion of Franchisor, for subsequent periods of ninety (90) days if deemed
 necessary by the Franchisor; provided, however, that (i) at the conclusion of each ninety (90) day period,
 as applicable, the Franchisor shall reasonably evaluate and discuss with Franchisee the necessity of
 Franchisor’s involvement in the direct operation of the Restaurant, and (ii) in no event shall the Franchisor
 operate the Restaurant for a total period greater than one (1) year without the expressed written consent of
 Franchisee. All monies from the operation of the Restaurant during the Step-In Period shall be kept in a
 separate account, and the expenses of the Restaurant, including reasonable compensation and expenses for
 Franchisor’s representative(s), shall be charged to said account. If, as herein provided, Franchisor
 temporarily operates the Restaurant for Franchisee, Franchisee agrees to indemnify and hold harmless
 Franchisor and any representative of Franchisor who may act hereunder, from any and all acts which
 Franchisor or its representatives may perform (excluding acts of gross negligence, recklessness, and/or
 intentional misconduct). Franchisee agrees to pay all of Franchisor’s reasonable attorneys’ fees and costs
 incurred as a consequence of Franchisor’s exercise of its rights as contemplated hereunder. Nothing
 contained herein shall prevent Franchisor from exercising any other right which it may have under this
 Agreement, including, without limitation, termination pursuant to Section XVII.

          Z.       Notwithstanding anything in this Agreement to contrary, Franchisee and its officers,
 directors, shareholders, agents and representatives, may, in accordance with any applicable law including
 the federal Defend Trade Secrets Act, disclose Confidential Information, including Franchisor’s trade
 secrets, (a) in confidence, to federal, state, or local government officials, or to an attorney of Franchisee,
 for the sole purpose of reporting or investigating a suspected violation of law; or (b) in a document filed in
 a lawsuit or other legal proceeding, but only if the filing is made under seal and protected from public
 disclosure. Nothing in this Agreement is intended to conflict with any applicable law or create liability for
 disclosures expressly allowed by law.

 XX.      ACKNOWLEDGMENTS

         A.       Franchisee acknowledges that it has conducted an independent investigation of the business
 venture contemplated by this Agreement and recognizes that the success of this business venture involves
 substantial business risks and shall largely depend upon the ability of Franchisee. Franchisor expressly
 disclaims making, and Franchisee acknowledges that it has not received or relied on, any warranty or
 guarantee, express or implied, as to the potential volume, profits or success of the business venture
 contemplated by this Agreement.

          Initials:          ______________




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          B.      Franchisee acknowledges that Franchisee has received, read and understands this
 Agreement and the related Attachments and agreements and that Franchisor has afforded Franchisee
 sufficient time and opportunity to consult with advisors selected by Franchisee about the potential benefits
 and risks of entering into this Agreement.

          Initials:          _____________

         C.     Franchisee acknowledges that it received the disclosure document required by the Trade
 Regulation Rule of the Federal Trade Commission entitled “Disclosure Requirements and Prohibitions
 Concerning Franchising” at least fourteen (14) calendar days prior to the date on which this Agreement was
 executed.

          Initials:          _____________


                                                     ***


                                          [Signature Page Follows]




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          IN WITNESS WHEREOF, each of the parties hereto has caused this Agreement to be executed
 by its duly authorized representative as of the Effective Date written below.


                                                            FRANCHISOR:

                                                            FIVE GUYS FRANCHISOR, LLC
                                                            a Delaware limited liability company
 ATTEST:

 By:                                                        By:
 Print Name:                                                Name:
                                                            Title:
                                                            Accepted On:
                                                                           (the “Effective Date”)


                                                            FRANCHISEE:




 By:                                                        By:
 Print Name:                                                Name:
                                                            Title:
                                                            Date:




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                                            ATTACHMENT A

                               GUARANTY OF CONTROLLING PRINCIPALS

          Each of the undersigned acknowledges and agrees as follows:

         1.      Each has read the terms and conditions of the Franchise Agreement attached herewith and
 acknowledges that the execution of this guaranty and the undertakings of the Controlling Principals in the
 Franchise Agreement are in partial consideration for, and a condition to, the granting of this license, and
 that Franchisor would not have granted this license without the execution of this guaranty and such
 undertakings by each of the undersigned;

         2.     Each is included in the term “Controlling Principals” as described in Section XIX.R. of
 the Franchise Agreement;

         3.       Each individually, jointly and severally, makes all of the covenants, representations,
 warranties and agreements of the Controlling Principals set forth in the Franchise Agreement and is
 obligated to perform thereunder; and

          4.      Each individually, jointly and severally, unconditionally and irrevocably guarantees to
 Franchisor and its successors and assigns that all of Franchisee’s obligations under the Franchise Agreement
 shall be punctually paid and performed. Upon default by Franchisee or upon notice from Franchisor, each
 shall immediately make each payment and perform each obligation required of Franchisee under the
 Franchise Agreement. Without affecting the obligations of any of the Controlling Principals under this
 guaranty, Franchisor may, without notice to the Controlling Principals, waive, renew, extend, modify,
 amend or release any indebtedness or obligation of Franchisee or settle, adjust or compromise any claims
 that Franchisor may have against Franchisee. Each of the Controlling Principals waives all demand and
 notices of every kind with respect to the enforcement of this guaranty, including, without limitation, notice
 of presentment, demand for payment or performance by Franchisee, any default by Franchisee or any
 guarantor and any release of any guarantor or other security for this guaranty or the obligations of
 Franchisee. Franchisor may pursue its rights against any of the Controlling Principals without first
 exhausting its remedies against Franchisee and without joining any other guarantor hereto and no delay on
 the part of Franchisor in the exercise of any right or remedy shall operate as a waiver of such right or
 remedy, and no single or partial exercise by Franchisor of any right or remedy shall preclude the further
 exercise of such right or remedy. Upon receipt by Franchisor of notice of the death of any of the Controlling
 Principals, the estate of the deceased shall be bound by the foregoing guaranty, but only for defaults and
 obligations under the Franchise Agreement existing at the time of death, and in such event, the obligations
 of the remaining Controlling Principals shall continue in full force and effect.

          Additionally, with respect to the individual designated as Operating Principal, Operating Principal
 acknowledges that the undertakings by Operating Principal under this guaranty are made and given in
 partial consideration of, and as a condition to, Franchisor’s grant of rights to operate the Restaurant as
 described herein. The Operating Principal individually, jointly and severally, makes all of the covenants,
 representations and agreements of Franchisee and Operating Principal set forth in the Franchise Agreement
 and is obligated to perform hereunder.

                                                     ***

                                          (Signature Page Follows)




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 WITNESS:                                                       CONTROLLING PRINCIPALS:


 By:
 Print Name:                                                    *Name:


 By:
 Print Name:                                                    Name:


 By:
 Print Name:                                                    Name:


 By:
 Print Name:                                                    Name:


 * Denotes individual who is Franchisee’s Operating Principal




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                                          ATTACHMENT B

                                   APPROVED LOCATION,
                     AREA OF PRIMARY RESPONSIBILITY AND OPENING DATE


 1.       APPROVED LOCATION

          Pursuant to Section I.B. of the Franchise Agreement, the Restaurant shall be located at the
          following Approved Location:




 2.       AREA OF PRIMARY RESPONSIBILITY:

          PURSUANT TO SECTION I.D. OF THE FRANCHISE AGREEMENT, THE PRIMARY AREA
          OF RESPONSIBILITY SHALL BE THE CONTIGUOUS PROPERTY CONTROLLED BY THE
          LANDLORD WITHIN WHICH THE RESTAURANT IS LOCATED, IF APPLICABLE. IF THE
          RESTAURANT IS NOT LOCATED WITHIN SUCH A CONTIGUOUS PROPERTY, THE
          PRIMARY AREA OF RESPONSIBILITY IS LIMITED TO THE APPROVED LOCATION
          DESCRIBED ABOVE.


 3.       OPENING DATE:




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                                              ATTACHMENT C

                                   COLLATERAL ASSIGNMENT OF LEASE

          FOR VALUE RECEIVED, the undersigned (“Assignor”) assigns, transfers and sets over to FIVE
 GUYS FRANCHISOR, LLC, a Delaware limited liability company (together with its affiliates,
 “Assignee”), all of Assignor’s right and title to and interest in that certain “Lease” governing the FIVE
 GUYS® located at _____________________________________________ (the “Lease”).                         This
 assignment is for collateral purposes only and, except as specified in this document, Assignee shall have
 no liability or obligation of any kind whatsoever arising from or in connection with this assignment or the
 Lease unless and until (i) Assignee takes possession of the premises, (ii) the Lease demises according to
 the terms of this document, and (iii) Assignee expressly assumes Assignor’s obligations under the Lease.

          Assignor represents and warrants to Assignee that it has full power and authority to assign the Lease
 and that Assignor has not previously assigned or transferred and is not otherwise obligated to assign or
 transfer any of its interest in the Lease or the premises it demises.

          Upon Assignor’s default under the Lease or under the “Franchise Agreement” for the FIVE GUYS®
 Restaurant located on the premises governed by the Lease (the “Franchise Agreement”), the Assignee has
 the right to take possession of the premises the Lease demises and expel Assignor from the premises. In
 that event, Assignor shall have no further rights, title to, or interest in the Lease but shall remain liable to
 Assignee for any past due rental payments or other charges Assignee is required to pay Lessor to effectuate
 the assignment this document contemplates.

          Assignor agrees that it shall not suffer or permit any surrender, termination, amendment or
 modification of the Lease without Assignee’s prior written consent. Throughout the term of the Franchise
 Agreement, Assignor agrees that it shall elect and exercise all options to extend the term of or renew the
 Lease not less than thirty (30) days before the last day upon which the option must be exercised, unless
 Assignee agrees otherwise in writing. In the event Assignor fails to elect to extend or renew the Lease as
 required, Assignor appoints Assignee as its true and lawful attorney-in-fact with the authority to exercise
 the extension or renewal options of the Lease in the name, place and stead of Assignor for the sole purpose
 of effecting such extension or renewal.

 ASSIGNEE:                                                           ASSIGNOR:

 FIVE GUYS FRANCHISOR, LLC

 By:                                                                 By:
 Name:                                                               Name:
 Title:                                                              Title:




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          CONSENT TO COLLATERAL ASSIGNMENT AND AGREEMENT OF LESSOR


 The undersigned Lessor under the Lease:

        (a)      Agrees to notify Assignee in writing of and upon Assignor’s failure to cure any default by
 Assignor under the Lease;

        (b)      Agrees that Assignee shall have the right, but not the obligation, to cure any default by
 Assignor under the Lease within thirty (30) days after Assignee’s receipt of notice of such default;

          (c)      Consents to the attached Collateral Assignment and agrees that, in the event Assignee (i)
 elects to take possession of the premises following a default by Assignor, and (ii) confirms to Lessor in
 writing that it has assumed the Lease as tenant, Lessor shall fully recognize Assignee as the tenant under
 the Lease so long as Assignee agrees to cure any then-existing default by Assignor under the Lease within
 the thirty (30) day period noted in section (b) above; and

         (d)      Agrees that Assignee may further assign the Lease to, or enter into a sublease with, a third-
 party person, firm or corporation who agrees to assume the tenant’s obligations under the Lease and is
 reasonably acceptable to Lessor (and upon such assignment, Assignee shall have no further liability or
 obligation under the Lease as assignee, tenant or otherwise, other than to certify that the additional assignee
 or sublessee operates the premises the Lease demises as a FIVE GUYS® Restaurant).


 Dated:                                                              LESSOR:




                                                                     By:
                                                                     Name:
                                                                     Title:
                                                                     Date:




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                                             ATTACHMENT D

         STATEMENT OF OWNERSHIP INTERESTS AND FRANCHISEE’S PRINCIPALS


 The following is a list of all shareholders, partners or other investors in Franchisee, including all investors
 who own or hold a direct or indirect interest in Franchisee, and a description of the nature of their interest:

                    Name                                    Percentage of Ownership/Nature of Interest




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                                          ATTACHMENT E

                               ELECTRONIC TRANSFER AUTHORIZATIONS




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  AUTHORIZATION TO HONOR ROYALTY AND CREATIVE FUND CHARGES DRAWN BY
     AND PAYABLE TO FIVE GUYS FRANCHISOR, LLC COMPANY (“COMPANY”)

         Depositor hereby authorizes and requests ________________________________________ (the
 “Bank”) to initiate debit and credit entries to Depositor’s     checking and       savings account (select
 one) indicated below drawn by and payable to the order of FIVE GUYS FRANCHISOR, LLC by Electronic
 Funds Transfer, provided there are sufficient funds in said account to pay the amount upon presentation.

         Depositor agrees that the Bank’s rights with respect to each such charge shall be the same as if it
 were a check drawn by the Bank and signed by Depositor. Depositor further agrees that if any such charge
 is dishonored, whether with or without cause and whether intentionally or inadvertently, the Bank shall be
 under no liability whatsoever.


 Bank Name:

 City:                                              State:                 Zip Code:

 Transit/ABA Number:                                         Account Number:

         This authority is to remain in full force and effect until Company has received written notification
 from me (or either of us) of its termination in such time and in such manner to afford Company and Bank
 a responsible opportunity to act on such request.

 Store Address: (Please Print)




 Depositor: (Please Print Franchisee Name)




 Date Signed




 Signature(s) of Depositor, as Printed Above


 Change of Bank Acct Numbers              Store #                     Effective Date of Change

         Please attach a voided blank check, for purposes of setting up Bank and Transit Numbers.



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          AUTHORIZATION TO HONOR BREAD PAYMENT CHARGES DRAWN BY AND
              PAYABLE TO FIVE GUYS BAKERY, LLC COMPANY (“COMPANY”)

         Depositor hereby authorizes and requests ________________________________________ (the
 “Bank”) to initiate debit and credit entries to Depositor’s     checking and       savings account (select
 one) indicated below drawn by and payable to the order of FIVE GUYS BAKERY, LLC by Electronic
 Funds Transfer, provided there are sufficient funds in said account to pay the amount upon presentation.

         Depositor agrees that the Bank’s rights with respect to each such charge shall be the same as if it
 were a check drawn by the Bank and signed by Depositor. Depositor further agrees that if any such charge
 is dishonored, whether with or without cause and whether intentionally or inadvertently, the Bank shall be
 under no liability whatsoever.


 Bank Name:

 City:                                              State:                 Zip Code:

 Transit/ABA Number:                                         Account Number:

         This authority is to remain in full force and effect until Company has received written notification
 from me (or either of us) of its termination in such time and in such manner to afford Company and Bank
 a responsible opportunity to act on such request.

 Store Address: (Please Print)




 Depositor: (Please Print Franchisee Name)




 Date Signed




 Signature(s) of Depositor, as Printed Above


 Change of Bank Acct Numbers              Store #                     Effective Date of Change

         Please attach a voided blank check, for purposes of setting up Bank and Transit Numbers.


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                                            ATTACHMENT F

                                          POWER OF ATTORNEY




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                                                                                    Taxes and Telephone Nos.

                                   IRREVOCABLE POWER OF ATTORNEY


 STATE OF                                 )
                                          )
 COUNTY OF                                )

                                     KNOW ALL MEN BY THESE PRESENTS

          That _____________________ (“Franchisee”), a ________________________, does hereby
 irrevocably constitute and appoint FIVE GUYS FRANCHISOR, LLC, a Delaware limited liability
 company (“Franchisor”), true and lawful attorney-in-fact and agent for Franchisee and in Franchisee’s
 name, place and stead, to do or cause to be done all things and to sign, execute, acknowledge, certify,
 deliver, accept, record and file all such agreements, certificates, instruments and documents as, in the sole
 discretion of Franchisor, shall be necessary or advisable for the sole purposes of (i) assigning to Franchisor
 all of Franchisee’s right, title and interest in and to any and all telephone numbers of Franchisee’s franchise
 and all related Yellow Pages, White Pages and other business listings, including, but not limited to, the
 execution and delivery of any Transfer of Service Agreement and any other transfer documentation required
 by the applicable telephone service company providing telephone services to Franchisee, and (ii) obtaining
 any and all returns, records, reports and other documentation relating to the payment of taxes filed by
 Franchisee with any state and/or federal taxing authority, including, but not limited to, the State Comptroller
 of the State of __________________, and hereby granting unto Franchisor full power and authority to do
 and perform any and all acts and things which, in the sole discretion of Franchisor, are necessary or
 advisable to be done as fully to all intents and purposes as Franchisee might or could itself do, hereby
 ratifying and confirming all that Franchisor may lawfully do or cause to be done by virtue of this Power of
 Attorney and the powers herein granted.

           During the term of this Power of Attorney and regardless of whether Franchisee has designated any
 other person to act as its attorney-in-fact and agent, no person, firm or corporation dealing with Franchisor
 shall be required to ascertain the authority of Franchisor, nor to see to the performance of the agency, nor
 be responsible in any way for the proper application of funds or property paid or delivered to Franchisor.
 Any person, firm or corporation dealing with Franchisor shall be fully protected in acting and relying on a
 certificate of Five Guys that this Power of Attorney on the date of such certificate has not been revoked and
 is in full force and effect, and Franchisee shall not take any action against any person, firm or corporation
 acting in reliance on such a certificate or a copy of this Power of Attorney. Any instrument or document
 executed on behalf of Franchisee by Franchisor shall be deemed to include such a certificate on the part of
 Five Guys, whether or not expressed. This paragraph shall survive any termination of this Power of
 Attorney.

         This Power of Attorney shall terminate two (2) years following the expiration or termination of that
 certain Franchise Agreement attached hereto. Such termination, however, shall not affect the validity of
 any act or deed that Franchisor may have effected prior to such date pursuant to the powers herein granted.

          This instrument is to be construed and interpreted as an irrevocable power of attorney coupled with
 an interest. It is executed and delivered in the State of ___________________ and the laws of the State of
 _________________ shall govern all questions as to the validity of this Power of Attorney and the
 construction of its provisions.




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         IN WITNESS WHEREOF, the undersigned has executed this Power of Attorney as of the _____
 day of ________________, 20___.

                                                    FRANCHISEE:




                                                    By:
                                                    Name:
                                                    Title:




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                                               ATTACHMENT G

                                          STATE SPECIFIC AMENDMENTS




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                             AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                           FRANCHISE AGREEMENT FOR THE STATE OF ALASKA

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

                    a.       Section IV.B.(1) of this Agreement is amended to state that, if the Restaurant is located in
                             the State of Alaska, the Royalty Fee shall be 8% of the Restaurant’s Gross Sales during the
                             preceding week.

                                                           ***

                             AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                         FRANCHISE AGREEMENT FOR THE STATE OF CALIFORNIA

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          CALIFORNIA LAW MODIFICATIONS

          The California Department of Financial Protection and Innovation requires that certain provisions contained
 in franchise documents be amended to be consistent with California law, including the California Franchise Investment
 Law, CAL. CORPORATIONS CODE Section 31000 et seq., and the California Franchise Relations Act, CAL.
 BUS. & PROF. CODE Section 20000 et seq. To the extent that the Agreement contains provisions that are
 inconsistent with the following, such provisions are hereby amended:

                    a.       California Business and Professions Code Sections 20000 through 20043 provide rights to
                             You concerning nonrenewal, termination, or transfer of the Agreement. The Federal
                             Bankruptcy Code also provides rights to You concerning termination of the Agreement
                             upon certain bankruptcy-related events. To the extent the Agreement contains a provision
                             that is inconsistent with these laws, these laws shall control.

                    b.       If Franchisee is required in the Agreement to execute a release of claims, such release shall
                             exclude claims arising under the California Franchise Investment Law and the California
                             Franchise Relations Act.

                    c.       If the Agreement requires payment of liquidated damages that is inconsistent with
                             California Civil Code Section 1671, the liquidated damage clause may be unenforceable.

                    d.       If the Agreement contains a covenant not to compete which extends beyond the expiration
                             or termination of the Agreement, the covenant may be unenforceable under California law.

                    e.       If the Agreement requires litigation, arbitration or mediation to be conducted in a forum
                             other than the State of California, the requirement may be unenforceable under California
                             law.

                    f.       If the Agreement requires that it be governed by a state’s law, other than the State of
                             California, such requirement may be unenforceable.

                    g.       Section IV. of this Agreement is amended to state that the Franchise Fee and all other initial
                             payments Franchisee owes to Franchisor before Franchisee opens its Restaurant shall be
                             deferred until Franchisor satisfies all of its pre-opening obligations to Franchisee and
                             Franchisee is open for business.

                                                           ***




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                             AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                           FRANCHISE AGREEMENT FOR THE STATE OF HAWAII

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          HAWAII LAW MODIFICATIONS

          The Hawaii Department of Commerce and Consumer Affairs, Business Registration Division requires that
 certain provisions contained in franchise documents be amended to be consistent with Hawaii law. To the extent that
 this Agreement contains provisions that are inconsistent with the following, such provisions are hereby amended:

                    a.       Section IV.B.(1) of this Agreement is amended to state that, if the Restaurant is located in
                             the State of Hawaii, the Royalty Fee shall be 8% of the Restaurant’s Gross Sales during
                             the preceding week.

                    b.       Section IV. of this Agreement is amended to state that the Franchise Fee and all other initial
                             payments Franchisee owes to Franchisor or any of its affiliates before Franchisee opens its
                             Restaurant shall be deferred until Franchisor satisfies all of its pre-opening obligations to
                             Franchisee and Franchisee opens its Restaurant for business.

                                                           ***

                             AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                          FRANCHISE AGREEMENT FOR THE STATE OF ILLINOIS

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          ILLINOIS LAW MODIFICATIONS

          The Illinois Attorney General’s Office requires that certain provisions contained in franchise documents be
 amended to be consistent with Illinois law, including the Franchise Disclosure Act of 1987, 815 ILCS 705/1 et seq.
 (West 2010). To the extent that this Agreement contains provisions that are inconsistent with the following, such
 provisions are hereby amended:

                    a.       815 ILCS 705/19 and 705/20 provide rights to You concerning nonrenewal and termination
                             of this Agreement. If this Agreement contains a provision that is inconsistent with the Act,
                             the Act shall control.

                    b.       If Franchisee is required in this Agreement to execute a release of claims or to acknowledge
                             facts that would negate or remove from judicial review any statement, misrepresentation
                             or action that would violate the Act, or a rule of order under the Act, such release shall
                             exclude claims arising under the Illinois Franchise Disclosure Act, and such
                             acknowledgments shall be void with respect to claims under the Act and are hereby deleted.

                    c.       If this Agreement requires litigation to be conducted in a forum other than the State of
                             Illinois, the requirement is void, provided that a Franchise Agreement may provide for
                             arbitration in a forum outside of Illinois.

                    d.       If this Agreement requires that it be governed by a state’s law, other than the State of
                             Illinois, to the extent that such law conflicts with Illinois law, Illinois law shall control.

                    e.       Section 41 of the Illinois Franchise Disclosure Act states that “Any condition, stipulation,
                             or provision purporting to bind any person acquiring any franchise to waive compliance
                             with the Illinois Franchise Disclosure Act, or any other law of Illinois, is void.” To the
                             extent that any provision in this Agreement is inconsistent with Illinois law, Illinois law
                             shall control.
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                    f.       This Agreement is amended to comply with Section 27 of the Act to allow any and all
                             claims and actions arising out of or relating to this Agreement, the relationship of
                             Franchisor and Franchisee and Franchisee’s operation of the Franchise brought by
                             Franchisee against Franchisor shall be commenced within three (3) years from the
                             occurrence of the facts giving rise to such claim or action, within one (1) year after the
                             Franchisee becomes aware of the facts or circumstances indicating Franchisee may have a
                             claim for relief, or ninety (90) days after delivery to Franchisee of a written notice
                             disclosing the violation, or such claim or action shall be barred.

                    g.       Section IV. of this Agreement is amended to state that the Franchise Fee and all other initial
                             payments Franchisee owes to Franchisor before Franchisee opens its Restaurant shall be
                             deferred until Franchisor satisfies all of its pre-opening obligations to Franchisee and
                             Franchisee opens its Restaurant for business. The Illinois Attorney General has imposed
                             this deferral requirement due to Franchisor’s current financial condition.

                                                            ***

                             AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                         FRANCHISE AGREEMENT FOR THE STATE OF MARYLAND

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          MARYLAND LAW MODIFICATIONS

          The Maryland Securities Division requires that certain provisions contained in franchise documents be
 amended to be consistent with Maryland law, including the Maryland Franchise Registration and Disclosure Law, Md.
 Code Ann., Bus. Reg. §§ 14-201 - 14-233 (1998 Repl. Vol. & Supp. 2002). To the extent that this Agreement contains
 provisions that are inconsistent with the following, such provisions are hereby amended:

                    a.       If Franchisee is required in this Agreement to execute a release of claims or to acknowledge
                             facts that would negate or remove from judicial review any statement, misrepresentation
                             or action that would violate the Act, or a rule or order under the Act, such release shall
                             exclude claims arising under the Maryland Franchise Registration and Disclosure Law, and
                             such acknowledgments shall be void with respect to claims under the Law.

                    b.       If this Agreement requires litigation to be conducted in a forum other than the State of
                             Maryland, the requirement shall not be interpreted to limit any rights Franchisee may have
                             under Sec. 14-216 (c)(25) of the Maryland Franchise Registration and Disclosure Law to
                             bring suit in the state of Maryland.

                    c.       The general release required as a condition of renewal, sale and/or assignment/transfer shall
                             not apply to any liability under the Maryland Franchise Registration and Disclosure Law.

                    d.       This Agreement is hereby amended to reflect that any claims arising under the Maryland
                             Franchise Registration and Disclosure Law must be brought within 3 years after the grant
                             of the franchise.

                    e.       Section 14-226 of the Maryland Franchise Registration and Disclosure Law prohibits a
                             franchisor from requiring a prospective franchisee to assent to any release, estoppel or
                             waiver of liability as a condition of purchasing a franchise. If this Agreement requires
                             prospective franchisees to disclaim the occurrence and/or acknowledge the non-occurrence
                             of acts that would constitute a violation of the Franchise Law, such representations are not
                             intended to nor shall they act as a release, estoppel or waiver of any liability incurred under
                             the Maryland Franchise Registration and Disclosure Law resulting from the offer or sale
                             of the franchise.



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                    f.       Section IV. of this Agreement is amended to state that the Franchise Fee and all other initial
                             payments Franchisee owes to Franchisor before Franchisee opens its Restaurant shall be
                             deferred until Franchisor satisfies all of its pre-opening obligations to Franchisee and
                             Franchisee opens its Restaurant for business.

                                                           ***

                             AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                          FRANCHISE AGREEMENT AND DISCLOSURE DOCUMENT
                                   FOR THE STATE OF MINNESOTA

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          MINNESOTA LAW MODIFICATIONS

          The Commissioner of Commerce for the State of Minnesota requires that certain provisions contained in
 franchise documents be amended to be consistent with Minnesota Franchise Act, Minn. Stat. Section 80.01 et seq.,
 and of the Rules and Regulations promulgated under the Act (collectively the “Franchise Act”). To the extent that the
 Agreement and Disclosure Document contain provisions that are inconsistent with the following, such provisions are
 hereby amended:

                    a.       The Minnesota Department of Commerce requires that Franchisor indemnify Minnesota
                             franchisees against liability to third parties resulting from claims that the franchisees’ use
                             of the Intellectual Properties infringes trademark rights of the third party. If the Agreement
                             and/or the Disclosure Document contain(s) a provision that is inconsistent with the
                             Franchise Act, the provisions of the Agreement shall be superseded by the Act’s
                             requirements and shall have no force or effect.

                    b.       Franchise Act, Sec. 80C.14, Subd. 4., requires, except in certain specified cases, that a
                             franchisee be given written notice of a franchisor’s intention not to renew 180 days prior
                             to expiration of the franchise and that the franchisee be given sufficient opportunity to
                             operate the franchise in order to enable the franchisee the opportunity to recover the fair
                             market value of the franchise as a going concern. If the Agreement and/or the Disclosure
                             Document contain(s) a provision that is inconsistent with such requirement of the Franchise
                             Act, the provisions of the Agreement shall be superseded by the Act’s requirements and
                             shall have no force or effect.

                    c.       Franchise Act, Sec. 80C.14, Subd. 3., requires, except in certain specified cases that a
                             franchisee be given 90 days’ notice of termination (with 60 days to cure). If the Agreement
                             and/or the Disclosure Document contain(s) a provision that is inconsistent with such
                             requirement of the Franchise Act, the provisions of the Agreement shall be superseded by
                             the Act’s requirements and shall have no force or effect.

                    d.       If the Agreement and/or the Disclosure Document require(s) Franchisee to execute a
                             release of claims or to acknowledge facts that would negate or remove from judicial review
                             any statement, misrepresentation or action that would violate the Franchise Act, such
                             release shall exclude claims arising under the Franchise Act, and such acknowledgments
                             shall be void with respect to claims under the Act.

                    e.       If the Agreement and/or the Disclosure Document require(s) that it be governed by a state’s
                             law, other than the State of Minnesota, for litigation, arbitration or mediation, those
                             provisions shall not in any way abrogate or reduce any rights of Franchisee as provided for
                             in the Franchise Act, including the right to submit matters to the jurisdiction of the courts
                             of Minnesota.

                    f.       To the extent Minnesota Rule 2860.4400J. prohibits a franchisor from requiring You to
                             consent to the Franchisor obtaining injunctive relief, the Agreement is hereby revised to


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                             reflect that Franchisor may seek injunctive relief and that whether any bond be necessary
                             be determined by the court.

                    g.       Section 80C.17 of the Act provides that no action may be commenced pursuant to that
                             section more than three (3) years after the cause of action accrues. No provision in the
                             Agreement shall be construed to limit the time period for You to bring a claim under the
                             Act.

                    h.       Section IV. of this Agreement is hereby amended to state that the Franchise Fee and all
                             other initial payments Franchisee owes to Franchisor before Franchisee opens its
                             Restaurant shall be due immediately after opening your FIVE GUYS Restaurant.

                                                           ***

                            AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                         FRANCHISE AGREEMENT FOR THE STATE OF NEW YORK

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          NEW YORK LAW MODIFICATIONS

          The New York Department of Law requires that certain provisions contained in franchise documents be
 amended to be consistent with New York law, including the General Business Law, Article 33, Sections 680 through
 695 (1989). To the extent that the Agreement contains provisions that are inconsistent with the following, such
 provisions are hereby amended:

                    a.       If Franchisee is required in the Agreement to execute a release of claims or to acknowledge
                             facts that would negate or remove from judicial review any statement, misrepresentation
                             or action that would violate the General Business Law, regulation, rule or order under the
                             Law, such release shall exclude claims arising under the New York General Business Law,
                             Article 33, Section 680 through 695 and the regulations promulgated thereunder, and such
                             acknowledgments shall be void. It is the intent of this provision that non-waiver provisions
                             of Sections 687.4 and 687.5 of the General Business Law be satisfied.

                    b.       If the Agreement requires that it be governed by a state’s law, other than the State of New
                             York, the choice of law provision shall not be considered to waive any rights conferred
                             upon the Licensee under the New York General Business Law, Article 33, Sections 680
                             through 695.

                                                           ***

                          AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                     FRANCHISE AGREEMENT FOR THE STATE OF NORTH DAKOTA

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          NORTH DAKOTA LAW MODIFICATIONS

          1.       The North Dakota Securities Commissioner requires that certain provisions contained in franchise
 documents be amended to be consistent with North Dakota law, including the North Dakota Franchise Investment
 Law, North Dakota Century Code Annotated Chapter 51-19, Sections 51-19-01 through 51-19-17 (1993). To the
 extent that the Agreement contains provisions that are inconsistent with the following, such provisions are hereby
 amended:

                    a.       If Franchisee is required in the Agreement to execute a release of claims or to acknowledge
                             facts that would negate or remove from judicial review any statement, misrepresentation
                             or action that would violate the Law, or a rule or order under the Law, such release shall
 FIVE GUYS – Franchise Agreement (2022)
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                             exclude claims arising under North Dakota Law, and such acknowledgments shall be void
                             with respect to claims under the Law.

                    b.       Covenants not to compete during the term of and upon termination or expiration of the
                             Agreement are enforceable only under certain conditions according to North Dakota Law.
                             If the Agreement contains a covenant not to compete that is inconsistent with North Dakota
                             Law, the covenant may be unenforceable.

                    c.       The Commissioner has held that requiring franchisees to consent to the jurisdiction of
                             courts outside of North Dakota is unfair, unjust or inequitable within the intent of Section
                             51-19-09 of the North Dakota Law. If the Agreement requires litigation to be conducted
                             in a forum other than the State of North Dakota, the requirement is void with respect to
                             claims under North Dakota Law.

                    d.       If the Agreement requires mediation or arbitration to be conducted in a forum other than
                             the State of North Dakota, the requirement may be unenforceable under North Dakota Law.
                             Arbitration involving a franchise purchased in the State of North Dakota must be held
                             either in a location mutually agreed upon prior to the arbitration or if the parties cannot
                             agree on a location, the location shall be determined by the arbitrator.

                    e.       If the Agreement requires payment of a termination penalty or liquidated damages, the
                             requirement may be unenforceable under North Dakota Law.

                    f.       If the Agreement requires that a state’s law other than the State of North Dakota govern it,
                             to the extent that such law conflicts with the North Dakota Law, North Dakota Law shall
                             control.

                    g.       The Commissioner has held that requiring franchisees to consent to a waiver of trial by
                             jury or of exemplary or punitive damages is unfair, unjust or inequitable within the intent
                             of Section 51-19-09 of the North Dakota Law. If the Agreement requires consent to a
                             waiver of trial by jury or waiver of exemplary or punitive damages, the requirement may
                             be unenforceable under the North Dakota Law.

                    h.       If the Agreement requires consent to a limitation of claims, the requirement is void and the
                             statute of limitations under the North Dakota Law shall apply.

                    i.       If the Agreement requires consent to payment of all costs and expenses incurred in the
                             enforcement of the Agreement, the requirement is void. The prevailing party in any such
                             action is entitled to recover all costs and expenses, including reasonable attorneys’ fees.

                    j.       Section IV. of this Agreement is amended to state that the Franchise Fee and all other initial
                             payments Franchisee owes to Franchisor before Franchisee opens its Restaurant shall be
                             deferred until Franchisor satisfies all of its pre-opening obligations to Franchisee and
                             Franchisee opens its Restaurant for business.

          2.        Under North Dakota Law, Franchisee is not required to waive its rights.

                                                           ***

                         AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
               FRANCHISE AGREEMENT FOR THE COMMONWEALTH OF PUERTO RICO

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

                    a.       Section IV.B.(1) of this Agreement is amended to state that, if the Restaurant is located in
                             the Commonwealth of Puerto Rico, the Royalty Fee shall be 8% of the Restaurant’s Gross
                             Sales during the preceding week.

                                                           ***
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                              AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                         FRANCHISE AGREEMENT FOR THE STATE OF RHODE ISLAND

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          RHODE ISLAND LAW MODIFICATIONS

         The Rhode Island Securities Division requires that certain provisions contained in franchise documents be
 amended to be consistent with Rhode Island law, including the Franchise Investment Act, R.I. Gen. Law. ch. 395 Sec.
 19-28.1-1 -19-28.1-34. To the extent that this Agreement contains provisions that are inconsistent with the following,
 such provisions are hereby amended:

                    a.       If this Agreement requires litigation to be conducted in a forum other than the State of
                             Rhode Island, the requirement is void under Rhode Island Franchise Investment Act Sec.
                             19-28.1-14.

                    b.       If this Agreement requires that it be governed by a state’s law, other than the State of Rhode
                             Island, to the extent that such law conflicts with Rhode Island Franchise Investment Act it
                             is void under Sec. 19-28.1-14.

                    c.       If Franchisee is required in this Agreement to execute a release of claims or to acknowledge
                             facts that would negate or remove from judicial review any statement, misrepresentation
                             or action that would violate the Act, or a rule or order under the Act, such release shall
                             exclude claims arising under the Rhode Island Franchise Investment Act, and such
                             acknowledgments shall be void with respect to claims under the Act.

                                                           ***

                              AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                         FRANCHISE AGREEMENT FOR THE STATE OF SOUTH DAKOTA

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          SOUTH DAKOTA LAW MODIFICATIONS

         The South Dakota Securities Regulation Office requires that certain provisions contained in franchise
 documents be amended to be consistent with South Dakota law, including the South Dakota Franchise Investment Act,
 S.D. Codified Laws §37-5B-5. To the extent that this Agreement contains provisions that are inconsistent with the
 following, such provisions are hereby amended:

                    a.       Section IV. of the Agreement is amended to state that the South Dakota Securities
                             Regulation, Division of Insurance requires Franchisor to defer payment of the initial
                             franchise fee and all other initial payments Franchisee owes to Franchisor until Franchisor
                             completes all of its pre-opening obligations under the Franchise Agreement.

                                                           ***

                          AMENDMENT TO FIVE GUYS FRANCHISOR, LLC
                  FRANCHISE AGREEMENT FOR THE COMMONWEALTH OF VIRGINIA

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):



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          VIRGINIA LAW MODIFICATIONS

          The Virginia State Corporation Commission’s Division of Securities requires that certain provisions
 contained in franchise documents be amended to be consistent with Virginia law, including the Virginia Retail
 Franchising Act. To the extent that this Agreement contains provisions that are inconsistent with the following, such
 provisions are hereby amended:

                    a.       Section IV. of the Agreement is amended to state that the Virginia State Corporation
                             Commission’s Division of Securities and Retail Franchising requires Franchisor to defer
                             payment of the initial franchise fee and all other initial payments Franchisee owes to
                             Franchisor until Franchisor completes all of its pre-opening obligations under the Franchise
                             Agreement.

                                                            ***

            WASHINGTON AMENDMENT TO THE FRANCHISE AGREEMENT, DISCLOSURE
                ACKNOWLEDGMENT STATEMENT, AND RELATED AGREEMENTS
                           FOR FIVE GUYS FRANCHISOR, LLC

         The Five Guys Franchisor, LLC Franchise Agreement (the “Agreement”) between “Franchisee” or “You”
 and FIVE GUYS FRANCHISOR, LLC (“Franchisor”) shall be amended by the addition of the following language,
 which shall be considered an integral part of the Agreement (the “Amendment”):

          WASHINGTON LAW MODIFICATIONS

         The Director of the Washington Department of Financial Institutions requires that certain provisions
 contained in franchise documents be amended to be consistent with Washington law, including the Washington
 Franchise Investment Protection Act, WA Rev. Code §§ 19.100.010 to 19.100.940 (1991). To the extent that the
 Agreement contains provisions that are inconsistent with the following, such provisions are hereby amended:

                    a.       RCW 19.100.180 may supersede the franchise agreement in your relationship with the
                             franchisor including the areas of termination and renewal of your franchise. There may also
                             be court decisions which may supersede the franchise agreement in your relationship with
                             the franchisor including the areas of termination and renewal of your franchise.

                    b.       A release or waiver of rights executed by a franchisee may not include rights under the
                             Washington Franchise Investment Protection Act or any rule or order thereunder except
                             when executed pursuant to a negotiated settlement after the agreement is in effect and
                             where the parties are represented by independent counsel. Provisions such as those which
                             unreasonably restrict or limit the statute of limitations period for claims under the Act, or
                             rights or remedies under the Act such as a right to a jury trial, may not be enforceable.

                    c.       In any arbitration or mediation involving a franchise purchased in Washington, the
                             arbitration or mediation site will be either in the state of Washington, or in a place mutually
                             agreed upon at the time of the arbitration or mediation, or as determined by the arbitrator
                             or mediator at the time of arbitration or mediation. In addition, if litigation is not precluded
                             by the franchise agreement, a franchisee may bring an action or proceeding arising out of
                             or in connection with the sale of franchises, or a violation of the Washington Franchise
                             Investment Protection Act, in Washington.

                    d.       In the event of a conflict of laws, the provisions of the Washington Franchise Investment
                             Protection Act, Chapter 19.100 RCW will prevail.

                    e.       Transfer fees are collectable to the extent that they reflect the franchisor’s reasonable
                             estimated or actual costs in effecting a transfer.




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                    f.       Pursuant to RCW 49.62.020, a noncompetition covenant is void and unenforceable against
                             an employee, including an employee of a franchisee, unless the employee’s earnings from
                             the party seeking enforcement, when annualized, exceed $100,000 per year (an amount
                             that will be adjusted annually for inflation). In addition, a noncompetition covenant is void
                             and unenforceable against an independent contractor of a franchisee under RCW 49.62.030
                             unless the independent contractor’s earnings from the party seeking enforcement, when
                             annualized, exceed $250,000 per year (an amount that will be adjusted annually for
                             inflation). As a result, any provisions contained in the franchise agreement or elsewhere
                             that conflict with these limitations are void and unenforceable in Washington.

                    g.       RCW 49.62.060 prohibits a franchisor from restricting, restraining, or prohibiting a
                             franchisee from (i) soliciting or hiring any employee of a franchisee of the same franchisor
                             or (ii) soliciting or hiring any employee of the franchisor. As a result, any such provisions
                             contained in the franchise agreement or elsewhere are void and unenforceable in
                             Washington.

                    h.       Section IV. of the Agreement is amended to state that the State of Washington has imposed
                             a financial condition under which the initial franchise fees due shall be deferred until
                             Franchisor has fulfilled its initial pre-opening obligations under the Franchise Agreement
                             and the franchise is open for business.

                                                           ***

          Each provision of these Amendments shall be effective only to the extent that the jurisdictional requirements,
 with respect to each such provision, are met independent of these Amendments. These Amendments shall have no
 force or effect if such jurisdictional requirements are not met.

       IN WITNESS WHEREOF, each of the parties hereto has read and agrees to remain subject to the foregoing
 amendment, as applicable, and has executed the same by a duly authorized representative.


                                                                           FRANCHISOR:

                                                                           FIVE GUYS FRANCHISOR, LLC
 ATTEST:                                                                   a Delaware limited liability company


 By:                                                                       By:
 Print Name:                                                               Name:
                                                                           Title:


                                                                           FRANCHISEE:




 By:                                                                       By:
 Print Name:                                                               Name:
                                                                           Title:




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                                             ATTACHMENT H

                  FRANCHISEE DISCLOSURE ACKNOWLEDGMENT STATEMENT

          As you know, FIVE GUYS FRANCHISOR, LLC (the “Franchisor”) and you are preparing to
 enter into a franchise agreement (the “Franchise Agreement”) for the establishment and operation of a
 FIVE GUYS® Restaurant (the “Franchised Business”). The purpose of this Questionnaire is to determine
 whether any statements or promises were made to you by employees or authorized representatives of the
 Franchisor, or by employees or authorized representatives of a broker acting on behalf of the Franchisor
 (“Broker”) that have not been authorized, or that were not disclosed in the Disclosure Document or that
 may be untrue, inaccurate or misleading. The Franchisor, through the use of this document, desires to
 ascertain (a) that the undersigned, individually and as a representative of any legal entity established to
 acquire the franchise rights, fully understands and comprehends that the purchase of a franchise is a business
 decision, complete with its associated risks, and (b) that you are not relying upon any oral statement,
 representations, promises or assurances during the negotiations for the purchase of the franchise which have
 not been authorized by Franchisor.

         In the event that you are intending to purchase an existing Franchised Business from an existing
 Franchisee, you may have received information from the transferring Franchisee, who is not an employee
 or representative of the Franchisor. The questions below do not apply to any communications that you had
 with the transferring Franchisee. Please review each of the following questions and statements carefully
 and provide honest and complete responses to each.

          1.      Are you seeking to enter into the Franchise Agreement in connection with a purchase or
 transfer of an existing Franchised Business from an existing Franchisee?

          Yes _____          No _____

          2.        I had my first face-to-face meeting with a Franchisor representative on _______________,
 20___.

         3.       Have you received and personally reviewed the Franchise Agreement, each amendment,
 and/or related agreement provided to you?

          Yes _____          No _____

       4.      Do you understand all of the information contained in the Franchise Agreement, each
 amendment, and/or related agreement provided to you?

          Yes _____          No _____

         If no, what parts of the Franchise Agreement, any amendment, and/or related agreement do you not
 understand? (Attach additional pages, if necessary.)




 FIVE GUYS – Franchise Agreement (2022)

                                                              Franchisee Initials: __________   Witness Initials: __________
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        5.       Have you received and personally reviewed the Franchisor’s Disclosure Document that
 was provided to you?

          Yes _____          No _____

          6.        Did you sign a receipt for the Disclosure Document indicating the date you received it?

          Yes _____          No _____

         7.       Do you understand all of the information contained in the Disclosure Document and any
 state-specific addendum to the Disclosure Document?

          Yes _____          No _____

         If No, what parts of the Disclosure Document and/or addendum do you not understand? (Attach
 additional pages, if necessary.)




        8.       Have you discussed the benefits and risks of establishing and operating a Franchised
 Business with an attorney, accountant, or other professional advisor?

          Yes _____          No _____

          If No, do you wish to have more time to do so?

          Yes _____          No _____

          9.     Do you understand that the success or failure of your Franchised Business shall depend in
 large part upon your skills and abilities, competition from other businesses, interest rates, inflation, labor
 and supply costs, location, lease terms, your management capabilities and other economic, and business
 factors?

          Yes _____          No _____

         10.      Has any employee of a Broker or other person speaking on behalf of the Franchisor made
 any statement or promise concerning the actual or potential revenues, profits or operating costs of any
 particular Franchised Business operated by the Franchisor or its franchisees (or of any group of such
 businesses), that is contrary to or different from the information contained in the Disclosure Document?

          Yes _____          No _____

          11.      Has any employee of a Broker or other person speaking on behalf of the Franchisor made
 any statement or promise regarding the amount of money you may earn in operating the franchised business
 that is contrary to or different from the information contained in the Disclosure Document?

          Yes _____          No _____


 FIVE GUYS – Franchise Agreement (2022)

                                                              Franchisee Initials: __________   Witness Initials: __________
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          12.      Has any employee of a Broker or other person speaking on behalf of the Franchisor made
 any statement or promise concerning the total amount of revenue the Franchised Business shall generate,
 that is contrary to or different from the information contained in the Disclosure Document?

          Yes _____          No _____

         13.      Has any employee of a Broker or other person speaking on behalf of the Franchisor made
 any statement or promise regarding the costs you may incur in operating the Franchised Business that is
 contrary to or different from the information contained in the Disclosure Document?

          Yes _____          No _____

         14.     Has any employee of a Broker or other person speaking on behalf of the Franchisor made
 any statement or promise concerning the likelihood of success that you should or might expect to achieve
 from operating a Franchised Business?

          Yes _____          No _____

         15.      Has any employee of a Broker or other person speaking on behalf of the Franchisor made
 any statement, promise or agreement concerning the advertising, marketing, training, support service or
 assistance that the Franchisor shall furnish to you that is contrary to, or different from, the information
 contained in the Disclosure Document or franchise agreement?

          Yes _____          No _____

          16.     Have you entered into any binding agreement with the Franchisor concerning the purchase
 of this franchise before today?

          Yes _____          No _____

         17.        Have you paid any money to the Franchisor concerning the purchase of this franchise
 before today?

          Yes _____          No _____

         18.     Have you spoken to any other franchisee(s) of this system before deciding to purchase this
 franchise? If so, who?


          If you have answered No to question 9, or Yes to any one of questions 10-17, please provide a full
 explanation of each answer in the following blank lines. (Attach additional pages, if necessary, and refer
 to them below.) If you have answered Yes to question 9, and No to each of questions 10-17, please leave
 the following lines blank.




        I signed the Franchise Agreement and Amendment (if any) on _______________, 20___, and
 acknowledge that no Agreement or Amendment is effective until signed and dated by the Franchisor.



 FIVE GUYS – Franchise Agreement (2022)

                                                            Franchisee Initials: __________   Witness Initials: __________
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        Please understand that your responses to these questions are important to us and that we shall rely
 on them. By signing this Questionnaire, you are representing that you have responded truthfully to the
 above questions. In addition, by signing this Questionnaire, you also acknowledge that:

         A.      You recognize and understand that business risks, which exist in connection with the
 purchase of any business, make the success or failure of the franchise subject to many variables, including
 among other things, your skills and abilities, the hours worked by you, competition, interest rates, the
 economy, inflation, franchise location, operation costs, lease terms and costs and the marketplace. You
 hereby acknowledge your awareness of and willingness to undertake these business risks.

          B.      Except as contained in the Disclosure Document, you acknowledge that you have not
 received any information from the Franchisor or any of its officers, employees or agents (including the
 Broker or any other broker) concerning actual, projected or forecasted franchise sales, profits or earnings.
 If you believe that you have received any information concerning actual, average, projected or forecasted
 franchise sales, profits or earnings other than those contained in the Disclosure Document, please describe
 those in the space provided below or write “None”.




          C.       You further acknowledge that the President of the United States of America has issued
 Executive Order 13224 (the “Executive Order”) prohibiting transactions with terrorists and terrorist
 organizations and that the United States government has adopted, and in the future may adopt, other anti-
 terrorism measures (the “Anti-Terrorism Measures”). The Franchisor therefore requires certain
 certifications that the parties with whom it deals are not directly involved in terrorism. For that reason, you
 hereby certify that neither you nor any of your employees, agents or representatives, nor any other person
 or entity associated with you, is:

          (i)       a person or entity listed in the Annex to the Executive Order;

         (ii)     a person or entity otherwise determined by the Executive Order to have committed acts of
 terrorism or to pose a significant risk of committing acts of terrorism;

          (iii)     a person or entity who assists, sponsors, or supports terrorists or acts of terrorism; or

          (iv)      owned or controlled by terrorists or sponsors of terrorism.

         You further covenant that neither you nor any of your employees, agents or representatives, nor
 any other person or entity associated with you, shall during the term of the Franchise Agreement become a
 person or entity described above or otherwise become a target of any Anti-Terrorism Measure.




 FIVE GUYS – Franchise Agreement (2022)

                                                                 Franchisee Initials: __________   Witness Initials: __________
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 Acknowledged this _____ day of ________________, 20____.

 Sign here if you are taking the franchise as an   Sign here if you are taking the franchise as a
                                                   CORPORATION, LIMITED LIABILITY
 INDIVIDUAL                                        COMPANY OR PARTNERSHIP



 Signature                                         Print Name of Legal Entity

 Print Name                                        By:
                                                             Signature

 Signature                                         Print Name

 Print Name                                        Title


 Signature

 Print Name


 Signature

 Print Name




 FIVE GUYS – Franchise Agreement (2022)

                                                     Franchisee Initials: __________   Witness Initials: __________
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                      EXHIBIT D TO THE DISCLOSURE DOCUMENT

                              LIST OF FRANCHISEES




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                                                   EXHIBIT D

                                           LIST OF FRANCHISEES
                                           (As of December 31, 2021)

     STATE                   FRANCHISEE NAME & ADDRESS                       ADDRESS OF STORES
Alabama
                    GHG Gulf Coast, LLC (Bill Gellert)                 6860 Highway 90 (out parcel)
                    173 Whippoorwill Rd.                               Daphne, AL 36526
                    Hillsdale, NY 12529
                    (914) 643-2180
                    Decatur Burgers, Inc. (Kumar Patel)                1241 Point Mallard Pkwy., Ste. 103
                    2302 Old Ridge Rd.                                 Decatur, AL 35601
                    Huntsville, AL 35802                               256-355-1286
                    (256) 652-0001
                    Huntsville Burgers, Inc. (Kumar Patel)             2881 Florence Blvd.
                    2302 Old Ridge Rd.                                 Florence, AL 35630
                    Huntsville, AL 35802
                    (256) 652-0001
                    GHG Gulf Coast, LLC (Bill Gellert)                 3117 South McKenzie St.
                    173 Whippoorwill Rd.                               Foley, AL 36535
                    Hillsdale, NY 12529
                    (914) 643-2180
                    Huntsville Burgers, Inc. (Kumar Patel)             1395 Enterprise Way
                    2302 Old Ridge Rd.                                 Huntsville, AL 35806
                    Huntsville, AL 35802                               256-382 -3526
                    (256) 652-0001
                    Huntsville Burgers, Inc. (Kumar Patel)             1221-A North Memorial Pkwy.
                    2302 Old Ridge Rd.                                 Huntsville, AL 35811
                    Huntsville, AL 35802
                    (256) 652-0001
                    Jones Valley Burgers, Inc. (Kumar Patel)           2724 Carl T. Jones Dr.
                    2302 Old Ridge Rd.                                 Huntsville, AL 35806
                    Huntsville, AL 35802                               256-382-3150
                    (256) 652-0001
                    Life Capital, LLC (Brandon Butler)                 4663 Airport Blvd.
                    6157 Airport Blvd., Ste. 850864                    Mobile, AL 36608
                    Mobile, AL 36685                                   251-300-8425
                    (703) 597-4940
                    Life Capital, LLC (Brandon Butler)                 5319 Highway 90, Ste. A
                    6157 Airport Blvd., Ste. 850864                    Mobile, AL 36582
                    Mobile, AL 36685
                    (703) 597-4940
                    Life Capital, LLC (Brandon Butler)                 1225 Satchel Page Dr., Ste. E100
                    6157 Airport Blvd., Ste. 850864                    Mobile, AL 36606
                    Mobile, AL 36685                                   251-378-8768
                    (703) 597-4940
Arizona
                    AZ FGB Operations, LLC (Keith Bubb)                1800 S. Milton Ave., Ste. 300
                    c/o AZ BMS, LLC                                    Flagstaff, AZ 86001
                    9004 Ghost Mountain Ave.
                    Las Vegas, NV 89129
                    (702) 610-7777
                    AZ FGB Operations, LLC (Keith Bubb)                3455 Stockton Hill Rd.
                    c/o AZ BMS, LLC                                    Kingman, AZ 86409
                    9004 Ghost Mountain Ave.                           928-692-4415
                    Las Vegas, NV 89129
                    (702) 610-7777

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    STATE                    FRANCHISEE NAME & ADDRESS                             ADDRESS OF STORES
                    D & J Holdings, LLC (Douglas Vaughn and Jeffrey Noyce)   7077 N. Thornydale Rd., Ste. 105
                    2430 E. Placita Sin Lujuria                              Marana, AZ 85741
                    Tucson, AZ 85718
                    (913)707-3504 or (913) 638-3542
                    AZ FGB Operations, LLC (Keith Bubb)                      401 S. Beeline Hwy.
                    c/o AZ BMS, LLC                                          Payson, AZ 85401
                    9004 Ghost Mountain Ave.                                 928-474-2716
                    Las Vegas, NV 89129
                    (702) 610-7777
                    AZ FGB Operations, LLC (Keith Bubb)                      254 Lee Blvd., Ste. 100
                    c/o AZ BMS, LLC                                          Prescott, AZ 86303
                    9004 Ghost Mountain Ave.
                    Las Vegas, NV 89129
                    (702) 610-7777
                    D & J Holdings, LLC (Douglas Vaughn and Jeffrey Noyce)   20784 E. Victoria Ln.
                    2430 E. Placita Sin Lujuria                              Queen Creek, AZ 85142
                    Tucson, AZ 85718                                         480-534-5454
                    (913)707-3504 or (913) 638-3542
                    D & J Holdings, LLC (Douglas Vaughn and Jeffrey Noyce)   9484 E. 22nd St.
                    2430 E. Placita Sin Lujuria                              Tucson, AZ 85710
                    Tucson, AZ 85718                                         520-751-3832
                    (913) 707-3504 or (913) 638-3542
                    D & J Holdings, LLC (Douglas Vaughn and Jeffrey Noyce)   5566 E. Broadway Blvd., Ste. 100
                    2430 E. Placita Sin Lujuria                              Tucson, AZ 85711
                    Tucson, AZ 85718
                    (913) 707-3504 or (913) 638-3542
                    D & J Holdings, LLC (Douglas Vaughn and Jeffrey Noyce)   2802 N. Campbell Ave.
                    2430 E. Placita Sin Lujuria                              Tucson, AZ 85719
                    Tucson, AZ 85718                                         520-323-0590
                    (913) 707-3504 or (913) 638-3542
                    D & J Holdings, LLC (Douglas Vaughn and Jeffrey Noyce)   5331 S. Calle Santa Cruz
                    2430 E. Placita Sin Lujuria                              Tucson, AZ 85706
                    Tucson, AZ 85718                                         520-294-1354
                    (913)707-3504 or (913) 638-3542
                    AZ FGB Operations, LLC (Keith Bubb)                      1979 E. 16th St., Ste. 101
                    c/o AZ BMS, LLC                                          Yuma, AZ 85365
                    9004 Ghost Mountain Ave.
                    Las Vegas, NV 89129
                    (702) 610-7777
Arkansas
                    GHG AR, LLC (Bill Gellert)                               7110 Rogers Ave., Ste. 106
                    173 Whippoorwill Rd.                                     Ft. Smith, AR 72903
                    Hillsdale, NY 12529
                    (914) 643-2180
                    GHG AR, LLC (Bill Gellert)                               2100 Stadium Blvd.
                    173 Whippoorwill Rd.                                     Jonesboro, AR 72401
                    Hillsdale, NY 12529
                    (914) 643-2180
                    GHG AR, LLC (Bill Gellert)                               13000 Chenal Pkwy., #100
                    173 Whippoorwill Rd.                                     Little Rock, AR 72223
                    Hillsdale, NY 12529                                      501-225-1100
                    (914) 643-2180




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     STATE                     FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                    GHG AR, LLC (Bill Gellert)                              2923 Lakewood Village Dr.
                    173 Whippoorwill Rd.                                    North Little Rock, AR 72116
                    Hillsdale, NY 12529                                     501-246-5295
                    (914) 643-2180
                    GHG AR, LLC (Bill Gellert)                              2007 Promenade Blvd.
                    173 Whippoorwill Rd.                                    Rogers, AR 72758
                    Hillsdale, NY 12529
                    (914) 643-2180
California
                    Tripart Management, Inc. (Rakesh Kumar, Sunil Kumar,    2254 South Shore Ctr.
                    Jose Garzona)                                           Alameda, CA 94501
                    817 Lurline Dr.                                         510-769-1788
                    Foster City, CA 94404
                    Rakesh Kumar (650) 868-4942
                    Jose Garzona (415) 309-3001
                    Sunil Kumar (415) 699-3220
                    Golden Gate Grills Inc. (James Khan and Billal Khan)    190 Alamo Plaza
                    5220 Dolcetto Way                                       Alamo, CA 94507
                    Salida, CA 95368                                        925-362-3375
                    (510) 921-7485
                    Tripart Management, Inc. (Rakesh Kumar, Sunil Kumar,    1000 El Camino Real
                    Jose Garzona)                                           Belmont, CA 94002
                    817 Lurline Dr.                                         650-610-0684
                    Foster City, CA 94404
                    Rakesh Kumar (650) 868-4942
                    Jose Garzona (415) 309-3001
                    Sunil Kumar (415) 699-3220
                    Golden Gate Grills Inc. (James Khan and Billal Khan)    6660 Loan Tree Way, Ste. 8A
                    5220 Dolcetto Way                                       Brentwood, CA 94513-5370
                    Salida, CA 95368
                    (510) 921-7485
                    1450 Howard Avenue, Inc. (Rakesh Kumar, Jose Garzona)   Safeway Shopping Ctr.
                    555 Pilgrim Dr., Ste. A                                 203 Primrose Ave.
                    Foster City, CA 94404                                   Burlingame, CA 94010
                    Rakesh Kumar (650) 868-4942
                    Jose Garzona (415) 309-3001
                    JAK Burgers, LLC (Karl Gittelman)                       48650 Seminole Dr.
                    33721 Shannon Ln.                                       Cabazon, CA 92230
                    San Juan Capistrano, CA 92675                           951-922-0088
                    (949) 412-4129
                    Bukit Inc. (Jay Denenberg)                              1855 41st Ave.
                    14496 Nutwood Ln.                                       Capitola, CA 95010
                    Saratoga, CA 95070                                      831-475-1948
                    (408) 858-5441
                    Encore FGBF California, LLC (Bharat Sangani)            1840 Herndon Ave., Bldg. B, Ste. 105
                    c/o Encore Restaurants, LLC                             Clovis, CA 93611
                    5005 LBJ Freeway, Ste. 1200                             559-321-2002
                    Dallas, TX 75244
                    (214) 259-7004
                    Golden Gate Grills Inc. (James Khan and Billal Khan)    5442 Ygnacio Valley Rd.
                    5220 Dolcetto Way                                       Concord, CA 94521
                    Salida, CA 95368
                    (510) 921-7485




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   STATE                    FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                  Canadian Guys Burgers Limited (Joseph Dand and Mike    2690 Tuscany St.
                  Lipinski)                                              Corona, CA 92881
                  40426 Winchester Rd.
                  Temecula, CA 92591
                  Joseph Dand (403) 616-7156
                  Mike Lipinski (905) 380-1188
                  Tripart Management, Inc. (Rakesh Kumar, Sunil Kumar,   4930 Dublin Blvd. #680
                  Jose Garzona)                                          Dublin, CA 64568
                  817 Lurline Dr.
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220
                  Encore FGBF California, LLC (Bharat Sangani)           9257 Laguna Springs Dr.
                  c/o Encore Restaurants, LLC                            Elk Grove, CA 95624
                  5005 LBJ Freeway, Ste. 1200                            916-478-9616
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF California, LLC (Bharat Sangani)           1570 Gateway Blvd.
                  c/o Encore Restaurants, LLC                            Fairfield, CA 94533
                  5005 LBJ Freeway, Ste. 1200
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF California, LLC (Bharat Sangani)           5442 Hazel Ave., Ste. 503
                  c/o Encore Restaurants, LLC                            Fair Oaks, CA 95628
                  5005 LBJ Freeway, Ste. 1200                            279-201-9665
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF California, LLC (Bharat Sangani)           2750 East Bidwell St., #100
                  c/o Encore Restaurants, LLC                            Folsom CA 95630
                  5005 LBJ Freeway, Ste. 1200                            916-469-0001
                  Dallas, TX 75244
                  (214) 259-7004
                  Canadian Guys Burgers Limited (Joseph Dand and Mike    15218 Summit Ave., Ste. A100
                  Lipinski)                                              Fontana, CA 92336
                  40426 Winchester Rd.
                  Temecula, CA 92591
                  Joseph Dand (403) 616-7156
                  Mike Lipinski (905) 380-1188
                  M&J Holdings, LLC (Jerome Ma)                          10540 Sierra Avenue
                  2567 Harmony Hill Dr.                                  Fontana, CA 92337
                  Diamond Bar, CA 91765                                  951-751-6668
                  (949) 232-8190
                  Rakesh Kumar, Sunil Kumar, Jose Garzona                933 E. Hillsdale Blvd.
                  817 Lurline Dr.                                        Foster City, CA 94404
                  Foster City, CA 94405                                  650-235-9485
                  (650) 868-4942
                  Rakesh Kumar, Sunil Kumar, Jose Garzona                43810 Christy St.
                  817 Lurline Dr.                                        Fremont, CA 94538
                  Foster City, CA 94405                                  510-353-1331
                  (650) 868-4942
                  Encore FGBF California, LLC (Bharat Sangani)           7762 N. Blackstone Avenue
                  c/o Encore Restaurants, LLC                            Fresno, CA 92591
                  5005 LBJ Freeway, Ste. 1200
                  Dallas, TX 75244
                  (214) 259-7004



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   STATE                    FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                  Encore FGBF California, LLC (Bharat Sangani)           6623 Riverside Dr.
                  c/o Encore Restaurants, LLC                            Fresno, CA 93722
                  5005 LBJ Freeway, Ste. 1200                            559-650-0464
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF California, LLC (Bharat Sangani)           Fashion Fair Mall
                  c/o Encore Restaurants, LLC                            645 East Shaw Ave.
                  5005 LBJ Freeway, Ste. 1200                            Fresno, CA 93710
                  Dallas, TX 75244                                       559-462-0626
                  (214) 259-7004
                  Encore FGBF California, LLC (Bharat Sangani)           3074 E. Campus Pointe Dr.
                  c/o Encore Restaurants, LLC                            Fresno, CA 93710
                  5005 LBJ Freeway, Ste. 1200                            559-206-6730
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF California, LLC (Bharat Sangani)           1693 West Lacey Blvd., Ste. A
                  c/o Encore Restaurants, LLC                            Hanford, CA 93230
                  5005 LBJ Freeway, Ste. 1200                            559-772-3344
                  Dallas, TX 75244
                  (214) 259-7004
                  Tripart Management, Inc. (Rakesh Kumar, Sunil Kumar,   19621 Hesperian Blvd.
                  Jose Garzona)                                          Hayward, CA 94545
                  817 Lurline Dr.                                        510-780-0661
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220
                  Tripart Management, Inc. (Rakesh Kumar, Sunil Kumar,   28529 Hesperian Blvd.
                  Jose Garzona)                                          Hayward, CA 94541
                  817 Lurline Dr.
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220
                  M&J Holdings, LLC (Jerome Ma)                          12719 Main St.
                  2567 Harmony Hill Dr.                                  Hesperia, CA 92344
                  Diamond Bar, CA 91765                                  760-995-7754
                  (949) 232-8190
                  JAK Burgers, LLC (JoAnn Gittelman, Karl Gittelman)     78-445 Hwy. 111
                  33721 Shannon Ln.                                      La Quinta, CA 92253
                  San Juan Capistrano, CA 92675                          760-771-9300
                  949-412-4129
                  Encore FGBF California, LLC (Bharat Sangani)           2640 Reynolds Ranch Pkwy.
                  c/o Encore Restaurants, LLC                            Lodi, CA 95240
                  5005 LBJ Freeway, Ste. 1200                            209-333-9750
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF California, LLC (Bharat Sangani)           2140 Daniels St.
                  c/o Encore Restaurants, LLC                            Manteca, CA 95337
                  5005 LBJ Freeway, Ste. 1200                            918-527-0684
                  Dallas, TX 75244
                  (214) 259-7004
                  Canadian Guys Burgers Limited (Joseph Dand and Mike    27774 Newport Rd., Ste. 103
                  Lipinski)                                              Menifee, CA 92584
                  40426 Winchester Rd.                                   951-679-7111
                  Temecula, CA 92591
                  Joseph Dand (403) 616-7156
                  Mike Lipinski (905) 380-1188

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   STATE                    FRANCHISEE NAME & ADDRESS                             ADDRESS OF STORES
                  Encore FGBF California, LLC (Bharat Sangani)              3572 G St.
                  c/o Encore Restaurants, LLC                               Merced, CA 95340
                  5005 LBJ Freeway, Ste. 1200                               209-205-4312
                  Dallas, TX 75244
                  (214) 259-7004
                  FG Hospitality, LLC (Jerome Ma)                           6285 Pats Ranch Rd., Ste. A,
                  2567 Harmony Hill Dr.                                     Mira Loma, CA 91752
                  Diamond Bar, CA 91765
                  (949) 232-8190
                  Encore FGBF California, LLC (Bharat Sangani)              2199 Claribel Rd.
                  c/o Encore Restaurants, LLC                               Modesto, CA 95357
                  5005 LBJ Freeway, Ste. 1200                               209-205-4334
                  Dallas, TX 75244
                  (214) 259-7004
                  LJ International, Inc. (Jerome Ma and Lijun Li)           12515 Frederick St., A-3
                  303 South San Dimas Ave.                                  Moreno Valley, CA 92553
                  San Dimas, CA 91773
                  Jerome Ma (949) 232-8190
                  Lijun Li (909) 506-9255
                  Tripart Management II, Inc. (Rakesh Kumar, Sunil Kumar,   775 Cochrane Rd., Ste. 100
                  Jose Garzona)                                             Morgan Hills, CA 95037
                  1118 Chess Dr.
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220
                  Tripart Management II, Inc. (Rakesh Kumar, Sunil Kumar,   2098 El Camino Real
                  Jose Garzona)                                             Mountain View, CA 94040
                  1118 Chess Dr.                                            650-962-1882
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220
                  JAK Burgers, LLC (Karl Gittelman)                         5200 E. Ramon Rd., Ste. F2
                  33721 Shannon Ln.                                         Palm Springs, CA 92264
                  San Juan Capistrano, CA 92675                             949-413-4128
                  949-412-4129
                  Tripart Management, Inc. (Rakesh Kumar, Sunil Kumar,      401 Kenilworth Dr., Ste. 650
                  Jose Garzona)                                             Petaluma, CA 95942
                  817 Lurline Dr.                                           707-765-2255
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220
                  Golden Gate Grills Inc. (James Khan and Billal Khan)      2782 Pinole Valley Rd.
                  5220 Dolcetto Way                                         Pinole, CA 94564
                  Salida, CA 95368                                          510-223-6031
                  (510) 921-7485
                  Golden Gate Grills Inc. (James Khan and Billal Khan)      100 Crescent Dr., Unit 7A
                  5220 Dolcetto Way                                         Pleasant Hill, CA 94523
                  Salida, CA 95368                                          925-609-8400
                  (510) 921-7485
                  Encore FGBF California, LLC (Bharat Sangani)              2310 Sunrise Blvd.
                  c/o Encore Restaurants, LLC                               Rancho Cordova, CA 95670
                  5005 LBJ Freeway, Ste. 1200                               916-625-4202
                  Dallas, TX 75244
                  (214) 259-7004


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   STATE                    FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                  Canadian Guys Burgers Limited (Joseph Dand and Mike    7945 Haven Ave.
                  Lipinski)                                              Rancho Cucamonga, CA 91730
                  40426 Winchester Rd.
                  Temecula, CA 92591
                  Joseph Dand (403) 616-7156
                  Mike Lipinski (905) 380-1188
                  JAK Burgers, LLC (Karl Gittelman)                      71-800 Hwy. 111, Ste. 134A
                  33721 Shannon Ln.                                      Rancho Mirage, CA 92270
                  San Juan Capistrano, CA 92675
                  949-412-4129
                  Keep Smile Trading USA, Inc. (Freedom Yang)            961 Dana Dr., Ste. 150
                  3320 Lenonis Blvd.                                     Redding, CA 96003
                  Vernon, CA 90058
                  (909) 556-5061; (323) 540-7738
                  Canadian Guys Burgers Limited (Joseph Dand and Mike    10060 Alabama, Ste. A
                  Lipinski)                                              Redlands, CA 92374
                  40426 Winchester Rd.
                  Temecula, CA 92591
                  Joseph Dand (403) 616-7156
                  Mike Lipinski (905) 380-1188
                  Tripart Management, Inc. (Rakesh Kumar, Sunil Kumar,   801 Middlefield Rd.
                  Jose Garzona)                                          Redwood City, CA 94063
                  817 Lurline Dr.
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220
                  Encore FGBF California, LLC (Bharat Sangani)           8620 Sierra College Blvd., Ste. 150
                  c/o Encore Restaurants, LLC                            Roseville, CA 95661
                  5005 LBJ Freeway, Ste. 1200
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF California, LLC (Bharat Sangani)           4630 Natomas Blvd.
                  c/o Encore Restaurants, LLC                            Sacramento, CA 95835
                  5005 LBJ Freeway, Ste. 1200                            916-419-4109
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF California, LLC (Bharat Sangani)           2625 Marconi Ave.
                  c/o Encore Restaurants, LLC                            Sacramento, CA 95821
                  5005 LBJ Freeway, Ste. 1200                            530-395-3802
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF California, LLC (Bharat Sangani)           3660 Crocker Dr., Ste. 120
                  c/o Encore Restaurants, LLC                            Sacramento, CA 95818
                  5005 LBJ Freeway, Ste. 1200                            279-444-0767
                  Dallas, TX 75244
                  (214) 259-7004
                  Bukit Inc. (Jay Denenberg)                             1742 North Main St.
                  14496 Nutwood Ln.                                      Salinas, CA 93906
                  Saratoga, CA 95070
                  (408) 858-5441
                  FG Hospitality, LLC (Jerome Ma)                        525 E. Hospitality Ln., Ste. D
                  2567 Harmony Hill Dr.                                  San Bernardino, CA 92408
                  Diamond Bar, CA 91765
                  (949) 232-8190




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   STATE                    FRANCHISEE NAME & ADDRESS                             ADDRESS OF STORES
                  Tripart Management, Inc. (Rakesh Kumar, Sunil Kumar,      1150 El Camino Real, #220
                  Jose Garzona)                                             San Bruno, CA 94066
                  817 Lurline Dr.
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220
                  CA FGB Operations, LLC (Keith Bubb)                       121 Curtner Ave.
                  c/o AZ BMS, LLC                                           San Jose, CA 95125
                  14730 East Crested Crown                                  408-293-9800
                  Fountain Hills, AZ 85268
                  (408) 490-0908
                  CA FGB Operations, LLC (Keith Bubb)                       5353 Almaden Expressway N60
                  c/o AZ BMS, LLC                                           San Jose, CA 95112
                  14730 East Crested Crown
                  Fountain Hills, AZ 85268
                  (408) 490-0908
                  CA FGB Operations, LLC (Keith Bubb)                       5205 Prospect Rd.
                  c/o AZ BMS, LLC                                           San Jose, CA 95129
                  14730 East Crested Crown
                  Fountain Hills, AZ 85268
                  (408) 490-0908
                  CA FGB Operations, LLC (Keith Bubb)                       5660 Cottle Rd.
                  c/o AZ BMS, LLC                                           San Jose, CA 95123
                  14730 East Crested Crown                                  408-363-8200
                  Fountain Hills, AZ 85268
                  (408) 490-0908
                  CA FGB Operations, LLC (Keith Bubb)                       4180 N 1st St., Ste. 50
                  c/o AZ BMS, LLC                                           San Jose, CA 95134
                  14730 East Crested Crown
                  Fountain Hills, AZ 85268
                  (408) 490-0908
                  Tripart Management II, Inc. (Rakesh Kumar, Sunil Kumar,   1015 E. Brokaw Rd., Ste. 70
                  Jose Garzona)                                             San Jose, CA 95131
                  1118 Chess Dr.
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220
                  CA FGB Operations, LLC (Keith Bubb)                       1205 The Alameda, Ste. 10
                  c/o AZ BMS, LLC                                           San Jose, CA 95126
                  14730 East Crested Crown                                  408-816-8230
                  Fountain Hills, AZ 85268
                  (408) 490-0908
                  CA FGB Operations, LLC (Keith Bubb)                       2007 Camden Ave.
                  c/o AZ BMS, LLC                                           San Jose, CA 95124
                  14730 East Crested Crown                                  408-429-8831
                  Fountain Hills, AZ 85268
                  (408) 490-0908
                  Tripart Management II, Inc. (Rakesh Kumar, Sunil Kumar,   438 North Capitol Ave.
                  Jose Garzona)                                             San Jose, CA 95133
                  1118 Chess Dr.                                            408-272-1122
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220



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   STATE                    FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                  Bukit Inc. (Jay Denenberg)                             915 Playa Ave.
                  14496 Nutwood Ln.                                      Sand City, CA 93955
                  Saratoga, CA 95070                                     831-901-3823
                  (408) 858-5441
                  Bukit Inc. (Jay Denenberg)                             1101 Pacific Ave., Ste. A
                  14496 Nutwood Ln.                                      Santa Cruz, CA 95060
                  Saratoga, CA 95070                                     831-600-8541
                  (408) 858-5441
                  Tripart Management, Inc. (Rakesh Kumar, Sunil Kumar,   Mendocino Marketplace
                  Jose Garzona)                                          2280 Mendocino Ave., Ste. B-5
                  817 Lurline Dr.                                        Santa Rosa, CA 95403
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220
                  Encore FGBF California, LLC (Bharat Sangani)           3640B Lake Tahoe Blvd.
                  c/o Encore Restaurants, LLC                            South Lake Tahoe, CA 96150
                  5005 LBJ Freeway, Ste. 1200                            530-494-9031
                  Dallas, TX 75244
                  (214) 259-7004
                  Tripart Management, Inc. (Rakesh Kumar, Sunil Kumar,   2278 Westborough Blvd.
                  Jose Garzona)                                          South San Francisco, CA 94080
                  817 Lurline Dr.                                        650-244-9900
                  Foster City, CA 94404
                  Rakesh Kumar (650) 868-4942
                  Jose Garzona (415) 309-3001
                  Sunil Kumar (415) 699-3220
                  Encore FGBF California, LLC (Bharat Sangani)           5633 Pacific Ave.
                  c/o Encore Restaurants, LLC                            Stockton, CA 95207
                  5005 LBJ Freeway, Ste. 1200                            209-473-9922
                  Dallas, TX 75244
                  (214) 259-7004
                  CA FGB Operations, LLC (Keith Bubb)                    116 E. El Camino Real
                  c/o AZ BMS, LLC                                        Sunnyvale, CA 94085
                  14730 East Crested Crown                               408-830-9100
                  Fountain Hills, AZ 85268
                  (408) 490-0908
                  Canadian Guys Burgers Limited (Joseph Dand and Mike    40426 Winchester Rd.
                  Lipinski)                                              Temecula, CA 92591
                  40426 Winchester Rd.                                   951-296-1955
                  Temecula, CA 92591
                  Joseph Dand (403) 616-7156
                  Mike Lipinski (905) 380-1188
                  Canadian Guys Burgers Limited (Joseph Dand and Mike    32195 Temecula Pkwy., Ste. 104
                  Lipinski)                                              Temecula, CA 92592
                  40426 Winchester Rd.
                  Temecula, CA 92591
                  Joseph Dand (403) 616-7156
                  Mike Lipinski (905) 380-1188
                  Encore FGBF California, LLC (Bharat Sangani)           2970 W. Grant Line Rd.
                  c/o Encore Restaurants, LLC                            Tracy, CA 95304
                  5005 LBJ Freeway, Ste. 1200
                  Dallas, TX 75244
                  (214) 259-7004




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    STATE                     FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                    Encore FGBF California, LLC (Bharat Sangani)            1651 E. Monte Vista Ave., #102
                    c/o Encore Restaurants, LLC                             Vacaville, CA 95688
                    5005 LBJ Freeway, Ste. 1200                             707-447-1477
                    Dallas, TX 75244
                    (214) 259-7004
                    Encore FGBF California, LLC (Bharat Sangani)            768 Ikea Ct., Ste. 120
                    c/o Encore Restaurants, LLC                             West Sacramento, CA 95605
                    5005 LBJ Freeway, Ste. 1200
                    Dallas, TX 75244
                    (214) 259-7004
Colorado
                    Encore FGBF Colorado, LLC (Bharat Sangani)              9585 Ralston Rd.
                    c/o Encore Restaurants, LLC                             Arvada, CO 80002
                    5005 LBJ Freeway, Ste. 1200                             720-845-0045
                    Dallas, TX 75244
                    (214) 259-7004
                    Encore FGBF Colorado, LLC (Bharat Sangani)              2300 S. Parker Rd.
                    c/o Encore Restaurants, LLC                             Aurora, CO 80209
                    5005 LBJ Freeway, Ste. 1200                             303-751-7449
                    Dallas, TX 75244
                    (214) 259-7004
                    Encore FGBF Colorado, LLC (Bharat Sangani)              6710 Cornerstar Way, Unit C
                    c/o Encore Restaurants, LLC                             Aurora, CO 80016
                    5005 LBJ Freeway, Ste. 1200                             303-699-4100
                    Dallas, TX 75244
                    (214) 259-7004
                    Encore FGBF Colorado, LLC (Bharat Sangani)              23963 E. Prospect Ave.
                    c/o Encore Restaurants, LLC                             Aurora, CO 80016
                    5005 LBJ Freeway, Ste. 1200                             303-627-5440
                    Dallas, TX 75244
                    (214) 259-7004
                    Encore FGBF Colorado, LLC (Bharat Sangani)              3751 N. Tower Rd.
                    c/o Encore Restaurants, LLC                             Aurora, CO 80011
                    5005 LBJ Freeway, Ste. 1200                             303-371-0314
                    Dallas, TX 75244
                    (214) 259-7004
                    Encore FGBF Colorado, LLC (Bharat Sangani)              14535 E. Alameda Ave., Ste. 310
                    c/o Encore Restaurants, LLC                             Aurora, CO 80012
                    5005 LBJ Freeway, Ste. 1200                             720-722-5303
                    Dallas, TX 75244
                    (214) 259-7004
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   1855 29th St.
                    2502 Jarratt Ave.                                       Boulder, CO 80301
                    Austin, TX 78703                                        303-440-3780
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   4480 @ 121st Ave.
                    2502 Jarratt Ave.                                       Broomfield, CO 80020
                    Austin, TX 78703                                        720-887-5989
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   570 Zang St.
                    2502 Jarratt Ave.                                       Broomfield, CO 80021
                    Austin, TX 78703                                        303-440-3780
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222



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   STATE                    FRANCHISEE NAME & ADDRESS                            ADDRESS OF STORES
                  Jeffrey Parker                                          34 E. Allen St., Ste. 100
                  3578 Hartsel Dr., Ste. E-130                            Castle Rock, CO 80108
                  Colorado Springs, CO 80920
                  (719) 358-6069
                  Jeffrey Parker                                          7252 N. Academy Blvd. Ste. 120
                  3578 Hartsel Dr., Ste. E-130                            Colorado Springs, CO 80920
                  Colorado Springs, CO 80920                              719-264-6400
                  (719) 358-6069
                  Jeffrey Parker                                          3336 Cinema Point
                  3578 Hartsel Dr., Ste. E-130                            Colorado Springs, CO 80922
                  Colorado Springs, CO 80920                              719-380-4601
                  (719) 358-6069
                  Jeffrey Parker                                          1612 Nevada Ave.
                  3578 Hartsel Dr., Ste. E-130                            Colorado Springs, CO 80906
                  Colorado Springs, CO 80920                              719-633-8532
                  (719) 358-6069
                  Encore FGBF Colorado, LLC (Bharat Sangani)              2023 S. Colorado Blvd., Ste. A
                  c/o Encore Restaurants, LLC                             Denver, CO 80210
                  5005 LBJ Freeway, Ste. 1200                             303-758-7007
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Colorado, LLC (Bharat Sangani)              8201 E. Northfield Blvd.
                  c/o Encore Restaurants, LLC                             Denver, CO 80238
                  5005 LBJ Freeway, Ste. 1200                             303-371-3483
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Colorado, LLC (Bharat Sangani)              4989 S. Broadway, Ste A
                  c/o Encore Restaurants, LLC                             Englewood, CO 80113
                  5005 LBJ Freeway, Ste. 1200                             303-806-1111
                  Dallas, TX 75244
                  (214) 259-7004
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   1335 West Elizabeth, #100
                  2502 Jarratt Ave.                                       Fort Collins, CO 80521
                  Austin, TX 78703                                        970-797-2428
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   Front Range Village
                  2502 Jarratt Ave.                                       2860 E. Harmony Rd, Ste. 140
                  Austin, TX 78703                                        Fort Collins, CO 80525
                  Greg Vasey: (315) 292-8283                              970-204-9140
                  Jack Goehring: (703) 867-8222
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   4239 Centerplace Dr., Unit 1A
                  2502 Jarratt Ave.                                       Greeley, CO 80634
                  Austin, TX 78703                                        970-515-5324
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Encore FGBF Colorado, LLC (Bharat Sangani)              8547 E. Arapahoe Rd.
                  c/o Encore Restaurants, LLC                             Greenwood Village, CO 80112
                  5005 LBJ Freeway, Ste. 1200
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Colorado, LLC (Bharat Sangani)              9352 S. Colorado Blvd.
                  c/o Encore Restaurants, LLC                             Highlands Ranch, CO 80126
                  5005 LBJ Freeway, Ste. 1200                             303-470-0775
                  Dallas, TX 75244
                  (214) 259-7004



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    STATE                     FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                    Encore FGBF Colorado, LLC (Bharat Sangani)              14630 West Colfax Ave.
                    c/o Encore Restaurants, LLC                             Lakewood, CO 80401
                    5005 LBJ Freeway, Ste. 1200                             303-278-3554
                    Dallas, TX 75244
                    (214) 259-7004
                    Encore FGBF Colorado, LLC (Bharat Sangani)              98 Wadsworth Blvd., Ste. 130
                    c/o Encore Restaurants, LLC                             Lakewood, CO 80226
                    5005 LBJ Freeway, Ste. 1200                             720-647-6200
                    Dallas, TX 75244
                    (214) 259-7004
                    Jeffrey Parker                                          9992 Commons St.
                    3578 Hartsel Dr., Ste. E-130                            Lonetree, CO 80124
                    Colorado Springs, CO 80920                              303-925-1955
                    (719) 358-6069
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   1708 Main St., #300
                    2502 Jarratt Ave.                                       Longmont, CO 80501
                    Austin, TX 78703                                        303-485-8924
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Encore FGBF Colorado, LLC (Bharat Sangani)              14326 Lincoln Street
                    c/o Encore Restaurants, LLC                             Thornton, CO 80023
                    5005 LBJ Freeway, Ste. 1200                             720-644-9380
                    Dallas, TX 75244
                    (214) 259-7004
                    Encore FGBF Colorado, LLC (Bharat Sangani)              3727 Wadsworth Blvd., Unit 126
                    c/o Encore Restaurants, LLC                             Wheat Ridge, CO 80033
                    5005 LBJ Freeway, Ste. 1200                             720-677-9500
                    Dallas, TX 75244
                    (214) 259-7004
Delaware
                    Rockham 5G DE, LLC (Drew Smith)                         1249 Quintilio Dr.
                    Post Office Box 1437                                    Bear, DE 19701
                    Exton, PA 19341                                         302-832-7555
                    (703) 869-8483
                    Michael McLaughlin                                      111 Garfield Pkwy.
                    108 Solomans Ridge Ct.                                  Bethany Beach, DE 19930
                    Millersville, MD 21108
                    (443) 618-9044
                    Rockham 5G DE, LLC (Drew Smith)                         136 Lantana Dr.
                    Post Office Box 1437                                    Hockessin, DE 19707
                    Exton, PA 19341                                         302-239-1250
                    (703) 869-8483
                    Rockham 5G DE, LLC (Drew Smith)                         216 Christiana Mall
                    Post Office Box 1437                                    Newark, DE 19702
                    Exton, PA 19341                                         302-565-0808
                    (703) 869-8483
                    Rockham 5G DE, LLC (Drew Smith)                         137 E. Main St.
                    Post Office Box 1437                                    Newark, DE 19711
                    Exton, PA 19341                                         302-533-5754
                    (703) 869-8483
                    Michael McLaughlin                                      47A Rehoboth Ave.
                    108 Solomans Ridge Ct.                                  Rehoboth Beach, DE 19971
                    Millersville, MD 21108
                    (443) 618-9044
                    Rockham 5G DE, LLC (Drew Smith)                         2217 Concord Pkwy.
                    Post Office Box 1437                                    Wilmington, DE 19803
                    Exton, PA 19341
                    (703) 869-8483

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     STATE                    FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                    Rockham 5G DE, LLC (Drew Smith)                         3234 B. Kirkwood Hwy.
                    Post Office Box 1437                                    Wilmington, DE 19808
                    Exton, PA 19341                                         302-998-2955
                    (703) 869-8483
Florida
                    Gator Subs Vision LLC (George Estep and Scott Strahm)   229 E. Altamonte Dr., Ste. 1130
                    3685 North National Rd.                                 Altamonte Springs, FL 32701
                    Columbus, IN 47201                                      407-478-6900
                    George Estep - (812) 375-0140
                    MPR Development, LLC (Patrick Tracy, Thomas Tracy,      2240 NW 19th St.
                    Matt Tracy, Ryan Tracy)                                 Boca Raton, FL 34110
                    128 Timberwalk Trail                                    561-368-8384
                    Jupiter, FL 33458
                    Thomas Tracy (703) 283-3400
                    Matt Tracy (703) 216-2600
                    Pat Tracy (561) 846-2076
                    Ryan Tracy (703) 216-5723
                    M Assets, LLC (Dan Beaulieu)                            12031 Bonita Beach Rd. SE, Ste. 170
                    9219 Blue Sage Rd.                                      Bonita Springs, FL 34135
                    Clinton, IL 61727                                       239-221-8711
                    (502) 345-1200
                    MPR Development, LLC (Patrick Tracy, Thomas Tracy,      1950 Congress Ave., Ste. 110
                    Matt Tracy, Ryan Tracy)                                 Boynton Beach, FL 33426
                    128 Timberwalk Trail                                    561-369-4460
                    Jupiter, FL 33458
                    Thomas Tracy (703) 283-3400
                    Matt Tracy (703) 216-2600
                    Pat Tracy (561) 846-2076
                    Ryan Tracy (703) 216-5723
                    Sarasota Seven Burgers LLC (George Estep and Scott      8435 Cooper Creek Blvd.
                    Strahm)                                                 Bradenton, FL 34201
                    3685 North National Rd.                                 941-358-7900
                    Columbus, IN 47201
                    George Estep - (812) 375-0140
                    Sarasota Seven Burgers LLC (George Estep and Scott      6783 Manatee Ave. West
                    Strahm)                                                 Bradenton, FL 34209
                    3685 North National Rd.                                 941-794-3700
                    Columbus, IN 47201
                    George Estep - (812) 375-0140
                    Gator Subs Vision LLC (George Estep and Scott Strahm)   13171 Cortez Blvd.
                    3685 North National Rd.                                 Brooksville, FL 34613
                    Columbus, IN 47201                                      352-597-6887
                    George Estep - (812) 375-0140
                    M Assets, LLC (Dan Beaulieu)                            1860 Pine Island Rd., Ste. 210
                    9219 Blue Sage Rd.                                      Cape Coral, FL 33991
                    Clinton, IL 61727                                       239-242-0384
                    (502) 345-1200
                    M Assets, LLC (Dan Beaulieu)                            2612 Santa Barbara Blvd.
                    9219 Blue Sage Rd.                                      Cape Coral, FL 33914
                    Clinton, IL 61727                                       239-242-6620
                    (502) 345-1200
                    Bengel’s Burgers, LLC (Charles Bengel)                  6240 W. Irlo Bronson Memorial Hwy
                    5061 Polk Ave.                                          192
                    Alexandria, VA 22304                                    Celebration, FL 34747
                    (703) 625-0064                                          407-566-8860




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   STATE                    FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                  Vista Interprises, LLC (John Nguyen and Anh Pham)       20505 US Hwy. 19
                  13201 Cartharpin Valley Dr.                             Clearwater, FL 33759
                  Gainesville, VA 20155                                   727-726-0100
                  (571) 261-5065
                  Gator Subs Vision LLC (George Estep and Scott Strahm)   1600 N. Hancock Rd.
                  3685 North National Rd.                                 Clermont, FL 34711
                  Columbus, IN 47201                                      352-432-9473
                  George Estep - (812) 375-0140
                  Yukon Broward, LLC (Reas Kondraschow and Yanmei         2870 N. University Dr.
                  Gao)                                                    Coral Springs, FL 33065
                  6278 N. Federal Hwy., Ste. 284                          754-529-8288
                  Ft. Lauderdale, FL 33308
                  (908) 391-7827
                  Bengel’s Burgers, LLC (Charles Bengel)                  2470 International Speedway
                  5061 Polk Ave.                                          Daytona Beach, FL 32114
                  Alexandria, VA 22304                                    386-258-7926
                  (703) 625-0064
                  Yukon Broward, LLC (Reas Kondraschow and Yanmei         296 S. Federal Hwy.
                  Gao)                                                    Deerfield Beach, FL 33441
                  6278 N. Federal Hwy., Ste. 284                          954-570-0375
                  Ft. Lauderdale, FL 33308
                  (908) 391-7827
                  MPR Development, LLC (Patrick Tracy, Thomas Tracy,      571 Linton Blvd.
                  Matt Tracy, Ryan Tracy)                                 Delray Beach, FL 3444
                  128 Timberwalk Trail                                    561-2663162
                  Jupiter, FL 33458
                  Thomas Tracy (703) 283-3400
                  Matt Tracy (703) 216-2600
                  Pat Tracy (561) 846-2076
                  Ryan Tracy (703) 216-5723
                  M Assets, LLC (Dan Beaulieu)                            23050 Via Villagio Pkwy., #105
                  9219 Blue Sage Rd.                                      Estero, FL 33928
                  Clinton, IL 61727                                       239-948-7106
                  (502) 345-1200
                  Yukon Broward, LLC (Reas Kondraschow and Yanmei         1816 Cordova Rd.
                  Gao)                                                    Ft. Lauderdale, FL 33316
                  6278 N. Federal Hwy., Ste. 284                          954-358-5862
                  Ft. Lauderdale, FL 33308
                  (908) 391-7827
                  Yukon Broward, LLC (Reas Kondraschow and Yanmei         6365 N. Andrews Ave.
                  Gao)                                                    Ft. Lauderdale, FL 33309
                  6278 N. Federal Hwy., Ste. 284
                  Ft. Lauderdale, FL 33308
                  (908) 391-7827
                  M Assets, LLC (Dan Beaulieu)                            3268 Forum Blvd., Ste. 207
                  9219 Blue Sage Rd.                                      Ft. Meyers, FL 33905
                  Clinton, IL 61727                                       239-936-4169
                  (502) 345-1200
                  M Assets, LLC (Dan Beaulieu)                            12640 S. Cleveland Ave., Unit 201
                  9219 Blue Sage Rd.                                      Ft. Myers, FL 33907
                  Clinton, IL 61727
                  (502) 345-1200
                  M Assets, LLC (Dan Beaulieu)                            16230 Summerlin Rd., #201
                  9219 Blue Sage Rd.                                      Ft. Meyers, FL 33908
                  Clinton, IL 61727                                       293-267-2813
                  (502) 345-1200



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   STATE                    FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                  Yukon Broward, LLC (Reas Kondraschow and Yanmei         800 East Hallandale Beach Blvd.
                  Gao)                                                    Hallandale Beach, FL 33009
                  6278 N. Federal Hwy., Ste. 284                          954-589-1281
                  Ft. Lauderdale, FL 33308
                  (908) 391-7827
                  MPR Development, LLC (Patrick Tracy, Thomas Tracy,      2532 W. Indiantown Rd., #10
                  Matt Tracy, Ryan Tracy)                                 Jupiter, FL 33458
                  128 Timberwalk Trail
                  Jupiter, FL 33458
                  Thomas Tracy (703) 283-3400
                  Matt Tracy (703) 216-2600
                  Pat Tracy (561) 846-2076
                  Ryan Tracy (703) 216-5723
                  Bengel’s Burgers, LLC (Charles Bengel)                  3621 Vineland Rd.
                  5061 Polk Ave.                                          Kissimmee, FL 34746
                  Alexandria, VA 22304                                    407-479-6212
                  (703) 625-0064
                  Vista Interprises, LLC (John Nguyen and Anh Pham)       10125 Ulmerton Rd., Ste. 1
                  13201 Cartharpin Valley Dr.                             Largo, FL 33771
                  Gainesville, VA 20155                                   727-238-8971
                  (571) 261-5065
                  Gator Subs Vision LLC (George Estep and Scott Strahm)   25599 Sierra Center Blvd.
                  3685 North National Rd.                                 Lutz, FL 33559
                  Columbus, IN 47201                                      813-949-8088
                  George Estep - (812) 375-0140
                  Bengel’s Burgers, LLC (Charles Bengel)                  500 E. Merritt Island CSWY
                  5061 Polk Ave.                                          Merritt Island, FL 32952
                  Alexandria, VA 22304
                  (703) 625-0064
                  Gator Subs Vision LLC (George Estep and Scott Strahm)   19009 Hwy 441
                  3685 North National Rd.                                 Mount Dora, FL 32757
                  Columbus, IN 47201
                  George Estep - (812) 375-0140
                  54 FL LLC (Jeannie Schlesinger)                         1410 Pine Ridge Rd.
                  11983 N. Tamiami Trail, Ste. 157                        Naples, FL
                  Naples, FL 34110                                        239-261-5603
                  (239) 207-2541
                  54 FL LLC (Jeannie Schlesinger)                         13585 Tamiami Trails North
                  11983 N. Tamiami Trail, Ste. 157                        Naples, FL 34110
                  Naples, FL 34110                                        239-566-1200
                  (239) 207-2541
                  54 FL LLC (Jeannie Schlesinger)                         7335 Radio Rd., Ste. 109
                  11983 N. Tamiami Trail, Ste. 157                        Naples, FL 34104
                  Naples, FL 34110                                        239-352-9820
                  (239) 207-2541
                  54 FL LLC (Jeannie Schlesinger)                         7685 Colliers Blvd.
                  11983 N. Tamiami Trail, Ste. 157                        Naples, FL 34113
                  Naples, FL 34110                                        239-732-9502
                  (239) 207-2541
                  54 FL LLC (Jeannie Schlesinger)                         7211 Vanderbilt Beach Rd. #17
                  11983 N. Tamiami Trail, Ste. 157                        Naples, FL 34119
                  Naples, FL 34110                                        239-331-4594
                  (239) 207-2541
                  Sarasota Seven Burgers LLC (George Estep and Scott      17819 Tamiami Trail
                  Strahm)                                                 North Port, FL 34287
                  3685 North National Rd.                                 941-423-1215
                  Columbus, IN 47201
                  George Estep - (812) 375-0140

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   STATE                     FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                  Bengel’s Burgers, LLC (Charles Bengel)                  898 Saxon Blvd.
                  5061 Polk Ave.                                          Orange City, FL 32763
                  Alexandria, VA 22304
                  (703) 625-0064
                  Gator Subs Vision LLC (George Estep and Scott Strahm)   Baldwin Park Village Center
                  3685 North National Rd.                                 4821 New Broad St.
                  Columbus, IN 47201                                      Orlando, FL 32814
                  George Estep - (812) 375-0140                           407-219-3366
                  Bengel’s Burgers, LLC (Charles Bengel)                  8001 S. Orange Blossom Trail
                  5061 Polk Ave.                                          Orlando, FL 32809
                  Alexandria, VA 22304                                    407-851-5299
                  (703) 625-0064
                  Bengel’s Burgers, LLC (Charles Bengel)                  4969 International Dr. (the Prime
                  5061 Polk Ave.                                          Outlets)
                  Alexandria, VA 22304                                    Orlando, FL
                  (703) 625-0064                                          407-352-8362
                  Bengel’s Burgers, LLC (Charles Bengel)                  551 N. Alafaya Trail
                  5061 Polk Ave.                                          Orlando, FL 32828
                  Alexandria, VA 22304                                    321-235-5006
                  (703) 625-0064
                  Bengel’s Burgers, LLC (Charles Bengel)                  6125 S. Semoran Blvd.
                  5061 Polk Ave.                                          Orlando, FL 32822
                  Alexandria, VA 22304                                    407-856-2992
                  (703) 625-0064
                  Bengel’s Burgers, LLC (Charles Bengel)                  2520 S. Orange Avenue
                  5061 Polk Ave.                                          Orlando, FL 32806
                  Alexandria, VA 22304                                    407-648-7430
                  (703) 625-0064
                  Bengel’s Burgers, LLC (Charles Bengel)                  8324 International Dr.
                  5061 Polk Ave.                                          Orlando, FL 32819
                  Alexandria, VA 22304                                    407-730-2339
                  (703) 625-0064
                  Bengel’s Burgers, LLC (Charles Bengel)                  8031 Turkey Lake Rd., Ste. 100
                  5061 Polk Ave.                                          Orlando, FL 32819
                  Alexandria, VA 22304                                    407-930-1261
                  (703) 625-0064
                  Bengel’s Burgers, LLC (Charles Bengel)                  4698 Gardens Park Blvd.
                  5061 Polk Ave.                                          Orlando, FL 32839
                  Alexandria, VA 22304                                    407-458-9567
                  (703) 625-0064
                  Gator Subs Vision LLC (George Estep and Scott Strahm)   11891 University Blvd.
                  3685 North National Rd.                                 Orlando FL 32817
                  Columbus, IN 47201                                      407-440-3939
                  George Estep - (812) 375-0140
                  Gator Subs Vision LLC (George Estep and Scott Strahm)   967 City Walk Ln.
                  3685 North National Rd.                                 Oviedo FL 32765
                  Columbus, IN 47201                                      407-542-4602
                  George Estep - (812) 375-0140
                  GHG Gulf Coast, LLC (Bill Gellert)                      4796 Hwy. 90
                  173 Whippoorwill Rd.                                    Pace, FL 32571
                  Hillsdale, NY 12529                                     850-889-4656
                  (914) 643-2180




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   STATE                     FRANCHISEE NAME & ADDRESS                       ADDRESS OF STORES
                  MPR Development, LLC (Patrick Tracy, Thomas Tracy,   11320 Legacy Ave., Ste. 100
                  Matt Tracy, Ryan Tracy)                              Legacy Place
                  128 Timberwalk Trail                                 Palm Beach Gardens, FL 33410
                  Jupiter, FL 33458                                    561-625-3888
                  Thomas Tracy (703) 283-3400
                  Matt Tracy (703) 216-2600
                  Pat Tracy (561) 846-2076
                  Ryan Tracy (703) 216-5723
                  Vista Interprises, LLC (John Nguyen and Anh Pham)    300 East Lake Rd.
                  13201 Catharpin Valley Dr.                           Palm Harbor, FL 34686
                  Gainesville, VA 20155                                727-784-8965
                  (571) 236-1214
                  Yukon Broward, LLC (Reas Kondraschow and Yanmei      11097 Pines Blvd.
                  Gao)                                                 Pembroke Pines, FL 33026
                  6278 N. Federal Hwy., Ste. 284                       954-367-0167
                  Ft. Lauderdale, FL 33308
                  (908) 391-7827
                  Yukon Broward, LLC (Reas Kondraschow and Yanmei      15651 Pines Blvd.
                  Gao)                                                 Pembroke Pines, FL 33027
                  6278 N. Federal Hwy., Ste. 284                       954-251-3048
                  Ft. Lauderdale, FL 33308
                  (908) 391-7827
                  GHG Gulf Coast, LLC (Bill Gellert)                   1690 Airport Blvd.
                  173 Whippoorwill Rd.                                 Pensacola, FL 32504
                  Hillsdale, NY 12529                                  850-484-5388
                  (914) 643-2180
                  Vista Interprises, LLC (John Nguyen and Anh Pham)    7056 US Hwy 19N & Park Blvd.
                  13201 Catharpin Valley Dr.                           Pinellas Park, FL
                  Gainesville, VA 20155                                727-526-7800
                  (571) 236-1214
                  Yukon Broward, LLC (Reas Kondraschow and Yanmei      The Fountains
                  Gao)                                                 801 S. University Dr.
                  6278 N. Federal Hwy., Ste. 284                       Plantation, FL 33324
                  Ft. Lauderdale, FL 33308
                  (908) 391-7827
                  M Assets, LLC (Dan Beaulieu)                         1900 Tamiami Trail, Ste. 100
                  9219 Blue Sage Rd.                                   Port Charlotte, FL 33948
                  Clinton, IL 61727                                    941-764-0088
                  (502) 345-1200
                  MPR Development, LLC (Patrick Tracy, Thomas Tracy,   1707 NW Port St. Lucie Blvd., #158
                  Matt Tracy, Ryan Tracy)                              Port St. Lucie, FL 34986
                  128 Timberwalk Trail
                  Jupiter, FL 33458
                  Thomas Tracy (703) 283-3400
                  Matt Tracy (703) 216-2600
                  Pat Tracy (561) 846-2076
                  Ryan Tracy (703) 216-5723
                  M Assets, LLC (Dan Beaulieu)                         379 Kings Hwy, Ste. #100
                  9219 Blue Sage Rd.                                   Punta Gorda, FL 33983
                  Clinton, IL 61727                                    941-883-4946
                  (502) 345-1200
                  Sarasota Seven Burgers LLC (George Estep and Scott   6593 S. Tamiami Trail
                  Strahm)                                              Sarasota, FL 34231
                  3685 North National Rd.
                  Columbus, IN 47201
                  George Estep - (812) 375-0140



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   STATE                    FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                  Sarasota Seven Burgers LLC (George Estep and Scott      5354 Fruitville Road, Unit 8
                  Strahm)                                                 Sarasota, FL 34232
                  3685 North National Rd.                                 941-342-0170
                  Columbus, IN 47201
                  George Estep - (812) 375-0140
                  Flow Smart Five LLC (Greg Jones, James Garrettson and   307 North Hwy. 27
                  Patrick Donovan)                                        Sebring, FL 33870
                  8245 Boone Blvd., Ste. 650                              863-402-2093
                  Vienna, VA 22182
                  (703) 421-9330
                  Vista Interprises, LLC (John Nguyen and Anh Pham)*      The Shoppes at Royale
                  13201 Cartharpin Valley Dr.                             1458 66th St. North
                  Gainesville, VA 20155                                   St. Petersburg, FL 33710
                  (571) 261-5065                                          727-343-9600
                  MPR Development, LLC (Patrick Tracy, Thomas Tracy,      2185 SE Federal Hwy.
                  Matt Tracy, Ryan Tracy)                                 Stuart, FL 34994
                  128 Timberwalk Trail                                    772-283-5454
                  Jupiter, FL 33458
                  Thomas Tracy (703) 283-3400
                  Matt Tracy (703) 216-2600
                  Pat Tracy (561) 846-2076
                  Ryan Tracy (703) 216-5723
                  Yukon Broward, LLC (Reas Kondraschow and Yanmei         13955 Sunrise Blvd.
                  Gao)                                                    Sunrise, FL 33323
                  6278 N. Federal Hwy., Ste. 284                          754-200-6028
                  Ft. Lauderdale, FL 33308
                  (908) 391-7827
                  Gator Subs Vision LLC (George Estep and Scott Strahm)   17000 SR-54
                  3685 North National Rd.                                 Trinity, FL 34655
                  Columbus, IN 47201                                      727-376-5885
                  George Estep - (812) 375-0140
                  Flow Smart Five LLC (Greg Jones, James Garrettson and   1335 US Hwy. 1, Publix Center
                  Patrick Donovan)                                        Vero Beach, FL
                  8245 Boone Blvd., Ste. 650                              772-299-4355
                  Vienna, VA 22182
                  (703) 421-9330
                  Bengel’s Burgers, LLC (Charles Bengel)                  2230 Town Center Ave.
                  5061 Polk Ave.                                          Viera, FL 32940
                  Alexandria, VA 22304                                    321-633-0033
                  (703) 625-0064
                  MPR Development, LLC (Patrick Tracy, Thomas Tracy,      10200 Forest Hill Blvd., Ste. 150
                  Matt Tracy, Ryan Tracy)                                 Wellington, FL 33414
                  128 Timberwalk Trail                                    561-790-7500
                  Jupiter, FL 33458
                  Thomas Tracy (703) 283-3400
                  Matt Tracy (703) 216-2600
                  Pat Tracy (561) 846-2076
                  Ryan Tracy (703) 216-5723
                  Bengel’s Burgers, LLC (Charles Bengel)                  225 Palm Bay Rd.
                  5061 Polk Ave.                                          West Melbourne, FL 32904
                  Alexandria, VA 22304                                    321-409-9940
                  (703) 625-0064
                  Bengel’s Burgers, LLC (Charles Bengel)                  Winter Gardens Village
                  5061 Polk Ave.                                          3107 Daniels Rd.
                  Alexandria, VA 22304                                    Winter Gardens, FL 34787
                  (703) 625-0064                                          407-905-9811



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    STATE                    FRANCHISEE NAME & ADDRESS                            ADDRESS OF STORES
                    Gator Subs Vision LLC (George Estep and Scott Strahm)   5848 Red Bug Lake Rd.
                    3685 North National Rd.                                 Winter Springs, FL 32708
                    Columbus, IN 47201                                      407-636-8100
                    George Estep - (812) 375-0140
                    Gator Subs Vision LLC (George Estep and Scott Strahm)   7654 Gall Blvd.
                    3685 North National Rd.                                 Zephrhills, FL 33541
                    Columbus, IN 47201
                    George Estep - (812) 375-0140
Georgia
                    Buster’s Resource Management, LLC (Grant Buster)        6410 N. Point Pkwy.
                    4744 32nd St. N                                         Alpharetta, GA 30022
                    Arlington, VA 22207                                     770-346-0366
                    (571) 499-7761
                    Atlanta’s Best Burgers, LLC (Michael Melton)            Atlanta Hartsfield Jackson
                    1219 Towlston Rd.                                       International Airport
                    Great Falls, VA 22027                                   Concourse C, Gate 43
                    (703) 919-5289                                          404-763-6909
                    Atlanta’s Best Burgers, LLC (Michael Melton)            Atlanta Hartsfield Jackson
                    1219 Towlston Rd.                                       International Airport
                    Great Falls, VA 22027                                   Concourse D, Gate 11
                    (703) 919-5289                                          404-684-0102
                     Uheri Group, LLC (Paul and Carl Fisher)                1253 Caroline St.
                     Post Office Box 42307                                  Atlanta, GA 30310
                     Atlanta, GA 30311                                      404-688-6474
                     (516) 384-9528
                    Uheri Group, LLC (Carl and Paul Fisher)                 860 Peachtree Rd., Ste. A
                    1253 Caroline St., Ste. E-100                           Atlanta, GA 30308
                    Atlanta, GA 30307
                    (516) 384-9528, (404)734-8877
                    Jason Patel, Riteshbhai Patel, Jitenbhai Patel          2805 Washington Rd., #402
                    2368 Calistoga Ct.                                      Augusta, GA 30909
                    Lawrenceville, GA 30043
                    (256) 810-8336
                    GPR Hospitality, LLC (James Richards)                   1303 Walnut Ave.
                    7663 Harrier Hill Rd.                                   Dalton, GA 30720
                    Signal Mountain, TN 37377                               706-229-9147
                    (423) 605-1353
                    Jason Patel, Riteshbhai Patel, Jitenbhai Patel          4324 Washington Rd.
                    2368 Calistoga Ct.                                      Evans, GA 30809
                    Lawrenceville, GA 30043
                    (256) 810-8336
                    GPR Hospitality, LLC (James Richards)                   1417 Dietz Rd.
                    7663 Harrier Hill Rd.                                   Fort Oglethorpe, GA 30736
                    Signal Mountain, TN 37377                               706-419-8056
                    (423) 605-1353
                    Jason Patel, Riteshbhai Patel, Jitenbhai Patel          9602 Bentley Dr.
                    2368 Calistoga Ct.                                      Grovetown, GA 30813
                    Lawrenceville, GA 30043                                 706-305-9520
                    (256) 810-8336
                    Five Star Burgers Lawrenceville Co. (Jason Patel)       798 Lawrenceville Suwannee Rd.
                    2368 Calistoga Ct.                                      Lawrenceville, GA 30043
                    Lawrenceville, GA 30043                                 770-962-6882
                    (256) 810-8336
                    Five Star Burgers Loganville Co. (Jason Patel)          4018 Atlanta Hwy., #224
                    2368 Calistoga Ct.                                      Loganville, GA 30052
                    Lawrenceville, GA 30043
                    (256) 810-8336


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    STATE                     FRANCHISEE NAME & ADDRESS                              ADDRESS OF STORES
                    Five Star Burgers Lawrenceville Co. (Jason Patel)          1575 Scenic Hwy. South, #400
                    2368 Calistoga Ct.                                         Snellville, GA 30078
                    Lawrenceville, GA 30043                                    470-246-5756
                    (256) 810-8336
                    Buster’s Resource Management, LLC (Grant Buster)           3105 Peachtree Pkwy., #100
                    4744 32nd St. N                                            Suwanee, GA 30024
                    Arlington, VA 22207                                        770-945-4670
                    (571) 499-7761
                    Five Star Burgers Tucker, Inc. (Jason Patel)               4306 Lawrenceville Hwy.
                    2368 Calistoga Ct.                                         Tucker, GA 30084
                    Lawrenceville, GA 30043                                    770-496-9990
                    (256) 810-8336
Hawaii
                    Bighorn Five Guys Acquisitions, LLC (Clayton Parrett and   98-1005 Moanalua Rd., #1101A
                    H. Scott Miller)                                           Aiea, HI 96701
                    c/o Miller Investment Management, LP                       808-488-4442
                    100 Front St., Ste 1500
                    West Conshohocken, PA 19428
                    (610) 834-9820 x144
                    Bighorn Five Guys Acquisitions, LLC (Clayton Parrett and   91-5431 Kapolei Pkwy.
                    H. Scott Miller)                                           Kapolei, HI 96707
                    c/o Miller Investment Management, LP                       808-628-4740
                    100 Front St., Ste 1500
                    West Conshohocken, PA 19428
                    (610) 834-9820 x144
                    Bighorn Five Guys Acquisitions, LLC (Clayton Parrett and   95-1249 Meheula Pkwy. #210
                    H. Scott Miller)                                           Mililani, HI 96789
                    c/o Miller Investment Management, LP                       808-312-3407
                    100 Front St., Ste 1500
                    West Conshohocken, PA 19428
                    (610) 834-9820 x144
Idaho
                    MeisterGuys, LLC (Jeff Howes)                              2541 S. 25th St.
                    125 West Burton Ave., Ste. 2                               Ammon, ID 83406
                    Salt Lake City, UT 84115                                   208-522-4448
                    (801) 231-6101
                    MeisterGuys, LLC (Jeff Howes)                              1587 N. Milwaukee St.
                    125 West Burton Ave., Ste. 2                               Boise, ID 83704
                    Salt Lake City, UT 84115                                   208-658-4930
                    (801) 231-6101
                    MeisterGuys, LLC (Jeff Howes)                              321 S. 8th St.
                    125 West Burton Ave., Ste. 2                               Boise, ID 83702
                    Salt Lake City, UT 84115
                    (801) 231-6101
                    MeisterGuys, LLC (Jeff Howes)                              2830 North Eagle Rd., #1
                    125 West Burton Ave., Ste. 2                               Meridian, ID 83646
                    Salt Lake City, UT 84115
                    (801) 231-6101
                    MeisterGuys, LLC (Jeff Howes)                              235 W. Quinn Rd., Ste. 300
                    125 West Burton Ave., Ste. 2                               Pocatello, ID 83202
                    Salt Lake City, UT 84115                                   208-637-1000
                    (801) 231-6101
                    MeisterGuys, LLC (Jeff Howes)                              179 West 2nd South
                    125 West Burton Ave., Ste. 2                               Rexburg, ID 83440
                    Salt Lake City, UT 84115                                   208-346-7205
                    (801) 231-6101



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    STATE                     FRANCHISEE NAME & ADDRESS                    ADDRESS OF STORES
                    MeisterGuys, LLC (Jeff Howes)                    1485 E. Pole Line Rd.
                    125 West Burton Ave., Ste. 2                     Twin Falls, ID 83301
                    Salt Lake City, UT 84115                         208-734-6200
                    (801) 231-6101
Indiana
                    GHG Indiana, LLC (Bill Gellert)                  1199 S. College Mall Rd.
                    173 Whippoorwill Rd.                             Bloomington, IN 47404
                    Hillsdale, NY 12529                              812-336-4897
                    (914) 643-2180
                    GHG Indiana, LLC (Bill Gellert)                  425 E. Kirkwood Ave.
                    173 Whippoorwill Rd.                             Bloomington, IN 47401
                    Hillsdale, NY 12529                              812-336-3483
                    (914) 643-2180
                    Celtic Group, Inc. (Mary Walsh, Patrick Walsh)   124 East Northfield Dr., Ste. H
                    872 N. Brookshade Pkwy.                          Brownsburg, IN 46112
                    Alpharetta, GA 30004                             317-858-3012
                    (404) 307-2628
                    Celtic Group, Inc. (Mary Walsh, Patrick Walsh)   2009-8 E. Greyhound Pass
                    872 N. Brookshade Pkwy.                          Carmel, IN 46032
                    Alpharetta, GA 30004                             317-587-7474
                    (404) 307-2628
                    GHG Indiana, LLC (Bill Gellert)                  1675 N. National Road
                    173 Whippoorwill Rd.                             Columbus, IN 47201
                    Hillsdale, NY 12529                              812-675-3788
                    (914) 643-2180
                    IFGB, LLC (Larry Cooley)                         Village Commons S/C Space 3A
                    8100 E. 22nd St. N, Bldg. 900                    5402 E. Indiana St.
                    Wichita, KS 67226                                Evansville, IN 47715
                    (316) 304-3494, (316) 733-9752, (316) 682-3300
                    Celtic Group, Inc. (Mary Walsh, Patrick Walsh)   11670 Commercial Dr.
                    872 N. Brookshade Pkwy.                          Fishers, IN 46038
                    Alpharetta, GA 30004                             317-596-8686
                    (404) 307-2628
                    IFGB, LLC (Larry Cooley)                         801 G1 Northcrest Shopping Center
                    8100 E. 22nd St. N, Bldg. 900                    Fort Wayne, IN 46805
                    Wichita, KS 67226                                260-484-2003
                    (316) 304-3494, (316) 733-9752, (316) 682-3300
                    IFGB, LLC (Larry Cooley)                         5830 West Jefferson Blvd.
                    8100 E. 22nd St. N, Bldg. 900                    Fort Wayne, IN 46804
                    Wichita, KS 67226                                260-436-6295
                    (316) 304-3494, (316) 733-9752, (316) 682-3300
                    IFGB, LLC (Larry Cooley)                         7815 S. US Hwy. 31
                    8100 E. 22nd St. N, Bldg. 900                    Indianapolis, IN 26227
                    Wichita, KS 67226                                317-881-0562
                    (316) 304-3494, (316) 733-9752, (316) 682-3300
                    IFGB, LLC (Larry Cooley)                         2902 W. 86th St.
                    8100 E. 22nd St. N, Bldg. 900                    Indianapolis, IN 46268
                    Wichita, KS 67226                                317-876-0811
                    (316) 304-3494, (316) 733-9752, (316) 682-3300
                    IFGB, LLC (Larry Cooley)                         5305 East 82nd St.
                    3037 S. Prairie Point Dr.                        Indianapolis, IN 46250
                    Andover, KS 67002                                317-598-0013
                    (316) 304-3494
                    IFGB, LLC (Larry Cooley)                         9210 Rockville Rd., Ste. A
                    8100 E. 22nd St. N, Bldg. 900                    Indianapolis, IN 46234
                    Wichita, KS 67226                                317-271-7377
                    (316) 304-3494, (316) 733-9752, (316) 682-3300


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   STATE                    FRANCHISEE NAME & ADDRESS                       ADDRESS OF STORES
                  IFGB, LLC (Larry Cooley)                            9808 E. Washington St.
                  8100 E. 22nd St. N, Bldg. 900                       Indianapolis, IN 46229
                  Wichita, KS 67226                                   317-897-6752
                  (316) 304-3494, (316) 733-9752, (316) 682-3300
                  IFGB, LLC (Larry Cooley)                            48 E. Washington St.
                  8100 E. 22nd St. N, Bldg. 900                       Indianapolis, IN 46204
                  Wichita, KS 67226                                   317-220-8632
                  (316) 304-3494, (316) 733-9752, (316) 682-3300
                  737 Ventures LLC (George Estep)                     1500 Veterans Pkwy.
                  3685 North National Rd.                             Jeffersonville, IN 47130
                  Columbus, IN 47201                                  812-913-4820
                  (812) 375-0140
                  Central FG Burger Development, LLC (George Estep)   1620 East Blvd.
                  3685 North National Rd.                             Kokomo, IN 46902
                  Columbus, IN 47201                                  765-450-5201
                  (812) 375-0140
                  Central FG Burger Development, LLC (George Estep)   210 S. Creasy Ln.
                  3685 North National Rd.                             Lafayette, IN 4790
                  Columbus, IN 47201                                  765-250-5946
                  (812) 375-0140
                  DHW & Company (Donald Doan and Chris Wolf)          5226 Franklin St.
                  2145 N. Racine #1, Ste. 102                         Michigan City, IN 46360
                  Chicago, IL 60614                                   219-878-5800
                  (773) 562-9855; (773) 627-3443
                  DHW & Company (Donald Doan and Chris Wolf)          6501 Grape Rd.
                  2145 N. Racine #1, Ste. 102                         Mishawaka, IN 46546
                  Chicago, IL 60614                                   574-271-2400
                  (773) 562-9855; (773) 627-3443
                  Central FG Burger Development, LLC (George Estep)   3911 W. Bethel Ave.
                  3685 North National Rd.                             Muncie, IN 47304
                  Columbus, IN 47201                                  765-313-7567
                  (812) 375-0140
                  DHW & Company (Donald Doan and Chris Wolf)          8231 Calumet Ave.
                  2145 N. Racine #1, Ste. 102                         Munster, IN 46321
                  Chicago, IL 60614
                  (773) 562-9855; (773) 627-3443
                  737 Ventures LLC (George Estep)                     2221 State St.
                  3685 North National Rd.                             New Albany, IN 47150
                  Columbus, IN 47201                                  812-944-9958
                  (812) 343-3027
                  Celtic Group, Inc. (Mary Walsh, Patrick Walsh)      13971 Town Center Blvd.
                  872 N. Brookshade Pkwy.                             Noblesville, IN 46060
                  Alpharetta, GA 30004                                317-770-3636
                  (404) 307-2628
                  Celtic Group, Inc. (Mary Walsh, Patrick Walsh)      2663 E. Main St.
                  872 N. Brookshade Pkwy.                             Plainfield, IN 46168
                  Alpharetta, GA 30004                                317- 939-1600
                  (404) 307-2628
                  DHW & Company (Donald Doan and Chris Wolf)          1575 US Hwy 41
                  2145 N. Racine #1, Ste. 102                         Schereville, IN 46375
                  Chicago, IL 60614                                   219-864-5800
                  (773) 562-9855; (773) 627-3443
                  DHW & Company (Donald Doan and Chris Wolf)          6050 US Hwy 6
                  2145 N. Racine #1, Ste. 102                         Portage, IN 46368
                  Chicago, IL 60614                                   219-764-1777
                  (773) 562-9855; (773) 627-3443



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    STATE                     FRANCHISEE NAME & ADDRESS                      ADDRESS OF STORES
                   DHW & Company (Donald Doan and Chris Wolf)          1233 Eddy St., #10
                   2145 N. Racine #1, Ste. 102                         South Bend, IN 46617
                   Chicago, IL 60614                                   574-234-1800
                   (773) 562-9855; (773) 627-3443
                   GHG Indiana, LLC (Bill Gellert)                     5399 S. US Hwy 41
                   173 Whippoorwill Rd.                                Terre Haute, IN 47802
                   Hillsdale, NY 12529                                 812-299-4897
                   (914) 643-2180
                   DHW & Company (Donald Doan and Chris Wolf)          2505 Laporte Ave., Ste. #171
                   2145 N. Racine #1, Ste. 102                         Valparaiso, IN 46383
                   Chicago, IL 60614                                   219-299-2230
                   (773) 562-9855; (773) 627-3443
                   Central FG Burger Development, LLC (George Estep)   135S. Chauncey Ave., Ste. 1-K
                   3685 North National Rd.                             West Lafayette, IN 47906
                   Columbus, IN 47201                                  765-743-3100
                   (812) 375-0140
Kansas
                   RWT, LLC (David and Mary Richey)                    1843 Village West Pkwy., #135
                   1907 Quail Run                                      Kansas City, KS 66111
                   Lawrence, KS 66047                                  913-334-4700
                   (785) 840-9161
                   RWT, LLC (David and Mary Richey)                    3930 Rainbow Blvd.
                   1907 Quail Run                                      Kansas City, KS 66013
                   Lawrence, KS 66047
                   (785) 840-9161
                   RWT, LLC (David and Mary Richey)                    2040-B 31st St.
                   1907 Quail Run                                      Lawrence, KS 66046
                   Lawrence, KS 66047
                   (785) 840-9161
                   RWT, LLC (David and Mary Richey)                    518 Tuttle Creek Blvd., Ste. 120
                   1907 Quail Run                                      Manhattan, KS 66502
                   Lawrence, KS 66047                                  785-565-9000
                   (785) 840-9161
                   KCFGB, LLC (Randy Brock)*                           5922 Barkley St., Ste. 101
                   8900 State Line Rd., Ste. 415                       Mission, KS 66202
                   Leawood, KS 66206                                   913-296-7560
                   (816) 674-5290, (913) 385-0926
                   KCFGB, LLC (Randy Brock)*                           14965-67 W. 119th St.
                   8900 State Line Rd., Ste. 415                       Olathe, KS 66062
                   Leawood, KS 66206                                   913-780-4987
                   (816) 674-5290, (913) 385-0926
                   KCFGB, LLC (Randy Brock)*                           12025 Metcalf Ave.
                   8900 State Line Rd., Ste. 415                       Overland Park, KS 66213
                   Leawood, KS 66206                                   913-345-1512
                   (816) 674-5290, (913) 385-0926
                   KCFGB, LLC (Randy Brock)*                           11333 W. 95th St.
                   8900 State Line Rd., Ste. 415                       Overland Park, KS 66124
                   Leawood, KS 66206                                   913-492-3423
                   (816) 674-5290, (913) 385-0926
                   RWT, LLC (David and Mary Richey)                    3015 S. 9th St.
                   1907 Quail Run                                      Salina, KS 67401
                   Lawrence, KS 66047                                  785-822-0675
                   (785) 840-9161
                   RWT, LLC (David and Mary Richey)                    1191 Wanamaker Rd., Ste. B
                   1907 Quail Run                                      Topeka, KS 66604
                   Lawrence, KS 66047                                  785-273-1730
                   (785) 840-9161


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                                    312
    STATE                    FRANCHISEE NAME & ADDRESS                         ADDRESS OF STORES
                   Red Letter J, Inc. (Jeff Miller and Jay Miller)       2929 N. Rock Rd.
                   2929 N. Rock Rd., Ste. 110                            Wichita, KS 67226
                   Wichita, KS 67226                                     316-440-4895
                   (719) 229-4299; (267) 879-3893
                   Red Letter J, Inc. (Jeff Miller and Jay Miller)       3807 N. Maize Rd.
                   2929 N. Rock Rd., Ste. 110                            Wichita, KS 67205
                   Wichita, KS 67226                                     316-722-5489
                   (719) 229-4299; (267) 879-3893
                   Red Letter J, Inc. (Jeff Miller and Jay Miller)       1025 East Douglas Ave.
                   2929 N. Rock Rd., Ste. 110                            Wichita, KS 67202
                   Wichita, KS 67226
                   (719) 229-4299; (267) 879-3893
Kentucky
                   KRNBLZ, LLC (Robert Picerne, Joseph Carroll)          The Mall
                   247 North Westmonte Dr.                               7668 Mall Rd.
                   Altamonte Springs, FL 32714                           Florence, KY 41042
                   (407) 529-7100
                   Barton Restaurant Group, LLC (Tyler Barton, Sharron   2467 Nicholasville Rd.
                   Barton)                                               Lexington, KY 40503
                   8365 Royal Troon Dr.                                  859-260-1471
                   Duluth, GA 30097
                   (859) 913-1059
                   Barton Restaurant Group, LLC (Tyler Barton, Sharron   Helmsdale Place
                   Barton)                                               3090 Helmsdale Place
                   8365 Royal Troon Dr.                                  Lexington, KY 40509
                   Duluth, GA 30097
                   (859) 913-1059
                   737 Ventures LLC (George Estep)                       4116 Summit Plaza Dr.
                   3685 North National Rd.                               Louisville, KY 40241
                   Columbus, IN 47201                                    502-426-1702
                   (812) 343-3027
                   737 Ventures LLC (George Estep)                       4226 Shelbyville Rd.
                   3685 North National Rd.                               Louisville, KY 40207
                   Columbus, IN 47201                                    502-891-8848
                   (812) 343-3027
                   737 Ventures LLC (George Estep)                       4903 Outer Loop
                   3685 North National Rd.                               Louisville, KY 40219
                   Columbus, IN 47201                                    502-822-3702
                   (812) 343-3027
                   737 Ventures LLC (George Estep)                       13303 Shelbyville Rd., Ste. 104
                   3685 North National Rd.                               Louisville, KY 40223
                   Columbus, IN 47201                                    502-244-1027
                   (812) 343-3027
                   KRNBLZ, LLC (Robert Picerne, Joseph Carroll)          Newport On The Levee
                   247 North Westmonte Dr.                               1 Levee Way
                   Altamonte Springs, FL 32714                           Newport, KY 41071
                   (407) 529-7100
                   H4 Properties Inc. (DeWayne Henderson)                2660 Frederica St.
                   1216 Winslow Way                                      Owensboro, KY 42301
                   Paducah, KY 42001                                     270-684-7888
                   (270) 210-4180
                   H4 Properties Inc. (DeWayne Henderson)                5015 Hinkleville Rd.
                   1216 Winslow Way                                      Paducah, KY 42001
                   Paducah, KY 42001                                     270-558-3949
                   (270) 210-4180




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     STATE                  FRANCHISEE NAME & ADDRESS                       ADDRESS OF STORES
Louisiana
                   Bayou’s Best Burgers, LLC (William Jacob, Andrew   2380 Town Center Blvd.
                   Mitts)                                             Baton Rouge, LA 70806
                   18716 Hosmer Mill Rd.                              225-372-2586
                   Covington, LA 70435
                   (404) 790-8028
                   Bayou’s Best Burgers, LLC (William Jacob, Andrew   3332 Highland Dr.
                   Mitts)                                             Baton Rouge, LA 70802
                   18716 Hosmer Mill Rd.
                   Covington, LA 70435
                   (404) 790-8028
                   Bayou’s Best Burgers, LLC (William Jacob, Andrew   14965 Airline Hwy.
                   Mitts)                                             Baton Rouge, LA 70817
                   18716 Hosmer Mill Rd.                              225-930-8563
                   Covington, LA 70435
                   (404) 790-8028
                   Bayou’s Best Burgers, LLC (William Jacob, Andrew   70415 Hwy. 21
                   Mitts)                                             Covington, LA 70435
                   18716 Hosmer Mill Rd.
                   Covington, LA 70435
                   (404) 790-8028
                   Bayou’s Best Burgers, LLC (William Jacob, Andrew   1930 Hammond Square Dr.
                   Mitts)                                             Hammond, LA 70403
                   18716 Hosmer Mill Rd.                              985-261-1010
                   Covington, LA 70435
                   (404) 790-8028
                   Bayou’s Best Burgers, LLC (William Jacob, Andrew   1212 Clearview Pkwy.
                   Mitts)                                             Harahan, LA 70123
                   18716 Hosmer Mill Rd.                              504-733-5100
                   Covington, LA 70435
                   (404) 790-8028
                   Bayou’s Best Burgers, LLC (William Jacob, Andrew   1523 Manhattan Blvd.
                   Mitts)                                             Harvey, LA 70058
                   18716 Hosmer Mill Rd.                              504-609-2289
                   Covington, LA 70435
                   (404) 790-8028
                   Bayou’s Best Burgers, LLC (William Jacob, Andrew   4302 Ambassador Caffery Pkwy., Ste.
                   Mitts)                                             100
                   18716 Hosmer Mill Rd.                              Lafayette, LA 70508
                   Covington, LA 70435                                337-534-0590
                   (404) 790-8028
                   Bayou’s Best Burgers, LLC (William Jacob, Andrew   3100 Severn Ave.
                   Mitts)                                             Metairie, LA 70002
                   18716 Hosmer Mill Rd.                              504-885-0880
                   Covington, LA 70435
                   (404) 790-8028
                   GHG Gulf Coast, LLC (Bill Gellert)                 401 N. Carrollton Ave.
                   173 Whippoorwill Rd.                               New Orleans, LA 70119
                   Hillsdale, NY 12529
                   (914) 643-2180
                   Bayou’s Best Burgers, LLC (William Jacob, Andrew   116 North Town Center Blvd.
                   Mitts)                                             Slidell, LA 70458
                   18716 Hosmer Mill Rd.                              985-707-1103
                   Covington, LA 70435
                   (404) 790-8028




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    STATE                   FRANCHISEE NAME & ADDRESS                            ADDRESS OF STORES
                   Bayou’s Best Burgers, LLC (William Jacob, Andrew        210 N. Canal Blvd.
                   Mitts)                                                  Thibodaux, LA 70301
                   18716 Hosmer Mill Rd.                                   985-492-2525
                   Covington, LA 70435
                   (404) 790-8028
Maine
                   Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   274 Western Ave.
                   2502 Jarratt Ave.                                       Augusta, ME 04330
                   Austin, TX 78703                                        207-512-4505
                   Greg Vasey: (315) 292-8283
                   Jack Goehring: (703) 867-8222
                   Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   878 Stillwater Ave.
                   2502 Jarratt Ave.                                       Bangor, ME 04401
                   Austin, TX 78703                                        207-990-8900
                   Greg Vasey: (315) 292-8283
                   Jack Goehring: (703) 867-8222
                   Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   6 Old Dogs Ln.
                   2502 Jarratt Ave.                                       Biddeford, ME 04005
                   Austin, TX 78703                                        207-805-5655
                   Greg Vasey: (315) 292-8283
                   Jack Goehring: (703) 867-8222
                   Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   170 Bath Rd.
                   2502 Jarratt Ave.                                       Brunswick, ME 04011
                   Austin, TX 78703                                        207-406-4059
                   Greg Vasey: (315) 292-8283
                   Jack Goehring: (703) 867-8222
                   Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   198 Maine Mall Rd.
                   2502 Jarratt Ave.                                       South Portland, ME 04106
                   Austin, TX 78703                                        207-747-0548
                   Greg Vasey: (315) 292-8283
                   Jack Goehring: (703) 867-8222
                   Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   373 Main St.
                   2502 Jarratt Ave.                                       Waterville, ME 04901
                   Austin, TX 78703                                        207-313-5458
                   Greg Vasey: (315) 292-8283
                   Jack Goehring: (703) 867-8222
Maryland
                   For Next Brands, LLC                                    1046 Annapolis Mall
                   9504 Daniel Lewis Ln.                                   Annapolis, MD 21401
                   Vienna, VA 22181                                        410-573-0581
                   (703) 608-0143
                   Pyramid Enterprises, LLC (Stephen Perkins)              10414 Auto Park Dr.
                   3804 Blackthorn St.                                     Bethesda, MD 20817
                   Chevy Chase, MD 20815                                   301-365-9300
                   (703) 919-2566
                   Pyramid Enterprises, LLC (Stephen Perkins)              4829 Bethesda Ave.
                   3804 Blackthorn St.                                     Bethesda, MD 20814
                   Chevy Chase, MD 20815                                   301-657-0007
                   (703) 919-2566
                   Pyramid Enterprises, LLC (Stephen Perkins)              Old Rolling Rd.
                   3804 Blackthorn St.                                     California, MD 20619
                   Chevy Chase, MD 20815                                   301-863-6111
                   (703) 919-2566
                   Michael McLaughlin                                      200 Abruzzi Dr., Ste. C
                   108 Solomans Ridge Ct.                                  Chester, MD 21619
                   Millersville, MD 21108
                   (443) 618-9044


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   STATE                    FRANCHISEE NAME & ADDRESS                         ADDRESS OF STORES
                  T-Rex Enterprises, LLC (Todd Levitt)                  12175 Clarksville Pike, Suite 205
                  21 Eldwick Ct.                                        Clarksville, MD 21029
                  Potomac, MD 20854                                     443-542-0089
                  (301) 983-5617
                  H&I Burgers LLC (Isalmou Boussaa, Hicham Elabbassi)   7730 Old Branch Ave.
                  2110 Ivy Stone Pl.                                    Clinton, MD 20735
                  Woodbridge, VA 22191                                  301-856-5331
                  Hicham Elabbassi: (703) 328-0007
                  Isalmou Boussaa: (703) 595-6785
                  For Next Brands, LLC                                  1060 Crain Hwy.
                  9504 Daniel Lewis Ln.                                 Crofton, MD 21114
                  Vienna, VA 22181                                      410-721-3585
                  (703) 608-0143
                  Michael McLaughlin                                    1401 Merritt Blvd., Ste. J
                  108 Solomans Ridge Ct.                                Dundalk, MD 21222
                  Millersville, MD 21108                                410-285-0001
                  (443) 618-9044
                  Pyramid Enterprises, LLC (Stephen Perkins)            10105 Ward Ave.
                  3804 Blackthorn St.                                   Dunkirk, MD 20754
                  Chevy Chase, MD 20815                                 301-327-5134
                  (703) 919-2566
                  For Next Brands, LLC                                  3059 Solomons Island Rd.
                  9504 Daniel Lewis Ln.                                 Edgewater, MD 21037
                  Vienna, VA 22181                                      410-956-8212
                  (703) 608-0143
                  T-Rex Enterprises, LLC (Todd Levitt)                  1311 Londontown Blvd.
                  21 Eldwick Ct.                                        Eldersburg, MD 21784
                  Potomac, MD 20854                                     410-795-6850
                  (301) 983-5617
                  Pyramid Enterprises, LLC (Stephen Perkins)            15784 Shady Grove Rd.
                  3804 Blackthorn St.                                   Gaithersburg, MD 20877
                  Chevy Chase, MD 20815                                 301-869-3711
                  (703) 919-2566
                  Pyramid Enterprises, LLC (Stephen Perkins)            653 Center Point Way
                  3804 Blackthorn St.                                   Gaithersburg, MD 20878
                  Chevy Chase, MD 20815                                 301-926-9200
                  (703) 919-2566
                  Pyramid Enterprises, LLC (Stephen Perkins)            FirstField Shopping Center
                  3804 Blackthorn St.                                   507 Quince Orchard Road
                  Chevy Chase, MD 20815                                 Gaithersburg, MD 20878
                  (703) 919-2566                                        240-912-6745
                  Michael McLaughlin                                    6711 Ritchie Hwy.
                  108 Solomans Ridge Ct.                                Glen Burnie, MD 21061
                  Millersville, MD 21108                                410-590-3933
                  (443) 618-9044
                  Michael McLaughlin                                    7690 Dorchester Blvd.
                  108 Solomans Ridge Ct.                                Hanover, MD 21076
                  Millersville, MD 21108                                410-799-3933
                  (443) 618-9044
                  Pyramid Enterprises, LLC (Stephen Perkins)            10510 Connecticut Ave.
                  3804 Blackthorn St.                                   Kensington, MD 20895
                  Chevy Chase, MD 20815                                 301-933-5400
                  (703) 919-2566
                  H&I Burgers LLC (Isalmou Boussaa, Hicham Elabbassi)   7 Shining Willow Wa
                  2110 Ivy Stone Pl.                                    La Plata, MD 20646
                  Woodbridge, VA 22191                                  301-392-9959
                  Hicham Elabbassi: (703) 328-0007
                  Isalmou Boussaa: (703) 595-6785

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   STATE                    FRANCHISEE NAME & ADDRESS                         ADDRESS OF STORES
                  T-Rex Enterprises, LLC (Todd Levitt)                  505 E. Ridgeville Blvd.
                  21 Eldwick Ct.                                        Mt. Airy, MD 21771
                  Potomac, MD 20854
                  (301) 983-5617
                  Michael McLaughlin                                    12641 Ocean Gateway, #118
                  108 Solomans Ridge Ct.                                Ocean City, MD 21842
                  Millersville, MD 21108                                410-213-1477
                  (443) 618-9044
                  Michael McLaughlin                                    13601 Coastal Hwy.
                  108 Solomans Ridge Ct.                                Ocean City, MD 21842
                  Millersville, MD 21108                                410-250-1199
                  (443) 618-9044
                  H&I Burgers LLC (Isalmou Boussaa, Hicham Elabbassi)   6017 Oxon Hill Rd., Unit H
                  2110 Ivy Stone Pl.                                    Oxon Hill, MD 20745
                  Woodbridge, VA 22191                                  240-253-2501
                  Hicham Elabbassi: (703) 328-0007
                  Isalmou Boussaa: (703) 595-6785
                  Michael McLaughlin                                    4131 Mountain Rd.
                  108 Solomans Ridge Ct.                                Pasadena, MD 21122
                  Millersville, MD 21108                                410-255-0050
                  (443) 618-9044
                  Pyramid Enterprises, LLC (Steve Perkins)              9812 Falls Rd., Ste. 107
                  3804 Blackthorn St.                                   Potomac, MD 20854
                  Chevy Chase, MD 20815
                  (703) 919-2566, (202) 478-8649
                  Pyramid Enterprises, LLC (Steve Perkins)              Solomans Island Rd. and Stoakley Rd.
                  3804 Blackthorn St.                                   Prince Frederick, MD 20678
                  Chevy Chase, MD 20815                                 443-486-4200
                  (703) 919-2566
                  Pyramid Enterprises, LLC (Steve Perkins)              130 Gibbs St.
                  3804 Blackthorn St.                                   Rockville, MD 20850
                  Chevy Chase, MD 20815                                 301-762-3500
                  (703) 919-2566
                  Pyramid Enterprises, LLC (Steve Perkins)              12238 Rockville Pike
                  3804 Blackthorn St.                                   Rockville, MD 20852
                  Chevy Chase, MD 20815
                  (703) 919-2566, (202) 478-8649
                  Michael McLaughlin                                    1311 Salisbury Blvd.
                  108 Solomans Ridge Ct.                                Salisbury, MD 21804
                  Millersville, MD 21108                                410-742-0202
                  (443) 618-9044
                  Michael McLaughlin                                    2408-A N. Salisbury Blvd.
                  108 Solomans Ridge Ct.                                Salisbury, MD 21801
                  Millersville, MD 21108                                410-546-7707
                  (443) 618-9044
                  For Next Brands, LLC                                  Severna Park Marketplace
                  9504 Daniel Lewis Ln.                                 549 Governor Ritchie Hwy.
                  Vienna, VA 22181                                      Severna Park, MD 21146
                  (703) 608-0143
                  H&I Burgers LLC (Isalmou Boussaa, Hicham Elabbassi)   3235-B Plaza Way
                  2110 Ivy Stone Pl.                                    Waldorf, MD 20602
                  Woodbridge, VA 22191                                  301-932-4344
                  Hicham Elabbassi: (703) 328-0007
                  Isalmou Boussaa: (703) 595-6785
                  T-Rex Enterprises, LLC (Todd Levitt)                  596 Jermor Ln.
                  21 Eldwick Ct.                                        Westminster, MD 21157
                  Potomac, MD 20854                                     410-751-9969
                  (301) 983-5617

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    STATE                    FRANCHISEE NAME & ADDRESS                            ADDRESS OF STORES
Massachusetts
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   263 Huntington Ave.
                    2502 Jarratt Ave.                                       Boston, MA 02115
                    Austin, TX 78703                                        617-572-2074
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   1223 Commonwealth Ave.
                    2502 Jarratt Ave.                                       Boston, MA 02134
                    Austin, TX 78703                                        617-208-6283
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   58 Summer St.
                    2502 Jarratt Ave.                                       Boston, MA 02110
                    Austin, TX 78703
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Encore FGBF Massachusetts, LLC (Bharat Sangani)         30-E Forbes Ave.
                    c/o Encore Restaurants, LLC                             Braintree, MA 02184
                    5005 LBJ Freeway, Ste. 1200
                    Dallas, TX 75244
                    (214) 259-7004
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   27 Westgate Dr.
                    2502 Jarratt Ave.                                       Brockton, MA 02301
                    Austin, TX 78703                                        774-381-7921
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        Middlesex Commons
                    125 West Burton Ave., Ste. 2                            43 Middlesex Turnpike
                    Salt Lake City, UT 84115                                Burlington, MA 08103
                    (801) 231-6101
                    Encore FGBF Massachusetts, LLC (Bharat Sangani)         Mall at 95 Washington St., #206
                    c/o Encore Restaurants, LLC                             Canton, MA 02021
                    5005 LBJ Freeway, Ste. 1200                             781-828-4204
                    Dallas, TX 75244
                    (214) 259-7004
                    Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        90 Drum Hill Rd.
                    125 West Burton Ave., Ste. 2                            Chelmsford, MA 01824
                    Salt Lake City, UT 84115                                978-454-4555
                    (801) 231-6101
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   Mystic Mall
                    2502 Jarratt Ave.                                       158 Everett Ave.
                    Austin, TX 78703                                        Chelsea, MA 02150
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   474 B Memorial Dr.
                    2502 Jarratt Ave.                                       Chicopee, MA 01020
                    Austin, TX 78703                                        413-331-2227
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Encore FGBF Massachusetts, LLC (Bharat Sangani)         170 Providence Hwy.
                    c/o Encore Restaurants, LLC                             Dedham, MA 02026
                    5005 LBJ Freeway, Ste. 1200                             981-326-1158
                    Dallas, TX 75244
                    (214) 259-7004




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   STATE                    FRANCHISEE NAME & ADDRESS                            ADDRESS OF STORES
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   450 Williams Canning Blvd.
                  2502 Jarratt Ave.                                       Fall River, MA 02721
                  Austin, TX 78703                                        508-567-6425
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Encore FGBF Massachusetts, LLC (Bharat Sangani)         Patriot Place
                  c/o Encore Restaurants, LLC                             1 Patriot Place
                  5005 LBJ Freeway, Ste. 1200                             Foxborough, MA 02035
                  Dallas, TX 75244                                        508-203-9441
                  (214) 259-7004
                  Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        341 Cochituate Rd.
                  125 West Burton Ave., Ste. 2                            Framingham, MA 01701
                  Salt Lake City, UT 84115                                508-879-7500
                  (801) 231-6101
                  Encore FGBF Massachusetts, LLC (Bharat Sangani)         268 B Franklin Village Dr.
                  c/o Encore Restaurants, LLC                             Franklin, MA 02038
                  5005 LBJ Freeway, Ste. 1200                             508-320-3911
                  Dallas, TX 75244
                  (214) 259-7004
                  Hyde Park Burgers, LLC (Greg Vasey and Jack             335 Russell St.
                  Goehring)*                                              Hadley, MA 01035
                  2502 Jarratt Ave.
                  Austin, TX 78703
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   1207 Washington St., Ste. 50
                  2502 Jarratt Ave.                                       Hanover, MA 02339
                  Austin, TX 78703
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   89 Plaistow Rd.
                  2502 Jarratt Ave.                                       Haverhill, MA 01830
                  Austin, TX 78703                                        978-361-2696
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  BLMT Ventures, LLC (Mike Baldwin and Tom Baldwin)       769 Lyannough Rd.
                  15 Pheasant Ln.                                         Hyannis, MA 02601
                  Menands, NY 12204                                       508-771-1939
                  (203) 913-0778                                          508-775-0648 (fax)
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   886 Merriam Ave.
                  2502 Jarratt Ave.                                       Leominster, MA 01453
                  Austin, TX 78703                                        978-751-8925
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        197 K-1 Boston Post Rd.
                  125 West Burton Ave., Ste. 2                            Marlborough, MA 01752
                  Salt Lake City, UT 84115                                508-281-4855
                  (801) 231-6101
                  Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        65 Station Landing
                  125 West Burton Ave., Ste. 2                            Medford, MA 02155
                  Salt Lake City, UT 84115
                  (801) 231-6101
                  Encore FGBF Massachusetts, LLC (Bharat Sangani)         9 Medway Rd., Unit 9A
                  c/o Encore Restaurants, LLC                             Milford, MA 01757
                  5005 LBJ Freeway, Ste. 1200
                  Dallas, TX 75244
                  (214) 259-7004


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   STATE                    FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                  Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        841 Worcester Rd.
                  125 West Burton Ave., Ste. 2                            Natick, MA
                  Salt Lake City, UT 84115                                508-650-5100
                  (801) 231-6101
                  Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        215 Needham St.
                  125 West Burton Ave., Ste. 2                            Newton, MA 02464
                  Salt Lake City, UT 84115                                617-332-5555
                  (801) 231-6101
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   115 Turnpike St.
                  2502 Jarratt Ave.                                       North Andover, MA 01845
                  Austin, TX 78703                                        978-655-8380
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   85-D Faunce Corner Mall Rd.
                  2502 Jarratt Ave.                                       North Dartmouth, MA 02747
                  Austin, TX 78703                                        508-858-5030
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  G.F. Vasey Holdings, LLC (Greg Vasey and Jack           227 Andover St.
                  Goehring)                                               Peabody, MA 01960
                  2502 Jarratt Ave.
                  Austin, TX 78703
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  RSVT Holding, LLC (Tejraj Hada)                         660 Merrill Rd.
                  600 North Greenbush Rd.                                 Pittsfield, MA 01201
                  Rensselaer, NY 12144
                  (518) 488-4060
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   51 Commerce Way
                  2502 Jarratt Ave.                                       Plymouth, MA 02360
                  Austin, TX 78703                                        774-283-4057
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Encore FGBF Massachusetts, LLC (Bharat Sangani)         250 Hancock Street
                  c/o Encore Restaurants, LLC                             Quincy, MA 02169
                  5005 LBJ Freeway, Ste. 1200                             617-481-8635
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Massachusetts, LLC (Bharat Sangani)         7 Warren St., Unit 12
                  c/o Encore Restaurants, LLC                             Randolph, MA 02368
                  5005 LBJ Freeway, Ste. 1200                             781-963-0600
                  Dallas, TX 75244
                  (214) 259-7004
                  G.F. Vasey Holdings, LLC (Greg Vasey and Jack           180 Main St.
                  Goehring)                                               Saugus, MA 01906
                  2502 Jarratt Ave.
                  Austin, TX 78703
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   1080 Fall River Ave.
                  2502 Jarratt Ave.                                       Seekonk, MA 02771
                  Austin, TX 78703                                        508-336-5577
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        20-7 Boston Turnpike
                  125 West Burton Ave., Ste. 2                            Shrewsbury, MA 01545
                  Salt Lake City, UT 84115
                  (801) 231-6101

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   STATE                    FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   68 Washington St.
                  2502 Jarratt Ave.                                       South Attleboro, MA 02703
                  Austin, TX 78703                                        508-915-6177
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        109 Main St.
                  125 West Burton Ave., Ste. 2                            Stoneham, MA 02180
                  Salt Lake City, UT 84115
                  (801) 231-6101
                  Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        26 Galaxy Pass
                  125 West Burton Ave., Ste. 2                            Sutton, MA 01590
                  Salt Lake City, UT 84115                                508-917-8555
                  (801) 231-6101
                  G.F. Vasey Holdings, LLC (Greg Vasey and Jack           980 Paradise Rd.
                  Goehring)                                               Swampscott, MA 01907
                  2502 Jarratt Ave.                                       781-595-1300
                  Austin, TX 78703
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   573 GAR Hwy.
                  2502 Jarratt Ave.                                       Swansea, MA 02777
                  Austin, TX 78703
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Encore FGBF Massachusetts, LLC (Bharat Sangani)         104 East Providence Hwy.
                  c/o Encore Restaurants, LLC                             Walpole, MA 02081
                  5005 LBJ Freeway, Ste. 1200                             508-660-9850
                  Dallas, TX 75244
                  (214) 259-7004
                  Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        1030 Main St.
                  125 West Burton Ave., Ste. 2                            Waltham, MA 02451
                  Salt Lake City, UT 84115                                781-647-0555
                  (801) 231-6101
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   20 Rosebrook Place, #3
                  2502 Jarratt Ave.                                       Wareham, MA 02571
                  Austin, TX 78703                                        508-273-7156
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   437 E. Main St.
                  2502 Jarratt Ave.                                       Westfield, MA 01085
                  Austin, TX 78703
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        Westford Valley Marketplace
                  125 West Burton Ave., Ste. 2                            10 Cornerstone Square
                  Salt Lake City, UT 84115                                Westford, MA 01886
                  (801) 231-6101
                  Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)   1286 Riverside St.
                  2502 Jarratt Ave.                                       West Springfield, MA 01085
                  Austin, TX 78703
                  Greg Vasey: (315) 292-8283
                  Jack Goehring: (703) 867-8222
                  Mass 5G LLC (Jeffrey Howes and Corbin Robertson)        535 Lincoln St., #13
                  125 West Burton Ave., Ste. 2                            Worcester, MA 01605
                  Salt Lake City, UT 84115                                508-853-2000
                  (801) 231-6101



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    STATE                   FRANCHISEE NAME & ADDRESS                            ADDRESS OF STORES
Minnesota
                   Credo, LLC (Kristopher Humphries)                       6415 Labeaux Ave, NE, Ste. C-110
                   3890 Lone Cedar Ln.                                     Albertville, MN 55301
                   Chaska, MN 55318                                        763-497-1399
                   (612) 281-7271
                   B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   14658 Cedar Ave.
                   707 Osterman Ave.                                       Apple Valley, MN 55124
                   P.O. Box 27                                             651-333-9268
                   Deerfield, IL 60015
                   Scott Lesser: (847) 946-7666
                   Ryan Dussault: (612) 964-2290
                   Credo, LLC (Kristopher Humphries)                       14023 Edgewood Dr., N Suite D
                   3890 Lone Cedar Ln.                                     Baxter, MN 56425
                   Chaska, MN 55318                                        218-829-0453
                   (612) 281-7271
                   B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   1404 County Rd. 42 West
                   707 Osterman Ave.                                       Burnsville, MN 55337
                   P.O. Box 27                                             952-406-8673
                   Deerfield, IL 60015
                   Scott Lesser: (847) 946-7666
                   Ryan Dussault: (612) 964-2290
                   B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   12475 Riverdale Blvd. NW
                   707 Osterman Ave.                                       Coon Rapids, MN 55433
                   P.O. Box 27                                             763-208-1106
                   Deerfield, IL 60015
                   Scott Lesser: (847) 946-7666
                   Ryan Dussault: (612) 964-2290
                   Credo, LLC (Kristopher Humphries)                       1600 Miller Truck Hwy.
                   3890 Lone Cedar Ln.                                     Duluth, MN 55811
                   Chaska, MN 55318                                        218-729-9860
                   (612) 281-7271
                   B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   12900 Technology Dr., Ste. 190
                   707 Osterman Ave.                                       Eden Prairie, MN 55344
                   P.O. Box 27                                             952-942-1111
                   Deerfield, IL 60015
                   Scott Lesser: (847) 946-7666
                   Ryan Dussault: (612) 964-2290
                   B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   3871 Gallagher Dr.
                   707 Osterman Ave.                                       Edina, MN 55435
                   P.O. Box 27                                             952-893-5489
                   Deerfield, IL 60015
                   Scott Lesser: (847) 946-7666
                   Ryan Dussault: (612) 964-2290
                   B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   525 Blake Rd. N
                   707 Osterman Ave.                                       Hopkins, MN 55343
                   P.O. Box 27                                             952-479-7849
                   Deerfield, IL 60015
                   Scott Lesser: (847) 946-7666
                   Ryan Dussault: (612) 964-2290
                   Credo, LLC (Kristopher Humphries)                       1920 Adam St.
                   3890 Lone Cedar Ln.                                     Mankato, MN 56001
                   Chaska, MN 55318
                   (612) 281-7271




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   STATE                    FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                  B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   7814 Main St. N.
                  707 Osterman Ave.                                       Maple Grove, MN 55369
                  P.O. Box 27                                             763-425-5489
                  Deerfield, IL 60015
                  Scott Lesser: (847) 946-7666
                  Ryan Dussault: (612) 964-2290
                  B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   2300 Hennepin Ave.
                  707 Osterman Ave.                                       Minneapolis, MN 55409
                  P.O. Box 27
                  Deerfield, IL 60015
                  Scott Lesser: (847) 946-7666
                  Ryan Dussault: (612) 964-2290
                  B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   555 Nicollet Mall
                  707 Osterman Ave.                                       Minneapolis, MN 55402
                  P.O. Box 27                                             612-208-1812
                  Deerfield, IL 60015
                  Scott Lesser: (847) 946-7666
                  Ryan Dussault: (612) 964-2290
                  B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   4105 Vinewood Ln.
                  707 Osterman Ave.                                       North Plymouth, MN 55442
                  P.O. Box 27
                  Deerfield, IL 60015
                  Scott Lesser: (847) 946-7666
                  Ryan Dussault: (612) 964-2290
                  B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   8360 3rd St. N.
                  707 Osterman Ave.                                       Oakdale, MN 55128
                  P.O. Box 27
                  Deerfield, IL 60015
                  Scott Lesser: (847) 946-7666
                  Ryan Dussault: (612) 964-2290
                  B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   1844 66th Street, Suite 100
                  707 Osterman Ave.                                       Richfield, MN 55423
                  P.O. Box 27                                             612-339-3733
                  Deerfield, IL 60015
                  Scott Lesser: (847) 946-7666
                  Ryan Dussault: (612) 964-2290
                  Credo, LLC (Kristopher Humphries)                       2800 41st St. NW
                  3890 Lone Cedar Ln.                                     Rochester, MN 55901
                  Chaska, MN 55318                                        507-288-1464
                  (612) 281-7271
                  B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   8090 Old Carriage Ct., Ste. C
                  707 Osterman Ave.                                       Shakopee, MN 55379
                  P.O. Box 27                                             952-452-8131
                  Deerfield, IL 60015
                  Scott Lesser: (847) 946-7666
                  Ryan Dussault: (612) 964-2290
                  B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   1021 Red Fox Rd.
                  707 Osterman Ave.                                       Shoreview, MN 55126
                  P.O. Box 27
                  Deerfield, IL 60015
                  Scott Lesser: (847) 946-7666
                  Ryan Dussault: (612) 964-2290
                  Credo, LLC (Kristopher Humphries)                       4144 2nd St. S.
                  3890 Lone Cedar Ln.                                     St. Cloud, MN, 56301
                  Chaska, MN 55318                                        320-217-2413
                  (612) 281-7271



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     STATE                    FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                    B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   5699 West 16th St.
                    707 Osterman Ave.                                       St. Louis Park, MN 55416
                    P.O. Box 27                                             763-432-0874
                    Deerfield, IL 60015
                    Scott Lesser: (847) 946-7666
                    Ryan Dussault: (612) 964-2290
                    B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   2026 Ford Pkwy.
                    707 Osterman Ave.                                       St. Paul, MN 55116
                    P.O. Box 27                                             651-528-6078
                    Deerfield, IL 60015
                    Scott Lesser: (847) 946-7666
                    Ryan Dussault: (612) 964-2290
Mississippi
                    GHG Gulf Coast, LLC (Bill Gellert)                      3840 Promenade Pkwy., Ste. N-1
                    173 Whippoorwill Rd.                                    D’Iberville, MS 39540
                    Hillsdale, NY 12529                                     228-392-3390
                    (914) 643-2180
                    GHG Gulf Coast, LLC (Bill Gellert)                      10495 Hwy. 49
                    173 Whippoorwill Rd.                                    Gulfport, MS 39503
                    Hillsdale, NY 12529                                     228-832-2212
                    (914) 643-2180
Missouri
                    KCFGB, LLC (Randy Brock)*                               144 Cedar Tree Dr., Ste. 172
                    8100 E. 22nd St. N                                      Belton, MO 64012
                    Wichita, KS 67226
                    (316) 304-3494
                    KCFGB, LLC (Randy Brock)*                               1202 NE Coronado Dr.
                    8100 E. 22nd St. N                                      Blue Springs, MO 64014
                    Wichita, KS 67226                                       816-229-3700
                    (316) 304-3494
                    Jeff Offutt                                             Stadium Shops
                    2000 Forum Blvd. #4                                     211 North Stadium, Ste. 103
                    Columbia, MO 65203                                      Columbia, MO 62203
                    (573) 489-5642, (573) 445-0015
                    Jeff Offutt                                             2703 E. Broadway Bluffs, Ste. 240
                    2000 Forum Blvd. #4                                     Columbia, MO 65201
                    Columbia, MO 65203
                    (573) 489-5642, (573) 445-0015
                    KCFGB, LLC (Randy Brock)*                               4140 S. Noland Rd.
                    8100 E. 22nd St. N                                      Independence, MO 64055
                    Wichita, KS 67226                                       816-886-0098
                    (316) 304-3494
                    Jeff Offutt                                             1801 S. Range Line Rd.
                    2000 Forum Blvd. #4                                     Joplin, MO 64801
                    Columbia, MO 65203                                      417-206-4000
                    (573) 489-5642, (573) 445-0015
                    RWT 31st, LLC (David and Mary Richey, Dustin and        8952 NW Skyview Ave.
                    Kathy Walker)                                           Kansas City, MO 64154
                    1907 Quail Run                                          816-584-9090
                    Lawrence, KS 66047
                    (785) 840-9161
                    KCFGB, LLC (Randy Brock)*                               8600 Ward Pkwy.
                    8100 E. 22nd St. N                                      Kansas City, MO 64114
                    Wichita, KS 67226                                       816-333-4897
                    (316) 304-3494




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    STATE                    FRANCHISEE NAME & ADDRESS                 ADDRESS OF STORES
                   KCFGB, LLC (Randy Brock)*                     5223 NE Antioch
                   8100 E. 22nd St. N                            Kansas City, MO 64119
                   Wichita, KS 67226                             816-453-4141
                   (316) 304-3494
                   KCFGB, LLC (Randy Brock)*                     614 NE M29
                   8100 E. 22nd St. N                            Lees Summit, MO 64086
                   Wichita, KS 67226                             816-525-2582
                   (316) 304-3494
                   KCFGB, LLC (Randy Brock)*                     118 N. Conister Dr., Ste. H
                   8100 E. 22nd St. N                            Liberty, MO 64068
                   Wichita, KS 67226                             816-792-0511
                   (316) 304-3494
                   Jeff Offutt                                   Battlefield Mall
                   2000 Forum Blvd. #4                           101 Battlefield Mall, Ste. H08E
                   Columbia, MO 65203                            Springfield, MO 65804
                   Jeff Offutt                                   Town and Country Shopping Center
                   2000 Forum Blvd. #4                           2711-A North Kansas Expressway
                   Columbia, MO 65203                            Springfield, MO 65803
                   (573) 489-5642, (573) 445-0015                417-864-3694
                   RWT, LLC (David and Mary Richey)              3700 Frederick Blvd., Ste. A
                   1907 Quail Run                                St. Joseph, MO 64506
                   Lawrence, KS 66047                            816-233-9500
                   (785) 840-9161
Montana
                   Montana Burgers Inc. (Patrick Carls)          1020 Shiloh Crossing Blvd., Ste. 4
                   2808 Carla Jo Ln.                             Billings, MT 59102
                   Missoula, MT 59803                            406-601-1066
                   (509) 991-9663
                   Montana Burgers Inc. (Patrick Carls)          2855 N. 19th Ave., Ste. M
                   2808 Carla Jo Ln.                             Bozeman, MT 59718
                   Missoula, MT 59803                            406-586-9395
                   (509) 991-9663
                   Montana Burgers Inc. (Patrick Carls)          2104 10th Ave. South
                   2808 Carla Jo Ln.                             Great Falls, MT 59405
                   Missoula, MT 59803                            406-952-0133
                   (509) 991-9663
                   Montana Burgers Inc. (Patrick Carls)          2415 Hwy. 93, #3
                   2808 Carla Jo Ln.                             Kalispell, MT 59901
                   Missoula, MT 59803                            406-752-4567
                   (509) 991-9663
                   Montana Burgers Inc. (Patrick Carls)          820 E. Broadway
                   2808 Carla Jo Ln.                             Missoula, MT 59801
                   Missoula, MT 59803                            406-830-3262
                   (509) 991-9663
Nebraska
                   Lowell Circle Investments, LLC (Ryan Funke)   2525 Pine Lake Rd., Ste. 207
                   4201 Lowell Circle                            Lincoln, NE 68512
                   Lincoln, NE 68502                             402-423-4009
                   (402) 297-1531
                   Lowell Circle Investments, LLC (Ryan Funke)   6200 O St.
                   4201 Lowell Circle                            Lincoln, NE 68510
                   Lincoln, NE 68502                             402-488-0580
                   (402) 297-1531




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                                    325
    STATE                    FRANCHISEE NAME & ADDRESS                            ADDRESS OF STORES
                   Lowell Circle Investments, LLC (Ryan Funke)              697 132nd St.
                   4201 Lowell Circle                                       Omaha, NE 68154
                   Lincoln, NE 68502                                        402-496-5366
                   (402) 297-1531
                   Lowell Circle Investments, LLC (Ryan Funke)              7345 Dodge St.
                   4201 Lowell Circle                                       Omaha, NE 68114
                   Lincoln, NE 68502                                        402-393-5200
                   (402) 297-1531
                   Lowell Circle Investments, LLC (Ryan Funke)              8540 71st St.
                   4201 Lowell Circle                                       Papillion, NE 68133
                   Lincoln, NE 68502                                        402-596-0000
                   (402) 297-1531
Nevada
                   RMR5 Nevada, LLC (Russel Rosenblum)                      10271 S. Eastern, Ste. 101
                   15 Echo Park Ln.                                         Henderson, NV 89052
                   Las Vegas, NV 89135
                   (801) 231-6101
                   RMR5 Nevada, LLC (Russel Rosenblum)                      1321 West Sunset Rd.
                   15 Echo Park Ln.                                         Henderson, NV 89014
                   Las Vegas, NV 89135                                      702-816-4100
                   (801) 231-6101
                   RMR5 Nevada, LLC (Russel Rosenblum)                      9484 Flamingo Rd., Ste. 180
                   15 Echo Park Ln.                                         Las Vegas, NV 89147
                   Las Vegas, NV 89135
                   (801) 231-6101
                   RMR5 Nevada, LLC (Russel Rosenblum)                      7580 South Las Vegas Blvd., Ste. 120
                   15 Echo Park Ln.                                         Las Vegas, NV 89123
                   Las Vegas, NV 89135
                   (801) 231-6101
                   RMR5 Nevada, LLC (Russel Rosenblum)                      7290 W. Lake Mead Blvd.
                   15 Echo Park Ln.                                         Las Vegas, NV 89128
                   Las Vegas, NV 89135
                   (801) 231-6101
                   RMR5 Nevada, LLC (Russel Rosenblum)                      UNLV
                   15 Echo Park Ln.                                         4065 South Maryland Pkwy.
                   Las Vegas, NV 89135                                      Las Vegas, NV 89119
                   (801) 231-6101
                   RMR5 Nevada, LLC (Russel Rosenblum)                      10965 Lavender Hills Dr., Ste. 150
                   15 Echo Park Ln.                                         Las Vegas, NV 89135
                   Las Vegas, NV 89135                                      702-786-6000
                   (801) 231-6101
                   RMR5 Nevada, LLC (Russel Rosenblum)                      2520 E. Craig St., #110
                   15 Echo Park Ln.                                         North Las Vegas, NV 89030
                   Las Vegas, NV 89135
                   (801) 231-6101
                   RMR5 Nevada, LLC (Russel Rosenblum)                      6395 McCarran, Ste. 400
                   15 Echo Park Ln.                                         Reno, NV 89509
                   Las Vegas, NV 89135                                      775-737-4544
                   (801) 231-6101
New Hampshire
                   Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   56 Fort Eddy Rd.
                   173 Whippoorwill Rd.                                     Concord, NH 03301
                   Hillsdale, NY 12529                                      603-856-8107
                   (914) 643-2180; (518) 325-9717




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    STATE                      FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                    Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   61 Crystal Dr.
                    173 Whippoorwill Rd.                                     Derry, NH 03038
                    Hillsdale, NY 12529                                      603-818-8290
                    (914) 643-2180; (518) 325-9717
                    Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   15 Webb Place
                    173 Whippoorwill Rd.                                     Dover, NH 03820
                    Hillsdale, NY 12529
                    (914) 643-2180; (518) 325-9717
                    Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   363 Winchester St.
                    173 Whippoorwill Rd.                                     Keene, NH 03431
                    Hillsdale, NY 12529
                    (914) 643-2180; (518) 325-9717
                    Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   1111 South Willow St.
                    173 Whippoorwill Rd.                                     Manchester, NH 03820
                    Hillsdale, NY 12529                                      603-836-5657
                    (914) 643-2180; (518) 325-9717
                    Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   341 Amherst St.
                    173 Whippoorwill Rd.                                     Nashua, NH 03063
                    Hillsdale, NY 12529                                      603-589-7881
                    (914) 643-2180; (518) 325-9717
                    Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   258 Daniel Webster Hwy.
                    173 Whippoorwill Rd.                                     Nashua, NH 03060
                    Hillsdale, NY 12529                                      603-897-0025
                    (914) 643-2180; (518) 325-9717
                    Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   1390 Lafayette Rd.
                    173 Whippoorwill Rd.                                     Portsmouth, NH 03801
                    Hillsdale, NY 12529                                      603-427-8931
                    (914) 643-2180; (518) 325-9717
                    Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   291 South Broadway
                    173 Whippoorwill Rd.                                     Salem, NH 03079
                    Hillsdale, NY 12529                                      603-824-6945
                    (914) 643-2180; (518) 325-9717
                    Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   380 Lafayette Rd.
                    173 Whippoorwill Rd.                                     Seabrook, NH 03874
                    Hillsdale, NY 12529                                      603-814-1235
                    (914) 643-2180; (518) 325-9717
                    Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   120 Laconia Road, Suite 510
                    173 Whippoorwill Rd.                                     Tilton, NH 03276
                    Hillsdale, NY 12529                                      603-729-0054
                    (914) 643-2180; (518) 325-9717
                    Four Cousins Burgers & Fries of NH, LLC (Bill Gellert)   Upper Valley Plaza
                    173 Whippoorwill Rd.                                     250 Plainfield Rd.
                    Hillsdale, NY 12529                                      West Lebanon, NH 03784
                    (914) 643-2180; (518) 325-9717
New Jersey
                    Rockham 5G NJ, LLC (Drew Smith)                          720 Whitehorse Pkwy.
                    Post Office Box 1437                                     Absecon, NJ 08201
                    Exton, PA 19343                                          609-641-5558
                    (703) 869-8483
                    Rockham Hudson LLC (Drew Smith)                          Bayonne Crossing
                    Post Office Box 1437                                     301 Bayonne Crossing Way
                    Exton, PA 19343                                          Bayonne, NJ 07002
                    (703) 869-8483
                    Rockham MO, LLC (Drew Smith)                             588 Route 70
                    Post Office Box 1437                                     Brick, NJ 08723
                    Exton, PA 19343                                          732-262-4040
                    (703) 869-8483


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                                    327
   STATE                    FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                  Rockham 5G NJ, LLC (Drew Smith)                         1650 Kings Hwy. N.
                  Post Office Box 1437                                    Cherry Hill, NJ 08034
                  Exton, PA 19343                                         856-795-1455
                  (703) 869-8483
                  ZG Burgers LLC (Hengwei Zhao, Yanmei Gao)               233 US 206
                  115 Lands End Rd.                                       Chester, NJ 07930
                  Wilmington, DE 19807                                    908-888-2121
                  (302) 740-7424
                  Marlton 5G Inc. (Cha Chung and Shin Chung)              1341 Fairview Blvd., Ste. G
                  2017 Queen Anne Rd.                                     Delran, NJ 08075
                  Cherry Hill, NJ 08003                                   856-544-3238
                  (856) 465-6476
                  ZG Burgers LLC (Hengwei Zhao, Yanmei Gao)               3056 Rt 10, Ste. C-10
                  115 Lands End Rd.                                       Denville, NJ 07834
                  Wilmington, DE 19807                                    913-366-0655
                  (302) 740-7424
                  Rockham 5G NJ, LLC (Drew Smith)                         2000 Clements Bridge Rd., A-100
                  Post Office Box 1437                                    Deptford, NJ 08096
                  Exton, PA 19343                                         856-845-5489
                  (703) 869-8483
                  Rockham NNJ, LLC (Drew Smith)                           50 Racetrack Rd.
                  1406 Walnut St.                                         East Brunswick, NJ 08816
                  Coatesville, PA 19320                                   732-254-8888
                  (703) 869-8483
                  ZG Burgers LLC (Hengwei Zhao, Yanmei Gao)               240 State Rt. 10
                  115 Lands End Rd.                                       East Hanover, NJ 07936
                  Wilmington, DE 19807
                  (302) 740-7424
                  Sheridan Group (Edward Sheridan and Patrick Sheridan)   54 Route 17 N.
                  77 Knollwood Rd.                                        East Rutherford, NJ 07073
                  Short Hills, NJ 07078                                   201-507-5550
                  (973) 467-4634
                  Sheridan Group (Edward Sheridan and Patrick Sheridan)   300 Paterson Plank Rd.
                  77 Knollwood Rd.                                        East Rutherford, NJ 07073
                  Short Hills, NJ 07078                                   551-217-7702
                  (973) 467-4634
                  Sunbeam Ewing, Inc. (Vijay Padodara)*                   540 US Highway 130
                  2817 River Willow Dr.                                   East Windsor, NJ 08520
                  Furlong, PA 18925                                       609-301-8348
                  (908) 251-3083
                  Sheridan Group (Edward Sheridan and Patrick Sheridan)   45 River Rd.
                  77 Knollwood Rd.                                        Edgewater, NJ 07020
                  Short Hills, NJ 07078                                   201-482-4614
                  (973) 467-4634
                  Sunbeam Ewing, Inc. (Vijay Padodara)*                   7 Scotch Rd.
                  2817 River Willow Dr.                                   Ewing, NJ 08628
                  Furlong, PA 18925                                       609-882-7999
                  (908) 251-3083
                  Sheridan Group (Edward Sheridan and Patrick Sheridan)   450 Hackensack Ave.
                  77 Knollwood Rd.                                        Hackensack, NJ 07601
                  Short Hills, NJ 07078                                   201-343-5489
                  (973) 467-4634
                  Rockham Hudson LLC (Drew Smith)                         701 Frank E. Rogers Blvd.
                  Post Office Box 1437                                    Harrison, NJ 07029
                  Exton, PA 19343
                  (703) 869-8483



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   STATE                    FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                  Sunbeam Ewing, Inc. (Vijay Padodara)*                   415 Amwell Rd.
                  2817 River Willow Dr.                                   Hillsborough, NJ 08844
                  Furlong, PA 18925
                  (908) 251-3083
                  Rockham MO, LLC (Drew Smith)                            4220 Route 9
                  Post Office Box 1437                                    Howell, NJ 07731
                  Exton, PA 19343                                         732-364-6805
                  (703) 869-8483
                  Rockham Hudson LLC (Drew Smith)                         23 University Place Blvd., 1st Floor
                  Post Office Box 1437                                    Jersey City, NJ 07305
                  Exton, PA 19343
                  (703) 869-8483
                  Rockham Hudson LLC (Drew Smith)                         286 Washington Blvd.
                  Post Office Box 1437                                    Jersey City, NJ 07302
                  Exton, PA 19343                                         201-433-6700
                  (703) 869-8483
                  ZG Burgers LLC (Hengwei Zhao, Yanmei Gao)               233-237 Main St.
                  115 Lands End Rd.                                       Madison, NJ 07940
                  Wilmington, DE 19807                                    973-660-0055
                  (302) 740-7424
                  Marlton 5G Inc. (Cha Chung and Shin Chung)              161 Route 73 S.
                  2017 Queen Anne Rd.                                     Marlton, NJ 08053
                  Cherry Hill, NJ 08003
                  (856) 465-6476
                  Sunbeam Ewing, Inc. (Vijay Padodara)*                   Clover Square
                  2817 River Willow Dr.                                   3100 Quakerbridge Rd.
                  Furlong, PA 18925                                       Mercerville, NJ 08619
                  (908) 251-3083
                  Marlton 5G Inc. (Cha Chung and Shin Chung)              1650 Nixon Dr.
                  2017 Queen Ann Rd.                                      Moorestown, NJ 08057
                  Cherry Hill, NJ 08003                                   (856) 866-0200
                  (856) 465-6476
                  Rockham Hudson LLC (Drew Smith)                         2100 88th St.
                  Post Office Box 1437                                    North Bergen, NJ 07047
                  Exton, PA 19343                                         201-662-7800
                  (703) 869-8483
                  Rockham NNJ, LLC (Drew Smith)                           507 Shoppers Blvd.
                  1406 Walnut St.                                         North Brunswick, NJ 08902
                  Coatesville, PA 19320                                   732-246-1060
                  (703) 869-8483
                  ZG Burgers LLC (Hengwei Zhao, Yanmei Gao)               1610 Route 23
                  115 Lands End Rd.                                       North Wayne, NJ 07470
                  Wilmington, DE 19807                                    973-633-0055
                  (302) 740-7424
                  Rockham MO, LLC (Drew Smith)                            2301 Route 66
                  Post Office Box 1437                                    Ocean Township, NJ 07712
                  Exton, PA 19343                                         732-493-0505
                  (703) 869-8483
                  Rockham NNJ, LLC (Drew Smith)                           1114 Rt. 9 S.
                  1406 Walnut St.                                         Old Bridge, NJ 08857
                  Coatesville, PA 19320                                   732-707-4500
                  (703) 869-8483
                  Sheridan Group (Edward Sheridan and Patrick Sheridan)   1 Garden State Plaza
                  77 Knollwood Rd.                                        Paramus, NJ 07652
                  Short Hills, NJ 07078                                   201-845-3333
                  (973) 467-4634



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   STATE                     FRANCHISEE NAME & ADDRESS                           ADDRESS OF STORES
                  Rockham NNJ, LLC (Drew Smith)                            15 Schalks Crossing Rd., #104
                  1406 Walnut St.                                          Plainsboro, NJ 08536
                  Coatesville, PA 19320                                    609-799-2222
                  (703) 869-8483
                  Sheridan Group (Edward Sheridan and Patrick Sheridan)    Ramsey Square
                  77 Knollwood Rd.                                         1300 SR-17 North
                  Short Hills, NJ 07078                                    Ramsey, NJ 07446
                  (973) 467-4634
                  Rockham 5G NJ, LLC (Drew Smith)                          3151-A Route 95
                  Post Office Box 1437                                     Rio Grande, NJ 08242
                  Exton, PA 19343                                          609-465-9555
                  (703) 869-8483
                  ZG Burgers LLC (Hengwei Zhao, Yanmei Gao)                367 Mount Hope Ave.
                  115 Lands End Rd.                                        Rockaway, NJ 07866
                  Wilmington, DE 19807                                     973-989-5555
                  (302) 740-7424
                  ZG Burgers LLC (Hengwei Zhao, Yanmei Gao)                461 NJ-10 East
                  115 Lands End Rd.                                        Roxbury Township, NJ 07852
                  Wilmington, DE 19807                                     973-617-1855
                  (302) 740-7424
                  Rockham MO, LLC (Drew Smith)                             747 Broad St.
                  Post Office Box 1437                                     Shrewsbury, NJ 07702
                  Exton, PA 19343                                          732-530-1230
                  (703) 869-8483
                  Rockham 5G NJ, LLC (Drew Smith)                          493 Cross Keys Rd.
                  Post Office Box 1437                                     Sicklersville, NJ 08081
                  Exton, PA 19343                                          856-875-5558
                  (703) 869-8483
                  Marlton 5G Inc. (Cha Chung and Shin Chung)               127 G Route 130
                  2017 Queen Ann Rd.                                       South Cinnaminson, NJ 08077
                  Cherry Hill, NJ 08003                                    856-829-5200
                  (856) 465-6476
                  Rockham NNJ, LLC (Drew Smith)                            5020 Hadley Center Dr.
                  1406 Walnut St.                                          South Plainfield, NJ 07080
                  Coatesville, PA 19320                                    908-754-3334
                  (703) 869-8483
                  Four Cousins Burgers & Fries of NY, LLC (Bill Gellert)   Route 22/Springfield
                  173 Whippoorwill Rd.                                     201 US Rt 22
                  Hillsdale, NY 12529                                      Springfield, NJ 07081
                  (914) 643-2180
                  Rockham MO, LLC (Drew Smith)                             The Orchards at Dover
                  Post Office Box 1437                                     1311 Route 37 East
                  Exton, PA 19343                                          Toms River, NJ 08753
                  (703) 869-8483                                           732-349-3600
                  Sheridan Group (Edward Sheridan and Patrick Sheridan)    Milburn Mall
                  77 Knollwood Rd.                                         2933 Vauxhall Rd.
                  Short Hills, NJ 07078                                    Vauxhall, NJ 07088
                  (973) 467-4634                                           908-688-8877
                  Rockham MO, LLC (Drew Smith)                             1902 Rt 35
                  Post Office Box 1437                                     Wall, NJ 07719
                  Exton, PA 19343                                          732-359-7550
                  (703) 869-8483
                  Sunbeam Ewing, Inc. (Vijay Padodara)*                    US Hwy 22 & Bonnie Burn Rd.
                  2817 River Willow Dr.                                    Watchung, NJ 07069
                  Furlong, PA 18925                                        908-490-0370
                  (908) 251-3083



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    STATE                     FRANCHISEE NAME & ADDRESS                              ADDRESS OF STORES
                   ZG Burgers LLC (Hengwei Zhao, Yanmei Gao)                  57 Rt. 23
                   115 Lands End Rd.                                          Wayne, NJ 07470
                   Wilmington, DE 19807                                       973-837-8258
                   (302) 740-7424
                   Four Cousins Burgers & Fries of NJ, LLC (Bill Gellert)     21 East Broad St.
                   173 Whippoorwill Rd.                                       Westfield, NJ 07090
                   Hillsdale, NY 12529                                        908-232-2499
                   (914) 643-2180
New York
                   RSVT Holding, LLC (Tejraj Hada)                            1512 Western Ave.
                   600 North Greenbush Rd.                                    Albany, NY 12203
                   Rensselaer, NY 12144                                       518-452-6066
                   (518) 488-4060
                   RSVT Holding, LLC (Tejraj Hada)                            131 Colonie Center, Space 328
                   600 North Greenbush Rd.                                    Albany, NY 12205
                   Rensselaer, NY 12144
                   (518) 488-4060
                   FGNYW, LLC (Andrew Stern and John Rigos)                   8248 Transit Rd.
                   56 W. 22nd St., 2nd Floor                                  Amherst, NY 14221
                   New York, NY 10010
                   (212) 505-5861
                   FGNYW, LLC (Andrew Stern and John Rigos)                   1551 Niagara Falls Blvd.
                   56 W. 22nd St., 2nd Floor                                  Amherst, NY 14228
                   New York, NY 10010                                         716-424-0129
                   (212) 505-5861
                   Four Cousins Burgers and Fries of LI, LLC (Bill Gellert)   45 Merrick Rd.
                   173 Whippoorwill Rd.                                       Amityville, NY 11701
                   Hillsdale, NY 12529                                        631-691-6800
                   (914) 643-2180
                   RSVT Holding, LLC (Tejraj Hada)                            4885 New York 30
                   600 North Greenbush Rd.                                    Amsterdam, NY 12010
                   Rensselaer, NY 12144                                       518-212-5924
                   (518) 488-4060
                   RSVT Holding, LLC (Tejraj Hada)                            4 Kelch Dr.
                   600 North Greenbush Rd.                                    Ballston Spa, NY 12020
                   Rensselaer, NY 12144                                       518-289-5645
                   (518) 488-4060
                   FGNYW, LLC (Andrew Stern and John Rigos)                   4234 Veterans Memorial Dr.
                   56 W. 22nd St., 2nd Floor                                  Batavia, NY 14020
                   New York, NY 10010                                         585-344-8400
                   (212) 505-5861
                   Four Cousins Burgers and Fries of NY, LLC (Bill Gellert)   1701 Sunrise Hwy.
                   173 Whippoorwill Rd.                                       Bay Shore, NY 11706
                   Hillsdale, NY 12529                                        631-666-0518
                   (914) 643-2180
                   Shami International, LLC (Michael Hoover)                  210-33A 26th Ave.
                   254-21 Horace Harding Expressway                           Bayside, NY 11360
                   Little Neck, NY 11362                                      718-225-7600
                   (703) 405-6749
                   Eat Burgers, LLC (Gregory Slayton and Paul Slayton)        581 Hutchinson River Pkwy.
                   3 Ann Dr.                                                  Bronx, NY 10465
                   Syosset, NY 11791                                          929-324-6301
                   (516) 650-8418
                   FGNY Holding, LLC (Andrew Stern and John Rigos)            284 7th Ave.
                   56 W. 22nd St., 2nd Floor                                  Brooklyn, NY 11215
                   New York, NY 10010                                         718-499-9380
                   (212) 505-5861


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   STATE                     FRANCHISEE NAME & ADDRESS                             ADDRESS OF STORES
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            Metro Tech Center
                  56 W. 22nd St., 2nd Floor                                  2 Metro Tech Center
                  New York, NY 10010                                         Brooklyn, NY 11201
                  (212) 505-5861
                  Eat Burgers, LLC (Gregory Slayton and Paul Slayton)        1628 Shore Pkwy.
                  3 Ann Dr.                                                  Brooklyn, NY 11214
                  Syosset, NY 11791                                          718-372-0150
                  (516) 650-8418
                  Eat Burgers, LLC (Gregory Slayton and Paul Slayton)        2159 Ralph Ave.
                  3 Ann Dr.                                                  Brooklyn, NY 11234
                  Syosset, NY 11791                                          718-209-0109
                  (516) 650-8418
                  FGNYW, LLC (Andrew Stern and John Rigos)                   2636 Delaware Ave.
                  56 W. 22nd St., 2nd Floor                                  Buffalo, NY 14216
                  New York, NY 10010                                         716-240-9190
                  (212) 505-5861
                  FGNYW, LLC (Andrew Stern and John Rigos)                   Galleria Mall
                  56 W. 22nd St., 2nd Floor                                  TH106 Walden Galleria
                  New York, NY 10010                                         Cheektowaga, NY 14225
                  (212) 505-5861
                  RSVT Holding, LLC (Tejraj Hada)                            7 Southside Dr.
                  600 North Greenbush Rd.                                    Clifton Park, NY 12065
                  Rensselaer, NY 12144                                       518-371-2147
                  (518) 488-4060
                  Four Cousins Burgers & Fries of LI, LLC (Bill Gellert)     Commack Corners Shopping Center
                  173 Whippoorwill Rd.                                       6500 Jericho Turnpike
                  Hillsdale, NY 12529                                        Commack, NY 11725
                  (914) 643-2180, (518) 325-9717
                  Four Cousins Burgers and Fries of LI, LLC (Bill Gellert)   1942 Deer Park Ave.
                  173 Whippoorwill Rd.                                       Deer Park, NY 11729
                  Hillsdale, NY 12529                                        631-243-4447
                  (914) 643-2180
                  FGNYW, LLC (Andrew Stern and John Rigos)                   4900 Transit Rd., Ste. 900
                  56 W. 22nd St., 2nd Floor                                  Depew, NY 14043
                  New York, NY 10010                                         716-668-2972
                  (212) 505-5861                                             716-668-2973 (fax)
                  RSVT Holding, LLC (Tejraj Hada)                            3179 Erie Blvd.
                  600 North Greenbush Rd.                                    Dewitt, NY 13214
                  Rensselaer, NY 12144
                  (518) 488-4060
                  RSVT Holding, LLC (Tejraj Hada)                            950 County Rd., Rt. 64 Suite 110
                  600 North Greenbush Rd.                                    Elmira, NY 14903
                  Rensselaer, NY 12144
                  (518) 488-4060
                  Four Cousins Burgers and Fries of LI, LLC (Bill Gellert)   2263 Broadhollow Rd.
                  173 Whippoorwill Rd.                                       Farmingdale, NY 11735
                  Hillsdale, NY 12529                                        631-773-5430
                  (914) 643-2180
                  Four Cousins Burgers & Fries of NY, LLC, (Bill Gellert)    1166 Main St.
                  173 Whippoorwill Rd.                                       Fishkill, NY 12524
                  Hillsdale, NY 12529
                  (914) 643-2180, (518) 325-9717
                  Eat Burgers, LLC (Greg Slayton and Paul Slayton)           6122 188th St.
                  3 Ann Dr.                                                  Fresh Meadows, NY 11365
                  Syosset, NY 11793                                          718-264-1818
                  516-650-8418



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   STATE                     FRANCHISEE NAME & ADDRESS                             ADDRESS OF STORES
                  Eat Burgers, LLC (Gregory Slayton, Paul Slayton)           7325 Woodhaven Blvd.
                  3 Ann Dr.                                                  Glendale, NY 11385
                  Syosset, NY 11791                                          718-943-3483
                  (516) 650-8418
                  RSVT Holding, LLC (Tejraj Hada)                            241 Route 9 West
                  600 North Greenbush Rd.                                    Glenmont, NY 12077
                  Rensselaer, NY 12144                                       518-432-8271
                  (518) 488-4060
                  RSVT Holding, LLC (Tejraj Hada)                            262 Saratoga Rd.
                  600 North Greenbush Rd.                                    Glenville, NY 12302
                  Rensselaer, NY 12144                                       518-952-7170
                  (518) 488-4060
                  FGNYW, LLC (Andrew Stern and John Rigos)                   1948 W. Ridge Rd.
                  56 W. 22nd St., 2nd Floor                                  Greece, NY 14626
                  New York, NY 10010                                         585-730-7922
                  (212) 505-5861
                  FGNYW, LLC (Andrew Stern and John Rigos)                   3860 McKinley Pkwy.
                  56 W. 22nd St., 2nd Floor                                  Hamburg, NY 14075
                  New York, NY 10010
                  (212) 505-5861
                  Four Cousins Burgers and Fries of LI, LLC (Bill Gellert)   600 Veterans Memorial Hwy.
                  173 Whippoorwill Rd.                                       Hauppauge, NY 11788
                  Hillsdale, NY 12529                                        631-265-0335
                  (914) 643-2180
                  FGNYW, LLC (Andrew Stern and John Rigos)                   1100 Jefferson Rd.
                  56 W. 22nd St., 2nd Floor                                  Henrietta, NY
                  New York, NY 10010                                         585-272-1811
                  (212) 505-5861
                  Four Cousins Burgers and Fries of LI, LLC (Bill Gellert)   110 Huntington Shopping Center
                  173 Whippoorwill Rd.                                       Huntington Station, NY 11746
                  Hillsdale, NY 12529                                        631-271-4144
                  (914) 643-2180
                  RSVT Holding, LLC (Tejraj Hada)*                           222 Elmira Rd., Ste. A
                  600 North Greenbush Rd.                                    Ithaca, NY 14850
                  Rensselaer, NY 12144                                       607-256-2565
                  (518) 488-4060
                  Four Cousins Burgers and Fries of NY, LLC (Bill Gellert)   1202 Ulster Ave.
                  173 Whippoorwill Rd.                                       Kingston, NY 12401
                  Hillsdale, NY 12529                                        845-336-8592
                  (914) 643-2180
                  FGNYW, LLC (Andrew Stern and John Rigos)                   318 E. Fairmount Ave., Ste. 200A
                  56 W. 22nd St., 2nd Floor                                  Lakewood, NY 14750
                  New York, NY 10010                                         716-763-8890
                  (212) 505-5861
                  RSVT Holding, LLC (Tejraj Hada)                            602 New Loudon Rd.
                  600 North Greenbush Rd.                                    Latham, NY 12110
                  Rensselaer, NY 12144                                       518-785-0423
                  (518) 488-4060
                  RSVT Holding, LLC (Tejraj Hada)                            3810 Route 31
                  600 North Greenbush Rd.                                    Liverpool, NY 13090
                  Rensselaer, NY 12144                                       315-715-4485
                  (518) 488-4060
                  Shami International, LLC (Michael Hoover)                  254-55 Horace Harding Expressway
                  254-55 Horace Harding Expressway                           Little Neck, NY 11362
                  Little Neck, NY 11362                                      718-631-2100
                  (703) 405-6749



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   STATE                     FRANCHISEE NAME & ADDRESS                             ADDRESS OF STORES
                  FGNYW, LLC (Andrew Stern and John Rigos)                   5716 S Transit Rd., Ste. 50
                  56 W. 22nd St., 2nd Floor                                  Lockport, NY 14094
                  New York, NY 10010                                         716-433-3254
                  (212) 505-5861
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            36 West 48th St.
                  56 W. 22nd St., 2nd Floor                                  Manhattan, NY 10036
                  New York, NY 10010                                         212-997-1270
                  (212) 505-5861
                  Four Cousins Burgers & Fries of NY, LLC (Bill Gellert)     Route 211 East
                  173 Whippoorwill Rd.                                       469 Route 211 East
                  Hillsdale, NY 12529                                        Middletown, NY 10940
                  (914) 643-2180, (518) 325-9717
                  Four Cousins Burgers and Fries of NY, LLC (Bill Gellert)   Cortland Town Center
                  173 Whippoorwill Rd.                                       3121 E. Main St.
                  Hillsdale, NY 12529                                        Mohegan Lake, NY 10547
                  (914) 643-2180
                  Four Cousins Burgers and Fries of NY, LLC (Bill Gellert)   360 North Bedford Rd.
                  173 Whippoorwill Rd.                                       Mount Kisco, NY 10549
                  Hillsdale, NY 12529                                        914-229-3353
                  (914) 643-2180
                  Four Cousins Burgers and Fries of NY, LLC (Bill Gellert)   23 Rockland Center
                  173 Whippoorwill Rd.                                       Nanuet, NY 10954
                  Hillsdale, NY 12529                                        845-623-1863
                  (914) 643-2180
                  Four Cousins Burgers and Fries of NY, LLC (Bill Gellert)   1279 Route 300, Suite C
                  173 Whippoorwill Rd.                                       Newburgh, NY 12550
                  Hillsdale, NY 12529                                        845-567-4315
                  (914) 643-2180
                  AR Burgers LLC (Atul Singh)                                4666 Commercial Dr.
                  446 Kent Ave., Apt. 4B                                     New Hartford, NY 13413
                  Brooklyn, NY 11249                                         315-736-4897
                  (267) 205-4341
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            43 W. 55th St.
                  56 W. 22nd St., 2nd Floor                                  New York, NY 10019
                  New York, NY 10010                                         212-459-9600
                  (212) 505-5861
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            56 W. 14th St.
                  56 W. 22nd St., 2nd Floor                                  New York, NY 10011
                  New York, NY 10010                                         212-675-2229
                  (212) 505-5861
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            296 Bleecker St.
                  56 W. 22nd St., 2nd Floor                                  New York, NY 10014
                  New York, NY 10010                                         212-367-9200
                  (212) 505-5861
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            2847 Broadway
                  56 W. 22nd St., 2nd Floor                                  New York, NY 10025
                  New York, NY 10010
                  (212) 505-5861
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            690 Third Ave.
                  56 W. 22nd St., 2nd Floor                                  New York, NY 10017
                  New York, NY 10010                                         646-783-5060
                  (212) 505-5861
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            343 7th Ave.
                  56 W. 22nd St., 2nd Floor                                  New York, NY 10001
                  New York, NY 10010
                  (212) 505-5861



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   STATE                     FRANCHISEE NAME & ADDRESS                             ADDRESS OF STORES
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            316 W. 34th St.
                  56 W. 22nd St., 2nd Floor                                  New York, NY 10022
                  New York, NY 10010                                         212-564-6115
                  (212) 505-5861
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            Times Square
                  56 W. 22nd St., 2nd Floor                                  253 W. 42nd St.
                  New York, NY 10010                                         New York City, NY 10036
                  (212) 505-5861
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            148 Madison Ave.
                  56 W. 22nd St., 2nd Floor                                  New York, NY 10016
                  New York, NY 10010                                         212-564-6117
                  (212) 505-5861
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            1008 6th Ave.
                  56 W. 22nd St., 2nd Floor                                  New York, NY 10018
                  New York, NY 10010                                         646-290-6120
                  (212) 505-5861
                  FGNY Holding, LLC (Andrew Stern and John Rigos)            80 Maiden Ln.
                  56 W. 22nd St., 2nd Floor                                  New York, NY 10038
                  New York, NY 10010                                         646-760-9202
                  (212) 505-5861
                  FGNYW, LLC (Andrew Stern and John Rigos)                   1785 Military Rd.
                  56 W. 22nd St., 2nd Floor                                  Niagara Falls, NY 14304
                  New York, NY 10010                                         716-297-7500
                  (212) 505-5861                                             716-297-7600 (fax)
                  RSVT Holding, LLC (Tejraj Hada)                            5006 State Hwy. 23 (Southside Mall)
                  600 North Greenbush Rd.                                    Oneonta, NY 13820
                  Rensselaer, NY 12144                                       607-386-4128
                  (518) 488-4060
                  Westchester Burgers, LLC (Greg Slayton and Paul Slayton)   2 Penn St.
                  3 Ann Dr.                                                  Pelham Manor, NY 10803
                  Syosset, NY 11792
                  Greg Slayton: (516) 650-8418, (516) 922-4624
                  RSVT Holding, LLC (Tejraj Hada)                            418 State Route 3
                  600 North Greenbush Rd.                                    Plattsburgh, NY 12901
                  Rensselaer, NY 12144                                       518-561-2156
                  (518) 488-4060
                  Four Cousins Burgers & Fries of LI, LLC (Bill Gellert)     5120 Nesconset Hwy.
                  173 Whippoorwill Rd.                                       Port Jefferson Station, NY 11776
                  Hillsdale, NY 12529
                  (914) 643-2180, (518) 325-9717
                  RSVT Holding, LLC (Tejraj Hada)                            79 Market St.
                  600 North Greenbush Rd.                                    Potsdam, NY 13676
                  Rensselaer, NY 12144                                       315-274-0263
                  (518) 488-4060
                  Four Cousins Burgers and Fries of NY, LLC (Bill Gellert)   2507 South Rd. #104
                  173 Whippoorwill Rd.                                       Poughkeepsie, NY 12601
                  Hillsdale, NY 12529                                        845-462-0388
                  (914) 643-2180
                  RSVT Holding, LLC (Tejraj Hada)                            735 Upper Glen St.
                  600 North Greenbush Rd.                                    Queensbury, NY 12144
                  Rensselaer, NY 12144                                       518-432-8271
                  (518) 488-4060
                  RSVT Holding, LLC (Tejraj Hada)                            600 North Greenbrush Rd.
                  600 North Greenbush Rd.                                    Rensselaer, NY 12144
                  Rensselaer, NY 12144                                       518-285-4704
                  (518) 488-4060



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   STATE                     FRANCHISEE NAME & ADDRESS                             ADDRESS OF STORES
                  FGNYW, LLC (Andrew Stern and John Rigos)                   1881 Monroe Ave.
                  56 W. 22nd St., 2nd Floor                                  Rochester, NY 14618
                  New York, NY 10010                                         585-385-4778
                  (212) 505-5861
                  RSVT Holding, LLC (Tejraj Hada)                            3057 Route 50
                  600 North Greenbush Rd.                                    Saratoga Springs, NY 12866
                  Rensselaer, NY 12144                                       518-583-3135
                  (518) 488-4060
                  RSVT Holding, LLC (Tejraj Hada)                            Balltown Rd.
                  600 North Greenbush Rd.                                    Mohawk Common Mall
                  Rensselaer, NY 12144                                       Schenectady, NY 12304
                  (518) 488-4060                                             518-346-5728
                  Four Cousins Burgers and Fries of NY, LLC (Bill Gellert)   Independent Plaza
                  173 Whippoorwill Rd.                                       202 Middle Country Rd.
                  Hillsdale, NY 12529                                        Selden, NY 11784
                  (914) 643-2180                                             631-736-0537
                  Eat Burgers, LLC (Greg Slayton and Paul Slayton)           2865 Richmond Ave.
                  3 Ann Dr.                                                  Staten Island, NY 10314
                  Syosset, NY 11792
                  Greg Slayton: (516) 650-8418, (516) 922-4624
                  RSVT Holding, LLC (Tejraj Hada)                            3439 W. Genesee St.
                  600 North Greenbush Rd.                                    Syracuse, NY 13219
                  Rensselaer, NY 12144                                       315-299-7027
                  (518) 488-4060
                  RSVT Holding, LLC (Tejraj Hada)                            727 South Crouse
                  600 North Greenbush Rd.                                    Syracuse NY 13210
                  Rensselaer, NY 12144                                       315-913-3911
                  (518) 488-4060
                  RSVT Holding, LLC (Tejraj Hada)                            756 Horatio St.
                  600 North Greenbush Rd.                                    Utica, NY 13502
                  Rensselaer, NY 12144                                       315-733-0349
                  (518) 488-4060
                  RSVT Holding, LLC (Tejraj Hada)                            4700 Vestal Pkwy.
                  600 North Greenbush Rd.                                    Vestal, NY 13850
                  Rensselaer, NY 12144                                       607-770-7005
                  (518) 488-4060
                  FGNYW, LLC (Andrew Stern and John Rigos)                   405 Commerce Dr.
                  56 W. 22nd St., 2nd Floor                                  Victor, NY 14564
                  New York, NY 10010                                         585-398-3031
                  (212) 505-5861
                  RSVT Holding, LLC (Tejraj Hada)                            Watertown City Center
                  600 North Greenbush Rd.                                    1290 Arsenal Rd.
                  Rensselaer, NY 12144                                       Watertown, NY 13601
                  (518) 488-4060
                  FGNYW, LLC (Andrew Stern and John Rigos)                   927 Holt Rd.
                  56 W. 22nd St., 2nd Floor                                  Webster, NY 14580
                  New York, NY 10010
                  (212) 505-5861
                  Westchester Burgers, LLC (Greg Slayton and Paul Slayton)   240 Main St.
                  3 Ann Dr.                                                  White Plains, NY 10601
                  Syosset, NY 11792
                  Greg Slayton: (516) 650-8418, (516) 922-4624
                  Westchester Burgers, LLC (Greg Slayton and Paul Slayton)   2500 Central Park Ave.
                  3 Ann Dr.                                                  Yonkers, NY 10710
                  Syosset, NY 11792                                          914-793-3483
                  Greg Slayton: (516) 650-8418, (516) 922-4624



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     STATE                   FRANCHISEE NAME & ADDRESS                  ADDRESS OF STORES
North Carolina
                    Quintet Acquisitions LLC (Jonathan Kelly)     1075 Pine Plaza Dr.
                    123 East Franklin St., #423                   Apex, NC 27523
                    Chapel Hill, NC 27514                         919-616-0011
                    (919) 525-8825
                    Stein5, LLC (Christine Steiner)               1838 Hendersonville Rd.
                    127 Heathland Ln.                             Asheville, NC 28803
                    Mooresville, NC 28117
                    (810) 599-7632
                    Stein5, LLC (Christine Steiner)               182 Merrimon Ave., Ste. 60
                    127 Heathland Ln.                             Asheville, NC 28801
                    Mooresville, NC 28117                         828-210-2800
                    (810) 599-7632
                    Stein5, LLC (Christine Steiner)               Shops @ Shadowline
                    127 Heathland Ln.                             1435 Blowing Rock Rd., Ste. A
                    Mooresville, NC 28117                         Boone, NC 28607
                    (810) 599-7632
                    Quintet Acquisitions LLC (Jonathan Kelly)     1121 Parkside Main St.
                    123 East Franklin St., #42                    Cary, NC 27519
                    Chapel Hill, NC 27514                         919-380-0450
                    (919) 525-8825
                    Princess Street Partners, LLC (Rick Fisher)   9820 Rea Rd.
                    200 N. Washington St., Unit #320760           Charlotte, NC 28277
                    Alexandria, VA 22320                          704-752-0110
                    (703) 566-5821
                    Princess Street Partners, LLC (Rick Fisher)   2810 South Blvd., Unit A
                    200 N. Washington St., Unit #320760           Charlotte, NC 28205
                    Alexandria, VA 22320
                    (703) 566-5821
                    Princess Street Partners, LLC (Rick Fisher)   8020 Providence Rd., #600
                    200 N. Washington St., Unit #320760           Charlotte, NC 28777
                    Alexandria, VA 22320                          704-752-0110
                    (703) 566-5821
                    Princess Street Partners, LLC (Rick Fisher)   12820 York Rd.
                    200 N. Washington St., Unit #320760           Charlotte, NC 28278
                    Alexandria, VA 22320                          704-587-9204
                    (703) 566-5821
                    Princess Street Partners, LLC (Rick Fisher)   4400 Sharon Rd.
                    200 N. Washington St., Unit #320760           Charlotte, NC 28211
                    Alexandria, VA 22320                          704-366-0525
                    (703) 566-5821
                    Princess Street Partners, LLC (Rick Fisher)   1326 Central Ave.
                    200 N. Washington St., Unit #320760           Charlotte, NC 28205
                    Alexandria, VA 22320                          980-299-8636
                    (703) 566-5821
                    Stein5, LLC (Christine Steiner)               1421 Concord Pkwy N.
                    127 Heathland Ln.                             Concord, NC 28025
                    Mooresville, NC 28117                         704-706-2630
                    (810) 599-7632
                    Stein5, LLC (Christine Steiner)               17078 Nat Bynum Ln., Ste. 1
                    127 Heathland Ln.                             Cornelius, NC 28031
                    Mooresville, NC 28117                         704-997-9766
                    (810) 599-7632
                    Quintet Acquisitions LLC (Jonathan Kelly)     5332 McFarland Dr., Ste. 110
                    123 East Franklin St., #423                   Durham, NC 27707
                    Chapel Hill, NC 27514
                    (919) 525-8825


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   STATE                    FRANCHISEE NAME & ADDRESS                 ADDRESS OF STORES
                  Quintet Acquisitions LLC (Jonathan Kelly)     150 Cabela Dr.
                  123 East Franklin St., #423                   Garner, NC 27529
                  Chapel Hill, NC 27514                         919-772-7338
                  (919) 525-8825
                  Princess Street Partners, LLC (Rick Fisher)   2212 Franklin Blvd.
                  200 N. Washington St., Unit #320760           Gastonia, NC 28052
                  Alexandria, VA 22320                          980-320-8033
                  (703) 566-5821
                  Stein5, LLC (Christine Steiner)               600 Greenville Rd., Ste. D
                  127 Heathland Ln.                             Greenville, NC 27858
                  Mooresville, NC 28117                         252-364-2838
                  (810) 599-7632
                  Stein5, LLC (Christine Steiner)               1520 Hwy 70 SE
                  127 Heathland Ln.                             Hickory, NC 28602
                  Mooresville, NC 28117                         828-855-3235
                  810-599-7632
                  Stein5, LLC (Christine Steiner)               Torrance Village Shopping Center
                  127 Heathland Ln.                             9826 Gilead Rd., Ste. C-106
                  Mooresville, NC 28117                         Huntersville, NC 28078
                  (810) 599-7632                                704-992-2033
                  Stein5, LLC (Christine Steiner)               408 Western Blvd., #103
                  127 Heathland Ln.                             Jacksonville, NC 285
                  Mooresville, NC 28117
                  (810) 599-7632
                  Doughball, LLC (Thomas Ferguson)              1203 S. Croatan Hwy.
                  322 Colington Dr.                             Kill Devil Hills, NC 27948
                  Kill Devil Hills, NC 27948                    252-255-0006
                  (267) 441-0631
                  Quintet Acquisitions LLC (Jonathan Kelly)     1018 Shoppes at Midway Dr.
                  123 East Franklin St., #423                   Knightdale, NC 27545
                  Chapel Hill, NC 27514                         919-266-6664
                  (919) 525-8825
                  Stein5, LLC (Christine Steiner)               2028 Olde Regent Way
                  127 Heathland Ln.                             Leland, NC 28451
                  Mooresville, NC 28117                         910-833-1997
                  (810) 599-7632
                  Princess Street Partners, LLC (Rick Fisher)   2304 Matthews Township Pkwy., Ste.
                  200 N. Washington St., Unit #320760           101
                  Alexandria, VA 22320                          Matthews, NC 28105
                  (703) 566-5821
                  Princess Street Partners, LLC (Rick Fisher)   2833 West Hwy. 74
                  200 N. Washington St., Unit #320760           Monroe, NC 28110
                  Alexandria, VA 22320                          704-225-1960
                  (703) 566-5821
                  Stein 5, LLC (Christine Steiner)              654 River Hwy.
                  127 Heathland Ln.                             Mooresville, NC 28117
                  Mooresville, NC 28117                         704-799-7500
                  (810) 599-7632
                  Stein5, LLC (Christine Steiner)               5136 US Hwy. 70 West B6
                  127 Heathland Ln.                             Morehead City, NC 28557
                  Mooresville, NC 28117
                  (810) 599-7632
                  Quintet Acquisitions LLC (Jonathan Kelly)     412 Main at North Hills St.
                  123 East Franklin St., #423                   Raleigh, NC 27609
                  Chapel Hill, NC 27514                         919-787-7772
                  (919) 525-8825



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       STATE                  FRANCHISEE NAME & ADDRESS                       ADDRESS OF STORES
                    Quintet Acquisitions LLC (Jonathan Kelly)           8107 Creedmoor Rd.
                    123 East Franklin St., #423                         Raleigh, NC 27613
                    Chapel Hill, NC 27514                               919-844-7057
                    (919) 525-8825
                    Quintet Acquisitions LLC (Jonathan Kelly)           5501 Capital Blvd., Ste. 106
                    123 East Franklin St., #423                         Raleigh, NC 27616
                    Chapel Hill, NC 27514                               984-232-0547
                    (919) 525-8825
                    Stein5, LLC (Christine Steiner)                     6801 Parker Farm Dr.
                    127 Heathland Ln.                                   Wilmington, NC 28405
                    Mooresville, NC 28117                               910-256-9069
                    (810) 599-7632
North Dakota
                    BNF, LLC (Dave Glaser and Brad Bender)              1001 Interstate Ave.
                    3801 Lockport St., Ste. 3                           Bismarck, ND 58503
                    Bismarck, ND 58503                                  701-751-4286
                    (701) 226-4015, (612) 387-6201
                    BNF, LLC (Dave Glaser and Brad Bender)              5050 Timber Pkwy S., #132
                    3801 Lockport St., Ste. 3                           Fargo, ND 58104
                    Bismarck, ND 58503
                    (701) 226-4015, (612) 387-6201
                    BNF, LLC (Dave Glaser and Brad Bender)              4328 13th Ave. S
                    3801 Lockport St., Ste. 3                           Fargo, ND 58103
                    Bismarck, ND 58503                                  701-532-2552
                    (701) 226-4015, (612) 387-6201
                    BNF, LLC (Dave Glaser and Brad Bender)              3221 32nd Ave. S., Ste. 400
                    3801 Lockport St., Ste. 3                           Grand Forks, ND 58201
                    Bismarck, ND 58503
                    (701) 226-4015, (612) 387-6201
                    BNF, LLC (Dave Glaser and Brad Bender)              3300 16th St. SW
                    3801 Lockport St., Ste. 3                           Minot, ND 58701
                    Bismarck, ND 58503                                  701-837-5555
                    (701) 226-4015, (612) 387-6201
Ohio
                    Wholesome Enterprises, LLC (Raji Sankar & Randhir   3863 Medina Rd.
                    Sethi)                                              Akron, OH 44333
                    3369 Altherson Dr.                                  330-665-5551
                    Pittsburgh, PA 15102
                    (724) 518-0967
                    Wholesome Enterprises, LLC (Raji Sankar & Randhir   284 E. Exchange St.
                    Sethi)                                              Akron, OH 44304
                    3369 Altherson Dr.                                  234-571-5022
                    Pittsburgh, PA 15102
                    (724) 518-0967
                    EDM Restaurant Ventures, LLC ((Edward Reese)        107 S. Canfield-Niles Rd., Ste. A
                    1419 Boardman-Canfield Rd., Ste. 500                Austintown, OH 44515
                    Boardman, OH 44512
                    (330) 726-5790
                    French Creek Burgers, LLC (Maureen and Randolph     36050-A Detroit Rd.
                    Androsik)                                           Avon, OH 44011
                    28421 West Oakland                                  440-937-GUYS
                    Bay Village, OH 44140
                    (216) 798-2881
                    EDM Restaurant Ventures, LLC ((Edward Reese)        7322 Market St.
                    1419 Boardman-Canfield Rd., Ste. 500                Boardman, OH 44512
                    Boardman, OH 44512                                  330-629-8038
                    (330) 726-5790


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   STATE                    FRANCHISEE NAME & ADDRESS                        ADDRESS OF STORES
                  KRNBLZ, LLC (Joseph Carroll)                         3659 Stone Creek Blvd., Ste. C
                  247 North Westmonte Dr.                              Cincinnati, OH 45251
                  Altamonte Springs, FL 32714                          513-245-1530
                  (407) 529-7100, (407) 772-0200, (407) 444-0418
                  KRNBLZ, LLC (Joseph Carroll)                         830 Eastgate South Dr.
                  247 North Westmonte Dr.                              Cincinnati, OH 45245
                  Altamonte Springs, FL 32714
                  (407) 529-7100, (407) 772-0200, (407) 444-0418
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    3273 Steelyard Dr.
                  Sethi)                                               Cleveland, OH 44109
                  3369 Altherson Dr.
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  EDM Restaurant Ventures, LLC ((Edward Reese)         2170 Millenium Blvd., #1
                  1419 Boardman-Canfield Rd., Ste. 500                 Courtland, OH 44410
                  Boardman, OH 44512                                   330-372-0232
                  (330) 726-5790
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    753 Howe Ave.
                  Sethi)                                               Cuyahoga Falls, OH 44221
                  3369 Altherson Dr.                                   330-920-9444
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    3100 Westgate
                  Sethi)                                               Fairview Park, OH 44126
                  3369 Altherson Dr.                                   440-333-5570
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Famous Burger Group, LLC (David MacDonald, Branden   1800 Tiffin Ave.
                  Yono, Jason Yono, Anthony Robinson)                  Findlay, OH 45840
                  15645 Blue Skies St.
                  Livonia, MI 48154
                  David MacDonald: (734) 536-1187
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    790 Arlington Ridge
                  Sethi)                                               Green, OH 44312
                  3369 Altherson Dr.                                   234-571-4273
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  KRNBLZ, LLC (Joseph Carroll)                         609 Ring Rd.
                  247 North Westmonte Dr.                              Harrison, OH 45030
                  Altamonte Springs, FL 32714                          513-715-1181
                  (407) 529-7100, (407) 772-0200, (407) 444-0418
                  EDM Restaurant Ventures, LLC ((Edward Reese)         2393 Niles Cortland Rd.
                  1419 Boardman-Canfield Rd., Ste. 500                 Howland, OH 44484
                  Boardman, OH 44512                                   330-989-5162
                  (330) 726-5790
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    623 E. Main St.
                  Sethi)                                               Kent, OH 44240
                  3369 Altherson Dr.                                   330-673-6666
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Famous Burger Group, LLC (David MacDonald, Branden   3292 Elida Rd.
                  Yono, Jason Yono, Anthony Robinson)                  Lima, OH 45801
                  15645 Blue Skies St.
                  Livonia, MI 48154
                  David MacDonald: (734) 536-1187




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   STATE                    FRANCHISEE NAME & ADDRESS                        ADDRESS OF STORES
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    994 N. Lexington Spring Rd., Ste. 160
                  Sethi)                                               Mansfield, OH 44906
                  3369 Altherson Dr.                                   419-709-8102
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  KRNBLZ, LLC (Joseph Carroll)                         9540 S. Mason Montgomery Rd.
                  247 North Westmonte Dr.                              Mason, OH 40540
                  Altamonte Springs, FL 32714                          513-204-5900
                  (407) 529-7100, (407) 772-0200, (407) 444-0418
                  Famous Burger Group, LLC (David MacDonald, Branden   1395 Conant St., Ste. C
                  Yono, Jason Yono, Anthony Robinson)                  Maumee, OH 43537
                  15645 Blue Skies St.                                 419-893-3400
                  Livonia, MI 48154
                  David MacDonald: (734) 536-1187
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    1271 SOM Center Rd.
                  Sethi)                                               Mayfield Heights, OH 44124
                  3369 Altherson Dr.                                   440-442-6700
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    4184 Pearl Rd.
                  Sethi)                                               Medina, OH 44256
                  3369 Altherson Dr.                                   330-723-3333
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    9180 Mentor Ave.
                  Sethi)                                               Mentor, OH 44060
                  3369 Altherson Dr.                                   440-205-1750
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    17695 Bagley Rd.
                  Sethi)                                               Middleburg Heights, OH 44130
                  3369 Altherson Dr.                                   440-239-7880
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    6652 Strip Ave. NW
                  Sethi)                                               North Canton, OH 44720
                  3369 Altherson Dr.
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  French Creek Burgers, LLC (Maureen and Randolph      25999 Lorain Rd.
                  Androsik)                                            North Olmstead, OH 44070
                  28421 West Oakland                                   440-716-6000
                  Bay Village, OH 44140
                  (216) 798-2881
                  KRNBLZ, LLC (Joseph Carroll)                         2743 Edmondson Rd.
                  247 North Westmonte Dr.                              Norwood, OH 45209
                  Altamonte Springs, FL 32714                          513-351-5274
                  (407) 529-7100, (407) 772-0200, (407) 444-0418
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir    8249 W. Ridgewood Dr.
                  Sethi)                                               Parma, OH 44129
                  3369 Altherson Dr.                                   440-842-0095
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Famous Burger Group, LLC (David MacDonald, Branden   10090 Olde US 20
                  Yono, Jason Yono, Anthony Robinson)                  Rossford, OH 43460
                  15645 Blue Skies St.
                  Livonia, MI 48154
                  David MacDonald: (734) 536-1187

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    STATE                    FRANCHISEE NAME & ADDRESS                       ADDRESS OF STORES
                   French Creek Burgers, LLC (Maureen and Randolph      4317 Milan Rd.
                   Androsik)                                            Sandusky, OH 4480
                   28421 West Oakland
                   Bay Village, OH 44140
                   (216) 798-2881
                   Wholesome Enterprises, LLC (Raji Sankar & Randhir    13971 Cedar Rd.
                   Sethi)                                               South Euclid, OH 44118
                   3369 Altherson Dr.
                   Pittsburgh, PA 15102
                   (724) 518-0967
                   KRNBLZ, LLC (Joseph Carroll)                         810 Kemper Rd.
                   247 North Westmonte Dr.                              Springdale, OH 75246
                   Altamonte Springs, FL 32714
                   (407) 529-7100, (407) 772-0200, (407) 444-0418
                   Wholesome Enterprises, LLC (Raji Sankar & Randhir    Strongsville Town Center
                   Sethi)                                               15163 Pearl Rd.
                   3369 Altherson Dr.                                   Strongsville, OH 44136
                   Pittsburgh, PA 15102
                   (724) 518-0967
                   Famous Burger Group, LLC (David MacDonald, Branden   3305 W. Central Ave.
                   Yono, Jason Yono, Anthony Robinson)                  Toledo, OH 43606
                   15645 Blue Skies St.                                 419-464-0000
                   Livonia, MI 48154
                   David MacDonald: (734) 536-1187
                   Wholesome Enterprises, LLC (Raji Sankar & Randhir    4025 Richmond Rd., Unit H
                   Sethi)                                               Warrensville Heights, OH 44122
                   3369 Altherson Dr.                                   216-360-8888
                   Pittsburgh, PA 15102
                   (724) 518-0967
                   French Creek Burgers, LLC (Maureen and Randolph      30297 Detroit Rd.
                   Androsik)                                            Westlake, OH 44145
                   28421 West Oakland                                   440-716-6000
                   Bay Village, OH 44140
                   (216) 798-2881
                   Wholesome Enterprises, LLC (Raji Sankar & Randhir    4299 Burbank Rd.
                   Sethi)                                               Wooster, OH 44691
                   3369 Altherson Dr.                                   330-345-1111
                   Pittsburgh, PA 15102
                   (724) 518-0967
Oklahoma
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)           1442 East Hillside Dr.
                   c/o Encore Restaurants, LLC                          Broken Arrow, OK 74012
                   5005 LBJ Freeway, Ste. 1200                          918-355-9142
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)           1540 E. 2nd St., Ste. C2-2
                   c/o Encore Restaurants, LLC                          Edmond, OK 73034
                   5005 LBJ Freeway, Ste. 1200                          405-279-9990
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)           4334 E. Owen Garriott
                   c/o Encore Restaurants, LLC                          Enid, OK 73703
                   5005 LBJ Freeway, Ste. 1200                          580-307-6484
                   Dallas, TX 75244
                   (214) 259-7004




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    STATE                    FRANCHISEE NAME & ADDRESS                    ADDRESS OF STORES
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)       3405 NW Cache Rd.
                   c/o Encore Restaurants, LLC                      Lawton, OK 73505
                   5005 LBJ Freeway, Ste. 1200                      580-350-3723
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)       631 SW 19th St., Ste. 101
                   c/o Encore Restaurants, LLC                      Moore, OK 73160
                   5005 LBJ Freeway, Ste. 1200                      405-794-5559
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)       1401 24th Ave., NW
                   c/o Encore Restaurants, LLC                      Norman, OK 73109
                   5005 LBJ Freeway, Ste. 1200                      405-321-4871
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)       Rockwell NW Shopping Center
                   c/o Encore Restaurants, LLC                      6900 NW Expressway
                   5005 LBJ Freeway, Ste. 1200                      Oklahoma City, OK 73132
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)       Quail Springs Marketplace
                   c/o Encore Restaurants, LLC                      2300 W. Memorial Rd.
                   5005 LBJ Freeway, Ste. 1200                      Oklahoma City, OK 73120
                   Dallas, TX 75244                                 405-753-4554
                   (214) 259-7004
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)       6304 SW 3rd St.
                   c/o Encore Restaurants, LLC                      Oklahoma City, OK 78128
                   5005 LBJ Freeway, Ste. 1200                      918-527-0684
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)       611 N. Perkins Rd., Ste. B
                   c/o Encore Restaurants, LLC                      Stillwater, OK 74075
                   5005 LBJ Freeway, Ste. 1200                      405-500-2025
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)       Riverside Market
                   c/o Encore Restaurants, LLC                      9635 Riverside Pkwy.
                   5005 LBJ Freeway, Ste. 1200                      Tulsa, OK 74137
                   Dallas, TX 75244                                 918-296-5509
                   (214) 259-7004
                   Encore FGBF Oklahoma, LLC (Bharat Sangani)       10025 S. Memorial Dr.
                   c/o Encore Restaurants, LLC                      Tulsa, OK 74114
                   5005 LBJ Freeway, Ste. 1200                      539-215-5588
                   Dallas, TX 75244
                   (214) 259-7004
Oregon
                   Northwest Burgers and Fries Inc. (Bill Marble)   2606 SW Cedar Hills Blvd.
                   11774 Pinedale Rd.                               Beaverton, OR
                   Moorpark, CA 93021                               503-430-8748
                   (818) 399-3544
                   Northwest Burgers and Fries Inc. (Bill Marble)   14700 SW Murray Scholls Dr.
                   11774 Pinedale Rd.                               Beaverton, OR 97007
                   Moorpark, CA 93021
                   (818) 399-3544




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   STATE                    FRANCHISEE NAME & ADDRESS                            ADDRESS OF STORES
                  Southern Oregon Burgers and Fries, LLC (Mel Garges and   222 N. Emerson, Ste. 120
                  Kristy Zakour)                                           Bend, OR 97701
                  90730 Marcola Rd.                                        541-797-7787
                  Springfield, OR 97478
                  (541) 968-0544
                  CLRM, Inc. (Ryan Coady)                                  845 NW 9th St.
                  1575 NE 237th Ave.                                       Corvallis, OR 97330
                  Wood Village, OR 97060                                   541-230-1891
                  (480) 225-2364
                  Southern Oregon Burgers and Fries, LLC (Mel Garges and   495 West 7th Ave.
                  Kristy Zakour)                                           Eugene, OR 97401
                  90730 Marcola Rd.
                  Springfield, OR 97478
                  (541) 968-0544
                  PDX Burgers and Fries Inc. (Jason Marble)                2595 SE Burnside Rd.
                  953 West Witt Ave.                                       Gresham, OR 97080
                  San Tan Valley, AZ 85140
                  (480) 569-8908
                  Northwest Burgers and Fries Inc. (Bill Marble)           8963 SW 82nd Ave.
                  11774 Pinedale Rd.                                       Happy Valley, OR 97086
                  Moorpark, CA 93021                                       503-777-5160
                  (818) 399-3544
                  Northwest Burgers and Fries Inc. (Bill Marble)           17105 SE Sunnyside Dr., #134
                  11774 Pinedale Rd.                                       Happy Valley, OR 97086
                  Moorpark, CA 93021                                       503-305-6410
                  (818) 399-3544
                  Northwest Burgers and Fries Inc. (Bill Marble)           2341 NW 185th St.
                  11774 Pinedale Rd.                                       Hillsboro, OR 97123
                  Moorpark, CA 93021
                  (818) 399-3544
                  Southern Oregon Burgers and Fries, LLC (Mel Garges and   1421 Center Dr., Ste. #105
                  Kristy Zakour)                                           Medford, OR 97501
                  90730 Marcola Rd.                                        541-816-4232
                  Springfield, OR 97478
                  (541) 968-0544
                  Southern Oregon Burgers and Fries, LLC (Mel Garges and   20 Rossanley Dr.
                  Kristy Zakour)                                           Medford, OR 97501
                  90730 Marcola Rd.                                        458-225-9947
                  Springfield, OR 97478
                  (541) 968-0544
                  Northwest Burgers and Fries Inc. (Bill Marble)           15121 SE McLoughlin Blvd.
                  11774 Pinedale Rd.                                       Milwaukie, OR 97267
                  Moorpark, CA 93021
                  (818) 399-3544
                  Northwest Burgers and Fries Inc. (Bill Marble)           19574 Molalla Ave.
                  11774 Pinedale Rd.                                       Oregon City, OR 97045
                  Moorpark, CA 93021                                       503-657-6049
                  (818) 399-3544
                  Southern Oregon Burgers and Fries, LLC (Mel Garges and   1500 NW Mulholland Dr. #101
                  Kristy Zakour)                                           Roseburg, OR 97470
                  90730 Marcola Rd.                                        541-671-2449
                  Springfield, OR 97478
                  (541) 968-0544
                  CLRM, Inc. (Ryan Coady)                                  2323 Lancaster Dr. NE
                  1575 NE 237th Ave.                                       Salem, OR 97305
                  Wood Village, OR 97060                                   503-990-8828
                  (480) 225-2364


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    STATE                     FRANCHISEE NAME & ADDRESS                             ADDRESS OF STORES
                    CLRM, Inc. (Ryan Coady)                                  Vista Place
                    1575 NE 237th Ave.                                       2990 Commercial Blvd.
                    Wood Village, OR 97060                                   Salem, OR 97302
                    (480) 225-2364
                    Southern Oregon Burgers and Fries, LLC (Mel Garges and   3266 Gateway St.
                    Kristy Zakour)                                           Springfield, OR 97477
                    90730 Marcola Rd.
                    Springfield, OR 97478
                    (541) 968-0544
                    Northwest Burgers and Fries Inc. (Bill Marble)           7005 SW Nyberg St.
                    11774 Pinedale Rd.                                       Tualatin, OR 97062
                    Moorpark, CA 93021                                       503-612-3000
                    (818) 399-3544
                    Northwest Burgers and Fries Inc. (Bill Marble)           2050 8th Ave.
                    11774 Pinedale Rd.                                       West Linn, OR 97068
                    Moorpark, CA 93021                                       503-594-0812
                    (818) 399-3544
Pennsylvania
                    GB-Altoona, LLC (Saleh Mohamadi)                         3420 Pleasant Valley Blvd., Ste. B
                    14080 Sullyfield Circle, Ste. J                          Altoona, PA 16602
                    Chantilly, VA 20151                                      814-944-2001
                    (703) 310-8211
                    Rockham 5G PA, LLC (Drew Smith)                          77 E. City Line Ave.
                    P.O. Box 1437                                            Bala Cynwyd, PA 19004
                    Exton, PA 19344                                          610-949-9005
                    (703) 869-8483
                    Wholesome Enterprises, LLC (Raji Sankar & Randhir        160 Millers Run Rd.
                    Sethi)                                                   Bridgeville, PA 15017
                    3369 Altherson Dr.                                       412-914-2070
                    Pittsburgh, PA 15102
                    (724) 518-0967
                    Rockham 5G PA, LLC (Drew Smith)                          2053 Sprout Rd.
                    P.O. Box 1437                                            Broomall, PA 19008
                    Exton, PA 19344                                          610-359-8155
                    (703) 869-8483
                    Rockham 5G PA, LLC (Drew Smith)                          200 W. Ridge Pike
                    P.O. Box 1437                                            Conshohocken, PA 19428
                    Exton, PA 19344                                          610-825-5557
                    (703) 869-8483
                    Rockham 5G PA, LLC (Drew Smith)                          77 E. City Line Ave.
                    P.O. Box 1437                                            Bala Cynwyd, PA 19004
                    Exton, PA 19344                                          610-949-9005
                    (703) 869-8483
                    Rockham 5G PA, LLC (Drew Smith)                          1082 E. Lancaster Ave.
                    P.O. Box 1437                                            Downingtown, PA 19335
                    Exton, PA 19344                                          610-873-2692
                    (703) 869-8483
                    Rockham 5G PA, LLC (Drew Smith)                          125 East Street Rd.
                    P.O. Box 1437                                            Feasterville, PA 19053
                    Exton, PA 19344                                          215-354-9055
                    (703) 869-8483
                    Great Burger-Johnstown, LLC (Jerome Fink and Saleh       145 Town Center Dr.
                    Mohamadi)                                                Johnstown, PA 15904
                    14080 Sullyfield Circle, Ste. J                          814-262-7872
                    Chantilly, VA 20151
                    (703) 310-8211



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   STATE                    FRANCHISEE NAME & ADDRESS                       ADDRESS OF STORES
                  Rockham 5G PA, LLC (Drew Smith)                     160 N. Gulph Rd.
                  P.O. Box 1437                                       King of Prussia, PA 19406
                  Exton, PA 19344                                     610-265-7755
                  (703) 869-8483
                  Rockham 5G PA, LLC (Drew Smith)                     2424 Lincoln Hwy.
                  P.O. Box 1437                                       Langhorne, PA 19497
                  Exton, PA 19344                                     267-358-5995
                  (703) 869-8483
                  Rockham 5G PA, LLC (Drew Smith)                     1075 W. Baltimore Pike
                  P.O. Box 1437                                       Media, PA 19063
                  Exton, PA 19344                                     484-444-2420
                  (703) 869-8483
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir   73845 Northern Pike
                  Sethi)                                              Monroeville, PA 15146
                  3369 Altherson Dr.                                  412-373-7711
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Rockham 5G PA, LLC (Drew Smith)                     1527 Chestnut St.
                  P.O. Box 1437                                       Philadelphia, PA 19102
                  Exton, PA 19344                                     215-972-1375
                  (703) 869-8483
                  Rockham 5G PA, LLC (Drew Smith)                     2552 Grant Ave., #200
                  P.O. Box 1437                                       Philadelphia, PA 19114
                  Exton, PA 19344                                     215-677-3155
                  (703) 869-8483
                  Rockham 5G PA, LLC (Drew Smith)                     1717 North 12th St., Ste. 2
                  P.O. Box 1437                                       Philadelphia PA 19122
                  Exton, PA 19344                                     215-763-5489
                  (703) 869-8483
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir   1029 Freeport Rd.
                  Sethi)                                              Pittsburgh, PA 15238
                  3369 Altherson Dr.                                  412-781-5590
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir   324 McHolme Dr.
                  Sethi)                                              Pittsburgh, PA 15275
                  3369 Altherson Dr.                                  412-788-5777
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir   117 Bouquet St.
                  Sethi)                                              Pittsburgh, PA 15213
                  3369 Altherson Dr.                                  412-802-7100
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir   3 PPG Pl.
                  Sethi)                                              Pittsburgh, PA 15222
                  3369 Altherson Dr.                                  412-227-0206
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Wholesome Enterprises, LLC (Raji Sankar & Randhir   5207 Liberty Ave., Ste. 101
                  Sethi)                                              Pittsburgh, PA 15224
                  3369 Altherson Dr.                                  412-918-1276
                  Pittsburgh, PA 15102
                  (724) 518-0967
                  Rockham 5G PA, LLC (Drew Smith)                     254 N. West End
                  P.O. Box 1437                                       Quakertown, PA 18951
                  Exton, PA 19344                                     215-536-0555
                  (703) 869-8483

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    STATE                     FRANCHISEE NAME & ADDRESS                             ADDRESS OF STORES
                    Great Burger, State College LLC (Jerome Fink and Saleh   226 W. College Ave.
                    Mohamadi)                                                State College, PA 16801
                    14080 Sullyfield Circle, Ste. J                          814-238-3066
                    Chantilly, VA 20151
                    (703) 310-8211
                    Rockham 5G PA, LLC (Drew Smith)                          864 W. Street Rd.
                    P.O. Box 1437                                            Warminster, PA 18974
                    Exton, PA 19344                                          215-443-5489
                    (703) 869-8483
                    Rockham 5G PA, LLC (Drew Smith)                          Gateway Shopping Center
                    P.O. Box 1437                                            253 E. Swedesford Rd.
                    Exton, PA 19344                                          Wayne, PA
                    (703) 869-8483                                           610-964-0214
Rhode Island
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)    1450 Hartford Ave.
                    2502 Jarratt Ave.                                        Johnston, RI 02919
                    Austin, TX 78703                                         401-214-5050
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)    Lincoln Mall
                    2502 Jarratt Ave.                                        622 George Washington Hwy.
                    Austin, TX 78703                                         Lincoln, RI 02865
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)    600 Kingstown Rd.
                    2502 Jarratt Ave.                                        Wakefield, RI 02879
                    Austin, TX 78703                                         401-284-2395
                    Greg Vasey: (315) 292-8283                               401-284-2678 (fax)
                    Jack Goehring: (703) 867-8222
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)    300 Quaker Ln.
                    2502 Jarratt Ave.                                        Warwick, RI 02886
                    Austin, TX 78703                                         401-828-3100
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    Hyde Park Burgers, LLC (Greg Vasey and Jack Goehring)    63 Airport Rd.
                    2502 Jarratt Ave.                                        Warwick, RI 02889
                    Austin, TX 78703                                         401-921-8469
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
South Carolina
                    Jason Patel, Riteshbhai Patel and Jitenbhai Patel        1909 A Whiskey Rd.
                    1615 Ball Ground Hwy.                                    Aiken, SC 29803
                    Canton, GA 30114                                         803-649-9949
                    (256) 810-8336
                    Griff Ventures, Inc. (Kevin Griffith)                    3501 Clemson Blvd.
                    151 Tandem Dr.                                           Anderson, SC 29621
                    Greer, SC 29650                                          864-716-0466
                    (864) 704-9886
                    2FOR5 King St LLC                                        364 King St.
                    c/o Quintet Acquisitions LLC (Jonathan Kelly)            Charleston, SC 29485
                    123 East Franklin St., #423                              843-577-9912
                    Chapel Hill, NC 27514
                    (919) 525-8825
                    Quintet Acquisitions LLC (Jonathan Kelly)                4959 Centre Point Dr. North
                    123 East Franklin St., #423                              Charleston, SC 29418
                    Chapel Hill, NC 27514                                    843-744-0659
                    (919) 525-8825


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   STATE                    FRANCHISEE NAME & ADDRESS               ADDRESS OF STORES
                  Quintet Acquisitions LLC (Jonathan Kelly)   931 Senate St.
                  123 East Franklin St., #423                 Columbia, SC 29201
                  Chapel Hill, NC 27514                       803-799-0441
                  (919) 525-8825
                  Quintet Acquisitions LLC (Jonathan Kelly)   285 Columbiana Dr.
                  123 East Franklin St., #423                 Columbia, SC 29212
                  Chapel Hill, NC 27514                       803-407-6443
                  (919) 525-8825
                  Quintet Acquisitions LLC (Jonathan Kelly)   4751 Forest Dr.
                  123 East Franklin St., #423                 Columbia, SC 29206
                  Chapel Hill, NC 27514                       803-787-3178
                  (919) 525-8825
                  Quintet Acquisitions LLC (Jonathan Kelly)   Clemson Rd.
                  123 East Franklin St., #423                 Columbia, SC 29229
                  Chapel Hill, NC 27514
                  (919) 525-8825
                  Griff Ventures, Inc. (Kevin Griffith)       128 Rolling Hills Circle, Unit A
                  151 Tandem Dr.                              Easley, SC 29640
                  Greer, SC 29650
                  (864) 704-9886
                  Stein5, LLC (Christine Steiner)             1940 Hoffmeyer Rd.
                  127 Heathland Ln.                           Florence, SC 29501
                  Mooresville, NC 28117                       843-667-6207
                  (810) 599-7632
                  Griff Ventures, Inc. (Kevin Griffith)       1175 Woods Crossing Rd.
                  151 Tandem Dr.                              Greenville, SC 29607
                  Greer, SC 29650                             864-297-0019
                  (864) 704-9886
                  Griff Ventures, Inc. (Kevin Griffith)       3935 Pelham Rd.
                  151 Tandem Dr.                              Greenville, SC 29615
                  Greer, SC 29650                             864-288-3950
                  (864) 704-9886
                  Griff Ventures, Inc. (Kevin Griffith)       3281 N. Pleasantburg Rd.
                  151 Tandem Dr.                              Greenville, SC 29606
                  Greer, SC 29650                             864-232-9740
                  (864) 704-9886
                  Griff Ventures, Inc. (Kevin Griffith)       1488 W. Wade Hampton Blvd.
                  151 Tandem Dr.                              Greer, SC 29650
                  Greer, SC 29650                             864-848-5422
                  (864) 704-9886
                  Quintet Acquisitions LLC (Jonathan Kelly)   5135 Sunset Blvd.
                  123 East Franklin St., #423                 Lexington, SC 29072
                  Chapel Hill, NC 27514                       803-356-1007
                  (919) 525-8825
                  Quintet Acquisitions LLC (Jonathan Kelly)   1795 US Hwy. 17 North
                  123 East Franklin St., #423                 Mount Pleasant, SC 29464
                  Chapel Hill, NC 27514                       843-881-4550
                  (919) 525-8825
                  Stein5, LLC (Christine Steiner)             8715 US Hwy 17 Bypass S
                  127 Heathland Ln.                           Myrtle Beach, SC 29575
                  Mooresville, NC 28117                       843-444-2254
                  (810) 599-7632
                  Stein5, LLC (Christine Steiner)             1772 Pine Island Rd.
                  127 Heathland Ln.                           Myrtle Beach, SC 28577
                  Mooresville, NC 28117                       843-839-9973
                  (810) 599-7632



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    STATE                     FRANCHISEE NAME & ADDRESS                 ADDRESS OF STORES
                    Stein5, LLC (Christine Steiner)               10835 Kings Rd.
                    127 Heathland Ln.                             Myrtle Beach, SC 29572
                    Mooresville, NC 28117                         843-839-9078
                    (810) 599-7632
                    Quintet Acquisitions LLC (Jonathan Kelly)     9500 Dorchester Rd.
                    123 East Franklin St., #423                   North Charleston, SC 29485
                    Chapel Hill, NC 27514                         843-875-8035
                    (919) 525-8825                                843-875-8036 (fax)
                    Quintet Acquisitions LLC (Jonathan Kelly)     7250 Rivers Ave.
                    123 East Franklin St., #423                   North Charleston, SC 29406
                    Chapel Hill, NC 27514                         843-203-6916
                    (919) 525-8825
                    Stein5, LLC (Christine Steiner)               Surfwood Plaza Shopping Center
                    127 Heathland Ln.                             202 Hwy 17 North
                    Mooresville, NC 28117                         North Myrtle Beach, SC
                    (810) 599-7632                                843-281-1090
                    Princess Street Partners, LLC (Rick Fisher)   1460 Meeting Blvd., Ste. 101
                    200 N. Washington St., Unit #320760           Rock Hill, SC 29730
                    Alexandria, VA 22320                          803-980-5800
                    (703) 566-5821
                    Griff Ventures, Inc. (Kevin Griffith)         13450 Clemson Blvd.
                    151 Tandem Dr.                                Seneca, SC 29627
                    Greer, SC 29650                               864-722-5357
                    (864) 704-9886
                    Griff Ventures, Inc. (Kevin Griffith)         3908 Grandview Dr.
                    151 Tandem Dr.                                Simpsonville, SC 29680
                    Greer, SC 29650
                    (864) 704-9886
                    Griff Ventures, Inc. (Kevin Griffith)         1623 John B White Sr. Blvd., Suite B
                    151 Tandem Dr.                                Spartanburg, SC 29301
                    Greer, SC 29650                               864-308-8222
                    (864) 704-9886
                    Quintet Acquisitions LLC (Jonathan Kelly)     1209 N. Main St.
                    123 East Franklin St., #423                   Summerville, SC 29485
                    Chapel Hill, NC 27514                         843-821-4204
                    (919) 525-8825
                    Stein5, LLC (Christine Steiner)               1261 Broad St.
                    127 Heathland Ln.                             Sumter, SC 29150
                    Mooresville, NC 28117                         803-905-5100
                    (810) 599-7632
South Dakota
                    Murray 5G Inc. (Dan Murray)                   1329 Eglin, Ste. 100
                    211 S. Mable Ave.                             Rapid City, SD 57701
                    Sioux Falls, SD 57103                         605-342-4897
                    (605) 645-6624
                    Murray 5G Inc. (Dan Murray)                   4200 S. Louise Ave.
                    211 S. Mable Ave.                             Sioux Falls, SD 57106
                    Sioux Falls, SD 57103                         605-271-7579
                    (605) 645-6624
                    Murray 5G Inc. (Dan Murray)                   121 S. Minnesota Ave.
                    211 S. Mable Ave.                             Sioux Falls, SD 57104
                    Sioux Falls, SD 57103                         605-275-4897
                    (605) 645-6624




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    STATE                    FRANCHISEE NAME & ADDRESS                              ADDRESS OF STORES
Tennessee
                   FGTENN, LLC (Laurie Lowe, Ned Scherer and Calvert          208 Hamilton Crossing Dr.
                   Simmons)                                                   Alcoa, TN 37701
                   1410 Spring Hill Rd.                                       865-982-1200
                   McLean, VA 22102
                   (703) 919-8397
                   GHG Southwest, LLC (Bill Gellert)                          Stage Centre
                   173 Whippoorwill Rd.                                       6600 Stage Rd., Ste. 138
                   Hillsdale, NY 12529                                        Bartlett, TN 38135
                   (914) 643-2180
                   Blue Ridge 5, LLC (Jeffrey Steiner, Christine Steiner, &   412 Pinnacle Pkwy., Ste. 209
                   Joseph Custer)                                             Bristol, TN 37620
                   127 Heathland Lane                                         423-742-6800
                   Mooresville, NC 28117
                   (810) 599-7632
                   GPR Hospitality, LLC (James Richards)                      Hamilton Village
                   7663 Harrier Hill Rd.                                      2020 Gunbarrel Rd.
                   Signal Mountain, TN 37377                                  Chattanooga, TN 37421
                   (423) 605-1253                                             423-664-3500
                   GPR Hospitality, LLC (James Richards)                      401 Broad St., Ste. 101
                   7663 Harrier Hill Rd.                                      Chattanooga, TN 37402
                   Signal Mountain, TN 37377
                   (423) 605-1253
                   GPR Hospitality, LLC (James Richards)                      124 Stuart Rd.
                   7663 Harrier Hill Rd.                                      Cleveland, TN 37312
                   Signal Mountain, TN 37377                                  423-476-4878
                   (423) 605-1253
                   GHG Southwest, LLC (Bill Gellert)                          3574 Houston Levee
                   173 Whippoorwill Rd.                                       Collierville, TN 38028
                   Hillsdale, NY 12529                                        901-316-5593
                   (914) 643-2180
                   GPR Hospitality, LLC (James Richards)                      1265 Interstate Dr., Ste. 211
                   7663 Harrier Hill Rd.                                      Cookeville, TN 38501
                   Signal Mountain, TN 37377                                  931-559-4897
                   (423) 605-1253
                   FGTENN, LLC (Laurie Lowe, Ned Scherer and Calvert          815 Pkwy.
                   Simmons)                                                   Gatlinburg, TN 29420
                   1410 Spring Hill Rd.
                   McLean, VA 22102
                   (703) 919-8397
                   GPR Hospitality, LLC (James Richards)                      261 Indian Lake Blvd.
                   7663 Harrier Hill Rd.                                      Hendersonville, TN 37075
                   Signal Mountain, TN 37377                                  615-822-6062
                   (423) 605-1253
                   GPR Hospitality, LLC (James Richards)                      4013 Lebanon Pike
                   7663 Harrier Hill Rd.                                      Hermitage, TN 37076
                   Signal Mountain, TN 37377                                  615-988-2659
                   (423) 605-1253
                   GPR Hospitality, LLC (James Richards)                      5110 Hixson Pike
                   7663 Harrier Hill Rd.                                      Hixson, TN 37343
                   Signal Mountain, TN 37377                                  423-870-7772
                   (423) 605-1253
                   GHG Southwest, LLC (Bill Gellert)                          Shoppes @ The Columns
                   173 Whippoorwill Rd.                                       1245 Vann Dr.
                   Hillsdale, NY 12529                                        Jackson, TN 38305
                   (914) 643-2180



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                  Blue Ridge 5, LLC (Jeffrey Steiner, Christine Steiner, &   1914 North Roan St.
                  Joseph Custer)                                             Johnson City, TN 37601
                  127 Heathland Lane                                         423-262-0402
                  Mooresville, NC 28117
                  (810) 599-7632
                  Blue Ridge 5, LLC (Jeffrey Steiner, Christine Steiner, &   1708 E. Stone Dr.
                  Joseph Custer)                                             Kingsport, TN 37660
                  127 Heathland Lane                                         423-378-7806
                  Mooresville, NC 28117
                  (810) 599-7632
                  FGTENN, LLC (Laurie Lowe, Ned Scherer and Calvert          10922 Parkside Dr.
                  Simmons)                                                   Knoxville, TN 37923
                  1410 Spring Hill Rd.                                       865-675-4897
                  McLean, VA 22102
                  (703) 919-8397
                  FGTENN, LLC (Laurie Lowe, Ned Scherer and Calvert          Northshore Town Center
                  Simmons)                                                   Northshore Dr. & Town Center Blvd.
                  1410 Spring Hill Rd.                                       Knoxville, TN 37922
                  McLean, VA 22102
                  (703) 919-8397
                  FGTENN, LLC (Laurie Lowe, Ned Scherer and Calvert          234 Brookview Center #101
                  Simmons)                                                   Knoxville, TN 37919
                  1410 Spring Hill Rd.                                       865-602-7700
                  McLean, VA 22102
                  (703) 919-8397
                  GHG Southwest, LLC (Bill Gellert)                          1315 Ridgeway Rd.
                  173 Whippoorwill Rd.                                       Memphis, TN 38119
                  Hillsdale, NY 12529
                  (914) 643-2180
                  GHG Southwest, LLC (Bill Gellert)                          2100 Union Ave.
                  173 Whippoorwill Rd.                                       Memphis, TN 38104
                  Hillsdale, NY 12529                                        901-552-4017
                  (914) 643-2180
                  GPR Hospitality, LLC (James Richards)                      300 Pleasant Grove
                  7663 Harrier Hill Rd.                                      Mt. Juliet, TN 37122
                  Signal Mountain, TN 37377                                  615-758-8566
                  (423) 605-1253
                  GPR Hospitality, LLC (James Richards)                      536 N. Thompson Ln.
                  7663 Harrier Hill Rd.                                      Murfreesboro, TN 37129
                  Signal Mountain, TN 37377                                  615-439-6047
                  (423) 605-1253
                  FGTENN, LLC (Laurie Lowe, Ned Scherer and Calvert          2526 Pkwy.
                  Simmons)                                                   Pigeon Forge, TN 37863
                  1410 Spring Hill Rd.                                       865-453-1445
                  McLean, VA 22102
                  (703) 919-8397
                  FGTENN, LLC (Laurie Lowe, Ned Scherer and Calvert          7531 Barnett Way
                  Simmons)                                                   Powell, TN 37849
                  1410 Spring Hill Rd.                                       865-938-2007
                  McLean, VA 22102
                  (703) 919-8397
                  GPR Hospitality, LLC (James Richards)                      311 Sam Ridley Pkwy.
                  7663 Harrier Hill Rd.                                      Smyra, TN 37167
                  Signal Mountain, TN 37377                                  615-459-3220
                  (423) 605-1253




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    STATE                  FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
Texas
                   Senovia Foods North, LLC (Albert Carrillo, Jr.)      2313 South Georgia St., Space 37
                   1604 Shell Ave.                                      Amarillo, TX 79109
                   Midland, TX 79705                                    806-398-0582
                   (626) 890-9560
                   Encore FGBF Texas, LLC (Bharat Sangani)              4245 S. Cooper St., Ste. 151
                   c/o Encore Restaurants, LLC                          Arlington, TX 76015
                   5005 LBJ Freeway, Ste. 1200                          817-468-6033
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              10000 Research Blvd., #142
                   c/o Encore Restaurants, LLC                          Austin, TX 78759
                   5005 LBJ Freeway, Ste. 1200                          512-338-0300
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              4301 W. William Cannon Dr. E., #200
                   c/o Encore Restaurants, LLC                          Austin, TX 78749
                   5005 LBJ Freeway, Ste. 1200                          512-358-0774
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              3400 E. Hebron Pkwy., Ste. 100
                   c/o Encore Restaurants, LLC                          Carrollton, TX 78249
                   5005 LBJ Freeway, Ste. 1200                          972-248-6043
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              398 FM 1382 E, Ste. A
                   c/o Encore Restaurants, LLC                          Cedar Hill, TX 75104
                   5005 LBJ Freeway, Ste. 1200                          972-637-1000
                   Dallas, TX 75244
                   (214) 259-7004
                   The Houston Guys LLC (John Hooff and Eugene Hooff)   711 University Dr. E, Unit 100
                   2107 Forest Hill Rd.                                 College Station, TX 77840
                   Alexandria, VA 22307                                 979-703-1530
                   John Hooff: (703) 585-6284, (703) 329-3354
                   Eugene Hooff: (404) 550-2147
                   The Houston Guys LLC (John Hooff and Eugene Hooff)   507 I-45 N, St.e D
                   2107 Forest Hill Rd.                                 Conroe, TX 77304
                   Alexandria, VA 22307                                 936-474-4110
                   John Hooff: (703) 585-6284, (703) 329-3354
                   Eugene Hooff: (404) 550-2147
                   Encore FGBF Texas, LLC (Bharat Sangani)              5425 South Padre Island Dr., Ste. 137
                   c/o Encore Restaurants, LLC                          Corpus Christi, TX 78411
                   5005 LBJ Freeway, Ste. 1200                          361-993-5552
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              25845 Hwy. 290
                   c/o Encore Restaurants, LLC                          Cypress, TX 77429
                   5005 LBJ Freeway, Ste. 1200                          281-758-4855
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              28920 Hwy. 290
                   c/o Encore Restaurants, LLC                          Cypress, TX 77433
                   5005 LBJ Freeway, Ste. 1200                          832-653-2390
                   Dallas, TX 75244
                   (214) 259-7004




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   STATE                    FRANCHISEE NAME & ADDRESS             ADDRESS OF STORES
                  Encore FGBF Texas, LLC (Bharat Sangani)   13350 Dallas Pkwy, Ste. 975
                  c/o Encore Restaurants, LLC               Dallas, TX 75240
                  5005 LBJ Freeway, Ste. 1200               972-239-8470
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)   1715 South Loop 288, Unit 110
                  c/o Encore Restaurants, LLC               Denton, TX 76201
                  5005 LBJ Freeway, Ste. 1200               940-382-2900
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)   6450 Desert Blvd., Bldg. H
                  c/o Encore Restaurants, LLC               El Paso, TX 79912
                  5005 LBJ Freeway, Ste. 1200               915-349-6836
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)   8889 Gateway West Blvd.
                  c/o Encore Restaurants, LLC               El Paso, TX 79925
                  5005 LBJ Freeway, Ste. 1200               915-633-1669
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)   1327 George Dieter Dr.
                  c/o Encore Restaurants, LLC               El Paso, TX 79936
                  5005 LBJ Freeway, Ste. 1200               915-590-6700
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)   655 Sunland Park Dr.
                  c/o Encore Restaurants, LLC               El Paso, TX 79912
                  5005 LBJ Freeway, Ste. 1200               915-581-2415
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)   2701 Hwy. 121, Ste. 100
                  c/o Encore Restaurants, LLC               Euless, TX 76039
                  5005 LBJ Freeway, Ste. 1200               817-358-3558
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)   9180 N. Freeway
                  c/o Encore Restaurants, LLC               Ft. Worth, TX 76177
                  5005 LBJ Freeway, Ste. 1200               817-750-1030
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)   313 Houston St.
                  c/o Encore Restaurants, LLC               Ft. Worth, TX 76102
                  5005 LBJ Freeway, Ste. 1200               817-348-9623
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)   4833 S. Hulen St.
                  c/o Encore Restaurants, LLC               Ft. Worth, TX 76132
                  5005 LBJ Freeway, Ste. 1200               817-263-8900
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)   1201 West University Ave., Ste. 110
                  c/o Encore Restaurants, LLC               Georgetown, TX 78628
                  5005 LBJ Freeway, Ste. 1200               512-591-0671
                  Dallas, TX 75244
                  (214) 259-7004




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   STATE                    FRANCHISEE NAME & ADDRESS                        ADDRESS OF STORES
                  Encore FGBF Texas, LLC (Bharat Sangani)              201 East Central Texas Exp., Ste. 1440
                  c/o Encore Restaurants, LLC                          Harker Heights, TX 76548
                  5005 LBJ Freeway, Ste. 1200                          254-690-0023
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              6927 FM 1960 at Cutten Rd.
                  c/o Encore Restaurants, LLC                          Houston, TX 77069
                  5005 LBJ Freeway, Ste. 1200                          281-880-5555
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              14303 E. Sam Houston Pkwy. N
                  c/o Encore Restaurants, LLC                          Houston, TX 77044
                  5005 LBJ Freeway, Ste. 1200                          832-230-1478
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              1150 N. Fry Rd., Ste. A
                  c/o Encore Restaurants, LLC                          Houston, TX 77084
                  5005 LBJ Freeway, Ste. 1200                          281-647-6555
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              9762 Katy Fwy., Ste. 100
                  c/o Encore Restaurants, LLC                          Houston, TX 77055
                  5005 LBJ Freeway, Ste. 1200                          713-468-4280
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              8505 S. Main St., Unit 380
                  c/o Encore Restaurants, LLC                          Houston, TX 77025
                  5005 LBJ Freeway, Ste. 1200                          713-662-2075
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              1715 Post Oak Blvd.
                  c/o Encore Restaurants, LLC                          Houston, TX 77056
                  5005 LBJ Freeway, Ste. 1200                          713-960-1525
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              2902 N. Shepard Dr.
                  c/o Encore Restaurants, LLC                          Houston, TX 77008
                  5005 LBJ Freeway, Ste. 1200                          713-864-6555
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              3939 Washington Ave., Unit 600
                  c/o Encore Restaurants, LLC                          Houston, TX 77007
                  5005 LBJ Freeway, Ste. 1200                          713-426-5558
                  Dallas, TX 75244
                  (214) 259-7004
                  The Houston Guys LLC (John Hooff and Eugene Hooff)   Royal Oaks Center
                  2107 Forest Hill Rd.                                 11700 Westheimer Rd.
                  Alexandria, VA 22307                                 Houston, TX 77077
                  John Hooff: (703) 585-6284, (703) 329-3354
                  Eugene Hooff: (404) 550-2147
                  Encore FGBF Texas, LLC (Bharat Sangani)              7405 FM 1960 Rd. E
                  c/o Encore Restaurants, LLC                          Humble, TX 77346
                  5005 LBJ Freeway, Ste. 1200                          281-359-0555
                  Dallas, TX 75244
                  (214) 259-7004




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   STATE                    FRANCHISEE NAME & ADDRESS                         ADDRESS OF STORES
                  Encore FGBF Texas, LLC (Bharat Sangani)              1304 W. Pipeline Rd.
                  c/o Encore Restaurants, LLC                          Hurst, TX 76053
                  5005 LBJ Freeway, Ste. 1200                          817-284-0763
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              6440 N. MacArthur Blvd., Ste. 110
                  c/o Encore Restaurants, LLC                          Irving, TX 75039
                  5005 LBJ Freeway, Ste. 1200                          972-409-7230
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              151 Evans Dr., Ste. 113
                  c/o Encore Restaurants, LLC                          Kyle, TX 78640
                  5005 LBJ Freeway, Ste. 1200                          512-268-0200
                  Dallas, TX 75244
                  (214) 259-7004
                  The Houston Guys LLC (John Hooff and Eugene Hooff)   1615 West FM 646
                  2107 Forest Hill Rd.                                 League City, TX 77573
                  Alexandria, VA 22307                                 281-534-6726
                  John Hooff: (703) 585-6284, (703) 329-3354
                  Eugene Hooff: (404) 550-2147
                  Encore FGBF Texas, LLC (Bharat Sangani)              859 Hwy. 121, Ste. C
                  c/o Encore Restaurants, LLC                          Lewisville, TX 75067
                  5005 LBJ Freeway, Ste. 1200                          972-315-8601
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              8222 Agora Pkwy., Ste. 124
                  c/o Encore Restaurants, LLC                          Live Oak, TX 78154
                  5005 LBJ Freeway, Ste. 1200                          210-566-6428
                  Dallas, TX 75244
                  (214) 259-7004
                  Senovia Foods North, LLC (Albert Carrillo, Jr.)      4410 19th St., #100
                  1604 Shell Ave.                                      Lubbock, TX 79407
                  Midland, TX 79705                                    806-771-4897
                  (626) 890-9560
                  Senovia Foods North, LLC (Albert Carrillo, Jr.)      6076 Marsha Sharp Freeway
                  1604 Shell Ave.                                      Lubbock, TX 79407
                  Midland, TX 79705                                    806-771-4897
                  (626) 890-9560
                  Senovia Foods North, LLC (Albert Carrillo, Jr.)      4406 114th St., Ste. 300
                  1604 Shell Ave.                                      Lubbock, TX 79424
                  Midland, TX 79705                                    806-701-2080
                  (626) 890-9560
                  The Houston Guys LLC (John Hooff and Eugene Hooff)   6619 FM 1488, Ste. 201
                  2107 Forest Hill Rd.                                 Magnolia, TX 77354
                  Alexandria, VA 22307
                  John Hooff: (703) 585-6284, (703) 329-3354
                  Eugene Hooff: (404) 550-2147
                  Encore FGBF Texas, LLC (Bharat Sangani)              3701 Expressway 83
                  c/o Encore Restaurants, LLC                          McAllen, TX 78503
                  5005 LBJ Freeway, Ste. 1200                          956-630-5554
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)              3530 West University Dr.
                  c/o Encore Restaurants, LLC                          McKinney, TX 75071
                  5005 LBJ Freeway, Ste. 1200                          214-856-5245
                  Dallas, TX 75244
                  (214) 259-7004


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                                    355
   STATE                    FRANCHISEE NAME & ADDRESS                         ADDRESS OF STORES
                  Encore FGBF Texas, LLC (Bharat Sangani)               1725 N. Town E. Blvd., Ste. 210
                  c/o Encore Restaurants, LLC                           Mesquite, TX 75150
                  5005 LBJ Freeway, Ste. 1200                           972-681-1039
                  Dallas, TX 75244
                  (214) 259-7004
                  Albert Carrillo, Jr.                                  2816 W. Loop 250 N., Ste. 300
                  1604 Shell Ave.                                       Midland, TX 79705
                  Midland, TX 79705                                     432-699-2036
                  (626) 890-9560
                  The Houston Guys LLC, (John Hooff and Eugene Hooff)   6215 Highway #6, Ste. 100
                  2107 Forest Hill Rd.                                  Missouri City, TX 77459
                  Alexandria, VA 22307
                  John Hooff: (703) 585-6284, (703) 329-3354
                  Eugene Hooff: (404) 550-2147
                  The Houston Guys, LLC (John Hooff and Eugene Hooff)   1760 Nasa Pkwy.
                  2107 Forest Hill Rd.                                  Nassau Bay, TX 77058
                  Alexandria, VA 22307                                  832-864-3495
                  John Hooff: (703) 585-6284, (703) 329-3354
                  Eugene Hooff: (404) 550-2147
                  Encore FGBF Texas, LLC (Bharat Sangani)               195 Creekside Crossing
                  c/o Encore Restaurants, LLC                           New Braunfels, TX 78130
                  5005 LBJ Freeway, Ste. 1200                           830-620-9655
                  Dallas, TX 75244
                  (214) 259-7004
                  The Houston Guys, LLC (John Hooff and Eugene Hooff)   11971 North Grand Pkwy., Ste. 100
                  2107 Forest Hill Rd.                                  New Caney, TX 77357
                  Alexandria, VA 22307                                  281-577-4012
                  John Hooff: (703) 585-6284, (703) 329-3354
                  Eugene Hooff: (404) 550-2147
                  Albert Carrillo, Jr.                                  4101 East 42nd St., Bldg N, Unit 131
                  1604 Shell Ave.                                       Odessa, TX 79762
                  Midland, TX 79705
                  (626) 890-9560
                  The Houston Guys LLC (John Hooff and Eugene Hooff)    10645 Broadway St., Ste. #120
                  2107 Forest Hill Rd.                                  Pearland, TX 77584
                  Alexandria, VA 22307
                  John Hooff: (703) 585-6284, (703) 329-3354
                  Eugene Hooff: (404) 550-2147
                  Encore FGBF Texas, LLC (Bharat Sangani)               2424 FM 685, Ste. 200
                  c/o Encore Restaurants, LLC                           Pflugerville, TX 78660
                  5005 LBJ Freeway, Ste. 1200                           737-209-0154
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)               1201 E. Spring Creek Pkwy., Ste. 110
                  c/o Encore Restaurants, LLC                           Plano, TX 75074
                  5005 LBJ Freeway, Ste. 1200                           972-422-4223
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)               8240 Preston Rd., Ste. 190
                  c/o Encore Restaurants, LLC                           Plano, TX 75024
                  5005 LBJ Freeway, Ste. 1200                           469-362-7070
                  Dallas, TX 75244
                  (214) 259-7004
                  Encore FGBF Texas, LLC (Bharat Sangani)               1035 East I-30, Ste. 105
                  c/o Encore Restaurants, LLC                           Rockwall, TX 75087
                  5005 LBJ Freeway, Ste. 1200                           972-722-0957
                  Dallas, TX 75244
                  (214) 259-7004

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                                    356
       STATE                 FRANCHISEE NAME & ADDRESS                        ADDRESS OF STORES
                   Encore FGBF Texas, LLC (Bharat Sangani)              3107 South I-35, Ste. 750
                   c/o Encore Restaurants, LLC                          Round Rock, TX 78664
                   5005 LBJ Freeway, Ste. 1200                          512-246-7193
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              260 East Basse Road
                   c/o Encore Restaurants, LLC                          San Antonio, TX 78209
                   5005 LBJ Freeway, Ste. 1200                          210-822-6200
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              5215 DeZavala Rd.
                   c/o Encore Restaurants, LLC                          San Antonio, TX 78249
                   5005 LBJ Freeway, Ste. 1200                          210-641-2595
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              1321 N. Loop 1604 E.
                   c/o Encore Restaurants, LLC                          San Antonio, TX 78232
                   5005 LBJ Freeway, Ste. 1200                          210-402-7305
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              8603 State Hwy. 151, Ste. 208
                   c/o Encore Restaurants, LLC                          San Antonio, TX 78245
                   5005 LBJ Freeway, Ste. 1200                          210-543-2700
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              20811 Hwy. 281 N
                   c/o Encore Restaurants, LLC                          San Antonio, TX 78258
                   5005 LBJ Freeway, Ste. 1200                          210-370-9256
                   Dallas, TX 75244
                   (214) 259-7004
                   Encore FGBF Texas, LLC (Bharat Sangani)              6630 Spring Stuebner Rd.
                   c/o Encore Restaurants, LLC                          Spring, TX 77389
                   5005 LBJ Freeway, Ste. 1200                          832-761-5186
                   Dallas, TX 75244
                   (214) 259-7004
                   The Houston Guys LLC (John Hooff and Eugene Hooff)   15810 SW Freeway, #100
                   2107 Forest Hill Rd.                                 Sugarland, TX 77478
                   Alexandria, VA 22307                                 281-277-7755
                   John Hooff: (703) 585-6284, (703) 329-3354
                   Eugene Hooff: (404) 550-2147
                   The Houston Guys LLC (John Hooff and Eugene Hooff)   Baybrook Sq.
                   2107 Forest Hill Rd.                                 1333 West Bay Area Blvd. #300
                   Alexandria, VA 22307                                 Webster, TX 77598
                   John Hooff: (703) 585-6284, (703) 329-3354
                   Eugene Hooff: (404) 550-2147
Utah
                   MeisterGuys, LLC (Jeff Howes)                        209 N State St., Ste. B
                   125 West Burton Ave., Ste. 2                         American Fork, UT 84003
                   Salt Lake City, UT 84115
                   (801) 231-6101
                   MeisterGuys, LLC (Jeff Howes)                        235 N. 500 W.
                   125 West Burton Ave., Ste. 2                         Bountiful, UT 84010
                   Salt Lake City, UT 84115                             801-292-3002
                   (801) 231-6101
                   MeisterGuys, LLC (Jeff Howes)                        487 E. 12300 S.
                   125 West Burton Ave., Ste. 2                         Draper, UT 84020
                   Salt Lake City, UT 84115                             801-571-5027
                   (801) 231-6101

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   STATE                    FRANCHISEE NAME & ADDRESS         ADDRESS OF STORES
                  MeisterGuys, LLC (Jeff Howes)         2065 N. Harris Dr.
                  125 West Burton Ave., Ste. 2          Layton, UT 84040
                  Salt Lake City, UT 84115              801-773-8945
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         3601 N. Digital Dr., Ste. B
                  125 West Burton Ave., Ste. 2          Lehi, UT 84043
                  Salt Lake City, UT 84115              385-336-8382
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         1077 N. Main St., Ste. 120
                  125 West Burton Ave., Ste. 2          Logan, UT 84341
                  Salt Lake City, UT 84115              435-753-7445
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         1082 E. Ft. Union Blvd.
                  125 West Burton Ave., Ste. 2          Midvale, UT 84047
                  Salt Lake City, UT 84115              801-565-8100
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         2325 Washington Blvd.
                  125 West Burton Ave., Ste. 2          Ogden, UT 84424
                  Salt Lake City, UT 84115
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         1051 S. 750 E.
                  125 West Burton Ave., Ste. 2          Orem, UT 84097
                  Salt Lake City, UT 84115              801-765-7556
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         1626 Uinta Way, Suite B-1
                  125 West Burton Ave., Ste. 2          Park City, UT 84098
                  Salt Lake City, UT 84115              435-571-0911
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         12570 Rhetski Lane, Ste. 103
                  125 West Burton Ave., Ste. 2          Riverton, UT 84065
                  Salt Lake City, UT 84115
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         10391 S. State St.
                  125 West Burton Ave., Ste. 2          Sandy, UT 84070
                  Salt Lake City, UT 84115              801-523-7440
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         3200 E. 3300 S.
                  125 West Burton Ave., Ste. 2          Salt Lake City, UT 84109
                  Salt Lake City, UT 84115              801-484-2480
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         529 E. 1000 N.
                  125 West Burton Ave., Ste. 2          Spanish Fork, UT 84660
                  Salt Lake City, UT 84115              801-798-7878
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         1279 E. 100 S.
                  125 West Burton Ave., Ste. 2          St. George, UT 84790
                  Salt Lake City, UT 84115              435-673-7337
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         1716 W. 5400 S.
                  125 West Burton Ave., Ste. 2          Taylorsville, UT 84118
                  Salt Lake City, UT 84115              385-237-4111
                  (801) 231-6101
                  MeisterGuys, LLC (Jeff Howes)         Jordan Landing
                  125 West Burton Ave., Ste. 2          7168 S. Plaza Center Dr.
                  Salt Lake City, UT 84115              West Jordan, UT 84084
                  (801) 231-6101



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     STATE                    FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                    MeisterGuys, LLC (Jeff Howes)                          2917 South Glen Eagles, Ste. 4
                    125 West Burton Ave., Ste. 2                           West Valley, UT 84128
                    Salt Lake City, UT 84115                               801-963-8003
                    (801) 231-6101
Vermont
                    G.F. Vasey Holdings, LLC (Greg Vasey and Jack          5 N. Main St.
                    Goehring)                                              Rutland, VT 05701
                    2502 Jarrett Ave.                                      802-417-2752
                    Austin, TX 79705
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
                    G.F. Vasey (Holdings, LLC (Greg Vasey and Jack         The Gateway
                    Goehring)                                              580 Shelburne Rd., Ste. 11
                    2502 Jarrett Ave.                                      South Burlington, VT 05401
                    Austin, TX 79705
                    Greg Vasey: (315) 292-8283
                    Jack Goehring: (703) 867-8222
Virginia
                    H&I Burgers LLC (Isalmou Boussaa, Hicham El Abbassi)   201 Connor Dr.
                    2110 Ivy Stone Pl.                                     Charlottesville, VA 22911
                    Woodbridge, VA 22191                                   434-963-4897
                    Isalmou Boussaa: (703) 595-6785
                    Hicham El Abbassi: (703) 328-0007
                    H&I Burgers LLC (Isalmou Boussaa, Hicham El Abbassi)   1119 Emmet St.
                    2110 Ivy Stone Pl.                                     Charlottesville, VA 22905
                    Woodbridge, VA 22191                                   434-975-4897
                    Isalmou Boussaa: (703) 595-6785
                    Hicham El Abbassi: (703) 328-0007
                    Atlanta’s Best Burgers, LLC (Michael Melton)           Dulles International Airport
                    1219 Towlston Rd.                                      Concourse B
                    Great Falls, VA 22066                                  Dulles, VA 20166
                    (703) 919-5289                                         703-572-5125
                    Marion Sadler                                          916 W. Atlantic
                    Post Office Box 871                                    Sadler Travel Plaza
                    Emporia, VA 23847                                      Emporia, VA 23847
                    (434) 594-4907                                         434-348-3483
                    H&I Burgers LLC (Isalmou Boussaa, Hicham El Abbassi)   145 Riverton Commons Plaza
                    2110 Ivy Stone Pl.                                     Front Royal, VA 22630
                    Woodbridge, VA 22191                                   540-749-2750
                    Isalmou Boussaa: (703) 595-6785
                    Hicham El Abbassi: (703) 328-0007
                    Robert and Larry Bowers                                10841 West Broad St.
                    3260 Kirkham Rd.                                       Glen Allen, VA 23058
                    Columbus, OH 43221                                     804-967-0001
                    Robert Bowers: (614) 557-2211
                    Larry Bowers: (330) 340-1536
                    Robert and Larry Bowers                                12210 West Broad St.
                    3260 Kirkham Rd.                                       Henrico, VA 23233
                    Columbus, OH 43221                                     804-505-3136
                    Robert Bowers: (614) 557-2211
                    Larry Bowers: (330) 340-1536
                    Pyramid Enterprises, LLC (Steve Perkins)               King George Gateway
                    3804 Blackthorn St.                                    16398-B Consumer Row
                    Chevy Chase, MD 20815                                  King George, VA 22485
                    (703) 919-2566                                         540-644-9055




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    STATE                    FRANCHISEE NAME & ADDRESS                              ADDRESS OF STORES
                   Retail Store Investment, LLC (Khadija Dinath)              12421 Chattanooga Plaza
                   23 Hidden Key Pl.                                          Midlothian, VA 23112
                   St. Catherine’s, ON Canada L2M 7H5                         804-763-6002
                   (289) 214-2812
                   Robert and Larry Bowers                                    1601 Willow Lawn Dr.
                   3260 Kirkham Rd.                                           Richmond, VA 23230
                   Columbus, OH 43221                                         804-282-5595
                   Robert Bowers: (614) 557-2211
                   Larry Bowers: (330) 340-1536
                   Retail Store Investment, LLC (Khadija Dinath)              7017 B&C Forest Hills Ave.
                   23 Hidden Key Pl.                                          Richmond, VA 23225
                   St. Catherine’s, ON Canada L2M 7H5                         804-303-0972
                   (289) 214-2812
                   Marion Sadler                                              1015 East Atlantic St.
                   Post Office Box 871                                        South Hill, VA 23970
                   Emporia, VA 23847                                          434-584-3483
                   (434) 594-4907
                   H&I Burgers LLC (Isalmou Boussaa, Hicham El Abbassi)       1365 Berryville Ave.
                   2110 Ivy Stone Pl.                                         Winchester, VA 22601
                   Woodbridge, VA 22191                                       540-542-0011
                   Isalmou Boussaa: (703) 595-6785
                   Hicham El Abbassi: (703) 328-0007
                   H&I Burgers LLC (Isalmou Boussaa, Hicham El Abbassi)       579 Adams St.
                   2110 Ivy Stone Pl.                                         Winchester, VA 22601
                   Woodbridge, VA 22191                                       540-542-0072
                   Isalmou Boussaa: (703) 595-6785
                   Hicham El Abbassi: (703) 328-0007
Washington
                   Bighorn Five Guys Acquisitions, LLC (Clayton Parrett and   1301 W. Bakerview Rd.
                   H. Scott Miller)                                           Bellingham, WA 98226
                   c/o Miller Investment Management, LP                       360-734-8300
                   100 Front St., Ste 1500
                   West Conshohocken, PA 19428
                   (610) 834-9820 x144
                   Seattle Burgers, Inc. (Amjad Iraqi)                        1111 228th St. SE
                   8094 Cottonwood Ct.                                        Bothell, WA 98021
                   Seminole, FL 33776                                         425-489-8555
                   (206) 595-0492
                   Bighorn Five Guys Acquisitions, LLC (Clayton Parrett and   1870 Marketplace Dr.
                   H. Scott Miller)                                           Burlington, WA 98233
                   c/o Miller Investment Management, LP                       360-757-8677
                   100 Front St., Ste 1500
                   West Conshohocken, PA 19428
                   (610) 834-9820 x144
                   Nabil Asad                                                 1928 South Commons, Ste. B-1
                   6043 Gholson Bridge Ct.                                    Federal Way, WA 98003
                   Manassas, VA 20112                                         253-839-1425
                   (571) 436-1441
                   Nabil Asad                                                 755 NW Gilman Blvd.
                   6043 Gholson Bridge Ct.                                    Issaquah, WA 98077
                   Manassas, VA 20112                                         425-392-3005
                   (571) 436-1441
                   Seattle Burgers, Inc. (Amjad Iraqi)                        1120 NE 124th St.
                   8094 Cottonwood Ct.                                        Kirkland, WA 98034
                   Seminole, FL 33776                                         425-814-3256
                   (206) 595-0492



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   STATE                    FRANCHISEE NAME & ADDRESS                              ADDRESS OF STORES
                  Bighorn Five Guys Acquisitions, LLC (Clayton Parrett and   Lakewood Towne Center
                  H. Scott Miller)                                           5605 Lakewood Towne Center Blvd.
                  c/o Miller Investment Management, LP                       Lakewood, WA 98499
                  100 Front St., Ste 1500                                    253-582-4897
                  West Conshohocken, PA 19428
                  (610) 834-9820 x144
                  Seattle Burgers, Inc. (Amjad Iraqi)                        2902 164th St. SW
                  8094 Cottonwood Ct.                                        Lynnwood, WA 98087
                  Seminole, FL 33776                                         425-787-6400
                  (206) 595-0492
                  Seattle Burgers, Inc. (Amjad Iraqi)                        19620 Highway 99, Ste. 101
                  8094 Cottonwood Ct.                                        Lynnwood, WA 98036
                  Seminole, FL 33776                                         425-670-9915
                  (206) 595-0492
                  Bighorn Five Guys Acquisitions, LLC (Clayton Parrett and   2707 171st Place NE, #104
                  H. Scott Miller)                                           Marysville, WA 98271
                  c/o Miller Investment Management, LP                       360-652-8707
                  100 Front St., Ste 1500
                  West Conshohocken, PA 19428
                  (610) 834-9820 x144
                  Bighorn Five Guys Acquisitions, LLC (Clayton Parrett and   14650 N. Kelsey St.
                  H. Scott Miller)                                           Monroe, WA 98272
                  c/o Miller Investment Management, LP                       360-805-4919
                  100 Front St., Ste 1500
                  West Conshohocken, PA 19428
                  (610) 834-9820 x144
                  Bighorn Five Guys Acquisitions, LLC (Clayton Parrett and   1200 Cooper Point SW, Ste. 800
                  H. Scott Miller)                                           Olympia, WA 98502
                  c/o Miller Investment Management, LP                       360-943-9497
                  100 Front St., Ste 1500
                  West Conshohocken, PA 19428
                  (610) 834-9820 x144
                  Bighorn Five Guys Acquisitions, LLC (Clayton Parrett and   1002 N. Meridian St.
                  H. Scott Miller)                                           Puyallup, WA 98371
                  c/o Miller Investment Management, LP                       253-446-6183
                  100 Front St., Ste 1500
                  West Conshohocken, PA 19428
                  (610) 834-9820 x144
                  Nabil Asad                                                 2010 148th Ave., NE, Ste. 100
                  6043 Gholson Bridge Ct.                                    Redmond, WA 98052
                  Manassas, VA 20112
                  (571) 436-1441
                  Seattle Burgers, Inc. (Amjad Iraqi)                        17124 Redmond Way
                  8094 Cottonwood Ct.                                        Redmond, WA 98052
                  Seminole, FL 33776                                         425-406-8949
                  (206) 595-0492
                  Nabil Asad                                                 910 10th Place
                  6043 Gholson Bridge Ct.                                    Renton, WA 98055
                  Manassas, VA 20112                                         425-228-2286
                  (571) 436-1441
                  Montana Burgers Inc. (Patrick Carls)                       2671 Queensgate Dr.
                  2808 Carla Jo Ln.                                          Richland, WA 99352
                  Missoula, MT 59803                                         509-222-1120
                  (509) 991-9663
                  Seattle Burgers, Inc. (Amjad Iraqi)                        311 NE 103rd St.
                  8094 Cottonwood Ct.                                        Seattle, WA 98125
                  Seminole, FL 33776                                         206-729-5028
                  (206) 595-0492

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     STATE                    FRANCHISEE NAME & ADDRESS                               ADDRESS OF STORES
                    Seattle Burgers, Inc. (Amjad Iraqi)                        1500 NW Market St.
                    8094 Cottonwood Ct.                                        Seattle, WA 98017
                    Seminole, FL 33776                                         206-257-4709
                    (206) 595-0492
                    Seattle Burgers, Inc. (Amjad Iraqi)                        10061 Kitsap Mall Blvd. NW
                    8094 Cottonwood Ct.                                        Silverdale, WA 98383
                    Seminole, FL 33776                                         360-286-2413
                    (206) 595-0492
                    Montana Burgers Inc. (Patrick Carls)                       9502 N. Newport Hwy.
                    2808 Carla Jo Ln.                                          Spokane, WA 99218
                    Missoula, MT 59803                                         509-928-2921
                    (509) 991-9663
                    Montana Burgers Inc. (Patrick Carls)                       10 N. Sullivan Rd.
                    2808 Carla Jo Ln.                                          Spokane Valley, WA 99216
                    Missoula, MT 59803                                         509-927-2840
                    (509) 991-9663
                    Bighorn Five Guys Acquisitions, LLC (Clayton Parrett and   4027 Tacoma Mall Blvd., Ste. A
                    H. Scott Miller)                                           Tacoma, WA 98409
                    c/o Miller Investment Management, LP                       253-475-0117
                    100 Front St., Ste 1500
                    West Conshohocken, PA 19428
                    (610) 834-9820 x144
                    Nabil Asad                                                 17100 Southcenter Pkwy., Ste. 112
                    6043 Gholson Bridge Ct.                                    Tukwila, WA 98188
                    Manassas, VA 20112                                         425-221-0081
                    (571) 436-1441
                    Pacific Burgers, Inc. (Jeffrey Marble)                     310 NE 78th St.
                    320 N. Main St., Ste. 203                                  Vancouver, WA 98665
                    Gresham, OR 97030                                          360-574-2810
                    (253) 961-7047
                    Northwest Burgers & Fries, Inc. (Bill Marble)              19171 SE Mill Plain Blvd., #109
                    11774 Pinedale Road                                        Vancouver, WA 98683
                    Moorpark, CA 93021                                         360-260-5585
                    (818) 399-3544
                    Northwest Burgers & Fries, Inc. (Bill Marble)              8440 Vancouver Mall Dr., Ste. 110
                    11774 Pinedale Road                                        Vancouver, WA 98662
                    Moorpark, CA 93021                                         360-719-2181
                    (818) 399-3544
                    Montana Burgers Inc. (Patrick Carls)                       1901 S. 1st St., Ste. #100
                    2808 Carla Jo Ln.                                          Yakima, WA 98902
                    Missoula, MT 59803                                         509-469-4958
                    (509) 991-9663
West Virginia
                    H&I Burgers LLC (Isalmou Boussaa, Hicham El Abbassi)       880 Foxcroft Ave.
                    2110 Ivy Stone Pl.                                         Martinsburg, WV 25401
                    Woodbridge, VA 22191                                       304-901-5248
                    Isalmou Boussaa: (703) 595-6785
                    Hicham El Abbassi: (703) 328-0007
                    GB-Morgantown, LLC (Saleh Mohamadi)                        Suncrest Town Center
                    14080 Sullyfield Circle, Ste. J                            1000 Town Center Dr.
                    Chantilly, VA 20151                                        Morgantown, WV 26505
                    (703) 310-8211                                             304-212-5723
                    H&I Burgers LLC (Isalmou Boussaa, Hicham El Abbassi)       38 Joshua Freeman Blvd., #107
                    2110 Ivy Stone Pl.                                         Ransom, WV 25438
                    Woodbridge, VA 22191                                       304-724-7739
                    Isalmou Boussaa: (703) 595-6785
                    Hicham El Abbassi: (703) 328-0007


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    STATE                     FRANCHISEE NAME & ADDRESS                            ADDRESS OF STORES
Wisconsin
                    Credo, LLC (Kristopher Humphries, William Humphries)    1300 Great Wolf Dr.
                    3890 Lone Cedar Ln.                                     Baraboo, WI 53913
                    Chaska, MN 55318                                        608-678-2729
                    (612) 281-7271
                    Credo, LLC (Kristopher Humphries, William Humphries)    4800 Golf Rd.
                    3890 Lone Cedar Ln.                                     Eau Claire, WI 54701
                    Chaska, MN 55318                                        715-514-1744
                    (612) 281-7271
                    Credo, LLC (Kristopher Humphries, William Humphries)    3497 Spyglass Hill Dr.
                    3890 Lone Cedar Ln.                                     Green Bay, WI 54311
                    Chaska, MN 55318                                        920-494-5489
                    (612) 281-7271
                    B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)   2181 Badger Dr.
                    707 Osterman Ave.                                       Hudson, WI 54016
                    P.O. Box 27                                             715-338-3670
                    Deerfield, IL 60015
                    Scott Lesser: (847) 946-7666
                    Ryan Dussault: (612) 964-2290
                    Credo, LLC (Kristopher Humphries, William Humphries)    1301 Starling Ln.
                    3890 Lone Cedar Ln.                                     Wausau, WI 54401
                    Chaska, MN 55318                                        715-841-0415
                    (612) 281-7271
Wyoming
                    Wyoming 5G, LLC (Jeff Howes)                            5040 East 2nd St., Ste. 7
                    125 West Burton Ave., Ste. 2                            Casper, WY 82609
                    Salt Lake City, UT 84115                                307-472-0102
                    (801) 231-6101
                    Wyoming 5G, LLC (Jeff Howes)                            1400 Dell Range Blvd., Unit #85
                    125 West Burton Ave., Ste. 2                            Cheyenne, WY 82009
                    Salt Lake City, UT 84115                                307-634-2543
                    (801) 231-6101
INTERNATIONAL: CANADA
Province of Alberta
                    Five Star North America Rights, LP (Darven Erickson)    130 Sierra Springs Dr.
                    912 West Baxter Dr., Ste. 250                           Building E, Ste. 105
                    South Jordan, UT 84095                                  Airdrie, AB T4B 3G6
                    (801) 330-2639                                          403-948-1816
                    Five Star North America Rights, LP (Darven Erickson)    8650 112 Ave., NW #1103
                    912 West Baxter Dr., Ste. 250                           Calgary, AB T3R 0R
                    South Jordan, UT 84095                                  403-374-1226
                    (801) 330-2639
                    Five Star North America Rights, LP (Darven Erickson)    305-5155 130 Ave. #305
                    912 West Baxter Dr., Ste. 250                           Calgary, AB T2Z 0N3
                    South Jordan, UT 84095                                  403-252-0887
                    (801) 330-2639
                    Five Star North America Rights, LP (Darven Erickson)    7337 Macleod Trail SE
                    912 West Baxter Dr., Ste. 250                           Calgary, AB T2G 5J7
                    South Jordan, UT 84095                                  403-252-2224
                    (801) 330-2639
                    Five Star North America Rights, LP (Darven Erickson)    33 Heritage Meadows Way
                    912 West Baxter Dr., Ste. 250                           Calgary, AB T2H3B3
                    South Jordan, UT 84095                                  403-252-3375
                    (801) 330-2639




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     STATE                     FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                     Five Star North America Rights, LP (Darven Erickson)   2618 32nd St. NE
                     912 West Baxter Dr., Ste. 250                          Calgary, AB T1Y 7L8
                     South Jordan, UT 84095                                 403-291-5697
                     (801) 330-2639
                     Five Star North America Rights, LP (Darven Erickson)   296 Shawville Blvd., Unit #110
                     912 West Baxter Dr., Ste. 250                          Calgary, AB T2Y 3S4
                     South Jordan, UT 84095                                 587-534-0487
                     (801) 330-2639
                     Five Star North America Rights, LP (Darven Erickson)   4112 University Ave. NW
                     912 West Baxter Dr., Ste. 250                          Calgary, AB T3B 6K3
                     South Jordan, UT 84095                                 403-282-3248
                     (801) 330-2639
                     Five Star North America Rights, LP (Darven Erickson)   Currents of Windermere
                     912 West Baxter Dr., Ste. 250                          6222 Currents Dr. NW
                     South Jordan, UT 84095                                 Edmonton, AB T6W 0L8
                     (801) 330-2639                                         780-438-4450
                     Five Star North America Rights, LP (Darven Erickson)   South Edmonton Commons
                     912 West Baxter Dr., Ste. 250                          10161 13th Ave. NW
                     South Jordan, UT 84095                                 Edmonton, AB T6N 0B6
                     (801) 330-2639                                         780-436-9885
                     Five Star North America Rights, LP (Darven Erickson)   Capilano Mall
                     912 West Baxter Dr., Ste. 250                          5015 101 Ave., NW, Unit 110
                     South Jordan, UT 84095                                 Edmonton, AB T6A 0A2
                     (801) 330-2639                                         587-754-6077
                     Five Star North America Rights, LP (Darven Erickson)   15420 37th St. NW
                     912 West Baxter Dr., Ste. 250                          Edmonton, AB T5Y 0S5
                     South Jordan, UT 84095                                 780-371-8668
                     (801) 330-2639
                     Five Star North America Rights, LP (Darven Erickson)   11222 103rd Ave.
                     912 West Baxter Dr., Ste. 250                          Grande Prairie, AB T8V 7H1
                     South Jordan, UT 84095                                 780-402-7016
                     (801) 330-2639
                     Five Star North America Rights, LP (Darven Erickson)   3705 Mayor Magrath Dr. S., Unit #10
                     912 West Baxter Dr., Ste. 250                          Lethbridge, AB T1K 8A8
                     South Jordan, UT 84095                                 403-380-2202
                     (801) 330-2639
                     Five Star North America Rights, LP (Darven Erickson)   109-2011 Strachan Rd.
                     912 West Baxter Dr., Ste. 250                          Medicine Hat, AB 1B-064
                     South Jordan, UT 84095                                 403-527-5022
                     (801) 330-2639
                     Five Star North America Rights, LP (Darven Erickson)   2030 50th Ave., Unit #101
                     912 West Baxter Dr., Ste. 250                          Red Deer, AB T2Y 3A2
                     South Jordan, UT 84095                                 403-358-3236
                     (801) 330-2639
                     Five Star North America Rights, LP (Darven Erickson)   Sherwood Park
                     912 West Baxter Dr., Ste. 250                          993 Fir St., Unit 60
                     South Jordan, UT 84095                                 Sherwood Park, AB T8A 4M2
                     (801) 330-2639                                         780-416-7710
Province of British Columbia
                     Five Star North America Rights, LP (Darven Erickson)   8249 Eagle Landing Pkwy., Unit 714
                     912 West Baxter Dr., Ste. 250                          Chilliwack, BC V2P 7K6
                     South Jordan, UT 84095                                 604-793-2290
                     (801) 330-2639
                     Five Star North America Rights, LP (Darven Erickson)   Fremont Village
                     912 West Baxter Dr., Ste. 250                          130-2015 Hawkins St.
                     South Jordan, UT 84095                                 Port Coquitlam, BC V3B 0G6
                     (801) 330-2639                                         604-472-9780

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     STATE                    FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                    Five Star North America Rights, LP (Darven Erickson)   3070-11666 Steveston Hwy.
                    912 West Baxter Dr., Ste. 250                          Richmond, BC V7E 2J3
                    South Jordan, UT 84095                                 604-829-3826
                    (801) 330-2639
                    Five Star North America Rights, LP (Darven Erickson)   1201 72nd Ave., Unit 125
                    912 West Baxter Dr., Ste. 250                          Surrey, BC V3W 2M1
                    South Jordan, UT 84095                                 237-757-7329
                    (801) 330-2639
                    Five Star North America Rights, LP (Darven Erickson)   2285 160th St., Unit F8 & F9
                    912 West Baxter Dr., Ste. 250                          Surrey, BC V3S 9NS
                    South Jordan, UT 84095                                 604-531-7829
                    (801) 330-2639
                    Five Star North America Rights, LP (Darven Erickson)   635 Robson St.
                    912 West Baxter Dr., Ste. 250                          Vancouver, BC V6B 5J3
                    South Jordan, UT 84095                                 801-576-2702
                    (801) 330-2639
                    Five Star North America Rights, LP (Darven Erickson)   2002 Park Royal St. #510
                    912 West Baxter Dr., Ste. 250                          West Vancouver, BC
                    South Jordan, UT 84095                                 604-925-3483
                    (801) 330-2639
Province of Manitoba
                    Five Star North America Rights, LP (Darven Erickson)   1575 Regent Ave.
                    912 West Baxter Dr., Ste. 250                          Winnipeg, MB R2C 3B5
                    South Jordan, UT 84095                                 204-661-5555
                    (801) 330-2639
                    Five Star North America Rights, LP (Darven Erickson)   2425 Pembina Hwy.
                    912 West Baxter Dr., Ste. 250                          Winnipeg, MB R3T 2H4
                    South Jordan, UT 84095                                 204-261-5555
                    (801) 330-2639
                    Five Star North America Rights, LP (Darven Erickson)   3380 Portage Ave.
                    912 West Baxter Dr., Ste. 250                          Winnipeg, MB R3G 0Z1
                    South Jordan, UT 84095                                 204-832-5555
                    (801) 330-2639
Province of Newfoundland
                    Koeppel LP (Caleb Koeppel)                             48 Kenmount Rd.
                    733 Park Ave.                                          St Johns, NFLD 1AB 3P9
                    New York, NY 10021-5046                                709-702-9555
                    (917) 733-3880
Province of Nova Scotia
                    Koeppel LP (Caleb Koeppel)                             1630 Argyle St.
                    733 Park Ave.                                          Halifax, NS B3J 0E9
                    New York, NY 10021-5046                                902-593-0315
                    (917) 733-3880
                    Koeppel LP (Caleb Koeppel)                             212 Chain Lake Dr.
                    733 Park Ave.                                          Halifax, NS B3S 1C5
                    New York, NY 10021-5046
                    (917) 733-3880
Province of Ontario
                    Five Star North America Rights, LP (Darven Erickson)   Durham Centre
                    912 West Baxter Dr., Ste. 250                          130 Kingston Rd. East
                    South Jordan, UT 84095                                 Ajax, ON L1Z 1E5
                    (801) 330-2639                                         905-428-6262
                    Five Star North America Rights, LP (Darven Erickson)   66 Quarry Edge Dr.
                    912 West Baxter Dr., Ste. 250                          Brampton, ON L6V 4K2
                    South Jordan, UT 84095                                 905-456-8787
                    (801) 330-2639



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   STATE                    FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                  Five Star North America Rights, LP (Darven Erickson)   777 Guelph Line
                  912 West Baxter Dr., Ste. 250                          Burlington, ON L7R 3N2
                  South Jordan, UT 84095                                 905-613-9898
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   148 North Queen St., Unit 5/6
                  912 West Baxter Dr., Ste. 250                          Etobicoke, ON M9C 1A8
                  South Jordan, UT 84095                                 416-234-9292
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   20 Clair Rd. West, Unit 9
                  912 West Baxter Dr., Ste. 250                          Guelph, ON, N1L0A8
                  South Jordan, UT 84095                                 519-767-9090
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   18265 Yonge St. East, Unit #9
                  912 West Baxter Dr., Ste. 250                          Gwillimbury, ON L9N 0A2
                  South Jordan, UT 84095                                 905-895-0505
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   1807 Stone Hill Church Rd. East
                  912 West Baxter Dr., Ste. 250                          Unit 6009
                  South Jordan, UT 84095                                 Hamilton, ON L8J 0B4
                  (801) 330-2639                                         905-561-2223
                  Koeppel LP (Caleb Koeppel)                             770 Gardiners Rd.
                  733 Park Ave.                                          Kingston, ON K7M 3X9
                  New York, NY 10021-5046                                613-384-8855
                  (917) 733-3880
                  Five Star North America Rights, LP (Darven Erickson)   1703 Richmond St., Unit 117A
                  912 West Baxter Dr., Ste. 250                          London, ON N5X 3Y2
                  South Jordan, UT 84095                                 519-660-0008
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   3987 Highway #7 East, Unit 6
                  912 West Baxter Dr., Ste. 250                          Markham, ON L3R 5M6
                  South Jordan, UT 84095                                 905-944-8555
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   2116 Burnhamthorpe Rd. West
                  912 West Baxter Dr., Ste. 250                          Unit #45
                  South Jordan, UT 84095                                 Mississauga, ON L5M 4Z5
                  (801) 330-2639                                         905-608-8484
                  Five Star North America Rights, LP (Darven Erickson)   1510 Dundas St. East, C6-Unit 11
                  912 West Baxter Dr., Ste. 250                          Mississauga, ON L4X 1L4
                  South Jordan, UT 84095                                 905-273-9993
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   6045 Mavis Rd., Unit 3
                  912 West Baxter Dr., Ste. 250                          Mississauga, ON L5R 4G6
                  South Jordan, UT 84095                                 905-507-4141
                  (801) 330-2639                                         905-507-1661 (fax)
                  Koeppel LP (Caleb Koeppel)                             1181 Greenbank Rd.
                  733 Park Ave.                                          Bldg. C, Unit 0205
                  New York, NY 10021-5046                                Nepean, ON K2J 4Y6
                  (917) 733-3880                                         613-823-0093
                  Five Star North America Rights, LP (Darven Erickson)   518 Centennial Pkwy. North, Unit E4
                  912 West Baxter Dr., Ste. 250                          North Hamilton, ON L8E 0G2
                  South Jordan, UT 84095                                 905-664-8558
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   4841 Yonge St., Ste. 118
                  912 West Baxter Dr., Ste. 250                          North York, ON M2N 5X2
                  South Jordan, UT 84095                                 647-496-1847
                  (801) 330-2639



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   STATE                    FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                  Koeppel LP (Caleb Koeppel)                             3732 Innes Rd., Unit 4
                  733 Park Ave.                                          Orleans, ON K1W 0C8
                  New York, NY 10021-5046                                613-824-6270
                  (917) 733-3880
                  Five Star North America Rights, LP (Darven Erickson)   South Oshawa
                  912 West Baxter Dr., Ste. 250                          575 Laval Dr.
                  South Jordan, UT 84095                                 Building G, Unit 1
                  (801) 330-2639                                         Oshawa, ON L1J 0B5
                                                                         905-728-8803
                  Koeppel LP (Caleb Koeppel)                             525 Industrial Blvd., Unit 1
                  733 Park Ave.                                          Ottawa, ON K1G 3S2
                  New York, NY 10021-5046                                613-562-8009
                  (917) 733-3880
                  Koeppel LP (Caleb Koeppel)                             324 West Hunt Club Rd.
                  733 Park Ave.                                          Ottawa, ON K2E 1A6
                  New York, NY 10021-5046                                613-730-5555
                  (917) 733-3880
                  Five Star North America Rights, LP (Darven Erickson)   810 Warden Ave., Unit C
                  912 West Baxter Dr., Ste. 250                          Scarborough, ON M1L 4W1
                  South Jordan, UT 84095                                 416-755-5757
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   1041 Wellington Rd., Unit C1
                  912 West Baxter Dr., Ste. 250                          South London, ON N6E 1W4
                  South Jordan, UT 84095                                 519-690-2828
                  (801) 330-2639
                  Koeppel LP (Caleb Koeppel)                             5517 Hazeldean Rd., Bldg. C2
                  733 Park Ave.                                          Unit 6
                  New York, NY 10021-5046                                Stittsville, ON K2S OP5
                  (917) 733-3880                                         613-836-1800
                  Five Star North America Rights, LP (Darven Erickson)   1400 The Kingsway
                  912 West Baxter Dr., Ste. 250                          Sudbury, ON P3B 0A3
                  South Jordan, UT 84095                                 705-524-9696
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   865 York Mills Rd.
                  912 West Baxter Dr., Ste. 250                          Toronto, ON M3B 1Y6
                  South Jordan, UT 84095                                 647-347-4510
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   329 Yonge St.
                  912 West Baxter Dr., Ste. 250                          Toronto, ON M5H 3C6
                  South Jordan, UT 84095                                 416-591-0404
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   85 Laird Dr.
                  912 West Baxter Dr., Ste. 250                          Toronto, ON M4G 3T8
                  South Jordan, UT 84095                                 416-429-4141
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   70 Weston Rd., Unit 101
                  912 West Baxter Dr., Ste. 250                          Toronto, ON M6N 0A7
                  South Jordan, UT 84095                                 416-762-8778
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   100 King St. W., Space 93
                  912 West Baxter Dr., Ste. 250                          Toronto, ON M5X 1A9
                  South Jordan, UT 84095                                 416-861-9900
                  (801) 330-2639
                  Five Star North America Rights, LP (Darven Erickson)   3582 Major Mackenzie Dr. West
                  912 West Baxter Dr., Ste. 250                          Vaughan, ON L4H 3T6
                  South Jordan, UT 84095                                 905-303-2366
                  (801) 330-2639


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     STATE                     FRANCHISEE NAME & ADDRESS                          ADDRESS OF STORES
                     Five Star North America Rights, LP (Darven Erickson)   650 Division Rd., Unit 101
                     912 West Baxter Dr., Ste. 250                          Windsor, ON N8X 0A8
                     South Jordan, UT 84095                                 519-972-6262
                     (801) 330-2639
Province of Quebec
                    Koeppel LP (Caleb Koeppel)                              1371 Boulevard Michel Bohec, Ste. D5
                    733 Park Ave.                                           Blainville, QC J7C 0M4
                    New York, NY 10021-5046                                 450-933-5078
                    (917) 733-3880
                    Koeppel LP (Caleb Koeppel)                              8840 Boulevard Leduc, Ste. 50
                    733 Park Ave.                                           Brossard, QC J4Y-OG4
                    New York, NY 10021-5046                                 450-462-2333
                    (917) 733-3880
                    Koeppel LP (Caleb Koeppel)                              3530 Boulevard des Sources
                    733 Park Ave.                                           Dollard Des Ormeaux, QC H9B 1Z9
                    New York, NY 10021-5046                                 514-683-4545
                    (917) 733-3880
                    Koeppel LP (Caleb Koeppel)                              468 Rue McGill
                    733 Park Ave.                                           Montreal, QC H2Y 2H1
                    New York, NY 10021-5046                                 514-507-2560
                    (917) 733-3880
Province of Saskatchewan
                    Five Star North America Rights, LP (Darven Erickson)    4666 Gordon Rd.
                    912 West Baxter Dr., Ste. 250                           Regina, SK S4W 0B7
                    South Jordan, UT 84095                                  306-352-5545
                    (801) 330-2639
                    Five Star North America Rights, LP (Darven Erickson)    2531 Quance St.
                    912 West Baxter Dr., Ste. 250                           Regina, SK S4V 0B7
                    South Jordan, UT 84095                                  306-352-5545
                    (801) 330-2639
                    Five Star North America Rights, LP (Darven Erickson)    1840 8th St. East
                    912 West Baxter Dr., Ste. 250                           Saskatoon, SK S7H 0T6
                    South Jordan, UT 84095                                  306-373-5555
                    (801) 330-2639

   *Indicates a developer that is no longer in the system as of the Issuance Date.




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                                 LIST OF FRANCHISEES/DEVELOPERS
                              WITH RESTAURANTS NOT YET OPERATIONAL
                                       (As of December 31, 2021)

 DEV-0005D                                           DEV-0179
 Life Capital, LLC (Brandon Butler)                  JAK Burgers, LLC (Karl and JoAnn Gittelman)
 6157 Airport Boulevard, Suite 850864                78-447 Highway 111
 Mobile, AL 36685                                    La Quinta CA 92253
 (713) 876-7800                                      (949) 412-4129, (949) 412-4128
 (1 Restaurant to be developed)                      (1 Restaurant to be developed)

 DEV-0204E                                           DEV-0216C
 CA FGB Operations, LLC (Keith Bubb)                 Keep Smile Trading USA, Inc. (Freedom Yang)
 14730 East Crested Crown                            3320 Leonis Boulevard
 Fountain Hills, AZ 85268                            Vernon, CA 90058
 (408) 490-0908                                      (909) 556-5061
 (4 Restaurants to be developed)                     (2 Restaurants to be developed)

 DEV-0211B                                           DEV-0215B
 Bukit Inc. (Jay Denenberg)                          M&J Holdings, LLC (Jerome Ma)
 14496 Nutwood Lane                                  2567 Harmony Hill Drive
 Saratoga, CA 95070                                  Diamond Bar, CA 91765
 (408) 858-5441                                      (949) 232-8190
 (4 Restaurants to be developed)                     (2 Restaurants to be developed)

 DEV-0215C/0222D                                     DEV-0134
 Canadian Guys Burgers Limited (Joseph Dand, Mike    Northwest Burgers and Fries, Inc. (William Marble)
 Lipinski)                                           11774 Pinedale Road
 40426 Winchester Road                               Moorpark, CA 93021
 Temecula, CA 92591                                  (818) 399-3544
 (403) 616-7156, (905) 380-1188                      (4 Restaurants to be developed)
 (11 Restaurants to be developed)
                                                     DEV-0184/0217B
 DEV-0184B                                           Tripart Management, Inc. (Rakesh Kumar, Sunil
 East Bay Burgers, Inc. (James Khan)                 Kumar, Jose Garzona)
 5220 Dolcetto Way                                   817 Lurline Drive
 Salida, CA 95368                                    Foster City, CA 94405
 (510) 921-7485                                      (650) 868-4942, (415) 309-3001
 (5 Restaurants to be developed)]                    (3 Restaurants to be developed)

 DEV-0222C                                           DEV-0204D
 FG Hospitality, LLC (Jerome Ma)                     Tripart Management II, Inc. (Rakesh Kumar, Sunil
 2567 Harmony Hill Drive                             Kumar, Jose Garzona)
 Diamond Bar, CA 91765                               817 Lurline Drive
 (949) 232-8190                                      Foster City, CA 94405
 (4 Restaurants to be developed)                     (650) 868-4942, (415) 309-3001
                                                     (4 Restaurants to be developed)
 DEV-0194C
 Golden Gate Grills Inc. (James Khan, Billal Khan)   DEV-0143
 5220 Dolcetto Way                                   MP & JP Holdings, LLC (Jeffrey Parker)
 Salida, CA 95368                                    3578 Hartsel Drive, Ste. E-130
 (510) 921-7485                                      Colorado Springs, CO 80920
 (9 Restaurants to be developed)                     (719) 358-6069
                                                     (7 Restaurants to be developed)




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 DEV-0085B                                           DEV-0071B/0116B
 ZG Burgers LLC (Hengwei Zhao and Yanmei Gao)        Jason Patel, Ritesh Patel, Jiten Patel
 115 Lands End Road                                  1615 Ball Ground Highway
 Wilmington, DE 19807                                Canton, GA 30114
 (302) 740-7424                                      (256) 810-8336
 (1 Restaurant to be developed)                      (4 Restaurants to be developed)

 DEV-0163                                            DEV-0124
 KRNBLZ, LLC (Joseph Carroll)                        Barton Restaurant Group, LLC (Tyler and Sharron
 247 North Westmont Drive                            Barton)
 Altamonte Springs, FL 32714                         8365 Royal Troon Drive
 (407) 529-7100                                      Duluth, GA 30097
 (6 Restaurants to be developed)                     (859) 913-1059
                                                     (3 Restaurants to be developed)
 DEV-0063C
 Yukon Broward, LLC (Reas Kondraschow, Yanmei        DEV-0115
 Gao)                                                M Assets, LLC (Dan Beaulieu)
 6278 N. Federal Highway, Suite 284                  9219 Blue Sage Road
 Ft. Lauderdale, FL 33308                            Clinton, IL 61727
 (908) 391-7827                                      (502) 345-1200
 (29 Restaurants to be developed)                    (1 Restaurant to be developed)

 DEV-0079                                            DEV-0130B
 Flowsmart LLC (Pat Donovan, Greg Jones and Jim      737 Ventures LLC (George Estep)
 Garrettson)                                         3683 North National Road
 311 First Avenue                                    Columbus, IN 47201
 Indialantic, FL 32903                               (812) 375-0140
 (703) 421-9330, (703) 447-0467                      (4 Restaurants to be developed)
 (2 Restaurants to be developed)
                                                     DEV-0186B
 DEV-0078/0078B                                      Central FG Burger Development, LLC (George Estep)
 Bengel’s Burgers, LLC (Charles Bengel and Brandon   3685 North National Road
 Bengel)                                             Columbus, IN 47201
 643 W. Michigan Street                              (812) 375-0140
 Orlando, FL 32805                                   (1 Restaurant to be developed)
 (703) 751-7776, (703) 625-0064
 (7 Restaurants to be developed)                     DEV-0076B/0088B
                                                     Gator Subs Vision LLC (George Estep)
 DEV-0062                                            3683 North National Road
 MPR Development, LLC (Thomas Tracy and Pat          Columbus, IN 47201
 Tracy)                                              (812) 375-0140
 42 Marina Gardens Drive                             (9 Restaurants to be developed)
 Palm Beach Gardens, FL 33410
 (561) 630-6810                                      DEV-0106B
 (10 Restaurants to be developed)                    Sarasota Seven Burgers, LLC (George Estep)
                                                     3683 North National Road
 DEV-0152B/0162B                                     Columbus, IN 47201
 Seattle Burgers, Inc. (Amjad “Joe” Iraqi)           (812) 375-0140
 8094 Cottonwood Court                               (5 Restaurants to be developed)
 Seminole, FL 33776
 (206) 595-0492                                      DEV-0100
 (6 Restaurants to be developed)                     IFGB, LLC (Larry Cooley)
                                                     3037 S. Prairie Point Drive
 DEV-0056                                            Andover, KS 67002
 Uheri Group, LLC (Paul and Carl Fisher)             (316) 304-3494
 Post Office Box 42307                               (4 Restaurants to be developed)
 Atlanta, GA 30311
 (516) 384-9528
 (3 Restaurants to be developed)



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 DEV-0178                                              DEV-0198
 D & J Holdings, LLC (Jeffrey Noyce, Douglas Vaughn)   Jeff Offutt
 10335 South Hollis Lane                               2000 Forum Blvd, Suite #4
 Olathe, KS 66061                                      Columbia, MO 65203
 (913) 707-3504 (Jeff), (913) 638-3542 (Doug)          (573) 445-0015
 (2 Restaurants to be developed)                       (4 Restaurants to be developed)

 DEV-0100B                                             DEV-0147B
 KCFGB, LLC (Randy Brock)                              MID-MO Burgers, LLC (Jeff Offutt)
 8100 E. 22nd Street N, Bldg. 900                      2000 Forum Blvd, Suite #4
 Wichita, KS 67226                                     Columbia, MO 65203
 (816) 674-5290                                        (573) 445-0015
 (6 Restaurants to be developed)                       (1 Restaurant to be developed)

 DEV-0175D                                             DEV-0170
 H4 Properties Inc. (DeWayne Henderson)                Montana Burgers, Inc. (Patrick Carls)
 1216 Winslow Way                                      2808 Carla Jo Lane
 Paducah, KY 42001                                     Missoula, MT 59803
 (270) 210-4180                                        (509) 991-9663
 (3 Restaurants to be developed)                       (3 Restaurants to be developed)

 DEV-0176                                              DEV-0188B
 Bayou’s Best Burgers, LLC (William Jacob, Andrew      AZ FGB Operations, LLC (Keith Bubb)
 Mitts)                                                9004 Ghost Mountain Avenue
 324 E. Lockwood Street                                Las Vegas, NV 89129
 Covington, LA 70433                                   (702) 610-7777
 (404) 790-8028                                        (2 Restaurants to be developed)
 (4 Restaurants to be developed)
                                                       DEV-0145
 DEV-0142/0224                                         DHW & Company (Donald Doan, Chris Wolf)
 G.F. Vasey Holdings, LLC (Gregory Vasey, Roger        2620 Regatta Drive, Suite 102
 Vasey and Sandra Vasey)                               Las Vegas, NV 89128
 4 Ringgold Street                                     (703) 405-6749 (Hoover), (773) 562-9855 (Doan)
 Boston, MA 02118                                      (5 Restaurants to be developed)
 Gregory Vasey: (315) 292-8283, (312) 861-0487
 (7 Restaurants to be developed)                       DEV-0121
                                                       Marlton 5G, Inc. (Cha Chung)
 DEV-0168                                              2017 Queen Ann Rd.
 Famous Burger Group, LLC (David MacDonald,            Cherry Hills, NJ 08003
 Branden Yono, Jason Yono and Anthony Robinson)        (856) 465-6476
 15645 Blue Skies Street                               (1 Restaurant to be developed)
 Livonia, MI 48154
 (248) 939-3666                                        DEV-0081B
 (2 Restaurants to be developed)                       Bergen S&S Enterprise LLC (Edward Sheridan and
                                                       Patrick Sheridan)
 DEV-0151                                              77 Knollwood Road
 B & B of Minnesota, LLC (Scott Lesser, Ryan           Short Hills, NJ 07078
 Dussault)                                             Edward Sheridan: (973) 467-4634, (973) 951-6111
 6533 Cherokee Trail                                   (3 Restaurants to be developed)
 Edina, MN 55439
 (847) 943-9533                                        DEV-0091B
 (3 Restaurants to be developed)                       Rockham MO, LLC (Drew Smith)
                                                       Post Office Box 1437
 DEV-0129B/0154B                                       Exton, PA 19341
 Credo, LLC (Kristopher Humphries and William          (703) 869-8483
 Humphries)                                            (4 Restaurants to be developed)
 3890 Lone Cedar Lane
 Chaska, MN 55318
 (612) 281-7271
 (2 Restaurant to be developed)]


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 DEV-0120                                    DEV-0087
 Four Cousins Burgers and Fries of LI, LLC   Shami International, LLC (Michael Hoover and
 (William Gellert)                           Shaheen Mahmud)
 173 Whippoorwill Road                       254-55 Horace Harding Expressway
 Hillsdale, NY 12529                         Little Neck, NY 11362
 (914) 643-2180                              (703) 405-6749
 (1 Restaurants to be developed)             (1 Restaurant to be developed)

 DEV-0136B                                   DEV-0142B
 Four Cousins Burgers & Fries of NH, LLC     Thomas Baldwin, Jr.
 (William Gellert)                           15 Pheasant Lane
 173 Whippoorwill Road                       Menands, NY 12204
 Hillsdale, NY 12529                         (518) 426-0015
 (914) 643-2180                              (2 Restaurants to be developed)
 (3 Restaurants to be developed)
                                             DEV-0092B/0114
 DEV-0110                                    FGNY Holding, LLC (Andrew Stern, John Rigos)
 Four Cousins Burgers and Fries of NJ, LLC   56 W. 22nd Street, 2nd Floor
 (William Gellert)                           New York, NY 10010
 173 Whippoorwill Road                       (212) 505-5861
 Hillsdale, NY 12429                         (18 Restaurants to be developed)
 (914) 643-2180
 (3 Restaurants to be developed)             DEV-0139B
                                             FGNYW, LLC (Andrew Stern, John Rigos)
 DEV-0111                                    56 W. 22nd Street, 2nd Floor
 Four Cousins Burgers and Fries of NY, LLC   New York, NY 10010
 (William Gellert)                           (212) 505-5861
 173 Whippoorwill Road                       (6 Restaurants to be developed)
 Hillsdale, NY 12529
 (914) 643-2180                              DEV-0202/0203
 (10 Restaurants to be developed)            Koeppel LP (Caleb Koeppel)
                                             733 Park Avenue, 3rd Floor
 DEV-0174B                                   New York, NY 10021
 GHG AR LLC (William Gellert)                (917) 733-3880
 173 Whippoorwill Road                       (14 Restaurants to be developed)
 Hillsdale, NY 12529
 (914) 643-2180                              DEV-0019/0161C
 (1 Restaurant to be developed)              RSVT Holding, LLC (Tejraj Hada)
                                             29 Windsor Court
 DEV-0160C/0219B/0221B                       Slingerlands, NY 12159
 GHG Gulf Coast, LLC (William Gellert)       (518) 488-4060
 173 Whippoorwill Road                       (3 Restaurants to be developed)
 Hillsdale, NY 12529
 (914) 643-2180                              DEV-0123
 (7 Restaurants to be developed)             Eat Burgers, LLC (Gregory and Paul Slayton)
                                             3 Ann Drive
 DEV-0193B                                   Syosset, NY 11791
 GHG Indiana, LLC (William Gellert)          (516) 650-8418
 173 Whippoorwill Road                       (2 Restaurants to be developed)
 Hillsdale, NY 12529
 (914) 643-2180                              DEV-0208
 (1 Restaurant to be developed)              Westchester Burgers LLC (Gregory and Paul Slayton)
                                             3 Ann Drive
 DEV-0220B                                   Syosset, NY 11791
 GHG Southwest, LLC (William Gellert)        (516) 650-8418
 173 Whippoorwill Road                       (6 Restaurants to be developed)
 Hillsdale, NY 12529
 (914) 643-2180
 (4 Restaurants to be developed)



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 DEV-0038B/0048C                               DEV-0068D
 Quintet Acquisitions LLC (Jonathan Kelly)     Rockham NJJ, LLC (Drew Smith)
 123 East Franklin Street, #423                1406 Walnut Street
 Chapel Hill, NC 27514                         Coatesville, PA 19320
 (919) 525-8825                                (703) 869-8483
 (4 Restaurants to be developed)               (1 Restaurant to be developed)

 DEV-0028B                                     DEV-0052B
 Doughball, LLC (Thomas Ferguson)              Rockham 5G NJ, LLP (Drew Smith)
 322 Colington Drive                           Post Office Box 1437
 Kill Devil Hills, NC 27948                    Exton, PA 19341
 (267) 441-0631                                (703) 869-8483
 (3 Restaurants to be developed)               (2 Restaurants to be developed)

 DEV-0058F                                     DEV-0052/0052C
 Stein5, LLC (Christine Steiner)               Rockham 5G PA, LP (Drew Smith)
 127 Heathland Lane                            Post Office Box 1437
 Mooresville, NC 28117                         Exton, PA 19341
 (810) 599-7632                                (703) 869-8483
 (8 Restaurants to be developed)               (7 Restaurants to be developed)

 DEV-0189D                                     DEV-0095B/101B
 BNF, LLC (David Glaser, Brad Bender)          Sunbeam Ewing, Inc., (Vijay Padodara)
 3801 Lockport Street, Suite 3                 2817 River Willow Drive
 Bismarck, ND 58503                            Furlong, PA 18925
 (701) 226-4015, (612) 387-6201                (908) 251-3083
 (1 Restaurant to be developed)                (3 Restaurants to be developed)

 DEV-0105                                      DEV-0191C/0199C/0226B
 French Creek Burgers, LLC (Androsik)          Big Horn Five Guys Acquisitions, LLC (Clayton Parrett
 28421 West Oakland                            and H. Scott Miller)
 Bay Village, OH 44140                         c/o Miller Investment Management, LP
 (440) 668-6313                                100 Front Street, Suite 1500
 (1 Restaurant to be developed)                West Conshohocken, PA 19428
                                               (610) 834-9820 x144
 DEV-0098B                                     (12 Restaurants to be developed)
 EDM Restaurant Ventures, LLC (Edward Reese)
 1419 Boardman-Canfield Road, Suite 500        DEV-0018
 Boardman, OH 44512                            Griff Ventures, Inc. (Donald and Kevin Griffith)
 (330) 565-0496                                Post Office Box 25639
 (1 Restaurant to be developed)                Greenville, SC 29616
                                               (804) 338-3742
 DEV-0044D                                     (1 Restaurant to be developed)
 Robert Bowers and Larry Bowers
 3260 Kirkham Road                             DEV-0167B
 Columbus, OH 43221                            Murray 5G, Inc. (Dan Murray)
 (614) 557-2211                                211 S. Mable Avenue
 (2 Restaurants to be developed)               Sioux Falls, SD 57103
                                               (605) 645-6624
 DEV-0195                                      (1 Restaurant to be developed)
 CLRM Inc. (Ryan Coady)
 1575 NE 237th Avenue                          DEV-0112
 Wood Village, OR 97060                        GPR Hospitality, LLC (James Richards)
 (480) 225-2364                                7663 Harrier Hill Road
 (6 Restaurants to be developed)               Signal Mountain, TN 37377
                                               (423) 605-1253
                                               (1 Restaurant to be developed)




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 DEV-0133B/0157B/0159B/0164B                       DEV-0181C
 Hyde Park Burgers, LLC (Gregory Vasey, Jody       Wyoming 5G, LLC (Jeffrey Howes)
 Goehring)                                         125 West Burton Avenue, Suite 2
 2502 Jarratt Avenue                               Salt Lake City, UT 84115
 Austin, TX 78703                                  (801) 231-6101
 Gregory Vasey: (315) 292-8283, (312) 861-0487     (1 Restaurant to be developed)
 (15 Restaurants to be developed)
                                                   DEV-0182B/0183B/0200C/0201C/0207C/0210
 DEV-0122C                                         Five Star North America Rights, LP (Darven Erickson,
 Encore FGBF Colorado, LLC (Bharat Sangani)        Robert Baxter, Blair Walker)
 5005 LBJ Freeway, Suite 1200                      912 West Baxter Drive, Suite 250
 Dallas, TX 75244                                  South Jordan, UT 84095
 (214) 259-7004                                    Darven Erickson: (801) 576-2703
 (11 Restaurants to be developed)                  Robert Baxter: (801) 518-7777
                                                   Blair Walker: (801) 949-1940
 DEV-0118B                                         (50 Restaurants to be developed)
 Encore FGBF Massachusetts, LLC (Bharat Sangani)
 5005 LBJ Freeway, Suite 1200                      DEV-0126
 Dallas, TX 75244                                  The Houston Guys, LLC (John and Eugene Hooff)
 (214) 259-7004                                    2107 Forest Hill Road
 (2 Restaurants to be developed)                   Alexandria, VA 22307
                                                   (703) 585-6284
 DEV-0228                                          (2 Restaurants to be developed)
 Encore FGBF Texas, LLC (Bharat Sangani)
 5005 LBJ Freeway, Suite 1200                      DEV-0096B
 Dallas, TX 75244                                  4Hastings, LLC (Marion Sadler)
 (214) 259-7004                                    517 N. Main Street
 (68 Restaurants to be developed)                  Emporia, VA 23847
                                                   (434) 594-4907
 DEV-0171D                                         (1 Restaurant to be developed)
 Albert Carrillo, Jr.
 1604 Shell Avenue                                 DEV-0103
 Midland, TX 79705                                 Vista Interprises, LLC (John Nguyen and Anh Pham)
 (626) 890-9560                                    13201 Catharpin Valley Drive
 (2 Restaurants to be developed)                   Gainesville, VA 20155
                                                   (571) 236-1214
 DEV-0171E                                         (6 Restaurants to be developed)
 Senovia Foods North, LLC (Albert Carrillo, Jr.)
 1604 Shell Avenue                                 DEV-0066
 Midland, TX 79705                                 Atlanta’s Best Burgers, LLC (Michael Melton)
 (626) 890-9560                                    1219 Towlston Road
 (1 Restaurant to be developed)                    Great Falls, VA 22066
                                                   (703) 757-5473, (703) 919-5289
 DEV-0144B                                         (6 Restaurants to be developed)
 Mass 5G LLC (Jeffrey Howes, Corbin Robertson)
 125 West Burton Avenue, Suite 2                   DEV-0007B
 Salt Lake City, UT 84115                          Buster’s Resource Management, LLC (Grant Buster)
 (801) 231-6101                                    19058 Boyer Fields Place
 (6 Restaurants to be developed)                   Leesburg, VA 20176
                                                   (703) 723-8406
 DEV-0140                                          (2 Restaurants to be developed)
 MeisterGuys, LLC (Jeffrey Howes)
 125 West Burton Avenue, Suite 2                   DEV-0152
 Salt Lake City, UT 84115                          Evergreen Burgers, LLC (Nabil Asad)
 (801) 231-6101                                    6043 Gholson Bridge Court
 (5 Restaurants to be developed)                   Manassas, VA 20112
                                                   (571) 436-1441
                                                   (10 Restaurants to be developed)




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 DEV-0223C
 RMR5 Nevada, LLC (Russell Rosenblum)
 11654 Plaza America Drive
 Reston, VA 20190
 (703) 930-0758
 (1 Restaurant to be developed)




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                         EXHIBIT E TO THE DISCLOSURE DOCUMENT

                      LIST OF FRANCHISEES WHO HAVE LEFT THE SYSTEM




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                      LIST OF FRANCHISEES WHO HAVE LEFT THE SYSTEM
                                   (As of December 31, 2021)

                STATE                                  FRANCHISEE
            Alabama
                             Gold Valley Development, LLC (Terry Neal Starling)
                             3760 Sixes Rd., Ste. 126-117
                             Canton, Georgia 30114
                             404-543-4904
                             (5 Restaurants reacquired)
                             Jubilee Restaurant Group, LLC (Seth Hargett and Daniel Harlin)
                             3333 New Hyde Park Rd., #301
                             New Hyde Park, NY 11042
                             251-648-8159
                             (2 Restaurants transferred)
            Arizona
                             D & J Holdings, LLC (Douglas Vaughn and Jeffrey Noyce)
                             2430 E. Placita Sin Lujuria
                             Tucson, AZ 85718
                             (913)707-3504 or (913) 638-3542
                             (1 Restaurant closed)
            Arkansas
                             FGARK, LLC (Laurie Lowe, Cal Simmons and Ned Scherer)
                             1410 Spring Hill Rd., Ste. 400
                             McLean, VA 22102
                             (703) 836-4616
                             (5 Restaurants transferred)
            California
                             Ocean Guys, Inc. (Malav Patel and Jayesh Parikh)
                             12929 Pierce Rd.
                             Saratoga, CA 95070
                             (408) 218-2548
                             (1 Restaurant transferred)
            Colorado
                             BurgersRock, LLC (Robin Karst)
                             PO Box 270007
                             Fort Collins, CO 80527
                             (571) 723-1780
                             (7 Restaurants transferred)
            Florida
                             E. Miles Prentice, III
                             Eaton & Van Winkle LLP
                             3 Park Ave., 16th Floor
                             New York, New York 10016
                             (1 Restaurant reacquired)
                             Jubilee Restaurant Group, LLC (Seth Hargett, Daniel Harlin)
                             3333 New Hyde Park Rd., #301
                             New Hyde Park, NY 11042
                             251-648-8159
                             (2 Restaurants transferred)
            Hawaii
                             Manufactured Homes, LLC (Schneider)
                             21 9th Ave.
                             Kirkland, WA 98033
                             (425) 864-3910
                             (3 Restaurants transferred)




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                  STATE                                 FRANCHISEE
            Illinois
                          BAC Illinois Holdings, LLC (David Pittaway, Michael Abrams and
                          Brian Adelman)
                          2535 Endsleigh Dr.
                          Bloomfield, MI 48301
                          David Pittaway: (917) 612-8687
                          Michael Abrams: (248) 885-1520
                          Brian Adelman: (248) 909-9887
                          (2 Restaurants reacquired)
            Indiana
                          Paul and Carol Gillard
                          4653 Hawks Way
                          Bloomington, IN 47401
                          812-345-2966
                          (4 Restaurants transferred)
            Kansas
                          Red Letter J, Inc. (Jeff Miller and Jay Miller)
                          2929 N. Rock Rd., Ste. 110
                          Wichita, KS 67226
                          (719) 229-4299; (267) 879-3893
                          (1 Restaurant closed)
            Louisiana
                          Jubilee Restaurant Group, LLC (Seth Hargett, Daniel Harlin)
                          3333 New Hyde Park Rd., #301
                          New Hyde Park, NY 11042
                          251-648-8159
                          (1 Restaurant transferred)
            Michigan
                          BAC Holdings, LLC (David Pittaway, Michael Abrams and Brian
                          Adelman)
                          2535 Endsleigh Dr.
                          Bloomfield, MI 48301
                          David Pittaway: (917) 612-8687
                          Michael Abrams: (248) 885-1520
                          Brian Adelman: (248) 909-9887
                          (1 Restaurant closed and 31 Restaurants reacquired)
            Minnesota
                          B & B of Minnesota, LLC (Scott Lesser, Ryan Dussault)
                          707 Osterman Ave.
                          P.O. Box 27
                          Deerfield, IL 60015
                          Scott Lesser: (847) 946-7666
                          Ryan Dussault: (612) 964-2290
                          (1 Restaurant closed)
            Mississippi
                          Jubilee Restaurant Group, LLC (Seth Hargett, Daniel Harlin)
                          3333 New Hyde Park Rd., #301
                          New Hyde Park, NY 11042
                          251-648-8159
                          (2 Restaurants transferred)
            New Jersey
                          Franchise Kings LLC (Phil Surico)
                          9 Mallard Rd.
                          Mahwah, NJ 07430
                          (201) 788-4440, (201) 684-0976
                          (5 Restaurants transferred)



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                STATE                                      FRANCHISEE
            New York
                             Burger Bandit, LLC (Thomas Pierog, Helen Pierog)
                             35 Hudson River Rd.
                             Saugerties, NY 12477
                             (845) 853-5878
                             (1 Restaurant transferred)
                             ROC N Burgers LLC (Steven Christensen)
                             5330 Main St., Ste. 200
                             Williamsville, NY 14221
                             (973) 901-8899, (215) 280-9958, (973) 726-4498
                             (15 Restaurants transferred)
            North Carolina
                             Michael Ruffer
                             1109 Lyrac Ct.
                             Oakton, VA 22124
                             (571) 283-7809
                             (8 Restaurants transferred)
            Ohio
                             DFG Corporate LLC (Randall Gunlock)
                             1057 Miamisburg-Centerville Rd.
                             Dayton, OH 45459
                             (937) 428-5463
                             (6 Restaurants reacquired)
                             KRNBLZ, LLC (Joseph Carroll)
                             247 North Westmonte Dr.
                             Altamonte Springs, FL 32714
                             (407) 529-7100, (407) 772-0200, (407) 444-0418
                             (1 Restaurant closed)
            Oklahoma
                             Encore FGBF Oklahoma, LLC (Bharat Sangani)
                             c/o Encore Restaurants, LLC
                             5005 LBJ Freeway, Ste. 1200
                             Dallas, TX 75244
                             (214) 259-7004
                             (1 Restaurant closed)
            Oregon
                             Northwest Burgers and Fries Inc. (Bill Marble)
                             11774 Pinedale Rd.
                             Moorpark, CA 93021
                             (818) 399-3544
                             (1 Restaurant transferred)
            Pennsylvania
                             Rockham 5G PA, LLC (Drew Smith)
                             P.O. Box 1437
                             Exton, PA 19344
                             (703) 869-8483
                             (1 Restaurant closed)
            Tennessee
                             Jubilee Restaurant Group, LLC (Seth Hargett, Daniel Harlin)
                             3333 New Hyde Park Rd., #301
                             New Hyde Park, NY 11042
                             251-648-8159
                             (5 Restaurants transferred)




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                STATE                                  FRANCHISEE
            Texas
                         The Houston Guys LLC (John Hooff and Eugene Hooff)
                         2107 Forest Hill Rd.
                         Alexandria, VA 22307
                         John Hooff: (703) 585-6284, (703) 329-3354
                         Eugene Hooff: (404) 550-2147
                         (1 Restaurant closed)
                         Encore FGBF Texas, LLC (Bharat Sangani)
                         c/o Encore Restaurants, LLC
                         5005 LBJ Freeway, Ste. 1200
                         Dallas, TX 75244
                         (214) 259-7004
                         (1 Restaurant closed)
            Vermont
                         G.F. Vasey Holdings, LLC (Greg Vasey and Jack Goehring)
                         2502 Jarrett Ave.
                         Austin, TX 79705
                         Greg Vasey: (315) 292-8283
                         Jack Goehring: (703) 867-8222
                         (1 Restaurant closed)
            Virginia
                         William McKechnie
                         36 Old Farm Rd.
                         Charlottesville, VA 22903
                         (434) 906-5787
                         (2 Restaurants transferred)
            Washington
                         Manufactured Homes, LLC (Amannda Schneider)
                         21 9th Ave.
                         Kirkland, WA 98033
                         (425) 864-391
                         (8 Restaurants transferred)
                         Northwest Burgers and Fries Inc. (Bill Marble)
                         11774 Pinedale Rd.
                         Moorpark, CA 93021
                         (818) 399-3544
                         (1 Restaurant transferred)
                         Pacific Sliders, LLC (William and Lisa Barnett)
                         101 Augusta Ln.
                         Pasco, WA 99301
                         (727) 599-4466
                         (4 Restaurants transferred)
            Wyoming
                         Five Star North America Rights, LP (Darven Erickson)
                         912 West Baxter Dr., Ste. 250
                         South Jordan, UT 84095
                         (801) 330-2639
                         (2 Restaurants transferred)




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                STATE                            FRANCHISEE
            Canada
                        Five Star North America Rights, LP (Darven Erickson)
                        912 West Baxter Dr., Ste. 250
                        South Jordan, UT 84095
                        (801) 330-2639
                        (3 Restaurants closed)
                        Koeppel LP (Caleb Koeppel)
                        733 Park Ave.
                        New York, NY 10021-5046
                        (917) 733-3880
                        (1 Restaurant closed)




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                       EXHIBIT F TO THE DISCLOSURE DOCUMENT

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                      EXHIBIT G TO THE DISCLOSURE DOCUMENT

                STATE SPECIFIC ADDENDA TO THE DISCLOSURE DOCUMENT




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                              ADDENDUM TO FIVE GUYS FRANCHISOR, LLC
                                      DISCLOSURE DOCUMENT
                                   FOR THE STATE OF CALIFORNIA

 1.      Item 3 is amended to reflect that:

         Neither we nor any person or broker identified in Item 2 of the Disclosure Document is subject to any current
         effective order of any national securities association or national securities exchange as defined in the
         Securities Exchange Act of 1934, U.S.C.A. 78a et seq., suspending or expelling such persons from
         membership is such association or exchange.

 2.      Item 5 is amended by the addition of the following statements:

         The Department of Financial Protection and Innovation requires that the franchisor defer collection of all
         initial fees from California franchisees until the franchisor has completed all of its pre-opening obligations
         and the franchisee is open for business.

 3.      Item 17 is amended by the addition of the following statements:

         California Business and Professions Code Sections 20000 through 20043 provide rights to you concerning
         termination, nonrenewal, or transfer of a franchise. If the Franchise Agreement or Development Agreement
         contains a provision that is inconsistent with the law, the law will control.

         The Franchise Agreement and Development Agreement provide for termination upon bankruptcy. This
         provision may not be enforceable under federal bankruptcy law (11 U.S.C.A. Sec. 101 et seq.).

         The Franchise Agreement and Development Agreement contain covenants not to compete that extend
         beyond expiration or termination of the Agreements. These provisions may not be enforceable under
         California law.

         The California Corporations Code, Section 31125, requires that we give you a disclosure document,
         approved by the Department of Financial Protection and Innovation, before we solicit a proposed material
         modification of an existing franchise.

         If the Franchise Agreement or Development Agreement contains a liquidated damages clause, under
         California Civil Code Section 1671, certain liquidated damages clauses are unenforceable.

         The Franchise Agreement and Development Agreement require the application of the laws and forum of
         Virginia. This provision may be unenforceable under California Law.

         The Franchise Agreement and Development Agreement require binding arbitration. The arbitration will
         occur in Virginia with the costs being borne by the franchisee and franchisor. Prospective franchisees are
         encouraged to consult private legal counsel to determine the applicability of California and federal laws
         (such as Business and Professions Code Section 20040.5 Code of Civil Procedure Section 1281, and the
         Federal Arbitration Act) to any provisions of a franchise agreement restricting venue to a forum outside the
         State of California

         The Franchise Agreement and Development Agreement require you to sign a general release of claims if
         you renew or transfer your franchise. California Corporations Code Section 31512 provides that any
         condition, stipulation or provision purporting to bind any person acquiring a franchise to waive compliance
         with any provision of that law or any rule or order is void. Section 31512 voids a waiver of your rights under
         the Franchise Investment Law (California Corporations Code Sections 31000 through 31516). California
         Business and Professions Code Section 20010 voids a waiver of your rights under the Franchise Relations
         Act (Business and Professions Code Sections 20000 through 20043).

 4.    THE CALIFORNIA FRANCHISE INVESTMENT LAW REQUIRES THAT A COPY OF ALL
 PROPOSED AGREEMENTS RELATING TO THE SALE OF THE FRANCHISE BE DELIVERED TOGETHER
 WITH THE DISCLOSURE DOCUMENT.



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 5.     OUR WEBSITE HAS NOT BEEN REVIEWED OR APPROVED BY THE CALIFORNIA DEPARTMENT
 OF FINANCIAL PROTECTION AND INNOVATION. ANY COMPLAINTS CONCERNING THE CONTENT
 OF THIS WEBSITE MAY BE DIRECTED TO THE CALIFORNIA DEPARTMENT OF FINANCIAL
 PROTECTION AND INNOVATION AT www.dfpi.ca.gov.




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                         ADDENDUM TO FIVE GUYS FRANCHISOR, LLC
                                DISCLOSURE DOCUMENT
                               FOR THE STATE OF HAWAII

 1.      Items 5 and 7 are amended to state that the initial franchise fee and all other initial payments you
 owe to us under the Franchise Agreement and Development Agreement will be deferred until we satisfy all
 of our pre-opening obligations to you and your first Restaurant has opened for business.




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                         ADDENDUM TO FIVE GUYS FRANCHISOR, LLC
                                DISCLOSURE DOCUMENT
                               FOR THE STATE OF ILLINOIS

 1.      Items 5 and 7 are amended to state that the initial franchise fee and all other initial payments you
 owe to us under the Franchise Agreement and Development Agreement will be deferred until we satisfy all
 of our pre-opening obligations to you and your first Restaurant has opened for business. This deferral is
 imposed by the Illinois Office of the Attorney General due to our financial condition.

 2.      The State Cover Page and Item 17 of this Disclosure Document are amended by adding the
 following:

         In accordance with Illinois law 815 ILCS 705/4 and Section 200.608 of the Administrative Rules
         (14 Ill.Adm.Code §200.608), any provision in the Franchise Agreement/Development Agreement
         that designates jurisdiction or venue in a forum outside Illinois is void with respect to any action
         which is otherwise enforceable in Illinois, except that the Franchise Agreement/Development
         Agreement may provide for arbitration outside Illinois. In addition, Illinois law will govern the
         Franchise Agreement/Development Agreement.

         Illinois Franchise Disclosure Act Sections 19 and 20 (815 ILCS 705/19, 20) (the “Act”) provide
         rights to you concerning nonrenewal and termination of the Franchise Agreement/Development
         Agreement. If the Franchise Agreement/Development Agreement contains a provision that is
         inconsistent with the Act, the Act will control.

         Section 41 of the Act states that “Any condition, stipulation, or provision purporting to bind any
         person acquiring any franchise to waive compliance with the Illinois Franchise Disclosure Act, or
         any other law of Illinois, is void.” To the extent that any provision in the Franchise
         Agreement/Development Agreement is inconsistent with Illinois law, Illinois law will control.




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                       ADDENDUM TO THE FIVE GUYS FRANCHISOR, LLC
                                DISCLOSURE DOCUMENT
                              FOR THE STATE OF MARYLAND

 1.      Item 5 is amended to state that the initial franchise fee and all other initial payments you owe to us
 before you open your Restaurant will be deferred until we satisfy all of our pre-opening obligations to you
 and you open your Restaurant for business.

 2.      Item 17 is amended to include the following paragraph:

         A general release required as a condition of renewal, sale and/or assignment/transfer will
         not apply to any liability under the Maryland Franchise Registration and Disclosure Law.
         This may affect the enforceability of certain provisions in the Franchise Agreement relating
         to renewal, sale, assignment or transfer of the Franchise Agreement.

 3.      Item 17, under the Summary column of part (h), is amended to include the following sentence:

         A provision in the Franchise Agreement that provides for termination on your bankruptcy
         may not be enforceable under federal bankruptcy law (11 U.S.C. Section 101 et seq.).

 4.     Item 17, under the Summary column of part (v), is modified to include the words “, except you
 may sue in Maryland for any claims arising under the Maryland Franchise Registration and Disclosure
 Law.”

 5.      Item 17 is amended to state that any claims arising under the Maryland Franchise Registration and
 Disclosure Law must be brought within 3 years after the grant of the franchise.

 6.      The Maryland Franchise Registration and Disclosure Law prohibits a franchisor from requiring a
 prospective franchisee to assent to any release, estoppel or waiver of liability as a condition of purchasing
 a franchise. Any disclaimer regarding the occurrence and/or acknowledgment of the non-occurrence of
 acts that would constitute a violation of the Franchise Law in order to purchase the franchise are not
 intended to nor shall they act as a release, estoppel or waiver of any liability incurred under the Maryland
 Franchise Registration and Disclosure Law. Accordingly, the Franchise Disclosure Acknowledgement
 Statement is amended to comply with this provision by stating that such representations are not intended to
 nor shall they act as a release, estoppel or waiver of any liability incurred under the Maryland Franchise
 Registration and Disclosure Law.




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                      ADDENDUM TO THE FIVE GUYS FRANCHISOR, LLC
                               DISCLOSURE DOCUMENT
                            FOR THE STATE OF MINNESOTA

 1.      Items 5 and 7 are amended to state that the initial franchise fee and all other initial payments you
 owe to us under the Franchise Agreement and Development Agreement will be deferred until we satisfy all
 of our pre-opening obligations to you and your first Restaurant has opened for business.




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                         ADDENDUM TO FIVE GUYS FRANCHISOR, LLC
                                DISCLOSURE DOCUMENT
                              FOR THE STATE OF NEW YORK

 1.      The following information is added to the cover page of the Disclosure Document:

              INFORMATION COMPARING FRANCHISORS IS AVAILABLE. CALL THE
         STATE ADMINISTRATORS LISTED IN EXHIBIT A OR YOUR PUBLIC LIBRARY FOR
         SOURCES OF INFORMATION. REGISTRATION OF THIS FRANCHISE BY NEW
         YORK STATE DOES NOT MEAN THAT NEW YORK STATE RECOMMENDS IT OR
         HAS VERIFIED THE INFORMATION IN THIS FRANCHISE DISCLOSURE
         DOCUMENT. IF YOU LEARN THAT ANYTHING IN THIS FRANCHISE DISCLOSURE
         DOCUMENT IS UNTRUE, CONTACT THE FEDERAL TRADE COMMISSION AND
         NEW YORK STATE DEPARTMENT OF LAW, BUREAU OF INVESTOR PROTECTION
         AND SECURITIES, 120 BROADWAY, 23RD FLOOR, NEW YORK, NEW YORK 10271.
         THE FRANCHISOR MAY, IF IT CHOOSES, NEGOTIATE WITH YOU ABOUT ITEMS
         COVERED IN THE FRANCHISE DISCLOSURE DOCUMENT. HOWEVER, THE
         FRANCHISOR CANNOT USE THE NEGOTIATING PROCESS TO PREVAIL UPON A
         PROSPECTIVE FRANCHISEE TO ACCEPT TERMS WHICH ARE LESS FAVORABLE
         THAN THOSE SET FORTH IN THIS FRANCHISE DISCLOSURE DOCUMENT.

 2.      Item 3, “Litigation” is hereby amended by deleting the last paragraph in that Item and replacing it
 with the following language:

         “Except as described in this Item:

         Neither we, any predecessor, any person identified in Item 2 above, nor any affiliate offering
         franchises under our principal trademark has pending any administrative, criminal, material civil
         action (or a significant number of civil actions irrespective of materiality), or arbitration action
         alleging a violation of any franchise, antitrust or securities law, fraud, embezzlement, fraudulent
         conversion, misappropriation of property, unfair or deceptive practices or comparable allegations.

         Neither we, any predecessor, any person identified in Item 2 above, nor any affiliate offering
         franchises under our principal trademark has pending actions, other than routine litigation
         incidental to the business, which are significant in the context of the number of franchisees and the
         size, nature or financial condition of the franchise system or its business operations.

         Neither we, any predecessor, any person identified in Item 2 above, nor any affiliate offering
         franchises under our principal trademark has been convicted of a felony or pleaded nolo contendere
         to a felony charge or, within the ten-year period immediately preceding the date of this Disclosure
         Document, has been convicted of a misdemeanor or pleaded nolo contendere to a misdemeanor
         charge or been held liable in an arbitration proceeding or a civil action by final judgment or been
         the subject of a material complaint or other legal or arbitration proceeding if such misdemeanor
         conviction or charge or civil action, complaint or other legal proceeding involved a violation of any
         franchise, anti-fraud or securities law, fraud, embezzlement, fraudulent conversion,
         misappropriation of property, unfair or deceptive practices, misappropriation of property or
         comparable allegations.

         Neither we, any predecessor, any person identified in Item 2 above, nor any affiliate offering
         franchises under our principal trademark is subject to any currently effective injunctive or
         restrictive order or decree relating to franchises or under any Federal, State or Canadian franchise,
         securities, antitrust, trade regulation or trade practice law as a result of a concluded or pending
         action or proceeding brought by a public agency, is subject to any currently effective order of any


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         national securities association or national securities exchange, as defined in the Securities and
         Exchange Act of 1934, suspending or expelling such person from membership in such association
         or exchange; or is subject to a currently effective injunctive or restrictive order relating to any other
         business activity as a result of an action brought by a public agency or department, including,
         without limitation, actions affecting a license as a real estate broker or sales agent.”

 3.       Item 4, “Bankruptcy”, is hereby deleted in its entirety and the following language substituted in
 lieu thereof:

         “Neither we nor any affiliate or predecessor or current officer or general partner have during the 10
         year period immediately before the date of this Disclosure Document (a) filed as a debtor (or had
         filed against it) a petition to start an action under the U.S. Bankruptcy Code; (b) obtained a
         discharge of its debts under the Bankruptcy Code; or (c) was a principal officer of a company or a
         general partner in a partnership that either filed as a debtor (or had filed against it) a petition to start
         an action under the U.S. Bankruptcy Code or that obtained a discharge of its debts under the U.S.
         Bankruptcy Code, during or within 1 year after the officer or general partner of Five Guys
         Enterprises, LLC, held this position with the company or partnership.”

 4.       Item 5, “Initial Franchise Fees,” is hereby amended by adding the following sentence to the end
 thereof:

                 The initial franchise fee constitutes part of our general operating funds and will be used as
         such in our discretion.

 5.       Item 17, “Renewal, Termination, Transfer and Dispute Resolution”, is supplemented, under the
 categories entitled “Requirements for franchisee to renew or extend”, “Termination by franchisee”,
 “Assignment of contract by Franchisor”, “Conditions for franchisor approval of transfer”, “Choice of
 forum, and “Choice of Law” respectively, by the following language that will be deemed an integral part
 thereof:

         The following is added to Items 17(c) and 17(m):

         Any general release required under the Franchise Agreement/Development Agreement shall be
         limited by the following, “all rights arising in your favor from the provisions of Article 33 of the
         General Business Law of the State of New York and the regulations issued thereunder shall remain
         in force; it being the intent of this proviso that the non-waiver provisions of General Business Law
         Sections 687.4 and 687.5 be satisfied.”

         The following replaces Item 17(d):

         Notwithstanding any rights you may have in the Franchise Agreement/Development Agreement
         permitting you to terminate the Agreement, you may also have additional rights under applicable
         law to terminate the Franchise Agreement/Development Agreement.

         The following is added to Item 17(j):

         No assignment will be made except to an assignee who, in our opinion, is willing and able to assume
         our obligations under the Franchise Agreement/Development Agreement.

         The following is added to Items 17(v) and 17(w):

         The Franchise Agreement/Development Agreement requires the application of Virginia Law;
         however, the choice of law provision should not be considered a waiver of any right conferred upon


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         the franchisor or upon the franchisee/developer by the General Business Law of the State of New
         York, Art. 33.

 6.      As to any state law described in this Addendum that declares void or unenforceable any provision
 contained in the Franchise Agreement/Development Agreement, Franchisor reserves the right to challenge
 the enforceability of the state law by, among other things, bringing an appropriate legal action or by raising
 the claim in a legal action or arbitration that you have initiated.




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                      ADDENDUM TO THE FIVE GUYS FRANCHISOR, LLC
                                DISCLOSURE DOCUMENT
                           FOR THE STATE OF NORTH DAKOTA

 1.      Items 5 and 7 are amended to state that the initial franchise fee and all other initial payments you
 owe to us under the Franchise Agreement and Development Agreement will be deferred until we satisfy all
 of our pre-opening obligations to you and your first Restaurant has opened for business.




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                      ADDENDUM TO THE FIVE GUYS FRANCHISOR, LLC
                               DISCLOSURE DOCUMENT
                           FOR THE STATE OF SOUTH DAKOTA

 1.      Items 5 and 7 are amended to state that the initial franchise fee and all other initial payments you
 owe to us under the Franchise Agreement and Development Agreement will be deferred until we satisfy all
 of our pre-opening obligations to you and your first Restaurant has opened for business.




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                          ADDENDUM TO FIVE GUYS FRANCHISOR, LLC
                                  DISCLOSURE DOCUMENT
                                FOR THE STATE OF VIRGINIA

 1.     Item 5 is amended to state that the Virginia State Corporation Commission’s Division of Securities
 and Retail Franchising requires us to defer payment of the initial franchise fee and all other initial payments
 you owe to us until we complete all of our pre-opening obligations under the Franchise Agreement.

 2.      In recognition of the restrictions contained in Section 13.1-564 of the Virginia Retail Franchising
 Act, Item 17(h) of the Franchise Disclosure Document for use in the Commonwealth of Virginia will be
 amended as follows:

         Pursuant to Section 13.1-564 of the Virginia Retail Franchising Act, it is unlawful for a franchisor
         to cancel a franchise without reasonable cause. If any ground for default or termination stated in
         the Franchise Agreement or Development Agreement does not constitute “reasonable cause,” as
         that term may be defined in the Virginia Retail Franchising Act or the laws of Virginia, that
         provision may not be enforceable.

         Pursuant to Section 13.1-564 of the Virginia Retail Franchising Act, it is unlawful for a franchisor
         to use undue influence to induce a franchisee to surrender any right given to him under the
         franchise. If any provision of the Franchise Agreement or Development Agreement involves the
         use of undue influence by the franchisor to induce a franchisee to surrender any rights given to him
         under the franchise, that provision may not be enforceable.

 3.      Estimated Initial Investment. The franchisee will be required to make an estimated initial
         investment ranging from $306,200 to $716,250. This amount exceeds the franchisor’s parent’s net
         worth as of December 31, 2020, which is ($510,947,000).




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             WASHINGTON ADDENDUM TO THE FIVE GUYS FRANCHISOR, LLC
                            DISCLOSURE DOCUMENT

        In the event of a conflict of laws, the provisions of the Washington Franchise Investment Protection
 Act, Chapter 19.100 RCW will prevail.

          RCW 19.100.180 may supersede the franchise agreement and area development agreement in your
 relationship with the franchisor including the areas of termination and renewal of your franchise. There
 may also be court decisions which may supersede the franchise agreement and area development agreement
 in your relationship with the franchisor including the areas of termination and renewal of your franchise.

         In any arbitration or mediation involving a franchise purchased in Washington, the arbitration or
 mediation site will be either in the state of Washington, or in a place mutually agreed upon at the time of
 the arbitration or mediation, or as determined by the arbitrator or mediator at the time of arbitration or
 mediation. In addition, if litigation is not precluded by the franchise agreement or area development
 agreement, a franchisee may bring an action or proceeding arising out of or in connection with the sale of
 franchises, or a violation of the Washington Franchise Investment Protection Act, in Washington.

         A release or waiver of rights executed by a franchisee may not include rights under the Washington
 Franchise Investment Protection Act or any rule or order thereunder except when executed pursuant to a
 negotiated settlement after the agreement is in effect and where the parties are represented by independent
 counsel. Provisions such as those which unreasonably restrict or limit the statute of limitations period for
 claims under the Act, or rights or remedies under the Act such as a right to a jury trial, may not be
 enforceable.

         Transfer fees are collectable to the extent that they reflect the franchisor’s reasonable estimated or
 actual costs in effecting a transfer.

          Pursuant to RCW 49.62.020, a noncompetition covenant is void and unenforceable against an
 employee, including an employee of a franchisee, unless the employee’s earnings from the party seeking
 enforcement, when annualized, exceed $100,000 per year (an amount that will be adjusted annually for
 inflation). In addition, a noncompetition covenant is void and unenforceable against an independent
 contractor of a franchisee under RCW 49.62.030 unless the independent contractor’s earnings from the
 party seeking enforcement, when annualized, exceed $250,000 per year (an amount that will be adjusted
 annually for inflation). As a result, any provisions contained in the franchise agreement and area
 development agreement or elsewhere that conflict with these limitations are void and unenforceable in
 Washington.

           RCW 49.62.060 prohibits a franchisor from restricting, restraining, or prohibiting a franchisee from
 (i) soliciting or hiring any employee of a franchisee of the same franchisor or (ii) soliciting or hiring any
 employee of the franchisor. As a result, any such provisions contained in the franchise agreement and area
 development agreement or elsewhere are void and unenforceable in Washington.

          The franchisor may use the services of franchise brokers to assist it in selling franchises. A
 franchise broker represents the franchisor and is paid a fee for referring prospects to the franchisor and/or
 selling the franchise. Do not rely only on the information provided by a franchise broker about a
 franchise. Do your own investigation by contacting the franchisor’s current and former franchisees to ask
 them about their experience with the franchisor.

         Items 5 is amended to state that the State of Washington has imposed a financial condition under
 which the initial franchise fees due will be deferred until we have fulfilled our initial pre-opening
 obligations under the Franchise Agreement and the franchise is open for business. Because we have



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 material pre-opening obligations with respect to each franchised business you open under the Development
 Agreement, the State of Washington will require that the franchise fees be released proportionally with
 respect to each franchised business.

         On August 20, 2018, to resolve an investigation by the Washington Attorney General and without
 admitting any liability, we entered into an Assurance of Discontinuance (“AOD”) with the State of
 Washington (No. 18-2-20767-3SEA), in which we agreed, among other things, to remove from our form
 franchise agreement and not to enforce a provision that restricts a franchisee from soliciting and/or hiring
 our employees and the employees of our other franchisees (generally, a “no-poach provision”). No-poach
 provisions were common in franchise agreements throughout the restaurant and other industries and
 prompted a broad multi-industry investigation by the Washington Attorney General. As of the date of this
 Franchise Disclosure Document, the Washington Attorney General has entered into similar AODs with
 over 200 other franchisors.




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                      ATTACHMENT A TO THE DISCLOSURE DOCUMENT

                STATE ADMINISTRATORS/AGENTS FOR SERVICE OF PROCESS




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                                                STATE ADMINISTRATORS

 CALIFORNIA                                                 NORTH DAKOTA
 Department of Financial Protection and Innovation          North Dakota Securities Department
 320 West 4th Street, Suite 750                             600 East Boulevard Avenue
 Los Angeles, California 90013                              State Capitol Fifth Floor, Dept. 414
 (213) 576-7500 Toll Free (866) 275-2677                    Bismarck, North Dakota 58505-0510
                                                            (701) 328-4712
 HAWAII
 Business Registration Division                             OREGON
 Department of Commerce and Consumer Affairs                Department of Consumer and Business Services
 335 Merchant Street, Room 203                              Division of Finance and Corporate Securities
 Honolulu, Hawaii 96813                                     Labor and Industries Building
 (808) 586-2722                                             Salem, Oregon 97310
                                                            (503) 378-4387
 ILLINOIS
 Chief, Franchise Division                                  RHODE ISLAND
 Office of the Attorney General                             Director of Business Regulation
 500 South Second Street                                    Division of Securities
 Springfield, Illinois 62706                                1511 Pontiac Avenue
 (217) 782-4465                                             John O. Pastore Complex – Building 69-1
                                                            Cranston, Rhode Island 02920
 INDIANA                                                    (401) 462-9500
 Secretary of State
 Franchise Section, Securities Division                     SOUTH DAKOTA
 302 West Washington, Room E-111                            Director of Division of Insurance
 Indianapolis, Indiana 46204                                Securities Regulation
 (317) 232-6681                                             124 South Euclid Avenue, Suite 104
                                                            Pierre, South Dakota 57501
 MARYLAND                                                   (605) 773-3563
 Office of the Attorney General
 Division of Securities                                     TEXAS
 200 St. Paul Place                                         Secretary of State, Statutory Document Section
 Baltimore, Maryland 21202-2020                             P.O. Box 12887
 (410) 576-6360                                             Austin, Texas 78711
                                                            (512) 463-5705
 MICHIGAN
 Office of the Attorney General                             UTAH
 Consumer Protection Division, Franchise Section            Division of Consumer Protection
 G. Mennen Williams Building, 1st Floor                     Utah Department of Commerce
 525 Ottawa Street                                          160 East Three Hundred South
 Lansing, Michigan 48913                                    Salt Lake City, Utah 84145
 (517) 373-7117                                             (801) 530-6601

 MINNESOTA                                                  VIRGINIA
 Franchise Examiner                                         Chief Examiner, State Corporation Commission
 Department of Commerce                                     Division of Securities and Retail Franchising
 85 7th Place East, Suite 280                               1300 East Main Street, 9th Floor
 St. Paul, Minnesota 55101                                  Richmond, Virginia 23219
 (651) 539-1600                                             (804) 371-9051

 NEBRASKA                                                   WASHINGTON
 Nebraska Department of Banking and Finance                 Department of Financial Institutions
 1200 N. Street, P.O. Box 95006                             Securities Division
 Lincoln, Nebraska 68509-5006                               150 Israel Road, S.W.
 (402) 471-3445                                             Tumwater, Washington 98504
                                                            (360) 902-8760
 NEW YORK
 New York State Department of Law                           WISCONSIN
 Bureau of Investor Protection and Securities               Franchise Administrator
 120 Broadway, 23rd Floor                                   Securities and Franchise Registration
 New York, New York 10271                                   Wisconsin Securities Commission
 (212) 416-8211                                             4822 Madison Yards Way, North Tower
                                                            Madison, Wisconsin 53705
                                                            (608) 266-1064




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                                       AGENTS FOR SERVICE OF PROCESS


 CALIFORNIA                                             NORTH DAKOTA
 Commissioner of Financial Protection and Innovation    Securities Commissioner
 320 West 4th Street, Suite 750                         North Dakota Securities Department
 Los Angeles, California 90013                          600 East Boulevard Avenue
 (213) 576-7500 Toll Free (866) 275-2677                State Capitol Fifth Floor, Dept. 414
                                                        Bismarck, North Dakota 58505-0510
 HAWAII                                                 (701) 328-4712
 Commissioner of Securities
 Department of Commerce and Consumer Affairs            OREGON
 335 Merchant Street, Room 203                          Director
 Honolulu, Hawaii 96813                                 Department of Consumer and Business Services
 (808) 586-2722                                         Division of Finance and Corporate Securities
                                                        Labor and Industries Building
 ILLINOIS                                               Salem, Oregon 97310
 Illinois Attorney General                              (503) 378-4387
 500 South Second Street
 Springfield, Illinois 62706                            RHODE ISLAND
 (217) 782-4465                                         Director of Department of Business Regulation
                                                        1511 Pontiac Avenue
 INDIANA                                                John O. Pastore Complex – Building 69-1
 Indiana Secretary of State                             Cranston, Rhode Island 02920
 201 State House                                        (401) 462-9500
 200 West Washington Street
 Indianapolis, Indiana 46204                            SOUTH DAKOTA
 (317) 232-6531                                         Director of Division of Insurance
                                                        Securities Regulation
 MARYLAND                                               124 South Euclid Avenue, Suite 104
 Securities Commissioner                                Pierre, South Dakota 57501
 Office of the Attorney General                         (605) 773-3563
 Maryland Division of Securities
 200 St. Paul Place                                     UTAH
 Baltimore, Maryland 21202-2020                         Division of Consumer Protection
 (410) 576-6360                                         Utah Department of Commerce
                                                        160 East Three Hundred South
 MICHIGAN                                               Salt Lake City, Utah 84145
 Michigan Department of Attorney General                (801) 530-6601
 Consumer Protection Division
 G. Mennen Williams Building, 1st Floor                 VIRGINIA
 525 West Ottawa Street                                 Clerk of the State Corporation Commission
 Lansing, Michigan 48933                                1300 East Main Street, 1st Floor
 (517) 241-6470                                         Richmond, Virginia 23219
                                                        (804) 371-9733
 MINNESOTA
 Commissioner of Commerce                               WASHINGTON
 85 7th Place East, Suite 280                           Director of Financial Institutions
 St. Paul, Minnesota 55101                              Securities Division
 (651) 539-1600                                         150 Israel Road, S.W.
                                                        Tumwater, Washington 98504
 NEW YORK                                               (360) 902-8760
 New York Department of State
 One Commerce Plaza                                     WISCONSIN
 99 Washington Avenue, 6th Floor                        Commissioner of Securities
 Albany, New York 12231-0001                            Division of Securities
 (518) 473-2492                                         Department of Financial Institutions
                                                        4822 Madison Yards Way, North Tower
                                                        Madison, Wisconsin 53705
                                                        (608) 266-1064




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                      THE FRANCHISOR REPRESENTS THAT THIS

                      PROSPECTUS DOES NOT KNOWINGLY OMIT

                       ANY MATERIAL FACT, OR CONTAIN ANY

                      UNTRUE STATEMENT OF A MATERIAL FACT.




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                                     State Effective Dates

 The following states have franchise laws that require that the Franchise Disclosure
 Document be registered or filed with the state, or be exempt from registration:
 California, Hawaii, Illinois, Indiana, Maryland, Michigan, Minnesota, New York, North
 Dakota, Rhode Island, South Dakota, Virginia, Washington, and Wisconsin.

 This document is effective and may be used in the following states, where the document is
 filed, registered or exempt from registration, as of the Effective Date stated below:

                        STATE                         EFFECTIVE DATE
                       California                              Pending
                        Hawaii                                 Pending
                        Illinois                               Pending
                        Indiana                                Pending
                       Maryland                                Pending
                       Michigan                              April 8, 2022
                       Minnesota                               Pending
                       New York                                Pending
                      North Dakota                             Pending
                      Rhode Island                             Pending
                      South Dakota                             Pending
                        Virginia                               Pending
                      Washington                               Pending
                       Wisconsin                               Pending

 Other states may require registration, filing, or exemption of a franchise under other laws,
 such as those that regulate the offer and sale of business opportunities or seller-assisted
 marketing plans.




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                                                RECEIPT

        This Disclosure Document summarizes certain provisions of the franchise agreement and other
 information in plain language. Read this Disclosure Document and all agreements carefully.

         If Five Guys Franchisor, LLC offers you a franchise, Five Guys Franchisor, LLC must provide this
 Disclosure Document to you at least 14 calendar days before you sign a binding agreement or make any
 payment to Five Guys Franchisor, LLC or an affiliate in connection with the proposed franchise sale. Under
 Michigan law, Five Guys Franchisor, LLC must provide this Disclosure Document to you 10 business days
 before you sign any contract or make any payment relating to the franchise relationship. Under New York
 law, Five Guys Franchisor, LLC must provide this Disclosure Document to you at the earliest of the first
 personal meeting or 10 business days before you sign any contract or make any payment relating to the
 franchise relationship.

          If Five Guys Franchisor, LLC does not deliver this Disclosure Document on time or if it contains
 a false or misleading statement, or a material omission, a violation of federal law and state law may have
 occurred and should be reported to the Federal Trade Commission, Washington, DC 20580 and the
 appropriate state agency listed on Attachment A.

         The name, principal business address and telephone number of each franchise seller offering the
 franchise is as follows: Mark Moseley, Director of Franchise Sales, 113-5 Founders Way, Strasburg,
 Virginia 22657, 540-465-2421 and                                                                      .

         Date of Issuance: April 30, 2022

         Five Guys Franchisor, LLC authorizes the agents listed in Attachment A to receive service of
 process for it.

          I have received a Franchise Disclosure Document dated April 30, 2022. State registration effective
 dates are listed on the State Registrations Page. This Disclosure Document includes the following Exhibits:

         A.      Financial Statements
         B.      Development Agreement (with state specific amendments)
         C.      Franchise Agreement (with state specific amendments)
         D.      List of Franchisees
         E.      List of Franchisees Who Have Left the System
         F.      Table of Contents of Operations Manual
         G.      State Specific Addenda to the Disclosure Document

         Attachment A: State Administrators/Agents for Service of Process

 Dated:_____________________________
        (Do not leave blank)                              Signature of Prospective Franchisee


                                                          Print Name


                                   (RETAIN FOR YOUR RECORDS)




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         E.      List of Franchisees Who Have Left the System
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         G.      State Specific Addenda to the Disclosure Document

         Attachment A: State Administrators/Agents for Service of Process

 Dated:_____________________________
        (Do not leave blank)                              Signature of Prospective Franchisee


                                                          Print Name


                                            (RETURN TO US)




 FIVE GUYS 2022 FDD
